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   Chapter 11 Trustee for the Bankruptcy Estate of
 9 The Litigation Practice Group PC

10

11                           UNITED STATES BANKRUPTCY COURT
12              CENTRAL DISTRICT OF CALIFORNIA - SANTA ANA DIVISION
13

14 In re:                                                Case No.: 8:23-bk-10571-SC

15 THE LITIGATION PRACTICE GROUP P.C.,                   Adv. Proc. No. 8:23-ap-01046-SC
16                       Debtor.                         Chapter 11
17
     RICHARD A. MARSHACK,                                DECLARATION OF BRADFORD
18
                                                         (“BRAD”) LEE
19                       Plaintiff,

20 v.                                                    Date:        January 17, 2023
                                                         Time:        11:00 a.m.
21 TONY DIAB, et al.                                     Judge:       Hon. Scott C. Clarkson
                                                         Place:       Courtroom 5C
22
                                                                      411 West Fourth Street
23                       Defendants.                                  Santa Ana, California 92701

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 1          I, BRADFORD (“BRAD”) LEE, declare as follows:

 2          1.      At all relevant times, I was employed by Coast Processing, LLP (“Coast”), Litigation

 3 Practice Group, PC (“LPG”), Guardian Processing, LLP (“Guardian”) and Greyson Law Center, PC

 4 (“Greyson”) as stated more thoroughly below. In my role at Coast, LPG, Guardian, and Greyson, I

 5 reviewed thousands of files, ran numerous metric reports, had access to their software, including

 6 accounting, Microsoft Outlook email, Sharepoint, OneDrive, Teams, Viva Engage, Airtable, cloud

 7 storage, domains, emails, and customer relationship management (“CRM”) databases, including

 8 DebtPayPro (“DPP”) and subsequently LUNA. I have been included in business meetings, prepared

 9 documents and have assisted in the day-to-day operations and processes for all these entities and have

10 personal knowledge of, among many other things, the general business model for each entity, LPG

11 client file transfers, ACH processes and ACH processing companies, furniture, equipment, LPG work

12 product, LPG’s attorney network, IT infrastructure and organizational hierarchy and structure. I have

13 personal knowledge of the matters set forth herein and if called as a witness in this matter, I could

14 and would testify competently thereto.

15          2.      In approximately November 2019 until July 2021, I was employed as a payment

16 analyst at Coast. In approximately July 2021, many of the functions performed by Coast were

17 integrated into LPG, including my role as a business analyst. In my role as a business analyst at Coast

18 and LPG, I prepared, had access to, reviewed and in many ways, managed and/or assisted in the

19 management of Coast and LPG’s day-to-day processes and IT infrastructure discussed above,

20 including the CRM. In my role at LPG, I had numerous conversations with Tony Diab (“Diab”), in

21 person, via text and emails. I was present at many of the meetings wherein the day-to-day operations,

22 finances and business plans were discussed. I was also present during discussions Diab had related

23 to the transfer of LPG client files to other entities and the role each entity would have, including

24 Oakstone Legal Group, PC (“Oakstone”), Guardian, Greyson, Phoenix Law, PC (“Phoenix”) and

25 PrimeLogix, LLC.

26          3.      In approximately February 2023, when LPG client files were being transferred to

27 Oakstone and Guardian, I was hired by Guardian to work with Eng Taing as a business analyst to

28 assist in implementing the LPG business model wherein Oakstone was to perform the legal work and


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 1 Guardian was to handle client management, ACH transactions, among many other tasks to support

 2 Oakstone. My job duties at Guardian were largely the same as those performed at LPG as discussed

 3 above.

 4          4.      In approximately March 2023, due to client performance issues that had prevailed at

 5 LPG and ongoing disputes between Wes Thomas (“Wes”) and Eng Tiang (“Taing”), Oakstone and

 6 Guardian began to experience financial and operational issues. Clients that had originally been

 7 transferred to Oakstone by Diab caused thousands of non-performing clients from Acufi/Gofi to be

 8 onboarded initially by LPG and subsequently transferred to Oakstone and other entities. 1 This batch

 9 of clients were generally not paying and caused much of the performance issues at LPG and

10 subsequently Oakstone, Guardian and Phoenix for which LPG purportedly owed a substantial debt

11 obligation tied to the ACH receivables. The ongoing dispute between Wes and Taing resulted in both

12 pulling ACH transactions on the same clients transferred to Oakstone, causing immense disruption

13 to the operation, and to the clients of the entities.

14          5.      Around this same time, Diab, Han Trinh (“Han”) and Jayde Trinh (“Jayde”) met at

15 Diab’s house in Newport. During these discussions, Diab, Han and Jayde came up with the idea to

16 start another company, Greyson, to whom LPG files had been transferred, to process LPG clients who

17 had litigation pending against them while Phoenix was intended to handle pre-litigation client files.

18 Han and Jayde would run Greyson with the assistance of Diab and Scott Eadie as the managing

19 attorney in much the same way Daniel March was the managing attorney of LPG. During the

20 transition, Greyson would charge Phoenix a flat rate (often times $2,000) for access to Greyson’s

21 attorney network who would handle client files already in litigation in their corresponding state.

22 Greyson’s attorney network list, was and is essentially LPG’s attorney network Greyson had

23 appropriated for its use to develop a pyramid scheme of companies charging other companies for

24 menial services and/or information that originated from LPG. It was explained to me that the point

25 was to remove the performing assets from LPG. Attached hereto is a true and correct comparison of

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       The transfer of many of the client accounts to Oakstone were done in order appease Wes and the
     affiliate company, OHP/Old Hickory Partners Wes had invested in.
                                                           3
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 1 LPG’s attorney network and that co-opted by Greyson, with the attorneys on both lists highlighted in

 2 yellow as Exhibit A.

 3          6.     Around the end of March and into the beginning of April 2023, I was hired by

 4 Greyson. Again, my job duties at Greyson were largely the same as those at LPG and Guardian. As

 5 discussed above, I had access to, used and reviewed Greyson’s email, Airtable, Sharepoint, Teams,

 6 Viva Engage and onboarding systems. I was involved in receiving client file transfers, invoicing

 7 Phoenix, working with the attorney network and other work product taken from LPG, financial

 8 accounts, CRM, domains, setting up client ACH gateways with various entities including Revolv3,

 9 Payliance and other IT and business infrastructure necessary to run Greyson’s day-to-day operations.

10 These were the same companies I had worked to integrate into LPG, Phoenix and Oakstone’s business

11 previously. Moreover, I was included in business meeting and communications in person, via text

12 and email from Han and Jayde among others. Han’s email account at Greyson, similar to Diab’s email

13 at LPG, was known to me to be admin@greysonlawpc.com and admin@greysonpc.com. When Diab

14 communicated with Greyson, including Han or myself, he mostly communicated via text or phone

15 calls. He wanted to do it this way so there would be no trace back to him. However, at times Han sent

16 Diab emails at his tony@coastprocessing.com email address.

17          7.     During my tenure, Greyson was never able to fund its own operations. Initially,

18 Greyson was funded through Taing, an investment corporation called PECC which Taing was

19 involved in, as well as, Diab and his alter egos including but not limited to BAT, Inc. (“BAT”),

20 PrimeLogix, LLC (“PrimeLogix”), Vulcan Consulting, Inc. (“Vulcan”) and Maverick Management,

21 LLC (“Maverick”). When Wes and Taing parted ways, Taing locked Greyson out of the office space

22 he or PECC owned, located at 3161 Michelson Drive, Suite 1675, Irvine, California 92612 (“3161

23 Michelson”). Taing and PECC’s primary form of funding to Greyson was in the form of free rent

24 provided to Greyson while it occupied 3161 Michelson. Around the same time Wes Thomas initiated

25 an ACH pull on the approximate 4,953 LPG clients transferred to Oakstone through Guardian

26 Processing in what appeared to be a last effort to make Oakstone and Guardian viable. Meanwhile

27 Taing initiated a double pull on the same Oakstone clients which was to try and recover some of the

28 money PECC had paid out through the Oakstone Guardian venture.


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 1          8.     Needing new office space, Tony wanted Greyson to use the Oakstone office space

 2 located at 3345 Michelson Drive, Suite 400B, Irvine, California 92612 (“400B”) in the meantime

 3 since Eng Taing had locked Greyson out of 3161 Michelson. I was present when Greyson moved into

 4 both 3161 Michelson and 400B. The office furniture was originally provided by LPG. Similarly, the

 5 laptop computers, desktop computers, computer equipment, monitors and IT infrastructure was either

 6 already in place or moved from LPG’s Tustin office, purchased with LPG funds or reimbursed with

 7 LPG funds. Indeed, I was present when I and other Greyson employees, including but not limited to

 8 Max Chou, Michael Vu, Eddie Blaul, Reid Wood and Eng Taing moved the equipment from LPG’s

 9 Tustin office to Greyson’s office. All of which was purchased with LPG funds. True and correct

10 copies of photographs taken by Michael Vu of the computer equipment myself the others listed above

11 loaded into a Uhaul truck from LPG’s Tustin office for use at Greyson’s office and shared with myself

12 and Scott Eadie during an online discussion we were all apart of as Exhibit B.

13          9.     After Oakstone and Guardian were shut down most of Guardian’s employees who

14 were not terminated were re-hired by Greyson. Greyson, however, could not support its payroll and

15 received payroll funding from Vulcan who issued checks, as well as, PrimeLogix and Maverick who

16 funded Greyson’s Paychex account for automated payroll; Diab and/or Diab’s entity BAT who wired

17 money to Greyson employees for payroll and expenses. Along these lines, Diab made Han a primary

18 signatory on BAT’s Platinum Chase account ending in 0830 which she used to pay Greyson’s

19 expenses, pay Greyson employees including Scott Eadie’s salary and/or reimburse attorneys in the

20 network for their expenses, including but not limited to attorney services for LPG clients. Han also

21 had established a credit card for Greyson which everyone understood was being paid by Diab, BAT,

22 Vulcan or PrimeLogix and/or reimbursed using LPG funds. As the person who was ordered by Dian

23 and set up the monthly pulls from LPG clients, I am aware that such pulls were the primary if not

24 exclusive source of funds transferred from LPG’s ACH payments processors (including but not

25 limited to Revolv3) to Diab, BAT, Vulcan, Oakstone, PECC, PrimeLogix and Maverick. I remember

26 Diab was terrified in this Court on June 12, 2023.

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 1           10.     While working at Greyson, I was aware Diab was in constant communication with

 2 Han and Jade about its business operations, handling and strategy. As part of Diab’s efforts to hide

 3 his involvement, he used his personal phone as well as throw away phones and mostly communicates

 4 in person. In one instance, Diab ordered myself and Max Chou at Greyson to pull a task report on

 5 Phoenix’s customer service calls in order to identify issues and its poor performance. A true and

 6 correct copy of the Phoenix task reports are attached hereto as Exhibit C. In other instances, Diab

 7 was assisting Greyson get set up with marketing affiliates, including but not limited to Panamerica

 8 Consulting, LLC. A true and correct copy of an email including Diab on affiliate emails dated May

 9 27, 2023 is attached hereto as Exhibit D. Tony also drafted other affiliate contracts for Greyson. A

10 true and correct copy of a contract with Varneya LLC drafted by Tony Diab on or about May 17,

11 2023 and the associated metadata is attached hereto as Exhibit E. Moreover, Diab was known by me,

12 to be controlling Greyson’s finances and business model through Han and Jayde, as discussed above,

13 much like he had while I was working at LPG.

14           11.     Greyson also did not have its own work product or proprietary business information.

15 Greyson’s online retainer agreement was provided to me by Keneth Hu at Maverick who had

16 originally received it from Jayde Trinh. The retainer I received was itself Phoenix’ retainer agreement

17 which originated from LPG. A true and correct copy of the email and Phoenix’ retainer agreement

18 provided by Kenneth Hu (without any subject or text to hide the email) is attached hereto as Exhibit

19 F. Similarly, Greyson’s LSA, employee handbook and other proprietary information necessary to run

20 Greyson originated from LPG and appropriated either directly from LPG or through Diab and his

21 alter egos, including Phoenix and Maverick. Many of such documents I was asked to revise to change

22 the company name to Greyson without any substantive changes being made.

23           12.     Greyson stored all of LPG’s proprietary documents, legal service agreements, training

24 materials and videos, sales scripts, contracts, attorney lists, affiliate lists, vendor lists and other critical

25 operational documents appropriated from LPG on its Microsoft emails, OneDrive, Teams and Engage

26 accounts, as well as its Sharepoint, LUNA and Airtable accounts.

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 1          13.    Similar to LPG and PrimeLogix, Greyson applied for and set up an ACH processing

 2 account with Revolv3. At the direction and signature of Han, Greyson’s $15,000 reserve account at

 3 Revolv3 was funded from BAT’s Chase checking account ending in 0830. As of June 2, 2023,

 4 Greyson had opened its own Revolv3 account, however, Greyson never processed any ACH

 5 transactions and therefore did not receive any money from the approximate forty clients it had

 6 acquired from LPG and other sources.

 7          14.    In addition to making payroll through Vulcan, PrimeLogix and BAT, when Greyson

 8 made payroll utilizing the services of an outside vendor after the split with Oakstone, payroll when

 9 made using Paychex which was funded by Maverick.

10          15.    Attached hereto is a true and correct copy of LPG’s Revolv3 account indicating

11 transfer of funds to PrimeLogix as Exhibit G.

12          16.    The Greyson email account ops@greysonlawpc.com is known to me to be registered

13 to Max Chou.

14          17.    The Greyson email account General Counsel / gc@greysonlawpc.com is known to me

15 to be registered to Jayde Trinh. ‘

16          18.    Sherri Chen is known to me to be a prior book keeper at LPG and on information and

17 belief is related to Han.

18          I declare under penalty of perjury under the laws of the United States of America that the

19 foregoing is true and correct.

20          Executed on this day of January 8, 2024 at Orange, California.

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                                                          Brad Lee
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         This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.

August 2010                                                           Page 8                     F 9013-3.1.PROOF.SERVICE
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              EXHIBIT “A”
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                                               REDACTED
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                                               REDACTED
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               EXHIBIT “B”
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               EXHIBIT “C”
                                       Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
Overdue Tasks                                       Overdue
                                             Declaration      Tasks
                                                         of Brad             Power
                                                                 Lee with Exhs A-G BI Desktop
                                                                                      in support of Trustee Page 16 of 189
Task                           Open    Processing                                                                                                              Task

                                                                                                          265
                                                                                          549 (1.02%) (0.49%)                                                   NSF / Payment Outreach 1
120 Status Update                928          84                                                                                8848 (16.4%)
                                                                                      808 (1.5%)                                                                NSF / Payment Outreach 2
30 Day Status Update            2476        2281
                                                                              852 (1.58%)
60 Day Status Update            1900         582                                                                                                                30 Day Status Update
                                                                           897 (1.66%)
90 Day Status Update             933         134
                                                                         1012 (1.88%)                                                                           NSF / Payment Outreach 3
Action Required Per Note 1       675        1844                        1067 (1.98%)
                                                                                                                                                                Send POA for Signature
Action Required Per Note 2       128         769                       1216 (2.25%)                                                            6114 (11.33%)
Action Required Per Note 3        63         474                       1355 (2.51%)                                                                             Introductory Call 1
Action Required Per Note 4        26         329                       1410 (2.61%)                                                                             Action Required Per Note 1
Action Required Per Note 5        21         244
                                                                        1953 (3.62%)                                                                            60 Day Status Update
Action Required per SMS          674          11
                                                                                                                                          4757 (8.82%)          Send Cease & Desist Letter
Audit Affiliate Save             397            2                           2482 (4.6%)
Client Settlement Offer Call      11          14                                                                                                                Review for Cancellation
Compliance Review                 92                                            2519 (4.67%)
                                                                                                                                 4254 (7.88%)                   Introductory Call 2
Final Outreach per NSF            24          24                                          3768 (6.98%)
                                                                                                                       3857 (7.15%)
Hardship Call                     11            2
Introductory Call 1             1077        2691
                                                    Overdue Tasks
Introductory Call 2              350        1005
                                                                 20K
Introductory Call 3              144         664
NSF / Payment Outreach 1        1898        6950                                                                                                                                             16662
NSF / Payment Outreach 2        1244        4870                                                                                                               15102
NSF / Payment Outreach 3         785        3469                 15K        14023
Quarterly Status Update          475          74
Retention Outreach 1             831          21
                                                    # of Tasks




Retention Outreach 1 per NSF     790          54
                                                                 10K
Retention Outreach 2               8            1
Retention Outreach 2 per NSF       1            2
Retention Outreach 3                            3
Retention Outreach 3 per NSF                  17                 5K                                             4172                     3999
Retention Outreach 4                            6
Retention Outreach 4 per NSF                  33
Retention Outreach 5 per NSF                  12
                                                                 0K
Review Document                 1210            6                          January                         February                      March                  April                        May
Total                          25727       28231                                                                                  Original Due Date
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
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Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/1/2023 Flavio Paba(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Josey Harvey                  0:30:26   1:39:27  5:54:48 8:04:41 16:33:00   6.30%      20.50%   73.20%                                      0:05:11                              0:00:00                 0:02:58                    5:08:25                  0:06:25
  5/1/2023 Fausto Beleno                 0:57:46   2:24:25  6:39:53 10:02:04 13:57:56  9.60%         24%   66.40%                                      0:09:16                              0:00:00                 0:04:52                    6:45:13                  0:13:58
  5/1/2023 Bianca Loli                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Jarod Vaughan                 0:29:06   2:23:05  5:29:51 8:22:02 16:37:44   5.80%      28.50%   65.70%                                      0:06:07                              0:00:00                 0:05:01                    5:38:24                  0:09:57
  5/1/2023 Kian Narani                   1:19:33   2:45:19  3:49:10 7:54:02 16:05:58 16.80%       34.90%   48.30%                                      0:05:08                              0:00:00                 0:03:05                    3:44:39                  0:07:14
  5/1/2023 bonnie romero                 0:34:10   3:43:11  2:21:19 6:38:40 7:30:26    8.60%         56%   35.50%                                      0:08:06                              0:00:00                 0:04:02                    2:17:47                  0:10:35
  5/1/2023 Erika Cortes                  1:55:22   3:08:37  1:37:54 6:41:53 17:38:49 28.70%       46.90%   24.40%                                      0:12:56                              0:00:00                 0:00:06                    1:30:44                  0:12:57
  5/1/2023 Jess Pena                     0:35:50   6:14:06  3:44:13 10:34:09 13:25:51  5.70%         59%   35.40%                                      0:03:14                              0:00:00                 0:04:21                    3:06:30                  0:05:02
  5/1/2023 Salma Aranda                  0:47:13   1:30:00  6:02:01 8:19:14 15:40:46   9.50%         18%   72.50%                                      0:09:41                              0:00:00                 0:04:32                    5:56:20                  0:13:42
  5/1/2023 Daniel Orellana               0:17:35   3:05:19  4:10:13 7:33:07 17:02:28   3.90%      40.90%   55.20%                                      0:03:05                              0:00:00                 0:05:01                    3:14:00                  0:04:51
  5/1/2023 Saif Ismail                   0:43:47   2:26:58  4:58:19 8:09:04 15:50:56      9%      30.10%       61%                                     0:03:23                              0:00:00                 0:04:34                    4:17:57                  0:05:43
  5/1/2023 Ivonne Diaz                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Christine Le                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Stephany Gutierrez            0:00:00   6:01:10  0:00:00 6:01:10 18:29:05      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Lex Avina-Cardiel             0:30:05   2:24:25  6:04:04 8:58:34 15:01:26   5.60%      26.80%   67.60%                                      0:08:12                              0:00:00                 0:03:47                    5:54:20                  0:10:44
  5/1/2023 Sebastian Vasquez             0:59:41   2:27:35  6:34:27 10:01:43 13:58:17  9.90%      24.50%   65.60%                                      0:06:27                              0:00:00                 0:05:00                    6:42:52                  0:11:11
  5/1/2023 Abraham Sanchez               0:24:19   2:50:41  6:04:24 9:19:24 14:40:36   4.40%      30.50%   65.10%                                      0:02:53                              0:00:00                 0:05:01                    4:34:26                  0:03:07
  5/1/2023 Amanda Stephens               0:00:00   7:09:52  0:00:00 7:09:52 16:50:08      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Christian Sangalang           0:19:52   3:09:56  3:34:10 7:03:58 16:56:02   4.70%      44.80%   50.50%                                      0:04:12                              0:00:00                 0:05:01                    3:03:59                  0:06:48
  5/1/2023 Salman Ismail                 0:15:14   2:31:41  4:48:59 7:35:54 16:24:06   3.30%      33.30%   63.40%                                      0:06:27                              0:00:00                 0:04:34                    4:29:52                  0:09:18
  5/1/2023 Phoenix Paralegal             0:00:00   6:08:54  0:41:37 6:50:31 17:54:03      0%      89.90%   10.10%                                      0:41:25                              0:00:00                 0:00:00                    0:41:25                  0:41:25
  5/1/2023 Ramon Guerrero                0:00:00   9:22:19  0:00:00 9:22:19 14:40:17      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Jessenia Oseguera             0:22:47   4:48:42  3:57:41 9:09:10 14:53:42   4.20%      52.60%   43.30%                                      0:04:39                              0:00:00                 0:04:24                    3:26:41                  0:06:15
  5/1/2023 Nickolas Mossa                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Hanner Angulo                 3:09:33   2:43:01  1:16:04 7:08:38 6:05:27 44.20%           38%   17.80%                                      0:00:34                              0:00:00                 0:00:00                    0:41:47                  0:00:34
  5/1/2023 Victoria Dang                 0:11:06   4:50:25  3:24:43 8:26:14 15:33:46   2.20%      57.40%   40.40%                                      0:03:20                              0:00:00                 0:04:24                    2:17:01                  0:03:42
  5/1/2023 Sufyaan Lakhani               0:17:14 18:37:17   5:05:29 24:00:00 0:00:00   1.20%      77.60%   21.20%                                      0:02:13                              0:00:00                 0:02:20                    3:29:18                  0:02:49
  5/1/2023 Mahmoud Bany-Mohammed         0:27:30   3:43:00  4:00:39 8:11:09 15:48:51   5.60%      45.40%       49%                                     0:08:06                              0:00:00                 0:05:01                    3:43:41                  0:10:10
  5/1/2023 Melina Beltran                2:42:24   0:14:56  5:03:44 8:01:04 15:58:56 33.80%        3.10%   63.10%                                      0:04:14                              0:00:00                 0:00:04                    4:44:44                  0:04:14
  5/1/2023 Erica Kline                   0:21:17   3:41:01  4:12:12 8:14:30 16:44:43   4.30%      44.70%       51%                                     0:07:36                              0:00:00                 0:04:19                    4:09:42                  0:11:21
  5/1/2023 Julissa Jimenez               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Jose Sanchez(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Carlos Solano(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 eric Zoom Engineer            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 andre alvarenga               0:27:20   0:53:49  6:25:42 7:46:51 16:13:09   5.90%      11.50%   82.60%                                      0:12:24                              0:00:00                 0:04:08                    6:37:12                  0:15:53
  5/1/2023 NELSON OTALORA                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Ashley Jones                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Nikki Miller                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Desiree De La Rosa(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Manny Alatorre                0:27:49   1:43:01  5:40:10 7:51:00 16:09:00   5.90%      21.90%   72.20%                                      0:04:48                              0:00:00                 0:03:55                    4:42:08                  0:06:24
  5/1/2023 Tainis Tapias                 0:19:26   3:04:32  6:45:52 10:09:50 13:50:10  3.20%      30.30%   66.60%                                      0:11:51                              0:00:00                 0:05:00                    6:52:00                  0:15:50
  5/1/2023 Jason Cast                    0:00:00 13:57:46   0:03:49 14:01:35 9:58:25      0%      99.60%     0.50%                                     0:00:44                              0:00:00                 0:00:00                    0:00:44                  0:00:44
  5/1/2023 Selina Taing                  0:00:00   6:54:46  0:12:50 7:07:36 17:27:51      0%         97%        3%                                     0:01:08                              0:00:00                 0:00:00                    0:06:48                  0:01:08
  5/1/2023 Connor Huskisson              1:17:34 17:12:45   5:29:41 24:00:00 0:00:00   5.40%      71.70%   22.90%                                      0:03:35                              0:00:00                 0:05:00                    4:43:30                  0:06:26
  5/1/2023 Tony Sanchez                  0:16:46   1:20:16  5:54:55 7:31:57 16:28:03   3.70%      17.80%   78.50%                                      0:12:44                              0:00:00                 0:03:05                    5:49:10                  0:14:32
  5/1/2023 Reham Zin                     0:06:03   3:15:02  3:49:45 7:10:50 16:49:10   1.40%      45.30%   53.30%                                      0:03:49                              0:00:00                 0:05:00                    3:03:03                  0:05:05
  5/1/2023 Sarika Mande(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Brian Lucaci                  0:00:00   8:15:03  0:00:00 8:15:03 15:44:57      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 James Andra                   0:22:59   3:09:24  4:40:35 8:12:58 16:18:51   4.70%      38.40%   56.90%                                      0:05:53                              0:00:00                 0:04:52                    3:59:02                  0:08:14
  5/1/2023 Sarah Ross                    0:17:25   2:37:38  5:20:30 8:15:33 15:44:27   3.50%      31.80%   64.70%                                      0:04:14                              0:00:00                 0:05:00                    4:32:47                  0:06:20
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 18 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/1/2023 Sophia Goins                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Karen O'Connell               1:27:19   2:12:12  4:28:53 8:08:24 15:51:36 17.90%       27.10%   55.10%                                      0:04:36                              0:00:00                 0:05:00                    4:28:25                  0:08:39
  5/1/2023 Kevin Marquez                 1:27:57   2:36:10  4:11:39 8:15:46 16:21:38 17.70%       31.50%   50.80%                                      0:14:40                              0:00:00                 0:02:11                    4:10:53                  0:16:43
  5/1/2023 Stephanie Reynoso             0:32:01   1:29:10  5:30:04 7:31:15 17:00:41   7.10%      19.80%   73.10%                                      0:04:06                              0:00:00                 0:04:59                    4:31:11                  0:06:18
  5/1/2023 justin andra                  0:00:00 24:00:00   0:00:00 24:00:00 0:00:00      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Sebastian De la Rosa          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Ty Carss                      0:00:00   2:00:57  0:31:00 2:31:57 21:33:10      0%      79.60%   20.40%                                      0:12:15                              0:00:00                 0:00:00                    0:24:31                  0:12:15
  5/1/2023 Sally Mahmoud(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Isa Avina-Cardiel             1:33:59   1:55:09  4:17:46 7:46:54 16:15:26 20.10%       24.70%   55.20%                                      0:06:24                              0:00:00                 0:02:44                    4:17:10                  0:08:52
  5/1/2023 Arturo Velasquez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Golam Khan                    0:00:00 24:00:00   0:00:00 24:00:00 0:00:00      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Jas Sanchez                   0:55:33   1:15:13  3:17:08 5:27:54 18:32:06 16.90%       22.90%   60.10%                                      0:03:01                              0:00:00                 0:10:36                    4:20:43                  0:07:02
  5/1/2023 Quynh Nguyen                  0:23:27   2:08:42  5:11:08 7:43:17 16:16:43   5.10%      27.80%   67.20%                                      0:05:13                              0:00:00                 0:04:54                    4:41:15                  0:07:48
  5/1/2023 Marie Claire Salom            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Elio Riano                    1:56:04   1:14:31  5:11:19 8:21:54 15:38:06 23.10%       14.80%      62%                                      0:08:09                              0:00:00                 0:02:01                    4:57:31                  0:09:35
  5/1/2023 Andres Zuleta                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Nassir Diab                   0:49:43   2:04:46  5:06:18 8:00:47 15:59:13 10.30%          26%   63.70%                                      0:02:46                              0:00:00                 0:05:00                    3:34:00                  0:04:16
  5/1/2023 Kimberly Torres               0:22:01   1:31:08  6:10:01 8:03:10 16:47:22   4.60%      18.90%   76.60%                                      0:05:58                              0:00:00                 0:00:00                    4:35:04                  0:05:58
  5/1/2023 Abe Flores                    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 esteban guevara               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Jennifer Andra                0:10:08   4:34:06  5:22:56 10:07:10 13:52:50  1.70%      45.10%   53.20%                                      0:03:05                              0:00:00                 0:04:22                    3:51:19                  0:03:59
  5/1/2023 Shadia Chavez                 0:00:00 11:03:13   0:00:00 11:03:13 12:56:47     0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Ali Mohamed                   0:27:37 17:23:55   6:08:28 24:00:00 0:00:00   1.90%      72.50%   25.60%                                      0:07:10                              0:00:00                 0:05:00                    6:05:32                  0:09:52
  5/1/2023 Brad Lucaci                   0:00:00   4:37:07  0:00:00 4:37:07 19:22:53      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Iman Nejad                    0:15:01   3:21:51  2:27:52 6:04:44 18:35:49   4.10%      55.30%   40.50%                                      0:02:56                              0:00:00                 0:04:27                    2:04:09                  0:04:08
  5/1/2023 Anthony Base                  5:38:37   2:09:45  2:13:22 10:01:44 14:19:19 56.30%      21.60%   22.20%                                      0:09:53                              0:00:00                 0:02:27                    2:06:07                  0:11:27
  5/1/2023 Valerie L(deleted)            2:11:56   1:30:47  4:41:53 8:24:36 15:35:24 26.20%          18%   55.90%                                      0:07:49                              0:00:00                 0:03:00                    4:41:41                  0:10:50
  5/1/2023 Sulaiman Khan                 0:22:06   1:20:52  5:16:50 6:59:48 17:39:23   5.30%      19.30%   75.50%                                      0:03:20                              0:00:00                 0:04:33                    4:13:13                  0:04:57
  5/1/2023 Rafael de la Torre(deleted)   0:55:58   2:39:58  6:02:03 9:37:59 14:22:01   9.70%      27.70%   62.60%                                      0:08:29                              0:00:00                 0:05:00                    6:01:29                  0:12:27
  5/1/2023 yuliana mendoza               0:54:46   2:39:20  6:28:10 10:02:16 13:57:44  9.10%      26.50%   64.50%                                      0:07:35                              0:00:00                 0:04:56                    6:23:53                  0:11:37
  5/1/2023 Josue Alvarez                 0:05:33   4:10:51  4:07:16 8:23:40 15:36:20   1.10%      49.80%   49.10%                                      0:11:00                              0:00:00                 0:05:00                    4:04:17                  0:12:51
  5/1/2023 Sabah Ismail                  0:18:22   1:55:59  5:10:06 7:24:27 16:48:53   4.10%      26.10%   69.80%                                      0:06:54                              0:00:00                 0:04:59                    4:35:29                  0:09:29
  5/1/2023 Nicole Morris                 0:00:00 24:00:00   0:00:00 24:00:00 0:00:00      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 David Brown(deleted)          0:57:20   1:47:16  2:23:42 5:08:18 18:51:42 18.60%       34.80%   46.60%                                      0:11:51                              0:00:00                 0:02:37                    2:24:52                  0:14:29
  5/1/2023 Humza Shariff                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Jeferson Garcia               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Karla Bravo                   0:00:00 15:27:51   0:00:00 15:27:51 8:32:09      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Kaitlyn Campuzano             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Kimberly Ramirez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Nathan Perez                  0:01:47   3:00:24  0:07:29 3:09:40 21:20:55   0.90%      95.10%       4%                                      0:05:10                              0:00:00                 0:02:18                    0:07:28                  0:07:28
  5/1/2023 Eeyah Tan                     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Matt Douglas                  0:00:00   2:07:48  0:00:00 2:07:48 22:13:56      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Angelie Perez                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Luis Santos(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Griselda Reina(deleted)       0:05:01   2:42:17  5:13:06 8:00:24 15:59:36      1%      33.80%   65.20%                                      0:06:09                              0:00:00                 0:04:25                    4:37:25                  0:07:55
  5/1/2023 Carmen Marza                  0:58:32   1:03:35  6:15:29 8:17:36 15:42:24 11.80%       12.80%   75.50%                                      0:06:10                              0:00:00                 0:05:00                    7:42:17                  0:09:37
  5/1/2023 Kevin Ceballos                0:14:03 17:56:54   5:49:03 24:00:00 0:00:00      1%      74.80%   24.20%                                      0:07:00                              0:00:00                 0:05:00                    5:28:41                  0:09:40
  5/1/2023 Hernan Navarro(deleted)       0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 George Sanchez                0:23:05   3:18:35  4:31:45 8:13:25 15:46:35   4.70%      40.20%   55.10%                                      0:08:14                              0:00:00                 0:04:49                    4:42:33                  0:12:50
  5/1/2023 Amir nejad                    0:16:28 10:15:19   4:00:17 14:32:04 9:55:53   1.90%      70.60%   27.60%                                      0:05:55                              0:00:00                 0:03:28                    4:00:10                  0:08:00
  5/1/2023 Emely Acevedo                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                            Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                  Declaration of Brad Lee with Exhs A-G in support of Trustee Page 19 of 189

Date       Agent Name                 Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/1/2023 Hunter Glass               0:58:45   1:25:59  5:41:27 8:06:11 15:53:49 12.10%       17.70%   70.20%                                      0:16:20                              0:00:00                 0:02:02                    5:47:07                  0:18:16
  5/1/2023 Daniel Martinez            0:00:00   2:59:50  0:00:00 2:59:50 21:09:21      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Yesica Sierra              0:34:08   2:39:31  6:55:50 10:09:29 13:50:31  5.60%      26.20%   68.20%                                      0:14:31                              0:00:00                 0:05:00                    6:54:56                  0:18:51
  5/1/2023 Katherine Maldonado        0:00:00   6:34:26  0:00:00 6:34:26 17:25:34      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Brandon DeLaura            1:08:38   1:30:18  5:37:33 8:16:29 15:43:31 13.80%       18.20%      68%                                      0:06:43                              0:00:00                 0:04:48                    5:30:47                  0:10:20
  5/1/2023 Max Zinchini               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Mohammad Kaskas(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Cindy Vazquez              0:30:15   1:35:36  6:03:50 8:09:41 15:50:19   6.20%      19.50%   74.30%                                      0:05:59                              0:00:00                 0:04:54                    5:24:45                  0:08:46
  5/1/2023 Kenneth Acuna              0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/1/2023 Samuel Pierce              0:09:51   3:03:45  4:54:41 8:08:17 16:26:58      2%      37.60%   60.40%                                      0:02:05                              0:00:00                 0:04:47                    3:10:34                  0:02:53
  5/1/2023 Khalil Beshoy              0:20:35   2:48:20  3:09:25 6:18:20 18:21:24   5.40%      44.50%   50.10%                                      0:02:58                              0:00:00                 0:05:01                    2:04:16                  0:03:33
  5/1/2023 Mike Larkin                0:38:17   3:28:41  5:11:49 9:18:47 14:41:13   6.90%      37.40%   55.80%                                      0:03:01                              0:00:00                 0:05:00                    4:18:53                  0:04:23
  5/1/2023 Andrea Albor               5:11:54   1:25:04  3:25:52 10:02:50 13:57:10 51.70%      14.10%   34.20%                                      0:01:09                              0:00:00                 0:00:00                    1:33:08                  0:01:09
  5/1/2023 Hanya Zargaran             0:31:46   1:30:05  5:54:19 7:56:10 16:03:50   6.70%      18.90%   74.40%                                      0:08:53                              0:00:00                 0:04:44                    5:44:33                  0:12:45
  5/2/2023 Flavio Paba(deleted)       0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Josey Harvey               1:20:13   2:42:55  4:01:45 8:04:53 16:17:43 16.50%       33.60%   49.90%                                      0:05:12                              0:00:00                 0:03:53                    3:54:14                  0:07:05
  5/2/2023 Fausto Beleno              1:17:32   2:16:32  6:30:26 10:04:30 13:55:30 12.80%      22.60%   64.60%                                      0:13:06                              0:00:00                 0:04:48                    6:37:36                  0:17:17
  5/2/2023 Bianca Loli                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Jarod Vaughan              1:07:45   3:07:30  3:59:13 8:14:28 16:36:10 13.70%       37.90%   48.40%                                      0:05:08                              0:00:00                 0:05:00                    3:49:40                  0:07:24
  5/2/2023 Kian Narani                2:03:43   2:49:35  2:51:24 7:44:42 16:15:18 26.60%       36.50%   36.90%                                      0:03:51                              0:00:00                 0:02:24                    2:50:17                  0:05:09
  5/2/2023 bonnie romero              2:05:25   3:11:27  2:56:25 8:13:17 16:09:16 25.40%       38.80%   35.80%                                      0:06:03                              0:00:00                 0:02:35                    2:54:40                  0:07:56
  5/2/2023 Erika Cortes               0:00:00   4:34:59  0:41:29 5:16:28 18:43:32      0%      86.90%   13.10%                                      0:06:33                              0:00:00                 0:00:00                    0:39:19                  0:06:33
  5/2/2023 Jess Pena                  0:47:34   6:48:48  3:08:57 10:45:19 13:14:41  7.40%      63.40%   29.30%                                      0:04:32                              0:00:00                 0:04:24                    2:46:45                  0:06:10
  5/2/2023 Salma Aranda               0:59:09   1:35:26  5:38:45 8:13:20 16:41:37     12%      19.30%   68.70%                                      0:10:16                              0:00:00                 0:05:00                    5:36:14                  0:14:37
  5/2/2023 Daniel Orellana            0:42:12   3:08:17  3:53:58 7:44:27 16:15:33   9.10%      40.50%   50.40%                                      0:04:54                              0:00:00                 0:05:01                    3:02:25                  0:06:04
  5/2/2023 Saif Ismail                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Ivonne Diaz                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Christine Le               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Stephany Gutierrez         0:00:00   4:37:09  0:00:00 4:37:09 19:22:51      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Lex Avina-Cardiel          1:39:03   3:23:54  4:28:18 9:31:15 15:20:39 17.30%       35.70%      47%                                      0:07:23                              0:00:00                 0:04:22                    4:51:26                  0:10:47
  5/2/2023 Sebastian Vasquez          2:47:04   2:18:24  4:57:08 10:02:36 13:57:24 27.70%         23%   49.30%                                      0:06:28                              0:00:00                 0:05:05                    5:10:05                  0:10:41
  5/2/2023 Abraham Sanchez            1:20:26   2:40:49  4:32:23 8:33:38 15:26:22 15.70%       31.30%      53%                                      0:02:40                              0:00:00                 0:05:01                    3:17:46                  0:02:44
  5/2/2023 Amanda Stephens            0:00:00   9:08:08  0:00:00 9:08:08 15:48:22      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Christian Sangalang        1:31:02   2:24:53  4:07:16 8:03:11 16:55:48 18.80%          30%   51.20%                                      0:05:25                              0:00:00                 0:07:11                    3:32:46                  0:08:11
  5/2/2023 Salman Ismail              0:56:13   2:46:10  4:01:11 7:43:34 16:48:46 12.10%       35.80%      52%                                      0:02:06                              0:00:00                 0:05:00                    2:16:21                  0:02:50
  5/2/2023 Phoenix Paralegal          0:00:00   8:12:07  0:56:04 9:08:11 14:51:49      0%      89.80%   10.20%                                      0:15:19                              0:00:00                 0:00:00                    0:45:57                  0:15:19
  5/2/2023 Ramon Guerrero             0:00:00   9:38:51  0:00:00 9:38:51 14:29:19      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Jessenia Oseguera          0:43:30   3:58:21  4:15:57 8:57:48 15:02:12   8.10%      44.30%   47.60%                                      0:05:29                              0:00:00                 0:04:31                    3:51:49                  0:07:59
  5/2/2023 Nickolas Mossa             0:43:45   2:58:42  4:04:12 7:46:39 16:13:21   9.40%      38.30%   52.30%                                      0:03:01                              0:00:00                 0:05:01                    2:56:25                  0:03:55
  5/2/2023 Hanner Angulo              5:59:16   2:16:41  1:53:26 10:09:23 13:50:37    59%      22.40%   18.60%                                      0:00:38                              0:00:00                 0:00:00                    1:09:04                  0:00:38
  5/2/2023 Victoria Dang              0:10:08   4:27:13  3:41:45 8:19:06 16:10:23      2%      53.50%   44.40%                                      0:09:52                              0:00:00                 0:04:51                    3:07:13                  0:11:00
  5/2/2023 Sufyaan Lakhani            1:06:21 17:44:17   5:09:22 24:00:00 0:00:00   4.60%      73.90%   21.50%                                      0:01:12                              0:00:00                 0:03:33                    2:39:02                  0:01:36
  5/2/2023 Mahmoud Bany-Mohammed      0:27:19   3:26:09  4:18:54 8:12:22 16:11:43   5.60%      41.90%   52.60%                                      0:16:48                              0:00:00                 0:05:01                    4:23:44                  0:20:17
  5/2/2023 Melina Beltran             1:27:38   1:52:22  4:42:31 8:02:31 15:57:29 18.20%       23.30%   58.60%                                      0:05:18                              0:00:00                 0:00:06                    4:20:49                  0:05:19
  5/2/2023 Erica Kline                1:14:47   3:18:02  4:04:46 8:37:35 15:22:25 14.50%       38.30%   47.30%                                      0:05:41                              0:00:00                 0:05:00                    4:01:05                  0:10:28
  5/2/2023 Julissa Jimenez            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Jose Sanchez(deleted)      0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Carlos Solano(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 eric Zoom Engineer         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 andre alvarenga            0:34:40   3:49:21  4:57:10 9:21:11 14:38:49   6.20%      40.90%      53%                                      0:15:37                              0:00:00                 0:32:37                   11:14:05                  0:42:07
  5/2/2023 NELSON OTALORA             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 20 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/2/2023 Ashley Jones                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Nikki Miller                  2:14:21   1:04:38  3:58:19 7:17:18 17:39:29 30.70%       14.80%   54.50%                                      0:07:16                              0:00:00                 0:03:03                    3:55:36                  0:09:49
  5/2/2023 Desiree De La Rosa(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Manny Alatorre                1:19:56   1:30:56  5:31:50 8:22:42 16:16:39 15.90%       18.10%       66%                                     0:04:44                              0:00:00                 0:04:26                    4:26:40                  0:06:03
  5/2/2023 Tainis Tapias                 2:11:42   1:34:13  6:11:23 9:57:18 14:02:42 22.10%       15.80%   62.20%                                      0:10:00                              0:00:00                 0:04:47                    6:15:01                  0:14:25
  5/2/2023 Jason Cast                    0:00:29   8:39:57  0:04:01 8:44:27 15:15:33   0.10%      99.10%     0.80%                                     0:04:01                              0:00:00                 0:00:00                    0:04:01                  0:04:01
  5/2/2023 Selina Taing                  0:00:00   5:29:28  0:00:00 5:29:28 18:30:32      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Connor Huskisson              1:25:21 11:48:35   4:39:41 17:53:37 6:06:23      8%         66%   26.10%                                      0:02:35                              0:00:00                 0:04:56                    3:36:18                  0:04:14
  5/2/2023 Tony Sanchez                  0:33:49   2:01:33  3:11:45 5:47:07 19:08:31   9.70%         35%   55.20%                                      0:01:25                              0:00:00                 0:03:45                    2:00:32                  0:01:44
  5/2/2023 Reham Zin                     1:02:08   2:22:19  4:18:30 7:42:57 16:30:24 13.40%       30.70%   55.80%                                      0:03:33                              0:00:00                 0:05:00                    3:43:11                  0:06:11
  5/2/2023 Sarika Mande(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Brian Lucaci                  0:00:00   7:55:10  0:00:00 7:55:10 16:04:50      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 James Andra                   0:06:19   4:42:23  4:25:02 9:13:44 14:46:16   1.10%         51%   47.90%                                      0:07:42                              0:00:00                 0:05:01                    3:32:35                  0:08:30
  5/2/2023 Sarah Ross                    0:57:48   2:43:32  4:45:51 8:27:11 15:32:49 11.40%       32.20%   56.40%                                      0:05:33                              0:00:00                 0:04:13                    4:20:43                  0:07:40
  5/2/2023 Sophia Goins                  0:00:00   1:00:00  0:00:00 1:00:00 23:28:52      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Karen O'Connell               3:03:29   1:27:02  3:52:55 8:23:26 15:36:34 36.50%       17.30%   46.30%                                      0:03:46                              0:00:00                 0:05:01                    4:07:13                  0:07:58
  5/2/2023 Kevin Marquez                 2:04:04   1:55:28  4:19:06 8:18:38 15:41:22 24.90%       23.20%       52%                                     0:11:30                              0:00:00                 0:02:06                    4:03:58                  0:12:50
  5/2/2023 Stephanie Reynoso             1:07:45   1:19:03  4:51:29 7:18:17 17:15:02 15.50%          18%   66.50%                                      0:01:17                              0:00:00                 0:04:23                    2:16:41                  0:01:43
  5/2/2023 justin andra                  1:39:23 16:53:30   5:27:07 24:00:00 0:00:00   6.90%      70.40%   22.70%                                      0:05:45                              0:00:00                 0:04:34                    5:12:03                  0:09:45
  5/2/2023 Sebastian De la Rosa          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Ty Carss                      0:00:00   3:21:33  1:06:51 4:28:24 19:31:36      0%      75.10%   24.90%                                      0:04:36                              0:00:00                 0:00:00                    0:46:04                  0:04:36
  5/2/2023 Sally Mahmoud(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Isa Avina-Cardiel             2:49:28   1:54:38  3:15:49 7:59:55 16:00:05 35.30%       23.90%   40.80%                                      0:07:25                              0:00:00                 0:02:19                    3:17:56                  0:09:25
  5/2/2023 Arturo Velasquez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Golam Khan                    0:19:53 19:25:06   4:15:01 24:00:00 0:00:00   1.40%      80.90%   17.70%                                      0:05:26                              0:00:00                 0:03:32                    4:18:08                  0:06:17
  5/2/2023 Jas Sanchez                   0:49:33   2:48:25  3:49:26 7:27:24 16:51:42 11.10%       37.60%   51.30%                                      0:03:59                              0:00:00                 0:07:20                    3:32:27                  0:06:26
  5/2/2023 Quynh Nguyen                  0:44:58   3:12:31  4:16:02 8:13:31 15:46:29   9.10%         39%   51.90%                                      0:02:18                              0:00:00                 0:04:05                    2:28:20                  0:02:36
  5/2/2023 Marie Claire Salom            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Elio Riano                    2:38:00   2:10:51  4:34:38 9:23:29 15:08:25     28%      23.20%   48.70%                                      0:11:02                              0:00:00                 0:02:22                    4:37:03                  0:13:11
  5/2/2023 Andres Zuleta                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Nassir Diab                   0:46:55   3:04:31  4:28:18 8:19:44 15:40:16   9.40%      36.90%   53.70%                                      0:01:20                              0:00:00                 0:05:01                    1:50:47                  0:01:43
  5/2/2023 Kimberly Torres               0:22:46   1:50:39  5:44:11 7:57:36 16:39:35   4.80%      23.20%   72.10%                                      0:06:59                              0:00:00                 0:00:00                    4:25:55                  0:06:59
  5/2/2023 Abe Flores                    1:15:11   2:32:58  4:02:02 7:50:11 16:09:49     16%      32.50%   51.50%                                      0:09:21                              0:00:00                 0:05:00                    3:58:33                  0:13:15
  5/2/2023 esteban guevara               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Jennifer Andra                0:59:16   4:14:27  4:02:15 9:15:58 14:44:02 10.70%       45.80%   43.60%                                      0:02:43                              0:00:00                 0:08:29                    2:44:59                  0:03:26
  5/2/2023 Shadia Chavez                 0:00:00 10:52:13   0:00:00 10:52:13 13:07:47     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Ali Mohamed                   0:45:10 20:24:48   3:48:54 24:58:52 0:00:00      3%      81.70%   15.30%                                      0:04:25                              0:00:00                 0:05:01                    3:28:58                  0:07:27
  5/2/2023 Brad Lucaci                   0:00:00   4:58:33  0:00:00 4:58:33 19:01:27      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Iman Nejad                    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Anthony Base                  7:24:22   0:16:15  0:58:39 8:39:16 15:47:31 85.60%        3.10%   11.30%                                      0:07:25                              0:00:00                 0:03:01                    0:47:34                  0:07:55
  5/2/2023 Valerie L(deleted)            2:55:38   2:36:12  3:52:15 9:24:05 14:38:05 31.10%       27.70%   41.20%                                      0:07:58                              0:00:00                 0:03:00                    3:58:37                  0:10:50
  5/2/2023 Sulaiman Khan                 0:24:54   2:24:28  4:13:35 7:02:57 17:40:47   5.90%      34.20%       60%                                     0:02:55                              0:00:00                 0:04:48                    3:02:16                  0:03:57
  5/2/2023 Rafael de la Torre(deleted)   1:42:22   1:47:06  6:33:03 10:02:31 13:57:29    17%      17.80%   65.20%                                      0:09:15                              0:00:00                 0:05:00                    6:38:55                  0:13:45
  5/2/2023 yuliana mendoza               2:06:15   1:53:02  6:01:37 10:00:54 13:59:06    21%      18.80%   60.20%                                      0:09:01                              0:00:00                 0:04:47                    6:17:12                  0:13:28
  5/2/2023 Josue Alvarez                 0:30:03   3:53:28  3:50:42 8:14:13 16:20:00   6.10%      47.20%   46.70%                                      0:08:42                              0:00:00                 0:05:00                    3:30:27                  0:11:04
  5/2/2023 Sabah Ismail                  0:22:38   2:07:01  5:13:43 7:43:22 17:11:02   4.90%      27.40%   67.70%                                      0:05:32                              0:00:00                 0:05:00                    3:49:02                  0:06:32
  5/2/2023 Nicole Morris                 0:35:51 19:24:05   4:00:04 24:00:00 0:00:00   2.50%      80.80%   16.70%                                      0:05:23                              0:00:00                 0:03:08                    2:25:03                  0:08:31
  5/2/2023 David Brown(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Humza Shariff                 1:03:58   2:59:54  4:19:16 8:23:08 15:36:52 12.70%       35.80%   51.50%                                      0:03:29                              0:00:00                 0:08:21                    3:17:12                  0:05:38
  5/2/2023 Jeferson Garcia               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Karla Bravo                   0:00:00 13:52:59   0:12:58 14:05:57 10:24:13     0%      98.50%     1.50%                                     0:04:22                              0:00:00                 0:00:00                    0:08:45                  0:04:22
                                                             Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                   Declaration of Brad Lee with Exhs A-G in support of Trustee Page 21 of 189

Date       Agent Name                  Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/2/2023 Kaitlyn Campuzano           0:00:00   0:06:10  0:07:07 0:13:17 23:46:43      0%      46.40%   53.60%                                      0:04:21                              0:00:00                 0:00:00                    0:04:21                  0:04:21
  5/2/2023 Kimberly Ramirez(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Nathan Perez                0:00:14   6:42:43  0:14:43 6:57:40 17:02:20   0.10%      96.40%     3.50%                                     0:11:42                              0:00:00                 0:00:00                    0:11:42                  0:11:42
  5/2/2023 Eeyah Tan                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Matt Douglas                0:00:00   3:47:50  0:00:00 3:47:50 20:42:46      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Angelie Perez               0:00:00   7:15:23  0:00:00 7:15:23 16:44:37      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Luis Santos(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Griselda Reina(deleted)     0:16:01   2:44:45  5:17:21 8:18:07 15:41:53   3.20%      33.10%   63.70%                                      0:06:07                              0:00:00                 0:03:29                    4:11:20                  0:06:47
  5/2/2023 Carmen Marza                2:40:43   1:23:43  3:41:55 7:46:21 16:13:39 34.50%          18%   47.60%                                      0:03:42                              0:00:00                 0:05:01                    3:21:36                  0:06:43
  5/2/2023 Kevin Ceballos              0:44:50 18:17:08   4:58:02 24:00:00 0:00:00   3.10%      76.20%   20.70%                                      0:06:27                              0:00:00                 0:05:01                    4:42:26                  0:09:44
  5/2/2023 Hernan Navarro(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 George Sanchez              0:33:38   3:17:09  4:42:23 8:33:10 15:26:50   6.60%      38.40%       55%                                     0:11:42                              0:00:00                 0:05:00                    4:46:05                  0:15:53
  5/2/2023 Amir nejad                  1:07:40   4:01:16  2:56:47 8:05:43 16:19:37 13.90%       49.70%   36.40%                                      0:04:35                              0:00:00                 0:03:18                    3:04:49                  0:06:36
  5/2/2023 Emely Acevedo               1:12:25   0:43:55  6:00:00 7:56:20 16:03:40 15.20%        9.20%   75.60%                                      0:08:03                              0:00:00                 0:04:19                    5:43:28                  0:10:24
  5/2/2023 Hunter Glass                2:01:33   2:42:52  3:29:20 8:13:45 15:46:15 24.60%          33%   42.40%                                      0:10:14                              0:00:00                 0:02:17                    3:16:57                  0:11:35
  5/2/2023 Daniel Martinez             0:00:00   2:02:25  0:00:00 2:02:25 21:57:35      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Yesica Sierra               1:01:31   1:37:47  7:38:58 10:18:16 13:41:44    10%      15.80%   74.20%                                      0:11:48                              0:00:00                 0:04:52                    7:29:46                  0:15:30
  5/2/2023 Katherine Maldonado         0:00:00   6:02:06  0:00:00 6:02:06 17:57:54      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Brandon DeLaura             1:42:42   2:08:12  4:32:59 8:23:53 15:36:07 20.40%       25.40%   54.20%                                      0:03:15                              0:00:00                 0:05:01                    3:33:04                  0:04:32
  5/2/2023 Max Zinchini                0:56:24   0:42:36  5:33:38 7:12:38 16:47:22     13%       9.80%   77.10%                                      0:02:35                              0:00:00                 0:05:01                    2:51:42                  0:04:11
  5/2/2023 Mohammad Kaskas(deleted)    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Cindy Vazquez               1:15:49   2:08:22  4:52:30 8:16:41 15:43:19 15.30%       25.90%   58.90%                                      0:05:09                              0:00:00                 0:05:00                    4:05:30                  0:07:00
  5/2/2023 Kenneth Acuna               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/2/2023 Samuel Pierce               0:24:34   3:49:31  3:56:14 8:10:19 16:25:20      5%      46.80%   48.20%                                      0:01:45                              0:00:00                 0:05:01                    1:56:21                  0:02:06
  5/2/2023 Khalil Beshoy               0:33:50   3:04:15  4:19:35 7:57:40 16:02:20   7.10%      38.60%   54.30%                                      0:09:15                              0:00:00                 0:04:38                    4:10:11                  0:11:22
  5/2/2023 Mike Larkin                 0:50:56   4:08:56  4:36:44 9:36:36 14:23:24   8.80%      43.20%       48%                                     0:04:08                              0:00:00                 0:16:44                    5:33:06                  0:08:19
  5/2/2023 Andrea Albor                4:00:04   1:38:13  4:18:51 9:57:08 14:02:52 40.20%       16.50%   43.40%                                      0:00:57                              0:00:00                 0:00:00                    1:46:00                  0:00:57
  5/2/2023 Hanya Zargaran              1:25:24   1:06:38  5:35:53 8:07:55 16:51:52 17.50%       13.70%   68.80%                                      0:08:25                              0:00:00                 0:05:01                    5:32:44                  0:12:19
  5/3/2023 Flavio Paba(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Josey Harvey                1:51:28   1:32:27  4:18:42 7:42:37 16:57:59 24.10%          20%   55.90%                                      0:04:38                              0:00:00                 0:02:16                    4:07:14                  0:06:10
  5/3/2023 Fausto Beleno               1:13:06   2:00:51  6:48:54 10:02:51 13:57:09 12.10%         20%   67.80%                                      0:14:45                              0:00:00                 0:04:55                    6:53:12                  0:19:40
  5/3/2023 Bianca Loli                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Jarod Vaughan               1:15:58   2:30:47  2:45:27 6:32:12 17:27:48 19.40%       38.40%   42.20%                                      0:04:42                              0:00:00                 0:05:00                    2:28:05                  0:06:10
  5/3/2023 Kian Narani                 2:14:28   1:49:03  3:44:42 7:48:13 16:11:47 28.70%       23.30%       48%                                     0:05:33                              0:00:00                 0:02:44                    3:30:23                  0:07:00
  5/3/2023 bonnie romero               1:55:47   3:08:43  3:05:01 8:09:31 15:50:29 23.70%       38.60%   37.80%                                      0:08:30                              0:00:00                 0:00:16                    3:04:03                  0:08:45
  5/3/2023 Erika Cortes                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Jess Pena                   0:46:47   6:14:25  3:42:33 10:43:45 13:16:15  7.30%      58.20%   34.60%                                      0:06:00                              0:00:00                 0:03:46                    3:21:36                  0:07:45
  5/3/2023 Salma Aranda                1:10:14   2:04:37  5:10:29 8:25:20 16:15:13 13.90%       24.70%   61.40%                                      0:09:21                              0:00:00                 0:05:00                    5:16:14                  0:13:44
  5/3/2023 Daniel Orellana             0:18:44   2:42:11  4:16:12 7:17:07 17:17:28   4.30%      37.10%   58.60%                                      0:04:10                              0:00:00                 0:05:00                    3:17:09                  0:05:47
  5/3/2023 Saif Ismail                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Ivonne Diaz                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Christine Le                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Stephany Gutierrez          0:00:00   5:06:26  0:00:00 5:06:26 18:53:34      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Lex Avina-Cardiel           1:40:08   1:49:42  4:44:34 8:14:24 15:57:06 20.30%       22.20%   57.60%                                      0:08:25                              0:00:00                 0:04:05                    4:40:10                  0:11:12
  5/3/2023 Sebastian Vasquez           1:54:59   1:54:37  6:13:05 10:02:41 13:57:19 19.10%         19%   61.90%                                      0:07:54                              0:00:00                 0:04:53                    6:23:53                  0:12:47
  5/3/2023 Abraham Sanchez             0:00:00   1:47:58  0:00:00 1:47:58 22:12:02      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Amanda Stephens             0:00:00   7:43:20  0:00:00 7:43:20 16:16:40      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Christian Sangalang         1:17:14   3:04:59  3:33:00 7:55:13 17:04:01 16.30%       38.90%   44.80%                                      0:06:29                              0:00:00                 0:04:40                    3:17:03                  0:09:23
  5/3/2023 Salman Ismail               1:10:51   1:41:35  5:03:12 7:55:38 16:32:27 14.90%       21.40%   63.80%                                      0:04:38                              0:00:00                 0:04:57                    4:27:07                  0:07:51
  5/3/2023 Phoenix Paralegal           1:19:23   4:40:08  1:48:56 7:48:27 16:11:33     17%      59.80%   23.30%                                      0:03:33                              0:00:00                 0:00:00                    1:18:09                  0:03:33
  5/3/2023 Ramon Guerrero              0:00:00   9:22:11  0:00:00 9:22:11 14:37:49      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 22 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/3/2023 Jessenia Oseguera             0:48:44   4:48:38  3:36:43 9:14:05 14:51:24   8.80%      52.10%   39.10%                                      0:03:03                              0:00:00                 0:04:46                    2:34:28                  0:04:03
  5/3/2023 Nickolas Mossa                0:40:07   3:05:11  4:25:19 8:10:37 16:34:18   8.20%      37.70%   54.10%                                      0:03:44                              0:00:00                 0:05:01                    3:19:52                  0:04:32
  5/3/2023 Hanner Angulo                 6:23:44   1:49:36  1:46:17 9:59:37 14:00:23     64%      18.30%   17.70%                                      0:01:06                              0:00:00                 0:00:00                    1:15:14                  0:01:06
  5/3/2023 Victoria Dang                 0:14:14   5:54:05  2:43:41 8:52:00 15:08:00   2.70%      66.60%   30.80%                                      0:02:51                              0:00:00                 0:05:01                    1:56:23                  0:03:38
  5/3/2023 Sufyaan Lakhani               0:48:55 18:08:28   5:42:27 24:39:50 0:00:00   3.30%      73.60%   23.10%                                      0:01:58                              0:00:00                 0:03:27                    3:43:39                  0:02:22
  5/3/2023 Mahmoud Bany-Mohammed         0:04:49   4:19:55  2:48:10 7:12:54 16:47:06   1.10%         60%   38.90%                                      0:07:35                              0:00:00                 0:00:00                    2:09:10                  0:07:35
  5/3/2023 Melina Beltran                1:42:13   1:29:24  4:44:24 7:56:01 16:03:59 21.50%       18.80%   59.80%                                      0:05:39                              0:00:00                 0:00:10                    4:26:50                  0:05:40
  5/3/2023 Erica Kline                   1:15:09   2:20:57  4:39:42 8:15:48 15:44:23 15.20%       28.40%   56.40%                                      0:07:49                              0:00:00                 0:04:31                    4:39:25                  0:12:08
  5/3/2023 Julissa Jimenez               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Jose Sanchez(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Carlos Solano(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 eric Zoom Engineer            0:08:17   0:27:34  0:00:00 0:35:51 23:24:09 23.10%       76.90%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:15:20                  0:07:40
  5/3/2023 andre alvarenga               0:59:55   2:00:13  5:20:52 8:21:00 16:07:12     12%         24%   64.10%                                      0:14:26                              0:00:00                 0:04:51                    4:54:02                  0:17:17
  5/3/2023 NELSON OTALORA                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Ashley Jones                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Nikki Miller                  1:56:53   1:15:38  4:38:33 7:51:04 16:13:49 24.80%       16.10%   59.10%                                      0:09:13                              0:00:00                 0:03:00                    4:32:44                  0:11:21
  5/3/2023 Desiree De La Rosa(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Manny Alatorre                1:05:16   1:21:47  5:44:35 8:11:38 15:48:22 13.30%       16.60%   70.10%                                      0:04:28                              0:00:00                 0:04:46                    4:27:59                  0:05:42
  5/3/2023 Tainis Tapias                 1:51:08   1:40:10  6:22:00 9:53:18 14:06:42 18.70%       16.90%   64.40%                                      0:07:10                              0:00:00                 0:05:20                    6:26:29                  0:11:42
  5/3/2023 Jason Cast                    0:00:00   6:29:47  0:03:27 6:33:14 17:26:46      0%      99.10%     0.90%                                     0:00:18                              0:00:00                 0:00:00                    0:00:18                  0:00:18
  5/3/2023 Selina Taing                  0:00:07   5:30:56  0:00:33 5:31:36 18:48:50      0%      99.80%     0.20%                                     0:00:08                              0:00:00                 0:00:00                    0:00:17                  0:00:08
  5/3/2023 Connor Huskisson              1:19:44   2:14:06  4:48:13 8:22:03 15:37:57 15.90%       26.70%   57.40%                                      0:03:12                              0:00:00                 0:04:37                    3:49:18                  0:04:52
  5/3/2023 Tony Sanchez                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Reham Zin                     0:45:20   2:54:16  4:21:43 8:01:19 16:09:30   9.40%      36.20%   54.40%                                      0:05:36                              0:00:00                 0:05:00                    4:12:24                  0:09:00
  5/3/2023 Sarika Mande(deleted)         2:23:48   1:33:55  4:29:15 8:26:58 15:33:02 28.40%       18.50%   53.10%                                      0:10:49                              0:00:00                 0:02:41                    4:22:16                  0:13:06
  5/3/2023 Brian Lucaci                  0:00:00   7:34:40  0:00:00 7:34:40 16:25:20      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 James Andra                   0:22:18   4:09:16  3:49:01 8:20:35 16:08:10   4.50%      49.80%   45.80%                                      0:04:19                              0:00:00                 0:05:01                    2:50:28                  0:05:52
  5/3/2023 Sarah Ross                    0:00:00   6:32:59  0:04:12 6:37:11 17:22:49      0%      98.90%     1.10%                                     0:00:45                              0:00:00                 0:00:00                    0:00:45                  0:00:45
  5/3/2023 Sophia Goins                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Karen O'Connell               2:14:41   1:53:40  4:18:58 8:27:19 15:32:41 26.60%       22.40%   51.10%                                      0:04:47                              0:00:00                 0:04:47                    4:18:35                  0:08:37
  5/3/2023 Kevin Marquez                 1:11:54   2:35:07  4:22:39 8:09:40 15:50:20 14.70%       31.70%   53.60%                                      0:16:15                              0:00:00                 0:02:38                    4:19:15                  0:18:31
  5/3/2023 Stephanie Reynoso             1:03:45   1:19:20  4:33:01 6:56:06 17:05:05 15.30%       19.10%   65.60%                                      0:03:13                              0:00:00                 0:04:39                    3:30:44                  0:04:40
  5/3/2023 justin andra                  1:10:14 18:13:16   5:11:11 24:34:41 0:00:00   4.80%      74.10%   21.10%                                      0:03:15                              0:00:00                 0:03:01                    4:42:54                  0:06:09
  5/3/2023 Sebastian De la Rosa          0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Ty Carss                      0:00:00   1:01:25  0:19:00 1:20:25 22:39:35      0%      76.40%   23.60%                                      0:15:32                              0:00:00                 0:00:00                    0:15:32                  0:15:32
  5/3/2023 Sally Mahmoud(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Isa Avina-Cardiel             2:25:16   1:51:44  3:58:01 8:15:01 15:50:42 29.40%       22.60%   48.10%                                      0:07:04                              0:00:00                 0:02:49                    3:53:20                  0:09:20
  5/3/2023 Arturo Velasquez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Golam Khan                    1:07:01 18:34:41   4:37:32 24:19:14 0:00:00   4.60%      76.40%       19%                                     0:05:24                              0:00:00                 0:04:36                    4:44:41                  0:07:17
  5/3/2023 Jas Sanchez                   0:33:15   1:12:32  3:09:59 4:55:46 19:04:14 11.20%       24.50%   64.20%                                      0:05:17                              0:00:00                 0:04:41                    2:49:10                  0:07:02
  5/3/2023 Quynh Nguyen                  0:09:42   1:57:45  3:31:11 5:38:38 19:11:20   2.90%      34.80%   62.40%                                      0:03:45                              0:00:00                 0:04:37                    2:51:19                  0:04:37
  5/3/2023 Marie Claire Salom            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Elio Riano                    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Andres Zuleta                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Nassir Diab                   0:10:04   2:47:18  5:16:09 8:13:31 15:46:29      2%      33.90%   64.10%                                      0:01:16                              0:00:00                 0:05:01                    2:13:39                  0:01:33
  5/3/2023 Kimberly Torres               2:02:51   0:09:54  5:59:33 8:12:18 16:11:24     25%          2%       73%                                     0:04:48                              0:00:00                 0:07:20                    3:53:00                  0:04:57
  5/3/2023 Abe Flores                    0:29:57   3:07:52  4:33:23 8:11:12 15:48:48   6.10%      38.20%   55.70%                                      0:18:21                              0:00:00                 0:05:00                    4:30:31                  0:22:32
  5/3/2023 esteban guevara               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Jennifer Andra                0:06:07   3:26:34  4:55:18 8:27:59 15:32:01   1.20%      40.70%   58.10%                                      0:04:18                              0:00:00                 0:04:53                    3:29:57                  0:04:52
  5/3/2023 Shadia Chavez                 0:00:00 11:48:09   0:00:00 11:48:09 12:11:51     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Ali Mohamed                   1:27:57 17:24:34   5:15:00 24:07:31 0:00:00   6.10%      72.20%   21.80%                                      0:07:41                              0:00:00                 0:05:01                    4:53:28                  0:10:07
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 23 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/3/2023 Brad Lucaci                   0:00:00   4:01:34  0:00:00 4:01:34 19:58:26      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Iman Nejad                    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Anthony Base                  5:40:16   1:19:32  1:41:00 8:40:48 15:19:12 65.30%       15.30%   19.40%                                      0:03:07                              0:00:00                 0:02:38                    1:17:59                  0:04:06
  5/3/2023 Valerie L(deleted)            2:02:43   2:08:15  5:04:04 9:15:02 14:44:58 22.10%       23.10%   54.80%                                      0:07:55                              0:00:00                 0:03:00                    4:54:28                  0:10:31
  5/3/2023 Sulaiman Khan                 1:38:33   1:24:25  3:46:04 6:49:02 17:10:58 24.10%       20.60%   55.30%                                      0:02:49                              0:00:00                 0:05:01                    2:33:59                  0:04:23
  5/3/2023 Rafael de la Torre(deleted)   1:21:34   2:53:06  5:29:29 9:44:09 14:15:51     14%      29.60%   56.40%                                      0:08:21                              0:00:00                 0:04:50                    5:37:14                  0:12:29
  5/3/2023 yuliana mendoza               1:57:28   1:47:49  6:22:09 10:07:26 13:52:34 19.30%      17.80%   62.90%                                      0:08:01                              0:00:00                 0:04:56                    6:25:13                  0:12:02
  5/3/2023 Josue Alvarez                 0:18:04   4:21:17  3:43:00 8:22:21 16:09:55   3.60%         52%   44.40%                                      0:08:35                              0:00:00                 0:05:01                    3:28:21                  0:10:57
  5/3/2023 Sabah Ismail                  0:44:05   2:55:02  4:08:43 7:47:50 17:09:33   9.40%      37.40%   53.20%                                      0:08:13                              0:00:00                 0:04:58                    5:25:57                  0:09:52
  5/3/2023 Nicole Morris                 0:29:18 18:10:34   5:20:08 24:00:00 0:00:00      2%      75.70%   22.20%                                      0:04:36                              0:00:00                 0:02:40                    3:47:16                  0:06:53
  5/3/2023 David Brown(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Humza Shariff                 0:50:42   1:56:46  4:53:59 7:41:27 17:00:55     11%      25.30%   63.70%                                      0:05:26                              0:00:00                 0:04:44                    4:24:03                  0:08:15
  5/3/2023 Jeferson Garcia               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Karla Bravo                   0:00:00 14:07:29   0:30:10 14:37:39 9:22:21      0%      96.60%     3.40%                                     0:06:47                              0:00:00                 0:00:00                    0:20:22                  0:06:47
  5/3/2023 Kaitlyn Campuzano             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Kimberly Ramirez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Nathan Perez                  0:00:57   6:29:52  0:02:41 6:33:30 17:26:30   0.20%      99.10%     0.70%                                     0:01:51                              0:00:00                 0:00:00                    0:01:51                  0:01:51
  5/3/2023 Eeyah Tan                     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Matt Douglas                  0:00:00   0:50:24  0:00:00 0:50:24 23:09:36      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Angelie Perez                 0:00:00   4:17:08  0:00:00 4:17:08 19:42:52      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Luis Santos(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Griselda Reina(deleted)       0:32:37   2:00:54  5:16:35 7:50:06 17:07:38   6.90%      25.70%   67.30%                                      0:04:55                              0:00:00                 0:04:13                    4:22:48                  0:06:06
  5/3/2023 Carmen Marza                  2:15:41   1:11:40  4:38:08 8:05:29 15:54:31     28%      14.80%   57.30%                                      0:03:53                              0:00:00                 0:05:01                    4:15:23                  0:07:05
  5/3/2023 Kevin Ceballos                1:01:25 18:41:24   4:17:11 24:00:00 0:00:00   4.30%      77.90%   17.90%                                      0:06:36                              0:00:00                 0:05:01                    3:56:53                  0:09:06
  5/3/2023 Hernan Navarro(deleted)       0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 George Sanchez                1:11:39   2:26:02  4:59:18 8:36:59 16:10:58 13.90%       28.30%   57.90%                                      0:08:07                              0:00:00                 0:04:33                    5:08:09                  0:12:19
  5/3/2023 Amir nejad                    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Legal Phoenix                 0:02:07   2:13:02  0:15:47 2:30:56 9:06:33    1.40%      88.10%   10.50%                                      0:03:47                              0:00:00                 0:00:00                    0:15:08                  0:03:47
  5/3/2023 Emely Acevedo                 0:45:25   1:12:14  5:46:49 7:44:28 17:15:12   9.80%      15.60%   74.70%                                      0:09:55                              0:00:00                 0:03:58                    7:38:49                  0:11:45
  5/3/2023 Hunter Glass                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Daniel Martinez               0:00:00   2:48:54  0:00:00 2:48:54 21:11:06      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Yesica Sierra                 1:20:23   2:35:01  5:58:34 9:53:58 14:06:02 13.50%       26.10%   60.40%                                      0:13:09                              0:00:00                 0:05:00                    5:58:35                  0:17:55
  5/3/2023 Katherine Maldonado           0:00:00   6:09:46  0:00:00 6:09:46 17:50:14      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Brandon DeLaura               2:16:00   1:38:34  3:41:47 7:36:21 16:23:39 29.80%       21.60%   48.60%                                      0:04:02                              0:00:00                 0:05:01                    3:31:35                  0:07:03
  5/3/2023 Max Zinchini                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Mohammad Kaskas(deleted)      0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Cindy Vazquez                 1:25:32   1:40:13  5:13:59 8:19:44 16:06:35 17.10%       20.10%   62.80%                                      0:06:33                              0:00:00                 0:04:53                    4:31:48                  0:08:46
  5/3/2023 Kenneth Acuna                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/3/2023 Samuel Pierce                 0:23:59   4:58:33  3:37:54 9:00:26 15:38:15   4.40%      55.20%   40.30%                                      0:01:33                              0:00:00                 0:05:01                    1:47:28                  0:02:01
  5/3/2023 Khalil Beshoy                 0:47:54   2:36:56  3:21:31 6:46:21 17:13:39 11.80%       38.60%   49.60%                                      0:06:19                              0:00:00                 0:05:01                    3:03:01                  0:07:19
  5/3/2023 Mike Larkin                   0:37:24   4:56:58  3:56:32 9:30:54 14:29:06   6.60%         52%   41.40%                                      0:07:56                              0:00:00                 0:05:01                    3:34:58                  0:09:46
  5/3/2023 Andrea Albor                  4:59:12   1:22:27  3:37:02 9:58:41 14:01:19     50%      13.80%   36.30%                                      0:01:14                              0:00:00                 0:00:00                    1:50:53                  0:01:14
  5/3/2023 Hanya Zargaran                1:01:34   2:07:52  5:03:22 8:12:48 16:28:26 12.50%          26%   61.60%                                      0:08:37                              0:00:00                 0:04:59                    5:19:10                  0:12:16
  5/4/2023 Flavio Paba(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Josey Harvey                  1:14:30   2:10:09  4:33:53 7:58:32 16:01:28 15.60%       27.20%   57.20%                                      0:07:15                              0:00:00                 0:03:42                    4:22:05                  0:09:02
  5/4/2023 Fausto Beleno                 1:56:10   2:11:01  5:55:07 10:02:18 13:57:42 19.30%      21.80%       59%                                     0:11:47                              0:00:00                 0:04:58                    6:03:51                  0:16:32
  5/4/2023 Bianca Loli                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Jarod Vaughan                 1:05:12   2:39:07  4:33:06 8:17:25 15:42:35 13.10%          32%   54.90%                                      0:05:10                              0:00:00                 0:05:01                    4:06:38                  0:06:51
  5/4/2023 Kian Narani                   3:05:07   1:27:56  3:00:48 7:33:51 16:26:09 40.80%       19.40%   39.80%                                      0:03:39                              0:00:00                 0:01:39                    2:45:14                  0:04:27
  5/4/2023 bonnie romero                 3:05:50   2:24:22  2:13:31 7:43:43 16:16:17 40.10%       31.10%   28.80%                                      0:06:12                              0:00:00                 0:00:28                    2:12:30                  0:06:37
  5/4/2023 Erika Cortes                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 24 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/4/2023 Jess Pena                     1:12:15   5:50:59  3:35:14 10:38:28 13:21:32 11.30%         55%   33.70%                                      0:10:38                              0:00:00                 0:04:22                    3:16:28                  0:12:16
  5/4/2023 Salma Aranda                  1:35:29   1:16:04  5:04:31 7:56:04 16:03:56 20.10%          16%       64%                                     0:12:15                              0:00:00                 0:05:01                    5:06:03                  0:17:00
  5/4/2023 Daniel Orellana               1:41:17   2:24:48  3:43:52 7:49:57 16:43:40 21.60%       30.80%   47.60%                                      0:05:49                              0:00:00                 0:05:01                    3:34:24                  0:09:19
  5/4/2023 Saif Ismail                   0:00:06   0:21:19  0:07:47 0:29:12 23:30:48   0.30%         73%   26.70%                                      0:04:51                              0:00:00                 0:05:01                    0:09:52                  0:09:52
  5/4/2023 Ivonne Diaz                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Christine Le                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Stephany Gutierrez            0:00:00   2:32:49  0:00:00 2:32:49 21:39:23      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Lex Avina-Cardiel             1:08:13   2:21:34  4:48:39 8:18:26 15:41:34 13.70%       28.40%   57.90%                                      0:10:34                              0:00:00                 0:04:17                    4:50:35                  0:13:50
  5/4/2023 Sebastian Vasquez             2:48:17   2:13:38  5:00:38 10:02:33 13:57:27 27.90%      22.20%   49.90%                                      0:06:45                              0:00:00                 0:04:53                    5:21:01                  0:11:04
  5/4/2023 Abraham Sanchez               3:03:21   2:36:11  3:46:31 9:26:03 14:58:45 32.40%       27.60%       40%                                     0:18:09                              0:00:00                 0:03:01                    3:43:56                  0:20:21
  5/4/2023 Amanda Stephens               0:00:00   6:07:12  0:00:00 6:07:12 17:52:48      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Christian Sangalang           1:08:41   3:14:50  3:34:24 7:57:55 16:02:05 14.40%       40.80%   44.90%                                      0:06:10                              0:00:00                 0:05:01                    3:15:57                  0:08:54
  5/4/2023 Salman Ismail                 1:38:19   1:15:14  4:17:03 7:10:36 17:07:59 22.80%       17.50%   59.70%                                      0:05:00                              0:00:00                 0:04:53                    3:53:11                  0:08:19
  5/4/2023 Phoenix Paralegal             1:35:53   3:34:55  2:52:16 8:03:04 15:56:56 19.90%       44.50%   35.70%                                      0:04:34                              0:00:00                 2:14:57                    2:46:58                  0:23:51
  5/4/2023 Ramon Guerrero                0:00:00   9:34:18  0:00:00 9:34:18 14:25:42      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Jessenia Oseguera             1:47:23   3:44:17  3:39:06 9:10:46 14:49:14 19.50%       40.70%   39.80%                                      0:07:25                              0:00:00                 0:04:18                    5:26:09                  0:08:48
  5/4/2023 Ivis Parada                   0:00:00   3:54:04  0:00:00 3:54:04 9:48:27       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Nickolas Mossa                0:49:04   2:15:09  3:54:25 6:58:38 17:27:15 11.70%       32.30%       56%                                     0:03:59                              0:00:00                 0:05:00                    3:01:42                  0:04:46
  5/4/2023 Hanner Angulo                 6:29:46   1:39:03  1:59:13 10:08:02 13:51:58 64.10%      16.30%   19.60%                                      0:00:52                              0:00:00                 0:00:00                    1:17:20                  0:00:52
  5/4/2023 Victoria Dang                 0:29:42   4:15:59  3:36:46 8:22:27 15:37:33   5.90%         51%   43.10%                                      0:02:53                              0:00:00                 0:05:01                    2:20:33                  0:02:59
  5/4/2023 Sufyaan Lakhani               0:00:00 24:00:00   0:00:00 24:00:00 0:00:00      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Mahmoud Bany-Mohammed         1:11:50   4:13:38  3:20:11 8:45:39 15:14:21 13.70%       48.30%   38.10%                                      0:03:55                              0:00:00                 0:05:01                    2:37:43                  0:05:15
  5/4/2023 Melina Beltran                0:19:40   2:46:14  4:55:37 8:01:31 16:51:29   4.10%      34.50%   61.40%                                      0:07:37                              0:00:00                 0:00:03                    4:42:05                  0:07:37
  5/4/2023 Erica Kline                   1:16:51   2:05:51  5:21:12 8:43:54 15:16:06 14.70%          24%   61.30%                                      0:09:10                              0:00:00                 0:04:46                    5:20:57                  0:13:57
  5/4/2023 Julissa Jimenez               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Jose Sanchez(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Carlos Solano(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 eric Zoom Engineer            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 andre alvarenga               0:34:05   1:38:07  6:05:57 8:18:09 15:41:51   6.80%      19.70%   73.50%                                      0:15:24                              0:00:00                 0:06:28                    6:29:50                  0:20:31
  5/4/2023 NELSON OTALORA                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Ashley Jones                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Nikki Miller                  3:23:54   0:44:12  2:57:22 7:05:28 16:54:32 47.90%       10.40%   41.70%                                      0:09:27                              0:00:00                 0:03:00                    2:51:59                  0:11:27
  5/4/2023 Desiree De La Rosa(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Manny Alatorre                1:56:41   1:47:36  4:35:57 8:20:14 16:19:31 23.30%       21.50%   55.20%                                      0:04:03                              0:00:00                 0:04:28                    3:35:05                  0:05:07
  5/4/2023 Tainis Tapias                 2:49:51   1:21:33  5:36:21 9:47:45 14:12:15 28.90%       13.90%   57.20%                                      0:10:47                              0:00:00                 0:05:00                    5:37:41                  0:14:40
  5/4/2023 Jason Cast                    0:00:00   6:37:57  0:41:22 7:19:19 16:56:27      0%      90.60%     9.40%                                     0:18:49                              0:00:00                 0:00:00                    0:37:38                  0:18:49
  5/4/2023 Selina Taing                  0:00:02   6:13:18  0:01:24 6:14:44 17:52:27      0%      99.60%     0.40%                                     0:00:24                              0:00:00                 0:00:00                    0:01:39                  0:00:24
  5/4/2023 Connor Huskisson              2:02:43   3:14:11  3:55:07 9:12:01 14:47:59 22.20%       35.20%   42.60%                                      0:03:08                              0:00:00                 0:04:34                    2:55:57                  0:04:23
  5/4/2023 Tony Sanchez                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Reham Zin                     1:41:09   2:15:13  3:53:04 7:49:26 16:10:34 21.60%       28.80%   49.70%                                      0:04:10                              0:00:00                 0:05:01                    3:08:39                  0:05:53
  5/4/2023 Sarika Mande(deleted)         3:00:14   1:07:35  4:10:58 8:18:47 15:41:13 36.10%       13.60%   50.30%                                      0:10:07                              0:00:00                 0:52:08                   19:53:11                  0:59:39
  5/4/2023 Brian Lucaci                  0:00:00   7:19:05  0:00:00 7:19:05 16:40:55      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 James Andra                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Sarah Ross                    0:00:00   7:25:50  0:00:00 7:25:50 16:54:26      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Sophia Goins                  1:00:18   0:00:04  0:25:35 1:25:57 22:34:03 70.20%        0.10%   29.80%                                      0:25:21                              0:00:00                 0:00:13                    0:25:34                  0:25:34
  5/4/2023 Karen O'Connell               3:15:19   0:47:56  1:45:15 5:48:30 18:11:30     56%      13.80%   30.20%                                      0:02:58                              0:00:00                 0:05:01                    1:41:48                  0:05:21
  5/4/2023 Kevin Marquez                 3:06:50   1:30:22  3:37:49 8:15:01 16:03:09 37.70%       18.30%       44%                                     0:15:29                              0:00:00                 0:02:29                    3:30:52                  0:17:34
  5/4/2023 Stephanie Reynoso             1:53:54   1:26:30  3:55:16 7:15:40 16:44:20 26.10%       19.90%       54%                                     0:02:30                              0:00:00                 0:04:52                    2:58:17                  0:04:03
  5/4/2023 justin andra                  2:12:29 16:59:13   4:48:18 24:00:00 0:00:00   9.20%      70.80%       20%                                     0:05:03                              0:00:00                 0:05:00                    4:21:57                  0:09:42
  5/4/2023 Ty Carss                      0:00:00   1:10:25  0:19:15 1:29:40 22:43:37      0%      78.50%   21.50%                                      0:16:04                              0:00:00                 0:00:00                    0:16:04                  0:16:04
  5/4/2023 Sally Mahmoud(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 25 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/4/2023 Isa Avina-Cardiel             3:26:50   1:37:42  2:23:55 7:28:27 16:31:33 46.10%       21.80%   32.10%                                      0:08:03                              0:00:00                 0:02:45                    2:23:13                  0:10:13
  5/4/2023 Arturo Velasquez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Golam Khan                    1:46:37 17:52:12   4:21:11 24:00:00 0:00:00   7.40%      74.50%   18.10%                                      0:04:41                              0:00:00                 0:04:50                    4:11:31                  0:07:11
  5/4/2023 Jas Sanchez                   1:06:09   2:49:40  4:24:30 8:20:19 16:04:32 13.20%       33.90%   52.90%                                      0:08:51                              0:00:00                 0:04:36                    4:10:11                  0:11:22
  5/4/2023 Quynh Nguyen                  0:41:59   2:55:08  3:59:38 7:36:45 16:23:15   9.20%      38.40%   52.50%                                      0:04:06                              0:00:00                 0:04:55                    3:32:23                  0:05:10
  5/4/2023 Marie Claire Salom            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Elio Riano                    4:52:54   1:22:54  2:07:12 8:23:00 15:37:00 58.20%       16.50%   25.30%                                      0:05:07                              0:00:00                 0:01:19                    1:57:02                  0:05:51
  5/4/2023 Andres Zuleta                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Nassir Diab                   1:16:51   2:49:52  4:00:22 8:07:05 15:52:55 15.80%       34.90%   49.40%                                      0:01:10                              0:00:00                 0:05:01                    1:37:53                  0:01:28
  5/4/2023 Kimberly Torres               0:57:22   0:59:33  4:46:38 6:43:33 18:07:35 14.20%       14.80%       71%                                     0:10:41                              0:00:00                 0:16:18                    4:00:48                  0:11:28
  5/4/2023 Abe Flores                    0:47:19   1:44:28  5:28:06 7:59:53 16:00:07   9.90%      21.80%   68.40%                                      0:17:38                              0:00:00                 0:04:39                    5:25:09                  0:21:40
  5/4/2023 esteban guevara               0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Jennifer Andra                0:10:04   3:09:18  4:46:16 8:05:38 16:24:48   2.10%         39%       59%                                     0:05:40                              0:00:00                 0:04:44                    3:58:19                  0:06:26
  5/4/2023 Shadia Chavez                 0:00:00   9:50:15  0:00:00 9:50:15 14:09:45      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Ali Mohamed                   1:46:25 17:46:56   4:44:31 24:17:52 0:00:00   7.30%      73.20%   19.50%                                      0:06:18                              0:00:00                 0:04:40                    4:14:31                  0:08:29
  5/4/2023 Brad Lucaci                   0:00:00   3:24:01  0:00:00 3:24:01 20:35:59      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Iman Nejad                    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Anthony Base                  5:47:03   1:49:31  1:18:14 8:54:48 15:05:12 64.90%       20.50%   14.60%                                      0:04:56                              0:00:00                 0:01:13                    1:01:40                  0:05:08
  5/4/2023 Valerie L(deleted)            3:32:08   2:19:43  3:25:00 9:16:51 14:43:10 38.10%       25.10%   36.80%                                      0:07:38                              0:00:00                 0:03:00                    3:22:28                  0:10:07
  5/4/2023 Sulaiman Khan                 1:08:46   2:42:20  3:16:27 7:07:33 16:56:04 16.10%          38%       46%                                     0:01:47                              0:00:00                 0:03:58                    1:47:27                  0:02:06
  5/4/2023 Rafael de la Torre(deleted)   1:49:46   2:32:52  5:37:22 10:00:00 14:00:00 18.30%      25.50%   56.20%                                      0:10:48                              0:00:00                 0:04:44                    5:43:36                  0:14:56
  5/4/2023 yuliana mendoza               2:11:26   1:43:18  6:08:10 10:02:54 13:57:06 21.80%      17.10%   61.10%                                      0:09:07                              0:00:00                 0:04:55                    6:13:51                  0:13:21
  5/4/2023 Josue Alvarez                 0:32:59   3:01:34  4:51:23 8:25:56 16:05:25   6.50%      35.90%   57.60%                                      0:13:39                              0:00:00                 0:05:01                    4:42:18                  0:16:36
  5/4/2023 Sabah Ismail                  0:38:41   2:20:05  4:36:26 7:35:12 16:24:48   8.50%      30.80%   60.70%                                      0:04:20                              0:00:00                 0:05:33                    3:20:37                  0:05:34
  5/4/2023 Nicole Morris                 0:48:55 18:35:06   4:35:59 24:00:00 0:00:00   3.40%      77.40%   19.20%                                      0:01:47                              0:00:00                 0:02:00                    3:03:19                  0:03:27
  5/4/2023 David Brown(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Humza Shariff                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Jeferson Garcia               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Karla Bravo                   0:00:00   5:32:23  0:39:35 6:11:58 17:48:14      0%      89.40%   10.60%                                      0:10:46                              0:00:00                 0:00:00                    0:32:18                  0:10:46
  5/4/2023 Kaitlyn Campuzano             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Kimberly Ramirez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Nathan Perez                  0:00:08   3:10:50  0:08:22 3:19:20 20:40:40   0.10%      95.70%     4.20%                                     0:08:02                              0:00:00                 0:00:00                    0:08:02                  0:08:02
  5/4/2023 Eeyah Tan                     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Matt Douglas                  0:00:00   0:58:58  0:00:00 0:58:58 23:01:02      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Angelie Perez                 0:00:00   6:55:10  0:00:00 6:55:10 17:04:50      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Luis Santos(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Griselda Reina(deleted)       0:37:10   1:58:31  5:09:54 7:45:35 17:05:08      8%      25.50%   66.60%                                      0:03:31                              0:00:00                 0:04:18                    4:05:06                  0:04:22
  5/4/2023 Carmen Marza                  2:07:18   1:03:08  4:42:14 7:52:40 16:07:20 26.90%       13.40%   59.70%                                      0:06:00                              0:00:00                 0:05:00                    4:19:22                  0:08:56
  5/4/2023 Kevin Ceballos                1:41:17 18:04:29   4:14:14 24:00:00 0:00:00      7%      75.30%   17.70%                                      0:08:44                              0:00:00                 0:05:00                    3:53:41                  0:11:07
  5/4/2023 Hernan Navarro(deleted)       0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 George Sanchez                1:32:03   3:00:00  4:54:33 9:26:36 14:33:24 16.30%       31.80%       52%                                     0:09:15                              0:00:00                 0:04:08                    4:51:24                  0:12:40
  5/4/2023 Amir nejad                    1:05:59   4:01:52  2:49:06 7:56:57 16:03:03 13.80%       50.70%   35.50%                                      0:04:37                              0:00:00                 0:02:50                    2:44:33                  0:06:05
  5/4/2023 Legal Phoenix                 1:04:15   3:01:58  0:24:08 4:30:21 19:29:39 23.80%       67.30%     8.90%                                     0:02:45                              0:00:00                 0:00:00                    0:19:16                  0:02:45
  5/4/2023 Emely Acevedo                 1:40:31   1:03:08  5:24:56 8:08:35 16:07:45 20.60%       12.90%   66.50%                                      0:06:13                              0:00:00                 0:03:52                    4:43:45                  0:08:06
  5/4/2023 Hunter Glass                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Daniel Martinez               0:00:00   5:13:50  0:00:00 5:13:50 18:46:10      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Yesica Sierra                 1:23:30   1:41:18  6:58:10 10:02:58 13:57:02 13.90%      16.80%   69.40%                                      0:13:52                              0:00:00                 0:04:45                    7:08:40                  0:18:38
  5/4/2023 Katherine Maldonado           0:00:00   6:31:35  0:00:00 6:31:35 17:57:46      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Brandon DeLaura               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Max Zinchini                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Mohammad Kaskas(deleted)      0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 26 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/4/2023 Cindy Vazquez                 1:52:41   1:51:50  4:19:00 8:03:31 16:30:06 23.30%       23.10%   53.60%                                      0:04:40                              0:00:00                 0:05:01                    3:39:58                  0:07:05
  5/4/2023 Kenneth Acuna                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/4/2023 Samuel Pierce                 0:07:32   4:01:15  3:45:01 7:53:48 16:06:12   1.60%      50.90%   47.50%                                      0:01:50                              0:00:00                 0:04:09                    1:49:30                  0:01:55
  5/4/2023 Khalil Beshoy                 1:33:29   1:37:53  5:05:09 8:16:31 15:43:29 18.80%       19.70%   61.50%                                      0:06:59                              0:00:00                 0:04:20                    4:59:03                  0:09:38
  5/4/2023 Mike Larkin                   1:04:41   3:32:25  4:49:26 9:26:32 14:33:28 11.40%       37.50%   51.10%                                      0:02:54                              0:00:00                 0:05:01                    3:37:45                  0:03:53
  5/4/2023 Andrea Albor                  4:16:16   1:46:14  3:52:37 9:55:07 14:04:53 43.10%       17.90%   39.10%                                      0:00:50                              0:00:00                 0:00:00                    1:46:18                  0:00:50
  5/4/2023 Hanya Zargaran                2:04:28   1:32:25  4:29:52 8:06:45 15:53:15 25.60%          19%   55.40%                                      0:06:30                              0:00:00                 0:05:01                    4:28:06                  0:10:43
  5/5/2023 Josey Harvey                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Fausto Beleno                 0:26:27   2:44:04  6:52:27 10:02:58 14:56:57  4.40%      27.20%   68.40%                                      0:11:33                              0:00:00                 0:04:47                    7:04:50                  0:16:20
  5/5/2023 Bianca Loli                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Jarod Vaughan                 0:02:29   5:23:41  2:53:31 8:19:41 15:40:19   0.50%      64.80%   34.70%                                      0:04:57                              0:00:00                 0:05:00                    3:04:14                  0:06:49
  5/5/2023 Kian Narani                   1:14:55   1:31:13  4:38:34 7:24:42 16:35:18 16.90%       20.50%   62.60%                                      0:10:01                              0:00:00                 0:01:24                    6:55:02                  0:11:13
  5/5/2023 bonnie romero                 0:19:27   3:11:56  5:02:04 8:33:27 15:26:33   3.80%      37.40%   58.80%                                      0:07:31                              0:00:00                 0:01:37                    5:16:57                  0:08:48
  5/5/2023 Erika Cortes                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Jess Pena                     0:15:25   9:47:04  4:46:47 14:49:16 10:05:36  1.70%         66%   32.30%                                      0:07:19                              0:00:00                 0:03:50                    4:26:39                  0:09:52
  5/5/2023 Salma Aranda                  0:45:08   2:43:46  4:56:17 8:25:11 15:34:49   8.90%      32.40%   58.70%                                      0:06:39                              0:00:00                 0:04:59                    5:06:17                  0:10:56
  5/5/2023 Daniel Orellana               0:04:20   2:52:54  5:02:53 8:00:07 15:59:53   0.90%         36%   63.10%                                      0:05:40                              0:00:00                 0:05:00                    5:06:47                  0:09:35
  5/5/2023 Karen Saldana-Lopez           0:00:00   0:00:00  0:00:00 0:00:00 13:56:11      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Saif Ismail                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Ivonne Diaz                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Christine Le                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Stephany Gutierrez            0:00:00   4:17:50  0:00:00 4:17:50 20:19:34      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Lex Avina-Cardiel             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Sebastian Vasquez             0:49:43   2:37:37  6:34:23 10:01:43 14:58:12  8.30%      26.20%   65.50%                                      0:06:06                              0:00:00                 0:04:57                    7:12:05                  0:11:04
  5/5/2023 Abraham Sanchez               3:21:05   3:03:59  2:44:09 9:09:13 15:33:18 36.60%       33.50%   29.90%                                      0:09:07                              0:00:00                 0:03:01                    2:41:04                  0:10:44
  5/5/2023 Amanda Stephens               0:00:00   6:31:11  0:00:00 6:31:11 18:17:52      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Christian Sangalang           0:06:08   3:42:45  3:48:33 7:37:26 16:22:34   1.30%      48.70%       50%                                     0:04:46                              0:00:00                 0:04:49                    3:45:27                  0:08:03
  5/5/2023 Salman Ismail                 0:14:06   1:28:59  5:53:46 7:36:51 16:58:41   3.10%      19.50%   77.40%                                      0:05:10                              0:00:00                 0:04:56                    5:09:50                  0:08:51
  5/5/2023 Phoenix Paralegal             0:52:53   8:07:17  0:38:43 9:38:53 14:21:07   9.10%      84.20%     6.70%                                     0:04:58                              0:00:00                 0:00:00                    0:24:51                  0:04:58
  5/5/2023 Ramon Guerrero                0:00:00   8:44:04  0:00:00 8:44:04 16:15:21      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Jessenia Oseguera             0:11:07   4:17:30  4:32:19 9:00:56 15:00:53   2.10%      47.60%   50.30%                                      0:11:21                              0:00:00                 0:04:32                    6:58:09                  0:14:25
  5/5/2023 Ivis Parada                   1:52:09   5:12:51  1:50:33 8:55:33 15:04:27 20.90%       58.40%   20.60%                                      0:04:37                              0:00:00                 0:01:52                    1:29:39                  0:04:43
  5/5/2023 Nickolas Mossa                0:05:01   3:05:15  4:51:31 8:01:47 16:44:07      1%      38.50%   60.50%                                      0:03:44                              0:00:00                 0:05:01                    4:23:48                  0:05:51
  5/5/2023 Hanner Angulo                 7:06:01   1:38:15  1:17:53 10:02:09 13:57:51 70.80%      16.30%   12.90%                                      0:00:35                              0:00:00                 0:00:00                    0:45:01                  0:00:35
  5/5/2023 Victoria Dang                 0:02:41   3:47:30  4:32:12 8:22:23 15:58:26   0.50%      45.30%   54.20%                                      0:05:43                              0:00:00                 0:04:56                    4:11:17                  0:06:47
  5/5/2023 Sufyaan Lakhani               0:08:14   9:18:06  6:01:33 15:27:53 9:03:04   0.90%      60.10%       39%                                     0:06:33                              0:00:00                 0:03:58                    6:20:06                  0:10:00
  5/5/2023 Mahmoud Bany-Mohammed         0:08:45   4:21:37  4:01:39 8:32:01 15:40:34   1.70%      51.10%   47.20%                                      0:08:33                              0:00:00                 0:04:48                    4:15:34                  0:11:37
  5/5/2023 Melina Beltran                1:21:15   0:53:53  4:51:52 7:07:00 18:42:06     19%      12.60%   68.40%                                      0:06:45                              0:00:00                 0:01:05                    4:34:47                  0:06:52
  5/5/2023 Erica Kline                   0:12:08   3:07:25  5:01:42 8:21:15 15:38:45   2.40%      37.40%   60.20%                                      0:06:31                              0:00:00                 0:04:49                    5:10:10                  0:10:41
  5/5/2023 Ralph Breneville              0:00:00   0:00:00  0:00:00 0:00:00 13:37:19      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Julissa Jimenez               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Jose Sanchez(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Carlos Solano(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 eric Zoom Engineer            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 andre alvarenga               0:06:18   1:51:24  5:54:10 7:51:52 16:54:48   1.30%      23.60%   75.10%                                      0:14:36                              0:00:00                 0:04:52                    6:00:25                  0:18:58
  5/5/2023 NELSON OTALORA                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Ashley Jones                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Nikki Miller                  3:09:30   1:09:00  2:26:56 6:45:26 17:14:34 46.70%          17%   36.20%                                      0:09:27                              0:00:00                 0:03:01                    2:23:40                  0:11:58
  5/5/2023 Desiree De La Rosa(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Manny Alatorre                0:18:49   1:38:13  6:21:00 8:18:02 16:21:10   3.80%      19.70%   76.50%                                      0:05:06                              0:00:00                 0:04:13                    5:45:52                  0:07:21
  5/5/2023 Tainis Tapias                 0:12:47   2:24:40  7:09:04 9:46:31 14:13:29   2.20%      24.70%   73.20%                                      0:10:27                              0:00:00                 0:04:52                    7:24:47                  0:15:20
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 27 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/5/2023 Jason Cast                    0:01:40   5:41:33  0:48:50 6:32:03 17:28:10   0.40%      87.10%   12.50%                                      0:45:43                              0:00:00                 0:00:00                    0:45:43                  0:45:43
  5/5/2023 Selina Taing                  0:00:22   4:39:14  0:12:14 4:51:50 19:08:10   0.10%      95.70%     4.20%                                     0:02:19                              0:00:00                 0:00:13                    0:21:09                  0:02:21
  5/5/2023 Connor Huskisson              0:38:52   3:59:45  4:22:07 9:00:44 14:59:16   7.20%      44.30%   48.50%                                      0:04:17                              0:00:00                 0:04:45                    4:01:12                  0:07:05
  5/5/2023 Tony Sanchez                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Reham Zin                     0:08:35   2:35:31  4:35:33 7:19:39 17:09:20      2%      35.40%   62.70%                                      0:05:07                              0:00:00                 0:05:00                    4:59:27                  0:09:04
  5/5/2023 Sarika Mande(deleted)         4:36:04   1:54:23  1:53:35 8:24:02 15:35:59 54.80%       22.70%   22.50%                                      0:06:54                              0:00:00                 0:02:39                    1:44:10                  0:08:40
  5/5/2023 Brian Lucaci                  0:00:00   7:52:10  0:00:00 7:52:10 16:40:54      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 James Andra                   0:02:57   4:55:50  4:10:43 9:09:30 14:50:30   0.50%      53.80%   45.60%                                      0:03:07                              0:00:00                 0:05:01                    2:59:56                  0:04:29
  5/5/2023 Sarah Ross                    0:00:00   7:20:47  0:00:00 7:20:47 16:39:13      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Sophia Goins                  8:21:18   0:00:03  0:02:27 8:23:48 15:36:12 99.50%           0%     0.50%                                     0:02:19                              0:00:00                 0:00:08                    0:02:27                  0:02:27
  5/5/2023 Karen O'Connell               0:39:26   3:05:57  4:12:43 7:58:06 16:25:07   8.30%      38.90%   52.90%                                      0:06:24                              0:00:00                 0:04:47                    4:33:45                  0:10:08
  5/5/2023 Kevin Marquez                 2:46:33   1:39:57  2:34:11 7:00:41 17:26:32 39.60%       23.80%   36.70%                                      0:09:37                              0:00:00                 0:02:43                    2:26:52                  0:11:17
  5/5/2023 Stephanie Reynoso             0:09:42   2:50:19  4:22:54 7:22:55 17:01:33   2.20%      38.50%   59.40%                                      0:06:50                              0:00:00                 0:04:59                    4:39:02                  0:11:37
  5/5/2023 justin andra                  0:05:04 18:35:24   5:52:28 24:32:56 0:00:00   0.30%      75.70%   23.90%                                      0:04:46                              0:00:00                 0:04:04                    4:35:03                  0:08:35
  5/5/2023 Ty Carss                      0:00:00   1:00:11  0:14:07 1:14:18 23:30:07      0%         81%       19%                                     0:10:43                              0:00:00                 0:00:00                    0:10:43                  0:10:43
  5/5/2023 Sally Mahmoud(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Isa Avina-Cardiel             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Arturo Velasquez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Golam Khan                    0:16:44 19:01:41   4:41:35 24:00:00 0:00:00   1.20%      79.30%   19.60%                                      0:06:18                              0:00:00                 0:04:35                    5:22:34                  0:09:12
  5/5/2023 Jas Sanchez                   0:04:08   2:06:30  4:34:11 6:44:49 17:19:36      1%      31.30%   67.70%                                      0:06:24                              0:00:00                 0:04:07                    4:55:33                  0:09:14
  5/5/2023 Quynh Nguyen                  0:15:56   2:37:17  4:26:56 7:20:09 16:39:51   3.60%      35.70%   60.70%                                      0:04:25                              0:00:00                 0:04:37                    4:02:12                  0:06:32
  5/5/2023 Marie Claire Salom            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Elio Riano                    3:48:27   1:13:18  3:51:18 8:53:03 15:06:57 42.90%       13.80%   43.40%                                      0:12:38                              0:00:00                 0:01:53                    3:46:52                  0:14:10
  5/5/2023 Andres Zuleta                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Nassir Diab                   0:05:50   3:00:34  3:11:31 6:17:55 18:05:07   1.50%      47.80%   50.70%                                      0:02:52                              0:00:00                 0:05:01                    2:34:19                  0:04:58
  5/5/2023 Kimberly Torres               2:01:14   1:07:06  5:05:28 8:13:48 15:46:12 24.60%       13.60%   61.90%                                      0:07:14                              0:00:00                 0:00:00                    3:51:46                  0:07:14
  5/5/2023 Abe Flores                    0:35:49   1:32:59  5:24:15 7:33:03 16:26:57   7.90%      20.50%   71.60%                                      0:15:23                              0:00:00                 0:02:54                    5:26:37                  0:18:08
  5/5/2023 Jennifer Andra                0:05:37   2:41:00  5:15:54 8:02:31 16:22:25   1.20%      33.40%   65.50%                                      0:03:26                              0:00:00                 0:04:43                    4:42:50                  0:05:03
  5/5/2023 Shadia Chavez                 0:00:00 10:25:21   0:00:00 10:25:21 13:34:39     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Ali Mohamed                   0:09:08 19:09:06   5:40:49 24:59:03 0:00:00   0.60%      76.70%   22.70%                                      0:06:46                              0:00:00                 0:05:00                    5:25:44                  0:09:34
  5/5/2023 Brad Lucaci                   0:00:00   2:30:22  0:00:00 2:30:22 21:59:40      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Iman Nejad                    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Anthony Base                  5:36:22   2:08:11  1:06:22 8:50:55 15:21:34 63.40%       24.10%   12.50%                                      0:04:42                              0:00:00                 0:02:31                    1:02:16                  0:06:13
  5/5/2023 Valerie L(deleted)            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Sulaiman Khan                 0:08:39   1:56:28  2:52:12 4:57:19 19:38:02   2.90%      39.20%   57.90%                                      0:03:49                              0:00:00                 0:04:19                    2:35:30                  0:05:58
  5/5/2023 Rafael de la Torre(deleted)   0:38:27   2:29:42  6:52:55 10:01:04 13:58:56  6.40%      24.90%   68.70%                                      0:11:11                              0:00:00                 0:05:00                    6:56:21                  0:16:00
  5/5/2023 yuliana mendoza               0:36:21   2:14:38  7:11:06 10:02:05 14:57:47     6%      22.40%   71.60%                                      0:08:20                              0:00:00                 0:04:53                    7:24:55                  0:13:05
  5/5/2023 Josue Alvarez                 0:03:07   3:03:52  4:25:01 7:32:00 16:28:00   0.70%      40.70%   58.60%                                      0:11:48                              0:00:00                 0:05:00                    4:35:51                  0:16:13
  5/5/2023 Sabah Ismail                  0:04:27   2:57:53  4:39:26 7:41:46 17:14:26      1%      38.50%   60.50%                                      0:07:47                              0:00:00                 0:04:56                    4:16:20                  0:10:15
  5/5/2023 Nicole Morris                 0:00:40 19:02:42   5:06:28 24:09:50 0:00:00   0.10%      78.80%   21.10%                                      0:06:44                              0:00:00                 0:02:16                    3:54:42                  0:08:41
  5/5/2023 David Brown(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Humza Shariff                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Jeferson Garcia               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Karla Bravo                   0:00:00   6:05:37  0:16:56 6:22:33 17:41:41      0%      95.60%     4.40%                                     0:13:45                              0:00:00                 0:00:00                    0:13:45                  0:13:45
  5/5/2023 Kaitlyn Campuzano             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Kimberly Ramirez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Nathan Perez                  0:00:10   6:21:17  0:02:06 6:23:33 18:05:11      0%      99.40%     0.60%                                     0:01:50                              0:00:00                 0:00:00                    0:01:50                  0:01:50
  5/5/2023 Eeyah Tan                     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Matt Douglas                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Angelie Perez                 0:00:00   7:52:20  0:00:00 7:52:20 16:11:29      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Luis Santos(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                            Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                  Declaration of Brad Lee with Exhs A-G in support of Trustee Page 28 of 189

Date       Agent Name                 Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/5/2023 Jasmin Amezcua             0:00:00   0:00:25  0:00:00 0:00:25 13:27:47      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Daisy Meneses              0:01:20   1:08:11  1:58:08 3:07:39 8:03:56    0.70%      36.30%      63%                                      0:22:05                              0:00:00                 0:03:28                    2:07:48                  0:25:33
  5/5/2023 Griselda Reina(deleted)    0:01:06   1:28:03  3:07:10 4:36:19 19:23:41   0.40%      31.90%   67.70%                                      0:09:21                              0:00:00                 0:04:01                    3:16:30                  0:13:06
  5/5/2023 Carmen Marza               0:30:26   2:05:36  5:08:42 7:44:44 17:11:56   6.60%         27%   66.40%                                      0:05:28                              0:00:00                 0:05:00                    4:56:38                  0:08:43
  5/5/2023 Kevin Ceballos             0:06:07 17:52:33   6:01:20 24:00:00 0:00:00   0.40%      74.50%   25.10%                                      0:10:32                              0:00:00                 0:05:00                    6:19:22                  0:14:35
  5/5/2023 George Sanchez             0:09:02   3:08:05  6:09:57 9:27:04 14:32:56   1.60%      33.20%   65.20%                                      0:08:34                              0:00:00                 0:03:14                    6:14:52                  0:11:42
  5/5/2023 Amir nejad                 0:08:03   3:34:42  4:26:53 8:09:38 15:50:22   1.60%      43.90%   54.50%                                      0:07:58                              0:00:00                 0:02:35                    5:25:13                  0:10:09
  5/5/2023 Legal Phoenix              0:00:00   3:49:29  0:51:45 4:41:14 19:21:49      0%      81.60%   18.40%                                      0:09:56                              0:00:00                 0:00:00                    0:49:43                  0:09:56
  5/5/2023 Emely Acevedo              0:04:42   1:40:35  7:04:45 8:50:02 15:09:58   0.90%         19%   80.10%                                      0:13:26                              0:00:00                 0:04:41                    9:11:30                  0:16:42
  5/5/2023 Hunter Glass               3:28:12   1:59:32  2:28:51 7:56:35 16:03:25 43.70%       25.10%   31.20%                                      0:14:07                              0:00:00                 0:02:19                    2:25:50                  0:16:12
  5/5/2023 Daniel Martinez            0:00:00   1:01:05  0:00:00 1:01:05 23:47:33      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Yesica Sierra              0:49:59   2:22:51  6:56:04 10:08:54 13:51:06  8.20%      23.50%   68.30%                                      0:08:37                              0:00:00                 0:04:53                    6:59:05                  0:13:31
  5/5/2023 Katherine Maldonado        0:00:00   5:15:34  0:00:00 5:15:34 18:50:20      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Brandon DeLaura            1:10:50   2:57:14  4:09:57 8:18:01 15:50:37 14.20%       35.60%   50.20%                                      0:04:39                              0:00:00                 0:05:01                    4:10:19                  0:08:20
  5/5/2023 Max Zinchini               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Mohammad Kaskas(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Cindy Vazquez              0:08:58   1:44:15  6:27:34 8:20:47 16:19:30   1.80%      20.80%   77.40%                                      0:09:42                              0:00:00                 0:05:01                    6:42:14                  0:14:21
  5/5/2023 Kenneth Acuna              0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/5/2023 Samuel Pierce              0:03:39   2:21:25  2:48:17 5:13:21 19:22:10   1.20%      45.10%   53.70%                                      0:04:01                              0:00:00                 0:04:35                    2:11:41                  0:04:52
  5/5/2023 Khalil Beshoy              0:06:39   2:15:37  5:50:24 8:12:40 16:18:35   1.40%      27.50%   71.10%                                      0:07:04                              0:00:00                 0:04:20                    5:55:44                  0:10:09
  5/5/2023 Mike Larkin                0:18:51   3:18:49  5:46:12 9:23:52 14:36:08   3.30%      35.30%   61.40%                                      0:05:27                              0:00:00                 0:04:58                    5:32:57                  0:08:07
  5/5/2023 Andrea Albor               5:25:06   1:24:45  3:07:07 9:56:58 14:03:02 54.50%       14.20%   31.30%                                      0:00:51                              0:00:00                 0:00:00                    1:14:25                  0:00:51
  5/5/2023 Hanya Zargaran             0:06:35   1:14:40  5:02:18 6:23:33 17:36:27   1.70%      19.50%   78.80%                                      0:10:41                              0:00:00                 0:04:49                    5:11:27                  0:14:49
  5/8/2023 Josey Harvey               0:02:03   2:06:16  6:00:57 8:09:16 16:27:10   0.40%      25.80%   73.80%                                      0:10:00                              0:00:00                 0:03:17                    5:49:33                  0:12:03
  5/8/2023 Fausto Beleno              0:04:58   2:21:58  7:37:30 10:04:26 13:55:34  0.80%      23.50%   75.70%                                      0:13:38                              0:00:00                 0:05:00                    7:46:29                  0:18:39
  5/8/2023 Bianca Loli                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Jarod Vaughan              0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Kian Narani                0:05:01   1:23:09  6:26:52 7:55:02 16:04:58   1.10%      17.50%   81.40%                                      0:08:33                              0:00:00                 0:02:15                    6:19:46                  0:10:15
  5/8/2023 bonnie romero              0:02:55   3:50:18  4:21:38 8:14:51 15:45:09   0.60%      46.50%   52.90%                                      0:08:00                              0:00:00                 0:01:39                    4:35:12                  0:09:10
  5/8/2023 Erika Cortes               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Jess Pena                  0:03:50   4:44:55  3:55:14 8:43:59 15:16:01   0.70%      54.40%   44.90%                                      0:08:39                              0:00:00                 0:03:19                    3:41:37                  0:10:33
  5/8/2023 Salma Aranda               0:07:20   3:02:30  5:09:45 8:19:35 15:40:25   1.50%      36.50%      62%                                      0:09:14                              0:00:00                 0:05:01                    4:57:09                  0:12:22
  5/8/2023 Daniel Orellana            0:02:22   3:11:30  4:27:25 7:41:17 16:55:20   0.50%      41.50%      58%                                      0:04:59                              0:00:00                 0:05:01                    4:04:50                  0:07:53
  5/8/2023 Karen Saldana-Lopez        0:05:20   3:17:58  4:54:28 8:17:46 15:42:14   1.10%      39.80%   59.20%                                      0:11:16                              0:00:00                 0:04:35                    5:14:41                  0:14:59
  5/8/2023 Saif Ismail                0:02:50   2:46:05  5:29:38 8:18:33 15:41:27   0.60%      33.30%   66.10%                                      0:07:03                              0:00:00                 0:04:44                    5:30:15                  0:11:47
  5/8/2023 Ivonne Diaz                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Christine Le               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Stephany Gutierrez         0:00:00   5:12:57  0:00:00 5:12:57 18:47:03      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Lex Avina-Cardiel          0:06:51   3:11:27  6:03:00 9:21:18 14:42:12   1.20%      34.10%   64.70%                                      0:11:21                              0:00:00                 0:04:01                    6:01:01                  0:15:02
  5/8/2023 Sebastian Vasquez          0:06:14   2:45:19  7:09:35 10:01:08 13:58:52     1%      27.50%   71.50%                                      0:06:33                              0:00:00                 0:04:52                    7:32:20                  0:11:18
  5/8/2023 Abraham Sanchez            1:26:03   1:56:16  5:15:54 8:38:13 15:21:47 16.60%       22.40%      61%                                      0:13:11                              0:00:00                 0:03:01                    5:13:15                  0:14:55
  5/8/2023 Amanda Stephens            0:00:00   8:23:08  0:00:00 8:23:08 15:36:52      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Christian Sangalang        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Salman Ismail              0:08:24   1:32:01  5:52:26 7:32:51 16:27:09   1.90%      20.30%   77.80%                                      0:11:03                              0:00:00                 0:04:57                    8:18:55                  0:15:07
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  5/8/2023 Ramon Guerrero             0:00:00   9:44:09  0:00:00 9:44:09 14:15:51      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Jessenia Oseguera          0:03:02   4:34:22  4:20:43 8:58:07 15:01:53   0.60%         51%   48.50%                                      0:06:38                              0:00:00                 0:04:21                    4:02:34                  0:08:39
  5/8/2023 Ivis Parada                0:01:23   6:09:21  3:07:00 9:17:44 14:42:16   0.30%      66.20%   33.50%                                      0:06:57                              0:00:00                 0:00:00                    2:47:06                  0:06:57
  5/8/2023 Nickolas Mossa             0:01:41   2:39:01  4:03:26 6:44:08 17:52:13   0.40%      39.30%   60.20%                                      0:03:43                              0:00:00                 0:05:01                    3:17:44                  0:04:49
  5/8/2023 Hanner Angulo              6:08:41   1:36:42  2:13:34 9:58:57 14:01:03 61.60%       16.20%   22.30%                                      0:00:49                              0:00:00                 0:00:00                    1:21:37                  0:00:49
  5/8/2023 Victoria Dang              0:02:17   2:01:44  3:47:34 5:51:35 18:39:55   0.70%      34.60%   64.70%                                      0:02:44                              0:00:00                 0:04:22                    2:36:50                  0:03:24
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 29 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/8/2023 Sufyaan Lakhani               0:03:55   2:34:59  6:43:39 9:22:33 15:14:22   0.70%      27.60%   71.80%                                      0:07:39                              0:00:00                 0:03:51                    6:50:28                  0:11:24
  5/8/2023 Mahmoud Bany-Mohammed         0:01:35   4:52:44  3:21:03 8:15:22 15:44:38   0.30%      59.10%   40.60%                                      0:07:49                              0:00:00                 0:05:01                    3:11:37                  0:09:34
  5/8/2023 Melina Beltran                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Erica Kline                   0:02:24   2:29:53  4:40:35 7:12:52 17:45:08   0.60%      34.60%   64.80%                                      0:08:42                              0:00:00                 0:05:00                    4:43:13                  0:13:29
  5/8/2023 Ralph Breneville              0:01:38   3:28:49  4:21:59 7:52:26 16:58:31   0.40%      44.20%   55.50%                                      0:16:03                              0:00:00                 0:04:44                    5:13:54                  0:19:37
  5/8/2023 Julissa Jimenez               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Jose Sanchez(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 eric Zoom Engineer            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 andre alvarenga               0:03:52   1:38:59  6:43:01 8:25:52 15:57:31   0.80%      19.60%   79.70%                                      0:12:59                              0:00:00                 0:42:05                   19:13:52                  0:48:04
  5/8/2023 NELSON OTALORA                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Ashley Jones                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Nikki Miller                  1:14:14   0:50:46  5:10:44 7:15:44 16:48:15     17%      11.70%   71.30%                                      0:14:46                              0:00:00                 0:03:00                    5:14:14                  0:17:27
  5/8/2023 Desiree De La Rosa(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
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  5/8/2023 Tainis Tapias                 0:03:37   1:43:59  7:57:46 9:45:22 14:14:38   0.60%      17.80%   81.60%                                      0:12:17                              0:00:00                 0:05:01                    8:04:43                  0:17:18
  5/8/2023 Jason Cast                    0:00:00   8:16:30  0:00:00 8:16:30 15:43:30      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
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  5/8/2023 Connor Huskisson              0:08:29   2:53:50  6:11:22 9:13:41 14:46:19   1.50%      31.40%   67.10%                                      0:06:15                              0:00:00                 0:05:00                    6:04:43                  0:10:25
  5/8/2023 Tony Sanchez                  0:02:23   1:57:05  5:51:11 7:50:39 16:09:21   0.50%      24.90%   74.60%                                      0:04:01                              0:00:00                 0:04:14                    4:44:23                  0:04:59
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  5/8/2023 Sarika Mande(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Brian Lucaci                  0:00:00   7:51:32  0:00:00 7:51:32 16:42:27      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 James Andra                   0:04:26   2:44:44  5:33:57 8:23:07 15:36:53   0.90%      32.70%   66.40%                                      0:05:28                              0:00:00                 0:05:00                    4:42:33                  0:07:38
  5/8/2023 Sarah Ross                    0:00:00   7:52:03  0:00:00 7:52:03 16:07:57      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
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  5/8/2023 Kevin Marquez                 1:25:57   1:39:11  4:59:01 8:04:09 15:55:51 17.80%       20.50%   61.80%                                      0:12:25                              0:00:00                 0:02:37                    4:48:01                  0:14:24
  5/8/2023 Stephanie Reynoso             0:06:47   2:39:55  4:55:12 7:41:54 16:51:19   1.50%      34.60%   63.90%                                      0:07:58                              0:00:00                 0:04:40                    5:06:57                  0:12:16
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  5/8/2023 Ty Carss                      0:00:00   1:03:49  0:38:03 1:41:52 22:18:08      0%      62.70%   37.40%                                      0:17:25                              0:00:00                 0:00:00                    0:34:50                  0:17:25
  5/8/2023 Isa Avina-Cardiel             0:54:54   0:32:15  1:21:17 2:48:26 21:11:34 32.60%       19.20%   48.30%                                      0:07:54                              0:00:00                 0:03:00                    1:24:20                  0:10:32
  5/8/2023 Arturo Velasquez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
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  5/8/2023 Jas Sanchez                   0:06:04   1:01:04  3:47:50 4:54:58 19:05:02   2.10%      20.70%   77.20%                                      0:06:51                              0:00:00                 0:05:01                    3:31:03                  0:09:10
  5/8/2023 Quynh Nguyen                  0:00:51   1:08:49  2:19:36 3:29:16 21:18:03   0.40%      32.90%   66.70%                                      0:07:08                              0:00:00                 0:04:45                    2:08:34                  0:09:11
  5/8/2023 Marie Claire Salom            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Elio Riano                    2:14:46   1:14:10  4:54:54 8:23:50 15:36:10 26.80%       14.70%   58.50%                                      0:11:01                              0:00:00                 0:02:32                    4:53:36                  0:13:20
  5/8/2023 Andres Zuleta                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Nassir Diab                   0:19:18   2:12:45  5:42:12 8:14:15 15:45:45   3.90%      26.90%   69.20%                                      0:04:42                              0:00:00                 0:04:47                    5:27:28                  0:08:37
  5/8/2023 Kimberly Torres               3:00:25   1:57:12  2:47:55 7:45:32 16:52:09 38.80%       25.20%   36.10%                                      0:05:06                              0:00:00                 0:00:00                    1:57:39                  0:05:06
  5/8/2023 Abe Flores                    0:01:33   1:40:55  5:11:48 6:54:16 17:05:44   0.40%      24.40%   75.30%                                      0:11:51                              0:00:00                 0:03:58                    5:16:31                  0:15:04
  5/8/2023 Jennifer Andra                0:02:10   4:02:18  4:28:27 8:32:55 15:27:05   0.40%      47.20%   52.30%                                      0:03:38                              0:00:00                 0:04:11                    3:18:14                  0:04:36
  5/8/2023 Shadia Chavez                 0:00:00 10:06:14   0:00:00 10:06:14 13:53:46     0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
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  5/8/2023 Brad Lucaci                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Iman Nejad                    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Anthony Base                  2:26:52   1:41:59  4:26:07 8:34:58 15:25:02 28.50%       19.80%   51.70%                                      0:11:08                              0:00:00                 0:02:12                    4:22:34                  0:13:07
  5/8/2023 Valerie L(deleted)            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Sulaiman Khan                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Rafael de la Torre(deleted)   0:00:27   0:43:51  1:34:08 2:18:26 21:41:34   0.30%      31.70%      68%                                      0:14:03                              0:00:00                 0:05:01                    1:35:21                  0:19:04
  5/8/2023 yuliana mendoza               0:07:24   2:17:29  7:36:44 10:01:37 13:58:23  1.20%      22.90%   75.90%                                      0:09:53                              0:00:00                 0:04:59                    8:00:45                  0:14:34
                                                             Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                   Declaration of Brad Lee with Exhs A-G in support of Trustee Page 30 of 189

Date       Agent Name                  Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/8/2023 Josue Alvarez               0:02:11   3:34:51  4:41:20 8:18:22 15:41:38   0.40%      43.10%   56.50%                                      0:14:44                              0:00:00                 0:05:01                    4:46:17                  0:19:05
  5/8/2023 Sabah Ismail                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Nicole Morris               0:00:58 17:59:29   5:59:33 24:00:00 0:00:00   0.10%         75%       25%                                     0:05:48                              0:00:00                 0:03:05                    4:29:42                  0:08:25
  5/8/2023 David Brown(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Humza Shariff               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Jeferson Garcia             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Karla Bravo                 0:00:00   7:31:04  0:06:29 7:37:33 16:42:39      0%      98.60%     1.40%                                     0:03:18                              0:00:00                 0:00:00                    0:03:18                  0:03:18
  5/8/2023 Kaitlyn Campuzano           0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Kimberly Ramirez(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Nathan Perez                0:00:52   2:39:59  0:32:40 3:13:31 20:46:29   0.50%      82.70%   16.90%                                      0:32:05                              0:00:00                 0:00:35                    0:32:40                  0:32:40
  5/8/2023 Eeyah Tan                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Matt Douglas                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Brant Bishop                0:04:18   1:59:51  5:49:59 7:54:08 9:29:34    0.90%      25.30%   73.80%                                      0:11:22                              0:00:00                 0:05:00                    5:50:30                  0:15:55
  5/8/2023 Angelie Perez               0:00:00   9:30:33  0:00:00 9:30:33 14:29:27      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Luis Santos(deleted)        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Jasmin Amezcua              0:03:37   3:29:21  4:42:33 8:15:31 15:44:29   0.70%      42.30%       57%                                     0:10:16                              0:00:00                 0:04:43                    4:50:25                  0:14:31
  5/8/2023 Daisy Meneses               0:03:20   2:13:37  6:14:44 8:31:41 15:28:19   0.70%      26.10%   73.20%                                      0:12:10                              0:00:00                 0:02:25                    6:14:45                  0:14:24
  5/8/2023 Griselda Reina(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Carmen Marza                0:03:31   1:25:43  6:34:54 8:04:08 16:50:33   0.70%      17.70%   81.60%                                      0:06:32                              0:00:00                 0:05:00                    6:12:35                  0:10:04
  5/8/2023 Kevin Ceballos              0:05:18 18:46:05   5:46:56 24:38:19 0:00:00   0.40%      76.20%   23.50%                                      0:13:27                              0:00:00                 0:05:00                    5:54:24                  0:17:43
  5/8/2023 George Sanchez              0:04:24   3:04:53  6:18:02 9:27:19 14:38:46   0.80%      32.60%   66.60%                                      0:08:57                              0:00:00                 0:04:16                    6:46:00                  0:13:05
  5/8/2023 Amir nejad                  0:02:14   3:00:54  5:12:56 8:16:04 15:43:56   0.50%      36.50%   63.10%                                      0:09:27                              0:00:00                 0:02:31                    5:30:05                  0:11:22
  5/8/2023 Legal Phoenix               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Emely Acevedo               0:01:38   1:52:15  6:57:31 8:51:24 15:08:36   0.30%      21.10%   78.60%                                      0:16:25                              0:00:00                 0:04:41                    7:02:19                  0:21:06
  5/8/2023 Hunter Glass                1:43:19   1:21:43  5:12:39 8:17:41 16:13:03 20.80%       16.40%   62.80%                                      0:13:04                              0:00:00                 0:01:50                    5:20:50                  0:14:35
  5/8/2023 Daniel Martinez             0:00:00   2:18:05  0:00:00 2:18:05 21:41:55      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Yesica Sierra               0:01:58   3:00:17  4:01:49 7:04:04 16:55:56   0.50%      42.50%       57%                                     0:11:46                              0:00:00                 0:05:01                    4:11:55                  0:16:47
  5/8/2023 Katherine Maldonado         0:00:00   5:16:51  0:00:00 5:16:51 18:43:09      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Brandon DeLaura             0:04:52   2:18:34  6:26:16 8:49:42 15:10:18   0.90%      26.20%   72.90%                                      0:08:21                              0:00:00                 0:05:00                    6:27:40                  0:12:06
  5/8/2023 Max Zinchini                0:04:30   2:06:26  5:39:51 7:50:47 16:09:13      1%      26.90%   72.20%                                      0:07:01                              0:00:00                 0:06:01                    6:39:45                  0:12:29
  5/8/2023 Mohammad Kaskas(deleted)    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Cindy Vazquez               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Kenneth Acuna               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/8/2023 Samuel Pierce               0:02:39   3:10:59  4:44:49 7:58:27 16:01:33   0.60%      39.90%   59.50%                                      0:01:58                              0:00:00                 0:04:28                    2:35:37                  0:02:28
  5/8/2023 Khalil Beshoy               0:03:02   2:03:34  6:05:13 8:11:49 15:48:11   0.60%      25.10%   74.30%                                      0:16:30                              0:00:00                 0:04:56                    6:11:00                  0:20:36
  5/8/2023 Mike Larkin                 0:01:54   3:17:07  6:09:31 9:28:32 15:31:06   0.30%      34.70%       65%                                     0:04:07                              0:00:00                 0:05:00                    4:56:08                  0:05:17
  5/8/2023 Andrea Albor                4:49:03   1:26:19  3:39:14 9:54:36 14:05:24 48.60%       14.50%   36.90%                                      0:00:51                              0:00:00                 0:00:00                    1:36:20                  0:00:51
  5/8/2023 Hanya Zargaran              0:05:50   1:11:46  6:47:45 8:05:21 16:50:13   1.20%      14.80%       84%                                     0:10:02                              0:00:00                 0:04:57                    6:50:04                  0:14:08
  5/9/2023 Josey Harvey                0:08:16   2:07:25  5:50:47 8:06:28 16:22:01   1.70%      26.20%   72.10%                                      0:07:00                              0:00:00                 0:02:49                    5:32:32                  0:08:59
  5/9/2023 Fausto Beleno               0:05:40   2:01:50  7:58:31 10:06:01 13:53:59  0.90%      20.10%       79%                                     0:15:32                              0:00:00                 0:04:58                    8:12:18                  0:20:30
  5/9/2023 Bianca Loli                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Jarod Vaughan               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Kian Narani                 0:16:06   1:48:10  5:33:52 7:38:08 16:21:52   3.50%      23.60%   72.90%                                      0:06:54                              0:00:00                 0:01:54                    5:31:12                  0:08:42
  5/9/2023 bonnie romero               0:05:26   3:36:58  4:29:52 8:12:16 15:47:44   1.10%      44.10%   54.80%                                      0:07:54                              0:00:00                 0:02:29                    4:56:39                  0:10:13
  5/9/2023 Erika Cortes                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Jess Pena                   0:05:41   3:39:49  4:35:38 8:21:08 15:38:52   1.10%      43.90%       55%                                     0:06:18                              0:00:00                 0:03:40                    4:21:33                  0:08:26
  5/9/2023 Salma Aranda                0:07:01   2:25:42  5:04:04 7:36:47 16:23:13   1.50%      31.90%   66.60%                                      0:11:54                              0:00:00                 0:05:01                    5:06:40                  0:16:08
  5/9/2023 Daniel Orellana             0:02:15   3:15:03  4:22:51 7:40:09 16:19:51   0.50%      42.40%   57.10%                                      0:06:06                              0:00:00                 0:04:40                    4:15:03                  0:09:06
  5/9/2023 Karen Saldana-Lopez         0:05:40   3:54:45  5:00:51 9:01:16 14:58:44   1.10%      43.40%   55.60%                                      0:09:10                              0:00:00                 0:05:01                    5:20:26                  0:13:21
  5/9/2023 Saif Ismail                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Ivonne Diaz                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 31 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/9/2023 Christine Le                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Stephany Gutierrez            0:00:00   5:39:39  0:00:00 5:39:39 19:19:58      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Lex Avina-Cardiel             0:08:14   3:11:04  6:03:46 9:23:04 14:36:56   1.50%      33.90%   64.60%                                      0:10:55                              0:00:00                 0:04:08                    6:00:10                  0:14:24
  5/9/2023 Sebastian Vasquez             0:16:07   2:05:49  7:39:05 10:01:01 13:58:59  2.70%      20.90%   76.40%                                      0:06:11                              0:00:00                 0:05:01                    8:02:01                  0:11:12
  5/9/2023 Abraham Sanchez               1:55:20   2:18:27  4:31:19 8:45:06 15:14:54     22%      26.40%   51.70%                                      0:11:58                              0:00:00                 0:03:01                    4:29:48                  0:14:12
  5/9/2023 Amanda Stephens               0:00:00   8:40:21  0:00:00 8:40:21 15:19:39      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Christian Sangalang           0:02:44   4:12:54  4:02:13 8:17:51 16:35:30   0.60%      50.80%   48.70%                                      0:06:59                              0:00:00                 0:04:53                    3:58:53                  0:10:23
  5/9/2023 Salman Ismail                 0:06:57   2:22:50  5:08:11 7:37:58 16:22:02   1.50%      31.20%   67.30%                                      0:05:10                              0:00:00                 0:04:47                    4:45:45                  0:08:39
  5/9/2023 Phoenix Paralegal             0:00:25   3:25:45  1:30:25 4:56:35 19:31:31   0.10%      69.40%   30.50%                                      0:05:02                              0:00:00                 1:19:58                    3:20:20                  0:25:02
  5/9/2023 Ramon Guerrero                0:00:00   9:38:12  0:00:00 9:38:12 14:32:26      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Jessenia Oseguera             0:03:19   4:15:46  4:51:56 9:11:01 14:48:59   0.60%      46.40%       53%                                     0:08:30                              0:00:00                 0:03:57                    4:40:19                  0:10:46
  5/9/2023 Ivis Parada                   1:12:54   5:36:38  2:27:04 9:16:36 14:43:24 13.10%       60.50%   26.40%                                      0:06:23                              0:00:00                 0:01:28                    2:12:16                  0:06:36
  5/9/2023 Nickolas Mossa                0:04:54   2:36:20  3:09:53 5:51:07 18:08:53   1.40%      44.50%   54.10%                                      0:04:24                              0:00:00                 0:05:01                    2:44:14                  0:06:04
  5/9/2023 Hanner Angulo                 6:36:31   2:04:13  1:22:25 10:03:09 13:59:06 65.70%      20.60%   13.70%                                      0:01:08                              0:00:00                 0:00:00                    0:59:08                  0:01:08
  5/9/2023 Victoria Dang                 0:00:01   4:07:04  0:06:08 4:13:13 19:57:04      0%      97.60%     2.40%                                     0:05:43                              0:00:00                 0:05:01                    0:10:44                  0:10:44
  5/9/2023 Sufyaan Lakhani               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Mahmoud Bany-Mohammed         0:03:55   3:33:22  4:52:18 8:29:35 15:40:36   0.80%      41.90%   57.40%                                      0:11:43                              0:00:00                 0:05:01                    5:09:55                  0:15:29
  5/9/2023 Melina Beltran                2:52:51   0:46:28  4:38:47 8:18:06 16:32:54 34.70%        9.30%       56%                                     0:04:12                              0:00:00                 0:00:04                    4:12:40                  0:04:12
  5/9/2023 Erica Kline                   0:06:45   3:10:21  5:07:11 8:24:17 15:35:57   1.30%      37.80%   60.90%                                      0:08:35                              0:00:00                 0:04:34                    5:02:02                  0:12:35
  5/9/2023 Ralph Breneville              0:02:59   2:54:40  6:00:41 8:58:20 15:42:40   0.60%      32.50%       67%                                     0:23:27                              0:00:00                 0:03:15                    6:24:36                  0:25:38
  5/9/2023 Julissa Jimenez               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Jose Sanchez(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 eric Zoom Engineer            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 andre alvarenga               0:03:56   3:14:52  5:50:59 9:09:47 15:20:52   0.70%      35.40%   63.80%                                      0:11:09                              0:00:00                 0:05:01                    5:52:06                  0:15:18
  5/9/2023 NELSON OTALORA                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Ashley Jones                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Nikki Miller                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Desiree De La Rosa(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Manny Alatorre                0:05:26   1:56:35  6:37:48 8:39:49 16:19:55   1.10%      22.40%   76.50%                                      0:06:45                              0:00:00                 0:04:16                    6:04:14                  0:09:06
  5/9/2023 Tainis Tapias                 0:10:10   2:18:43  7:38:19 10:07:12 13:52:48  1.70%      22.90%   75.50%                                      0:09:30                              0:00:00                 0:05:00                    7:44:21                  0:14:04
  5/9/2023 Jason Cast                    0:00:00   7:32:11  0:07:14 7:39:25 16:20:35      0%      98.40%     1.60%                                     0:00:16                              0:00:00                 0:00:00                    0:00:32                  0:00:16
  5/9/2023 Selina Taing                  0:00:00   6:00:41  0:01:48 6:02:29 18:01:42      0%      99.50%     0.50%                                     0:00:30                              0:00:00                 0:00:00                    0:03:00                  0:00:30
  5/9/2023 Connor Huskisson              0:10:08   2:17:48  5:19:57 7:47:53 16:12:07   2.20%      29.50%   68.40%                                      0:08:38                              0:00:00                 0:05:00                    5:22:47                  0:13:26
  5/9/2023 Tony Sanchez                  0:07:26   1:49:16  5:24:50 7:21:32 16:38:28   1.70%      24.80%   73.60%                                      0:16:38                              0:00:00                 0:04:10                    5:41:24                  0:20:04
  5/9/2023 Reham Zin                     0:11:28   2:51:06  4:03:17 7:05:51 16:54:09   2.70%      40.20%   57.10%                                      0:08:23                              0:00:00                 0:05:00                    6:15:25                  0:12:06
  5/9/2023 Sarika Mande(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Brian Lucaci                  0:00:00   7:55:23  0:00:00 7:55:23 16:36:13      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 James Andra                   0:08:23   2:57:05  5:07:41 8:13:09 16:17:29   1.70%      35.90%   62.40%                                      0:08:29                              0:00:00                 0:05:01                    5:05:59                  0:11:46
  5/9/2023 Sarah Ross                    0:00:00   7:35:19  0:00:00 7:35:19 16:24:41      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Sophia Goins                  0:01:23   1:00:05  0:25:24 1:26:52 23:28:40   1.60%      69.20%   29.20%                                      0:24:59                              0:00:00                 0:00:25                    0:25:24                  0:25:24
  5/9/2023 Karen O'Connell               0:08:33   2:21:23  5:46:35 8:16:31 15:43:29   1.70%      28.50%   69.80%                                      0:13:46                              0:00:00                 0:04:57                   11:02:07                  0:17:25
  5/9/2023 Kevin Marquez                 1:35:10   2:27:10  4:03:36 8:05:56 16:19:24 19.60%       30.30%   50.10%                                      0:10:07                              0:00:00                 0:02:42                    3:50:16                  0:12:07
  5/9/2023 Stephanie Reynoso             0:11:39   2:42:21  4:41:00 7:35:00 16:25:00   2.60%      35.70%   61.80%                                      0:07:21                              0:00:00                 0:04:55                    4:59:45                  0:11:31
  5/9/2023 justin andra                  0:03:46 10:48:39   6:46:10 17:38:35 6:21:25   0.40%      61.30%   38.40%                                      0:08:13                              0:00:00                 0:05:01                    6:00:41                  0:12:52
  5/9/2023 Ty Carss                      0:00:00   2:00:21  0:11:06 2:11:27 22:41:23      0%      91.60%     8.40%                                     0:02:07                              0:00:00                 0:00:00                    0:04:14                  0:02:07
  5/9/2023 Isa Avina-Cardiel             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Arturo Velasquez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Golam Khan                    0:02:03 14:11:27   4:41:26 18:54:56 5:05:04   0.20%         75%   24.80%                                      0:09:21                              0:00:00                 0:04:58                    5:08:39                  0:12:20
  5/9/2023 Jas Sanchez                   0:03:30   2:20:28  5:08:56 7:32:54 16:36:49   0.80%         31%   68.20%                                      0:07:05                              0:00:00                 0:04:57                    5:00:35                  0:11:07
  5/9/2023 Quynh Nguyen                  0:00:58   3:30:24  4:41:31 8:12:53 15:47:07   0.20%      42.70%   57.10%                                      0:03:19                              0:00:00                 0:05:01                    3:28:22                  0:04:00
  5/9/2023 Marie Claire Salom            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 32 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/9/2023 Elio Riano                    3:27:33   1:07:23  3:49:13 8:24:09 15:35:51 41.20%       13.40%   45.50%                                      0:07:15                              0:00:00                 0:02:27                    3:50:31                  0:09:13
  5/9/2023 Andres Zuleta                 0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Nassir Diab                   0:08:27   3:45:47  3:33:02 7:27:16 16:32:44   1.90%      50.50%   47.60%                                      0:05:01                              0:00:00                 0:05:00                    3:20:59                  0:08:02
  5/9/2023 Kimberly Torres               2:38:45   0:42:01  5:12:01 8:32:47 16:08:13     31%       8.20%   60.90%                                      0:05:46                              0:00:00                 0:06:24                    3:16:44                  0:05:57
  5/9/2023 Abe Flores                    0:03:29   1:49:22  5:45:45 7:38:36 16:21:24   0.80%      23.90%   75.40%                                      0:12:58                              0:00:00                 0:04:33                    5:59:07                  0:17:06
  5/9/2023 Jennifer Andra                0:03:30   3:05:13  5:07:17 8:16:00 15:44:00   0.70%      37.30%       62%                                     0:07:28                              0:00:00                 0:04:39                    5:15:37                  0:10:10
  5/9/2023 Shadia Chavez                 0:00:00 10:11:11   0:00:00 10:11:11 13:48:49     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Ali Mohamed                   0:06:11 18:11:48   5:21:05 23:39:04 0:20:56   0.40%      76.90%   22.60%                                      0:07:46                              0:00:00                 0:05:01                    5:13:02                  0:11:10
  5/9/2023 Brad Lucaci                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Iman Nejad                    0:03:24   1:20:44  4:50:14 6:14:22 17:49:18   0.90%      21.60%   77.50%                                      0:06:28                              0:00:00                 0:05:27                    5:47:03                  0:11:34
  5/9/2023 Anthony Base                  3:06:54   2:17:56  2:46:22 8:11:12 15:48:48 38.10%       28.10%   33.90%                                      0:06:40                              0:00:00                 0:02:18                    2:32:07                  0:08:00
  5/9/2023 Valerie L(deleted)            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Sulaiman Khan                 0:04:29   1:36:38  5:01:57 6:43:04 17:16:56   1.10%         24%   74.90%                                      0:06:06                              0:00:00                 0:04:52                    5:00:32                  0:10:01
  5/9/2023 Rafael de la Torre(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 yuliana mendoza               0:06:32   1:54:06  8:02:08 10:02:46 13:57:14  1.10%      18.90%       80%                                     0:10:29                              0:00:00                 0:05:00                    8:26:12                  0:15:20
  5/9/2023 Josue Alvarez                 0:03:52   3:17:39  4:46:02 8:07:33 15:52:27   0.80%      40.50%   58.70%                                      0:10:47                              0:00:00                 0:05:01                    4:51:10                  0:14:33
  5/9/2023 Sabah Ismail                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Nicole Morris                 0:07:45 17:40:26   5:50:15 23:38:26 0:21:34   0.60%      74.80%   24.70%                                      0:06:42                              0:00:00                 0:03:46                    4:42:28                  0:10:05
  5/9/2023 David Brown(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Humza Shariff                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Jeferson Garcia               0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Karla Bravo                   0:00:00   4:32:06  0:00:00 4:32:06 19:27:54      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Kaitlyn Campuzano             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Kimberly Ramirez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Nathan Perez                  0:03:34   4:08:17  0:05:02 4:16:53 20:08:04   1.40%      96.70%        2%                                     0:01:54                              0:00:00                 0:00:07                    0:03:55                  0:01:57
  5/9/2023 Eeyah Tan                     0:00:00   1:03:18  0:00:00 1:03:18 22:56:42      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Matt Douglas                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Brant Bishop                  0:04:51   3:27:14  4:48:45 8:20:50 15:39:10      1%      41.40%   57.70%                                      0:08:47                              0:00:00                 0:04:54                    4:50:24                  0:12:37
  5/9/2023 Angelie Perez                 0:00:00   9:44:07  0:00:00 9:44:07 14:15:53      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Luis Santos(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Jasmin Amezcua                0:06:58   2:35:44  5:44:07 8:26:49 15:33:11   1.40%      30.70%   67.90%                                      0:07:32                              0:00:00                 0:04:39                    5:59:22                  0:11:35
  5/9/2023 Daisy Meneses                 0:07:23   2:57:19  5:44:23 8:49:05 15:57:55   1.40%      33.50%   65.10%                                      0:07:18                              0:00:00                 0:03:21                    5:41:53                  0:10:21
  5/9/2023 Griselda Reina(deleted)       0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Carmen Marza                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Kevin Ceballos                0:03:41 11:59:40   4:26:44 16:30:05 7:59:51   0.40%      72.70%   26.90%                                      0:07:22                              0:00:00                 0:05:00                    4:39:34                  0:11:10
  5/9/2023 George Sanchez                0:04:54   3:22:49  5:58:35 9:26:18 14:38:10   0.90%      35.80%   63.30%                                      0:10:09                              0:00:00                 0:04:34                    6:18:30                  0:14:33
  5/9/2023 Amir nejad                    0:05:04   2:51:50  3:06:48 6:03:42 18:15:03   1.40%      47.30%   51.40%                                      0:04:25                              0:00:00                 0:02:46                    3:14:32                  0:06:04
  5/9/2023 Legal Phoenix                 0:00:00   5:38:00  0:15:35 5:53:35 18:20:17      0%      95.60%     4.40%                                     0:01:48                              0:00:00                 0:00:00                    0:12:37                  0:01:48
  5/9/2023 Emely Acevedo                 0:01:01   1:33:48  5:30:23 7:05:12 16:54:48   0.20%      22.10%   77.70%                                      0:13:03                              0:00:00                 0:05:00                    5:41:30                  0:17:04
  5/9/2023 Hunter Glass                  1:41:49   1:40:20  4:39:07 8:01:16 15:58:44 21.20%       20.80%       58%                                     0:09:21                              0:00:00                 0:01:54                    4:29:56                  0:10:47
  5/9/2023 Daniel Martinez               0:00:00   1:04:57  0:00:00 1:04:57 23:35:56      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Yesica Sierra                 6:01:36   1:56:49  1:45:02 9:43:27 14:18:12     62%         20%       18%                                     0:01:39                              0:00:00                 0:00:00                    1:14:18                  0:01:39
  5/9/2023 Katherine Maldonado           0:00:00   5:23:59  0:00:00 5:23:59 18:36:01      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Brandon DeLaura               0:04:41   2:14:14  4:52:17 7:11:12 16:54:14   1.10%      31.10%   67.80%                                      0:07:19                              0:00:00                 0:05:00                    5:05:18                  0:10:54
  5/9/2023 Max Zinchini                  0:11:38   1:30:36  6:12:45 7:54:59 16:05:02   2.50%      19.10%   78.50%                                      0:05:52                              0:00:00                 0:05:00                    6:17:56                  0:10:12
  5/9/2023 Mohammad Kaskas(deleted)      0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Cindy Vazquez                 0:07:45   1:50:29  6:19:25 8:17:39 16:15:12   1.60%      22.20%   76.20%                                      0:07:59                              0:00:00                 0:04:58                    6:32:09                  0:12:39
  5/9/2023 Kenneth Acuna                 0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
  5/9/2023 Samuel Pierce                 0:02:11   6:41:41  1:19:01 8:02:53 15:57:07   0.50%      83.20%   16.40%                                      0:01:25                              0:00:00                 0:03:56                    1:33:01                  0:01:43
  5/9/2023 Khalil Beshoy                 0:03:09   3:32:50  4:24:09 8:00:08 16:20:17   0.70%      44.30%       55%                                     0:06:58                              0:00:00                 0:04:26                    4:26:17                  0:09:30
  5/9/2023 Mike Larkin                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 33 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
  5/9/2023 Andrea Albor                  6:00:14   1:37:58  2:21:14 9:59:26 14:07:14 60.10%       16.30%   23.60%                                      0:01:05                              0:00:00                 0:00:00                    0:59:16                  0:01:05
  5/9/2023 Hanya Zargaran                0:06:38   1:44:06  6:20:59 8:11:43 15:48:17   1.40%      21.20%   77.50%                                      0:08:55                              0:00:00                 0:04:51                    6:25:03                  0:13:16
 5/10/2023 Josey Harvey                  0:02:14   1:53:04  6:02:38 7:57:56 16:02:04   0.50%      23.70%   75.90%                                      0:06:15                              0:00:00                 0:03:06                    5:15:51                  0:07:31
 5/10/2023 Fausto Beleno                 0:23:50   2:33:54  7:07:43 10:05:27 13:54:33  3.90%      25.40%   70.60%                                      0:11:09                              0:00:00                 0:04:56                    7:25:57                  0:15:55
 5/10/2023 Bianca Loli                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Jarod Vaughan                 0:09:43   3:23:32  4:50:26 8:23:41 15:36:19   1.90%      40.40%   57.70%                                      0:05:48                              0:00:00                 0:05:00                    4:26:11                  0:08:19
 5/10/2023 Kian Narani                   0:42:14   1:50:19  4:59:29 7:32:02 16:27:58   9.30%      24.40%   66.30%                                      0:08:26                              0:00:00                 0:01:45                    4:49:50                  0:09:39
 5/10/2023 bonnie romero                 0:06:26   4:30:41  3:37:17 8:14:24 15:45:36   1.30%      54.80%       44%                                     0:08:26                              0:00:00                 0:03:09                    4:25:46                  0:11:04
 5/10/2023 Erika Cortes                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Jess Pena                     0:11:38   3:51:43  4:13:23 8:16:44 16:08:10   2.30%      46.70%       51%                                     0:07:39                              0:00:00                 0:04:44                    4:17:56                  0:10:19
 5/10/2023 Salma Aranda                  0:00:00   4:31:26  0:00:00 4:31:26 19:28:34      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Daniel Orellana               0:09:53   2:52:24  4:26:13 7:28:30 17:11:58   2.20%      38.40%   59.40%                                      0:07:55                              0:00:00                 0:05:00                    4:39:32                  0:12:42
 5/10/2023 Karen Saldana-Lopez           0:10:50   2:08:26  5:52:00 8:11:16 15:48:44   2.20%      26.10%   71.70%                                      0:09:57                              0:00:00                 0:05:01                    5:49:19                  0:13:58
 5/10/2023 Saif Ismail                   0:12:04   2:46:27  5:02:38 8:01:09 15:58:51   2.50%      34.60%   62.90%                                      0:10:27                              0:00:00                 0:04:30                    5:00:45                  0:14:19
 5/10/2023 Ivonne Diaz                   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Christine Le                  0:00:00   0:46:22  0:00:00 0:46:22 23:13:38      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Stephany Gutierrez            0:00:00   7:08:53  0:00:00 7:08:53 17:20:51      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Lex Avina-Cardiel             0:11:15   2:59:13  6:11:32 9:22:00 14:40:49      2%      31.90%   66.10%                                      0:11:04                              0:00:00                 0:04:28                    6:06:08                  0:14:38
 5/10/2023 Sebastian Vasquez             0:51:30   2:28:08  6:47:18 10:06:56 13:53:04  8.50%      24.40%   67.10%                                      0:07:14                              0:00:00                 0:05:01                    7:14:21                  0:12:03
 5/10/2023 Abraham Sanchez               1:43:07   1:49:43  4:46:12 8:19:02 15:40:58 20.70%          22%   57.40%                                      0:12:43                              0:00:00                 0:03:01                    4:38:01                  0:14:37
 5/10/2023 Amanda Stephens               0:00:00   5:32:39  0:00:00 5:32:39 18:45:57      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Christian Sangalang           0:11:19   2:27:18  5:28:23 8:07:00 16:42:45   2.30%      30.30%   67.40%                                      0:08:00                              0:00:00                 0:04:52                    5:23:18                  0:11:58
 5/10/2023 Adriana Hernandez             0:00:00   0:00:48  0:00:00 0:00:48 7:43:38       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Lester Perez                  0:00:00   0:00:47  0:00:00 0:00:47 7:43:39       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Salman Ismail                 0:13:12   2:03:32  5:31:30 7:48:14 16:43:13   2.80%      26.40%   70.80%                                      0:06:09                              0:00:00                 0:04:47                    5:31:06                  0:10:20
 5/10/2023 Phoenix Paralegal             0:47:54   2:21:36  3:47:44 6:57:14 17:02:46 11.50%       33.90%   54.60%                                      0:05:37                              0:00:00                 0:52:05                    4:00:33                  0:16:02
 5/10/2023 Ramon Guerrero                0:00:00   9:45:06  0:00:00 9:45:06 14:16:11      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Jessenia Oseguera             0:03:18   4:45:22  4:17:26 9:06:06 15:25:31   0.60%      52.30%   47.10%                                      0:06:59                              0:00:00                 0:04:34                    4:06:02                  0:09:27
 5/10/2023 Ivis Parada                   2:12:18   3:52:32  2:52:05 8:56:55 15:03:05 24.60%       43.30%   32.10%                                      0:07:04                              0:00:00                 0:00:05                    2:35:40                  0:07:04
 5/10/2023 Nickolas Mossa                0:05:52   3:50:29  4:14:05 8:10:26 15:49:34   1.20%         47%   51.80%                                      0:06:20                              0:00:00                 0:05:00                    4:17:43                  0:09:12
 5/10/2023 Hanner Angulo                 7:37:41   1:49:09  1:05:23 10:32:13 14:04:55 72.40%      17.30%   10.30%                                      0:01:23                              0:00:00                 0:00:00                    0:41:35                  0:01:23
 5/10/2023 Victoria Dang                 1:54:19   2:54:28  3:47:32 8:36:19 15:23:41 22.10%       33.80%   44.10%                                      0:13:24                              0:00:00                 0:02:46                    3:46:41                  0:15:06
 5/10/2023 Sufyaan Lakhani               0:05:18   2:25:18  6:47:56 9:18:32 14:41:28      1%         26%       73%                                     0:05:23                              0:00:00                 0:03:35                    6:15:21                  0:07:39
 5/10/2023 Mahmoud Bany-Mohammed         0:04:41   4:54:42  3:21:30 8:20:53 15:39:07   0.90%      58.80%   40.20%                                      0:06:28                              0:00:00                 0:04:18                    2:39:45                  0:07:15
 5/10/2023 Melina Beltran                1:31:31   2:30:24  5:11:41 9:13:36 14:48:14 16.50%       27.20%   56.30%                                      0:06:52                              0:00:00                 0:00:03                    4:55:43                  0:06:52
 5/10/2023 Erica Kline                   0:11:25   3:12:29  5:05:35 8:29:29 15:30:31   2.20%      37.80%       60%                                     0:07:58                              0:00:00                 0:04:52                    5:04:49                  0:11:43
 5/10/2023 Ralph Breneville              0:01:29   2:35:13  5:47:24 8:24:06 15:35:54   0.30%      30.80%   68.90%                                      0:24:10                              0:00:00                 0:03:05                    6:06:08                  0:26:09
 5/10/2023 Julissa Jimenez               0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Jose Sanchez(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 eric Zoom Engineer            0:00:00   0:00:11  0:00:00 0:00:11 23:59:49      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 andre alvarenga               0:06:03   1:42:15  6:34:56 8:23:14 15:56:19   1.20%      20.30%   78.50%                                      0:14:21                              0:00:00                 0:05:01                    6:36:58                  0:18:02
 5/10/2023 NELSON OTALORA                0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Ashley Jones                  0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Nikki Miller                  2:27:19   0:35:24  3:55:35 6:58:18 17:06:27 35.20%        8.50%   56.30%                                      0:11:59                              0:00:00                 0:03:00                    3:50:54                  0:14:25
 5/10/2023 Desiree De La Rosa(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Manny Alatorre                0:08:02   1:45:19  6:35:32 8:28:53 15:31:07   1.60%      20.70%   77.70%                                      0:08:04                              0:00:00                 0:05:00                    6:29:40                  0:11:27
 5/10/2023 Tainis Tapias                 0:32:50   1:59:56  7:41:41 10:14:27 13:45:33  5.30%      19.50%   75.10%                                      0:17:10                              0:00:00                 0:05:01                    8:08:15                  0:21:13
 5/10/2023 Jason Cast                    0:00:00   6:05:00  0:54:14 6:59:14 17:00:46      0%      87.10%   12.90%                                      0:51:08                              0:00:00                 0:00:00                    0:51:08                  0:51:08
 5/10/2023 Selina Taing                  0:00:00   7:42:57  0:01:09 7:44:06 16:18:07      0%      99.80%     0.30%                                     0:00:33                              0:00:00                 0:00:00                    0:01:39                  0:00:33
 5/10/2023 Connor Huskisson              0:41:27   2:38:10  4:48:58 8:08:35 15:51:25   8.50%      32.40%   59.10%                                      0:06:59                              0:00:00                 0:05:01                    4:55:06                  0:11:48
 5/10/2023 Daniela Serrano               0:00:00   0:00:36  0:00:00 0:00:36 8:19:15       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 34 of 189

Date       Agent Name                    Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
 5/10/2023 Tony Sanchez                  0:13:46   1:41:09  5:43:46 7:38:41 16:21:19      3%      22.10%       75%                                     0:07:36                              0:00:00                 0:04:41                    5:08:57                  0:09:39
 5/10/2023 Reham Zin                     0:05:25   3:22:39  4:10:50 7:38:54 16:21:06   1.20%      44.20%   54.70%                                      0:04:42                              0:00:00                 0:05:01                    4:22:02                  0:09:02
 5/10/2023 Sarika Mande(deleted)         0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Brian Lucaci                  0:00:00   7:52:58  0:00:00 7:52:58 16:42:15      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 James Andra                   0:09:57   3:29:24  4:32:21 8:11:42 15:48:18      2%      42.60%   55.40%                                      0:06:11                              0:00:00                 0:05:01                    4:22:37                  0:09:43
 5/10/2023 Sarah Ross                    0:00:00   7:35:37  0:00:00 7:35:37 16:24:23      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Sophia Goins                  0:00:00   0:31:17  0:00:00 0:31:17 23:44:28      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Karen O'Connell               0:43:27   2:02:18  5:40:50 8:26:35 15:33:25   8.60%      24.10%   67.30%                                      0:08:42                              0:00:00                 0:04:55                    8:12:26                  0:12:37
 5/10/2023 Kevin Marquez                 1:28:12   1:55:40  4:35:33 7:59:25 16:00:35 18.40%       24.10%   57.50%                                      0:16:12                              0:00:00                 0:02:31                    4:33:31                  0:18:14
 5/10/2023 Stephanie Reynoso             0:11:08   3:04:23  4:26:11 7:41:42 16:47:27   2.40%      39.90%   57.70%                                      0:04:35                              0:00:00                 0:05:00                    4:02:44                  0:07:49
 5/10/2023 justin andra                  0:16:52   3:18:37  6:11:00 9:46:29 14:13:31   2.90%      33.90%   63.30%                                      0:07:26                              0:00:00                 0:05:00                    6:21:01                  0:12:17
 5/10/2023 Ty Carss                      0:00:00   1:05:13  0:27:12 1:32:25 22:27:35      0%      70.60%   29.40%                                      0:23:59                              0:00:00                 0:00:00                    0:23:59                  0:23:59
 5/10/2023 Isa Avina-Cardiel             1:53:36   2:05:14  3:54:36 7:53:26 16:11:26     24%      26.50%   49.60%                                      0:09:03                              0:00:00                 0:02:49                    3:58:20                  0:11:20
 5/10/2023 Arturo Velasquez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Golam Khan                    0:15:59   4:14:20  4:41:16 9:11:35 14:48:25   2.90%      46.10%       51%                                     0:08:12                              0:00:00                 0:05:00                    5:05:13                  0:10:54
 5/10/2023 Jas Sanchez                   0:06:16   2:43:55  5:00:24 7:50:35 16:09:25   1.30%      34.80%   63.80%                                      0:08:41                              0:00:00                 0:04:34                    5:04:36                  0:12:41
 5/10/2023 Quynh Nguyen                  0:14:55   3:21:36  4:15:09 7:51:40 16:08:20   3.20%      42.70%   54.10%                                      0:04:37                              0:00:00                 0:04:57                    3:45:34                  0:06:05
 5/10/2023 Marie Claire Salom            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Elio Riano                    2:18:41   1:03:40  5:03:04 8:25:25 15:34:35 27.40%       12.60%       60%                                     0:11:45                              0:00:00                 0:02:19                    4:51:18                  0:13:14
 5/10/2023 Nassir Diab                   0:48:29   1:52:15  5:46:26 8:27:10 15:32:50   9.60%      22.10%   68.30%                                      0:04:46                              0:00:00                 0:04:56                    4:50:36                  0:08:32
 5/10/2023 Kimberly Torres               1:43:15   1:48:07  4:57:47 8:29:09 16:15:23 20.30%       21.20%   58.50%                                      0:07:21                              0:00:00                 0:00:00                    4:02:55                  0:07:21
 5/10/2023 Abe Flores                    0:13:28   1:26:53  6:08:39 7:49:00 16:11:00   2.90%      18.50%   78.60%                                      0:13:39                              0:00:00                 0:03:33                    6:18:28                  0:17:12
 5/10/2023 Jennifer Andra                0:06:15   4:47:28  4:05:07 8:58:50 15:01:10   1.20%      53.40%   45.50%                                      0:05:05                              0:00:00                 0:04:39                    3:48:49                  0:06:56
 5/10/2023 Shadia Chavez                 0:00:00 11:17:09   0:00:00 11:17:09 12:42:51     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Ali Mohamed                   0:09:21 13:26:01   5:54:39 19:30:01 4:29:59   0.80%      68.90%   30.30%                                      0:06:48                              0:00:00                 0:04:42                    5:15:53                  0:08:46
 5/10/2023 Brad Lucaci                   0:00:00   1:55:26  0:00:00 1:55:26 22:45:30      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Iman Nejad                    0:18:39   1:52:21  5:02:35 7:13:35 16:46:25   4.30%      25.90%   69.80%                                      0:07:58                              0:00:00                 0:04:16                    5:26:22                  0:12:05
 5/10/2023 Anthony Base                  5:47:26   1:06:27  1:36:47 8:30:40 15:29:20     68%         13%       19%                                     0:05:24                              0:00:00                 0:02:12                    1:16:55                  0:05:55
 5/10/2023 Valerie L(deleted)            0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Sulaiman Khan                 0:02:51   1:02:52  3:00:43 4:06:26 20:31:36   1.20%      25.50%   73.30%                                      0:07:48                              0:00:00                 0:04:49                    2:59:47                  0:11:59
 5/10/2023 Rafael de la Torre(deleted)   0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 yuliana mendoza               0:07:04   1:55:37  8:04:58 10:07:39 13:52:21  1.20%         19%   79.80%                                      0:13:29                              0:00:00                 0:04:45                    8:26:09                  0:18:04
 5/10/2023 Josue Alvarez                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 irma menahem(deleted)         0:00:00   0:00:33  0:00:00 0:00:33 8:19:54       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Sabah Ismail                  0:04:33   3:17:51  4:41:05 8:03:29 16:04:31   0.90%      40.90%   58.10%                                      0:08:32                              0:00:00                 0:04:58                    4:07:47                  0:11:15
 5/10/2023 Nicole Morris                 0:11:47   4:40:11  4:28:06 9:20:04 14:49:46   2.10%         50%   47.90%                                      0:06:16                              0:00:00                 0:03:25                    4:24:11                  0:09:06
 5/10/2023 David Brown(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Humza Shariff                 0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Karla Bravo                   0:00:59   5:21:08  0:06:14 5:28:21 18:31:39   0.30%      97.80%     1.90%                                     0:03:01                              0:00:00                 0:00:00                    0:03:01                  0:03:01
 5/10/2023 Kaitlyn Campuzano             0:00:00   0:05:53  0:04:35 0:10:28 23:49:33      0%      56.20%   43.80%                                      0:03:05                              0:00:00                 0:00:00                    0:03:05                  0:03:05
 5/10/2023 Kimberly Ramirez(deleted)     0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Nathan Perez                  0:00:22   2:23:35  0:01:02 2:24:59 21:35:01   0.30%         99%     0.70%                                     0:00:27                              0:00:00                 0:00:00                    0:00:27                  0:00:27
 5/10/2023 Eeyah Tan                     0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Matt Douglas                  0:00:00   3:05:09  0:00:00 3:05:09 20:54:51      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Brant Bishop                  0:06:12   3:14:49  5:15:58 8:36:59 15:45:25   1.20%      37.70%   61.10%                                      0:06:56                              0:00:00                 0:05:00                    4:58:27                  0:09:56
 5/10/2023 Angelie Perez                 0:00:00   3:00:25  0:00:00 3:00:25 21:41:40      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Luis Santos(deleted)          0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Jasmin Amezcua                0:12:49   2:44:50  5:22:13 8:19:52 15:40:08   2.60%         33%   64.50%                                      0:09:48                              0:00:00                 0:04:40                    5:19:01                  0:13:52
 5/10/2023 Daisy Meneses                 0:07:58   2:53:10  5:34:11 8:35:19 15:32:12   1.60%      33.60%   64.90%                                      0:08:56                              0:00:00                 0:02:45                    5:21:29                  0:10:22
 5/10/2023 Griselda Reina(deleted)       0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Carmen Marza                  0:11:19   1:58:39  6:12:05 8:22:03 15:37:57   2.30%      23.60%   74.10%                                      0:10:46                              0:00:00                 0:05:00                    8:34:07                  0:13:53
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 35 of 189

Date       Agent Name                     Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
 5/10/2023 Kevin Ceballos                  0:12:23  2:02:54  6:21:33 8:36:50 16:11:03   2.40%      23.80%   73.80%                                      0:10:49                              0:00:00                 0:05:00                    6:18:20                  0:13:30
 5/10/2023 George Sanchez                  0:10:20  3:24:52  5:57:25 9:32:37 14:30:06   1.80%      35.80%   62.40%                                      0:08:36                              0:00:00                 0:04:08                    6:05:33                  0:12:36
 5/10/2023 Amir nejad                      0:02:55  3:13:29  5:06:44 8:23:08 15:36:52   0.60%      38.50%      61%                                      0:07:45                              0:00:00                 0:03:32                    5:27:10                  0:09:54
 5/10/2023 Legal Phoenix                   0:02:36  4:10:35  1:10:08 5:23:19 19:31:43   0.80%      77.50%   21.70%                                      0:08:12                              0:00:00                 0:00:07                    1:05:48                  0:08:13
 5/10/2023 Emely Acevedo                   0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Hunter Glass                    2:29:13  1:33:05  4:09:11 8:11:29 15:48:31 30.40%       18.90%   50.70%                                      0:08:27                              0:00:00                 0:01:29                    4:01:15                  0:09:39
 5/10/2023 Daniel Martinez                 0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Yesica Sierra                   6:30:48  1:51:36  1:34:38 9:57:02 14:02:58 65.50%       18.70%   15.90%                                      0:03:18                              0:00:00                 0:00:00                    1:16:09                  0:03:18
 5/10/2023 Katherine Maldonado             0:00:00  5:20:23  0:00:00 5:20:23 19:05:06      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Brandon DeLaura                 0:40:22  2:08:59  5:15:54 8:05:15 15:54:45   8.30%      26.60%   65.10%                                      0:07:38                              0:00:00                 0:05:01                    5:18:52                  0:11:48
 5/10/2023 Max Zinchini                    0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Mohammad Kaskas(deleted)        0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Cindy Vazquez                   0:06:15  2:33:36  5:28:42 8:08:33 16:27:16   1.30%      31.40%   67.30%                                      0:11:39                              0:00:00                 0:05:00                    5:35:11                  0:15:14
 5/10/2023 Samuel Pierce                   0:08:31  3:47:12  4:08:27 8:04:10 16:26:12   1.80%      46.90%   51.30%                                      0:06:16                              0:00:00                 0:05:01                    4:16:04                  0:09:08
 5/10/2023 Khalil Beshoy                   0:08:48  2:11:09  4:10:24 6:30:21 18:02:40   2.30%      33.60%   64.20%                                      0:09:36                              0:00:00                 0:04:39                    4:02:53                  0:12:47
 5/10/2023 David Del Toro                  0:00:00  0:04:53  0:00:00 0:04:53 8:11:37       0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/10/2023 Mike Larkin                     0:18:03  3:12:56  5:59:47 9:30:46 14:29:14   3.20%      33.80%      63%                                      0:06:14                              0:00:00                 0:04:56                    5:47:16                  0:08:54
 5/10/2023 Andrea Albor                    7:14:57  1:36:32  1:56:16 10:47:45 14:02:32 67.20%      14.90%      18%                                      0:02:21                              0:00:00                 0:00:00                    1:03:27                  0:02:21
 5/10/2023 Hanya Zargaran                  0:11:56  2:03:26  5:16:43 7:32:05 16:27:55   2.60%      27.30%   70.10%                                      0:08:38                              0:00:00                 0:05:01                    5:11:12                  0:12:26
 5/11/2023 Annalyn Labrador(deleted)       0:00:00  0:00:00  0:00:00 0:00:00 2:38:56       0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Mary Gladys Florese(deleted)    0:00:00  0:00:00  0:00:00 0:00:00 2:55:07       0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                           0:00:00
 5/11/2023 Krystine Rae Antonette Domingo(deleted)  0:00:00  0:00:00 0:00:00 2:55:07       0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Josey Harvey                    0:03:45  2:15:24  5:44:09 8:03:18 16:28:31   0.80%         28%   71.20%                                      0:09:34                              0:00:00                 0:04:14                    5:34:50                  0:12:24
 5/11/2023 Fausto Beleno                   0:03:19  2:12:02  8:02:57 10:18:18 13:59:36  0.50%      21.40%   78.10%                                      0:13:28                              0:00:00                 0:05:00                    8:00:57                  0:18:29
 5/11/2023 Bianca Loli                     0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Jarod Vaughan                   0:13:59  2:59:03  4:58:05 8:11:07 15:48:53   2.90%      36.50%   60.70%                                      0:08:13                              0:00:00                 0:05:00                    5:27:15                  0:12:07
 5/11/2023 Kian Narani                     0:04:22  2:14:25  5:41:32 8:00:19 15:59:41   0.90%         28%   71.10%                                      0:07:41                              0:00:00                 0:02:40                    5:18:07                  0:09:38
 5/11/2023 bonnie romero                   0:01:25  3:43:23  4:36:43 8:21:31 15:38:29   0.30%      44.50%   55.20%                                      0:13:08                              0:00:00                 0:02:36                    4:51:16                  0:15:19
 5/11/2023 Erika Cortes                    0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Jess Pena                       0:04:01  3:59:38  3:53:23 7:57:02 16:02:58   0.80%      50.20%   48.90%                                      0:07:05                              0:00:00                 0:04:25                    3:36:01                  0:09:23
 5/11/2023 Salma Aranda                    0:00:00  1:02:11  0:08:42 1:10:53 15:49:07      0%      87.70%   12.30%                                      0:05:30                              0:00:00                 0:00:00                    0:05:30                  0:05:30
 5/11/2023 Daniel Orellana                 0:05:11  3:20:24  3:58:21 7:23:56 16:36:04   1.20%      45.10%   53.70%                                      0:04:48                              0:00:00                 0:05:01                    3:19:34                  0:06:39
 5/11/2023 Karen Saldana-Lopez             0:22:16  2:52:41  6:01:22 9:16:19 14:43:41      4%         31%      65%                                      0:07:03                              0:00:00                 0:05:01                    6:03:07                  0:11:00
 5/11/2023 Saif Ismail                     0:09:46  3:04:50  5:09:31 8:24:07 15:35:53   1.90%      36.70%   61.40%                                      0:07:48                              0:00:00                 0:04:25                    5:09:01                  0:11:53
 5/11/2023 Kim Capuno(deleted)             0:00:00  0:00:00  0:00:00 0:00:00 2:38:56       0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Ivonne Diaz                     0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Christine Le                    0:00:00  1:09:16  0:00:00 1:09:16 23:12:46      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Stephany Gutierrez              0:00:00  5:15:56  0:00:00 5:15:56 19:16:39      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Lex Avina-Cardiel               0:13:44  1:54:56  6:28:30 8:37:10 16:08:56   2.70%      22.20%   75.10%                                      0:10:12                              0:00:00                 0:03:43                    6:19:10                  0:13:32
 5/11/2023 Sebastian Vasquez               0:07:03  2:23:04  7:28:55 9:59:02 14:00:58   1.20%      23.90%   74.90%                                      0:07:42                              0:00:00                 0:04:52                    7:48:17                  0:12:19
 5/11/2023 Nicole Salayo(deleted)          0:00:00  0:00:00  0:00:00 0:00:00 2:38:56       0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Abraham Sanchez                 2:56:11  1:26:22  3:57:28 8:20:01 15:39:59 35.20%       17.30%   47.50%                                      0:17:28                              0:00:00                 0:03:01                    3:50:49                  0:19:14
 5/11/2023 Allan Labrador(deleted)         0:00:00  0:00:00  0:00:00 0:00:00 2:38:56       0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Amanda Stephens                 0:00:00  5:56:49  0:00:00 5:56:49 18:03:11      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Christian Sangalang             0:04:18  3:52:18  4:06:09 8:02:45 16:56:41   0.90%      48.10%      51%                                      0:04:02                              0:00:00                 0:04:50                    3:30:06                  0:06:10
 5/11/2023 Adriana Hernandez               0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Lester Perez                    0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Salman Ismail                   0:10:16  2:20:10  4:50:33 7:20:59 17:16:45   2.30%      31.80%   65.90%                                      0:05:00                              0:00:00                 0:04:56                    4:24:07                  0:08:15
 5/11/2023 Phoenix Paralegal               1:04:47  3:46:09  2:15:09 7:06:05 16:53:55 15.20%       53.10%   31.70%                                      0:06:17                              0:00:00                 0:02:45                    1:43:29                  0:06:28
 5/11/2023 Ramon Guerrero                  0:00:00  9:45:03  0:00:00 9:45:03 14:14:57      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Jessenia Oseguera               0:15:23  4:31:49  3:56:45 8:43:57 15:49:07   2.90%      51.90%   45.20%                                      0:07:31                              0:00:00                 0:04:41                    3:53:05                  0:11:05
                                                                Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                      Declaration of Brad Lee with Exhs A-G in support of Trustee Page 36 of 189

Date       Agent Name                       Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
 5/11/2023 Ivis Parada                       0:00:00  6:10:17  3:08:01 9:18:18 14:41:42      0%      66.30%   33.70%                                      0:10:25                              0:00:00                 0:00:00                    2:46:46                  0:10:25
 5/11/2023 Alyssa Calaro(deleted)            0:00:00  0:21:57  0:00:00 0:21:57 2:02:06       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Nickolas Mossa                    0:04:34  3:07:22  4:49:27 8:01:23 15:58:37      1%      38.90%   60.10%                                      0:04:41                              0:00:00                 0:05:01                    4:42:55                  0:06:54
 5/11/2023 Hanner Angulo                     7:13:52  1:35:53  1:14:25 10:04:10 13:55:50 71.80%      15.90%   12.30%                                      0:00:55                              0:00:00                 0:00:00                    0:51:47                  0:00:55
 5/11/2023 Victoria Dang                     2:15:21  2:29:48  3:40:00 8:25:09 8:34:51 26.80%        29.70%   43.60%                                      0:12:56                              0:00:00                 0:02:52                    3:29:54                  0:14:59
 5/11/2023 Jessie Romasoc(deleted)           0:00:00  0:00:00  0:00:00 0:00:00 2:38:56       0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Sebastian Mira(deleted)           0:00:00  0:45:08  0:00:00 0:45:08 1:53:48       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Sufyaan Lakhani                   0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Mahmoud Bany-Mohammed             0:02:17  4:23:52  3:59:57 8:26:06 15:33:54   0.50%      52.10%   47.40%                                      0:06:59                              0:00:00                 0:04:37                    3:45:51                  0:08:41
 5/11/2023 Triana Camero                     0:00:00  0:00:00  0:00:00 0:00:00 9:38:56       0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Rolan Apuyan(deleted)             0:00:00  0:00:00  0:00:00 0:00:00 2:38:56       0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Melina Beltran                    2:27:21  3:08:23  3:36:55 9:12:39 14:53:04 26.70%       34.10%   39.30%                                      0:05:02                              0:00:00                 0:00:03                    3:21:49                  0:05:02
 5/11/2023 Erica Kline                       0:15:51  2:17:02  5:52:12 8:25:05 16:30:33   3.10%      27.10%   69.70%                                      0:06:49                              0:00:00                 0:04:54                    5:55:41                  0:11:06
 5/11/2023 Barry Katipunan(deleted)          0:00:00  0:18:35  0:00:00 0:18:35 2:48:29       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Ralph Breneville                  0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Julissa Jimenez                   0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 eric Zoom Engineer                0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 andre alvarenga                   0:07:23  3:30:22  5:38:32 9:16:17 15:11:34   1.30%      37.80%   60.90%                                      0:12:03                              0:00:00                 0:05:00                    5:33:32                  0:15:52
 5/11/2023 NELSON OTALORA                    0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Ashley Jones                      0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Nikki Miller                      2:12:16  1:21:30  3:51:53 7:25:39 17:25:05 29.70%       18.30%       52%                                     0:13:07                              0:00:00                 0:03:00                    3:59:03                  0:15:56
 5/11/2023 Irene Ronquillo(deleted)          0:00:00  0:00:00  0:00:00 0:00:00 2:55:07       0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Manny Alatorre                    0:06:40  1:48:31  6:20:34 8:15:45 16:15:48   1.30%      21.90%   76.80%                                      0:06:33                              0:00:00                 0:04:32                    5:52:53                  0:08:49
 5/11/2023 Tainis Tapias                     0:18:21  2:16:03  7:25:24 9:59:48 14:00:12   3.10%      22.70%   74.30%                                      0:11:41                              0:00:00                 0:04:56                    7:47:40                  0:16:07
 5/11/2023 Jason Cast                        0:00:00  6:31:02  0:25:58 6:57:00 17:03:00      0%      93.80%     6.20%                                     0:09:33                              0:00:00                 0:00:00                    0:19:07                  0:09:33
 5/11/2023 Selina Taing                      0:00:00  8:01:16  0:11:50 8:13:06 15:46:54      0%      97.60%     2.40%                                     0:03:40                              0:00:00                 0:00:00                    0:11:02                  0:03:40
 5/11/2023 Connor Huskisson                  0:04:49  3:39:38  5:04:42 8:49:09 15:10:51   0.90%      41.50%   57.60%                                      0:06:23                              0:00:00                 0:05:00                    4:35:34                  0:09:30
 5/11/2023 Daniela Serrano                   0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Tony Sanchez                      0:03:08  1:43:18  5:58:41 7:45:07 16:14:53   0.70%      22.20%   77.10%                                      0:09:16                              0:00:00                 0:04:19                    5:51:29                  0:11:42
 5/11/2023 Reham Zin                         0:09:56  0:48:30  1:22:35 2:21:01 21:38:59      7%      34.40%   58.60%                                      0:04:26                              0:00:00                 0:05:00                    1:20:04                  0:08:53
 5/11/2023 Ciara Antoinette Pestanas(deleted)0:00:00  0:18:18  0:00:00 0:18:18 2:20:39       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Brian Lucaci                      0:00:00  7:55:29  0:00:00 7:55:29 16:33:45      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 James Andra                       0:04:36  3:54:06  3:56:46 7:55:28 16:34:29      1%      49.20%   49.80%                                      0:06:32                              0:00:00                 0:05:00                    3:47:02                  0:09:27
 5/11/2023 Sarah Ross                        0:00:00  7:44:48  0:00:00 7:44:48 16:40:08      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Sophia Goins                      0:00:00  3:45:43  0:00:00 3:45:43 14:17:03      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Karen O'Connell                   0:09:29  1:30:47  6:12:28 7:52:44 10:14:03      2%      19.20%   78.80%                                      0:06:01                              0:00:00                 0:04:51                    6:15:53                  0:09:38
 5/11/2023 Kevin Marquez                     2:57:23  1:46:14  3:04:22 7:47:59 16:42:12 37.90%       22.70%   39.40%                                      0:19:20                              0:00:00                 0:03:09                    5:21:45                  0:21:27
 5/11/2023 Stephanie Reynoso                 0:06:38  3:40:56  4:00:32 7:48:06 16:44:20   1.40%      47.20%   51.40%                                      0:07:44                              0:00:00                 0:04:41                    4:00:39                  0:10:56
 5/11/2023 justin andra                      0:04:04  3:08:29  6:07:57 9:20:30 14:39:30   0.70%      33.60%   65.70%                                      0:08:18                              0:00:00                 0:05:00                    5:59:30                  0:11:59
 5/11/2023 Ty Carss                          0:00:00  2:47:57  0:53:00 3:40:57 20:19:03      0%         76%       24%                                     0:10:03                              0:00:00                 0:00:00                    0:40:15                  0:10:03
 5/11/2023 Isa Avina-Cardiel                 3:40:05  1:25:01  3:01:59 8:07:05 15:52:55 45.20%       17.50%   37.40%                                      0:08:01                              0:00:00                 0:02:41                    3:04:49                  0:10:16
 5/11/2023 Arturo Velasquez(deleted)         0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Golam Khan                        0:01:53  4:35:53  4:49:49 9:27:35 14:34:11   0.30%      48.60%   51.10%                                      0:06:19                              0:00:00                 0:04:56                    5:20:57                  0:08:13
 5/11/2023 Vincent Berube                    0:05:51  1:52:24  0:29:14 2:27:29 7:35:27       4%      76.20%   19.80%                                      0:29:07                              0:00:00                 0:03:01                    0:32:08                  0:32:08
 5/11/2023 Jas Sanchez                       0:07:03  3:32:42  3:35:56 7:15:41 16:44:19   1.60%      48.80%   49.60%                                      0:04:47                              0:00:00                 0:04:38                    3:00:07                  0:06:55
 5/11/2023 Quynh Nguyen                      0:01:22  3:30:31  4:23:46 7:55:39 16:04:21   0.30%      44.30%   55.50%                                      0:02:48                              0:00:00                 0:05:00                    3:19:03                  0:03:37
 5/11/2023 Marie Claire Salom                0:00:00  2:18:52  0:00:00 2:18:52 21:41:08      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Elio Riano                        3:29:56  1:08:12  3:51:43 8:29:51 15:30:09 41.20%       13.40%   45.50%                                      0:10:53                              0:00:00                 0:02:43                    3:51:31                  0:13:37
 5/11/2023 Nassir Diab                       0:08:38  2:49:39  5:13:38 8:11:55 15:48:05   1.80%      34.50%   63.80%                                      0:04:13                              0:00:00                 0:05:01                    4:25:36                  0:06:59
 5/11/2023 Kimberly Torres                   2:14:04  0:42:52  5:27:08 8:24:04 15:35:56 26.60%        8.50%   64.90%                                      0:05:31                              0:00:00                 0:00:00                    3:46:48                  0:05:31
 5/11/2023 Abe Flores                        0:01:04  1:29:37  6:49:56 8:20:37 15:39:23   0.20%      17.90%   81.90%                                      0:16:41                              0:00:00                 0:04:01                    6:58:53                  0:19:56
                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 37 of 189

Date       Agent Name                     Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
 5/11/2023 Jennifer Andra                  0:03:03  2:48:37  5:20:53 8:12:33 16:13:45   0.60%      34.20%   65.20%                                      0:05:55                              0:00:00                 0:04:28                    4:46:32                  0:07:44
 5/11/2023 Shadia Chavez                   0:00:00 10:36:42  0:00:00 10:36:42 13:23:18     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Ali Mohamed                     0:08:39  3:01:19  6:09:38 9:19:36 14:40:24   1.60%      32.40%   66.10%                                      0:06:12                              0:00:00                 0:05:00                    5:42:45                  0:08:47
 5/11/2023 Brad Lucaci                     0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Iman Nejad                      0:05:17  1:27:13  3:37:50 5:10:20 19:01:39   1.70%      28.10%   70.20%                                      0:05:20                              0:00:00                 0:04:32                    3:42:51                  0:09:41
 5/11/2023 Anthony Base                    5:36:35  1:49:07  1:20:38 8:46:20 15:13:40     64%      20.70%   15.30%                                      0:04:44                              0:00:00                 0:02:20                    1:10:56                  0:05:54
 5/11/2023 Sulaiman Khan                   0:04:35  1:40:21  4:25:10 6:10:06 18:25:25   1.20%      27.10%   71.70%                                      0:04:20                              0:00:00                 0:04:47                    3:25:50                  0:06:14
 5/11/2023 Rafael de la Torre(deleted)     0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 yuliana mendoza                 0:02:58  1:46:51  8:10:16 10:00:05 13:59:55  0.50%      17.80%   81.70%                                      0:09:30                              0:00:00                 0:04:57                    8:26:19                  0:14:27
 5/11/2023 Josue Alvarez                   0:06:34  3:09:21  4:59:32 8:15:27 16:17:29   1.30%      38.20%   60.50%                                      0:10:07                              0:00:00                 0:05:01                    4:48:00                  0:13:05
 5/11/2023 irma menahem(deleted)           0:00:00  0:28:01  0:00:00 0:28:01 16:32:00      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Sabah Ismail                    0:08:19  3:13:22  4:49:58 8:11:39 16:40:12   1.70%      39.30%       59%                                     0:07:34                              0:00:00                 0:04:51                    4:17:27                  0:10:17
 5/11/2023 Nicole Morris                   0:01:32  5:28:40  3:28:38 8:58:50 15:35:32   0.30%         61%   38.70%                                      0:05:23                              0:00:00                 0:04:01                    3:08:31                  0:07:15
 5/11/2023 Humza Shariff                   0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Ardoin Escobar(deleted)         0:00:00  0:00:00  0:00:00 0:00:00 3:07:04       0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Karla Bravo                     0:00:00  6:09:29  0:26:10 6:35:39 17:24:21      0%      93.40%     6.60%                                     0:22:59                              0:00:00                 0:00:00                    0:22:59                  0:22:59
 5/11/2023 Kaitlyn Campuzano               0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Nathan Perez                    0:00:00  4:33:21  0:00:00 4:33:21 19:26:39      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 John Marben Barneja(deleted)    0:00:00  0:00:00  0:00:00 0:00:00 2:38:56       0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Eeyah Tan                       0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Matt Douglas                    0:00:00  1:57:57  0:00:00 1:57:57 22:02:03      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Brant Bishop                    0:11:21  2:18:06  5:41:55 8:11:22 16:19:17   2.30%      28.10%   69.60%                                      0:06:06                              0:00:00                 0:04:52                    5:13:51                  0:09:30
 5/11/2023 Angelie Perez                   0:00:00 15:40:23  0:00:00 15:40:23 9:09:49      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Kat Falcutila(deleted)          0:00:00  1:08:28  0:00:00 1:08:28 1:58:37       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Jasmin Amezcua                  0:15:03  2:28:41  5:31:33 8:15:17 15:44:43      3%         30%   66.90%                                      0:07:37                              0:00:00                 0:04:35                    5:22:11                  0:11:06
 5/11/2023 Daisy Meneses                   0:08:23  3:35:12  4:51:16 8:34:51 15:25:09   1.60%      41.80%   56.60%                                      0:08:37                              0:00:00                 0:02:32                    4:47:05                  0:10:15
 5/11/2023 Carmen Marza                    0:03:00  2:04:11  6:15:38 8:22:49 15:37:11   0.60%      24.70%   74.70%                                      0:06:16                              0:00:00                 0:05:00                    5:48:40                  0:09:10
 5/11/2023 Kevin Ceballos                  0:12:56  1:57:15  6:18:56 8:29:07 16:24:06   2.50%         23%   74.40%                                      0:09:38                              0:00:00                 0:05:00                    6:09:34                  0:12:19
 5/11/2023 George Sanchez                  0:03:53  4:32:59  4:47:19 9:24:11 14:40:52   0.70%      48.40%   50.90%                                      0:11:16                              0:00:00                 0:05:00                    5:04:28                  0:16:01
 5/11/2023 Admin Phoenix                   0:00:00  0:00:00  0:00:00 0:00:00 14:48:41      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Amir nejad                      0:09:31  3:50:55  4:31:24 8:31:50 15:28:10   1.90%      45.10%       53%                                     0:06:56                              0:00:00                 0:04:00                    5:05:22                  0:10:31
 5/11/2023 Legal Phoenix                   0:00:00  4:52:38  0:04:11 4:56:49 19:03:11      0%      98.60%     1.40%                                     0:00:21                              0:00:00                 0:00:00                    0:00:42                  0:00:21
 5/11/2023 Emely Acevedo                   0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Hunter Glass                    2:58:34  1:55:54  3:42:45 8:37:13 15:36:46 34.50%       22.40%   43.10%                                      0:09:01                              0:00:00                 0:01:35                    3:48:48                  0:09:56
 5/11/2023 Daniel Martinez                 0:00:00  1:04:47  0:00:00 1:04:47 23:07:59      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Yesica Sierra                   6:17:06  1:43:08  1:56:07 9:56:21 14:03:39 63.20%       17.30%   19.50%                                      0:01:06                              0:00:00                 0:00:00                    1:17:36                  0:01:06
 5/11/2023 Katherine Maldonado             0:00:00  6:05:30  0:00:00 6:05:30 17:54:30      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Brandon DeLaura                 0:04:12  2:56:08  5:00:32 8:00:52 15:59:08   0.90%      36.60%   62.50%                                      0:06:53                              0:00:00                 0:05:01                    4:55:09                  0:10:10
 5/11/2023 harold john Bagat(deleted)      0:00:00  0:17:17  0:00:00 0:17:17 2:49:48       0%       100%         0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Max Zinchini                    0:00:00  0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Cindy Vazquez                   0:06:49  1:36:09  6:32:22 8:15:20 16:22:20   1.40%      19.40%   79.20%                                      0:12:59                              0:00:00                 0:05:01                    6:34:10                  0:17:08
 5/11/2023 Samuel Pierce                   0:00:22  6:32:21  1:33:40 8:06:23 16:18:49   0.10%      80.70%   19.30%                                      0:01:02                              0:00:00                 0:05:01                    1:45:10                  0:01:09
 5/11/2023 Khalil Beshoy                   0:02:44  3:28:54  4:35:57 8:07:35 15:52:25   0.60%      42.80%   56.60%                                      0:09:55                              0:00:00                 0:05:01                    4:33:29                  0:13:01
 5/11/2023 Germaine Jan Abolucion(deleted) 0:00:00  0:17:06  0:00:00 0:17:06 2:49:58       0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 David Del Toro                  0:00:00  0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Mike Larkin                     0:03:21  2:26:48  5:43:37 8:13:46 15:46:14   0.70%      29.70%   69.60%                                      0:16:54                              0:00:00                 0:05:00                    5:37:42                  0:19:51
 5/11/2023 Andrea Albor                    5:35:09  1:45:10  2:38:24 9:58:43 14:01:17     56%      17.60%   26.50%                                      0:01:06                              0:00:00                 0:00:00                    1:06:20                  0:01:06
 5/11/2023 Norm Calaro(deleted)            0:00:00  0:00:00  0:00:00 0:00:00 2:38:56       0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/11/2023 Hanya Zargaran                  0:06:38  2:16:20  6:02:44 8:25:42 8:34:18    1.30%         27%   71.70%                                      0:09:38                              0:00:00                 0:04:59                    6:04:52                  0:13:30
 5/12/2023 Josey Harvey                    0:04:27  2:35:48  5:19:46 8:00:01 15:59:59   0.90%      32.50%   66.60%                                      0:09:41                              0:00:00                 0:03:32                    5:15:30                  0:12:08
 5/12/2023 Fausto Beleno                   0:11:55  2:50:25  6:59:54 10:02:14 13:57:46     2%      28.30%   69.70%                                      0:13:30                              0:00:00                 0:05:00                    7:04:29                  0:17:41
                                                         Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                               Declaration of Brad Lee with Exhs A-G in support of Trustee Page 38 of 189

Date       Agent Name              Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
 5/12/2023 James Hinson            0:29:19   2:37:09  1:51:00 4:57:28 10:41:49   9.90%      52.80%   37.30%                                      0:04:33                              0:00:00                 0:00:00                    1:22:10                  0:04:33
 5/12/2023 Bianca Loli             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Jarod Vaughan           0:12:22   3:10:59  4:54:40 8:18:01 15:41:59   2.50%      38.40%   59.20%                                      0:07:57                              0:00:00                 0:05:01                    5:14:59                  0:11:39
 5/12/2023 Kian Narani             0:06:14   3:17:24  4:45:21 8:08:59 16:45:29   1.30%      40.40%   58.40%                                      0:12:09                              0:00:00                 0:02:12                    6:55:30                  0:13:51
 5/12/2023 bonnie romero           0:05:46   3:48:46  4:18:40 8:13:12 15:46:48   1.20%      46.40%   52.50%                                      0:12:59                              0:00:00                 0:02:56                    4:41:00                  0:15:36
 5/12/2023 Erika Cortes            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Jess Pena               0:05:19   4:40:00  4:10:59 8:56:18 15:03:42      1%      52.20%   46.80%                                      0:06:00                              0:00:00                 0:04:18                    4:20:31                  0:08:59
 5/12/2023 Salma Aranda            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Daniel Orellana         0:05:08   2:42:28  4:52:27 7:40:03 16:19:57   1.10%      35.30%   63.60%                                      0:05:42                              0:00:00                 0:05:01                    4:22:18                  0:08:27
 5/12/2023 Karen Saldana-Lopez     0:27:39   3:04:55  4:42:07 8:14:41 15:45:19   5.60%      37.40%      57%                                      0:07:14                              0:00:00                 0:04:58                    4:47:31                  0:11:03
 5/12/2023 Saif Ismail             0:06:15   3:24:43  4:43:54 8:14:52 16:42:29   1.30%      41.40%   57.40%                                      0:05:47                              0:00:00                 0:04:50                    4:24:41                  0:09:07
 5/12/2023 Ivonne Diaz             0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Christine Le            0:00:00   0:40:04  0:00:00 0:40:04 23:19:56      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Stephany Gutierrez      0:00:00   5:07:45  0:00:00 5:07:45 18:52:15      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Lex Avina-Cardiel       0:07:23   2:51:57  5:17:17 8:16:37 15:43:23   1.50%      34.60%   63.90%                                      0:13:15                              0:00:00                 0:04:09                    5:10:09                  0:16:19
 5/12/2023 Sebastian Vasquez       0:00:37   2:13:37  0:40:12 2:54:26 21:05:34   0.40%      76.60%   23.10%                                      0:03:30                              0:00:00                 0:05:01                    0:44:36                  0:06:22
 5/12/2023 Abraham Sanchez         2:36:52   1:35:21  4:06:45 8:18:58 16:13:02 31.40%       19.10%   49.50%                                      0:09:57                              0:00:00                 0:03:01                    4:05:16                  0:11:40
 5/12/2023 Amanda Stephens         0:00:00   6:23:39  0:00:00 6:23:39 17:36:21      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Christian Sangalang     0:03:45   3:39:51  4:08:13 7:51:49 16:14:09   0.80%      46.60%   52.60%                                      0:05:39                              0:00:00                 0:05:01                    3:47:26                  0:08:44
 5/12/2023 Adriana Hernandez       0:07:47   1:10:44  7:01:40 8:20:11 15:39:50   1.60%      14.10%   84.30%                                      0:13:11                              0:00:00                 0:05:00                    7:06:54                  0:17:47
 5/12/2023 Lester Perez            0:22:01   2:09:32  6:43:21 9:14:54 14:45:06      4%      23.30%   72.70%                                      0:07:55                              0:00:00                 0:04:57                    7:00:17                  0:12:44
 5/12/2023 Salman Ismail           0:07:00   3:13:19  3:47:34 7:07:53 16:52:07   1.60%      45.20%   53.20%                                      0:07:10                              0:00:00                 0:04:52                    3:46:15                  0:11:18
 5/12/2023 Phoenix Paralegal       0:37:13   3:28:06  1:25:24 5:30:43 18:29:17 11.30%       62.90%   25.80%                                      0:04:36                              0:00:00                 0:00:00                    0:59:53                  0:04:36
 5/12/2023 Ramon Guerrero          0:00:00   9:38:24  0:00:00 9:38:24 14:21:36      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Jessenia Oseguera       0:10:02   4:49:46  4:17:56 9:17:44 14:42:16   1.80%         52%   46.30%                                      0:08:35                              0:00:00                 0:04:15                    4:17:05                  0:12:14
 5/12/2023 Ivis Parada             0:26:14   6:02:31  2:53:03 9:21:48 14:38:12   4.70%      64.50%   30.80%                                      0:10:38                              0:00:00                 0:00:00                    2:39:36                  0:10:38
 5/12/2023 Nickolas Mossa          0:08:32   3:04:06  4:24:20 7:36:58 16:23:02   1.90%      40.30%   57.90%                                      0:06:25                              0:00:00                 0:05:00                    4:45:07                  0:10:10
 5/12/2023 Hanner Angulo           5:14:15   2:41:35  2:05:19 10:01:09 13:58:51 52.30%      26.90%   20.90%                                      0:00:56                              0:00:00                 0:00:00                    1:28:53                  0:00:56
 5/12/2023 Victoria Dang           0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Sufyaan Lakhani         0:04:57   2:46:15  4:39:51 7:31:03 16:28:57   1.10%      36.90%      62%                                      0:07:01                              0:00:00                 0:04:39                    4:31:18                  0:10:02
 5/12/2023 Christopher Cole        0:00:00   0:00:00  0:00:00 0:00:00 14:26:49      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Mahmoud Bany-Mohammed   0:08:53   4:41:45  3:29:13 8:19:51 15:40:09   1.80%      56.40%   41.90%                                      0:09:07                              0:00:00                 0:05:01                    3:09:17                  0:10:30
 5/12/2023 Triana Camero           0:04:48   1:23:33  3:31:09 4:59:30 19:28:20   1.60%      27.90%   70.50%                                      0:10:33                              0:00:00                 0:05:00                    3:38:33                  0:14:34
 5/12/2023 Melina Beltran          1:51:07   3:36:37  4:07:00 9:34:44 14:25:17 19.30%       37.70%      43%                                      0:05:53                              0:00:00                 0:00:09                    3:56:23                  0:05:54
 5/12/2023 Erica Kline             0:06:23   2:57:42  5:22:14 8:26:19 15:33:41   1.30%      35.10%   63.60%                                      0:07:33                              0:00:00                 0:04:46                    5:28:29                  0:12:09
 5/12/2023 Ralph Breneville        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Anjeanette Chek         0:00:00   0:00:00  0:00:00 0:00:00 14:33:02      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Julissa Jimenez         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 eric Zoom Engineer      0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 andre alvarenga         0:04:07   3:21:02  4:54:17 8:19:26 15:40:34   0.80%      40.30%   58.90%                                      0:09:54                              0:00:00                 0:05:00                    4:33:16                  0:12:25
 5/12/2023 NELSON OTALORA          0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Ashley Jones            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Nikki Miller            1:17:43   1:38:27  4:24:04 7:20:14 16:40:13 17.70%       22.40%      60%                                      0:16:30                              0:00:00                 0:03:00                    4:30:14                  0:19:18
 5/12/2023 Manny Alatorre          0:08:13   1:57:57  6:07:23 8:13:33 16:18:03   1.70%      23.90%   74.40%                                      0:04:42                              0:00:00                 0:04:24                    5:31:59                  0:06:38
 5/12/2023 Tainis Tapias           0:12:36   2:17:23  7:17:49 9:47:48 14:12:13   2.10%      23.40%   74.50%                                      0:12:44                              0:00:00                 0:04:53                    7:19:14                  0:16:53
 5/12/2023 Jason Cast              0:00:00   7:51:06  0:00:00 7:51:06 17:02:05      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Selina Taing            0:00:00   6:56:00  0:00:05 6:56:05 17:37:51      0%        100%       0%                                      0:00:25                              0:00:00                 0:00:00                    0:00:51                  0:00:25
 5/12/2023 Connor Huskisson        0:33:53   3:38:13  5:02:06 9:14:12 14:47:29   6.10%      39.40%   54.50%                                      0:05:13                              0:00:00                 0:05:00                    5:07:47                  0:09:19
 5/12/2023 Daniela Serrano         0:05:44   2:49:58  6:31:15 9:26:57 14:33:03      1%         30%      69%                                      0:17:48                              0:00:00                 0:05:00                    6:58:30                  0:22:01
 5/12/2023 Tony Sanchez            0:12:02   1:35:17  5:59:39 7:46:58 16:13:02   2.60%      20.40%      77%                                      0:09:05                              0:00:00                 0:04:38                    5:56:29                  0:12:17
 5/12/2023 Reham Zin               0:11:57   3:39:35  3:39:38 7:31:10 16:28:50   2.70%      48.70%   48.70%                                      0:03:57                              0:00:00                 0:05:00                    3:50:00                  0:07:55
                                                      Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                            Declaration of Brad Lee with Exhs A-G in support of Trustee Page 39 of 189

Date       Agent Name           Ready Not Ready Occupied Online    Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
 5/12/2023 Brian Lucaci         0:00:00   6:45:01  0:00:00 6:45:01 17:47:33     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 James Andra          0:06:36   4:06:42  4:01:46 8:15:04 16:15:49  1.30%      49.80%   48.80%                                      0:05:14                              0:00:00                 0:05:01                    3:21:54                  0:07:12
 5/12/2023 Sarah Ross           0:00:00   7:22:50  0:00:00 7:22:50 16:37:10     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Ronald Apodaca       0:00:00   1:07:24  0:00:00 1:07:24 13:46:45     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Sophia Goins         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00     0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Karen O'Connell      0:00:00   0:00:00  0:00:00 0:00:00 24:00:00     0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Kevin Marquez        1:49:21   3:10:23  2:49:49 7:49:33 16:10:27 23.30%      40.50%   36.20%                                      0:16:58                              0:00:00                 0:02:43                    4:56:06                  0:18:30
 5/12/2023 Stephanie Reynoso    0:04:47   1:50:08  2:27:34 4:22:29 19:37:31  1.80%         42%   56.20%                                      0:07:39                              0:00:00                 0:04:57                    2:44:10                  0:12:37
 5/12/2023 justin andra         0:02:52   4:41:16  4:00:53 8:45:01 15:14:59  0.60%      53.60%   45.90%                                      0:06:13                              0:00:00                 0:05:00                    4:07:27                  0:11:14
 5/12/2023 Ty Carss             0:00:00   2:03:55  0:21:25 2:25:20 21:34:40     0%      85.30%   14.70%                                      0:07:35                              0:00:00                 0:00:00                    0:15:10                  0:07:35
 5/12/2023 Isa Avina-Cardiel    1:40:17   2:53:54  3:36:56 8:11:07 15:48:53 20.40%      35.40%   44.20%                                      0:07:44                              0:00:00                 0:02:27                    3:32:28                  0:09:14
 5/12/2023 Golam Khan           0:08:38   5:32:06  3:39:49 9:20:33 14:45:51  1.50%      59.30%   39.20%                                      0:04:17                              0:00:00                 0:04:36                    3:51:05                  0:05:38
 5/12/2023 Vincent Berube       1:02:46   2:34:54  3:06:14 6:43:54 17:16:06 15.50%      38.40%   46.10%                                      0:12:27                              0:00:00                 0:02:45                    3:09:28                  0:14:34
 5/12/2023 Jas Sanchez          0:01:33   2:30:36  2:43:42 5:15:51 18:44:10  0.50%      47.70%   51.80%                                      0:08:51                              0:00:00                 0:05:01                    2:40:20                  0:12:20
 5/12/2023 Quynh Nguyen         0:01:44   3:36:14  4:21:09 7:59:07 16:00:53  0.40%      45.10%   54.50%                                      0:05:10                              0:00:00                 0:05:01                    3:41:39                  0:05:59
 5/12/2023 Marie Claire Salom   0:00:00   7:02:55  0:00:00 7:02:55 16:57:05     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Elio Riano           2:48:58   2:35:30  4:11:50 9:36:18 14:43:31 29.30%         27%   43.70%                                      0:08:23                              0:00:00                 0:02:48                    4:06:28                  0:10:42
 5/12/2023 Nassir Diab          0:34:45   4:18:51  3:30:51 8:24:27 15:50:37  6.90%      51.30%   41.80%                                      0:03:30                              0:00:00                 0:05:01                    3:39:08                  0:07:04
 5/12/2023 Kimberly Torres      0:48:05   2:19:16  4:37:05 7:44:26 16:15:34 10.40%         30%   59.70%                                      0:06:44                              0:00:00                 0:00:00                    3:22:23                  0:06:44
 5/12/2023 Abe Flores           0:03:33   1:53:05  5:22:39 7:19:17 16:40:43  0.80%      25.70%   73.50%                                      0:19:35                              0:00:00                 0:04:30                    5:32:50                  0:23:46
 5/12/2023 Jennifer Andra       0:03:55   4:43:46  3:15:55 8:03:36 16:24:57  0.80%      58.70%   40.50%                                      0:07:06                              0:00:00                 0:05:01                    3:14:31                  0:09:15
 5/12/2023 Shadia Chavez        0:00:00   9:44:12  0:00:00 9:44:12 14:15:48     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Ali Mohamed          0:03:17   4:43:39  4:33:53 9:20:49 15:37:15  0.60%      50.60%   48.80%                                      0:07:54                              0:00:00                 0:05:01                    4:24:58                  0:11:02
 5/12/2023 Brad Lucaci          0:00:00   0:52:31  0:00:00 0:52:31 23:07:29     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Iman Nejad           0:15:30   2:07:51  4:23:59 6:47:20 17:18:59  3.80%      31.40%   64.80%                                      0:05:54                              0:00:00                 0:03:35                    4:34:22                  0:09:08
 5/12/2023 Anthony Base         5:41:45   1:20:14  1:33:59 8:35:58 15:24:03 66.20%      15.60%   18.20%                                      0:04:12                              0:00:00                 0:03:01                    1:06:11                  0:04:24
 5/12/2023 Sulaiman Khan        0:03:35   2:54:05  3:52:46 6:50:26 17:09:35  0.90%      42.40%   56.70%                                      0:06:09                              0:00:00                 0:04:56                    3:18:22                  0:07:56
 5/12/2023 yuliana mendoza      0:10:40   1:55:45  7:45:01 9:51:26 14:08:34  1.80%      19.60%   78.60%                                      0:13:00                              0:00:00                 0:04:55                    7:57:48                  0:17:03
 5/12/2023 Josue Alvarez        0:02:47   3:24:21  3:22:52 6:50:00 17:50:44  0.70%      49.80%   49.50%                                      0:11:49                              0:00:00                 0:05:01                    3:28:59                  0:16:04
 5/12/2023 Sabah Ismail         0:06:41   3:54:38  4:20:27 8:21:46 16:31:41  1.30%      46.80%   51.90%                                      0:07:25                              0:00:00                 0:04:57                    4:02:31                  0:11:01
 5/12/2023 Nicole Morris        0:03:43   5:58:27  2:53:33 8:55:43 15:04:17  0.70%      66.90%   32.40%                                      0:04:27                              0:00:00                 0:02:37                    2:41:53                  0:05:13
 5/12/2023 Humza Shariff        0:06:10   2:49:41  4:30:29 7:26:20 16:38:12  1.40%         38%   60.60%                                      0:06:12                              0:00:00                 0:04:59                    4:18:48                  0:09:14
 5/12/2023 Karla Bravo          0:01:38   5:07:43  0:09:54 5:19:15 18:40:45  0.50%      96.40%     3.10%                                     0:01:31                              0:00:00                 0:00:00                    0:03:03                  0:01:31
 5/12/2023 Kaitlyn Campuzano    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00     0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Nathan Perez         0:00:00   1:07:23  0:00:00 1:07:23 23:14:04     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Eeyah Tan            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00     0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Matt Douglas         0:00:00   0:00:41  0:00:00 0:00:41 23:59:20     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Brant Bishop         0:12:19   2:26:06  5:44:04 8:22:29 16:04:52  2.50%      29.10%   68.50%                                      0:06:02                              0:00:00                 0:05:00                    5:29:52                  0:09:59
 5/12/2023 Angelie Perez        0:00:00 15:16:49   0:00:00 15:16:49 8:43:11     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Jasmin Amezcua       0:03:03   1:09:16  2:35:54 3:48:13 20:11:47  1.30%      30.40%   68.30%                                      0:08:54                              0:00:00                 0:04:28                    2:36:05                  0:13:00
 5/12/2023 Daisy Meneses        0:06:30   3:28:18  4:24:34 7:59:22 16:00:38  1.40%      43.50%   55.20%                                      0:07:00                              0:00:00                 0:02:39                    4:08:20                  0:08:33
 5/12/2023 Carmen Marza         0:09:06   2:26:40  5:25:53 8:01:39 15:58:21  1.90%      30.50%   67.70%                                      0:05:09                              0:00:00                 0:05:01                    5:06:25                  0:08:03
 5/12/2023 Kevin Ceballos       0:05:38   4:02:34  4:28:50 8:37:02 15:22:58  1.10%      46.90%       52%                                     0:08:35                              0:00:00                 0:05:01                    4:51:36                  0:12:09
 5/12/2023 George Sanchez       0:06:48   4:05:19  5:12:34 9:24:41 14:40:17  1.20%      43.50%   55.40%                                      0:12:35                              0:00:00                 0:04:54                    5:32:27                  0:17:29
 5/12/2023 Admin Phoenix        0:00:00   0:00:00  0:00:00 0:00:00 24:00:01     0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Amir nejad           0:13:15   4:00:34  4:09:26 8:23:15 15:36:46  2.60%      47.80%   49.60%                                      0:05:39                              0:00:00                 0:03:34                    4:48:41                  0:08:29
 5/12/2023 Legal Phoenix        0:00:00   4:08:47  0:51:51 5:00:38 19:03:55     0%      82.80%   17.30%                                      0:03:59                              0:00:00                 0:00:00                    0:43:59                  0:03:59
 5/12/2023 Emely Acevedo        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00     0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Hunter Glass         2:08:30   1:49:36  3:54:33 7:52:39 16:40:04 27.20%      23.20%   49.60%                                      0:09:17                              0:00:00                 0:01:52                    4:00:06                  0:10:54
 5/12/2023 Daniel Martinez      0:00:00   4:29:13  0:00:00 4:29:13 19:30:47     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Yesica Sierra        4:39:50   1:44:02  3:24:59 9:48:51 14:11:09 47.50%      17.70%   34.80%                                      0:00:59                              0:00:00                 0:00:00                    2:01:29                  0:00:59
                                                         Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                               Declaration of Brad Lee with Exhs A-G in support of Trustee Page 40 of 189

Date       Agent Name              Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
 5/12/2023 Katherine Maldonado     0:00:00   5:22:01  0:00:00 5:22:01 20:04:41      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Brandon DeLaura         0:11:37   2:58:30  5:09:45 8:19:52 15:40:08   2.30%      35.70%      62%                                      0:06:16                              0:00:00                 0:05:00                    5:07:10                  0:09:18
 5/12/2023 Max Zinchini            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/12/2023 Cindy Vazquez           0:13:10   1:56:39  5:56:18 8:06:07 16:30:11   2.70%         24%   73.30%                                      0:09:07                              0:00:00                 0:05:01                    6:00:37                  0:12:52
 5/12/2023 Samuel Pierce           0:06:19   4:20:20  3:50:10 8:16:49 16:15:47   1.30%      52.40%   46.30%                                      0:04:45                              0:00:00                 0:03:10                    3:37:30                  0:06:12
 5/12/2023 Khalil Beshoy           0:10:32   1:36:00  4:02:19 5:48:51 18:11:09      3%      27.50%   69.50%                                      0:06:55                              0:00:00                 0:04:26                    3:46:54                  0:08:24
 5/12/2023 David Del Toro          0:12:35   1:46:24  6:59:00 8:57:59 15:02:01   2.30%      19.80%   77.90%                                      0:13:34                              0:00:00                 0:04:45                    7:19:59                  0:17:35
 5/12/2023 Mike Larkin             0:03:04   4:50:56  4:34:14 9:28:14 14:32:49   0.50%      51.20%   48.30%                                      0:03:07                              0:00:00                 0:05:01                    3:19:24                  0:03:54
 5/12/2023 Andrea Albor            3:42:09   1:26:03  5:05:17 10:13:29 14:04:25 36.20%         14%   49.80%                                      0:01:03                              0:00:00                 0:00:00                    2:17:05                  0:01:03
 5/12/2023 Hanya Zargaran          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Josey Harvey            0:01:35   2:22:32  5:42:27 8:06:34 16:30:04   0.30%      29.30%   70.40%                                      0:09:07                              0:00:00                 0:03:52                    5:47:13                  0:12:24
 5/15/2023 Fausto Beleno           0:06:15   2:01:40  7:54:58 10:02:53 13:57:07     1%      20.20%   78.80%                                      0:10:28                              0:00:00                 0:04:57                    8:13:52                  0:15:26
 5/15/2023 James Hinson            0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Bianca Loli             0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Jarod Vaughan           0:03:30   3:47:19  4:29:23 8:20:12 15:39:48   0.70%      45.40%   53.90%                                      0:09:12                              0:00:00                 0:05:00                    4:31:48                  0:11:49
 5/15/2023 Kian Narani             0:11:03   3:03:39  4:21:38 7:36:20 16:23:40   2.40%      40.30%   57.30%                                      0:05:48                              0:00:00                 0:02:24                    3:59:18                  0:06:50
 5/15/2023 bonnie romero           0:03:10   3:21:08  4:58:28 8:22:46 15:47:33   0.60%         40%   59.40%                                      0:05:39                              0:00:00                 0:02:57                    5:29:14                  0:07:50
 5/15/2023 Erika Cortes            0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Jess Pena               0:03:04   4:47:20  3:53:21 8:43:45 15:16:15   0.60%      54.90%   44.60%                                      0:05:37                              0:00:00                 0:03:35                    3:45:01                  0:06:49
 5/15/2023 Salma Aranda            0:00:00   3:55:41  0:00:00 3:55:41 13:04:20      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Daniel Orellana         0:01:41   3:19:45  4:23:47 7:45:13 16:43:44   0.40%      42.90%   56.70%                                      0:04:33                              0:00:00                 0:05:01                    3:30:31                  0:06:22
 5/15/2023 Karen Saldana-Lopez     0:08:49   3:21:12  5:23:05 8:53:06 16:06:33   1.70%      37.80%   60.60%                                      0:08:14                              0:00:00                 0:04:44                    5:28:05                  0:10:56
 5/15/2023 Saif Ismail             0:06:00   5:00:46  3:06:50 8:13:36 15:50:02   1.20%      60.90%   37.90%                                      0:03:15                              0:00:00                 0:03:44                    1:59:47                  0:03:51
 5/15/2023 Ivonne Diaz             0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Christine Le            0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Stephany Gutierrez      0:00:00   7:35:07  0:00:00 7:35:07 16:33:07      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Lex Avina-Cardiel       0:09:56   3:03:51  6:18:21 9:32:08 15:21:19   1.70%      32.10%   66.10%                                      0:09:37                              0:00:00                 0:04:08                    6:22:44                  0:13:11
 5/15/2023 Sebastian Vasquez       0:11:59   4:05:52  4:35:06 8:52:57 15:07:03   2.30%      46.10%   51.60%                                      0:08:05                              0:00:00                 0:04:51                    5:49:37                  0:12:56
 5/15/2023 Abraham Sanchez         1:38:07   1:28:38  5:14:58 8:21:43 15:38:17 19.60%       17.70%   62.80%                                      0:16:45                              0:00:00                 0:03:00                    5:17:55                  0:18:42
 5/15/2023 Amanda Stephens         0:00:00   8:22:07  0:00:00 8:22:07 15:37:53      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Christian Sangalang     0:04:08   2:55:15  4:13:50 7:13:13 17:42:34      1%      40.50%   58.60%                                      0:04:45                              0:00:00                 0:04:30                    3:44:17                  0:07:00
 5/15/2023 Adriana Hernandez       0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Lester Perez            0:22:57   1:10:30  8:09:16 9:42:43 14:17:17   3.90%      12.10%      84%                                      0:07:58                              0:00:00                 0:05:00                    8:21:37                  0:12:51
 5/15/2023 Salman Ismail           0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Phoenix Paralegal       0:59:59   3:52:03  0:08:57 5:00:59 19:27:12 19.90%       77.10%       3%                                      0:00:43                              0:00:00                 0:00:00                    0:02:11                  0:00:43
 5/15/2023 Ramon Guerrero          0:00:00   9:30:18  0:00:00 9:30:18 14:39:21      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Jessenia Oseguera       0:01:36   4:39:49  4:31:09 9:12:34 14:47:26   0.30%      50.60%   49.10%                                      0:02:29                              0:00:00                 0:03:41                    2:49:12                  0:03:11
 5/15/2023 Ivis Parada             0:54:42   4:23:56  4:02:52 9:21:30 14:38:30   9.70%         47%   43.30%                                      0:16:17                              0:00:00                 0:01:22                    3:53:35                  0:16:41
 5/15/2023 Nickolas Mossa          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Hanner Angulo           5:34:03   2:50:20  1:59:01 10:23:24 13:36:36 53.60%      27.30%   19.10%                                      0:01:03                              0:00:00                 0:00:00                    1:26:55                  0:01:03
 5/15/2023 Victoria Dang           2:11:22   2:33:50  4:34:57 9:20:09 14:39:51 23.50%       27.50%   49.10%                                      0:12:05                              0:00:00                 0:03:00                    4:32:02                  0:14:19
 5/15/2023 Sufyaan Lakhani         0:04:25   2:34:42  6:45:40 9:24:47 14:35:13   0.80%      27.40%   71.80%                                      0:07:48                              0:00:00                 0:03:56                    7:03:03                  0:11:26
 5/15/2023 Christopher Cole        0:04:20   3:57:17  4:53:08 8:54:45 15:05:15   0.80%      44.40%   54.80%                                      0:16:20                              0:00:00                 0:05:00                    5:36:40                  0:21:02
 5/15/2023 Mahmoud Bany-Mohammed   0:01:01   3:53:54  4:37:32 8:32:27 15:27:33   0.20%      45.60%   54.20%                                      0:09:41                              0:00:00                 0:05:01                    4:18:09                  0:11:13
 5/15/2023 Triana Camero           0:14:18   1:30:36  8:25:43 10:10:37 13:49:23  2.30%      14.80%   82.80%                                      0:10:58                              0:00:00                 0:05:01                    8:32:30                  0:15:31
 5/15/2023 Melina Beltran          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Erica Kline             0:01:36   3:22:40  4:58:19 8:22:35 15:37:25   0.30%      40.30%   59.40%                                      0:07:45                              0:00:00                 0:04:54                    4:45:15                  0:10:58
 5/15/2023 Ralph Breneville        0:02:46   2:06:37  5:51:16 8:00:39 16:30:56   0.60%      26.30%   73.10%                                      0:15:48                              0:00:00                 0:03:50                    6:33:23                  0:18:43
 5/15/2023 Anjeanette Chek         0:21:49   4:15:19  3:54:23 8:31:31 15:28:29   4.30%      49.90%   45.80%                                      0:07:07                              0:00:00                 0:04:13                    4:00:16                  0:09:14
 5/15/2023 Julissa Jimenez         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 eric Zoom Engineer      0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                      Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                            Declaration of Brad Lee with Exhs A-G in support of Trustee Page 41 of 189

Date       Agent Name           Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
 5/15/2023 andre alvarenga      0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Ashley Jones         0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Nikki Miller         0:48:31   0:53:57  2:51:05 4:33:33 20:00:08 17.70%       19.70%   62.50%                                      0:22:22                              0:00:00                 0:03:01                    4:55:44                  0:24:38
 5/15/2023 Manny Alatorre       0:07:23   1:42:12  6:40:45 8:30:20 15:43:12   1.50%         20%   78.50%                                      0:06:38                              0:00:00                 0:04:30                    6:31:14                  0:09:18
 5/15/2023 Tainis Tapias        0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Jason Cast           0:00:00   5:34:59  0:00:00 5:34:59 18:25:01      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Selina Taing         0:00:00   8:04:09  0:00:05 8:04:14 15:55:46      0%        100%        0%                                     0:00:13                              0:00:00                 0:00:00                    0:00:13                  0:00:13
 5/15/2023 Connor Huskisson     0:06:34   3:29:05  5:11:25 8:47:04 15:12:56   1.30%      39.70%   59.10%                                      0:06:19                              0:00:00                 0:05:00                    4:58:55                  0:10:18
 5/15/2023 Daniela Serrano      0:14:38   2:10:59  7:36:13 10:01:50 13:58:10  2.40%      21.80%   75.80%                                      0:14:38                              0:00:00                 0:05:01                    7:46:20                  0:18:39
 5/15/2023 Tony Sanchez         0:12:39   1:37:41  6:12:32 8:02:52 15:57:08   2.60%      20.20%   77.20%                                      0:11:49                              0:00:00                 0:05:01                    6:18:58                  0:15:47
 5/15/2023 Reham Zin            0:00:05   4:31:53  2:23:53 6:55:51 10:04:10      0%      65.40%   34.60%                                      0:02:18                              0:00:00                 0:00:00                    1:04:35                  0:02:18
 5/15/2023 Brian Lucaci         0:00:00   8:08:42  0:00:00 8:08:42 15:51:18      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 James Andra          0:02:29   5:02:09  3:59:48 9:04:26 14:55:34   0.50%      55.50%   44.10%                                      0:06:17                              0:00:00                 0:05:01                    3:27:37                  0:08:18
 5/15/2023 Sarah Ross           0:00:00   7:53:22  0:00:00 7:53:22 16:29:19      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Ronald Apodaca       0:01:46   1:40:50  6:37:02 8:19:38 8:40:22    0.40%      20.20%   79.50%                                      0:10:11                              0:00:00                 0:04:11                    6:21:19                  0:12:42
 5/15/2023 Sophia Goins         2:56:12   0:00:11  1:05:13 4:01:36 19:58:24 72.90%        0.10%       27%                                     0:12:44                              0:00:00                 0:00:20                    1:04:43                  0:12:56
 5/15/2023 Karen O'Connell      0:22:44   2:26:09  5:24:23 8:13:16 15:46:44   4.60%      29.60%   65.80%                                      0:07:09                              0:00:00                 0:05:01                    5:27:20                  0:10:33
 5/15/2023 Kevin Marquez        2:09:02   1:34:51  4:30:25 8:14:18 15:45:42 26.10%       19.20%   54.70%                                      0:14:28                              0:00:00                 0:02:35                    4:27:53                  0:15:45
 5/15/2023 Stephanie Reynoso    0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 justin andra         0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Ty Carss             0:00:00   1:57:32  0:33:09 2:30:41 21:59:16      0%         78%       22%                                     0:13:24                              0:00:00                 0:00:00                    0:26:48                  0:13:24
 5/15/2023 Isa Avina-Cardiel    3:12:34   2:01:46  2:49:17 8:03:37 15:56:23 39.80%       25.20%       35%                                     0:08:23                              0:00:00                 0:03:01                    2:56:36                  0:11:02
 5/15/2023 Golam Khan           0:01:09   4:54:27  4:33:08 9:28:44 14:31:16   0.20%      51.80%       48%                                     0:04:02                              0:00:00                 0:04:39                    4:29:14                  0:04:53
 5/15/2023 Vincent Berube       2:11:15   3:04:42  4:03:36 9:19:33 15:22:50 23.50%          33%   43.50%                                      0:14:38                              0:00:00                 0:03:00                    4:12:51                  0:16:51
 5/15/2023 Jas Sanchez          0:06:15   1:32:14  3:33:22 5:11:51 18:48:09      2%      29.60%   68.40%                                      0:06:08                              0:00:00                 0:04:21                    3:20:26                  0:09:06
 5/15/2023 Quynh Nguyen         0:05:08   3:04:33  4:29:02 7:38:43 16:21:17   1.10%      40.20%   58.70%                                      0:03:22                              0:00:00                 0:04:55                    3:39:05                  0:05:05
 5/15/2023 Marie Claire Salom   0:00:00   2:56:55  0:00:00 2:56:55 21:11:49      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Elio Riano           2:34:44   1:09:09  4:37:07 8:21:00 16:15:06 30.90%       13.80%   55.30%                                      0:15:02                              0:00:00                 0:02:35                    4:39:25                  0:17:27
 5/15/2023 Nassir Diab          0:20:34   2:22:46  5:18:35 8:01:55 15:58:05   4.30%      29.60%   66.10%                                      0:04:06                              0:00:00                 0:05:00                    4:21:21                  0:06:52
 5/15/2023 Kimberly Torres      0:00:00   0:04:20  0:00:00 0:04:20 24:09:53      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Abe Flores           0:01:02   1:37:27  6:28:46 8:07:15 15:52:45   0.20%         20%   79.80%                                      0:19:20                              0:00:00                 0:04:24                    6:26:08                  0:22:42
 5/15/2023 Jennifer Andra       0:02:10   3:34:18  4:33:28 8:09:56 16:16:13   0.40%      43.70%   55.80%                                      0:03:50                              0:00:00                 0:04:59                    3:49:05                  0:04:46
 5/15/2023 Shadia Chavez        0:00:00   9:58:27  0:00:00 9:58:27 14:01:33      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Jolie R              0:00:14   1:00:27  0:00:15 1:00:56 13:18:12   0.40%      99.20%     0.40%                                     0:00:08                              0:00:00                 0:00:00                    0:00:08                  0:00:08
 5/15/2023 Ali Mohamed          0:04:32   3:18:37  5:50:16 9:13:25 14:58:16   0.80%      35.90%   63.30%                                      0:08:15                              0:00:00                 0:05:01                    5:26:03                  0:10:31
 5/15/2023 Brad Lucaci          0:00:00   3:02:20  0:00:00 3:02:20 20:57:40      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Iman Nejad           0:09:44   1:51:25  4:48:28 6:49:37 17:19:23   2.40%      27.20%   70.40%                                      0:05:37                              0:00:00                 0:02:55                    4:39:14                  0:08:12
 5/15/2023 Anthony Base         0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Sulaiman Khan        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 yuliana mendoza      0:19:44   2:06:11  7:34:39 10:00:34 13:59:26  3.30%         21%   75.70%                                      0:09:40                              0:00:00                 0:04:57                    7:47:54                  0:14:37
 5/15/2023 Josue Alvarez        0:03:18   3:03:49  5:01:44 8:08:51 15:51:09   0.70%      37.60%   61.70%                                      0:10:59                              0:00:00                 0:05:01                    5:10:04                  0:15:30
 5/15/2023 Sabah Ismail         0:04:13   3:54:29  4:04:20 8:03:02 8:56:58    0.90%      48.60%   50.60%                                      0:10:26                              0:00:00                 0:04:57                    4:01:26                  0:15:05
 5/15/2023 Nicole Morris        0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Humza Shariff        0:03:03   2:09:33  5:57:17 8:09:53 15:50:07   0.60%      26.50%   72.90%                                      0:07:19                              0:00:00                 0:04:59                    5:59:08                  0:11:13
 5/15/2023 Karla Bravo          0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Kaitlyn Campuzano    0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Nathan Perez         0:00:00   5:50:20  0:00:00 5:50:20 18:20:54      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Eeyah Tan            0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Matt Douglas         0:00:00   2:36:33  0:00:00 2:36:33 22:16:52      0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Brant Bishop         0:14:16   1:58:32  6:45:02 8:57:50 15:02:10   2.70%         22%   75.30%                                      0:07:11                              0:00:00                 0:05:00                    6:27:11                  0:11:03
 5/15/2023 Angelie Perez        0:00:00 10:34:09   0:00:00 10:34:09 13:25:51     0%        100%        0%                                     0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
                                                       Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                             Declaration of Brad Lee with Exhs A-G in support of Trustee Page 42 of 189

Date       Agent Name            Ready Not Ready Occupied Online     Offline Ready% Not Ready% Occupied% Inbound Avg.Voice Call Talking Duration       Avg.Video Call Talking Duration      Avg.Wrap-up Duration    Total Handling Duration    Avg.Handling Duration
 5/15/2023 Jasmin Amezcua        0:05:32   1:50:43  6:31:32 8:27:47 15:55:45   1.10%      21.80%   77.10%                                      0:07:18                              0:00:00                 0:04:32                    6:19:03                  0:10:14
 5/15/2023 Daisy Meneses         0:02:39   3:29:47  5:43:38 9:16:04 14:43:56   0.50%      37.70%   61.80%                                      0:07:04                              0:00:00                 0:03:00                    5:28:50                  0:08:39
 5/15/2023 Carmen Marza          0:06:07   2:20:54  5:49:20 8:16:21 15:43:39   1.20%      28.40%   70.40%                                      0:03:48                              0:00:00                 0:05:01                    5:03:02                  0:06:18
 5/15/2023 Kevin Ceballos        0:03:37   3:06:25  5:24:49 8:34:51 16:14:55   0.70%      36.20%   63.10%                                      0:08:40                              0:00:00                 0:05:01                    5:02:55                  0:10:49
 5/15/2023 George Sanchez        0:04:51   3:35:52  5:41:09 9:21:52 14:38:08   0.90%      38.40%   60.70%                                      0:07:26                              0:00:00                 0:04:50                    5:39:24                  0:11:18
 5/15/2023 Admin Phoenix         0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Amir nejad            0:00:00   0:00:00  0:00:00 0:00:00 24:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Legal Phoenix         0:00:00   4:25:27  0:41:15 5:06:42 18:53:18      0%      86.60%   13.50%                                      0:07:15                              0:00:00                 0:00:00                    0:36:18                  0:07:15
 5/15/2023 Emely Acevedo         0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Hunter Glass          1:49:18   1:50:08  4:44:16 8:23:42 15:47:21 21.70%       21.90%   56.40%                                      0:09:53                              0:00:00                 0:01:11                    4:42:10                  0:10:51
 5/15/2023 Daniel Martinez       0:00:00   1:08:05  0:00:00 1:08:05 15:51:56      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Yesica Sierra         5:50:05   1:36:54  2:34:34 10:01:33 14:01:46 58.20%      16.10%   25.70%                                      0:01:04                              0:00:00                 0:00:00                    1:36:17                  0:01:04
 5/15/2023 Katherine Maldonado   0:00:00   6:25:59  0:00:00 6:25:59 17:51:25      0%        100%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Brandon DeLaura       0:22:19   1:45:15  3:59:24 6:06:58 17:53:02   6.10%      28.70%   65.20%                                      0:08:28                              0:00:00                 0:05:00                    4:01:25                  0:12:42
 5/15/2023 Max Zinchini          0:00:00   0:00:00  0:00:00 0:00:00 17:00:00      0%          0%       0%                                      0:00:00                              0:00:00                 0:00:00                    0:00:00                  0:00:00
 5/15/2023 Cindy Vazquez         0:05:04   1:36:30  6:37:48 8:19:22 15:40:38      1%      19.30%   79.70%                                      0:09:58                              0:00:00                 0:05:00                    6:39:50                  0:13:47
 5/15/2023 Samuel Pierce         0:02:41   4:03:33  4:12:40 8:18:54 15:41:06   0.50%      48.80%   50.60%                                      0:05:47                              0:00:00                 0:04:47                    3:55:04                  0:08:06
 5/15/2023 Khalil Beshoy         0:01:51   2:59:45  4:24:32 7:26:08 17:07:59   0.40%      40.30%   59.30%                                      0:10:18                              0:00:00                 0:05:00                    4:35:51                  0:14:31
 5/15/2023 David Del Toro        0:32:41   1:04:07  7:51:55 9:28:43 14:31:17   5.80%      11.30%      83%                                      0:11:38                              0:00:00                 0:05:01                    8:03:12                  0:16:39
 5/15/2023 Mike Larkin           0:05:12   2:48:17  4:49:29 7:42:58 16:17:49   1.10%      36.40%   62.50%                                      0:05:50                              0:00:00                 0:04:20                    4:23:17                  0:08:29
 5/15/2023 Andrea Albor          4:28:26   1:39:37  3:18:12 9:26:15 14:33:45 47.40%       17.60%      35%                                      0:00:52                              0:00:00                 0:00:00                    1:08:42                  0:00:52
 5/15/2023 Hanya Zargaran        0:04:31   2:38:17  5:36:12 8:19:00 15:41:00   0.90%      31.70%   67.40%                                      0:07:14                              0:00:00                 0:04:53                    5:24:35                  0:10:08
                                                                                                          Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                Declaration of Brad Lee with Exhs A-G in support of Trustee Page 43 of 189

Date Interval                Name         Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent            Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                        Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls          In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/1/2023 Sulaiman Khan          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Sulaiman Khan          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Sulaiman Khan          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Sulaiman Khan          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Sulaiman Khan          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Sulaiman Khan          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Sulaiman Khan          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Sulaiman Khan          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Sulaiman Khan          General               ACD              79.00%                 23                 19                4                                         18                         0                         1                                      82.60%             17.40%                   0%                78.30%                   4.40%                      0%          0:04:31               0:00:12                   3:44:33               0:11:49
    5/2/2023 Sulaiman Khan          General               ACD             100.00%                 13                 11                2                                         10                         1                         1                                      84.60%             15.40%                   0%                76.90%                   7.70%                      0%          0:03:01               0:00:13                   2:25:02               0:13:11
    5/3/2023 Sulaiman Khan          General               ACD              85.00%                 17                 13                4                                         12                         0                         1                                      76.50%             23.50%                   0%                70.60%                   5.90%                      0%          0:03:51               0:00:13                   2:11:51               0:10:08
    5/4/2023 Sulaiman Khan          General               ACD             100.00%                  6                  4                1                                          3                         0                         1                       1              66.70%             16.70%                   0%                   50%                  16.70%                  16.70%          0:01:28               0:00:14                   1:16:25               0:15:17
    5/5/2023 Sulaiman Khan          General               ACD              15.00%                 17                 12                4                                         12                         0                                                 1              70.60%             23.50%                   0%                70.60%                      0%                   5.90%          0:04:15               0:00:15                   2:25:35               0:11:11
    5/9/2023 Sulaiman Khan          General               ACD              12.00%                 26                 25                1                                         25                         0                                                                96.20%              3.90%                   0%                96.20%                      0%                      0%          0:04:03               0:00:09                   4:57:30               0:11:54
   5/10/2023 Sulaiman Khan          General               ACD               7.00%                 15                 14                1                                         14                         0                                                                93.30%              6.70%                   0%                93.30%                      0%                      0%          0:02:20               0:00:09                   2:57:37               0:13:39
   5/11/2023 Sulaiman Khan          General               ACD              14.00%                 17                 13                3                                         12                         0                         1                       1              76.50%             17.70%                   0%                70.60%                   5.90%                   5.90%          0:03:15               0:00:11                   2:55:13               0:12:30
    5/2/2023 Mike Larkin            Outbound Dialer NSF   ACD             100.00%                  1                  1                0                                                                    0                         1                                        100%                 0%                   0%                    0%                    100%                      0%          0:00:08               0:00:08                   2:17:24               2:17:24

    5/1/2023 Mike Larkin            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Mike Larkin            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Mike Larkin            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Mike Larkin            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Mike Larkin            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Mike Larkin            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Mike Larkin            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Mike Larkin            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Mike Larkin            General               ACD              88.00%                 17                 17                0                                         13                         0                         4                                        100%                 0%                   0%                76.50%                  23.50%                      0%          0:02:36               0:00:09                   3:30:45               0:12:23
    5/2/2023 Mike Larkin            General               ACD             100.00%                 10                  9                1                                          9                         1                                                                   90%                10%                   0%                   90%                      0%                      0%          0:02:08               0:00:12                   2:08:49               0:14:18
    5/3/2023 Mike Larkin            General               ACD              88.00%                 10                  8                2                                          8                         0                                                                   80%                20%                   0%                   80%                      0%                      0%          0:02:13               0:00:13                   2:22:57               0:17:52
    5/4/2023 Mike Larkin            General               ACD             100.00%                 11                 11                0                                         11                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:47               0:00:09                   2:19:45               0:12:42
    5/5/2023 Mike Larkin            General               ACD              50.00%                 25                 24                1                                         22                         0                         2                                         96%                 4%                   0%                   88%                      8%                      0%          0:03:39               0:00:08                   4:47:56               0:11:59
    5/8/2023 Mike Larkin            General               ACD                   0                 14                 13                0                  1                      13                         0                                                                92.90%                 0%                7.10%                92.90%                      0%                      0%          0:01:50               0:00:07                   4:00:02               0:18:27
   5/10/2023 Mike Larkin            General               ACD              50.00%                 23                 22                1                                         17                         0                         5                                      95.70%              4.40%                   0%                73.90%                  21.70%                      0%          0:04:14               0:00:11                   4:36:26               0:12:33
   5/11/2023 Mike Larkin            General               ACD              10.00%                 14                 10                4                                          9                         0                         1                                      71.40%             28.60%                   0%                64.30%                   7.10%                      0%          0:02:08               0:00:10                   5:02:20               0:30:14
    5/3/2023 Sarika Mande           Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Sarika Mande           Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Sarika Mande           Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Sarika Mande           Retention             ACD              67.00%                 21                 17                4                                         17                         8                                                                   81%             19.10%                   0%                   81%                      0%                      0%          0:03:45               0:00:11                   3:57:11               0:13:57
    5/4/2023 Sarika Mande           Retention             ACD              89.00%                 15                 14                0                                         14                         6                                                 1              93.30%                 0%                   0%                93.30%                      0%                   6.70%          0:02:15               0:00:09                  19:07:29               1:16:29
    5/5/2023 Sarika Mande           Retention             ACD             100.00%                 13                  8                5                                          7                         2                         1                                      61.50%             38.50%                   0%                53.90%                   7.70%                      0%          0:03:12               0:00:16                   1:25:08               0:10:38
    5/2/2023 Yesica Sierra          Outbound Dialer NSF   ACD                   0                  1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:09               0:00:09                   0:06:11               0:06:11

    5/2/2023 Yesica Sierra          Spanish Queue         ACD                                      1                  1                0                                              1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:13               0:00:13                   0:14:55               0:14:55
    5/4/2023 Yesica Sierra          Spanish Queue         ACD                                      3                  3                0                                              3                     3                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:27               0:00:09                   0:54:38               0:18:12
    5/5/2023 Yesica Sierra          Spanish Queue         ACD                                      2                  2                0                                              2                     2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:15               0:00:07                   0:37:56               0:18:58
    5/9/2023 Yesica Sierra          Retention             Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Yesica Sierra          Retention             Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Yesica Sierra          Retention             Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Yesica Sierra          Retention             ACD                                     10                  0               10                                                                    0                                                                    0%               100%                   0%                    0%                      0%                      0%          0:05:00               0:00:30                   0:00:00               0:00:00
    5/1/2023 Yesica Sierra          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Yesica Sierra          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Yesica Sierra          General               ACD             100.00%                 21                 21                0                                         17                         0                         4                                        100%                 0%                   0%                   81%                  19.10%                      0%          0:02:56               0:00:08                   6:54:12               0:19:43
    5/2/2023 Yesica Sierra          General               ACD             100.00%                 22                 22                0                                         21                         0                         1                                        100%                 0%                   0%                95.50%                   4.60%                      0%          0:03:10               0:00:08                   6:58:05               0:19:54
    5/3/2023 Yesica Sierra          General               ACD             100.00%                 21                 20                1                                         17                         0                         3                                      95.20%              4.80%                   0%                   81%                  14.30%                      0%          0:03:11               0:00:09                   5:58:35               0:17:55
    5/4/2023 Yesica Sierra          General               ACD             100.00%                 20                 19                0                                         17                         0                         2                       1                 95%                 0%                   0%                   85%                     10%                      5%          0:02:54               0:00:08                   6:14:02               0:18:42
    5/5/2023 Yesica Sierra          General               ACD              45.00%                 30                 29                1                                         27                         0                         2                                      96.70%              3.30%                   0%                   90%                   6.70%                      0%          0:03:44               0:00:07                   6:21:09               0:13:08
    5/8/2023 Yesica Sierra          General               ACD                   0                 16                 14                1                                         13                         0                         1                       1              87.50%              6.30%                   0%                81.30%                   6.30%                   6.30%          0:02:05               0:00:07                   4:11:55               0:16:47
   5/10/2023 Yesica Sierra          Columbia Retention    ACD              25.00%                  5                  5                0                                          2                         1                         3                                        100%                 0%                   0%                   40%                     60%                      0%          0:00:49               0:00:09                   0:37:39               0:07:31

   5/11/2023 Yesica Sierra          Columbia Retention    ACD             100.00%                  1                  1                0                                              1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:08               0:00:08                   0:07:10               0:07:10

    5/1/2023 Sufyaan Lakhani        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Sufyaan Lakhani        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Sufyaan Lakhani        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Sufyaan Lakhani        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Sufyaan Lakhani        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Sufyaan Lakhani        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Sufyaan Lakhani        General               ACD              74.00%                 19                 19                0                                         18                         0                         1                                        100%                 0%                   0%                94.70%                   5.30%                      0%          0:02:03               0:00:06                   2:54:50               0:09:12
    5/2/2023 Sufyaan Lakhani        General               ACD              73.00%                 11                 11                0                                         10                         0                         1                                        100%                 0%                   0%                90.90%                   9.10%                      0%          0:01:11               0:00:06                   1:44:55               0:09:32
    5/3/2023 Sufyaan Lakhani        General               ACD              80.00%                 11                 11                0                                         11                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:10               0:00:06                   1:52:49               0:10:15
    5/5/2023 Sufyaan Lakhani        General               ACD              32.00%                 35                 34                1                                         32                         0                         2                                      97.10%              2.90%                   0%                91.40%                   5.70%                      0%          0:03:11               0:00:05                   6:18:44               0:11:08
    5/8/2023 Sufyaan Lakhani        General               ACD                   0                 35                 35                0                                         31                         0                         4                                        100%                 0%                   0%                88.60%                  11.40%                      0%          0:03:20               0:00:05                   6:48:59               0:11:41
   5/10/2023 Sufyaan Lakhani        General               ACD              38.00%                 33                 32                1                                         30                         0                         2                                         97%                 3%                   0%                90.90%                   6.10%                      0%          0:02:57               0:00:05                   5:40:49               0:10:39
    5/1/2023 Erica Kline            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Erica Kline            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Erica Kline            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Erica Kline            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Erica Kline            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Erica Kline            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Erica Kline            General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Erica Kline            General               ACD              90.00%                 29                 21                3                  5                      18                         0                         3                                      72.40%             10.30%               17.20%                62.10%                  10.30%                      0%          0:04:17               0:00:08                   4:08:23               0:11:49
    5/2/2023 Erica Kline            General               ACD              95.00%                 24                 22                0                  2                      19                         0                         3                                      91.70%                 0%                8.30%                79.20%                  12.50%                      0%          0:03:21               0:00:08                   4:00:04               0:10:54
    5/3/2023 Erica Kline            General               ACD             100.00%                 27                 23                4                                         18                         1                         5                                      85.20%             14.80%                   0%                66.70%                  18.50%                      0%          0:04:59               0:00:11                   4:39:25               0:12:08
    5/4/2023 Erica Kline            General               ACD              96.00%                 24                 23                1                                         23                         0                                                                95.80%              4.20%                   0%                95.80%                      0%                      0%          0:03:53               0:00:09                   5:20:57               0:13:57
    5/5/2023 Erica Kline            General               ACD              32.00%                 34                 28                6                                         20                         0                         8                                      82.40%             17.70%                   0%                58.80%                  23.50%                      0%          0:04:44               0:00:08                   5:07:34               0:10:59
    5/8/2023 Erica Kline            General               ACD                   0                 21                 20                1                                         18                         0                         2                                      95.20%              4.80%                   0%                85.70%                   9.50%                      0%          0:02:26               0:00:06                   4:42:34               0:14:07
    5/9/2023 Erica Kline            General               ACD              19.00%                 21                 21                0                                         21                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:12               0:00:06                   4:54:19               0:14:00
   5/10/2023 Erica Kline            General               ACD              36.00%                 23                 22                1                                         17                         0                         5                                      95.70%              4.40%                   0%                73.90%                  21.70%                      0%          0:02:28               0:00:06                   4:43:23               0:12:52
   5/11/2023 Erica Kline            General               ACD              31.00%                 29                 29                0                                         25                         0                         4                                        100%                 0%                   0%                86.20%                  13.80%                      0%          0:03:35               0:00:07                   5:54:11               0:12:12
    5/1/2023 Sarah Ross             General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                       Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                             Declaration of Brad Lee with Exhs A-G in support of Trustee Page 44 of 189

Date Interval             Name          Queue          Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent            Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                     Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls          In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/2/2023 Sarah Ross          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Sarah Ross          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Sarah Ross          General               ACD              89.00%                 19                 19                0                                         15                         0                         4                                        100%                 0%                   0%                   79%                  21.10%                      0%          0:03:18               0:00:10                   3:57:35               0:12:30
    5/2/2023 Sarah Ross          General               ACD             100.00%                 18                 18                0                                         16                         1                         2                                        100%                 0%                   0%                88.90%                  11.10%                      0%          0:02:37               0:00:08                   3:44:29               0:12:28
    5/1/2023 Josue Alvarez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Josue Alvarez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Josue Alvarez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Josue Alvarez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Josue Alvarez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Josue Alvarez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Josue Alvarez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Josue Alvarez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Josue Alvarez       General               ACD              60.00%                 15                 15                0                                         10                         0                         5                                        100%                 0%                   0%                66.70%                  33.30%                      0%          0:02:06               0:00:08                   3:54:31               0:15:38
    5/2/2023 Josue Alvarez       General               ACD              82.00%                 12                 10                1                                          9                         0                         1                       1              83.30%              8.30%                   0%                   75%                   8.30%                   8.30%          0:01:41               0:00:08                   2:41:41               0:14:41
    5/3/2023 Josue Alvarez       General               ACD              85.00%                 13                 13                0                                         11                         0                         2                                        100%                 0%                   0%                84.60%                  15.40%                      0%          0:02:15               0:00:10                   3:16:24               0:15:06
    5/4/2023 Josue Alvarez       General               ACD              93.00%                 14                 14                0                                         11                         0                         3                                        100%                 0%                   0%                78.60%                  21.40%                      0%          0:02:33               0:00:10                   3:57:17               0:16:56
    5/5/2023 Josue Alvarez       General               ACD              20.00%                 15                 15                0                                         15                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:32               0:00:10                   4:35:32               0:18:22
    5/8/2023 Josue Alvarez       General               ACD                   0                 14                 13                0                                         12                         0                         1                       1              92.90%                 0%                   0%                85.70%                   7.10%                   7.10%          0:01:56               0:00:08                   4:45:27               0:20:23
    5/9/2023 Josue Alvarez       General               ACD               6.00%                 18                 18                0                                         16                         0                         2                                        100%                 0%                   0%                88.90%                  11.10%                      0%          0:02:57               0:00:09                   4:42:22               0:15:41
   5/11/2023 Josue Alvarez       General               ACD              29.00%                 17                 16                0                                         14                         0                         2                       1              94.10%                 0%                   0%                82.40%                  11.80%                   5.90%          0:02:37               0:00:09                   4:32:23               0:16:01
    5/1/2023 Jas Sanchez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Jas Sanchez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Jas Sanchez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Jas Sanchez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Jas Sanchez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Jas Sanchez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Jas Sanchez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Jas Sanchez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Jas Sanchez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Jas Sanchez         General               ACD              85.00%                 19                 14                4                                         11                         2                         3                       1              73.70%             21.10%                   0%                57.90%                  15.80%                   5.30%          0:04:07               0:00:13                   4:11:42               0:16:46
    5/2/2023 Jas Sanchez         General               ACD             100.00%                 14                 13                1                                         12                         0                         1                                      92.90%              7.10%                   0%                85.70%                   7.10%                      0%          0:02:41               0:00:11                   3:21:31               0:15:30
    5/3/2023 Jas Sanchez         General               ACD             100.00%                  9                  9                0                                          9                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:30               0:00:10                   2:19:02               0:15:26
    5/4/2023 Jas Sanchez         General               ACD             100.00%                 12                 12                0                                         12                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:10               0:00:10                   2:48:39               0:14:03
    5/5/2023 Jas Sanchez         General               ACD              28.00%                 25                 25                0                                         23                         0                         2                                        100%                 0%                   0%                   92%                      8%                      0%          0:03:12               0:00:07                   4:52:39               0:11:42
    5/8/2023 Jas Sanchez         General               ACD                   0                 13                 13                0                                         13                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:58               0:00:09                   3:27:20               0:15:56
    5/9/2023 Jas Sanchez         General               ACD              14.00%                 22                 21                0                                         21                         0                                                 1              95.50%                 0%                   0%                95.50%                      0%                   4.60%          0:03:04               0:00:08                   4:37:36               0:12:37
   5/10/2023 Jas Sanchez         General               ACD              48.00%                 23                 23                0                                         19                         0                         4                                        100%                 0%                   0%                82.60%                  17.40%                      0%          0:02:41               0:00:07                   5:04:32               0:13:14
   5/11/2023 Jas Sanchez         General               ACD              50.00%                 14                 10                2                                         10                         0                                                 2              71.40%             14.30%                   0%                71.40%                      0%                  14.30%          0:02:29               0:00:10                   2:37:05               0:13:05
    5/2/2023 Humza Shariff       Outbound Dialer NSF   ACD             100.00%                  1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:06               0:00:06                   0:35:33               0:35:33

    5/2/2023 Humza Shariff       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Humza Shariff       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Humza Shariff       General               ACD             100.00%                  9                  9                0                                          8                         0                         1                                        100%                 0%                   0%                88.90%                  11.10%                      0%          0:00:50               0:00:05                   1:56:54               0:12:59
    5/3/2023 Humza Shariff       General               ACD              95.00%                 21                 21                0                                         19                         1                         2                                        100%                 0%                   0%                90.50%                   9.50%                      0%          0:02:03               0:00:05                   4:06:08               0:11:43
    5/1/2023 Anthony Base        Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Anthony Base        Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Anthony Base        Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Anthony Base        Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Anthony Base        Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Anthony Base        Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Anthony Base        Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Anthony Base        Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Anthony Base        Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Anthony Base        Retention             ACD              50.00%                  6                  6                0                                          6                         4                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:37               0:00:06                   1:49:47               0:18:17
    5/3/2023 Anthony Base        Retention             ACD              75.00%                  7                  7                0                                          7                         3                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:32               0:00:13                   0:49:19               0:07:02
    5/4/2023 Anthony Base        Retention             ACD              50.00%                  7                  6                0                  1                       6                         2                                                                85.70%                 0%               14.30%                85.70%                      0%                      0%          0:00:40               0:00:05                   0:43:45               0:07:17
    5/5/2023 Anthony Base        Retention             ACD              75.00%                  6                  6                0                                          6                         2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:50               0:00:08                   1:00:17               0:10:02
    5/8/2023 Anthony Base        Retention             ACD              50.00%                 22                 18                3                  1                      18                         8                                                                81.80%             13.60%                4.60%                81.80%                      0%                      0%          0:03:43               0:00:10                   4:01:12               0:13:24
    5/9/2023 Anthony Base        Retention             ACD              63.00%                 15                 14                0                  1                      14                         6                                                                93.30%                 0%                6.70%                93.30%                      0%                      0%          0:02:13               0:00:08                   2:22:39               0:10:11
   5/10/2023 Anthony Base        Retention             ACD              33.00%                  5                  3                1                  1                       3                         0                                                                   60%                20%                  20%                   60%                      0%                      0%          0:00:43               0:00:10                   0:59:15               0:19:45
   5/11/2023 Anthony Base        Retention             ACD              67.00%                  7                  6                1                                          6                         4                                                                85.70%             14.30%                   0%                85.70%                      0%                      0%          0:00:43               0:00:06                   1:02:43               0:10:27
    5/2/2023 Karla Bravo         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Karla Bravo         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Karla Bravo         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Karla Bravo         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Karla Bravo         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Karla Bravo         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Karla Bravo         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Amir nejad          Outbound Dialer NSF   ACD                    0                 1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:05               0:00:05                   0:16:00               0:16:00

    5/4/2023 Amir nejad          Outbound Dialer NSF ACD               100.00%                  1                  1                0                                              1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:03               0:00:03                   0:10:16               0:10:16

    5/1/2023 Amir nejad          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Amir nejad          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Amir nejad          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Amir nejad          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Amir nejad          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Amir nejad          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Amir nejad          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Amir nejad          General               ACD              80.00%                 24                 20                4                                         18                         0                         2                                      83.30%             16.70%                   0%                   75%                   8.30%                      0%          0:01:51               0:00:05                   3:48:12               0:11:24
    5/2/2023 Amir nejad          General               ACD             100.00%                 20                 20                0                                         16                         0                         4                                        100%                 0%                   0%                   80%                     20%                      0%          0:01:52               0:00:05                   2:44:36               0:08:13
    5/4/2023 Amir nejad          General               ACD              93.00%                 14                 14                0                                         13                         0                         1                                        100%                 0%                   0%                92.90%                   7.10%                      0%          0:01:33               0:00:06                   2:00:42               0:08:37
    5/5/2023 Amir nejad          General               ACD              22.00%                 33                 32                1                                         28                         0                         4                                         97%                 3%                   0%                84.90%                  12.10%                      0%          0:02:25               0:00:04                   5:25:13               0:10:09
    5/8/2023 Amir nejad          General               ACD                   0                 28                 27                1                                         23                         0                         4                                      96.40%              3.60%                   0%                82.10%                  14.30%                      0%          0:01:47               0:00:03                   5:26:10               0:12:04
    5/9/2023 Amir nejad          General               ACD              10.00%                 21                 21                0                                         19                         0                         2                                        100%                 0%                   0%                90.50%                   9.50%                      0%          0:01:35               0:00:04                   3:02:17               0:08:40
   5/10/2023 Amir nejad          General               ACD              39.00%                 28                 28                0                                         20                         0                         8                                        100%                 0%                   0%                71.40%                  28.60%                      0%          0:02:03               0:00:04                   5:00:08               0:10:43
   5/11/2023 Amir nejad          General               ACD              35.00%                 26                 26                0                                         26                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:47               0:00:04                   4:54:31               0:11:19
    5/1/2023 Kimberly Torres     Resolutions           Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Kimberly Torres     Resolutions           Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Kimberly Torres     Resolutions           Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                         Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                               Declaration of Brad Lee with Exhs A-G in support of Trustee Page 45 of 189

Date Interval             Name           Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent            Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                       Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls          In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/4/2023 Kimberly Torres       Resolutions           Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Kimberly Torres       Resolutions           Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Kimberly Torres       Resolutions           Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Kimberly Torres       Resolutions           Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Kimberly Torres       Resolutions           Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Kimberly Torres       Resolutions           Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Kimberly Torres       Resolutions           ACD                                      4                  4                0                                              3                     4                         1                                        100%                 0%                   0%                   75%                     25%                      0%          0:00:13               0:00:03                   1:17:45               0:19:26
    5/2/2023 Kimberly Torres       Resolutions           ACD                                      3                  3                0                                              3                     3                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:16               0:00:05                   0:33:07               0:11:02
    5/3/2023 Kimberly Torres       Resolutions           ACD                                      8                  7                1                                              7                     7                                                                87.50%             12.50%                   0%                87.50%                      0%                      0%          0:01:00               0:00:07                   1:42:02               0:14:34
    5/4/2023 Kimberly Torres       Resolutions           ACD                                      8                  5                3                                              5                     5                                                                62.50%             37.50%                   0%                62.50%                      0%                      0%          0:02:04               0:00:15                   0:47:49               0:09:33
    5/5/2023 Kimberly Torres       Resolutions           ACD                                      6                  6                0                                              5                     6                         1                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:00:32               0:00:05                   1:27:19               0:14:33
    5/8/2023 Kimberly Torres       Resolutions           ACD                                      9                  5                4                                              5                     5                                                                55.60%             44.40%                   0%                55.60%                      0%                      0%          0:03:02               0:00:20                   0:09:41               0:01:56
    5/9/2023 Kimberly Torres       Resolutions           ACD                                     10                 10                0                                              9                    10                         1                                        100%                 0%                   0%                   90%                     10%                      0%          0:01:17               0:00:07                   1:22:22               0:09:09
   5/10/2023 Kimberly Torres       Resolutions           ACD                                      5                  5                0                                              4                     5                         1                                        100%                 0%                   0%                   80%                     20%                      0%          0:00:31               0:00:06                   1:26:16               0:17:15
   5/11/2023 Kimberly Torres       Resolutions           ACD                                      6                  5                0                  1                           5                     5                                                                83.30%                 0%               16.70%                83.30%                      0%                      0%          0:01:19               0:00:13                   0:37:03               0:07:24
    5/2/2023 Christian Sangalang   Outbound Dialer NSF   ACD                    0                 1                  1                0                                              1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:17               0:00:17                   0:34:19               0:34:19

    5/1/2023 Christian Sangalang   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Christian Sangalang   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Christian Sangalang   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Christian Sangalang   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Christian Sangalang   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Christian Sangalang   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Christian Sangalang   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Christian Sangalang   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Christian Sangalang   General               ACD              73.00%                 16                 15                1                                         14                         0                         1                                      93.80%              6.30%                   0%                87.50%                   6.30%                      0%          0:01:56               0:00:07                   2:19:13               0:09:16
    5/2/2023 Christian Sangalang   General               ACD             100.00%                 14                 13                1                                          9                         0                         4                                      92.90%              7.10%                   0%                64.30%                  28.60%                      0%          0:02:56               0:00:13                   2:26:39               0:11:16
    5/3/2023 Christian Sangalang   General               ACD             100.00%                 16                 14                2                                         13                         0                         1                                      87.50%             12.50%                   0%                81.30%                   6.30%                      0%          0:03:25               0:00:12                   2:56:23               0:12:35
    5/4/2023 Christian Sangalang   General               ACD             100.00%                 14                 13                1                                         12                         0                         1                                      92.90%              7.10%                   0%                85.70%                   7.10%                      0%          0:02:40               0:00:11                   3:04:54               0:14:13
    5/5/2023 Christian Sangalang   General               ACD              32.00%                 23                 22                1                                         19                         0                         3                                      95.70%              4.40%                   0%                82.60%                     13%                      0%          0:03:56               0:00:10                   3:33:40               0:09:42
    5/9/2023 Christian Sangalang   General               ACD              13.00%                 16                 16                0                                         16                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:24               0:00:09                   3:39:05               0:13:41
   5/10/2023 Christian Sangalang   General               ACD              32.00%                 23                 22                1                                         22                         0                                                                95.70%              4.40%                   0%                95.70%                      0%                      0%          0:04:28               0:00:11                   5:16:10               0:14:22
   5/11/2023 Christian Sangalang   General               ACD              39.00%                 19                 18                1                                         16                         0                         2                                      94.70%              5.30%                   0%                84.20%                  10.50%                      0%          0:02:35               0:00:08                   3:01:41               0:10:05
    5/2/2023 Kaitlyn Campuzano     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Kaitlyn Campuzano     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Manny Alatorre        Outbound Dialer NSF   ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:05               0:00:05                   0:19:01               0:19:01

    5/4/2023 Manny Alatorre        Outbound Dialer NSF ACD               100.00%                  1                  1                0                                              1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:15               0:00:15                   0:06:10               0:06:10

    5/1/2023 Manny Alatorre        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Manny Alatorre        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Manny Alatorre        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Manny Alatorre        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Manny Alatorre        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Manny Alatorre        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Manny Alatorre        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Manny Alatorre        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Manny Alatorre        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Manny Alatorre        General               ACD              80.00%                 21                 20                1                                         18                         0                         2                                      95.20%              4.80%                   0%                85.70%                   9.50%                      0%          0:05:16               0:00:15                   3:59:20               0:11:58
    5/2/2023 Manny Alatorre        General               ACD             100.00%                 17                 17                0                                         12                         2                         5                                        100%                 0%                   0%                70.60%                  29.40%                      0%          0:03:54               0:00:13                   2:50:29               0:10:01
    5/3/2023 Manny Alatorre        General               ACD             100.00%                 12                 12                0                                         12                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:46               0:00:13                   2:44:14               0:13:41
    5/4/2023 Manny Alatorre        General               ACD             100.00%                 13                 12                1                                          9                         0                         3                                      92.30%              7.70%                   0%                69.20%                  23.10%                      0%          0:03:00               0:00:13                   1:35:56               0:07:59
    5/5/2023 Manny Alatorre        General               ACD              24.00%                 26                 25                1                                         25                         0                                                                96.20%              3.90%                   0%                96.20%                      0%                      0%          0:06:16               0:00:14                   4:29:40               0:10:47
    5/8/2023 Manny Alatorre        General               ACD                   0                 20                 20                0                                         16                         0                         4                                        100%                 0%                   0%                   80%                     20%                      0%          0:05:10               0:00:15                   5:04:26               0:15:13
    5/9/2023 Manny Alatorre        General               ACD                   0                 24                 24                0                                         22                         0                         2                                        100%                 0%                   0%                91.70%                   8.30%                      0%          0:05:04               0:00:12                   4:57:00               0:12:22
   5/10/2023 Manny Alatorre        General               ACD              44.00%                 27                 25                2                                         23                         0                         2                                      92.60%              7.40%                   0%                85.20%                   7.40%                      0%          0:06:28               0:00:14                   6:05:36               0:14:37
   5/11/2023 Manny Alatorre        General               ACD              39.00%                 23                 23                0                                         20                         0                         3                                        100%                 0%                   0%                   87%                     13%                      0%          0:05:39               0:00:14                   4:51:12               0:12:39
    5/1/2023 Cindy Vazquez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Cindy Vazquez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Cindy Vazquez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Cindy Vazquez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Cindy Vazquez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Cindy Vazquez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Cindy Vazquez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Cindy Vazquez         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Cindy Vazquez         General               ACD              86.00%                 22                 20                0                                         18                         0                         2                       2              90.90%                 0%                   0%                81.80%                   9.10%                   9.10%          0:04:26               0:00:12                   5:14:45               0:14:18
    5/2/2023 Cindy Vazquez         General               ACD             100.00%                 15                 14                1                                         12                         0                         2                                      93.30%              6.70%                   0%                   80%                  13.30%                      0%          0:03:20               0:00:13                   3:01:48               0:12:59
    5/3/2023 Cindy Vazquez         General               ACD              93.00%                 17                 14                3                                         13                         0                         1                                      82.40%             17.70%                   0%                76.50%                   5.90%                      0%          0:03:58               0:00:14                   3:27:52               0:14:50
    5/4/2023 Cindy Vazquez         General               ACD             100.00%                 17                 15                2                                         15                         0                                                                88.20%             11.80%                   0%                88.20%                      0%                      0%          0:03:26               0:00:12                   3:08:46               0:12:35
    5/5/2023 Cindy Vazquez         General               ACD              26.00%                 30                 27                2                  1                      25                         0                         2                                         90%              6.70%                3.30%                83.30%                   6.70%                      0%          0:06:20               0:00:12                   6:39:46               0:14:48
    5/9/2023 Cindy Vazquez         General               ACD              10.00%                 29                 29                0                                         28                         0                         1                                        100%                 0%                   0%                96.60%                   3.50%                      0%          0:07:21               0:00:15                   6:30:37               0:13:28
   5/10/2023 Cindy Vazquez         General               ACD              33.00%                 19                 18                1                                         14                         0                         4                                      94.70%              5.30%                   0%                73.70%                  21.10%                      0%          0:04:29               0:00:14                   5:32:33               0:18:28
   5/11/2023 Cindy Vazquez         General               ACD              37.00%                 21                 19                2                                         17                         0                         2                                      90.50%              9.50%                   0%                   81%                   9.50%                      0%          0:03:45               0:00:11                   5:59:42               0:18:55
    5/1/2023 bonnie romero         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 bonnie romero         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 bonnie romero         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 bonnie romero         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 bonnie romero         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 bonnie romero         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 bonnie romero         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 bonnie romero         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 bonnie romero         General               ACD              83.00%                 23                 12               11                                          8                         0                         4                                      52.20%             47.80%                   0%                34.80%                  17.40%                      0%          0:06:42               0:00:18                   2:17:39               0:11:28
    5/2/2023 bonnie romero         General               ACD              95.00%                 24                 19                3                  1                      15                         0                         4                       1              79.20%             12.50%                4.20%                62.50%                  16.70%                   4.20%          0:04:36               0:00:11                   2:51:35               0:08:34
    5/3/2023 bonnie romero         General               ACD              95.00%                 25                 21                4                                         20                         0                         1                                         84%                16%                   0%                   80%                      4%                      0%          0:05:41               0:00:13                   3:04:03               0:08:45
    5/4/2023 bonnie romero         General               ACD             100.00%                 21                 19                2                                         18                         0                         1                                      90.50%              9.50%                   0%                85.70%                   4.80%                      0%          0:03:33               0:00:10                   2:11:44               0:06:56
    5/5/2023 bonnie romero         General               ACD              32.00%                 43                 34                9                                         33                         0                         1                                      79.10%             20.90%                   0%                76.70%                   2.30%                      0%          0:06:58               0:00:10                   5:16:29               0:09:18
    5/8/2023 bonnie romero         General               ACD               3.00%                 32                 29                3                                         29                         0                                                                90.60%              9.40%                   0%                90.60%                      0%                      0%          0:06:17               0:00:11                   4:26:44               0:09:11
    5/9/2023 bonnie romero         General               ACD               3.00%                 34                 28                5                                         26                         0                         2                       1              82.40%             14.70%                   0%                76.50%                   5.90%                   2.90%          0:05:01               0:00:08                   4:56:39               0:10:13
   5/10/2023 bonnie romero         General               ACD              26.00%                 34                 31                3                                         30                         0                         1                                      91.20%              8.80%                   0%                88.20%                   2.90%                      0%          0:03:34               0:00:06                   4:10:35               0:11:23
   5/11/2023 bonnie romero         General               ACD              39.00%                 18                 18                0                                         16                         0                         2                                        100%                 0%                   0%                88.90%                  11.10%                      0%          0:01:07               0:00:03                   4:48:51               0:16:02
                                                                                                Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                      Declaration of Brad Lee with Exhs A-G in support of Trustee Page 46 of 189

Date Interval             Name          Queue   Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent        Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                              Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls      In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/1/2023 Isa Avina-Cardiel   Retention      Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Isa Avina-Cardiel   Retention      Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Isa Avina-Cardiel   Retention      Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Isa Avina-Cardiel   Retention      Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Isa Avina-Cardiel   Retention      Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Isa Avina-Cardiel   Retention      Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Isa Avina-Cardiel   Retention      Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Isa Avina-Cardiel   Retention      ACD              73.00%                 27                 26                0                  1                      26                    11                                                                96.30%                 0%                3.70%                96.30%                      0%                      0%          0:03:39               0:00:08                   4:12:36               0:09:42
    5/2/2023 Isa Avina-Cardiel   Retention      ACD              91.00%                 18                 17                1                                         17                     6                                                                94.40%              5.60%                   0%                94.40%                      0%                      0%          0:04:06               0:00:13                   2:53:24               0:10:12
    5/3/2023 Isa Avina-Cardiel   Retention      ACD              73.00%                 20                 17                3                                         17                     8                                                                   85%                15%                   0%                   85%                      0%                      0%          0:03:38               0:00:10                   3:02:41               0:10:44
    5/4/2023 Isa Avina-Cardiel   Retention      ACD             100.00%                 13                 12                1                                         12                     6                                                                92.30%              7.70%                   0%                92.30%                      0%                      0%          0:03:39               0:00:16                   2:14:57               0:11:14
    5/8/2023 Isa Avina-Cardiel   Retention      ACD             100.00%                  7                  7                0                                          7                     5                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:29               0:00:12                   1:20:17               0:11:28
   5/10/2023 Isa Avina-Cardiel   Retention      ACD              75.00%                 16                 15                0                                         15                     8                                                 1              93.80%                 0%                   0%                93.80%                      0%                   6.30%          0:02:19               0:00:08                   3:48:12               0:14:15
   5/11/2023 Isa Avina-Cardiel   Retention      ACD              71.00%                 16                 13                1                  1                      13                     8                                                 1              81.30%              6.30%                6.30%                81.30%                      0%                   6.30%          0:02:42               0:00:10                   2:43:49               0:11:42
    5/1/2023 Melina Beltran      Resolutions    Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Melina Beltran      Resolutions    Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Melina Beltran      Resolutions    Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Melina Beltran      Resolutions    Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Melina Beltran      Resolutions    Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Melina Beltran      Resolutions    Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Melina Beltran      Resolutions    Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Melina Beltran      Resolutions    Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Melina Beltran      Resolutions    ACD                                     11                 11                0                                         11                    11                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:38               0:00:03                   0:43:32               0:03:57
    5/2/2023 Melina Beltran      Resolutions    ACD                                      4                  4                0                                          4                     4                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:08               0:00:02                   0:09:57               0:02:29
    5/3/2023 Melina Beltran      Resolutions    ACD                                      5                  5                0                                          5                     5                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:41               0:00:08                   0:39:32               0:07:54
    5/4/2023 Melina Beltran      Resolutions    ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:02               0:00:02                   0:14:07               0:14:07
    5/5/2023 Melina Beltran      Resolutions    ACD                                      4                  4                0                                          4                     4                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:12               0:00:03                   0:21:21               0:05:20
    5/9/2023 Melina Beltran      Resolutions    ACD                                      5                  5                0                                          5                     5                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:24               0:00:04                   0:22:03               0:04:24
   5/10/2023 Melina Beltran      Resolutions    ACD                                      5                  5                0                                          5                     5                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:17               0:00:03                   0:26:36               0:05:19
   5/11/2023 Melina Beltran      Resolutions    ACD                                      6                  6                0                                          6                     6                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:20               0:00:03                   0:46:22               0:07:43
    5/2/2023 Nicole Morris       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Nicole Morris       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Nicole Morris       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Nicole Morris       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Nicole Morris       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Nicole Morris       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Nicole Morris       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Nicole Morris       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Nicole Morris       General        ACD             100.00%                  7                  7                0                                          7                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:36               0:00:05                   1:30:05               0:12:52
    5/3/2023 Nicole Morris       General        ACD              89.00%                 10                  9                1                                          9                     0                                                                   90%                10%                   0%                   90%                      0%                      0%          0:01:16               0:00:07                   2:12:45               0:14:45
    5/4/2023 Nicole Morris       General        ACD             100.00%                  7                  7                0                                          7                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:23               0:00:03                   1:21:04               0:11:34
    5/5/2023 Nicole Morris       General        ACD              18.00%                 12                 12                0                                         12                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:26               0:00:02                   3:22:49               0:16:54
    5/8/2023 Nicole Morris       General        ACD               6.00%                 17                 17                0                                         13                     0                         4                                        100%                 0%                   0%                76.50%                  23.50%                      0%          0:00:39               0:00:02                   3:48:54               0:13:27
    5/9/2023 Nicole Morris       General        ACD              20.00%                 28                 25                3                                         23                     0                         2                                      89.30%             10.70%                   0%                82.10%                   7.10%                      0%          0:02:11               0:00:04                   4:36:14               0:11:02
   5/10/2023 Nicole Morris       General        ACD              54.00%                 30                 24                1                  5                      21                     0                         3                                         80%              3.30%               16.70%                   70%                     10%                      0%          0:02:19               0:00:04                   4:08:19               0:10:20
   5/11/2023 Nicole Morris       General        ACD              33.00%                 13                 12                0                  1                      12                     0                                                                92.30%                 0%                7.70%                92.30%                      0%                      0%          0:01:09               0:00:05                   2:34:10               0:12:50
    5/1/2023 Ali Mohamed         General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Ali Mohamed         General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Ali Mohamed         General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Ali Mohamed         General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Ali Mohamed         General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Ali Mohamed         General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Ali Mohamed         General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Ali Mohamed         General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Ali Mohamed         General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Ali Mohamed         General        ACD              83.00%                 24                 24                0                                         20                     0                         4                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:04:38               0:00:11                   4:58:27               0:12:26
    5/2/2023 Ali Mohamed         General        ACD             100.00%                 18                 18                0                                         17                     0                         1                                        100%                 0%                   0%                94.40%                   5.60%                      0%          0:02:59               0:00:09                   3:18:36               0:11:02
    5/3/2023 Ali Mohamed         General        ACD              94.00%                 21                 16                4                                         13                     0                         3                       1              76.20%             19.10%                   0%                61.90%                  14.30%                   4.80%          0:04:58               0:00:14                   4:27:23               0:15:43
    5/4/2023 Ali Mohamed         General        ACD              94.00%                 18                 17                1                                         14                     1                         3                                      94.40%              5.60%                   0%                77.80%                  16.70%                      0%          0:02:45               0:00:09                   3:41:49               0:13:02
    5/5/2023 Ali Mohamed         General        ACD              14.00%                 25                 21                3                                         18                     0                         3                       1                 84%                12%                   0%                   72%                     12%                      4%          0:03:28               0:00:09                   4:57:42               0:13:31
    5/8/2023 Ali Mohamed         General        ACD                   0                 23                 19                3                                         15                     0                         4                       1              82.60%                13%                   0%                65.20%                  17.40%                   4.40%          0:03:00               0:00:08                   4:39:11               0:13:57
    5/9/2023 Ali Mohamed         General        ACD              19.00%                 22                 21                1                                         19                     0                         2                                      95.50%              4.60%                   0%                86.40%                   9.10%                      0%          0:03:23               0:00:09                   4:39:27               0:13:18
   5/10/2023 Ali Mohamed         General        ACD              56.00%                 22                 18                4                                         15                     0                         3                                      81.80%             18.20%                   0%                68.20%                  13.60%                      0%          0:03:54               0:00:11                   4:27:47               0:14:52
   5/11/2023 Ali Mohamed         General        ACD              35.00%                 24                 18                4                                         18                     0                                                 2                 75%             16.70%                   0%                   75%                      0%                   8.30%          0:03:45               0:00:10                   4:51:31               0:14:34
    5/2/2023 Emely Acevedo       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Emely Acevedo       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Emely Acevedo       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Emely Acevedo       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Emely Acevedo       General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Emely Acevedo       General        ACD             100.00%                 18                 18                0                                         17                     0                         1                                        100%                 0%                   0%                94.40%                   5.60%                      0%          0:01:28               0:00:04                   4:45:44               0:15:52
    5/3/2023 Emely Acevedo       General        ACD             100.00%                 19                 19                0                                         19                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:49               0:00:05                   6:37:41               0:20:55
    5/4/2023 Emely Acevedo       General        ACD             100.00%                 18                 17                1                                         16                     1                         1                                      94.40%              5.60%                   0%                88.90%                   5.60%                      0%          0:01:16               0:00:04                   3:49:18               0:13:29
    5/5/2023 Emely Acevedo       General        ACD              28.00%                 26                 25                1                                         25                     0                                                                96.20%              3.90%                   0%                96.20%                      0%                      0%          0:01:55               0:00:04                   9:06:28               0:21:51
    5/8/2023 Emely Acevedo       General        ACD               5.00%                 20                 20                0                                         20                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:13               0:00:03                   7:02:19               0:21:06
    5/9/2023 Emely Acevedo       General        ACD              19.00%                 16                 16                0                                         14                     0                         2                                        100%                 0%                   0%                87.50%                  12.50%                      0%          0:00:47               0:00:02                   4:42:42               0:17:40
    5/1/2023 Jess Pena           General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Jess Pena           General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Jess Pena           General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Jess Pena           General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Jess Pena           General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Jess Pena           General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Jess Pena           General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Jess Pena           General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Jess Pena           General        Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Jess Pena           General        ACD              61.00%                 23                 18                5                                         16                     0                         2                                      78.30%             21.70%                   0%                69.60%                   8.70%                      0%          0:07:49               0:00:21                   2:45:41               0:09:12
    5/2/2023 Jess Pena           General        ACD              91.00%                 12                 11                1                                         10                     0                         1                                      91.70%              8.30%                   0%                83.30%                   8.30%                      0%          0:04:11               0:00:20                   2:30:14               0:13:39
    5/3/2023 Jess Pena           General        ACD             100.00%                 13                 12                1                                         12                     0                                                                92.30%              7.70%                   0%                92.30%                      0%                      0%          0:04:35               0:00:21                   2:42:10               0:13:30
    5/4/2023 Jess Pena           General        ACD             100.00%                 13                  9                4                                          6                     0                         3                                      69.20%             30.80%                   0%                46.20%                  23.10%                      0%          0:03:24               0:00:18                   2:55:16               0:19:28
    5/5/2023 Jess Pena           General        ACD              33.00%                 27                 21                5                  1                      19                     0                         2                                      77.80%             18.50%                3.70%                70.40%                   7.40%                      0%          0:07:58               0:00:18                   4:13:02               0:12:02
    5/8/2023 Jess Pena           General        ACD                   0                 15                 14                1                                         12                     0                         2                                      93.30%              6.70%                   0%                   80%                  13.30%                      0%          0:04:31               0:00:18                   3:04:58               0:13:12
                                                                                                       Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                             Declaration of Brad Lee with Exhs A-G in support of Trustee Page 47 of 189

Date Interval             Name         Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent            Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                     Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls          In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/9/2023 Jess Pena           General               ACD               5.00%                 21                 21                0                                         18                         0                         3                                        100%                 0%                   0%                85.70%                  14.30%                      0%          0:05:50               0:00:16                   4:08:28               0:11:49
   5/10/2023 Jess Pena           General               ACD              60.00%                 16                 15                1                                         14                         0                         1                                      93.80%              6.30%                   0%                87.50%                   6.30%                      0%          0:05:01               0:00:18                   3:08:57               0:12:35
   5/11/2023 Jess Pena           General               ACD              23.00%                 14                 13                1                                         12                         0                         1                                      92.90%              7.10%                   0%                85.70%                   7.10%                      0%          0:03:22               0:00:15                   2:51:47               0:13:12
    5/1/2023 Lex Avina-Cardiel   (No Queue Used)       Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Lex Avina-Cardiel   Outbound Dialer NSF   ACD                    0                 2                  1                1                                          1                         0                                                                   50%                50%                   0%                   50%                      0%                      0%          0:00:03               0:00:03                   0:18:31               0:18:31

    5/4/2023 Lex Avina-Cardiel   Outbound Dialer NSF ACD                      0                 3                  1                2                                              1                     0                                                                33.30%             66.70%                   0%                33.30%                      0%                      0%          0:00:45               0:00:22                   0:06:46               0:06:46

    5/1/2023 Lex Avina-Cardiel   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Lex Avina-Cardiel   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Lex Avina-Cardiel   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Lex Avina-Cardiel   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Lex Avina-Cardiel   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Lex Avina-Cardiel   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Lex Avina-Cardiel   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Lex Avina-Cardiel   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Lex Avina-Cardiel   General               ACD              88.00%                 27                 24                2                                         21                         1                         3                       1              88.90%              7.40%                   0%                77.80%                  11.10%                   3.70%          0:08:39               0:00:19                   4:57:54               0:11:54
    5/2/2023 Lex Avina-Cardiel   General               ACD              96.00%                 25                 22                2                                         20                         0                         2                       1                 88%                 8%                   0%                   80%                      8%                      4%          0:08:49               0:00:22                   4:32:21               0:11:50
    5/3/2023 Lex Avina-Cardiel   General               ACD              95.00%                 24                 20                3                                         16                         0                         4                       1              83.30%             12.50%                   0%                66.70%                  16.70%                   4.20%          0:08:38               0:00:21                   4:14:27               0:12:07
    5/4/2023 Lex Avina-Cardiel   General               ACD             100.00%                 20                 18                2                                         15                         0                         3                                         90%                10%                   0%                   75%                     15%                      0%          0:06:25               0:00:19                   4:43:02               0:15:43
    5/8/2023 Lex Avina-Cardiel   General               ACD                   0                 23                 23                0                                         22                         0                         1                                        100%                 0%                   0%                95.70%                   4.40%                      0%          0:06:42               0:00:17                   5:59:38               0:15:38
    5/9/2023 Lex Avina-Cardiel   General               ACD               9.00%                 28                 23                1                  4                      21                         0                         2                                      82.10%              3.60%               14.30%                   75%                   7.10%                      0%          0:07:04               0:00:15                   5:49:57               0:15:12
   5/10/2023 Lex Avina-Cardiel   General               ACD              33.00%                 24                 21                3                                         20                         0                         1                                      87.50%             12.50%                   0%                83.30%                   4.20%                      0%          0:06:35               0:00:16                   6:02:59               0:17:17
   5/11/2023 Lex Avina-Cardiel   General               ACD              19.00%                 31                 27                4                                         27                         0                                                                87.10%             12.90%                   0%                87.10%                      0%                      0%          0:08:35               0:00:17                   6:18:14               0:14:00
    5/1/2023 Saif Ismail         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Saif Ismail         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Saif Ismail         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Saif Ismail         General               ACD              85.00%                 28                 27                1                                         23                         0                         4                                      96.40%              3.60%                   0%                82.10%                  14.30%                      0%          0:03:33               0:00:07                   4:06:14               0:09:07
    5/4/2023 Saif Ismail         General               ACD                   0                  1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:05               0:00:05                   0:09:52               0:09:52
    5/8/2023 Saif Ismail         General               ACD               4.00%                 28                 28                0                                         28                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:22               0:00:05                   5:30:15               0:11:47
   5/10/2023 Saif Ismail         General               ACD              50.00%                 18                 18                0                                         18                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:57               0:00:06                   4:45:17               0:15:50
   5/11/2023 Saif Ismail         General               ACD              33.00%                 24                 24                0                                         24                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:52               0:00:07                   5:03:29               0:12:38
    5/1/2023 David Brown         Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 David Brown         Retention             ACD              33.00%                 10                  9                1                                          9                         6                                                                   90%                10%                   0%                   90%                      0%                      0%          0:01:55               0:00:11                   2:08:36               0:14:17
    5/1/2023 Phoenix Paralegal   Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Phoenix Paralegal   Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Phoenix Paralegal   Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Phoenix Paralegal   Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Phoenix Paralegal   Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Phoenix Paralegal   Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Phoenix Paralegal   Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Phoenix Paralegal   Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Phoenix Paralegal   Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Phoenix Paralegal   Legal                 ACD                                      2                  2                0                                          2                         2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:12               0:00:06                   2:37:39               1:18:49
    5/8/2023 Phoenix Paralegal   Legal                 ACD                                      2                  2                0                                          2                         2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:07               0:00:03                   0:51:45               0:25:52
    5/9/2023 Phoenix Paralegal   Legal                 ACD                                      2                  2                0                                          2                         2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:07               0:00:03                   3:14:16               1:37:08
   5/10/2023 Phoenix Paralegal   Legal                 ACD                                      3                  3                0                                          3                         3                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:21               0:00:07                   2:55:16               0:58:25
   5/11/2023 Phoenix Paralegal   Legal                 ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:06               0:00:06                   0:08:08               0:08:08
    5/8/2023 Brant Bishop        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Brant Bishop        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Brant Bishop        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Brant Bishop        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Brant Bishop        General               ACD               5.00%                 20                 20                0                                         20                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:03:56               0:00:11                   5:47:56               0:17:23
    5/9/2023 Brant Bishop        General               ACD               6.00%                 19                 18                1                                         18                         0                                                                94.70%              5.30%                   0%                94.70%                      0%                      0%          0:04:33               0:00:14                   4:33:39               0:15:12
   5/10/2023 Brant Bishop        General               ACD              26.00%                 19                 19                0                                         19                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:04:48               0:00:15                   4:26:25               0:14:01
   5/11/2023 Brant Bishop        General               ACD              25.00%                 29                 24                4                  1                      21                         0                         3                                      82.80%             13.80%                3.50%                72.40%                  10.30%                      0%          0:07:41               0:00:16                   5:04:31               0:12:41
    5/4/2023 Fausto Beleno       Outbound Dialer NSF   ACD             100.00%                  1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:07               0:00:07                   0:09:54               0:09:54

    5/1/2023 Fausto Beleno       Spanish Queue         Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Fausto Beleno       Spanish Queue         ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:11:15               0:11:15
    5/2/2023 Fausto Beleno       Spanish Queue         ACD                                      4                  4                0                                          2                         4                         2                                        100%                 0%                   0%                   50%                     50%                      0%          0:00:14               0:00:03                   1:25:25               0:21:21
    5/3/2023 Fausto Beleno       Spanish Queue         ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:02               0:00:02                   0:09:31               0:09:31
    5/5/2023 Fausto Beleno       Spanish Queue         ACD                                      3                  3                0                                          3                         3                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:12               0:00:04                   1:01:02               0:20:20
   5/10/2023 Fausto Beleno       Spanish Queue         ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:10               0:00:10                   0:16:41               0:16:41
    5/1/2023 Fausto Beleno       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Fausto Beleno       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Fausto Beleno       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Fausto Beleno       General               ACD              92.00%                 26                 26                0                                         22                         0                         4                                        100%                 0%                   0%                84.60%                  15.40%                      0%          0:01:57               0:00:04                   6:22:55               0:14:43
    5/2/2023 Fausto Beleno       General               ACD             100.00%                 18                 17                0                                         16                         0                         1                       1              94.40%                 0%                   0%                88.90%                   5.60%                   5.60%          0:01:14               0:00:04                   5:04:37               0:16:55
    5/3/2023 Fausto Beleno       General               ACD             100.00%                 19                 19                0                                         17                         0                         2                                        100%                 0%                   0%                89.50%                  10.50%                      0%          0:01:21               0:00:04                   6:16:59               0:19:50
    5/4/2023 Fausto Beleno       General               ACD             100.00%                 21                 21                0                                         18                         0                         3                                        100%                 0%                   0%                85.70%                  14.30%                      0%          0:01:57               0:00:05                   5:53:57               0:16:51
    5/5/2023 Fausto Beleno       General               ACD              43.00%                 23                 22                0                                         20                         0                         2                       1              95.70%                 0%                   0%                   87%                   8.70%                   4.40%          0:01:35               0:00:04                   6:03:48               0:15:49
    5/8/2023 Fausto Beleno       General               ACD              12.00%                 25                 24                0                                         20                         0                         4                       1                 96%                 0%                   0%                   80%                     16%                      4%          0:01:51               0:00:04                   7:46:29               0:18:39
    5/9/2023 Fausto Beleno       General               ACD              29.00%                 24                 24                0                                         22                         0                         2                                        100%                 0%                   0%                91.70%                   8.30%                      0%          0:01:58               0:00:04                   8:12:18               0:20:30
   5/10/2023 Fausto Beleno       General               ACD              52.00%                 28                 25                1                                         22                         0                         3                       2              89.30%              3.60%                   0%                78.60%                  10.70%                   7.10%          0:02:22               0:00:05                   7:09:16               0:15:53
   5/11/2023 Fausto Beleno       General               ACD              19.00%                 26                 26                0                                         23                         0                         3                                        100%                 0%                   0%                88.50%                  11.50%                      0%          0:02:09               0:00:04                   8:00:57               0:18:29
    5/3/2023 Legal Phoenix       Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Legal Phoenix       Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Legal Phoenix       Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Legal Phoenix       Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Legal Phoenix       Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Legal Phoenix       Legal                 Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Legal Phoenix       Legal                 ACD                                      3                  0                3                                                                    0                                                                    0%               100%                   0%                    0%                      0%                      0%          0:01:30               0:00:30                   0:00:00               0:00:00
   5/10/2023 Legal Phoenix       Legal                 ACD                                      1                  1                0                                              1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:01:20               0:01:20
    5/2/2023 Abe Flores          General               Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Abe Flores          General               Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Abe Flores          General               Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Abe Flores          General               Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Abe Flores          General               Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Abe Flores          General               Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                       Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                             Declaration of Brad Lee with Exhs A-G in support of Trustee Page 48 of 189

Date Interval            Name          Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent            Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                     Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls          In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
   5/11/2023 Abe Flores          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Abe Flores          General               ACD             100.00%                 18                 16                2                                         11                         0                         5                                      88.90%             11.10%                   0%                61.10%                  27.80%                      0%          0:05:04               0:00:17                   3:53:25               0:14:35
    5/3/2023 Abe Flores          General               ACD             100.00%                 12                 10                1                                          9                         0                         1                       1              83.30%              8.30%                   0%                   75%                   8.30%                   8.30%          0:02:37               0:00:14                   4:29:52               0:24:32
    5/4/2023 Abe Flores          General               ACD             100.00%                 15                 12                2                                         10                         0                         2                       1                 80%             13.30%                   0%                66.70%                  13.30%                   6.70%          0:02:07               0:00:08                   5:01:29               0:23:11
    5/5/2023 Abe Flores          General               ACD              35.00%                 18                 17                1                                         16                         0                         1                                      94.40%              5.60%                   0%                88.90%                   5.60%                      0%          0:01:19               0:00:04                   5:10:53               0:18:17
    5/8/2023 Abe Flores          General               ACD               6.00%                 19                 16                2                                         15                         0                         1                       1              84.20%             10.50%                   0%                   79%                   5.30%                   5.30%          0:01:27               0:00:04                   5:08:31               0:18:08
    5/9/2023 Abe Flores          General               ACD              32.00%                 20                 17                1                                         16                         0                         1                       2                 85%                 5%                   0%                   80%                      5%                     10%          0:01:00               0:00:03                   5:32:02               0:17:28
   5/10/2023 Abe Flores          General               ACD              59.00%                 22                 22                0                                         22                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:54               0:00:02                   6:18:28               0:17:12
   5/11/2023 Abe Flores          General               ACD              26.00%                 19                 19                0                                         17                         0                         2                                        100%                 0%                   0%                89.50%                  10.50%                      0%          0:00:44               0:00:02                   6:38:11               0:20:57
    5/1/2023 Hanner Angulo       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Hanner Angulo       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Hanner Angulo       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Hanner Angulo       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Hanner Angulo       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Hanner Angulo       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Hanner Angulo       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Hanner Angulo       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Hanner Angulo       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Hanner Angulo       Retention             ACD                                      1                  0                1                                                                    0                                                                    0%               100%                   0%                    0%                      0%                      0%          0:00:30               0:00:30                   0:00:00               0:00:00
   5/10/2023 Hanner Angulo       Columbia Retention    ACD              29.00%                 11                  8                3                                              7                     1                         1                                      72.70%             27.30%                   0%                63.60%                   9.10%                      0%          0:02:20               0:00:14                   0:26:41               0:03:20

   5/11/2023 Hanner Angulo       Columbia Retention    ACD                                      1                  1                0                                              1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:19               0:00:19                   0:01:06               0:01:06

    5/1/2023 Khalil Beshoy       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Khalil Beshoy       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Khalil Beshoy       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Khalil Beshoy       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Khalil Beshoy       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Khalil Beshoy       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Khalil Beshoy       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Khalil Beshoy       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Khalil Beshoy       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Khalil Beshoy       General               ACD              60.00%                  5                  5                0                                          5                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:41               0:00:08                   1:03:26               0:12:41
    5/2/2023 Khalil Beshoy       General               ACD             100.00%                 13                 13                0                                         13                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:20               0:00:10                   4:05:51               0:18:54
    5/3/2023 Khalil Beshoy       General               ACD             100.00%                  7                  7                0                                          6                         0                         1                                        100%                 0%                   0%                85.70%                  14.30%                      0%          0:00:49               0:00:07                   2:27:32               0:21:04
    5/4/2023 Khalil Beshoy       General               ACD             100.00%                 19                 19                0                                         19                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:03:20               0:00:10                   4:53:43               0:15:27
    5/5/2023 Khalil Beshoy       General               ACD              42.00%                 27                 26                1                                         25                         0                         1                                      96.30%              3.70%                   0%                92.60%                   3.70%                      0%          0:02:53               0:00:06                   5:35:28               0:12:54
    5/8/2023 Khalil Beshoy       General               ACD                   0                 15                 15                0                                         14                         0                         1                                        100%                 0%                   0%                93.30%                   6.70%                      0%          0:02:51               0:00:11                   5:50:29               0:23:21
    5/9/2023 Khalil Beshoy       General               ACD               6.00%                 17                 15                1                                         12                         0                         3                       1              88.20%              5.90%                   0%                70.60%                  17.70%                   5.90%          0:02:19               0:00:08                   3:45:06               0:14:04
   5/10/2023 Khalil Beshoy       General               ACD              62.00%                 13                 13                0                                         12                         0                         1                                        100%                 0%                   0%                92.30%                   7.70%                      0%          0:01:58               0:00:09                   3:38:36               0:16:48
   5/11/2023 Khalil Beshoy       General               ACD              23.00%                 13                 12                0                                         12                         0                                                 1              92.30%                 0%                   0%                92.30%                      0%                   7.70%          0:01:18               0:00:06                   3:27:27               0:15:57
    5/4/2023 Jessenia Oseguera   Outbound Dialer NSF   ACD                   0                  1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:16               0:00:16                   0:08:17               0:08:17

    5/1/2023 Jessenia Oseguera   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Jessenia Oseguera   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Jessenia Oseguera   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Jessenia Oseguera   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Jessenia Oseguera   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Jessenia Oseguera   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Jessenia Oseguera   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Jessenia Oseguera   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Jessenia Oseguera   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Jessenia Oseguera   General               ACD              71.00%                 14                 14                0                                         12                         0                         2                                        100%                 0%                   0%                85.70%                  14.30%                      0%          0:02:48               0:00:12                   2:49:25               0:12:06
    5/2/2023 Jessenia Oseguera   General               ACD             100.00%                 18                 16                2                                         16                         0                                                                88.90%             11.10%                   0%                88.90%                      0%                      0%          0:03:44               0:00:12                   3:39:30               0:13:43
    5/3/2023 Jessenia Oseguera   General               ACD             100.00%                 11                 11                0                                          8                         0                         3                                        100%                 0%                   0%                72.70%                  27.30%                      0%          0:02:49               0:00:15                   2:02:27               0:11:07
    5/4/2023 Jessenia Oseguera   General               ACD              92.00%                 13                 13                0                                         12                         0                         1                                        100%                 0%                   0%                92.30%                   7.70%                      0%          0:02:59               0:00:13                   4:17:56               0:19:50
    5/5/2023 Jessenia Oseguera   General               ACD              26.00%                 27                 27                0                                         23                         0                         4                                        100%                 0%                   0%                85.20%                  14.80%                      0%          0:04:00               0:00:08                   6:57:17               0:15:27
    5/8/2023 Jessenia Oseguera   General               ACD                   0                 18                 16                2                                         13                         0                         3                                      88.90%             11.10%                   0%                72.20%                  16.70%                      0%          0:02:49               0:00:09                   3:22:58               0:12:41
    5/9/2023 Jessenia Oseguera   General               ACD              17.00%                 18                 18                0                                         15                         0                         3                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:02:13               0:00:07                   4:25:19               0:14:44
   5/10/2023 Jessenia Oseguera   General               ACD              33.00%                 18                 18                0                                         14                         0                         4                                        100%                 0%                   0%                77.80%                  22.20%                      0%          0:01:51               0:00:06                   3:59:07               0:13:17
   5/11/2023 Jessenia Oseguera   General               ACD              53.00%                 19                 19                0                                         16                         0                         3                                        100%                 0%                   0%                84.20%                  15.80%                      0%          0:02:41               0:00:08                   3:48:28               0:12:01
    5/1/2023 yuliana mendoza     Spanish Queue         ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:03               0:00:03                   0:11:55               0:11:55
    5/2/2023 yuliana mendoza     Spanish Queue         ACD                                      3                  3                0                                          3                         3                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:12               0:00:04                   1:07:10               0:22:23
    5/3/2023 yuliana mendoza     Spanish Queue         ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:11               0:00:11                   0:03:17               0:03:17
    5/4/2023 yuliana mendoza     Spanish Queue         ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:11:38               0:11:38
    5/5/2023 yuliana mendoza     Spanish Queue         ACD                                      2                  2                0                                          2                         2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:10               0:00:05                   0:26:00               0:13:00
   5/10/2023 yuliana mendoza     Spanish Queue         ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:03               0:00:03                   0:12:54               0:12:54
   5/11/2023 yuliana mendoza     Spanish Queue         ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:05               0:00:05                   0:12:53               0:12:53
    5/1/2023 yuliana mendoza     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 yuliana mendoza     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 yuliana mendoza     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 yuliana mendoza     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 yuliana mendoza     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 yuliana mendoza     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 yuliana mendoza     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 yuliana mendoza     General               ACD              96.00%                 27                 25                1                                         25                         0                                                 1              92.60%              3.70%                   0%                92.60%                      0%                   3.70%          0:02:35               0:00:05                   5:25:56               0:12:32
    5/2/2023 yuliana mendoza     General               ACD              96.00%                 25                 23                1                                         19                         0                         4                       1                 92%                 4%                   0%                   76%                     16%                      4%          0:02:12               0:00:05                   5:09:29               0:12:53
    5/3/2023 yuliana mendoza     General               ACD             100.00%                 27                 26                0                                         23                         2                         3                       1              96.30%                 0%                   0%                85.20%                  11.10%                   3.70%          0:02:23               0:00:05                   6:18:56               0:14:02
    5/4/2023 yuliana mendoza     General               ACD             100.00%                 26                 26                0                                         24                         0                         2                                        100%                 0%                   0%                92.30%                   7.70%                      0%          0:02:53               0:00:06                   5:59:21               0:13:49
    5/5/2023 yuliana mendoza     General               ACD              35.00%                 31                 31                0                                         31                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:28               0:00:04                   6:58:10               0:13:29
    5/8/2023 yuliana mendoza     General               ACD               6.00%                 32                 32                0                                         30                         0                         2                                        100%                 0%                   0%                93.80%                   6.30%                      0%          0:02:29               0:00:04                   8:00:37               0:15:01
    5/9/2023 yuliana mendoza     General               ACD              12.00%                 34                 31                1                                         29                         0                         2                       2              91.20%              2.90%                   0%                85.30%                   5.90%                   5.90%          0:02:43               0:00:04                   8:26:12               0:15:20
   5/10/2023 yuliana mendoza     General               ACD              46.00%                 26                 26                0                                         25                         0                         1                                        100%                 0%                   0%                96.20%                   3.90%                      0%          0:01:58               0:00:04                   7:55:30               0:18:17
   5/11/2023 yuliana mendoza     General               ACD              24.00%                 34                 34                0                                         33                         0                         1                                        100%                 0%                   0%                97.10%                   2.90%                      0%          0:02:19               0:00:04                   8:13:26               0:14:30
    5/1/2023 Elio Riano          Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Elio Riano          Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Elio Riano          Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Elio Riano          Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Elio Riano          Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Elio Riano          Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                           Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                 Declaration of Brad Lee with Exhs A-G in support of Trustee Page 49 of 189

Date Interval            Name              Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent        Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                         Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls      In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
   5/10/2023 Elio Riano              Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Elio Riano              Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Elio Riano              Retention             ACD              67.00%                 28                 25                3                                         24                    13                         1                                      89.30%             10.70%                   0%                85.70%                   3.60%                      0%          0:04:35               0:00:10                   4:46:23               0:11:27
    5/2/2023 Elio Riano              Retention             ACD              60.00%                 20                 19                1                                         19                     9                                                                   95%                 5%                   0%                   95%                      0%                      0%          0:03:54               0:00:12                   4:13:14               0:13:19
    5/4/2023 Elio Riano              Retention             ACD             100.00%                 13                 13                0                                         13                     6                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:15               0:00:10                   1:39:53               0:07:41
    5/5/2023 Elio Riano              Retention             ACD              60.00%                 13                 12                1                                         12                     7                                                                92.30%              7.70%                   0%                92.30%                      0%                      0%          0:02:38               0:00:13                   3:13:54               0:16:09
    5/8/2023 Elio Riano              Retention             ACD              83.00%                 23                 21                1                                         21                    10                                                 1              91.30%              4.40%                   0%                91.30%                      0%                   4.40%          0:05:00               0:00:13                   4:39:24               0:13:58
    5/9/2023 Elio Riano              Retention             ACD              57.00%                 27                 22                3                                         22                    17                                                 2              81.50%             11.10%                   0%                81.50%                      0%                   7.40%          0:06:13               0:00:13                   3:44:20               0:09:20
   5/10/2023 Elio Riano              Retention             ACD              50.00%                 21                 18                3                                         18                    13                                                                85.70%             14.30%                   0%                85.70%                      0%                      0%          0:05:32               0:00:15                   4:35:21               0:15:17
   5/11/2023 Elio Riano              Retention             ACD              75.00%                 15                 15                0                                         15                     3                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:36               0:00:10                   3:32:40               0:14:10
    5/1/2023 Selina Taing            General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Selina Taing            General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Selina Taing            General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Selina Taing            General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Selina Taing            General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Selina Taing            General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Selina Taing            General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Selina Taing            General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Selina Taing            General               ACD                    0                 1                  1                0                                          1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:21               0:00:21                   0:11:30               0:11:30
    5/2/2023 Victoria Dang           Outbound Dialer NSF   ACD                    0                 1                  1                0                                          1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:12               0:00:12                   0:10:06               0:10:06

   5/10/2023 Victoria Dang           Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Victoria Dang           Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Victoria Dang           Retention             ACD              75.00%                 16                 14                2                                         14                     7                                                                87.50%             12.50%                   0%                87.50%                      0%                      0%          0:02:30               0:00:10                   3:44:45               0:16:03
   5/11/2023 Victoria Dang           Retention             ACD              63.00%                 13                 11                2                                         11                     3                                                                84.60%             15.40%                   0%                84.60%                      0%                      0%          0:02:49               0:00:13                   3:28:02               0:18:54
    5/1/2023 Victoria Dang           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Victoria Dang           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Victoria Dang           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Victoria Dang           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Victoria Dang           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Victoria Dang           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Victoria Dang           General               ACD             100.00%                  5                  3                1                  1                       2                     0                         1                                         60%                20%                  20%                   40%                     20%                      0%          0:01:25               0:00:17                   0:52:37               0:17:32
    5/2/2023 Victoria Dang           General               ACD             100.00%                  6                  3                2                  1                       2                     0                         1                                         50%             33.30%               16.70%                33.30%                  16.70%                      0%          0:02:15               0:00:22                   1:09:09               0:23:03
    5/3/2023 Victoria Dang           General               ACD             100.00%                  5                  5                0                                          5                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:34               0:00:18                   1:13:06               0:14:37
    5/4/2023 Victoria Dang           General               ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:20:54               0:20:54
    5/5/2023 Victoria Dang           General               ACD              11.00%                 10                  9                1                                          8                     0                         1                                         90%                10%                   0%                   80%                     10%                      0%          0:02:18               0:00:15                   2:47:06               0:18:34
    5/8/2023 Victoria Dang           General               ACD                   0                  8                  7                1                                          7                     0                                                                87.50%             12.50%                   0%                87.50%                      0%                      0%          0:02:13               0:00:16                   1:34:03               0:13:26
    5/9/2023 Victoria Dang           General               ACD                   0                  1                  1                0                                          1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:28               0:00:28                   0:10:44               0:10:44
   5/10/2023 Victoria Dang           General               ACD                                      1                  0                0                  1                                             0                                                                    0%                 0%                 100%                    0%                      0%                      0%          0:00:12               0:00:12                   0:00:00               0:00:00
    5/8/2023 Ralph Breneville        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Ralph Breneville        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Ralph Breneville        General               ACD                   0                 15                 15                0                                         12                     0                         3                                        100%                 0%                   0%                   80%                     20%                      0%          0:01:32               0:00:06                   5:13:48               0:20:55
    5/9/2023 Ralph Breneville        General               ACD              27.00%                 15                 15                0                                         10                     0                         5                                        100%                 0%                   0%                66.70%                  33.30%                      0%          0:01:36               0:00:06                   6:24:36               0:25:38
   5/10/2023 Ralph Breneville        General               ACD              36.00%                 15                  9                0                  4                       7                     0                         2                       2                 60%                 0%               26.70%                46.70%                  13.30%                  13.30%          0:01:02               0:00:04                   5:48:49               0:31:42
    5/1/2023 Mahmoud Bany-Mohammed   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Mahmoud Bany-Mohammed   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Mahmoud Bany-Mohammed   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Mahmoud Bany-Mohammed   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Mahmoud Bany-Mohammed   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Mahmoud Bany-Mohammed   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Mahmoud Bany-Mohammed   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Mahmoud Bany-Mohammed   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Mahmoud Bany-Mohammed   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Mahmoud Bany-Mohammed   General               ACD             100.00%                 11                 10                0                  1                       9                     0                         1                                      90.90%                 0%                9.10%                81.80%                   9.10%                      0%          0:02:27               0:00:13                   2:44:56               0:16:29
    5/2/2023 Mahmoud Bany-Mohammed   General               ACD              89.00%                 12                  9                3                                          9                     0                                                                   75%                25%                   0%                   75%                      0%                      0%          0:03:00               0:00:16                   3:35:20               0:23:55
    5/3/2023 Mahmoud Bany-Mohammed   General               ACD             100.00%                  1                  1                0                                                                0                         1                                        100%                 0%                   0%                    0%                    100%                      0%          0:00:17               0:00:17                   0:05:40               0:05:40
    5/4/2023 Mahmoud Bany-Mohammed   General               ACD             100.00%                 10                  9                1                                          8                     0                         1                                         90%                10%                   0%                   80%                     10%                      0%          0:02:08               0:00:12                   2:11:25               0:14:36
    5/5/2023 Mahmoud Bany-Mohammed   General               ACD              36.00%                 16                 14                2                                         14                     0                                                                87.50%             12.50%                   0%                87.50%                      0%                      0%          0:03:01               0:00:11                   3:29:07               0:14:56
    5/8/2023 Mahmoud Bany-Mohammed   General               ACD                   0                  9                  9                0                                          7                     0                         2                                        100%                 0%                   0%                77.80%                  22.20%                      0%          0:01:42               0:00:11                   2:46:28               0:18:29
    5/9/2023 Mahmoud Bany-Mohammed   General               ACD              13.00%                 16                 15                1                                         15                     0                                                                93.80%              6.30%                   0%                93.80%                      0%                      0%          0:03:50               0:00:14                   4:34:57               0:18:19
   5/10/2023 Mahmoud Bany-Mohammed   General               ACD              25.00%                  6                  4                2                                          4                     0                                                                66.70%             33.30%                   0%                66.70%                      0%                      0%          0:01:11               0:00:14                   1:31:52               0:22:58
   5/11/2023 Mahmoud Bany-Mohammed   General               ACD              50.00%                 13                 11                1                                         11                     0                                                 1              84.60%              7.70%                   0%                84.60%                      0%                   7.70%          0:02:51               0:00:13                   3:04:45               0:15:23
    5/3/2023 Stephanie Reynoso       Outbound Dialer NSF   ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:18:44               0:18:44

    5/1/2023 Stephanie Reynoso       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Stephanie Reynoso       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Stephanie Reynoso       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Stephanie Reynoso       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Stephanie Reynoso       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Stephanie Reynoso       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Stephanie Reynoso       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Stephanie Reynoso       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Stephanie Reynoso       General               ACD              79.00%                 23                 20                2                  1                      17                     1                         3                                         87%              8.70%                4.40%                73.90%                     13%                      0%          0:03:30               0:00:09                   4:13:22               0:12:40
    5/2/2023 Stephanie Reynoso       General               ACD             100.00%                  8                  8                0                                          8                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:50               0:00:06                   1:29:11               0:11:08
    5/3/2023 Stephanie Reynoso       General               ACD              93.00%                 15                 14                1                                         11                     0                         3                                      93.30%              6.70%                   0%                73.30%                     20%                      0%          0:02:33               0:00:10                   2:46:31               0:11:53
    5/4/2023 Stephanie Reynoso       General               ACD             100.00%                 16                 15                1                                         13                     2                         2                                      93.80%              6.30%                   0%                81.30%                  12.50%                      0%          0:03:00               0:00:11                   2:11:04               0:08:44
    5/5/2023 Stephanie Reynoso       General               ACD              30.00%                 24                 23                1                                         21                     0                         2                                      95.80%              4.20%                   0%                87.50%                   8.30%                      0%          0:06:30               0:00:16                   4:37:07               0:12:02
    5/8/2023 Stephanie Reynoso       General               ACD                   0                 26                 24                2                                         23                     0                         1                                      92.30%              7.70%                   0%                88.50%                   3.90%                      0%          0:05:52               0:00:14                   4:59:41               0:12:29
    5/9/2023 Stephanie Reynoso       General               ACD               8.00%                 35                 26                9                                         22                     0                         4                                      74.30%             25.70%                   0%                62.90%                  11.40%                      0%          0:05:51               0:00:12                   4:59:45               0:11:31
   5/10/2023 Stephanie Reynoso       General               ACD              38.00%                 23                 21                2                                         20                     0                         1                                      91.30%              8.70%                   0%                   87%                   4.40%                      0%          0:05:37               0:00:14                   3:53:05               0:11:39
   5/11/2023 Stephanie Reynoso       General               ACD              31.00%                 17                 16                1                                         14                     0                         2                                      94.10%              5.90%                   0%                82.40%                  11.80%                      0%          0:04:02               0:00:14                   3:40:22               0:13:46
    5/1/2023 Ty Carss                Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Ty Carss                Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Ty Carss                Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Ty Carss                Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Ty Carss                Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Ty Carss                Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Ty Carss                Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Ty Carss                Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Ty Carss                Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                     Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                           Declaration of Brad Lee with Exhs A-G in support of Trustee Page 50 of 189

Date Interval           Name         Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent            Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                   Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls          In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/4/2023 Jarod Vaughan     Outbound Dialer NSF ACD                      0                 1                  1                0                                              1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:17               0:00:17                   0:18:18               0:18:18

    5/1/2023 Jarod Vaughan     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Jarod Vaughan     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Jarod Vaughan     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Jarod Vaughan     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Jarod Vaughan     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Jarod Vaughan     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Jarod Vaughan     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Jarod Vaughan     General               ACD              85.00%                 27                 26                0                                         25                         0                         1                       1              96.30%                 0%                   0%                92.60%                   3.70%                   3.70%          0:05:26               0:00:12                   5:34:33               0:12:23
    5/2/2023 Jarod Vaughan     General               ACD             100.00%                 18                 18                0                                         15                         1                         3                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:03:41               0:00:12                   3:32:23               0:11:47
    5/3/2023 Jarod Vaughan     General               ACD             100.00%                 11                 10                1                                          8                         0                         2                                      90.90%              9.10%                   0%                72.70%                  18.20%                      0%          0:02:04               0:00:11                   2:13:41               0:13:22
    5/4/2023 Jarod Vaughan     General               ACD              93.00%                 14                 14                0                                         12                         0                         2                                        100%                 0%                   0%                85.70%                  14.30%                      0%          0:02:54               0:00:12                   2:55:00               0:12:30
    5/5/2023 Jarod Vaughan     General               ACD              27.00%                 11                 11                0                                         11                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:03               0:00:11                   2:30:42               0:13:42
   5/10/2023 Jarod Vaughan     General               ACD              38.00%                 17                 16                1                                         16                         0                                                                94.10%              5.90%                   0%                94.10%                      0%                      0%          0:03:23               0:00:11                   3:46:01               0:14:07
   5/11/2023 Jarod Vaughan     General               ACD              33.00%                 24                 24                0                                         21                         0                         3                                        100%                 0%                   0%                87.50%                  12.50%                      0%          0:04:58               0:00:12                   5:10:16               0:12:55
    5/1/2023 George Sanchez    General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 George Sanchez    General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 George Sanchez    General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 George Sanchez    General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 George Sanchez    General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 George Sanchez    General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 George Sanchez    General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 George Sanchez    General               ACD              81.00%                 22                 20                1                                         19                         0                         1                       1              90.90%              4.60%                   0%                86.40%                   4.60%                   4.60%          0:02:19               0:00:06                   4:42:22               0:13:26
    5/2/2023 George Sanchez    General               ACD              94.00%                 17                 17                0                                         11                         0                         6                                        100%                 0%                   0%                64.70%                  35.30%                      0%          0:02:23               0:00:08                   4:41:32               0:16:33
    5/3/2023 George Sanchez    General               ACD              96.00%                 23                 23                0                                         21                         0                         2                                        100%                 0%                   0%                91.30%                   8.70%                      0%          0:03:33               0:00:09                   5:04:11               0:13:13
    5/4/2023 George Sanchez    General               ACD              95.00%                 20                 20                0                                         17                         0                         3                                        100%                 0%                   0%                   85%                     15%                      0%          0:02:35               0:00:07                   4:49:10               0:14:27
    5/5/2023 George Sanchez    General               ACD              26.00%                 32                 31                1                                         30                         0                         1                                      96.90%              3.10%                   0%                93.80%                   3.10%                      0%          0:03:25               0:00:06                   6:08:17               0:11:52
    5/8/2023 George Sanchez    General               ACD                   0                 31                 31                0                                         25                         0                         6                                        100%                 0%                   0%                80.70%                  19.40%                      0%          0:03:52               0:00:07                   6:46:00               0:13:05
    5/9/2023 George Sanchez    General               ACD              12.00%                 29                 25                3                                         24                         0                         1                       1              86.20%             10.30%                   0%                82.80%                   3.50%                   3.50%          0:04:01               0:00:08                   6:18:30               0:14:33
   5/10/2023 George Sanchez    General               ACD              36.00%                 30                 28                2                                         26                         0                         2                                      93.30%              6.70%                   0%                86.70%                   6.70%                      0%          0:04:00               0:00:08                   5:59:35               0:12:50
   5/11/2023 George Sanchez    General               ACD              44.00%                 18                 18                0                                         14                         0                         4                                        100%                 0%                   0%                77.80%                  22.20%                      0%          0:02:21               0:00:07                   5:04:18               0:16:54
    5/3/2023 Tainis Tapias     Outbound Dialer NSF   ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:14               0:00:14                   0:32:58               0:32:58

    5/3/2023 Tainis Tapias     Spanish Queue         Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Tainis Tapias     Spanish Queue         Non-ACD                                  0                                                                                  0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Tainis Tapias     Spanish Queue         ACD                                      2                  2                0                                              2                     2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:11               0:00:05                   0:24:40               0:12:20
    5/5/2023 Tainis Tapias     Spanish Queue         ACD                                      2                  2                0                                              2                     2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:10               0:00:05                   1:00:08               0:30:04
   5/10/2023 Tainis Tapias     Spanish Queue         ACD                                      1                  0                1                                                                    0                                                                    0%               100%                   0%                    0%                      0%                      0%          0:00:30               0:00:30                   0:00:00               0:00:00
   5/11/2023 Tainis Tapias     Spanish Queue         ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:02               0:00:02                   0:19:27               0:19:27
    5/1/2023 Tainis Tapias     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Tainis Tapias     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Tainis Tapias     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Tainis Tapias     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Tainis Tapias     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Tainis Tapias     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Tainis Tapias     General               ACD              96.00%                 25                 24                0                  1                      22                         0                         2                                         96%                 0%                   4%                   88%                      8%                      0%          0:02:49               0:00:06                   6:25:05               0:16:02
    5/2/2023 Tainis Tapias     General               ACD             100.00%                 23                 21                0                                         19                         0                         2                       2              91.30%                 0%                   0%                82.60%                   8.70%                   8.70%          0:02:28               0:00:06                   5:50:04               0:15:13
    5/3/2023 Tainis Tapias     General               ACD              96.00%                 29                 29                0                                         20                         1                         9                                        100%                 0%                   0%                   69%                     31%                      0%          0:03:10               0:00:06                   5:42:06               0:11:47
    5/4/2023 Tainis Tapias     General               ACD             100.00%                 24                 22                1                  1                      19                         0                         3                                      91.70%              4.20%                4.20%                79.20%                  12.50%                      0%          0:02:43               0:00:06                   5:18:22               0:14:28
    5/5/2023 Tainis Tapias     General               ACD              33.00%                 28                 27                1                                         26                         0                         1                                      96.40%              3.60%                   0%                92.90%                   3.60%                      0%          0:02:42               0:00:05                   6:24:39               0:14:14
    5/8/2023 Tainis Tapias     General               ACD               7.00%                 28                 28                0                                         24                         0                         4                                        100%                 0%                   0%                85.70%                  14.30%                      0%          0:01:58               0:00:04                   8:04:43               0:17:18
    5/9/2023 Tainis Tapias     General               ACD              17.00%                 31                 28                1                                         27                         0                         1                       2              90.30%              3.20%                   0%                87.10%                   3.20%                   6.50%          0:01:41               0:00:03                   7:26:48               0:14:53
   5/10/2023 Tainis Tapias     General               ACD              55.00%                 24                 22                2                                         21                         0                         1                                      91.70%              8.30%                   0%                87.50%                   4.20%                      0%          0:03:12               0:00:08                   7:52:41               0:21:29
   5/11/2023 Tainis Tapias     General               ACD              28.00%                 25                 25                0                                         22                         0                         3                                        100%                 0%                   0%                   88%                     12%                      0%          0:02:19               0:00:05                   6:52:35               0:16:30
    5/1/2023 Nassir Diab       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Nassir Diab       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Nassir Diab       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Nassir Diab       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Nassir Diab       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Nassir Diab       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Nassir Diab       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Nassir Diab       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Nassir Diab       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Nassir Diab       General               ACD              65.00%                 24                 17                4                  3                      16                         0                         1                                      70.80%             16.70%               12.50%                66.70%                   4.20%                      0%          0:06:25               0:00:18                   2:49:59               0:09:59
    5/2/2023 Nassir Diab       General               ACD              80.00%                  6                  5                1                                          5                         0                                                                83.30%             16.70%                   0%                83.30%                      0%                      0%          0:01:18               0:00:15                   0:39:27               0:07:53
    5/3/2023 Nassir Diab       General               ACD              83.00%                  7                  6                1                                          5                         0                         1                                      85.70%             14.30%                   0%                71.40%                  14.30%                      0%          0:02:28               0:00:21                   0:41:03               0:06:50
    5/4/2023 Nassir Diab       General               ACD             100.00%                  6                  6                0                                          4                         0                         2                                        100%                 0%                   0%                66.70%                  33.30%                      0%          0:02:22               0:00:23                   0:43:54               0:07:19
    5/5/2023 Nassir Diab       General               ACD              38.00%                 15                 13                2                                         13                         0                                                                86.70%             13.30%                   0%                86.70%                      0%                      0%          0:03:48               0:00:16                   2:19:30               0:10:43
    5/8/2023 Nassir Diab       General               ACD               3.00%                 51                 35               15                  1                      34                         0                         1                                      68.60%             29.40%                   2%                66.70%                      2%                      0%          0:12:29               0:00:17                   5:14:20               0:08:58
    5/9/2023 Nassir Diab       General               ACD               5.00%                 25                 19                6                                         17                         0                         2                                         76%                24%                   0%                   68%                      8%                      0%          0:07:27               0:00:19                   3:17:10               0:10:22
   5/10/2023 Nassir Diab       General               ACD              53.00%                 42                 32               10                                         31                         0                         1                                      76.20%             23.80%                   0%                73.80%                   2.40%                      0%          0:12:47               0:00:19                   4:48:55               0:09:19
   5/11/2023 Nassir Diab       General               ACD               9.00%                 25                 21                3                                         21                         0                                                 1                 84%                12%                   0%                   84%                      0%                      4%          0:06:22               0:00:15                   3:52:53               0:10:35
    5/8/2023 Daisy Meneses     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Daisy Meneses     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Daisy Meneses     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Daisy Meneses     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Daisy Meneses     General               ACD              60.00%                  5                  5                0                                          5                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:57               0:00:11                   2:07:48               0:25:33
    5/8/2023 Daisy Meneses     General               ACD                   0                 27                 25                1                  1                      24                         0                         1                                      92.60%              3.70%                3.70%                88.90%                   3.70%                      0%          0:02:25               0:00:05                   6:09:12               0:14:46
    5/9/2023 Daisy Meneses     General               ACD              13.00%                 31                 31                0                                         30                         0                         1                                        100%                 0%                   0%                96.80%                   3.20%                      0%          0:02:18               0:00:04                   5:40:05               0:10:58
   5/10/2023 Daisy Meneses     General               ACD              38.00%                 21                 21                0                                         16                         0                         5                                        100%                 0%                   0%                76.20%                  23.80%                      0%          0:01:32               0:00:04                   4:22:22               0:12:29
   5/11/2023 Daisy Meneses     General               ACD              39.00%                 19                 18                1                                         18                         0                                                                94.70%              5.30%                   0%                94.70%                      0%                      0%          0:01:17               0:00:04                   4:40:50               0:15:36
    5/1/2023 Quynh Nguyen      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Quynh Nguyen      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Quynh Nguyen      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Quynh Nguyen      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Quynh Nguyen      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Quynh Nguyen      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Quynh Nguyen      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Quynh Nguyen      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                 Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                       Declaration of Brad Lee with Exhs A-G in support of Trustee Page 51 of 189

Date Interval            Name            Queue   Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent        Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                               Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls      In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
   5/11/2023 Quynh Nguyen          General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Quynh Nguyen          General       ACD              75.00%                 21                 20                1                                         15                     0                         5                                      95.20%              4.80%                   0%                71.40%                  23.80%                      0%          0:03:24               0:00:10                   3:46:12               0:11:18
    5/2/2023 Quynh Nguyen          General       ACD              75.00%                  5                  4                1                                          4                     0                                                                   80%                20%                   0%                   80%                      0%                      0%          0:00:38               0:00:07                   0:46:30               0:11:37
    5/3/2023 Quynh Nguyen          General       ACD             100.00%                  8                  8                0                                          7                     1                         1                                        100%                 0%                   0%                87.50%                  12.50%                      0%          0:01:14               0:00:09                   2:03:38               0:15:27
    5/4/2023 Quynh Nguyen          General       ACD             100.00%                  9                  9                0                                          9                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:31               0:00:10                   1:46:13               0:11:48
    5/5/2023 Quynh Nguyen          General       ACD              35.00%                 17                 17                0                                         17                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:19               0:00:08                   3:23:06               0:11:56
    5/8/2023 Quynh Nguyen          General       ACD                   0                  6                  6                0                                          6                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:47               0:00:07                   1:31:55               0:15:19
    5/9/2023 Quynh Nguyen          General       ACD                   0                  7                  7                0                                          7                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:49               0:00:07                   1:57:24               0:16:46
   5/10/2023 Quynh Nguyen          General       ACD              50.00%                 12                 12                0                                         10                     0                         2                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:01:12               0:00:06                   3:07:07               0:15:35
   5/11/2023 Quynh Nguyen          General       ACD              33.00%                  9                  9                0                                          7                     0                         2                                        100%                 0%                   0%                77.80%                  22.20%                      0%          0:01:06               0:00:07                   1:54:13               0:12:41
    5/1/2023 Hanya Zargaran        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Hanya Zargaran        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Hanya Zargaran        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Hanya Zargaran        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Hanya Zargaran        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Hanya Zargaran        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Hanya Zargaran        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Hanya Zargaran        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Hanya Zargaran        General       ACD              74.00%                 28                 22                3                  2                      21                     0                         1                       1              78.60%             10.70%                7.10%                   75%                   3.60%                   3.60%          0:09:47               0:00:20                   5:35:51               0:14:36
    5/2/2023 Hanya Zargaran        General       ACD              96.00%                 28                 25                3                                         22                     1                         3                                      89.30%             10.70%                   0%                78.60%                  10.70%                      0%          0:05:47               0:00:13                   5:25:40               0:13:01
    5/3/2023 Hanya Zargaran        General       ACD              91.00%                 23                 23                0                                         19                     0                         4                                        100%                 0%                   0%                82.60%                  17.40%                      0%          0:04:41               0:00:12                   5:18:45               0:13:51
    5/4/2023 Hanya Zargaran        General       ACD              91.00%                 24                 22                1                                         20                     0                         2                       1              91.70%              4.20%                   0%                83.30%                   8.30%                   4.20%          0:05:21               0:00:13                   4:22:04               0:11:23
    5/5/2023 Hanya Zargaran        General       ACD              29.00%                 22                 21                1                                         18                     0                         3                                      95.50%              4.60%                   0%                81.80%                  13.60%                      0%          0:04:26               0:00:12                   5:11:27               0:14:49
    5/8/2023 Hanya Zargaran        General       ACD               4.00%                 25                 25                0                                         24                     0                         1                                        100%                 0%                   0%                   96%                      4%                      0%          0:05:24               0:00:12                   6:40:43               0:16:01
    5/9/2023 Hanya Zargaran        General       ACD              11.00%                 29                 27                2                                         26                     0                         1                                      93.10%              6.90%                   0%                89.70%                   3.50%                      0%          0:05:24               0:00:11                   6:23:41               0:14:12
   5/10/2023 Hanya Zargaran        General       ACD              41.00%                 25                 22                3                                         19                     0                         3                                         88%                12%                   0%                   76%                     12%                      0%          0:04:44               0:00:11                   4:57:45               0:13:32
   5/11/2023 Hanya Zargaran        General       ACD              35.00%                 23                 22                0                                         20                     0                         2                       1              95.70%                 0%                   0%                   87%                   8.70%                   4.40%          0:04:07               0:00:10                   5:43:55               0:14:57
    5/1/2023 James Andra           General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 James Andra           General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 James Andra           General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 James Andra           General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 James Andra           General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 James Andra           General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 James Andra           General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 James Andra           General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 James Andra           General       ACD              87.00%                 15                 15                0                                         14                     0                         1                                        100%                 0%                   0%                93.30%                   6.70%                      0%          0:03:30               0:00:14                   3:35:58               0:14:23
    5/2/2023 James Andra           General       ACD             100.00%                  5                  5                0                                          4                     0                         1                                        100%                 0%                   0%                   80%                     20%                      0%          0:01:29               0:00:17                   2:01:32               0:24:18
    5/3/2023 James Andra           General       ACD             100.00%                 10                 10                0                                          9                     0                         1                                        100%                 0%                   0%                   90%                     10%                      0%          0:02:13               0:00:13                   2:10:09               0:13:00
    5/5/2023 James Andra           General       ACD              42.00%                 14                 12                0                  2                      11                     0                         1                                      85.70%                 0%               14.30%                78.60%                   7.10%                      0%          0:02:21               0:00:10                   2:07:54               0:10:39
    5/8/2023 James Andra           General       ACD                   0                 16                 16                0                                         16                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:04:07               0:00:15                   3:44:08               0:14:00
    5/9/2023 James Andra           General       ACD              18.00%                 18                 17                1                                         17                     0                                                                94.40%              5.60%                   0%                94.40%                      0%                      0%          0:04:49               0:00:16                   4:28:55               0:15:49
   5/10/2023 James Andra           General       ACD              47.00%                 21                 19                2                                         19                     0                                                                90.50%              9.50%                   0%                90.50%                      0%                      0%          0:04:24               0:00:12                   4:12:58               0:13:18
   5/11/2023 James Andra           General       ACD               6.00%                 17                 17                0                                         14                     0                         3                                        100%                 0%                   0%                82.40%                  17.70%                      0%          0:04:16               0:00:15                   3:43:05               0:13:07
    5/2/2023 andre alvarenga       General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 andre alvarenga       General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 andre alvarenga       General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 andre alvarenga       General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 andre alvarenga       General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 andre alvarenga       General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 andre alvarenga       General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 andre alvarenga       General       ACD              76.00%                 31                 25                4                  2                      21                     0                         4                                      80.70%             12.90%                6.50%                67.70%                  12.90%                      0%          0:07:36               0:00:14                   6:37:12               0:15:53
    5/2/2023 andre alvarenga       General       ACD              86.00%                 14                 14                0                                         13                     0                         1                                        100%                 0%                   0%                92.90%                   7.10%                      0%          0:04:01               0:00:17                  10:56:43               0:46:54
    5/3/2023 andre alvarenga       General       ACD              87.00%                 16                 15                1                                         11                     0                         4                                      93.80%              6.30%                   0%                68.80%                     25%                      0%          0:03:27               0:00:12                   4:52:58               0:19:31
    5/4/2023 andre alvarenga       General       ACD              82.00%                 17                 17                0                                         15                     0                         2                                        100%                 0%                   0%                88.20%                  11.80%                      0%          0:03:59               0:00:14                   6:00:18               0:21:11
    5/5/2023 andre alvarenga       General       ACD              21.00%                 20                 17                1                                         16                     0                         1                       2                 85%                 5%                   0%                   80%                      5%                     10%          0:04:09               0:00:13                   6:00:25               0:18:58
    5/8/2023 andre alvarenga       General       ACD                   0                 20                 20                0                                         20                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:03:34               0:00:10                  19:13:21               0:57:40
    5/9/2023 andre alvarenga       General       ACD               5.00%                 21                 20                1                                         19                     0                         1                                      95.20%              4.80%                   0%                90.50%                   4.80%                      0%          0:03:37               0:00:10                   5:45:48               0:17:17
   5/10/2023 andre alvarenga       General       ACD              33.00%                 22                 21                1                                         20                     0                         1                                      95.50%              4.60%                   0%                90.90%                   4.60%                      0%          0:03:46               0:00:10                   6:36:25               0:18:52
   5/11/2023 andre alvarenga       General       ACD              56.00%                 18                 18                0                                         16                     0                         2                                        100%                 0%                   0%                88.90%                  11.10%                      0%          0:03:32               0:00:11                   4:48:19               0:16:01
    5/9/2023 Karen Saldana-Lopez   General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Karen Saldana-Lopez   General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Karen Saldana-Lopez   General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Karen Saldana-Lopez   General       ACD               5.00%                 25                 21                4                                         19                     0                         2                                         84%                16%                   0%                   76%                      8%                      0%          0:05:19               0:00:13                   5:14:41               0:14:59
    5/9/2023 Karen Saldana-Lopez   General       ACD               5.00%                 22                 22                0                                         20                     0                         2                                        100%                 0%                   0%                90.90%                   9.10%                      0%          0:05:20               0:00:14                   5:19:49               0:14:32
   5/10/2023 Karen Saldana-Lopez   General       ACD              30.00%                 20                 19                0                                         19                     0                                                 1                 95%                 0%                   0%                   95%                      0%                      5%          0:06:09               0:00:18                   5:44:00               0:17:12
   5/11/2023 Karen Saldana-Lopez   General       ACD              43.00%                 35                 27                6                  1                      25                     0                         2                       1              77.10%             17.10%                2.90%                71.40%                   5.70%                   2.90%          0:09:47               0:00:17                   5:33:57               0:11:55
    5/2/2023 Nikki Miller          Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Nikki Miller          Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Nikki Miller          Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Nikki Miller          Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Nikki Miller          Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Nikki Miller          Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Nikki Miller          Retention     ACD              92.00%                 21                 20                1                                         20                     8                                                                95.20%              4.80%                   0%                95.20%                      0%                      0%          0:03:08               0:00:09                   3:46:08               0:11:18
    5/3/2023 Nikki Miller          Retention     ACD              63.00%                 22                 21                0                                         21                     6                                                 1              95.50%                 0%                   0%                95.50%                      0%                   4.60%          0:03:17               0:00:08                   4:28:27               0:12:12
    5/4/2023 Nikki Miller          Retention     ACD              83.00%                 10                  9                0                                          9                     4                                                 1                 90%                 0%                   0%                   90%                      0%                     10%          0:01:53               0:00:11                   2:31:11               0:15:07
    5/5/2023 Nikki Miller          Retention     ACD             100.00%                 13                 12                1                                         12                     3                                                                92.30%              7.70%                   0%                92.30%                      0%                      0%          0:02:27               0:00:11                   2:23:40               0:11:58
    5/8/2023 Nikki Miller          Retention     ACD              70.00%                 18                 17                1                                         17                     7                                                                94.40%              5.60%                   0%                94.40%                      0%                      0%          0:03:01               0:00:10                   4:56:53               0:17:27
   5/10/2023 Nikki Miller          Retention     ACD              67.00%                 16                 14                1                                         14                     6                                                 1              87.50%              6.30%                   0%                87.50%                      0%                   6.30%          0:03:02               0:00:11                   3:50:34               0:15:22
   5/11/2023 Nikki Miller          Retention     ACD              83.00%                 13                 13                0                                         13                     7                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:07               0:00:09                   3:34:26               0:16:29
    5/4/2023 Abraham Sanchez       Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Abraham Sanchez       Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Abraham Sanchez       Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Abraham Sanchez       Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Abraham Sanchez       Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Abraham Sanchez       Retention     Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Abraham Sanchez       Retention     ACD              75.00%                 12                 10                1                  1                      10                     3                                                                83.30%              8.30%                8.30%                83.30%                      0%                      0%          0:02:04               0:00:10                   3:43:06               0:22:18
    5/5/2023 Abraham Sanchez       Retention     ACD             100.00%                  9                  8                1                                          8                     4                                                                88.90%             11.10%                   0%                88.90%                      0%                      0%          0:01:51               0:00:12                   2:13:25               0:16:40
    5/8/2023 Abraham Sanchez       Retention     ACD              43.00%                 15                 13                2                                         13                     6                                                                86.70%             13.30%                   0%                86.70%                      0%                      0%          0:02:45               0:00:11                   5:05:54               0:23:31
    5/9/2023 Abraham Sanchez       Retention     ACD              63.00%                 17                 17                0                                         17                     9                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:37               0:00:05                   4:08:23               0:14:36
   5/10/2023 Abraham Sanchez       Retention     ACD              63.00%                 18                 14                4                                         14                     7                                                                77.80%             22.20%                   0%                77.80%                      0%                      0%          0:01:24               0:00:05                   4:25:26               0:18:57
                                                                                                        Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                              Declaration of Brad Lee with Exhs A-G in support of Trustee Page 52 of 189

Date Interval             Name          Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent        Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                      Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls      In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
   5/11/2023 Abraham Sanchez      Retention             ACD              80.00%                 12                 11                1                                         11                     6                                                                91.70%              8.30%                   0%                91.70%                      0%                      0%          0:01:29               0:00:08                   3:40:50               0:20:04
    5/1/2023 Abraham Sanchez      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Abraham Sanchez      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Abraham Sanchez      General               ACD              65.00%                 40                 40                0                                         33                     0                         7                                        100%                 0%                   0%                82.50%                  17.50%                      0%          0:03:03               0:00:04                   3:50:36               0:05:45
    5/2/2023 Abraham Sanchez      General               ACD              83.00%                 18                 17                0                                         15                     0                         2                       1              94.40%                 0%                   0%                83.30%                  11.10%                   5.60%          0:01:13               0:00:04                   1:42:33               0:05:41
    5/4/2023 Kevin Ceballos       Outbound Dialer NSF   ACD                   0                  1                  1                0                                          1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:17               0:00:17                   0:19:49               0:19:49

    5/1/2023 Kevin Ceballos       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Kevin Ceballos       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Kevin Ceballos       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Kevin Ceballos       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Kevin Ceballos       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Kevin Ceballos       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Kevin Ceballos       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Kevin Ceballos       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Kevin Ceballos       General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Kevin Ceballos       General               ACD              86.00%                 22                 22                0                                         19                     0                         3                                        100%                 0%                   0%                86.40%                  13.60%                      0%          0:03:53               0:00:10                   4:58:06               0:13:33
    5/2/2023 Kevin Ceballos       General               ACD              91.00%                 23                 23                0                                         20                     1                         3                                        100%                 0%                   0%                   87%                     13%                      0%          0:04:53               0:00:12                   4:31:51               0:11:49
    5/3/2023 Kevin Ceballos       General               ACD             100.00%                 19                 18                1                                         14                     0                         4                                      94.70%              5.30%                   0%                73.70%                  21.10%                      0%          0:04:11               0:00:13                   3:44:50               0:12:29
    5/4/2023 Kevin Ceballos       General               ACD             100.00%                 16                 14                1                                         10                     0                         4                       1              87.50%              6.30%                   0%                62.50%                     25%                   6.30%          0:03:15               0:00:12                   3:14:58               0:12:59
    5/5/2023 Kevin Ceballos       General               ACD              27.00%                 23                 22                1                                         21                     0                         1                                      95.70%              4.40%                   0%                91.30%                   4.40%                      0%          0:04:32               0:00:11                   6:16:37               0:17:07
    5/8/2023 Kevin Ceballos       General               ACD                   0                 23                 17                5                                         16                     0                         1                       1              73.90%             21.70%                   0%                69.60%                   4.40%                   4.40%          0:04:10               0:00:11                   5:35:19               0:18:37
    5/9/2023 Kevin Ceballos       General               ACD              23.00%                 24                 22                2                                         20                     0                         2                                      91.70%              8.30%                   0%                83.30%                   8.30%                      0%          0:03:43               0:00:09                   4:39:08               0:12:41
   5/10/2023 Kevin Ceballos       General               ACD              41.00%                 28                 27                1                                         22                     0                         5                                      96.40%              3.60%                   0%                78.60%                  17.90%                      0%          0:03:37               0:00:07                   6:12:08               0:13:46
   5/11/2023 Kevin Ceballos       General               ACD              28.00%                 25                 25                0                                         24                     0                         1                                        100%                 0%                   0%                   96%                      4%                      0%          0:03:01               0:00:07                   6:06:42               0:14:40
    5/1/2023 Hunter Glass         Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Hunter Glass         Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Hunter Glass         Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Hunter Glass         Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Hunter Glass         Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Hunter Glass         Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Hunter Glass         Retention             ACD              44.00%                 24                 18                5                  1                      18                     9                                                                   75%             20.80%                4.20%                   75%                      0%                      0%          0:04:25               0:00:11                   5:27:02               0:18:10
    5/2/2023 Hunter Glass         Retention             ACD              67.00%                 18                 11                1                  6                      11                     8                                                                61.10%              5.60%               33.30%                61.10%                      0%                      0%          0:02:22               0:00:07                   3:01:55               0:16:32
    5/5/2023 Hunter Glass         Retention             ACD              60.00%                 11                  8                1                  2                       8                     3                                                                72.70%              9.10%               18.20%                72.70%                      0%                      0%          0:02:05               0:00:11                   2:17:06               0:17:08
    5/8/2023 Hunter Glass         Retention             ACD              55.00%                 31                 19                8                  3                      19                    10                                                 1              61.30%             25.80%                9.70%                61.30%                      0%                   3.20%          0:05:42               0:00:11                   5:08:38               0:15:25
    5/9/2023 Hunter Glass         Retention             ACD              75.00%                 22                 16                2                  3                      16                     9                                                 1              72.70%              9.10%               13.60%                72.70%                      0%                   4.60%          0:04:25               0:00:12                   3:42:12               0:13:04
   5/10/2023 Hunter Glass         Retention             ACD              82.00%                 23                 18                1                  2                      18                     4                                                 2              78.30%              4.40%                8.70%                78.30%                      0%                   8.70%          0:03:39               0:00:09                   3:55:54               0:11:47
   5/11/2023 Hunter Glass         Retention             ACD              82.00%                 26                 23                2                  1                      22                    12                         1                                      88.50%              7.70%                3.90%                84.60%                   3.90%                      0%          0:04:36               0:00:10                   3:48:48               0:09:56
    5/4/2023 Rafael de la Torre   Outbound Dialer NSF   ACD             100.00%                  1                  1                0                                          1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:07               0:00:07                   0:17:11               0:17:11

    5/3/2023 Rafael de la Torre   Spanish Queue         ACD                                      3                  3                0                                          2                     3                         1                                        100%                 0%                   0%                66.70%                  33.30%                      0%          0:00:12               0:00:04                   0:23:22               0:07:47
    5/4/2023 Rafael de la Torre   Spanish Queue         ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:23:07               0:23:07
    5/1/2023 Rafael de la Torre   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Rafael de la Torre   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Rafael de la Torre   General               ACD              92.00%                 24                 24                0                                         23                     0                         1                                        100%                 0%                   0%                95.80%                   4.20%                      0%          0:01:32               0:00:03                   5:59:07               0:14:57
    5/2/2023 Rafael de la Torre   General               ACD             100.00%                 31                 29                2                                         24                     0                         5                                      93.60%              6.50%                   0%                77.40%                  16.10%                      0%          0:02:00               0:00:04                   6:38:55               0:13:45
    5/3/2023 Rafael de la Torre   General               ACD             100.00%                 25                 24                1                                         20                     0                         4                                         96%                 4%                   0%                   80%                     16%                      0%          0:02:11               0:00:05                   5:13:52               0:13:04
    5/4/2023 Rafael de la Torre   General               ACD             100.00%                 19                 19                0                                         13                     0                         6                                        100%                 0%                   0%                68.40%                  31.60%                      0%          0:01:17               0:00:04                   5:03:05               0:15:57
    5/5/2023 Rafael de la Torre   General               ACD              46.00%                 26                 25                0                                         22                     0                         3                       1              96.20%                 0%                   0%                84.60%                  11.50%                   3.90%          0:01:57               0:00:04                   6:56:21               0:16:00
    5/8/2023 Rafael de la Torre   General               ACD                   0                  5                  5                0                                          4                     0                         1                                        100%                 0%                   0%                   80%                     20%                      0%          0:00:23               0:00:04                   1:35:21               0:19:04
    5/5/2023 Ivis Parada          Resolutions           Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Ivis Parada          Resolutions           Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Ivis Parada          Resolutions           Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Ivis Parada          Resolutions           Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Ivis Parada          Resolutions           Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Ivis Parada          Resolutions           ACD                                      4                  2                2                                          2                     2                                                                   50%                50%                   0%                   50%                      0%                      0%          0:01:34               0:00:23                   0:04:14               0:02:07
    5/8/2023 Ivis Parada          Resolutions           ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:03               0:00:03                   0:00:01               0:00:01
    5/9/2023 Ivis Parada          Resolutions           ACD                                      5                  4                1                                          4                     4                                                                   80%                20%                   0%                   80%                      0%                      0%          0:00:57               0:00:11                   1:10:44               0:17:41
   5/10/2023 Ivis Parada          Resolutions           ACD                                      2                  2                0                                          2                     2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:31               0:00:15                   0:10:16               0:05:08
    5/1/2023 Erika Cortes         Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Erika Cortes         Legal                 Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Erika Cortes         Legal                 ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:07               0:00:07                   0:21:31               0:21:31
   5/11/2023 Vincent Berube       Retention             ACD             100.00%                  2                  1                1                                          1                     0                                                                   50%                50%                   0%                   50%                      0%                      0%          0:00:45               0:00:22                   0:32:08               0:32:08
    5/1/2023 Daniel Orellana      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Daniel Orellana      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Daniel Orellana      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Daniel Orellana      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Daniel Orellana      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Daniel Orellana      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Daniel Orellana      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Daniel Orellana      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Daniel Orellana      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Daniel Orellana      General               ACD              50.00%                 14                 14                0                                         13                     0                         1                                        100%                 0%                   0%                92.90%                   7.10%                      0%          0:02:28               0:00:10                   2:23:44               0:10:16
    5/2/2023 Daniel Orellana      General               ACD             100.00%                  8                  8                0                                          6                     0                         2                                        100%                 0%                   0%                   75%                     25%                      0%          0:01:14               0:00:09                   1:58:02               0:14:45
    5/3/2023 Daniel Orellana      General               ACD              82.00%                 11                 11                0                                          9                     0                         2                                        100%                 0%                   0%                81.80%                  18.20%                      0%          0:01:32               0:00:08                   2:33:58               0:13:59
    5/4/2023 Daniel Orellana      General               ACD              81.00%                 18                 15                2                                         13                     0                         2                       1              83.30%             11.10%                   0%                72.20%                  11.10%                   5.60%          0:02:52               0:00:10                   3:29:17               0:13:04
    5/5/2023 Daniel Orellana      General               ACD              16.00%                 25                 24                0                                         24                     0                                                 1                 96%                 0%                   0%                   96%                      0%                      4%          0:03:15               0:00:07                   4:37:42               0:11:06
    5/8/2023 Daniel Orellana      General               ACD                   0                 19                 18                0                                         17                     0                         1                       1              94.70%                 0%                   0%                89.50%                   5.30%                   5.30%          0:01:58               0:00:06                   3:49:42               0:12:05
    5/9/2023 Daniel Orellana      General               ACD                   0                 19                 19                0                                         18                     0                         1                                        100%                 0%                   0%                94.70%                   5.30%                      0%          0:01:57               0:00:06                   3:51:51               0:12:12
   5/10/2023 Daniel Orellana      General               ACD              33.00%                 21                 21                0                                         17                     0                         4                                        100%                 0%                   0%                   81%                  19.10%                      0%          0:02:23               0:00:06                   4:38:58               0:13:17
   5/11/2023 Daniel Orellana      General               ACD              42.00%                 14                 12                0                  2                      10                     0                         2                                      85.70%                 0%               14.30%                71.40%                  14.30%                      0%          0:01:27               0:00:06                   2:43:30               0:13:37
    5/1/2023 Iman Nejad           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Iman Nejad           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Iman Nejad           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Iman Nejad           General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Iman Nejad           General               ACD              75.00%                  9                  8                1                                          7                     0                         1                                      88.90%             11.10%                   0%                77.80%                  11.10%                      0%          0:00:37               0:00:04                   1:34:29               0:11:48
    5/9/2023 Iman Nejad           General               ACD              10.00%                 30                 28                1                                         24                     0                         4                       1              93.30%              3.30%                   0%                   80%                  13.30%                   3.30%          0:01:34               0:00:03                   5:43:08               0:11:49
   5/10/2023 Iman Nejad           General               ACD              62.00%                 26                 26                0                                         23                     0                         3                                        100%                 0%                   0%                88.50%                  11.50%                      0%          0:02:49               0:00:06                   5:00:37               0:11:33
   5/11/2023 Iman Nejad           General               ACD              36.00%                 25                 22                3                                         22                     0                                                                   88%                12%                   0%                   88%                      0%                      0%          0:03:52               0:00:09                   3:42:26               0:10:06
    5/2/2023 Valerie L            Retention             Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                      Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                            Declaration of Brad Lee with Exhs A-G in support of Trustee Page 53 of 189

Date Interval            Name         Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent            Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                    Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls          In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/3/2023 Valerie L          Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Valerie L          Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Valerie L          Retention             ACD              76.00%                 29                 26                2                  1                      26                         9                                                                89.70%              6.90%                3.50%                89.70%                      0%                      0%          0:06:06               0:00:12                   4:41:41               0:10:50
    5/2/2023 Valerie L          Retention             ACD             100.00%                 19                 19                0                                         19                         9                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:03:10               0:00:10                   3:42:12               0:11:41
    5/3/2023 Valerie L          Retention             ACD              79.00%                 22                 21                1                                         21                         7                                                                95.50%              4.60%                   0%                95.50%                      0%                      0%          0:04:05               0:00:11                   4:21:24               0:12:26
    5/4/2023 Valerie L          Retention             ACD              63.00%                 16                 15                1                                         15                         7                                                                93.80%              6.30%                   0%                93.80%                      0%                      0%          0:03:22               0:00:12                   2:50:00               0:11:20
    5/1/2023 Andrea Albor       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Andrea Albor       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Andrea Albor       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Andrea Albor       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Andrea Albor       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Andrea Albor       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Andrea Albor       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Andrea Albor       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Andrea Albor       Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Andrea Albor       Columbia Retention    ACD              20.00%                  5                  5                0                                          4                         0                         1                                        100%                 0%                   0%                   80%                     20%                      0%          0:00:33               0:00:06                   0:29:06               0:05:49

   5/11/2023 Andrea Albor       Columbia Retention    ACD                                      1                  1                0                                              1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:00:14               0:00:14

    5/2/2023 Golam Khan         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Golam Khan         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Golam Khan         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Golam Khan         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Golam Khan         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Golam Khan         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Golam Khan         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Golam Khan         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Golam Khan         General               ACD             100.00%                 10                 10                0                                         10                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:08               0:00:06                   1:29:32               0:08:57
    5/3/2023 Golam Khan         General               ACD             100.00%                 17                 16                1                                         16                         0                                                                94.10%              5.90%                   0%                94.10%                      0%                      0%          0:01:55               0:00:06                   3:51:02               0:14:26
    5/4/2023 Golam Khan         General               ACD             100.00%                 18                 18                0                                         18                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:29               0:00:04                   3:55:03               0:13:03
    5/5/2023 Golam Khan         General               ACD              30.00%                 23                 23                0                                         23                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:31               0:00:06                   5:01:45               0:13:07
    5/8/2023 Golam Khan         General               ACD                   0                 14                 14                0                                         14                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:26               0:00:06                   4:48:40               0:20:37
    5/9/2023 Golam Khan         General               ACD               7.00%                 15                 15                0                                         15                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:35               0:00:06                   5:02:47               0:20:11
   5/10/2023 Golam Khan         General               ACD              40.00%                 17                 15                2                                         15                         0                                                                88.20%             11.80%                   0%                88.20%                      0%                      0%          0:01:44               0:00:06                   4:41:58               0:18:47
   5/11/2023 Golam Khan         General               ACD              25.00%                 16                 16                0                                         15                         0                         1                                        100%                 0%                   0%                93.80%                   6.30%                      0%          0:01:28               0:00:05                   4:39:39               0:17:28
   5/11/2023 Kevin Marquez      Outbound Dialer NSF   ACD                                      2                  2                0                                          2                         2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:32               0:00:16                   2:25:45               1:12:52

    5/1/2023 Kevin Marquez      Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Kevin Marquez      Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Kevin Marquez      Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Kevin Marquez      Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Kevin Marquez      Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Kevin Marquez      Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Kevin Marquez      Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Kevin Marquez      Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Kevin Marquez      Retention             Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Kevin Marquez      Retention             ACD              80.00%                 16                 14                1                  1                      14                         9                                                                87.50%              6.30%                6.30%                87.50%                      0%                      0%          0:03:30               0:00:13                   4:08:32               0:17:45
    5/2/2023 Kevin Marquez      Retention             ACD              60.00%                 15                 12                1                  2                      12                         7                                                                   80%              6.70%               13.30%                   80%                      0%                      0%          0:03:12               0:00:13                   3:55:21               0:19:36
    5/3/2023 Kevin Marquez      Retention             ACD              80.00%                 10                  9                0                  1                       9                         4                                                                   90%                 0%                  10%                   90%                      0%                      0%          0:02:31               0:00:15                   3:21:40               0:22:24
    5/4/2023 Kevin Marquez      Retention             ACD              50.00%                 11                  7                2                  1                       7                         6                                                 1              63.60%             18.20%                9.10%                63.60%                      0%                   9.10%          0:02:59               0:00:16                   2:12:56               0:16:37
    5/5/2023 Kevin Marquez      Retention             ACD             100.00%                  7                  6                1                                          6                         4                                                                85.70%             14.30%                   0%                85.70%                      0%                      0%          0:02:00               0:00:17                   1:59:39               0:19:56
    5/8/2023 Kevin Marquez      Retention             ACD              60.00%                 16                 13                2                  1                      13                         8                                                                81.30%             12.50%                6.30%                81.30%                      0%                      0%          0:02:59               0:00:11                   3:20:34               0:15:25
    5/9/2023 Kevin Marquez      Retention             ACD              80.00%                 17                 12                1                  4                      12                         7                                                                70.60%              5.90%               23.50%                70.60%                      0%                      0%          0:03:45               0:00:13                   3:10:02               0:15:50
   5/10/2023 Kevin Marquez      Retention             ACD              67.00%                 15                 13                0                  2                      13                         7                                                                86.70%                 0%               13.30%                86.70%                      0%                      0%          0:03:39               0:00:14                   4:31:19               0:20:52
   5/11/2023 Kevin Marquez      Retention             ACD             100.00%                 12                  9                2                  1                       8                         4                         1                                         75%             16.70%                8.30%                66.70%                   8.30%                      0%          0:02:21               0:00:12                   2:39:34               0:17:43
    5/1/2023 Salman Ismail      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Salman Ismail      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Salman Ismail      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Salman Ismail      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Salman Ismail      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Salman Ismail      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Salman Ismail      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Salman Ismail      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Salman Ismail      General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Salman Ismail      General               ACD              79.00%                 20                 19                1                                         18                         0                         1                                         95%                 5%                   0%                   90%                      5%                      0%          0:05:51               0:00:17                   4:14:25               0:13:23
    5/2/2023 Salman Ismail      General               ACD             100.00%                  8                  8                0                                          7                         1                         1                                        100%                 0%                   0%                87.50%                  12.50%                      0%          0:02:20               0:00:17                   1:51:19               0:13:54
    5/3/2023 Salman Ismail      General               ACD             100.00%                 25                 22                3                                         22                         0                                                                   88%                12%                   0%                   88%                      0%                      0%          0:06:56               0:00:16                   4:11:09               0:11:24
    5/4/2023 Salman Ismail      General               ACD             100.00%                 20                 19                1                                         19                         0                                                                   95%                 5%                   0%                   95%                      0%                      0%          0:05:42               0:00:17                   3:39:09               0:11:32
    5/5/2023 Salman Ismail      General               ACD              44.00%                 30                 27                3                                         26                         0                         1                                         90%                10%                   0%                86.70%                   3.30%                      0%          0:08:44               0:00:17                   5:05:08               0:11:18
    5/8/2023 Salman Ismail      General               ACD               3.00%                 31                 31                0                                         28                         0                         3                                        100%                 0%                   0%                90.30%                   9.70%                      0%          0:08:15               0:00:15                   8:13:59               0:15:56
    5/9/2023 Salman Ismail      General               ACD              12.00%                 27                 25                2                                         25                         0                                                                92.60%              7.40%                   0%                92.60%                      0%                      0%          0:05:52               0:00:13                   4:39:24               0:11:10
   5/10/2023 Salman Ismail      General               ACD              42.00%                 32                 30                1                                         27                         0                         3                       1              93.80%              3.10%                   0%                84.40%                   9.40%                   3.10%          0:09:14               0:00:17                   5:30:29               0:10:39
   5/11/2023 Salman Ismail      General               ACD              33.00%                 28                 26                1                                         21                         0                         5                       1              92.90%              3.60%                   0%                   75%                  17.90%                   3.60%          0:06:56               0:00:14                   4:21:25               0:10:03
    5/2/2023 Nickolas Mossa     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Nickolas Mossa     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Nickolas Mossa     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Nickolas Mossa     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Nickolas Mossa     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Nickolas Mossa     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Nickolas Mossa     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Nickolas Mossa     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Nickolas Mossa     General               ACD              78.00%                 10                  9                1                                          8                         0                         1                                         90%                10%                   0%                   80%                     10%                      0%          0:01:51               0:00:12                   1:37:47               0:10:51
    5/3/2023 Nickolas Mossa     General               ACD              88.00%                  8                  8                0                                          7                         0                         1                                        100%                 0%                   0%                87.50%                  12.50%                      0%          0:01:18               0:00:09                   2:09:26               0:16:10
    5/4/2023 Nickolas Mossa     General               ACD             100.00%                 10                  9                1                                          7                         1                         2                                         90%                10%                   0%                   70%                     20%                      0%          0:02:02               0:00:12                   2:09:24               0:14:22
    5/5/2023 Nickolas Mossa     General               ACD              19.00%                 22                 20                1                                         20                         0                                                 1              90.90%              4.60%                   0%                90.90%                      0%                   4.60%          0:02:53               0:00:07                   3:30:16               0:10:00
    5/8/2023 Nickolas Mossa     General               ACD               8.00%                 12                 10                0                                          7                         0                         3                       2              83.30%                 0%                   0%                58.30%                     25%                  16.70%          0:01:27               0:00:07                   2:25:05               0:12:05
    5/9/2023 Nickolas Mossa     General               ACD              18.00%                 11                 10                0                                          8                         0                         2                       1              90.90%                 0%                   0%                72.70%                  18.20%                   9.10%          0:01:54               0:00:10                   2:04:00               0:11:16
   5/10/2023 Nickolas Mossa     General               ACD              44.00%                 19                 18                1                                         16                         0                         2                                      94.70%              5.30%                   0%                84.20%                  10.50%                      0%          0:03:32               0:00:11                   3:35:12               0:11:57
   5/11/2023 Nickolas Mossa     General               ACD              40.00%                 25                 24                0                                         19                         0                         5                       1                 96%                 0%                   0%                   76%                     20%                      4%          0:04:00               0:00:09                   4:12:32               0:10:06
                                                                                                         Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                               Declaration of Brad Lee with Exhs A-G in support of Trustee Page 54 of 189

Date Interval               Name         Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent            Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                       Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls          In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/2/2023 Max Zinchini          Outbound Dialer NSF ACD               100.00%                  1                  1                0                                              1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:06               0:00:06                   0:16:22               0:16:22

    5/2/2023 Max Zinchini          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Max Zinchini          General               ACD              75.00%                 16                 16                0                                         13                         0                         3                                        100%                 0%                   0%                81.30%                  18.80%                      0%          0:01:58               0:00:07                   2:22:05               0:08:52
    5/8/2023 Max Zinchini          General               ACD                   0                 34                 32                2                                         30                         0                         2                                      94.10%              5.90%                   0%                88.20%                   5.90%                      0%          0:03:57               0:00:06                   6:39:45               0:12:29
    5/9/2023 Max Zinchini          General               ACD               8.00%                 38                 37                1                                         34                         0                         3                                      97.40%              2.60%                   0%                89.50%                   7.90%                      0%          0:04:19               0:00:06                   6:17:56               0:10:12
    5/4/2023 Griselda Reina        Outbound Dialer NSF   ACD             100.00%                  1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:09               0:00:09                   0:21:40               0:21:40

    5/1/2023 Griselda Reina        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Griselda Reina        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Griselda Reina        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Griselda Reina        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Griselda Reina        General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Griselda Reina        General               ACD              79.00%                 14                 14                0                                         13                         0                         1                                        100%                 0%                   0%                92.90%                   7.10%                      0%          0:00:42               0:00:03                   3:15:30               0:13:57
    5/2/2023 Griselda Reina        General               ACD             100.00%                  8                  8                0                                          7                         1                         1                                        100%                 0%                   0%                87.50%                  12.50%                      0%          0:00:22               0:00:02                   1:36:44               0:12:05
    5/3/2023 Griselda Reina        General               ACD              91.00%                 12                 11                0                                          9                         1                         2                       1              91.70%                 0%                   0%                   75%                  16.70%                   8.30%          0:00:30               0:00:02                   3:22:15               0:16:51
    5/4/2023 Griselda Reina        General               ACD             100.00%                 11                 10                1                                          8                         0                         2                                      90.90%              9.10%                   0%                72.70%                  18.20%                      0%          0:00:35               0:00:03                   2:35:13               0:15:31
    5/5/2023 Griselda Reina        General               ACD              14.00%                 14                 14                0                                         14                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:40               0:00:02                   3:16:29               0:14:02
    5/2/2023 Josey Harvey          Outbound Dialer NSF   ACD             100.00%                  1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:05               0:00:05                   0:16:05               0:16:05

    5/1/2023 Josey Harvey          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Josey Harvey          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Josey Harvey          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Josey Harvey          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Josey Harvey          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Josey Harvey          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Josey Harvey          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Josey Harvey          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Josey Harvey          General               ACD              88.00%                 24                 24                0                                         20                         0                         4                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:01:34               0:00:03                   4:31:27               0:11:18
    5/2/2023 Josey Harvey          General               ACD             100.00%                 19                 18                1                                         15                         0                         3                                      94.70%              5.30%                   0%                   79%                  15.80%                      0%          0:01:45               0:00:05                   3:05:06               0:10:17
    5/3/2023 Josey Harvey          General               ACD              97.00%                 31                 31                0                                         28                         0                         3                                        100%                 0%                   0%                90.30%                   9.70%                      0%          0:03:02               0:00:05                   3:52:01               0:07:44
    5/4/2023 Josey Harvey          General               ACD             100.00%                 19                 19                0                                         14                         1                         5                                        100%                 0%                   0%                73.70%                  26.30%                      0%          0:01:35               0:00:05                   4:03:38               0:12:49
    5/8/2023 Josey Harvey          General               ACD                   0                 20                 19                0                  1                      18                         0                         1                                         95%                 0%                   5%                   90%                      5%                      0%          0:01:40               0:00:05                   5:02:50               0:15:56
    5/9/2023 Josey Harvey          General               ACD              14.00%                 33                 28                5                                         26                         0                         2                                      84.90%             15.20%                   0%                78.80%                   6.10%                      0%          0:02:46               0:00:05                   5:14:59               0:11:14
   5/10/2023 Josey Harvey          General               ACD              33.00%                 18                 18                0                                         17                         0                         1                                        100%                 0%                   0%                94.40%                   5.60%                      0%          0:01:10               0:00:03                   4:12:33               0:14:01
   5/11/2023 Josey Harvey          General               ACD              32.00%                 22                 19                3                                         18                         0                         1                                      86.40%             13.60%                   0%                81.80%                   4.60%                      0%          0:01:31               0:00:04                   5:00:45               0:15:49
    5/1/2023 Salma Aranda          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Salma Aranda          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Salma Aranda          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Salma Aranda          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Salma Aranda          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Salma Aranda          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Salma Aranda          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Salma Aranda          General               ACD              83.00%                 27                 23                3                                         22                         0                         1                       1              85.20%             11.10%                   0%                81.50%                   3.70%                   3.70%          0:07:15               0:00:16                   5:49:49               0:14:34
    5/2/2023 Salma Aranda          General               ACD             100.00%                 23                 20                3                                         20                         0                                                                   87%                13%                   0%                   87%                      0%                      0%          0:06:50               0:00:18                   5:22:03               0:16:06
    5/3/2023 Salma Aranda          General               ACD              91.00%                 25                 22                3                                         21                         0                         1                                         88%                12%                   0%                   84%                      4%                      0%          0:07:38               0:00:18                   5:09:43               0:14:04
    5/4/2023 Salma Aranda          General               ACD              94.00%                 23                 18                5                                         17                         0                         1                                      78.30%             21.70%                   0%                73.90%                   4.40%                      0%          0:07:40               0:00:20                   5:06:03               0:17:00
    5/5/2023 Salma Aranda          General               ACD              29.00%                 50                 24               26                                         23                         0                         1                                         48%                52%                   0%                   46%                      2%                      0%          0:15:02               0:00:20                   5:06:11               0:12:45
    5/8/2023 Salma Aranda          General               ACD                   0                 22                 15                7                                         11                         0                         4                                      68.20%             31.80%                   0%                   50%                  18.20%                      0%          0:06:40               0:00:21                   4:32:27               0:18:09
    5/9/2023 Salma Aranda          General               ACD              13.00%                 20                 15                4                                         15                         0                                                 1                 75%                20%                   0%                   75%                      0%                      5%          0:05:11               0:00:18                   4:40:53               0:17:33
    5/4/2023 Sophia Goins          Resolutions           ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:05               0:00:05                   0:25:34               0:25:34
    5/5/2023 Sophia Goins          Resolutions           ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:09               0:00:09                   0:02:27               0:02:27
    5/9/2023 Sophia Goins          Resolutions           ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:08               0:00:08                   0:25:24               0:25:24
    5/4/2023 Sabah Ismail          Outbound Dialer NSF   ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:21:19               0:21:19

    5/1/2023 Sabah Ismail          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Sabah Ismail          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Sabah Ismail          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Sabah Ismail          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Sabah Ismail          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Sabah Ismail          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Sabah Ismail          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Sabah Ismail          General               ACD              53.00%                 17                 15                2                                          9                         0                         6                                      88.20%             11.80%                   0%                52.90%                  35.30%                      0%          0:04:17               0:00:17                   3:18:49               0:13:15
    5/2/2023 Sabah Ismail          General               ACD             100.00%                  7                  7                0                                          6                         0                         1                                        100%                 0%                   0%                85.70%                  14.30%                      0%          0:02:24               0:00:20                   1:38:56               0:14:08
    5/3/2023 Sabah Ismail          General               ACD             100.00%                 12                 12                0                                         12                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:03:07               0:00:15                   5:05:32               0:25:27
    5/4/2023 Sabah Ismail          General               ACD              83.00%                  8                  6                1                                          5                         1                         1                       1                 75%             12.50%                   0%                62.50%                  12.50%                  12.50%          0:01:53               0:00:14                   2:02:42               0:17:31
    5/5/2023 Sabah Ismail          General               ACD              21.00%                 14                 14                0                                         14                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:03:41               0:00:15                   2:50:33               0:12:10
   5/10/2023 Sabah Ismail          General               ACD              42.00%                 12                 12                0                                         11                         0                         1                                        100%                 0%                   0%                91.70%                   8.30%                      0%          0:03:49               0:00:19                   3:25:48               0:17:09
   5/11/2023 Sabah Ismail          General               ACD              43.00%                 17                 13                3                                         13                         0                                                 1              76.50%             17.70%                   0%                76.50%                      0%                   5.90%          0:04:19               0:00:15                   3:56:48               0:16:54
    5/2/2023 justin andra          Outbound Dialer NSF   ACD             100.00%                  1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:01:33               0:01:33

    5/4/2023 justin andra          Outbound Dialer NSF ACD               100.00%                  2                  2                0                                              1                     0                         1                                        100%                 0%                   0%                   50%                     50%                      0%          0:00:11               0:00:05                   0:06:50               0:03:25

    5/2/2023 justin andra          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 justin andra          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 justin andra          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 justin andra          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 justin andra          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 justin andra          General               ACD             100.00%                 25                 24                0                                         19                         0                         5                       1                 96%                 0%                   0%                   76%                     20%                      4%          0:01:53               0:00:04                   5:00:01               0:12:00
    5/3/2023 justin andra          General               ACD             100.00%                 24                 22                1                  1                      19                         0                         3                                      91.70%              4.20%                4.20%                79.20%                  12.50%                      0%          0:02:17               0:00:05                   3:45:25               0:10:14
    5/4/2023 justin andra          General               ACD             100.00%                 25                 25                0                                         23                         0                         2                                        100%                 0%                   0%                   92%                      8%                      0%          0:02:37               0:00:06                   4:15:07               0:10:12
    5/5/2023 justin andra          General               ACD              56.00%                 16                 16                0                                         15                         0                         1                                        100%                 0%                   0%                93.80%                   6.30%                      0%          0:00:50               0:00:03                   3:34:00               0:13:22
    5/8/2023 justin andra          General               ACD                   0                 23                 23                0                                         21                         0                         2                                        100%                 0%                   0%                91.30%                   8.70%                      0%          0:01:31               0:00:03                   5:45:08               0:15:00
    5/9/2023 justin andra          General               ACD              14.00%                 29                 27                1                                         23                         0                         4                       1              93.10%              3.50%                   0%                79.30%                  13.80%                   3.50%          0:01:45               0:00:03                   6:00:41               0:12:52
   5/10/2023 justin andra          General               ACD              68.00%                 34                 30                3                                         27                         0                         3                       1              88.20%              8.80%                   0%                79.40%                   8.80%                   2.90%          0:04:33               0:00:08                   6:21:01               0:12:17
   5/11/2023 justin andra          General               ACD              17.00%                 24                 23                1                                         18                         0                         5                                      95.80%              4.20%                   0%                   75%                  20.80%                      0%          0:02:32               0:00:06                   5:33:26               0:14:29
    5/1/2023 Brandon DeLaura       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Brandon DeLaura       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Brandon DeLaura       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Brandon DeLaura       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                       Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                             Declaration of Brad Lee with Exhs A-G in support of Trustee Page 55 of 189

Date Interval            Name          Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent        Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                     Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls      In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/8/2023 Brandon DeLaura     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Brandon DeLaura     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Brandon DeLaura     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Brandon DeLaura     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Brandon DeLaura     General               ACD              90.00%                 31                 28                1                                         25                     1                         3                       2              90.30%              3.20%                   0%                80.70%                   9.70%                   6.50%          0:04:06               0:00:07                   5:29:42               0:10:59
    5/2/2023 Brandon DeLaura     General               ACD              93.00%                 15                 15                0                                         13                     1                         2                                        100%                 0%                   0%                86.70%                  13.30%                      0%          0:02:14               0:00:08                   2:39:46               0:10:39
    5/3/2023 Brandon DeLaura     General               ACD             100.00%                 20                 20                0                                         19                     0                         1                                        100%                 0%                   0%                   95%                      5%                      0%          0:03:45               0:00:11                   3:26:12               0:10:18
    5/5/2023 Brandon DeLaura     General               ACD              71.00%                 25                 24                1                                         22                     0                         2                                         96%                 4%                   0%                   88%                      8%                      0%          0:03:23               0:00:08                   4:04:20               0:10:10
    5/8/2023 Brandon DeLaura     General               ACD              11.00%                 28                 27                0                  1                      25                     0                         2                                      96.40%                 0%                3.60%                89.30%                   7.10%                      0%          0:03:42               0:00:07                   6:23:00               0:14:11
    5/9/2023 Brandon DeLaura     General               ACD               9.00%                 25                 22                1                  1                      20                     0                         2                       1                 88%                 4%                   4%                   80%                      8%                      4%          0:03:48               0:00:09                   4:52:11               0:12:42
   5/10/2023 Brandon DeLaura     General               ACD              68.00%                 27                 24                2                                         23                     0                         1                       1              88.90%              7.40%                   0%                85.20%                   3.70%                   3.70%          0:04:23               0:00:10                   5:16:48               0:12:40
   5/11/2023 Brandon DeLaura     General               ACD              27.00%                 22                 22                0                                         20                     0                         2                                        100%                 0%                   0%                90.90%                   9.10%                      0%          0:03:45               0:00:10                   4:43:12               0:12:52
    5/1/2023 Kian Narani         General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Kian Narani         General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Kian Narani         General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Kian Narani         General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Kian Narani         General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Kian Narani         General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Kian Narani         General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Kian Narani         General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Kian Narani         General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Kian Narani         General               ACD              91.00%                 23                 23                0                                         21                     1                         2                                        100%                 0%                   0%                91.30%                   8.70%                      0%          0:02:58               0:00:07                   3:32:58               0:09:15
    5/2/2023 Kian Narani         General               ACD             100.00%                 22                 22                0                                         18                     0                         4                                        100%                 0%                   0%                81.80%                  18.20%                      0%          0:03:55               0:00:10                   2:44:03               0:07:27
    5/3/2023 Kian Narani         General               ACD             100.00%                 22                 21                1                                         16                     0                         5                                      95.50%              4.60%                   0%                72.70%                  22.70%                      0%          0:03:31               0:00:09                   2:50:38               0:08:07
    5/4/2023 Kian Narani         General               ACD             100.00%                 19                 18                0                                         17                     0                         1                       1              94.70%                 0%                   0%                89.50%                   5.30%                   5.30%          0:02:30               0:00:07                   2:20:16               0:07:22
    5/5/2023 Kian Narani         General               ACD              56.00%                 34                 34                0                                         32                     0                         2                                        100%                 0%                   0%                94.10%                   5.90%                      0%          0:03:03               0:00:05                   6:53:12               0:12:09
    5/8/2023 Kian Narani         General               ACD              10.00%                 31                 31                0                                         28                     0                         3                                        100%                 0%                   0%                90.30%                   9.70%                      0%          0:02:15               0:00:04                   5:48:16               0:11:14
    5/9/2023 Kian Narani         General               ACD              19.00%                 39                 36                3                                         36                     0                                                                92.30%              7.70%                   0%                92.30%                      0%                      0%          0:04:00               0:00:06                   5:08:49               0:08:34
   5/10/2023 Kian Narani         General               ACD              74.00%                 23                 23                0                                         21                     0                         2                                        100%                 0%                   0%                91.30%                   8.70%                      0%          0:02:18               0:00:06                   4:20:29               0:11:19
   5/11/2023 Kian Narani         General               ACD              29.00%                 24                 24                0                                         24                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:20               0:00:05                   4:38:33               0:11:36
    5/2/2023 Sebastian Vasquez   Outbound Dialer NSF   ACD                   0                  1                  1                0                                          1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:06               0:00:06                   0:23:47               0:23:47

    5/3/2023 Sebastian Vasquez   Spanish Queue         Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Sebastian Vasquez   Spanish Queue         ACD                                      4                  4                0                                          4                     4                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:22               0:00:05                   0:21:14               0:05:18
    5/3/2023 Sebastian Vasquez   Spanish Queue         ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:05               0:00:05                   0:08:24               0:08:24
    5/4/2023 Sebastian Vasquez   Spanish Queue         ACD                                      2                  2                0                                          2                     2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:16               0:00:08                   0:06:50               0:03:25
    5/5/2023 Sebastian Vasquez   Spanish Queue         ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:07               0:00:07                   0:20:23               0:20:23
   5/11/2023 Sebastian Vasquez   Spanish Queue         ACD                                      2                  2                0                                          2                     2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:21               0:00:10                   0:07:47               0:03:53
    5/2/2023 Sebastian Vasquez   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Sebastian Vasquez   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Sebastian Vasquez   General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Sebastian Vasquez   General               ACD              97.00%                 37                 34                0                  1                      26                     0                         8                       2              91.90%                 0%                2.70%                70.30%                  21.60%                   5.40%          0:04:03               0:00:06                   6:42:52               0:11:11
    5/2/2023 Sebastian Vasquez   General               ACD             100.00%                 20                 19                0                                         18                     0                         1                       1                 95%                 0%                   0%                   90%                      5%                      5%          0:01:50               0:00:05                   4:10:34               0:12:31
    5/3/2023 Sebastian Vasquez   General               ACD              89.00%                 29                 26                1                                         25                     0                         1                       2              89.70%              3.50%                   0%                86.20%                   3.50%                   6.90%          0:03:06               0:00:06                   6:05:41               0:13:03
    5/4/2023 Sebastian Vasquez   General               ACD             100.00%                 28                 25                1                                         22                     0                         3                       2              89.30%              3.60%                   0%                78.60%                  10.70%                   7.10%          0:02:40               0:00:05                   5:14:11               0:11:38
    5/5/2023 Sebastian Vasquez   General               ACD              45.00%                 39                 37                1                                         33                     0                         4                       1              94.90%              2.60%                   0%                84.60%                  10.30%                   2.60%          0:04:20               0:00:06                   6:51:42               0:10:50
    5/8/2023 Sebastian Vasquez   General               ACD              10.00%                 39                 37                0                                         32                     0                         5                       2              94.90%                 0%                   0%                82.10%                  12.80%                   5.10%          0:03:52               0:00:05                   7:32:10               0:11:35
    5/9/2023 Sebastian Vasquez   General               ACD              19.00%                 44                 41                1                                         34                     0                         7                       2              93.20%              2.30%                   0%                77.30%                  15.90%                   4.60%          0:05:48               0:00:07                   8:02:01               0:11:12
   5/10/2023 Sebastian Vasquez   General               ACD              56.00%                 37                 33                1                                         32                     0                         1                       3              89.20%              2.70%                   0%                86.50%                   2.70%                   8.10%          0:05:02               0:00:08                   7:14:21               0:12:03
   5/11/2023 Sebastian Vasquez   General               ACD               9.00%                 37                 32                3                                         30                     0                         2                       2              86.50%              8.10%                   0%                81.10%                   5.40%                   5.40%          0:04:42               0:00:08                   7:39:46               0:13:31
    5/8/2023 Jasmin Amezcua      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Jasmin Amezcua      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Jasmin Amezcua      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Jasmin Amezcua      General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Jasmin Amezcua      General               ACD                   0                 20                 18                1                                         17                     0                         1                       1                 90%                 5%                   0%                   85%                      5%                      5%          0:03:15               0:00:09                   4:40:39               0:14:46
    5/9/2023 Jasmin Amezcua      General               ACD              17.00%                 30                 29                0                                         26                     0                         3                       1              96.70%                 0%                   0%                86.70%                     10%                   3.30%          0:05:10               0:00:10                   5:53:15               0:11:46
   5/10/2023 Jasmin Amezcua      General               ACD              29.00%                 22                 21                0                  1                      20                     0                         1                                      95.50%                 0%                4.60%                90.90%                   4.60%                      0%          0:04:11               0:00:11                   5:16:02               0:15:02
   5/11/2023 Jasmin Amezcua      General               ACD              30.00%                 25                 23                1                  1                      23                     0                                                                   92%                 4%                   4%                   92%                      0%                      0%          0:04:37               0:00:11                   4:58:05               0:12:57
    5/2/2023 Nathan Perez        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Nathan Perez        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Nathan Perez        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Nathan Perez        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Nathan Perez        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Nathan Perez        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Nathan Perez        General               ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:08               0:00:08                   0:07:28               0:07:28
    5/8/2023 Nathan Perez        General               ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:08               0:00:08                   0:32:40               0:32:40
    5/9/2023 Nathan Perez        General               ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:19               0:00:19                   0:03:27               0:03:27
    5/1/2023 Karen O'Connell     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Karen O'Connell     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Karen O'Connell     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Karen O'Connell     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Karen O'Connell     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Karen O'Connell     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Karen O'Connell     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Karen O'Connell     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Karen O'Connell     General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Karen O'Connell     General               ACD              82.00%                 41                 28               13                                         25                     0                         3                                      68.30%             31.70%                   0%                   61%                   7.30%                      0%          0:11:55               0:00:20                   4:22:49               0:09:23
    5/2/2023 Karen O'Connell     General               ACD             100.00%                 30                 29                1                                         26                     0                         3                                      96.70%              3.30%                   0%                86.70%                     10%                      0%          0:08:45               0:00:17                   4:05:58               0:08:28
    5/3/2023 Karen O'Connell     General               ACD              96.00%                 27                 26                1                                         24                     0                         2                                      96.30%              3.70%                   0%                88.90%                   7.40%                      0%          0:06:01               0:00:13                   4:08:35               0:09:33
    5/4/2023 Karen O'Connell     General               ACD             100.00%                 17                 14                3                                          9                     0                         5                                      82.40%             17.70%                   0%                52.90%                  29.40%                      0%          0:04:17               0:00:16                   1:37:47               0:06:59
    5/5/2023 Karen O'Connell     General               ACD              59.00%                 22                 22                0                                         21                     0                         1                                        100%                 0%                   0%                95.50%                   4.60%                      0%          0:04:36               0:00:12                   4:31:23               0:12:20
    5/8/2023 Karen O'Connell     General               ACD              12.00%                 36                 34                2                                         32                     0                         2                                      94.40%              5.60%                   0%                88.90%                   5.60%                      0%          0:09:12               0:00:15                   6:41:30               0:11:48
    5/9/2023 Karen O'Connell     General               ACD                   0                 33                 33                0                                         30                     0                         3                                        100%                 0%                   0%                90.90%                   9.10%                      0%          0:07:57               0:00:14                  10:51:37               0:19:44
   5/10/2023 Karen O'Connell     General               ACD              53.00%                 37                 35                2                                         32                     1                         3                                      94.60%              5.40%                   0%                86.50%                   8.10%                      0%          0:10:35               0:00:17                   7:50:46               0:13:27
   5/11/2023 Karen O'Connell     General               ACD              15.00%                 33                 32                0                                         28                     0                         4                       1                 97%                 0%                   0%                84.90%                  12.10%                      3%          0:08:54               0:00:16                   6:12:15               0:11:16
    5/1/2023 Carmen Marza        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Carmen Marza        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Carmen Marza        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Carmen Marza        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Carmen Marza        General               Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                      Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                            Declaration of Brad Lee with Exhs A-G in support of Trustee Page 56 of 189

Date Interval            Name         Queue           Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent            Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                    Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls          In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/8/2023 Carmen Marza       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Carmen Marza       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Carmen Marza       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Carmen Marza       General               ACD              78.00%                 39                 37                2                                         34                         0                         3                                      94.90%              5.10%                   0%                87.20%                   7.70%                      0%          0:05:11               0:00:08                   7:26:24               0:12:03
    5/2/2023 Carmen Marza       General               ACD             100.00%                 22                 22                0                                         18                         0                         4                                        100%                 0%                   0%                81.80%                  18.20%                      0%          0:03:21               0:00:09                   3:09:07               0:08:35
    5/3/2023 Carmen Marza       General               ACD              96.00%                 29                 28                1                                         23                         0                         5                                      96.60%              3.50%                   0%                79.30%                  17.20%                      0%          0:04:07               0:00:08                   4:10:10               0:08:56
    5/4/2023 Carmen Marza       General               ACD             100.00%                 20                 19                1                                         17                         0                         2                                         95%                 5%                   0%                   85%                     10%                      0%          0:02:38               0:00:07                   4:02:43               0:12:46
    5/5/2023 Carmen Marza       General               ACD              52.00%                 25                 25                0                                         22                         0                         3                                        100%                 0%                   0%                   88%                     12%                      0%          0:02:35               0:00:06                   4:33:39               0:10:56
    5/8/2023 Carmen Marza       General               ACD                   0                 26                 26                0                                         26                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:03:09               0:00:07                   5:43:39               0:13:13
   5/10/2023 Carmen Marza       General               ACD              52.00%                 27                 26                0                                         23                         0                         3                       1              96.30%                 0%                   0%                85.20%                  11.10%                   3.70%          0:03:27               0:00:07                   8:01:55               0:17:50
   5/11/2023 Carmen Marza       General               ACD              22.00%                 24                 22                1                                         21                         0                         1                       1              91.70%              4.20%                   0%                87.50%                   4.20%                   4.20%          0:02:31               0:00:06                   5:13:14               0:13:37
    5/2/2023 Jennifer Andra     Outbound Dialer NSF   ACD                                      1                  1                0                                          1                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:06               0:00:06                   1:00:24               1:00:24

    5/4/2023 Jennifer Andra     Outbound Dialer NSF ACD               100.00%                  1                  1                0                                              1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:12               0:00:12                   0:07:26               0:07:26

    5/1/2023 Jennifer Andra     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Jennifer Andra     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Jennifer Andra     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Jennifer Andra     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Jennifer Andra     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Jennifer Andra     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Jennifer Andra     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Jennifer Andra     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Jennifer Andra     General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Jennifer Andra     General               ACD              73.00%                 13                 12                0                  1                      12                         1                                                                92.30%                 0%                7.70%                92.30%                      0%                      0%          0:02:43               0:00:12                   2:42:29               0:13:32
    5/2/2023 Jennifer Andra     General               ACD             100.00%                  4                  3                1                                          3                         0                                                                   75%                25%                   0%                   75%                      0%                      0%          0:00:42               0:00:10                   0:24:46               0:08:15
    5/3/2023 Jennifer Andra     General               ACD             100.00%                  5                  5                0                                          4                         0                         1                                        100%                 0%                   0%                   80%                     20%                      0%          0:01:05               0:00:13                   1:41:44               0:20:20
    5/4/2023 Jennifer Andra     General               ACD             100.00%                  5                  5                0                                          5                         1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:57               0:00:11                   2:03:39               0:24:43
    5/5/2023 Jennifer Andra     General               ACD              16.00%                 20                 19                0                  1                      18                         0                         1                                         95%                 0%                   5%                   90%                      5%                      0%          0:03:47               0:00:11                   4:02:36               0:12:46
    5/8/2023 Jennifer Andra     General               ACD                   0                 10                 10                0                                          9                         0                         1                                        100%                 0%                   0%                   90%                     10%                      0%          0:02:01               0:00:12                   2:49:47               0:16:58
    5/9/2023 Jennifer Andra     General               ACD               6.00%                 19                 18                0                  1                      18                         0                                                                94.70%                 0%                5.30%                94.70%                      0%                      0%          0:03:14               0:00:10                   5:00:20               0:16:41
   5/10/2023 Jennifer Andra     General               ACD              46.00%                 13                 13                0                                         13                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:18               0:00:10                   3:22:44               0:15:35
   5/11/2023 Jennifer Andra     General               ACD              13.00%                 16                 16                0                                         14                         0                         2                                        100%                 0%                   0%                87.50%                  12.50%                      0%          0:02:50               0:00:10                   3:35:31               0:13:28
    5/2/2023 Connor Huskisson   Outbound Dialer NSF   ACD                   0                  1                  1                0                                          1                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:15               0:00:15                   0:12:37               0:12:37

    5/4/2023 Connor Huskisson   Outbound Dialer NSF ACD                      0                 1                  1                0                                              1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:16               0:00:16                   0:20:08               0:20:08

    5/1/2023 Connor Huskisson   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Connor Huskisson   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Connor Huskisson   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Connor Huskisson   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Connor Huskisson   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Connor Huskisson   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Connor Huskisson   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Connor Huskisson   General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Connor Huskisson   General               ACD              79.00%                 25                 25                0                                         23                         1                         2                                        100%                 0%                   0%                   92%                      8%                      0%          0:06:04               0:00:14                   4:33:52               0:10:57
    5/2/2023 Connor Huskisson   General               ACD             100.00%                 17                 16                1                                         12                         0                         4                                      94.10%              5.90%                   0%                70.60%                  23.50%                      0%          0:03:51               0:00:14                   2:56:40               0:11:02
    5/3/2023 Connor Huskisson   General               ACD              94.00%                 20                 19                1                                         17                         1                         2                                         95%                 5%                   0%                   85%                     10%                      0%          0:03:48               0:00:11                   3:13:54               0:10:12
    5/4/2023 Connor Huskisson   General               ACD             100.00%                 10                 10                0                                         10                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:17               0:00:13                   2:03:34               0:12:21
    5/5/2023 Connor Huskisson   General               ACD              70.00%                 22                 20                2                                         20                         0                                                                90.90%              9.10%                   0%                90.90%                      0%                      0%          0:05:08               0:00:14                   3:42:40               0:11:08
    5/8/2023 Connor Huskisson   General               ACD               7.00%                 30                 30                0                                         25                         0                         5                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:05:39               0:00:11                   5:57:56               0:11:55
    5/9/2023 Connor Huskisson   General               ACD               8.00%                 24                 24                0                                         23                         0                         1                                        100%                 0%                   0%                95.80%                   4.20%                      0%          0:04:22               0:00:10                   5:22:47               0:13:26
   5/10/2023 Connor Huskisson   General               ACD              42.00%                 31                 24                6                  1                      24                         0                                                                77.40%             19.40%                3.20%                77.40%                      0%                      0%          0:06:01               0:00:12                   4:53:06               0:12:12
   5/11/2023 Connor Huskisson   General               ACD              28.00%                 19                 18                1                                         16                         0                         2                                      94.70%              5.30%                   0%                84.20%                  10.50%                      0%          0:04:03               0:00:13                   3:41:17               0:12:17
    5/1/2023 Jason Cast         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Jason Cast         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Jason Cast         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Jason Cast         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Jason Cast         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Jason Cast         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Jason Cast         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Jason Cast         General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Reham Zin          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Reham Zin          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Reham Zin          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Reham Zin          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Reham Zin          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Reham Zin          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Reham Zin          General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Reham Zin          General               ACD              78.00%                  9                  9                0                                          7                         0                         2                                        100%                 0%                   0%                77.80%                  22.20%                      0%          0:01:30               0:00:10                   1:49:15               0:12:08
    5/2/2023 Reham Zin          General               ACD             100.00%                 23                 20                3                                         18                         0                         2                                         87%                13%                   0%                78.30%                   8.70%                      0%          0:04:19               0:00:11                   3:33:04               0:10:39
    5/3/2023 Reham Zin          General               ACD              94.00%                 19                 19                0                                         18                         1                         1                                        100%                 0%                   0%                94.70%                   5.30%                      0%          0:04:03               0:00:12                   4:02:51               0:12:46
    5/4/2023 Reham Zin          General               ACD              92.00%                 13                 13                0                                         11                         1                         2                                        100%                 0%                   0%                84.60%                  15.40%                      0%          0:02:33               0:00:11                   2:24:47               0:11:08
    5/5/2023 Reham Zin          General               ACD              42.00%                 28                 24                2                                         22                         0                         2                       2              85.70%              7.10%                   0%                78.60%                   7.10%                   7.10%          0:04:14               0:00:09                   4:38:15               0:10:42
    5/9/2023 Reham Zin          General               ACD              16.00%                 32                 25                6                  1                      23                         0                         2                                      78.10%             18.80%                3.10%                71.90%                   6.30%                      0%          0:05:00               0:00:10                   6:08:08               0:14:43
   5/10/2023 Reham Zin          General               ACD              33.00%                 27                 27                0                                         26                         0                         1                                        100%                 0%                   0%                96.30%                   3.70%                      0%          0:04:10               0:00:09                   4:13:31               0:09:23
   5/11/2023 Reham Zin          General               ACD              56.00%                 13                  9                4                                          7                         0                         2                                      69.20%             30.80%                   0%                53.90%                  15.40%                      0%          0:03:31               0:00:17                   1:20:04               0:08:53
    5/1/2023 Tony Sanchez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Tony Sanchez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Tony Sanchez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Tony Sanchez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Tony Sanchez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Tony Sanchez       General               Non-ACD                                  0                                                                              0                         0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Tony Sanchez       General               ACD              93.00%                 15                 15                0                                         14                         0                         1                                        100%                 0%                   0%                93.30%                   6.70%                      0%          0:00:56               0:00:03                   3:47:06               0:15:08
    5/2/2023 Tony Sanchez       General               ACD             100.00%                  6                  6                0                                          6                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:34               0:00:05                   1:06:00               0:11:00
    5/8/2023 Tony Sanchez       General               ACD               8.00%                 13                 13                0                                         13                         0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:44               0:00:03                   3:20:02               0:15:23
    5/9/2023 Tony Sanchez       General               ACD              13.00%                 19                 16                3                                         14                         0                         2                                      84.20%             15.80%                   0%                73.70%                  10.50%                      0%          0:03:01               0:00:09                   5:40:43               0:21:17
   5/10/2023 Tony Sanchez       General               ACD              36.00%                 19                 15                4                                         14                         1                         1                                         79%             21.10%                   0%                73.70%                   5.30%                      0%          0:02:13               0:00:07                   4:13:35               0:16:54
   5/11/2023 Tony Sanchez       General               ACD              29.00%                 21                 21                0                                         19                         0                         2                                        100%                 0%                   0%                90.50%                   9.50%                      0%          0:01:48               0:00:05                   5:13:42               0:14:56
                                                                                                          Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                Declaration of Brad Lee with Exhs A-G in support of Trustee Page 57 of 189

Date Interval             Name             Queue          Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent        Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                        Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls      In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
    5/4/2023 Samuel Pierce           Outbound Dialer NSF ACD                     0                 1                  0                0                                                                0                                                 1                  0%                 0%                   0%                    0%                      0%                    100%          0:00:22               0:00:22                   0:04:59               0:04:59

    5/1/2023 Samuel Pierce           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/2/2023 Samuel Pierce           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/3/2023 Samuel Pierce           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/4/2023 Samuel Pierce           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/5/2023 Samuel Pierce           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/8/2023 Samuel Pierce           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/9/2023 Samuel Pierce           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/10/2023 Samuel Pierce           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/11/2023 Samuel Pierce           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
    5/1/2023 Samuel Pierce           General              ACD              79.00%                 16                 14                2                                         11                     0                         3                                      87.50%             12.50%                   0%                68.80%                  18.80%                      0%          0:01:49               0:00:07                   2:16:05               0:09:43
    5/2/2023 Samuel Pierce           General              ACD              50.00%                  4                  4                0                                          4                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:28               0:00:07                   0:52:36               0:13:09
    5/3/2023 Samuel Pierce           General              ACD              60.00%                  6                  6                0                                          6                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:13               0:00:12                   1:09:16               0:13:51
    5/5/2023 Samuel Pierce           General              ACD              60.00%                  8                  5                3                                          5                     0                                                                62.50%             37.50%                   0%                62.50%                      0%                      0%          0:01:33               0:00:13                   1:55:21               0:23:04
    5/8/2023 Samuel Pierce           General              ACD               7.00%                 17                 15                2                                         14                     0                         1                                      88.20%             11.80%                   0%                82.40%                   5.90%                      0%          0:02:38               0:00:09                   1:43:19               0:07:56
    5/9/2023 Samuel Pierce           General              ACD                   0                 10                  9                1                                          9                     0                                                                   90%                10%                   0%                   90%                      0%                      0%          0:02:12               0:00:13                   0:38:41               0:09:40
   5/10/2023 Samuel Pierce           General              ACD              41.00%                 30                 27                3                                         25                     0                         2                                         90%                10%                   0%                83.30%                   6.70%                      0%          0:04:30               0:00:09                   4:11:14               0:13:57
   5/11/2023 Samuel Pierce           General              ACD              50.00%                  2                  2                0                                          2                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:13               0:00:06                   0:26:41               0:13:20
   5/12/2023 Sulaiman Khan           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Sulaiman Khan           General              ACD              30.00%                 13                 10                3                                          9                     0                         1                                      76.90%             23.10%                   0%                69.20%                   7.70%                      0%          0:01:52               0:00:10                   2:51:08               0:17:06
   5/12/2023 Adriana Hernandez       General              ACD              46.00%                 24                 23                0                                         18                     0                         5                       1              95.80%                 0%                   0%                   75%                  20.80%                   4.20%          0:02:16               0:00:05                   7:06:54               0:17:47
   5/12/2023 Mike Larkin             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Mike Larkin             General              ACD              25.00%                  9                  8                1                                          8                     0                                                                88.90%             11.10%                   0%                88.90%                      0%                      0%          0:01:08               0:00:07                   2:04:26               0:15:33
   5/12/2023 Yesica Sierra           Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Sufyaan Lakhani         General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Sufyaan Lakhani         General              ACD              11.00%                 19                 19                0                                         17                     0                         2                                        100%                 0%                   0%                89.50%                  10.50%                      0%          0:01:58               0:00:06                   4:20:13               0:13:41
   5/12/2023 Erica Kline             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Erica Kline             General              ACD              50.00%                 26                 26                0                                         25                     0                         1                                        100%                 0%                   0%                96.20%                   3.90%                      0%          0:02:48               0:00:06                   5:27:54               0:12:36
   5/12/2023 Josue Alvarez           General              ACD              38.00%                 13                 13                0                                         12                     0                         1                                        100%                 0%                   0%                92.30%                   7.70%                      0%          0:01:37               0:00:07                   3:28:59               0:16:04
   5/12/2023 Jas Sanchez             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Jas Sanchez             General              ACD              30.00%                 10                 10                0                                          8                     0                         2                                        100%                 0%                   0%                   80%                     20%                      0%          0:01:14               0:00:07                   2:29:26               0:14:56
   5/12/2023 Humza Shariff           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Humza Shariff           General              ACD              55.00%                 20                 20                0                                         18                     0                         2                                        100%                 0%                   0%                   90%                     10%                      0%          0:01:41               0:00:05                   3:59:32               0:11:58
   5/12/2023 Anthony Base            Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Anthony Base            Retention            ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:06               0:00:06                   0:09:24               0:09:24
   5/12/2023 Karla Bravo             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Amir nejad              General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Amir nejad              General              ACD              44.00%                 32                 32                0                                         27                     0                         5                                        100%                 0%                   0%                84.40%                  15.60%                      0%          0:01:42               0:00:03                   4:47:07               0:08:58
   5/12/2023 Kimberly Torres         Resolutions          Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Kimberly Torres         Resolutions          ACD                                      3                  3                0                                          3                     3                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:16               0:00:05                   0:27:14               0:09:04
   5/12/2023 Christian Sangalang     General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Christian Sangalang     General              ACD              39.00%                 19                 18                1                                         16                     0                         2                                      94.70%              5.30%                   0%                84.20%                  10.50%                      0%          0:03:00               0:00:09                   3:13:04               0:10:43
   5/12/2023 Manny Alatorre          General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Manny Alatorre          General              ACD              32.00%                 26                 25                1                                         23                     0                         2                                      96.20%              3.90%                   0%                88.50%                   7.70%                      0%          0:05:05               0:00:11                   4:49:54               0:11:35
   5/12/2023 Cindy Vazquez           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Cindy Vazquez           General              ACD              43.00%                 24                 21                3                                         17                     0                         4                                      87.50%             12.50%                   0%                70.80%                  16.70%                      0%          0:06:13               0:00:16                   5:40:43               0:16:13
   5/12/2023 bonnie romero           General              ACD              33.00%                 22                 18                4                                         16                     0                         2                                      81.80%             18.20%                   0%                72.70%                   9.10%                      0%          0:02:52               0:00:07                   4:41:00               0:15:36
   5/12/2023 Isa Avina-Cardiel       Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Isa Avina-Cardiel       Retention            ACD              67.00%                 16                 14                0                  2                      13                     5                         1                                      87.50%                 0%               12.50%                81.30%                   6.30%                      0%          0:02:24               0:00:09                   2:59:47               0:12:50
   5/12/2023 Melina Beltran          Resolutions          Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Melina Beltran          Resolutions          ACD                                      9                  7                0                  2                       7                     7                                                                77.80%                 0%               22.20%                77.80%                      0%                      0%          0:00:55               0:00:06                   0:32:34               0:04:39
   5/12/2023 Nicole Morris           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Nicole Morris           General              ACD              33.00%                 10                  9                0                  1                       7                     0                         2                                         90%                 0%                  10%                   70%                     20%                      0%          0:00:42               0:00:04                   1:56:25               0:12:56
   5/12/2023 Ali Mohamed             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Ali Mohamed             General              ACD              25.00%                 16                 16                0                                         15                     0                         1                                        100%                 0%                   0%                93.80%                   6.30%                      0%          0:02:52               0:00:10                   3:51:37               0:14:28
   5/12/2023 Triana Camero           General              ACD              40.00%                 15                 15                0                                         12                     0                         3                                        100%                 0%                   0%                   80%                     20%                      0%          0:01:42               0:00:06                   3:38:33               0:14:34
   5/12/2023 David Del Toro          Spanish Queue        ACD                                      3                  3                0                                          2                     3                         1                                        100%                 0%                   0%                66.70%                  33.30%                      0%          0:00:46               0:00:15                   0:47:33               0:15:51
   5/12/2023 David Del Toro          General              ACD              59.00%                 22                 22                0                                         18                     0                         4                                        100%                 0%                   0%                81.80%                  18.20%                      0%          0:04:30               0:00:12                   6:32:26               0:17:50
   5/12/2023 Jess Pena               General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Jess Pena               General              ACD              24.00%                 21                 21                0                                         20                     0                         1                                        100%                 0%                   0%                95.20%                   4.80%                      0%          0:04:33               0:00:13                   4:09:21               0:11:52
   5/12/2023 Lex Avina-Cardiel       General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Lex Avina-Cardiel       General              ACD              24.00%                 20                 16                2                  1                      15                     0                         1                       1                 80%                10%                   5%                   75%                      5%                      5%          0:04:52               0:00:16                   5:00:08               0:17:39
   5/12/2023 Saif Ismail             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Saif Ismail             General              ACD              38.00%                 22                 21                0                  1                      20                     0                         1                                      95.50%                 0%                4.60%                90.90%                   4.60%                      0%          0:03:33               0:00:09                   4:12:57               0:12:02
   5/12/2023 Phoenix Paralegal       Legal                Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Brant Bishop            General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Brant Bishop            General              ACD              19.00%                 29                 26                3                                         25                     0                         1                                      89.70%             10.30%                   0%                86.20%                   3.50%                      0%          0:07:42               0:00:15                   5:23:34               0:12:26
   5/12/2023 Fausto Beleno           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Fausto Beleno           General              ACD              25.00%                 20                 20                0                                         17                     0                         3                                        100%                 0%                   0%                   85%                     15%                      0%          0:01:26               0:00:04                   6:13:26               0:18:40
   5/12/2023 Legal Phoenix           Legal                Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Abe Flores              General              ACD              50.00%                 15                 14                1                                         12                     0                         2                                      93.30%              6.70%                   0%                   80%                  13.30%                      0%          0:00:39               0:00:02                   5:32:50               0:23:46
   5/12/2023 Hanner Angulo           Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Hanner Angulo           Columbia Retention   ACD                                      2                  1                0                                          1                     2                                                 1                 50%                 0%                   0%                   50%                      0%                     50%          0:00:16               0:00:08                   0:23:10               0:11:35

   5/12/2023 Khalil Beshoy           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Khalil Beshoy           General              ACD              40.00%                 10                  9                0                                          8                     0                         1                       1                 90%                 0%                   0%                   80%                     10%                     10%          0:01:04               0:00:06                   2:22:19               0:14:13
   5/12/2023 Jessenia Oseguera       General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Jessenia Oseguera       General              ACD              42.00%                 20                 19                1                                         18                     0                         1                                         95%                 5%                   0%                   90%                      5%                      0%          0:02:57               0:00:08                   4:10:10               0:13:10
   5/12/2023 yuliana mendoza         Spanish Queue        ACD                                      2                  2                0                                          2                     2                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:13               0:00:06                   0:24:28               0:12:14
   5/12/2023 yuliana mendoza         General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 yuliana mendoza         General              ACD              27.00%                 22                 22                0                                         22                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:04               0:00:05                   7:02:37               0:19:12
   5/12/2023 Elio Riano              Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Elio Riano              Retention            ACD              64.00%                 22                 19                3                                         19                     6                                                                86.40%             13.60%                   0%                86.40%                      0%                      0%          0:04:31               0:00:13                   3:48:33               0:12:01
   5/12/2023 Selina Taing            General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Mahmoud Bany-Mohammed   General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Mahmoud Bany-Mohammed   General              ACD              40.00%                  6                  4                1                                          4                     0                                                 1              66.70%             16.70%                   0%                66.70%                      0%                  16.70%          0:01:29               0:00:14                   2:01:32               0:24:18
   5/12/2023 Stephanie Reynoso       General              ACD              15.00%                 13                 13                0                                         12                     0                         1                                        100%                 0%                   0%                92.30%                   7.70%                      0%          0:02:35               0:00:11                   2:44:10               0:12:37
   5/12/2023 Ty Carss                Legal                Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Jarod Vaughan           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
                                                                                                        Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                              Declaration of Brad Lee with Exhs A-G in support of Trustee Page 58 of 189

Date Interval             Name           Queue          Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent        Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                      Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls      In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
   5/12/2023 Jarod Vaughan         General              ACD              36.00%                 23                 22                1                                         21                     0                         1                                      95.70%              4.40%                   0%                91.30%                   4.40%                      0%          0:04:40               0:00:12                   5:10:12               0:14:06
   5/12/2023 George Sanchez        General              ACD              47.00%                 22                 19                3                                         19                     0                                                                86.40%             13.60%                   0%                86.40%                      0%                      0%          0:03:38               0:00:10                   5:32:27               0:17:29
   5/12/2023 Tainis Tapias         General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Tainis Tapias         General              ACD              36.00%                 22                 21                0                                         21                     0                                                 1              95.50%                 0%                   0%                95.50%                      0%                   4.60%          0:02:16               0:00:06                   6:41:51               0:18:15
   5/12/2023 James Hinson          Resolutions          Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Nassir Diab           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Nassir Diab           General              ACD              54.00%                 28                 23                4                                         21                     0                         2                       1              82.10%             14.30%                   0%                   75%                   7.10%                   3.60%          0:09:42               0:00:20                   3:35:06               0:08:57
   5/12/2023 Daisy Meneses         General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Daisy Meneses         General              ACD              47.00%                 19                 19                0                                         18                     0                         1                                        100%                 0%                   0%                94.70%                   5.30%                      0%          0:01:04               0:00:03                   3:46:09               0:11:54
   5/12/2023 Quynh Nguyen          General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Quynh Nguyen          General              ACD              17.00%                  6                  6                0                                          5                     0                         1                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:00:43               0:00:07                   2:15:04               0:22:30
   5/12/2023 Lester Perez          Spanish Queue        ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:03               0:00:03                   0:11:29               0:11:29
   5/12/2023 Lester Perez          General              ACD              39.00%                 32                 31                0                                         29                     1                         2                       1              96.90%                 0%                   0%                90.60%                   6.30%                   3.10%          0:01:59               0:00:03                   6:48:48               0:12:46
   5/12/2023 James Andra           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 James Andra           General              ACD              33.00%                 12                 12                0                                         11                     0                         1                                        100%                 0%                   0%                91.70%                   8.30%                      0%          0:03:29               0:00:17                   3:03:50               0:15:19
   5/12/2023 andre alvarenga       General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 andre alvarenga       General              ACD              18.00%                 14                 11                3                                         11                     0                                                                78.60%             21.40%                   0%                78.60%                      0%                      0%          0:02:12               0:00:11                   3:57:02               0:21:32
   5/12/2023 Karen Saldana-Lopez   General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Karen Saldana-Lopez   General              ACD              39.00%                 29                 22                6                                         20                     0                         2                       1              75.90%             20.70%                   0%                   69%                   6.90%                   3.50%          0:08:55               0:00:19                   4:46:03               0:12:26
   5/12/2023 Nikki Miller          Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Nikki Miller          Retention            ACD              60.00%                 15                 12                2                                         12                     5                                                 1                 80%             13.30%                   0%                   80%                      0%                   6.70%          0:02:20               0:00:09                   4:30:04               0:20:46
   5/12/2023 Abraham Sanchez       Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Abraham Sanchez       Retention            ACD              88.00%                 18                 18                0                                         18                    10                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:04               0:00:06                   4:03:49               0:13:32
   5/12/2023 Kevin Ceballos        General              ACD              29.00%                 27                 24                3                                         22                     0                         2                                      88.90%             11.10%                   0%                81.50%                   7.40%                      0%          0:05:20               0:00:11                   4:51:36               0:12:09
   5/12/2023 Hunter Glass          Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Hunter Glass          Retention            ACD              62.00%                 22                 20                2                                         19                     7                         1                                      90.90%              9.10%                   0%                86.40%                   4.60%                      0%          0:03:33               0:00:10                   3:50:22               0:11:31
   5/12/2023 Ivis Parada           Resolutions          Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Vincent Berube        Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Vincent Berube        Retention            ACD              83.00%                 10                 10                0                                         10                     4                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:25               0:00:08                   2:51:09               0:17:06
   5/12/2023 Daniel Orellana       General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Daniel Orellana       General              ACD              41.00%                 17                 17                0                                         16                     0                         1                                        100%                 0%                   0%                94.10%                   5.90%                      0%          0:02:06               0:00:07                   4:15:15               0:15:00
   5/12/2023 Iman Nejad            General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Iman Nejad            General              ACD              48.00%                 28                 27                1                                         23                     0                         4                                      96.40%              3.60%                   0%                82.10%                  14.30%                      0%          0:02:09               0:00:04                   4:24:17               0:09:47
   5/12/2023 Andrea Albor          Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Golam Khan            General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Golam Khan            General              ACD              57.00%                 16                 14                2                                         12                     0                         2                                      87.50%             12.50%                   0%                   75%                  12.50%                      0%          0:01:34               0:00:06                   3:03:03               0:13:04
   5/12/2023 Kevin Marquez         Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Kevin Marquez         Retention            ACD             100.00%                 11                 10                0                  1                      10                     7                                                                90.90%                 0%                9.10%                90.90%                      0%                      0%          0:02:22               0:00:12                   4:08:00               0:24:48
   5/12/2023 Daniela Serrano       General              ACD              47.00%                 20                 18                1                                         14                     0                         4                       1                 90%                 5%                   0%                   70%                     20%                      5%          0:01:56               0:00:05                   6:58:30               0:22:01
   5/12/2023 Salman Ismail         General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Salman Ismail         General              ACD              39.00%                 19                 18                1                                         17                     0                         1                                      94.70%              5.30%                   0%                89.50%                   5.30%                      0%          0:04:54               0:00:16                   3:45:04               0:12:30
   5/12/2023 Nickolas Mossa        General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Nickolas Mossa        General              ACD              33.00%                 22                 20                1                                         20                     0                                                 1              90.90%              4.60%                   0%                90.90%                      0%                   4.60%          0:03:52               0:00:10                   4:31:50               0:12:56
   5/12/2023 Josey Harvey          General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Josey Harvey          General              ACD              33.00%                 18                 18                0                                         18                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:15               0:00:04                   4:42:36               0:15:42
   5/12/2023 Sabah Ismail          General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Sabah Ismail          General              ACD              44.00%                 16                 16                0                                         14                     0                         2                                        100%                 0%                   0%                87.50%                  12.50%                      0%          0:03:41               0:00:13                   3:52:40               0:14:32
   5/12/2023 justin andra          General              ACD              18.00%                 23                 22                1                                         21                     0                         1                                      95.70%              4.40%                   0%                91.30%                   4.40%                      0%          0:01:57               0:00:05                   4:07:27               0:11:14
   5/12/2023 Brandon DeLaura       General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Brandon DeLaura       General              ACD              30.00%                 20                 19                0                                         19                     0                                                 1                 95%                 0%                   0%                   95%                      0%                      5%          0:03:23               0:00:10                   4:33:15               0:13:39
   5/12/2023 Kian Narani           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Kian Narani           General              ACD              38.00%                 27                 26                1                                         24                     0                         2                                      96.30%              3.70%                   0%                88.90%                   7.40%                      0%          0:02:16               0:00:05                   6:43:53               0:15:32
   5/12/2023 Sebastian Vasquez     General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Sebastian Vasquez     General              ACD                   0                  5                  5                0                                          5                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:30               0:00:06                   0:43:54               0:08:46
   5/12/2023 Jasmin Amezcua        General              ACD              50.00%                 12                 12                0                                         11                     0                         1                                        100%                 0%                   0%                91.70%                   8.30%                      0%          0:02:24               0:00:12                   2:36:05               0:13:00
   5/12/2023 Carmen Marza          General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Carmen Marza          General              ACD              27.00%                 26                 26                0                                         22                     0                         4                                        100%                 0%                   0%                84.60%                  15.40%                      0%          0:02:34               0:00:05                   4:35:19               0:10:35
   5/12/2023 Jennifer Andra        General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Jennifer Andra        General              ACD              22.00%                  9                  9                0                                          9                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:42               0:00:11                   2:37:04               0:17:27
   5/12/2023 Connor Huskisson      General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Connor Huskisson      General              ACD              56.00%                 29                 27                2                                         27                     0                                                                93.10%              6.90%                   0%                93.10%                      0%                      0%          0:04:44               0:00:10                   4:54:11               0:10:53
   5/12/2023 Reham Zin             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Reham Zin             General              ACD              29.00%                 26                 24                2                                         23                     0                         1                                      92.30%              7.70%                   0%                88.50%                   3.90%                      0%          0:03:12               0:00:07                   3:42:52               0:09:17
   5/12/2023 Tony Sanchez          General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Tony Sanchez          General              ACD              33.00%                 26                 24                2                                         21                     0                         3                                      92.30%              7.70%                   0%                80.80%                  11.50%                      0%          0:03:08               0:00:07                   5:22:34               0:13:26
   5/12/2023 Samuel Pierce         General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/12/2023 Samuel Pierce         General              ACD              31.00%                 20                 16                3                  1                      16                     0                                                                   80%                15%                   5%                   80%                      0%                      0%          0:02:14               0:00:07                   3:01:05               0:11:19
   5/15/2023 Mike Larkin           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Mike Larkin           General              ACD              16.00%                 19                 19                0                                         19                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:11               0:00:06                   3:24:05               0:10:44
   5/15/2023 Yesica Sierra         Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Yesica Sierra         Columbia Retention   ACD                    0                10                  1                8                  1                       1                     0                                                                   10%                80%                  10%                   10%                      0%                      0%          0:03:30               0:00:26                   0:05:56               0:05:56

   5/15/2023 Sufyaan Lakhani       General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Sufyaan Lakhani       General              ACD              12.00%                 34                 34                0                                         31                     0                         3                                        100%                 0%                   0%                91.20%                   8.80%                      0%          0:02:51               0:00:05                   6:52:53               0:12:08
   5/15/2023 Erica Kline           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Erica Kline           General              ACD                    0                17                 17                0                                         16                     0                         1                                        100%                 0%                   0%                94.10%                   5.90%                      0%          0:01:18               0:00:04                   4:27:37               0:15:44
   5/15/2023 Josue Alvarez         General              ACD                    0                20                 20                0                                         18                     0                         2                                        100%                 0%                   0%                   90%                     10%                      0%          0:03:01               0:00:09                   5:10:04               0:15:30
   5/15/2023 Jas Sanchez           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Jas Sanchez           General              ACD              13.00%                 16                 15                1                                         13                     0                         2                                      93.80%              6.30%                   0%                81.30%                  12.50%                      0%          0:02:42               0:00:10                   3:17:07               0:13:08
   5/15/2023 Humza Shariff         General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Humza Shariff         General              ACD               4.00%                 27                 27                0                                         25                     0                         2                                        100%                 0%                   0%                92.60%                   7.40%                      0%          0:02:32               0:00:05                   5:51:49               0:13:01
   5/15/2023 Ronald Apodaca        General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Ronald Apodaca        General              ACD              14.00%                 21                 21                0                                         18                     0                         3                                        100%                 0%                   0%                85.70%                  14.30%                      0%          0:01:28               0:00:04                   5:13:23               0:14:55
   5/15/2023 Anjeanette Chek       General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Anjeanette Chek       General              ACD              15.00%                 13                 13                0                                         12                     0                         1                                        100%                 0%                   0%                92.30%                   7.70%                      0%          0:00:55               0:00:04                   3:25:35               0:15:48
   5/15/2023 Christian Sangalang   General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Christian Sangalang   General              ACD               6.00%                 18                 18                0                                         16                     0                         2                                        100%                 0%                   0%                88.90%                  11.10%                      0%          0:02:34               0:00:08                   3:31:55               0:11:46
   5/15/2023 Jolie R               (No Queue Used)      Non-ACD                                  2                  1                0                  1                       1                     0                                                                   50%                 0%                  50%                   50%                      0%                      0%          0:00:05               0:00:02                   0:00:08               0:00:08
   5/15/2023 Manny Alatorre        General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Manny Alatorre        General              ACD               4.00%                 28                 28                0                                         25                     0                         3                                        100%                 0%                   0%                89.30%                  10.70%                      0%          0:06:51               0:00:14                   6:15:23               0:13:24
                                                                                                          Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                Declaration of Brad Lee with Exhs A-G in support of Trustee Page 59 of 189

Date Interval            Name               Queue         Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent        Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                                        Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls      In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
   5/15/2023 Cindy Vazquez           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Cindy Vazquez           General              ACD               4.00%                 25                 24                1                                         23                     0                         1                                         96%                 4%                   0%                   92%                      4%                      0%          0:04:06               0:00:10                   6:37:01               0:16:32
   5/15/2023 bonnie romero           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 bonnie romero           General              ACD                    0                37                 36                1                                         31                     0                         5                                      97.30%              2.70%                   0%                83.80%                  13.50%                      0%          0:02:39               0:00:04                   5:24:24               0:09:00
   5/15/2023 Isa Avina-Cardiel       Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Isa Avina-Cardiel       Retention            ACD              25.00%                 14                 14                0                                         14                    10                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:02:28               0:00:10                   2:47:26               0:11:57
   5/15/2023 Ali Mohamed             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Ali Mohamed             General              ACD              11.00%                 22                 18                4                                         14                     0                         4                                      81.80%             18.20%                   0%                63.60%                  18.20%                      0%          0:03:54               0:00:11                   5:13:39               0:17:25
   5/15/2023 Triana Camero           General              ACD              15.00%                 33                 33                0                                         32                     0                         1                                        100%                 0%                   0%                   97%                      3%                      0%          0:02:56               0:00:05                   8:32:30               0:15:31
   5/15/2023 David Del Toro          General              ACD              21.00%                 30                 29                1                                         27                     0                         2                                      96.70%              3.30%                   0%                   90%                   6.70%                      0%          0:04:27               0:00:08                   8:03:12               0:16:39
   5/15/2023 Jess Pena               General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Jess Pena               General              ACD                    0                13                 13                0                                         11                     0                         2                                        100%                 0%                   0%                84.60%                  15.40%                      0%          0:02:50               0:00:13                   2:55:18               0:13:29
   5/15/2023 Lex Avina-Cardiel       General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Lex Avina-Cardiel       General              ACD                    0                33                 26                4                  1                      23                     0                         3                       2              78.80%             12.10%                   3%                69.70%                   9.10%                   6.10%          0:08:22               0:00:16                   6:16:31               0:13:26
   5/15/2023 Saif Ismail             Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Saif Ismail             Retention            ACD             100.00%                  1                  1                0                                          1                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:09               0:00:09                   0:13:55               0:13:55
   5/15/2023 Saif Ismail             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Saif Ismail             General              ACD                    0                 2                  2                0                                          2                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:31               0:00:15                   0:20:28               0:10:14
   5/15/2023 Phoenix Paralegal       Legal                Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Brant Bishop            General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Brant Bishop            General              ACD               7.00%                 34                 28                6                                         27                     0                         1                                      82.40%             17.70%                   0%                79.40%                   2.90%                      0%          0:08:55               0:00:16                   5:57:58               0:12:47
   5/15/2023 Fausto Beleno           Spanish Queue        ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:04               0:00:04                   0:16:09               0:16:09
   5/15/2023 Fausto Beleno           General              ACD              19.00%                 31                 31                0                                         27                     0                         4                                        100%                 0%                   0%                87.10%                  12.90%                      0%          0:02:43               0:00:05                   7:57:43               0:15:24
   5/15/2023 Legal Phoenix           Legal                Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Abe Flores              General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Abe Flores              General              ACD               7.00%                 14                 13                0                                         10                     0                         3                       1              92.90%                 0%                   0%                71.40%                  21.40%                   7.10%          0:00:40               0:00:02                   5:38:42               0:24:11
   5/15/2023 Hanner Angulo           Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Hanner Angulo           Columbia Retention   ACD                    0                 4                  1                3                                                                0                         1                                         25%                75%                   0%                    0%                     25%                      0%          0:01:11               0:00:23                   0:05:18               0:05:18

   5/15/2023 Khalil Beshoy           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Khalil Beshoy           General              ACD              13.00%                 16                 15                0                                         14                     0                         1                       1              93.80%                 0%                   0%                87.50%                   6.30%                   6.30%          0:01:35               0:00:05                   4:30:17               0:16:53
   5/15/2023 Jessenia Oseguera       General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Jessenia Oseguera       General              ACD               9.00%                 11                 11                0                                         10                     0                         1                                        100%                 0%                   0%                90.90%                   9.10%                      0%          0:01:27               0:00:07                   1:53:13               0:10:17
   5/15/2023 yuliana mendoza         Spanish Queue        ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:08               0:00:08                   0:22:28               0:22:28
   5/15/2023 yuliana mendoza         General              ACD              16.00%                 31                 31                0                                         30                     0                         1                                        100%                 0%                   0%                96.80%                   3.20%                      0%          0:02:32               0:00:04                   7:25:26               0:14:22
   5/15/2023 Elio Riano              Retention            ACD              64.00%                 19                 16                2                  1                      16                     7                                                                84.20%             10.50%                5.30%                84.20%                      0%                      0%          0:03:52               0:00:12                   4:39:25               0:17:27
   5/15/2023 Selina Taing            General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Victoria Dang           Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Victoria Dang           Retention            ACD              71.00%                 16                 15                1                                         15                     8                                                                93.80%              6.30%                   0%                93.80%                      0%                      0%          0:03:36               0:00:13                   4:29:21               0:17:57
   5/15/2023 Ralph Breneville        General              ACD               5.00%                 22                 19                0                  1                      14                     0                         5                       2              86.40%                 0%                4.60%                63.60%                  22.70%                   9.10%          0:01:42               0:00:04                   6:33:23               0:18:43
   5/15/2023 Christopher Cole        General              ACD              31.00%                 17                 16                0                  1                      16                     0                                                                94.10%                 0%                5.90%                94.10%                      0%                      0%          0:01:59               0:00:07                   5:36:40               0:21:02
   5/15/2023 Mahmoud Bany-Mohammed   General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Mahmoud Bany-Mohammed   General              ACD                    0                 7                  7                0                                          7                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:16               0:00:10                   4:02:26               0:34:38
   5/15/2023 Ty Carss                Legal                Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Jarod Vaughan           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Jarod Vaughan           General              ACD              13.00%                 16                 16                0                                         13                     0                         3                                        100%                 0%                   0%                81.30%                  18.80%                      0%          0:03:15               0:00:12                   4:18:27               0:16:09
   5/15/2023 George Sanchez          General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 George Sanchez          General              ACD               4.00%                 24                 24                0                                         19                     0                         5                                        100%                 0%                   0%                79.20%                  20.80%                      0%          0:04:29               0:00:11                   5:35:50               0:13:59
   5/15/2023 Nassir Diab             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Nassir Diab             General              ACD              11.00%                 37                 26               10                                         25                     0                         1                       1              70.30%                27%                   0%                67.60%                   2.70%                   2.70%          0:10:13               0:00:18                   3:51:14               0:08:53
   5/15/2023 Daisy Meneses           General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Daisy Meneses           General              ACD               5.00%                 22                 22                0                                         20                     0                         2                                        100%                 0%                   0%                90.90%                   9.10%                      0%          0:01:06               0:00:03                   4:24:56               0:12:02
   5/15/2023 Quynh Nguyen            General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Quynh Nguyen            General              ACD              19.00%                 17                 15                1                                         14                     0                         1                       1              88.20%              5.90%                   0%                82.40%                   5.90%                   5.90%          0:02:18               0:00:08                   3:06:17               0:11:38
   5/15/2023 Hanya Zargaran          General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Hanya Zargaran          General              ACD               9.00%                 23                 23                0                                         19                     0                         4                                        100%                 0%                   0%                82.60%                  17.40%                      0%          0:04:12               0:00:10                   4:56:06               0:12:52
   5/15/2023 Lester Perez            General              ACD              18.00%                 42                 39                3                                         37                     0                         2                                      92.90%              7.10%                   0%                88.10%                   4.80%                      0%          0:04:06               0:00:05                   8:21:37               0:12:51
   5/15/2023 James Andra             General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 James Andra             General              ACD                    0                11                 11                0                                         10                     0                         1                                        100%                 0%                   0%                90.90%                   9.10%                      0%          0:02:32               0:00:13                   3:14:42               0:17:42
   5/15/2023 Karen Saldana-Lopez     General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Karen Saldana-Lopez     General              ACD              11.00%                 21                 19                2                                         18                     0                         1                                      90.50%              9.50%                   0%                85.70%                   4.80%                      0%          0:05:44               0:00:17                   5:16:05               0:16:38
   5/15/2023 Nikki Miller            Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Nikki Miller            Retention            ACD              60.00%                 12                 10                1                                         10                     7                                                 1              83.30%              8.30%                   0%                83.30%                      0%                   8.30%          0:02:13               0:00:11                   4:39:58               0:25:27
   5/15/2023 Abraham Sanchez         Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Abraham Sanchez         Retention            ACD              80.00%                 15                 14                0                                         14                    10                                                 1              93.30%                 0%                   0%                93.30%                      0%                   6.70%          0:01:56               0:00:07                   4:54:14               0:19:36
   5/15/2023 Kevin Ceballos          General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Kevin Ceballos          General              ACD               6.00%                 18                 17                1                                         14                     0                         3                                      94.40%              5.60%                   0%                77.80%                  16.70%                      0%          0:03:35               0:00:11                   4:05:42               0:14:27
   5/15/2023 Hunter Glass            Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Hunter Glass            Retention            ACD              36.00%                 29                 22                6                  1                      21                    11                         1                                      75.90%             20.70%                3.50%                72.40%                   3.50%                      0%          0:05:24               0:00:12                   4:05:18               0:11:40
   5/15/2023 Ivis Parada             Resolutions          Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Ivis Parada             Resolutions          ACD                                      5                  4                0                                          3                     5                         1                       1                 80%                 0%                   0%                   60%                     20%                     20%          0:00:52               0:00:10                   2:01:47               0:24:21
   5/15/2023 Vincent Berube          Retention            ACD              67.00%                 16                 15                0                  1                      15                     9                                                                93.80%                 0%                6.30%                93.80%                      0%                      0%          0:01:24               0:00:05                   4:12:51               0:16:51
   5/15/2023 Daniel Orellana         General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Daniel Orellana         General              ACD              17.00%                 12                 12                0                                         10                     0                         2                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:01:30               0:00:07                   2:24:21               0:12:01
   5/15/2023 Iman Nejad              General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Iman Nejad              General              ACD              10.00%                 30                 30                0                                         28                     0                         2                                        100%                 0%                   0%                93.30%                   6.70%                      0%          0:02:46               0:00:05                   4:36:14               0:09:12
   5/15/2023 Andrea Albor            Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Andrea Albor            Columbia Retention   ACD                                      2                  0                2                                                                0                                                                    0%               100%                   0%                    0%                      0%                      0%          0:01:00               0:00:30                   0:00:00               0:00:00

   5/15/2023 Golam Khan              General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Golam Khan              General              ACD              10.00%                 10                 10                0                                         10                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:57               0:00:05                   3:30:04               0:21:00
   5/15/2023 Kevin Marquez           Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Kevin Marquez           Retention            ACD              55.00%                 20                 14                5                  1                      14                     3                                                                   70%                25%                   5%                   70%                      0%                      0%          0:05:59               0:00:17                   4:25:41               0:18:58
   5/15/2023 Daniela Serrano         General              ACD              20.00%                 26                 23                1                                         19                     0                         4                       2              88.50%              3.90%                   0%                73.10%                  15.40%                   7.70%          0:01:20               0:00:03                   7:46:20               0:18:39
   5/15/2023 Josey Harvey            General              Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Josey Harvey            General              ACD                    0                26                 26                0                                         26                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:12               0:00:02                   5:40:41               0:13:06
   5/15/2023 Sophia Goins            Resolutions          Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Sophia Goins            Resolutions          ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:05               0:00:05                   0:17:12               0:17:12
   5/15/2023 Sophia Goins            Retention            Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Sophia Goins            Retention            ACD                                      1                  1                0                                          1                     1                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:00:03               0:00:03                   0:07:18               0:07:18
                                                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 60 of 189

Date Interval            Name          Queue   Distribution Service Level Inbound Offered   Inbound Answered   Inbound Missed   Inbound Declined      Inbound Agent        Inbound Transferred   Inbound Transferred       Inbound Hold Abandoned % Inbound Answered   % Inbound Missed   % Inbound Declined   % Inbound Completed   % Inbound Transferred      % Inbound Hold       Inbound Voice    Inbound Voice Avg.    Inbound Voice Handling    Inbound Voice Avg.
                                                                             Voice Calls        Voice Calls       Voice Calls      Voice Calls     Completed Voice Calls      In Voice Calls        Out Voice Calls              Voice Calls           Voice Calls         Voice Calls        Voice Calls           Voice Calls          Out Voice Calls     Abandoned Voice Calls    Ring Duration      Ring Duration            Duration             Handling Duration
   5/15/2023 Sabah Ismail        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Sabah Ismail        General       ACD                    0                15                 15                0                                         14                     0                         1                                        100%                 0%                   0%                93.30%                   6.70%                      0%          0:03:57               0:00:15                   3:57:34               0:15:50
   5/15/2023 Brandon DeLaura     General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Brandon DeLaura     General       ACD                    0                19                 18                0                  1                      16                     0                         2                                      94.70%                 0%                5.30%                84.20%                  10.50%                      0%          0:03:27               0:00:10                   4:00:44               0:13:22
   5/15/2023 Kian Narani         General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Kian Narani         General       ACD              11.00%                 18                 18                0                                         15                     0                         3                                        100%                 0%                   0%                83.30%                  16.70%                      0%          0:01:36               0:00:05                   2:52:47               0:09:35
   5/15/2023 Sebastian Vasquez   General       ACD              26.00%                 27                 26                0                                         23                     0                         3                       1              96.30%                 0%                   0%                85.20%                  11.10%                   3.70%          0:02:50               0:00:06                   5:49:37               0:12:56
   5/15/2023 Jasmin Amezcua      General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Jasmin Amezcua      General       ACD               8.00%                 26                 26                0                                         25                     0                         1                                        100%                 0%                   0%                96.20%                   3.90%                      0%          0:04:40               0:00:10                   6:11:04               0:14:16
   5/15/2023 Karen O'Connell     General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Karen O'Connell     General       ACD              13.00%                 26                 24                2                                         21                     0                         3                                      92.30%              7.70%                   0%                80.80%                  11.50%                      0%          0:06:32               0:00:16                   5:05:53               0:12:44
   5/15/2023 Carmen Marza        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Carmen Marza        General       ACD               4.00%                 26                 24                1                                         23                     0                         1                       1              92.30%              3.90%                   0%                88.50%                   3.90%                   3.90%          0:02:23               0:00:05                   4:29:21               0:10:46
   5/15/2023 Jennifer Andra      General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Jennifer Andra      General       ACD              11.00%                  9                  9                0                                          9                     0                                                                  100%                 0%                   0%                  100%                      0%                      0%          0:01:35               0:00:10                   2:37:32               0:17:30
   5/15/2023 Connor Huskisson    General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Connor Huskisson    General       ACD               8.00%                 26                 24                2                                         17                     0                         7                                      92.30%              7.70%                   0%                65.40%                  26.90%                      0%          0:05:23               0:00:12                   4:38:10               0:11:35
   5/15/2023 Reham Zin           General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Reham Zin           General       ACD                                      1                  0                1                                                                0                                                                    0%               100%                   0%                    0%                      0%                      0%          0:00:30               0:00:30                   0:00:00               0:00:00
   5/15/2023 Tony Sanchez        General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Tony Sanchez        General       ACD               5.00%                 20                 20                0                                         19                     0                         1                                        100%                 0%                   0%                   95%                      5%                      0%          0:01:33               0:00:04                   5:59:09               0:17:57
   5/15/2023 Samuel Pierce       General       Non-ACD                                  0                                                                              0                     0                         0                                                                                                                                                                    0:00:00               0:00:00                   0:00:00               0:00:00
   5/15/2023 Samuel Pierce       General       ACD              13.00%                 18                 15                3                                         14                     0                         1                                      83.30%             16.70%                   0%                77.80%                   5.60%                      0%          0:02:30               0:00:08                   2:53:56               0:11:35
                                                                                                              Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                    Declaration of Brad Lee with Exhs A-G in support of Trustee Page 61 of 189

                Name    Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                       Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Sulaiman Khan                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                    30                2              0:00:14             0:28:40                0:00:53            0:28:40                0:00:53           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1               31                3              0:00:13             0:37:14                0:01:03            0:37:14                0:01:03           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6               16                1              0:00:19             0:22:08                0:01:00            0:22:08                0:01:00           0:00:24              0:00:24             0:00:00                0:00:00
Sulaiman Khan                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   12               31                3              0:00:17             0:31:02                0:00:40            0:31:02                0:00:40           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4                8                1              0:00:21             0:09:55                0:00:45            0:09:55                0:00:45           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     5                               0:00:00             0:03:02                0:00:36            0:03:02                0:00:36           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                               0:00:21             0:02:10                0:01:05            0:02:10                0:01:05           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3               14                2              0:00:21             0:30:37                0:01:36            0:30:37                0:01:36           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   2:18:01               0:07:40          0:12:53               0:01:36             1:26:32              0:04:33                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   1:36:56               0:08:48          0:02:47               0:00:55             0:48:06              0:04:48                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   1:16:40               0:05:53          0:07:08               0:01:47             0:55:11              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   1:00:31               0:12:06          0:10:33               0:02:38             0:15:54              0:03:58                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   1:29:19               0:06:52          0:04:49               0:00:57             0:56:16              0:04:19                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   3:00:26               0:07:13          0:17:46               0:01:28             1:57:04              0:04:52                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   1:54:57               0:08:50          0:09:34               0:01:22             1:02:40              0:04:49                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                   1:52:52               0:08:03          0:09:53               0:01:14             1:02:20              0:04:47                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     0:15:14               0:15:14          0:00:00               0:00:00             2:02:10              2:02:10                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Mike Larkin                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               15               22                5              0:00:22             0:48:08                0:01:08            0:48:08                0:01:08           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                9               17                4              0:00:15             1:06:53                0:02:13            1:06:53                0:02:13           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                5                5              0:00:13             1:12:01                0:05:08            1:12:01                0:05:08           0:01:13              0:01:13             0:00:00                0:00:00
Mike Larkin                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               12               26                7              0:00:16             1:18:00                0:01:44            1:18:00                0:01:44           0:02:50              0:02:50             0:00:00                0:00:00
Mike Larkin                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5                8                4              0:00:16             0:45:01                0:02:38            0:45:01                0:02:38           0:01:45              0:01:45             0:00:00                0:00:00
Mike Larkin                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               34                6              0:00:13             0:56:06                0:01:18            0:56:06                0:01:18           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1               11                5              0:00:14             1:10:50                0:04:10            1:10:50                0:04:10           0:03:12              0:03:12             0:00:00                0:00:00
Mike Larkin                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                3                3              0:00:13             0:35:22                0:05:03            0:35:22                0:05:03           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     2:10:33               0:07:40          0:07:17               0:02:25             1:20:12              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     1:23:39               0:09:17          0:03:57               0:01:58             0:45:10              0:05:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     1:42:49               0:12:51          0:08:08               0:02:42             0:40:08              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     1:24:33               0:07:41          0:01:13               0:01:13             0:55:12              0:05:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     2:58:33               0:07:26          0:02:39               0:00:53             1:49:22              0:04:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     2:54:50               0:13:26          0:03:23               0:01:41             1:05:12              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     2:52:36               0:07:50          0:12:08               0:02:01             1:43:49              0:04:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                     4:12:11               0:25:13          0:02:16               0:00:45             0:50:08              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sarika Mande                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                1              0:00:07             0:25:05                0:08:21            0:25:05                0:08:21           0:04:02              0:04:02             0:00:00                0:00:00
Sarika Mande                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                3              0:00:08             0:45:42                0:09:08            0:36:33                0:07:18           0:02:05              0:02:05             0:09:09                0:02:17
Sarika Mande                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                2                1              0:00:06             0:19:02                0:04:45            0:16:01                0:04:00           0:00:00              0:00:00             0:03:01                0:03:01
Sarika Mande                    3:11:23               0:11:15          0:23:09               0:02:06             0:45:48              0:02:41                                                                   8                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sarika Mande                    2:45:52               0:11:03          0:14:46               0:01:38            16:21:37              1:05:26                                                                   6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sarika Mande                    1:06:50               0:08:21          0:05:21               0:02:40             0:18:18              0:02:36                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   0:02:05               0:02:05          0:00:00               0:00:00             0:04:06              0:04:06                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Yesica Sierra                   0:11:55               0:11:55          0:00:00               0:00:00             0:03:00              0:03:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   0:45:35               0:15:11          0:02:57               0:01:28             0:09:03              0:03:01                                                                   3                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   0:31:55               0:15:57          0:00:35               0:00:35             0:06:01              0:03:00                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4               32                9              0:00:17             1:14:18                0:01:39            1:14:18                0:01:39           0:00:16              0:00:16             0:00:00                0:00:00
Yesica Sierra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1               14                3              0:00:13             0:38:30                0:02:08            0:38:30                0:02:08           0:00:30              0:00:30             0:00:00                0:00:00
Yesica Sierra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               57                6              0:00:14             1:10:26                0:01:01            1:10:26                0:01:01           0:00:12              0:00:12             0:00:00                0:00:00
Yesica Sierra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:30             0:00:44                0:00:44            0:00:44                0:00:44           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 5                1              0:00:18             0:10:35                0:01:45            0:10:35                0:01:45           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   5:18:54               0:15:11          0:30:25               0:01:41             1:35:17              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   5:17:45               0:15:07          0:21:22               0:01:11             1:40:19              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   4:23:17               0:13:09          0:37:04               0:01:57             1:35:18              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   4:33:43               0:13:41          0:31:41               0:01:40             1:40:17              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   3:55:40               0:08:07          0:10:49               0:00:59             2:25:29              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   2:56:40               0:11:46          0:09:54               0:01:14             1:15:15              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                   0:37:39               0:07:31          0:01:15               0:00:18             0:00:00              0:00:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Yesica Sierra                   0:07:10               0:07:10          0:00:36               0:00:36             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Sufyaan Lakhani                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               14               38                3              0:00:19             0:34:28                0:00:37            0:34:28                0:00:37           0:00:32              0:00:32             0:00:00                0:00:00
Sufyaan Lakhani                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               23               61                4              0:00:17             0:54:07                0:00:36            0:54:07                0:00:36           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               25               49                9              0:00:15             1:50:50                0:01:20            1:50:50                0:01:20           0:00:28              0:00:28             0:00:00                0:00:00
Sufyaan Lakhani                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                               0:00:31             0:01:22                0:00:20            0:01:22                0:00:20           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:02             0:01:29                0:01:29            0:01:29                0:01:29           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               10                5              0:00:16             0:34:32                0:02:01            0:34:32                0:02:01           0:00:07              0:00:07             0:00:00                0:00:00
Sufyaan Lakhani                 2:10:29               0:06:52          0:14:29               0:01:36             0:44:21              0:02:20                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                 1:05:50               0:05:59          0:09:36               0:01:55             0:39:05              0:03:33                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                 1:14:52               0:06:48          0:05:25               0:01:48             0:37:57              0:03:27                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                 4:07:43               0:07:17          0:23:10               0:01:39             2:11:01              0:03:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                 4:33:58               0:07:49          0:18:11               0:01:39             2:15:00              0:03:51                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                 3:49:20               0:07:10          0:12:43               0:01:24             1:51:28              0:03:35                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:01             0:01:19                0:01:19            0:01:19                0:01:19           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:01             0:01:01                0:01:01            0:01:01                0:01:01           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:03             0:02:36                0:02:36            0:02:36                0:02:36           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:00             0:00:39                0:00:39            0:00:39                0:00:39           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                1              0:00:09             0:07:43                0:02:34            0:07:43                0:02:34           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                2              0:00:04             0:21:26                0:05:21            0:21:26                0:05:21           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 3                               0:00:16             0:01:30                0:00:30            0:01:30                0:00:30           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     2:46:09               0:07:54          0:28:03               0:02:48             1:22:14              0:04:19                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     2:09:55               0:05:54          0:12:08               0:01:44             1:50:08              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     2:59:48               0:07:49          0:09:39               0:01:12             1:39:36              0:04:31                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     3:31:04               0:09:10          0:05:29               0:01:22             1:49:53              0:04:46                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     3:06:50               0:06:40          0:09:09               0:00:54             2:00:42              0:04:49                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     3:02:16               0:09:06          0:02:52               0:00:28             1:40:17              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     3:18:19               0:09:26          0:00:00               0:00:00             1:36:00              0:04:34                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     3:05:59               0:08:27          0:04:43               0:00:40             1:37:22              0:04:52                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                     3:36:46               0:07:28          0:18:05               0:02:00             2:17:23              0:04:54                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sarah Ross                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               15                3              0:00:12             0:35:12                0:01:28            0:35:12                0:01:28           0:00:11              0:00:11             0:00:00                0:00:00
                                                                                                           Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                 Declaration of Brad Lee with Exhs A-G in support of Trustee Page 62 of 189

             Name    Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                    Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Sarah Ross                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6                9                2              0:00:15             0:36:14                0:02:15            0:36:14                0:02:15           0:00:00              0:00:00             0:00:00                0:00:00
Sarah Ross                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                               0:00:21             0:00:45                0:00:45            0:00:45                0:00:45           0:00:00              0:00:00             0:00:00                0:00:00
Sarah Ross                   2:27:19               0:07:45          0:05:50               0:00:58             1:30:16              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sarah Ross                   2:32:34               0:08:28          0:07:46               0:01:33             1:11:54              0:04:13                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     3                1              0:00:14             0:09:46                0:02:26            0:09:46                0:02:26           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     3                5              0:00:10             0:48:46                0:06:05            0:48:46                0:06:05           0:01:26              0:01:26             0:00:00                0:00:00
Josue Alvarez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                4                1              0:00:08             0:11:57                0:01:59            0:11:57                0:01:59           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                2              0:00:08             0:45:01                0:15:00            0:45:01                0:15:00           0:01:50              0:01:50             0:00:00                0:00:00
Josue Alvarez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                               0:00:00             0:00:19                0:00:09            0:00:19                0:00:09           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                               0:00:13             0:00:50                0:00:50            0:00:50                0:00:50           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                 1              0:00:22             0:08:48                0:04:24            0:08:48                0:04:24           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     4                1              0:00:19             0:15:37                0:03:07            0:15:37                0:03:07           0:02:51              0:02:51             0:00:00                0:00:00
Josue Alvarez                3:19:25               0:13:17          0:34:38               0:03:50             0:35:06              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                1:56:33               0:10:35          0:30:08               0:03:00             0:45:08              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                2:31:15               0:11:38          0:18:14               0:02:01             0:45:09              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                3:07:07               0:13:21          0:49:30               0:04:07             0:50:10              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                3:20:18               0:13:21          0:13:46               0:02:45             1:15:14              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                3:40:14               0:15:43          0:25:10               0:02:47             1:05:13              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                3:27:07               0:11:30          0:34:11               0:03:25             1:15:15              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                3:27:10               0:12:11          0:44:56               0:03:44             1:05:13              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    7               15                               0:00:19             0:09:01                0:00:24            0:09:01                0:00:24           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    5               14                1              0:00:18             0:10:56                0:00:32            0:10:56                0:00:32           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                9                3              0:00:08             0:30:08                0:02:00            0:30:08                0:02:00           0:00:42              0:00:42             0:00:00                0:00:00
Jas Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                8                1              0:00:11             1:21:32                0:08:09            1:21:32                0:08:09           0:05:11              0:05:11             0:00:00                0:00:00
Jas Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4                3                               0:00:12             0:02:54                0:00:24            0:02:54                0:00:24           0:00:11              0:00:11             0:00:00                0:00:00
Jas Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                7                               0:00:24             0:03:43                0:00:22            0:03:43                0:00:22           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                3                1              0:00:22             0:22:59                0:04:35            0:22:59                0:04:35           0:05:05              0:05:05             0:00:00                0:00:00
Jas Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                                0:00:30             0:00:04                0:00:04            0:00:04                0:00:04           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                8                4              0:00:17             0:23:02                0:01:38            0:23:02                0:01:38           0:01:03              0:01:03             0:00:00                0:00:00
Jas Sanchez                  1:43:09               0:06:52          0:12:56               0:01:37             2:28:32              0:10:36                                                               2                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  2:00:47               0:09:17          0:16:49               0:01:40             1:20:44              0:07:20                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  1:36:51               0:10:45          0:07:25               0:01:51             0:42:11              0:04:41                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  1:53:19               0:09:26          0:21:06               0:04:13             0:55:20              0:04:36                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  3:22:02               0:08:04          0:18:14               0:02:01             1:30:37              0:04:07                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  2:27:08               0:12:15          0:27:46               0:04:37             1:00:12              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  2:48:35               0:07:39          0:11:43               0:01:40             1:49:01              0:04:57                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  3:28:35               0:09:04          0:31:48               0:02:26             1:35:56              0:04:34                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                  1:41:21               0:08:26          0:24:36               0:03:30             0:55:44              0:04:38                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Humza Shariff                0:00:32               0:00:32          0:00:00               0:00:00             0:35:01              0:35:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Humza Shariff                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               18                4              0:00:14             0:44:45                0:01:47            0:44:45                0:01:47           0:01:25              0:01:25             0:00:00                0:00:00
Humza Shariff                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                7                2              0:00:15             0:17:55                0:01:37            0:17:55                0:01:37           0:00:00              0:00:00             0:00:00                0:00:00
Humza Shariff                1:16:46               0:08:31          0:07:39               0:01:31             0:40:08              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Humza Shariff                2:36:00               0:07:25          0:12:26               0:01:33             1:30:08              0:04:44                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 3                2              0:00:14             0:16:20                0:03:16            0:16:10                0:03:14           0:00:48              0:00:48             0:00:10                0:00:10
Anthony Base                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  6              0:00:08             0:47:34                0:07:55            0:44:33                0:07:25           0:02:29              0:02:29             0:03:01                0:03:01
Anthony Base                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                9                2              0:00:16             0:28:40                0:02:23            0:28:40                0:02:23           0:05:40              0:05:40             0:00:00                0:00:00
Anthony Base                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                2              0:00:11             0:17:55                0:02:59            0:17:55                0:02:59           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                               0:00:04             0:01:59                0:00:29            0:01:59                0:00:29           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  2              0:00:04             0:21:22                0:10:41            0:18:21                0:09:10           0:01:38              0:01:38             0:03:01                0:03:01
Anthony Base                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                1              0:00:14             0:09:28                0:01:53            0:09:28                0:01:53           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 9                1              0:00:09             0:17:40                0:01:46            0:17:40                0:01:46           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                1              0:00:11             0:08:13                0:01:22            0:08:13                0:01:22           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 1:32:42               0:15:27          0:04:34               0:02:17             0:17:05              0:02:50                                                                   4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:30:48               0:04:24          0:03:06               0:01:33             0:18:31              0:02:38                                                                   3                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:36:25               0:07:17          0:04:04               0:02:02             0:07:20              0:01:13                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:45:07               0:07:31          0:02:56               0:01:28             0:15:10              0:02:31                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 3:24:31               0:11:21          0:25:09               0:02:30             0:36:41              0:02:09                                                                   8                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 1:57:16               0:08:22          0:17:26               0:02:10             0:25:23              0:02:18                                                                   6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:52:37               0:17:32          0:07:28               0:02:29             0:06:38              0:02:12                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                 0:48:42               0:08:07          0:03:36               0:00:54             0:14:01              0:02:20                                                                   4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karla Bravo                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                 1              0:00:13             0:08:45                0:04:22            0:08:45                0:04:22           0:00:00              0:00:00             0:00:00                0:00:00
Karla Bravo                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                2              0:00:09             0:20:22                0:06:47            0:20:22                0:06:47           0:04:44              0:04:44             0:00:00                0:00:00
Karla Bravo                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                 2              0:00:09             0:32:18                0:10:46            0:32:18                0:10:46           0:00:00              0:00:00             0:00:00                0:00:00
Karla Bravo                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:06             0:13:45                0:13:45            0:13:45                0:13:45           0:00:00              0:00:00             0:00:00                0:00:00
Karla Bravo                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:06             0:03:18                0:03:18            0:03:18                0:03:18           0:00:00              0:00:00             0:00:00                0:00:00
Karla Bravo                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:08             0:03:01                0:03:01            0:03:01                0:03:01           0:00:00              0:00:00             0:00:00                0:00:00
Karla Bravo                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:05             0:22:59                0:22:59            0:22:59                0:22:59           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   0:08:10               0:08:10          0:01:59               0:01:59             0:07:50              0:07:50                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Amir nejad                   0:10:11               0:10:11          0:00:00               0:00:00             0:00:05              0:00:05                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Amir nejad                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                7                1              0:00:23             0:11:58                0:01:11            0:11:58                0:01:11           0:02:26              0:02:26             0:00:00                0:00:00
Amir nejad                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                2                1              0:00:09             0:04:13                0:00:36            0:04:13                0:00:36           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                6                4              0:00:10             0:33:35                0:02:47            0:33:35                0:02:47           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:18             0:03:55                0:01:57            0:03:55                0:01:57           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                10                1              0:00:22             0:12:15                0:01:06            0:12:15                0:01:06           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                1                2              0:00:16             0:27:02                0:05:24            0:27:02                0:05:24           0:01:07              0:01:07             0:00:00                0:00:00
Amir nejad                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                2              0:00:10             0:10:51                0:03:37            0:10:51                0:03:37           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   2:45:32               0:08:16          0:18:36               0:03:06             1:02:40              0:03:28                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   1:56:05               0:05:48          0:07:31               0:01:30             0:48:31              0:03:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   1:21:00               0:05:47          0:10:55               0:02:11             0:39:42              0:03:03                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   4:15:16               0:07:58          0:12:44               0:01:49             1:09:57              0:02:35                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   4:30:33               0:10:01          0:13:27               0:01:40             0:55:37              0:02:31                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   2:09:28               0:06:09          0:03:47               0:01:15             0:52:49              0:02:46                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   3:49:09               0:08:11          0:11:15               0:01:07             1:10:59              0:03:32                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                   3:10:22               0:07:19          0:14:24               0:01:48             1:44:08              0:04:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               18               21              0:00:13             3:17:19                0:04:41            3:17:19                0:04:41           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1               16               18              0:00:12             3:52:48                0:06:39            3:52:48                0:06:39           0:03:43              0:03:43             0:00:00                0:00:00
Kimberly Torres              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               22               13              0:00:15             2:10:58                0:03:16            2:10:58                0:03:16           0:00:28              0:00:28             0:00:00                0:00:00
                                                                                                             Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                   Declaration of Brad Lee with Exhs A-G in support of Trustee Page 63 of 189

            Name       Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                      Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Kimberly Torres                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                6                9              0:00:11             3:12:59                0:12:03            3:12:59                0:12:03           0:02:13              0:02:13             0:00:00                0:00:00
Kimberly Torres                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    7                7               13              0:00:12             2:24:27                0:05:33            2:24:27                0:05:33           0:02:12              0:02:12             0:00:00                0:00:00
Kimberly Torres                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     9                9              0:00:13             1:47:58                0:05:59            1:47:58                0:05:59           0:02:14              0:02:14             0:00:00                0:00:00
Kimberly Torres                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               12               11              0:00:11             1:54:22                0:04:45            1:54:22                0:04:45           0:00:59              0:00:59             0:00:00                0:00:00
Kimberly Torres                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               14               12              0:00:10             2:36:39                0:05:35            2:36:39                0:05:35           0:01:59              0:01:59             0:00:00                0:00:00
Kimberly Torres                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4               15               17              0:00:11             3:09:45                0:05:16            3:09:45                0:05:16           0:01:01              0:01:01             0:00:00                0:00:00
Kimberly Torres                1:17:45               0:19:26          0:00:00               0:00:00             0:00:00              0:00:00                                                               4                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres                0:33:07               0:11:02          0:01:41               0:00:50             0:00:00              0:00:00                                                               3                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres                1:34:42               0:13:31          0:01:04               0:01:04             0:07:20              0:07:20                                                               7                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres                0:31:31               0:06:18          0:00:00               0:00:00             0:16:18              0:16:18                                                               5                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres                1:27:19               0:14:33          0:01:03               0:01:03             0:00:00              0:00:00                                                               6                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres                0:09:41               0:01:56          0:01:21               0:00:27             0:00:00              0:00:00                                                               5                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres                1:15:58               0:08:26          0:00:29               0:00:14             0:06:24              0:06:24                                                              10                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres                1:26:16               0:17:15          0:01:29               0:01:29             0:00:00              0:00:00                                                               5                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres                0:37:03               0:07:24          0:00:00               0:00:00             0:00:00              0:00:00                                                               5                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            0:07:36               0:07:36          0:03:27               0:03:27             0:26:43              0:26:43                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Christian Sangalang            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3                6                3              0:00:13             0:44:46                0:03:43            0:44:46                0:03:43           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                7                3              0:00:17             0:31:48                0:02:39            0:31:48                0:02:39           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                4                2              0:00:05             0:20:40                0:02:57            0:20:40                0:02:57           0:01:48              0:01:48             0:00:00                0:00:00
Christian Sangalang            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                5                2              0:00:16             0:11:03                0:01:13            0:11:03                0:01:13           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                1              0:00:20             0:11:47                0:01:57            0:11:47                0:01:57           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                2              0:00:11             0:19:48                0:02:49            0:19:48                0:02:49           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                1              0:00:16             0:07:08                0:01:25            0:07:08                0:01:25           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1               14                1              0:00:20             0:28:25                0:01:46            0:28:25                0:01:46           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            1:08:59               0:04:35          0:02:50               0:01:25             1:10:14              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            1:41:30               0:07:48          0:03:09               0:00:37             0:45:09              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            1:55:40               0:08:15          0:06:29               0:01:37             1:00:43              0:04:40                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            2:04:41               0:09:35          0:05:03               0:01:41             1:00:13              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            2:01:59               0:05:32          0:10:23               0:02:04             1:31:41              0:04:49                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            2:20:50               0:08:48          0:06:00               0:03:00             1:18:15              0:04:53                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            3:28:53               0:09:29          0:04:28               0:01:29             1:47:17              0:04:52                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            1:48:58               0:06:03          0:03:23               0:00:50             1:12:43              0:04:50                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kaitlyn Campuzano              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:07             0:04:21                0:04:21            0:04:21                0:04:21           0:00:00              0:00:00             0:00:00                0:00:00
Kaitlyn Campuzano              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:06             0:03:05                0:03:05            0:03:05                0:03:05           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 0:13:20               0:13:20          0:00:00               0:00:00             0:05:41              0:05:41                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Manny Alatorre                 0:02:55               0:02:55          0:00:00               0:00:00             0:03:15              0:03:15                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               19                3              0:00:13             0:42:48                0:01:47            0:42:48                0:01:47           0:01:41              0:01:41             0:00:00                0:00:00
Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               20                4              0:00:16             1:17:10                0:02:58            1:17:10                0:02:58           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               22                8              0:00:17             1:43:45                0:02:57            1:43:45                0:02:57           0:01:44              0:01:44             0:00:00                0:00:00
Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                8               13                8              0:00:13             1:52:59                0:03:53            1:52:59                0:03:53           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               10                9              0:00:09             1:16:12                0:03:27            1:16:12                0:03:27           0:01:46              0:01:46             0:00:00                0:00:00
Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                12                4              0:00:17             0:47:08                0:02:56            0:47:08                0:02:56           0:02:41              0:02:41             0:00:00                0:00:00
Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                8                7              0:00:17             1:07:14                0:04:12            1:07:14                0:04:12           0:01:16              0:01:16             0:00:00                0:00:00
Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 7                2              0:00:17             0:24:04                0:02:40            0:24:04                0:02:40           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                8                6              0:00:14             1:01:41                0:03:37            1:01:41                0:03:37           0:01:46              0:01:46             0:00:00                0:00:00
Manny Alatorre                 2:48:40               0:08:26          0:14:01               0:01:33             1:10:40              0:03:55                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 1:58:23               0:06:57          0:12:29               0:01:14             0:52:06              0:04:20                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 1:46:53               0:08:54          0:04:27               0:01:29             0:57:21              0:04:46                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 0:54:31               0:04:32          0:07:16               0:01:12             0:41:25              0:04:36                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 2:43:52               0:06:33          0:14:04               0:02:00             1:45:48              0:04:13                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 3:49:20               0:11:28          0:16:20               0:01:38             1:15:06              0:04:41                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 3:22:52               0:08:27          0:16:44               0:01:51             1:34:08              0:04:16                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 4:10:15               0:10:00          0:17:37               0:01:21             1:55:21              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 3:20:31               0:08:43          0:18:33               0:01:32             1:30:41              0:04:32                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               12                1              0:00:16             0:10:00                0:00:40            0:10:00                0:00:40           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               12                3              0:00:15             1:03:42                0:03:02            1:03:42                0:03:02           0:03:03              0:03:03             0:00:00                0:00:00
Cindy Vazquez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               12                3              0:00:14             1:03:56                0:03:45            1:03:56                0:03:45           0:01:17              0:01:17             0:00:00                0:00:00
Cindy Vazquez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4               11                2              0:00:17             0:31:12                0:01:57            0:31:12                0:01:57           0:05:34              0:05:34             0:00:00                0:00:00
Cindy Vazquez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:11             0:02:28                0:02:28            0:02:28                0:02:28           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                               0:00:02             0:01:32                0:00:46            0:01:32                0:00:46           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                               0:00:18             0:02:38                0:00:39            0:02:38                0:00:39           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                3              0:00:12             0:34:28                0:08:37            0:34:28                0:08:37           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  3:31:45               0:09:37          0:17:21               0:01:09             1:42:59              0:04:54                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  1:56:37               0:08:19          0:07:31               0:01:04             1:05:10              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  2:19:23               0:09:57          0:18:28               0:01:50             1:08:29              0:04:53                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  1:53:31               0:07:34          0:09:26               0:01:34             1:15:15              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  4:29:19               0:09:58          0:14:24               0:01:18             2:10:26              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  4:06:15               0:08:29          0:18:47               0:01:42             2:24:22              0:04:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  4:02:15               0:14:15          0:17:15               0:01:26             1:30:15              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                  4:24:23               0:13:54          0:31:41               0:02:26             1:35:19              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                                0:00:14             0:00:08                0:00:08            0:00:08                0:00:08           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                 1              0:00:04             0:03:05                0:01:32            0:03:05                0:01:32           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                                0:00:30             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:00             0:00:46                0:00:46            0:00:46                0:00:46           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                               0:00:00             0:00:28                0:00:14            0:00:28                0:00:14           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:04             0:08:28                0:08:28            0:08:28                0:08:28           0:02:04              0:02:04             0:00:00                0:00:00
bonnie romero                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:04             0:15:11                0:07:35            0:15:11                0:07:35           0:02:10              0:02:10             0:00:00                0:00:00
bonnie romero                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:08             0:02:25                0:02:25            0:02:25                0:02:25           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  1:45:18               0:08:46          0:06:49               0:00:51             0:32:21              0:04:02                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  2:10:08               0:06:30          0:09:54               0:01:14             0:41:27              0:02:35                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  2:58:35               0:08:30          0:13:46               0:01:31             0:05:28              0:00:16                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  2:03:14               0:06:29          0:10:01               0:01:06             0:08:30              0:00:28                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  4:23:05               0:07:58          0:24:43               0:02:14             0:53:24              0:01:37                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  3:51:57               0:07:59          0:05:23               0:01:20             0:34:47              0:01:39                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  3:49:25               0:07:54          0:15:25               0:01:32             1:07:14              0:02:29                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  3:07:28               0:08:31          0:17:31               0:02:11             1:03:07              0:03:09                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                  4:07:15               0:13:44          0:09:03               0:01:48             0:41:36              0:02:36                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                           Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                 Declaration of Brad Lee with Exhs A-G in support of Trustee Page 64 of 189

             Name    Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In   Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                    Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered     Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Isa Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 2                1              0:00:03             0:04:34                0:01:31            0:04:34                0:01:31           0:02:41              0:02:41             0:00:00                0:00:00
Isa Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 1                3              0:00:03             0:24:32                0:06:08            0:24:06                0:06:01           0:02:54              0:02:54             0:00:26                0:00:26
Isa Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2                1                5              0:00:08             0:50:39                0:06:19            0:42:20                0:05:17           0:02:51              0:02:51             0:08:19                0:02:04
Isa Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 1                1              0:00:04             0:08:16                0:04:08            0:08:16                0:04:08           0:00:00              0:00:00             0:00:00                0:00:00
Isa Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 1                               0:00:08             0:04:03                0:04:03            0:01:03                0:01:03           0:00:00              0:00:00             0:03:00                0:03:00
Isa Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 3                2              0:00:13             0:10:08                0:02:01            0:09:43                0:01:56           0:01:03              0:01:03             0:00:25                0:00:25
Isa Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                1                2              0:00:12             0:21:00                0:05:15            0:17:59                0:04:29           0:03:26              0:03:26             0:03:01                0:03:01
Isa Avina-Cardiel            3:01:14               0:06:58          0:42:00               0:02:12             1:11:22              0:02:44                                                              11                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Isa Avina-Cardiel            2:11:58               0:07:45          0:30:11               0:02:44             0:41:26              0:02:26                                                               6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Isa Avina-Cardiel            2:14:27               0:07:54          0:23:57               0:02:23             0:48:14              0:03:00                                                               8                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Isa Avina-Cardiel            1:44:33               0:08:42          0:27:19               0:03:02             0:30:24              0:02:45                                                               6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Isa Avina-Cardiel            1:02:12               0:08:53          0:09:07               0:03:02             0:18:05              0:03:00                                                               5                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Isa Avina-Cardiel            3:00:34               0:11:17          0:23:44               0:01:41             0:47:38              0:02:58                                                               8                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Isa Avina-Cardiel            2:06:22               0:09:01          0:32:45               0:02:43             0:37:27              0:02:40                                                               8                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2               24               30              0:00:06             4:01:12                0:04:18            4:01:12                0:04:18           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                5                9               31              0:00:10             4:10:52                0:05:34            4:10:52                0:05:34           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1               17               24              0:00:09             3:47:18                0:05:24            3:47:18                0:05:24           0:02:06              0:02:06             0:00:00                0:00:00
Melina Beltran               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                7               10               20              0:00:15             4:27:58                0:07:26            4:27:58                0:07:26           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2               11               23              0:00:09             4:13:26                0:07:02            4:13:26                0:07:02           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2               24               29              0:00:11             3:50:37                0:04:11            3:50:37                0:04:11           0:01:48              0:01:48             0:00:00                0:00:00
Melina Beltran               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2               13               23              0:00:17             4:29:07                0:07:04            4:29:07                0:07:04           0:00:37              0:00:37             0:00:00                0:00:00
Melina Beltran               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                3               14               17              0:00:08             2:35:27                0:04:34            2:35:27                0:04:34           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:42:55               0:03:54          0:00:00               0:00:00             0:00:37              0:00:04                                                              11                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:09:38               0:02:24          0:00:38               0:00:38             0:00:19              0:00:06                                                               4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:38:38               0:07:43          0:00:00               0:00:00             0:00:54              0:00:10                                                               5                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:14:04               0:14:04          0:00:00               0:00:00             0:00:03              0:00:03                                                               1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:16:58               0:04:14          0:00:00               0:00:00             0:04:23              0:01:05                                                               4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:21:46               0:04:21          0:00:00               0:00:00             0:00:17              0:00:04                                                               5                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:26:18               0:05:15          0:00:00               0:00:00             0:00:18              0:00:03                                                               5                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran               0:46:12               0:07:42          0:00:00               0:00:00             0:00:10              0:00:03                                                               6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                8                1              0:00:15             0:54:58                0:05:29            0:28:54                0:02:53           0:01:03              0:01:03             0:26:04                0:02:36
Nicole Morris                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                4               17                3              0:00:12             1:34:31                0:03:56            0:51:00                0:02:07           0:00:34              0:00:34             0:43:31                0:02:17
Nicole Morris                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0               11               32                3              0:00:13             1:42:15                0:02:13            0:40:09                0:00:52           0:00:00              0:00:00             1:02:06                0:01:40
Nicole Morris                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                5               10                               0:00:13             0:31:53                0:02:07            0:11:01                0:00:44           0:00:00              0:00:00             0:20:52                0:01:53
Nicole Morris                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1               11                3              0:00:16             0:40:48                0:02:43            0:21:05                0:01:24           0:00:00              0:00:00             0:19:43                0:01:47
Nicole Morris                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2                                 1              0:00:12             0:06:14                0:02:04            0:03:13                0:01:04           0:00:00              0:00:00             0:03:01                0:03:01
Nicole Morris                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                2                2              0:00:19             0:15:52                0:03:10            0:15:52                0:03:10           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                7                4                3              0:00:15             0:34:21                0:02:27            0:34:21                0:02:27           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                1:02:40               0:08:57          0:01:38               0:00:49             0:27:25              0:03:55                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                1:41:17               0:11:15          0:04:32               0:01:08             0:31:28              0:03:29                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                0:54:59               0:07:51          0:00:17               0:00:17             0:26:05              0:03:43                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                2:51:11               0:14:15          0:04:42               0:01:34             0:31:38              0:02:38                                                               1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                2:45:00               0:09:42          0:05:04               0:01:00             1:03:52              0:03:59                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                3:04:47               0:07:23          0:11:21               0:01:25             1:31:27              0:03:48                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                2:46:04               0:06:55          0:06:07               0:01:13             1:22:13              0:03:25                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                1:45:56               0:08:49          0:06:24               0:01:16             0:48:14              0:04:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                3                4                6              0:00:17             1:07:05                0:05:09            1:07:05                0:05:09           0:01:14              0:01:14             0:00:00                0:00:00
Ali Mohamed                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                8                1              0:00:16             0:10:22                0:01:02            0:10:22                0:01:02           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                8                3              0:00:17             0:26:05                0:02:10            0:26:05                0:02:10           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2                9                2              0:00:23             0:32:42                0:02:30            0:32:42                0:02:30           0:04:48              0:04:48             0:00:00                0:00:00
Ali Mohamed                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                8                3              0:00:10             0:28:02                0:02:20            0:28:02                0:02:20           0:02:51              0:02:51             0:00:00                0:00:00
Ali Mohamed                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                3               17                3              0:00:18             0:31:02                0:01:20            0:31:02                0:01:20           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                3                3                1              0:00:27             0:33:35                0:04:47            0:33:35                0:04:47           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                4               10                4              0:00:18             0:48:06                0:02:40            0:48:06                0:02:40           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                3               13                4              0:00:15             0:51:14                0:02:41            0:51:14                0:02:41           0:00:19              0:00:19             0:00:00                0:00:00
Ali Mohamed                  3:18:09               0:08:15          0:05:41               0:00:48             1:40:18              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  1:53:19               0:06:17          0:09:03               0:01:48             1:25:17              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  3:17:09               0:11:35          0:25:37               0:02:50             1:10:14              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  2:36:25               0:09:12          0:06:36               0:00:44             1:05:24              0:04:40                                                               1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  3:22:25               0:09:12          0:05:52               0:00:50             1:35:17              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  3:18:48               0:09:56          0:18:41               0:02:20             1:20:22              0:04:43                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  3:04:07               0:08:46          0:06:52               0:00:51             1:35:20              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  3:17:17               0:10:57          0:14:21               0:01:35             1:10:30              0:04:42                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                  3:11:12               0:09:33          0:15:13               0:01:54             1:40:19              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Emely Acevedo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                5                7                3              0:00:14             0:57:44                0:03:50            0:57:44                0:03:50           0:00:00              0:00:00             0:00:00                0:00:00
Emely Acevedo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                4               13                3              0:00:17             1:01:08                0:03:03            1:01:08                0:03:03           0:03:41              0:03:41             0:00:00                0:00:00
Emely Acevedo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                6                7                5              0:00:17             0:54:27                0:03:01            0:54:27                0:03:01           0:02:39              0:02:39             0:00:00                0:00:00
Emely Acevedo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 8                               0:00:17             0:05:02                0:00:37            0:05:02                0:00:37           0:00:00              0:00:00             0:00:00                0:00:00
Emely Acevedo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 1                3              0:00:12             0:58:48                0:14:42            0:58:48                0:14:42           0:04:58              0:04:58             0:00:00                0:00:00
Emely Acevedo                3:27:57               0:11:33          0:27:23               0:02:44             1:17:47              0:04:19                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Emely Acevedo                5:26:06               0:17:09          0:19:26               0:02:25             1:11:35              0:03:58                                                               1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Emely Acevedo                2:43:31               0:09:37          0:11:03               0:01:22             1:05:47              0:03:52                                                               1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Emely Acevedo                7:18:31               0:17:32          0:17:37               0:01:57             1:47:57              0:04:41                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Emely Acevedo                5:28:25               0:16:25          0:08:53               0:02:13             1:33:54              0:04:41                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Emely Acevedo                3:22:25               0:12:39          0:26:43               0:02:25             1:20:15              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                4               12                3              0:00:21             0:20:49                0:01:05            0:20:49                0:01:05           0:01:12              0:01:12             0:00:00                0:00:00
Jess Pena                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                4               10                2              0:00:14             0:16:31                0:01:01            0:16:31                0:01:01           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1               10                3              0:00:19             0:39:26                0:02:49            0:39:26                0:02:49           0:05:46              0:05:46             0:00:00                0:00:00
Jess Pena                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                3                3              0:00:11             0:21:12                0:03:01            0:21:12                0:03:01           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                4                1              0:00:05             0:13:37                0:02:16            0:13:37                0:02:16           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                4                2              0:00:15             0:36:39                0:05:14            0:36:39                0:05:14           0:03:27              0:03:27             0:00:00                0:00:00
Jess Pena                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                8                1              0:00:17             0:13:05                0:01:18            0:13:05                0:01:18           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 6                4              0:00:05             1:08:59                0:06:53            1:08:59                0:06:53           0:03:20              0:03:20             0:00:00                0:00:00
Jess Pena                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 5                5              0:00:13             0:44:14                0:04:25            0:44:14                0:04:25           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    1:35:52               0:05:38          0:09:05               0:02:16             1:09:48              0:04:21                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    1:46:09               0:09:39          0:07:06               0:02:22             0:44:05              0:04:24                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    1:56:57               0:09:44          0:17:30               0:03:30             0:45:13              0:03:46                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    2:29:03               0:16:33          0:06:56               0:01:44             0:26:13              0:04:22                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    3:04:00               0:08:45          0:08:56               0:02:14             1:09:02              0:03:50                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    2:25:04               0:10:21          0:13:20               0:04:26             0:39:54              0:03:19                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                           Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                 Declaration of Brad Lee with Exhs A-G in support of Trustee Page 65 of 189

             Name    Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                    Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Jess Pena                    3:02:26               0:08:41          0:27:18               0:02:43             1:06:02              0:03:40                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    2:02:34               0:08:10          0:07:30               0:01:52             1:06:23              0:04:44                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                    1:58:45               0:09:08          0:06:27               0:02:09             0:53:02              0:04:25                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:09             0:38:19                0:38:19            0:38:19                0:38:19           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            0:18:31               0:18:31          0:00:00               0:00:00             0:00:00              0:00:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Lex Avina-Cardiel            0:02:17               0:02:17          0:00:00               0:00:00             0:04:29              0:04:29                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Lex Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                2                2              0:00:08             0:18:07                0:02:35            0:18:07                0:02:35           0:02:21              0:02:21             0:00:00                0:00:00
Lex Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                1                               0:00:00             0:00:34                0:00:11            0:00:34                0:00:11           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                2              0:00:06             0:25:43                0:06:25            0:25:43                0:06:25           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                               0:00:21             0:00:47                0:00:23            0:00:47                0:00:23           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                               0:00:07             0:01:23                0:01:23            0:01:23                0:01:23           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                1              0:00:10             0:10:13                0:05:06            0:10:13                0:05:06           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                3                               0:00:22             0:03:09                0:00:47            0:03:09                0:00:47           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                               0:00:30             0:00:56                0:00:56            0:00:56                0:00:56           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            3:34:23               0:08:34          0:30:21               0:02:31             1:23:31              0:03:47                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            3:00:33               0:07:51          0:10:48               0:01:48             1:31:48              0:04:22                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            3:04:57               0:08:48          0:12:22               0:01:32             1:09:30              0:04:05                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            3:38:51               0:12:09          0:15:52               0:01:59             1:04:11              0:04:16                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            4:31:10               0:11:47          0:21:10               0:02:38             1:28:28              0:04:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            4:22:52               0:11:25          0:15:50               0:01:58             1:27:05              0:04:08                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            4:33:32               0:13:01          0:13:54               0:02:19             1:29:27              0:04:28                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel            4:45:00               0:10:33          0:01:51               0:01:51             1:33:14              0:03:43                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    7               10                1              0:00:14             0:11:43                0:00:39            0:11:43                0:00:39           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                2              0:00:09             0:15:28                0:05:09            0:15:28                0:05:09           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                1              0:00:05             0:05:32                0:02:46            0:05:32                0:02:46           0:00:40              0:00:40             0:00:00                0:00:00
Saif Ismail                  2:20:53               0:05:13          0:17:09               0:01:08             1:45:21              0:04:34                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                  0:04:51               0:04:51          0:01:24               0:01:24             0:05:01              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                  3:17:31               0:07:03          0:27:56               0:01:23             2:12:44              0:04:44                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                  3:24:09               0:11:20          0:06:22               0:01:03             1:21:08              0:04:30                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                  3:17:27               0:08:13          0:20:41               0:02:04             1:46:02              0:04:25                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
David Brown                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:23             0:16:16                0:16:16            0:13:15                0:13:15           0:04:56              0:04:56             0:03:01                0:03:01
David Brown                  1:45:22               0:11:42          0:25:32               0:03:11             0:23:14              0:02:34                                                               6                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:08             0:41:25                0:41:25            0:41:25                0:41:25           0:04:11              0:04:11             0:00:00                0:00:00
Phoenix Paralegal            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                 2              0:00:16             0:45:57                0:15:19            0:45:57                0:15:19           0:06:56              0:06:56             0:00:00                0:00:00
Phoenix Paralegal            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6               13                3              0:00:19             1:18:09                0:03:33            1:18:09                0:03:33           0:01:00              0:01:00             0:00:00                0:00:00
Phoenix Paralegal            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                2                1              0:00:17             0:09:19                0:01:51            0:09:19                0:01:51           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                2                1              0:00:22             0:24:51                0:04:58            0:24:51                0:04:58           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                    10                3              0:00:21             0:44:25                0:03:25            0:44:25                0:03:25           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                4                1              0:00:19             0:06:04                0:01:00            0:06:04                0:01:00           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                6                5              0:00:13             1:05:17                0:05:26            1:05:17                0:05:26           0:03:41              0:03:41             0:00:00                0:00:00
Phoenix Paralegal            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4                5                6              0:00:14             1:35:21                0:06:21            1:35:21                0:06:21           0:10:56              0:10:56             0:00:00                0:00:00
Phoenix Paralegal            0:22:42               0:11:21          0:00:00               0:00:00             2:14:57              2:14:57                                                               2                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal            0:41:40               0:20:50          0:09:39               0:04:49             0:10:05              0:05:02                                                               2                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal            0:34:19               0:17:09          0:00:00               0:00:00             2:39:57              1:19:58                                                               2                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal            0:18:59               0:06:19          0:00:00               0:00:00             2:36:17              0:52:05                                                               3                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal            0:05:23               0:05:23          0:00:00               0:00:00             0:02:45              0:02:45                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                               0:00:04             0:02:34                0:01:17            0:02:34                0:01:17           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                2                2              0:00:14             0:16:45                0:03:21            0:16:45                0:03:21           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                6                4              0:00:15             0:32:02                0:02:54            0:32:02                0:02:54           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                6                1              0:00:10             0:09:20                0:01:02            0:09:20                0:01:02           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                 4:07:38               0:12:22          0:06:25               0:01:17             1:40:18              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                 3:05:19               0:10:17          0:02:35               0:00:51             1:28:20              0:04:54                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                 2:56:08               0:09:16          0:02:41               0:00:40             1:30:17              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                 3:12:12               0:08:00          0:01:40               0:00:25             1:52:16              0:04:52                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                0:05:50               0:05:50          0:00:00               0:00:00             0:04:04              0:04:04                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Fausto Beleno                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:04             0:10:55                0:10:55            0:07:55                0:07:55           0:00:42              0:00:42             0:03:00                0:03:00
Fausto Beleno                0:08:14               0:08:14          0:02:24               0:02:24             0:03:01              0:03:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                1:19:24               0:19:51          0:04:38               0:01:32             0:06:01              0:03:00                                                                   4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                0:06:31               0:06:31          0:00:00               0:00:00             0:03:00              0:03:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                0:51:59               0:17:19          0:01:41               0:01:41             0:09:03              0:03:01                                                                   3                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                0:13:40               0:13:40          0:00:00               0:00:00             0:03:01              0:03:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                                0:00:00             0:00:08                0:00:08            0:00:08                0:00:08           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:16             0:07:34                0:07:34            0:07:34                0:07:34           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:08             0:26:42                0:26:42            0:21:42                0:21:42           0:00:00              0:00:00             0:05:00                0:05:00
Fausto Beleno                4:12:29               0:09:42          0:26:00               0:01:51             2:10:24              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                3:34:21               0:11:54          0:36:18               0:02:47             1:30:16              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                4:41:39               0:14:49          0:23:45               0:02:09             1:35:19              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                4:13:38               0:12:04          0:31:09               0:02:04             1:40:19              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                4:08:26               0:10:48          1:14:39               0:06:13             1:55:21              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                5:41:04               0:13:38          0:49:10               0:03:04             2:05:22              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                6:12:55               0:15:32          0:13:09               0:01:18             1:59:23              0:04:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                4:58:49               0:11:04          0:30:15               0:02:01             2:10:25              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                5:50:33               0:13:28          0:31:38               0:02:38             2:10:23              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                1                1              0:00:07             0:15:08                0:03:47            0:15:08                0:03:47           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                3                2              0:00:15             0:19:16                0:02:45            0:19:16                0:02:45           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                2                2              0:00:14             0:49:43                0:09:56            0:49:43                0:09:56           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                2              0:00:12             0:12:37                0:01:48            0:12:37                0:01:48           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 3                4              0:00:15             1:04:28                0:09:12            1:04:28                0:09:12           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                               0:00:21             0:00:42                0:00:21            0:00:42                0:00:21           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                0:01:13               0:01:13          0:00:00               0:00:00             0:00:07              0:00:07                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                 1              0:00:09             0:05:08                0:02:34            0:05:08                0:02:34           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:30             0:00:39                0:00:39            0:00:39                0:00:39           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:04             0:23:40                0:11:50            0:23:40                0:11:50           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:04             0:15:44                0:15:44            0:15:44                0:15:44           0:02:12              0:02:12             0:00:00                0:00:00
Abe Flores                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                1                1              0:00:22             0:08:00                0:02:00            0:08:00                0:02:00           0:02:41              0:02:41             0:00:00                0:00:00
Abe Flores                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  2              0:00:02             0:27:05                0:13:32            0:22:45                0:11:22           0:01:39              0:01:39             0:04:20                0:04:20
                                                                                                           Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                 Declaration of Brad Lee with Exhs A-G in support of Trustee Page 66 of 189

            Name     Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                    Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Abe Flores                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                 1              0:00:04             0:20:42                0:10:21            0:20:42                0:10:21           0:02:51              0:02:51             0:00:00                0:00:00
Abe Flores                   2:43:11               0:10:11          0:31:10               0:01:56             1:10:13              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   3:39:43               0:19:58          0:30:41               0:02:47             0:50:09              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   4:00:55               0:18:31          0:32:56               0:03:17             1:00:34              0:04:39                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   4:21:18               0:15:22          0:29:44               0:02:28             0:49:34              0:02:54                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   4:00:52               0:14:10          0:35:44               0:02:33             1:07:39              0:03:58                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   4:09:41               0:13:08          0:40:10               0:02:40             1:22:20              0:04:34                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   5:00:22               0:13:39          0:46:42               0:02:55             1:18:06              0:03:33                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                   5:29:46               0:17:21          0:40:04               0:02:40             1:08:25              0:04:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   15               57                1              0:00:11             0:41:47                0:00:34            0:41:47                0:00:34           0:00:43              0:00:43             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   21               85                3              0:00:17             1:09:04                0:00:38            1:09:04                0:00:38           0:00:42              0:00:42             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   12               47                9              0:00:16             1:15:14                0:01:06            1:15:14                0:01:06           0:00:40              0:00:40             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   10               72                6              0:00:16             1:17:20                0:00:52            1:17:20                0:00:52           0:01:01              0:01:01             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   13               61                2              0:00:16             0:45:01                0:00:35            0:45:01                0:00:35           0:00:40              0:00:40             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6               90                3              0:00:19             1:21:37                0:00:49            1:21:37                0:00:49           0:01:14              0:01:14             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    7               38                7              0:00:13             0:59:08                0:01:08            0:59:08                0:01:08           0:00:11              0:00:11             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1               21                1              0:00:16             0:14:54                0:00:40            0:14:54                0:00:40           0:00:13              0:00:13             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    7               43                5              0:00:12             0:50:41                0:00:55            0:50:41                0:00:55           0:00:17              0:00:17             0:00:00                0:00:00
Hanner Angulo                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanner Angulo                0:26:41               0:03:20          0:00:55               0:00:18             0:00:00              0:00:00                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Hanner Angulo                0:01:06               0:01:06          0:00:00               0:00:00             0:00:00              0:00:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Khalil Beshoy                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               20                5              0:00:17             1:00:50                0:02:01            1:00:50                0:02:01           0:01:57              0:01:57             0:00:00                0:00:00
Khalil Beshoy                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                7                               0:00:27             0:04:20                0:00:28            0:04:20                0:00:28           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               14                1              0:00:22             0:35:29                0:01:58            0:35:29                0:01:58           0:01:10              0:01:10             0:00:00                0:00:00
Khalil Beshoy                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5                7                               0:00:13             0:05:20                0:00:26            0:05:20                0:00:26           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                5                2              0:00:21             0:20:16                0:02:15            0:20:16                0:02:15           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                2              0:00:17             0:20:31                0:06:50            0:20:31                0:06:50           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                8                2              0:00:19             0:41:11                0:03:25            0:41:11                0:03:25           0:03:59              0:03:59             0:00:00                0:00:00
Khalil Beshoy                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                2              0:00:11             0:24:17                0:04:02            0:24:17                0:04:02           0:00:14              0:00:14             0:00:00                0:00:00
Khalil Beshoy                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                3              0:00:18             1:06:02                0:08:15            1:06:02                0:08:15           0:01:13              0:01:13             0:00:00                0:00:00
Khalil Beshoy                0:43:22               0:08:40          0:02:13               0:01:06             0:20:04              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                3:10:06               0:15:50          0:18:00               0:02:34             0:55:45              0:04:38                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                2:02:27               0:17:29          0:11:22               0:02:16             0:25:05              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                3:31:23               0:11:07          0:21:57               0:03:39             1:22:20              0:04:20                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                3:47:05               0:08:44          0:15:25               0:02:12             1:48:22              0:04:20                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                4:36:29               0:18:25          0:25:04               0:03:08             1:14:00              0:04:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                2:33:57               0:09:37          0:08:19               0:01:23             1:11:07              0:04:26                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                2:38:08               0:12:09          0:18:55               0:01:53             1:00:28              0:04:39                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                2:22:13               0:10:56          0:12:16               0:01:45             1:05:14              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            0:05:40               0:05:40          0:00:00               0:00:00             0:02:37              0:02:37                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Jessenia Oseguera            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               14                3              0:00:17             0:37:16                0:01:57            0:37:16                0:01:57           0:01:36              0:01:36             0:00:00                0:00:00
Jessenia Oseguera            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5                6                2              0:00:22             0:12:19                0:00:56            0:12:19                0:00:56           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               19                3              0:00:16             0:32:01                0:01:11            0:32:01                0:01:11           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7               12                4              0:00:11             0:59:56                0:02:36            0:59:56                0:02:36           0:01:23              0:01:23             0:00:00                0:00:00
Jessenia Oseguera            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                               0:00:15             0:00:52                0:00:26            0:00:52                0:00:26           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3                5                4              0:00:16             0:39:36                0:03:18            0:39:36                0:03:18           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                5                2              0:00:19             0:15:00                0:01:52            0:15:00                0:01:52           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                4                               0:00:06             0:06:55                0:00:51            0:06:55                0:00:51           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:18             0:04:37                0:02:18            0:04:37                0:02:18           0:00:09              0:00:09             0:00:00                0:00:00
Jessenia Oseguera            1:56:32               0:08:19          0:11:52               0:01:29             0:52:53              0:04:24                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            2:27:06               0:09:11          0:14:13               0:02:22             1:12:24              0:04:31                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            1:24:19               0:07:39          0:05:03               0:00:43             0:38:08              0:04:46                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            3:28:53               0:16:04          0:05:08               0:01:17             0:49:03              0:04:27                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            5:17:18               0:12:12          0:14:35               0:01:49             1:39:58              0:04:32                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            2:26:21               0:09:08          0:09:22               0:01:20             0:56:37              0:04:21                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            3:26:01               0:11:26          0:12:10               0:02:01             0:59:18              0:03:57                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            2:55:03               0:09:43          0:11:33               0:01:26             1:04:04              0:04:34                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera            2:33:32               0:08:04          0:12:23               0:01:46             1:14:56              0:04:41                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:08:54               0:08:54          0:01:49               0:01:49             0:03:01              0:03:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:58:07               0:19:22          0:00:00               0:00:00             0:09:03              0:03:01                                                                   3                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:00:16               0:00:16          0:00:00               0:00:00             0:03:01              0:03:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:08:37               0:08:37          0:00:00               0:00:00             0:03:01              0:03:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:19:58               0:09:59          0:00:00               0:00:00             0:06:02              0:03:01                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:09:53               0:09:53          0:00:00               0:00:00             0:03:01              0:03:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:09:53               0:09:53          0:03:15               0:03:15             0:03:00              0:03:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                2                3              0:00:10             0:46:02                0:07:40            0:46:02                0:07:40           0:02:30              0:02:30             0:00:00                0:00:00
yuliana mendoza              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:00             0:00:33                0:00:33            0:00:33                0:00:33           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                               0:00:15             0:03:00                0:00:45            0:03:00                0:00:45           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:18             0:02:52                0:02:52            0:02:52                0:02:52           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:00             0:00:45                0:00:45            0:00:45                0:00:45           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                                0:00:21             0:00:08                0:00:08            0:00:08                0:00:08           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:12             0:17:45                0:17:45            0:17:45                0:17:45           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              3:15:31               0:07:31          0:08:37               0:01:04             2:10:25              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              3:14:09               0:08:05          0:16:07               0:01:27             1:55:19              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              4:13:33               0:09:23          0:23:03               0:01:55             2:05:23              0:05:00                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              4:03:59               0:09:23          0:23:35               0:02:08             1:55:22              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              4:22:40               0:08:28          0:10:05               0:01:40             2:35:30              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              5:26:04               0:10:11          0:14:19               0:01:47             2:34:32              0:04:59                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              5:45:58               0:10:29          0:32:34               0:04:39             2:40:14              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              5:49:55               0:13:27          0:20:42               0:02:35             2:05:35              0:04:49                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza              5:22:52               0:09:29          0:27:42               0:02:18             2:50:34              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                2              0:00:12             0:11:08                0:01:51            0:11:08                0:01:51           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  2              0:00:15             0:23:49                0:11:54            0:17:47                0:08:53           0:02:59              0:02:59             0:06:02                0:03:01
Elio Riano                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                3              0:00:16             0:17:09                0:02:27            0:13:46                0:01:58           0:00:00              0:00:00             0:03:23                0:01:41
Elio Riano                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                 3              0:00:11             0:32:58                0:08:14            0:31:47                0:07:56           0:03:03              0:03:03             0:01:11                0:01:11
Elio Riano                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:17             0:14:12                0:07:06            0:11:11                0:05:35           0:00:00              0:00:00             0:03:01                0:03:01
Elio Riano                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:25             0:06:11                0:06:11            0:03:10                0:03:10           0:00:00              0:00:00             0:03:01                0:03:01
                                                                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 67 of 189

            Name         Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                        Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Elio Riano                       0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                3              0:00:08             0:15:57                0:03:59            0:15:57                0:03:59           0:01:53              0:01:53             0:00:00                0:00:00
Elio Riano                       0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      2              0:00:10             0:18:51                0:09:25            0:12:50                0:06:25           0:00:00              0:00:00             0:06:01                0:03:00
Elio Riano                       4:01:52               0:09:40          0:27:31               0:02:30             0:44:31              0:02:01                                                              13                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                       3:34:04               0:11:16          0:28:43               0:02:36             0:39:10              0:02:18                                                               9                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                       1:28:38               0:06:49          0:14:08               0:03:32             0:11:15              0:01:15                                                               6                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                       2:50:25               0:14:12          0:33:05               0:03:18             0:23:29              0:01:57                                                               7                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                       3:51:29               0:11:34          0:32:35               0:02:57             0:47:55              0:02:31                                                              10                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                       2:58:13               0:07:25          0:37:09               0:02:51             0:46:07              0:02:25                                                              17                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                       4:02:52               0:13:29          0:40:41               0:04:31             0:32:29              0:02:19                                                              13                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                       2:52:21               0:11:29          0:37:11               0:03:43             0:40:19              0:02:41                                                               3                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                5                               0:00:11             0:06:48                0:01:08            0:06:48                0:01:08           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                               0:00:06             0:00:17                0:00:08            0:00:17                0:00:08           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                3                               0:00:21             0:01:39                0:00:24            0:01:39                0:00:24           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                4                1              0:00:11             0:09:39                0:01:12            0:09:39                0:01:12           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                3                               0:00:24             0:02:08                0:00:21            0:02:08                0:00:21           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                5                               0:00:19             0:03:00                0:00:30            0:03:00                0:00:30           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                2                               0:00:00             0:01:39                0:00:33            0:01:39                0:00:33           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                 2              0:00:14             0:11:02                0:03:40            0:11:02                0:03:40           0:01:03              0:01:03             0:00:00                0:00:00
Selina Taing                     0:11:17               0:11:17          0:00:00               0:00:00             0:00:13              0:00:13                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:05:43               0:05:43          0:00:00               0:00:00             0:04:23              0:04:23                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:06             0:01:56                0:01:56            0:01:56                0:01:56           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 3                               0:00:16             0:01:52                0:00:37            0:01:52                0:00:37           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    3:05:49               0:14:17          0:19:36               0:02:10             0:38:56              0:02:46                                                                   7                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    2:59:13               0:16:17          0:25:47               0:03:13             0:28:49              0:02:52                                                                   3                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               22                7              0:00:15             1:24:24                0:02:28            1:24:24                0:02:28           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                3                8              0:00:15             1:47:58                0:08:18            1:47:58                0:08:18           0:01:34              0:01:34             0:00:00                0:00:00
Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                9               16                3              0:00:20             0:43:17                0:01:36            0:43:17                0:01:36           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               13               25                8              0:00:15             1:59:39                0:02:36            1:59:39                0:02:36           0:01:11              0:01:11             0:00:00                0:00:00
Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               17                5              0:00:17             1:24:11                0:03:00            1:24:11                0:03:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4               30                5              0:00:14             1:02:47                0:01:36            1:02:47                0:01:36           0:02:48              0:02:48             0:00:00                0:00:00
Victoria Dang                    0:39:24               0:13:08          0:00:00               0:00:00             0:13:13              0:04:24                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:54:06               0:18:02          0:02:50               0:02:50             0:15:02              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:48:01               0:09:36          0:04:30               0:02:15             0:25:05              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:15:53               0:15:53          0:00:00               0:00:00             0:05:01              0:05:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    2:07:33               0:14:10          0:08:23               0:02:05             0:39:33              0:04:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    1:03:25               0:09:03          0:04:04               0:02:02             0:30:38              0:04:22                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:05:43               0:05:43          0:02:35               0:02:35             0:05:01              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ralph Breneville                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                                0:00:01             0:00:06                0:00:06            0:00:06                0:00:06           0:00:00              0:00:00             0:00:00                0:00:00
Ralph Breneville                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                1              0:00:08             0:17:19                0:05:46            0:17:19                0:05:46           0:00:00              0:00:00             0:00:00                0:00:00
Ralph Breneville                 4:16:50               0:17:07          0:21:04               0:01:45             0:56:58              0:04:44                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ralph Breneville                 5:51:59               0:23:27          0:27:43               0:02:31             0:32:37              0:03:15                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ralph Breneville                 5:21:03               0:29:11          0:15:48               0:01:58             0:27:46              0:03:05                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                5                5              0:00:09             0:58:45                0:04:53            0:58:45                0:04:53           0:02:33              0:02:33             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                2              0:00:15             0:48:24                0:12:06            0:48:24                0:12:06           0:02:20              0:02:20             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               10                4              0:00:19             2:03:30                0:07:43            2:03:30                0:07:43           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                8               10                3              0:00:16             0:26:18                0:01:15            0:26:18                0:01:15           0:00:18              0:00:18             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3                3                2              0:00:08             0:46:27                0:05:48            0:46:27                0:05:48           0:01:56              0:01:56             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3                5                3              0:00:18             0:25:09                0:02:17            0:25:09                0:02:17           0:01:44              0:01:44             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                3              0:00:12             0:34:58                0:06:59            0:34:58                0:06:59           0:01:23              0:01:23             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1               12                5              0:00:15             1:07:53                0:03:46            1:07:53                0:03:46           0:12:10              0:12:10             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                9                4              0:00:19             0:41:06                0:02:56            0:41:06                0:02:56           0:02:20              0:02:20             0:00:00                0:00:00
Mahmoud Bany-Mohammed            1:59:47               0:11:58          0:11:51               0:02:57             0:45:09              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            2:50:11               0:18:54          0:23:49               0:02:58             0:45:09              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:05:40               0:05:40          0:00:27               0:00:27             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            1:31:17               0:10:08          0:07:07               0:02:22             0:40:08              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            2:21:44               0:10:07          0:20:38               0:04:07             1:07:23              0:04:48                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            2:11:21               0:14:35          0:07:42               0:02:34             0:35:07              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            3:19:41               0:13:18          0:20:26               0:02:55             1:15:16              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            1:14:39               0:18:39          0:10:27               0:03:29             0:17:13              0:04:18                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            2:13:53               0:12:10          0:06:53               0:02:17             0:50:52              0:04:37                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                0:10:20               0:10:20          0:00:08               0:00:08             0:08:24              0:08:24                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Stephanie Reynoso                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               19                1              0:00:13             0:17:49                0:00:46            0:17:49                0:00:46           0:00:08              0:00:08             0:00:00                0:00:00
Stephanie Reynoso                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               21               46                4              0:00:16             0:47:30                0:00:40            0:47:30                0:00:40           0:00:05              0:00:05             0:00:00                0:00:00
Stephanie Reynoso                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7               22                2              0:00:18             0:25:29                0:00:50            0:25:29                0:00:50           0:00:10              0:00:10             0:00:00                0:00:00
Stephanie Reynoso                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               11               17                2              0:00:20             0:47:13                0:01:37            0:47:13                0:01:37           0:00:39              0:00:39             0:00:00                0:00:00
Stephanie Reynoso                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:07             0:01:55                0:01:55            0:01:55                0:01:55           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:09             0:07:16                0:07:16            0:07:16                0:07:16           0:00:05              0:00:05             0:00:00                0:00:00
Stephanie Reynoso                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                10                1              0:00:14             0:09:39                0:00:52            0:09:39                0:00:52           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4                2              0:00:17             0:20:17                0:03:22            0:20:17                0:03:22           0:02:07              0:02:07             0:00:00                0:00:00
Stephanie Reynoso                2:38:40               0:07:56          0:25:03               0:01:47             1:34:41              0:04:59                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                0:54:03               0:06:45          0:10:08               0:02:32             0:35:08              0:04:23                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                1:49:38               0:07:49          0:04:21               0:00:37             0:56:53              0:04:22                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                1:02:53               0:04:11          0:03:40               0:00:44             1:08:10              0:04:52                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                2:42:25               0:07:03          0:16:29               0:02:21             1:54:40              0:04:59                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                3:12:15               0:08:00          0:21:04               0:03:00             1:47:26              0:04:40                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                3:11:28               0:07:21          0:19:32               0:01:23             1:48:16              0:04:55                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                2:12:46               0:06:38          0:13:59               0:01:59             1:40:19              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                2:29:57               0:09:22          0:34:16               0:02:51             1:10:24              0:04:41                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  2              0:00:10             0:24:31                0:12:15            0:24:31                0:12:15           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                2                4              0:00:05             0:46:04                0:04:36            0:46:04                0:04:36           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:23             0:15:32                0:15:32            0:15:32                0:15:32           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:06             0:16:04                0:16:04            0:16:04                0:16:04           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:18             0:10:43                0:10:43            0:10:43                0:10:43           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                 1              0:00:05             0:34:50                0:17:25            0:34:50                0:17:25           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:20             0:04:14                0:02:07            0:04:14                0:02:07           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:08             0:23:59                0:23:59            0:23:59                0:23:59           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                3              0:00:05             0:40:15                0:10:03            0:40:15                0:10:03           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                         Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                               Declaration of Brad Lee with Exhs A-G in support of Trustee Page 68 of 189

           Name    Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                  Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Jarod Vaughan              0:18:18               0:18:18          0:03:02               0:03:02             0:00:00              0:00:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Jarod Vaughan              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     7                               0:00:27             0:03:51                0:00:33            0:03:51                0:00:33           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6                5                2              0:00:15             0:17:17                0:01:19            0:17:17                0:01:19           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4                8                2              0:00:10             0:14:24                0:01:01            0:14:24                0:01:01           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6               10                5              0:00:13             0:53:20                0:02:32            0:53:20                0:02:32           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    5                7                4              0:00:14             0:33:32                0:02:05            0:33:32                0:02:05           0:00:40              0:00:40             0:00:00                0:00:00
Jarod Vaughan              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               11                3              0:00:16             0:40:10                0:02:30            0:40:10                0:02:30           0:00:38              0:00:38             0:00:00                0:00:00
Jarod Vaughan              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                1              0:00:05             0:16:59                0:05:39            0:16:59                0:05:39           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              3:24:07               0:07:33          0:08:21               0:01:11             2:10:26              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              2:22:10               0:07:53          0:09:57               0:01:14             1:10:13              0:05:00                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              1:38:35               0:09:51          0:00:59               0:00:59             0:35:06              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              1:54:47               0:08:11          0:02:48               0:00:56             1:00:13              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              1:40:33               0:09:08          0:04:18               0:02:09             0:50:09              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              2:25:46               0:09:06          0:04:07               0:01:22             1:20:15              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan              3:24:56               0:08:32          0:04:54               0:00:58             1:45:20              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                                0:00:00             0:00:11                0:00:11            0:00:11                0:00:11           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:05             0:04:33                0:04:33            0:04:33                0:04:33           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                1              0:00:04             0:03:58                0:01:59            0:03:58                0:01:59           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                1                               0:00:11             0:02:14                0:00:44            0:02:14                0:00:44           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:22             0:06:35                0:06:35            0:06:35                0:06:35           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:04             0:05:58                0:05:58            0:05:58                0:05:58           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                                0:00:31             0:00:10                0:00:10            0:00:10                0:00:10           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             3:01:09               0:08:37          0:21:10               0:02:07             1:41:13              0:04:49                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             3:26:17               0:12:08          0:13:22               0:01:06             1:15:12              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             3:19:14               0:08:39          0:25:51               0:02:21             1:44:56              0:04:33                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             3:30:31               0:10:31          0:21:38               0:02:09             1:18:37              0:04:08                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             4:27:57               0:08:38          0:29:08               0:03:14             1:40:20              0:03:14                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             4:37:45               0:08:57          0:28:17               0:02:10             2:08:15              0:04:16                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             4:23:58               0:10:09          0:08:05               0:01:20             1:54:32              0:04:34                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             4:03:42               0:08:42          0:19:49               0:02:28             1:55:51              0:04:08                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez             3:34:01               0:11:53          0:20:47               0:02:58             1:30:16              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              0:14:48               0:14:48          0:07:22               0:07:22             0:18:10              0:18:10                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Tainis Tapias              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:04             0:03:39                0:03:39            0:00:38                0:00:38           0:00:00              0:00:00             0:03:01                0:03:01
Tainis Tapias              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  3              0:00:19             0:17:33                0:05:51            0:17:33                0:05:51           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              0:18:39               0:09:19          0:03:08               0:03:08             0:06:01              0:03:00                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              0:54:06               0:27:03          0:03:35               0:03:35             0:06:02              0:03:01                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              0:16:26               0:16:26          0:02:15               0:02:15             0:03:01              0:03:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                 1              0:00:12             0:26:55                0:13:27            0:26:55                0:13:27           0:06:16              0:06:16             0:00:00                0:00:00
Tainis Tapias              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:00             0:00:17                0:00:17            0:00:17                0:00:17           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                 1              0:00:18             0:07:46                0:03:53            0:07:46                0:03:53           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:09             0:19:19                0:19:19            0:19:19                0:19:19           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:07             0:15:34                0:15:34            0:15:34                0:15:34           0:02:51              0:02:51             0:00:00                0:00:00
Tainis Tapias              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                2              0:00:16             0:35:38                0:11:52            0:35:38                0:11:52           0:02:31              0:02:31             0:00:00                0:00:00
Tainis Tapias              4:29:43               0:11:43          0:45:49               0:02:41             1:55:22              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              4:01:11               0:10:29          0:35:56               0:02:23             1:48:52              0:04:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              3:33:32               0:07:21          0:45:08               0:02:22             2:08:34              0:04:56                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              3:38:14               0:10:23          0:50:33               0:03:22             1:40:07              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              4:09:12               0:09:13          0:47:43               0:02:23             2:15:26              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              5:44:13               0:12:17          0:38:31               0:02:08             2:20:29              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              4:56:19               0:09:52          0:34:39               0:02:18             2:30:29              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              6:02:19               0:17:15          0:49:43               0:02:55             1:50:22              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias              4:47:10               0:11:29          0:50:24               0:02:17             2:05:24              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               26                2              0:00:14             0:44:01                0:01:20            0:44:01                0:01:20           0:00:36              0:00:36             0:00:00                0:00:00
Nassir Diab                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               10               44                5              0:00:14             1:11:20                0:01:12            1:11:20                0:01:12           0:01:53              0:01:53             0:00:00                0:00:00
Nassir Diab                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               22               54                4              0:00:18             1:32:36                0:01:09            1:32:36                0:01:09           0:01:42              0:01:42             0:00:00                0:00:00
Nassir Diab                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               22               34                5              0:00:17             0:53:59                0:00:53            0:53:59                0:00:53           0:00:46              0:00:46             0:00:00                0:00:00
Nassir Diab                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               11                1              0:00:13             0:14:49                0:00:49            0:14:49                0:00:49           0:01:41              0:01:41             0:00:00                0:00:00
Nassir Diab                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                2              0:00:15             0:13:08                0:04:22            0:13:08                0:04:22           0:00:35              0:00:35             0:00:00                0:00:00
Nassir Diab                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                5                               0:00:23             0:03:49                0:00:38            0:03:49                0:00:38           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 3                               0:00:30             0:01:41                0:00:33            0:01:41                0:00:33           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1               12                3              0:00:16             0:32:43                0:02:02            0:32:43                0:02:02           0:00:32              0:00:32             0:00:00                0:00:00
Nassir Diab                1:34:47               0:05:34          0:10:34               0:01:19             1:15:12              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                0:14:22               0:02:52          0:01:52               0:01:52             0:25:05              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                0:15:58               0:03:11          0:02:33               0:01:16             0:25:05              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                0:23:50               0:03:58          0:02:38               0:00:52             0:20:04              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                1:14:17               0:05:42          0:05:57               0:01:59             1:05:13              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                2:45:45               0:04:44          0:08:00               0:01:20             2:28:35              0:04:47                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                2:01:57               0:06:25          0:07:29               0:01:29             1:15:13              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                2:40:37               0:05:10          0:14:10               0:02:01             2:08:18              0:04:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                2:07:32               0:05:47          0:21:10               0:03:01             1:45:21              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:25             0:05:33                0:05:33            0:05:33                0:05:33           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                               0:00:00             0:01:48                0:00:54            0:01:48                0:00:54           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3                4                3              0:00:13             0:59:07                0:05:54            0:59:07                0:05:54           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                5                1              0:00:17             0:06:15                0:00:37            0:06:15                0:00:37           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses              1:50:25               0:22:05          0:06:47               0:02:15             0:17:23              0:03:28                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses              5:11:10               0:12:26          0:20:11               0:01:40             0:58:02              0:02:25                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses              3:59:28               0:07:43          0:14:57               0:01:39             1:40:37              0:03:21                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses              3:38:15               0:10:23          0:23:44               0:01:49             0:44:07              0:02:45                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses              3:55:01               0:13:03          0:23:19               0:02:35             0:45:49              0:02:32                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                11                5              0:00:11             0:55:03                0:03:26            0:55:03                0:03:26           0:01:18              0:01:18             0:00:00                0:00:00
Quynh Nguyen               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                9               34               10              0:00:14             1:41:50                0:01:55            1:41:50                0:01:55           0:00:10              0:00:10             0:00:00                0:00:00
Quynh Nguyen               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4               23                2              0:00:16             0:47:41                0:01:38            0:47:41                0:01:38           0:02:05              0:02:05             0:00:00                0:00:00
Quynh Nguyen               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               21                6              0:00:15             1:46:10                0:03:19            1:46:10                0:03:19           0:00:41              0:00:41             0:00:00                0:00:00
Quynh Nguyen               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1               16                3              0:00:20             0:39:06                0:01:57            0:39:06                0:01:57           0:00:12              0:00:12             0:00:00                0:00:00
Quynh Nguyen               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 5                3              0:00:15             0:36:39                0:04:34            0:36:39                0:04:34           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               34                8              0:00:14             1:30:58                0:02:01            1:30:58                0:02:01           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               18                4              0:00:17             0:38:27                0:01:32            0:38:27                0:01:32           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                             Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                   Declaration of Brad Lee with Exhs A-G in support of Trustee Page 69 of 189

            Name       Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In   Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                      Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered     Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Quynh Nguyen                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                5               32                9              0:00:16             1:24:50                0:01:50            1:24:50                0:01:50           0:00:09              0:00:09             0:00:00                0:00:00
Quynh Nguyen                   2:13:04               0:06:39          0:14:52               0:01:29             1:33:08              0:04:54                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   0:30:10               0:07:32          0:01:47               0:01:47             0:16:20              0:04:05                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   1:31:15               0:11:24          0:07:10               0:02:23             0:32:23              0:04:37                                                               1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   1:01:57               0:06:53          0:00:00               0:00:00             0:44:16              0:04:55                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   2:04:22               0:07:18          0:00:39               0:00:39             1:18:44              0:04:37                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   1:03:24               0:10:34          0:06:59               0:03:29             0:28:31              0:04:45                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   1:22:14               0:11:44          0:01:02               0:01:02             0:35:10              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   2:12:35               0:11:02          0:08:08               0:01:37             0:54:31              0:04:57                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   1:09:11               0:07:41          0:03:30               0:01:10             0:45:01              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 3                1              0:00:06             0:08:42                0:02:10            0:08:42                0:02:10           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 1                1              0:00:16             0:07:04                0:03:32            0:07:04                0:03:32           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2                1                               0:00:22             0:00:25                0:00:08            0:00:25                0:00:08           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                                 1              0:00:09             0:06:02                0:03:01            0:06:02                0:03:01           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 3                1              0:00:02             0:09:21                0:02:20            0:09:21                0:02:20           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 2                               0:00:23             0:01:22                0:00:41            0:01:22                0:00:41           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 2                1              0:00:14             0:13:27                0:04:29            0:13:27                0:04:29           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 2                2              0:00:05             0:20:57                0:05:14            0:20:57                0:05:14           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 3:51:24               0:10:03          0:25:44               0:01:36             1:44:27              0:04:44                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 3:40:19               0:08:48          0:26:21               0:01:52             1:45:21              0:05:01                                                               1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 3:43:58               0:09:44          0:22:05               0:01:50             1:34:47              0:04:59                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 2:36:43               0:06:48          0:15:06               0:01:22             1:45:21              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 3:44:39               0:10:41          0:09:25               0:01:20             1:26:48              0:04:49                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 4:41:41               0:11:16          0:10:20               0:01:28             1:59:02              0:04:57                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 4:17:32               0:09:32          0:13:40               0:01:31             2:06:09              0:04:51                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 3:22:26               0:09:12          0:13:07               0:01:18             1:35:19              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                 3:59:15               0:10:24          0:05:52               0:00:58             1:44:40              0:04:59                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1               10                3              0:00:13             0:23:04                0:01:38            0:23:04                0:01:38           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                5                9                6              0:00:15             1:31:03                0:04:33            1:31:03                0:04:33           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2               11                6              0:00:14             0:40:19                0:02:07            0:40:19                0:02:07           0:01:44              0:01:44             0:00:00                0:00:00
James Andra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                5               19                4              0:00:17             0:52:02                0:01:51            0:52:02                0:01:51           0:04:39              0:04:39             0:00:00                0:00:00
James Andra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2               15                4              0:00:16             0:58:25                0:02:46            0:58:25                0:02:46           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                6                2              0:00:07             0:37:04                0:04:07            0:37:04                0:04:07           0:02:13              0:02:13             0:00:00                0:00:00
James Andra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                6                1              0:00:10             0:09:39                0:01:12            0:09:39                0:01:12           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 7                               0:00:24             0:03:57                0:00:33            0:03:57                0:00:33           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    2:27:40               0:09:50          0:05:35               0:01:51             1:08:18              0:04:52                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    1:41:28               0:20:17          0:05:05               0:01:41             0:20:04              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    1:25:00               0:08:30          0:02:22               0:02:22             0:45:09              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    1:12:43               0:06:03          0:01:29               0:01:29             0:55:11              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    2:23:55               0:08:59          0:03:21               0:01:40             1:20:13              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    3:03:38               0:10:48          0:04:34               0:01:31             1:25:17              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    2:37:39               0:08:17          0:06:30               0:03:15             1:35:19              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    2:32:55               0:08:59          0:04:29               0:01:29             1:10:10              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 1                1              0:00:03             0:17:22                0:08:41            0:17:22                0:08:41           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 2                               0:00:00             0:01:04                0:00:32            0:01:04                0:00:32           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                  2              0:00:05             0:29:32                0:14:46            0:29:32                0:14:46           0:02:48              0:02:48             0:00:00                0:00:00
andre alvarenga                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                3                1                               0:00:30             0:00:31                0:00:07            0:00:31                0:00:07           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                1                1              0:00:05             0:06:18                0:02:06            0:06:18                0:02:06           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 1                               0:00:21             0:00:33                0:00:33            0:00:33                0:00:33           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 2                1              0:00:12             0:45:13                0:15:04            0:45:13                0:15:04           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                5:10:13               0:12:24          0:24:13               0:02:01             1:26:59              0:04:08                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                3:52:41               0:16:37          0:20:25               0:02:33             7:04:02              0:32:37                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                4:04:19               0:16:17          0:27:15               0:03:01             0:48:39              0:04:51                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                4:23:04               0:15:28          0:23:43               0:02:22             1:37:14              0:06:28                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                4:37:39               0:14:36          0:26:04               0:02:10             1:22:46              0:04:52                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                5:11:27               0:15:34          0:28:44               0:02:12            14:01:54              0:42:05                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                4:10:29               0:12:31          0:26:35               0:02:57             1:35:19              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                5:01:06               0:15:03          0:23:01               0:03:17             1:35:19              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                3:28:04               0:11:33          0:19:21               0:02:25             1:20:15              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                1                               0:00:25             0:00:37                0:00:18            0:00:37                0:00:18           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 5                               0:00:28             0:05:19                0:01:03            0:05:19                0:01:03           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 3                2              0:00:16             0:29:10                0:05:50            0:29:10                0:05:50           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez            3:56:38               0:11:16          0:20:46               0:02:18             1:18:03              0:04:35                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez            3:39:29               0:09:58          0:25:46               0:03:40             1:40:20              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez            4:03:40               0:12:11          0:36:21               0:03:01             1:40:20              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez            3:23:31               0:07:16          0:39:04               0:03:00             2:10:26              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                2                1              0:00:10             0:09:28                0:02:22            0:06:27                0:01:36           0:00:00              0:00:00             0:03:01                0:03:01
Nikki Miller                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                1                               0:00:13             0:04:17                0:02:08            0:01:17                0:00:38           0:00:00              0:00:00             0:03:00                0:03:00
Nikki Miller                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                2                2              0:00:13             0:20:48                0:04:09            0:11:45                0:02:21           0:03:17              0:03:17             0:09:03                0:03:01
Nikki Miller                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                  1              0:00:08             0:17:21                0:17:21            0:14:21                0:14:21           0:04:32              0:04:32             0:03:00                0:03:00
Nikki Miller                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                1                               0:00:04             0:00:20                0:00:20            0:00:20                0:00:20           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                  2              0:00:07             0:24:37                0:12:18            0:21:36                0:10:48           0:04:11              0:04:11             0:03:01                0:03:01
Nikki Miller                   2:48:04               0:08:24          0:31:34               0:02:37             0:58:04              0:03:03                                                               8                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   3:40:15               0:10:00          0:49:50               0:03:50             0:48:12              0:03:00                                                               6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   2:10:05               0:13:00          0:15:32               0:02:35             0:21:06              0:03:00                                                               4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   1:53:30               0:09:27          0:22:47               0:03:15             0:30:10              0:03:01                                                               3                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   4:11:38               0:14:48          0:46:58               0:04:41             0:45:15              0:03:01                                                               7                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   3:11:25               0:12:45          0:32:50               0:03:17             0:39:09              0:03:00                                                               6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   2:55:16               0:13:28          0:23:36               0:03:56             0:39:10              0:03:00                                                               7                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 1                               0:00:30             0:00:50                0:00:50            0:00:50                0:00:50           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                3                2                2              0:00:08             0:27:39                0:03:57            0:21:37                0:03:05           0:02:46              0:02:46             0:06:02                0:03:01
Abraham Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                5                2                1              0:00:18             0:07:21                0:00:55            0:07:21                0:00:55           0:01:17              0:01:17             0:00:00                0:00:00
Abraham Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                  2              0:00:13             0:21:25                0:10:42            0:18:24                0:09:12           0:05:04              0:05:04             0:03:01                0:03:01
Abraham Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                1                3              0:00:13             0:12:35                0:02:31            0:12:35                0:02:31           0:02:15              0:02:15             0:00:00                0:00:00
Abraham Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                  1              0:00:06             0:09:59                0:09:59            0:09:59                0:09:59           0:05:12              0:05:12             0:00:00                0:00:00
Abraham Sanchez                3:18:58               0:19:53          0:24:52               0:04:58             0:24:08              0:03:01                                                               3                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez                1:55:19               0:14:24          0:06:24               0:02:08             0:18:06              0:03:01                                                               4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez                4:29:42               0:20:44          0:37:07               0:05:18             0:36:12              0:03:01                                                               6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez                3:29:10               0:12:18          0:18:12               0:03:38             0:39:13              0:03:01                                                               9                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez                3:49:14               0:16:22          0:26:10               0:05:14             0:36:12              0:03:01                                                               7                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                            Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                  Declaration of Brad Lee with Exhs A-G in support of Trustee Page 70 of 189

             Name     Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                     Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Abraham Sanchez               3:19:43               0:18:09          0:40:33               0:05:04             0:21:07              0:03:01                                                               6                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   11               30                7              0:00:16             0:43:50                0:00:54            0:43:50                0:00:54           0:03:02              0:03:02             0:00:00                0:00:00
Abraham Sanchez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   16               30                8              0:00:13             1:35:13                0:01:45            1:35:13                0:01:45           0:01:36              0:01:36             0:00:00                0:00:00
Abraham Sanchez               3:30:32               0:05:15          0:33:45               0:02:24             0:20:04              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez               1:37:32               0:05:25          0:16:50               0:01:52             0:05:01              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                0:19:49               0:19:49          0:00:00               0:00:00             0:00:00              0:00:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Kevin Ceballos                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                8                3              0:00:15             0:30:35                0:02:32            0:30:35                0:02:32           0:01:41              0:01:41             0:00:00                0:00:00
Kevin Ceballos                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                4                1              0:00:17             0:10:35                0:01:45            0:10:35                0:01:45           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     7                1              0:00:15             0:12:03                0:01:30            0:12:03                0:01:30           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     3                2              0:00:16             0:18:54                0:03:46            0:18:54                0:03:46           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                3                               0:00:20             0:02:45                0:00:41            0:02:45                0:00:41           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                1              0:00:09             0:19:05                0:09:32            0:19:05                0:09:32           0:01:15              0:01:15             0:00:00                0:00:00
Kevin Ceballos                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                                                0:00:05             0:00:26                0:00:08            0:00:26                0:00:08           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:06             0:06:12                0:06:12            0:06:12                0:06:12           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                4                               0:00:19             0:02:52                0:00:34            0:02:52                0:00:34           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                3:27:52               0:09:26          0:17:37               0:02:31             1:30:14              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                2:56:31               0:07:40          0:10:08               0:02:32             1:35:20              0:05:01                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                2:39:36               0:08:52          0:18:44               0:03:44             1:05:14              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                2:24:50               0:09:39          0:08:15               0:01:39             0:50:08              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                4:31:17               0:12:19          0:30:50               0:03:25             1:45:20              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                4:10:03               0:13:53          0:11:16               0:02:15             1:25:16              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                3:03:51               0:08:21          0:16:33               0:02:45             1:35:17              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                4:56:54               0:10:59          0:22:54               0:02:32             1:15:14              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                4:46:27               0:11:27          0:18:50               0:02:41             1:20:15              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:05             0:20:05                0:20:05            0:20:05                0:20:05           0:05:46              0:05:46             0:00:00                0:00:00
Hunter Glass                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     4                2              0:00:13             0:15:02                0:02:30            0:15:02                0:02:30           0:04:03              0:04:03             0:00:00                0:00:00
Hunter Glass                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:06             0:08:44                0:08:44            0:08:44                0:08:44           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      2              0:00:03             0:12:12                0:06:06            0:12:12                0:06:06           0:01:36              0:01:36             0:00:00                0:00:00
Hunter Glass                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                3                4              0:00:16             0:47:44                0:05:58            0:42:28                0:05:18           0:05:25              0:05:25             0:05:16                0:02:38
Hunter Glass                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     4                1              0:00:19             0:05:21                0:01:04            0:05:21                0:01:04           0:02:17              0:02:17             0:00:00                0:00:00
Hunter Glass                  4:50:16               0:16:07          0:32:13               0:03:34             0:36:46              0:02:02                                                               9                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                  2:38:57               0:14:27          0:15:31               0:03:52             0:22:58              0:02:17                                                               8                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                  1:58:27               0:14:48          0:28:37               0:07:09             0:18:39              0:02:19                                                               3                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                  4:35:37               0:13:46          0:50:49               0:04:14             0:33:01              0:01:50                                                              10                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                  3:11:22               0:11:15          0:43:29               0:03:06             0:30:50              0:01:48                                                               9                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                  3:25:56               0:10:17          0:47:04               0:03:55             0:29:58              0:01:29                                                               4                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                  3:18:28               0:09:01          0:47:42               0:03:40             0:30:20              0:01:35                                                              12                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            0:11:34               0:11:34          0:01:16               0:01:16             0:05:37              0:05:37                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Rafael de la Torre            0:17:20               0:05:46          0:00:10               0:00:10             0:06:02              0:03:01                                                                   3                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            0:20:06               0:20:06          0:00:00               0:00:00             0:03:01              0:03:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                3                               0:00:13             0:02:22                0:00:28            0:02:22                0:00:28           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                                                0:00:03             0:00:13                0:00:06            0:00:13                0:00:06           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            4:03:46               0:10:09          0:10:07               0:01:26             1:55:20              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            4:28:31               0:09:15          0:12:36               0:00:42             2:10:22              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            3:28:31               0:08:41          0:12:17               0:01:13             1:45:21              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            3:36:51               0:11:24          0:15:52               0:01:08             1:26:12              0:04:47                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            4:50:58               0:11:11          0:12:11               0:01:13             2:05:23              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Rafael de la Torre            1:10:15               0:14:03          0:07:45               0:01:56             0:25:05              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                6               10              0:00:10             1:25:25                0:05:01            1:25:25                0:05:01           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 5               18              0:00:08             2:47:05                0:07:15            2:47:05                0:07:15           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                12                4              0:00:16             1:01:32                0:03:50            1:01:32                0:03:50           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                9               10              0:00:11             2:25:24                0:07:16            2:25:24                0:07:16           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 4               12              0:00:08             2:46:46                0:10:25            2:46:46                0:10:25           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                   0:02:22               0:01:11          0:00:00               0:00:00             0:01:52              0:01:52                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                   0:00:01               0:00:01          0:00:00               0:00:00             0:00:00              0:00:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                   1:06:19               0:16:34          0:00:00               0:00:00             0:04:25              0:01:28                                                                   4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                   0:10:11               0:05:05          0:00:20               0:00:20             0:00:05              0:00:05                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erika Cortes                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                4              0:00:07             1:09:13                0:11:32            1:09:13                0:11:32           0:00:00              0:00:00             0:00:00                0:00:00
Erika Cortes                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                4              0:00:10             0:39:19                0:06:33            0:39:19                0:06:33           0:00:00              0:00:00             0:00:00                0:00:00
Erika Cortes                  0:21:25               0:21:25          0:00:00               0:00:00             0:00:06              0:00:06                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Vincent Berube                0:29:07               0:29:07          0:00:00               0:00:00             0:03:01              0:03:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               16                5              0:00:14             0:50:16                0:01:56            0:50:16                0:01:56           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               14                3              0:00:17             1:04:23                0:02:55            1:04:23                0:02:55           0:03:32              0:03:32             0:00:00                0:00:00
Daniel Orellana               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               13                5              0:00:12             0:43:11                0:01:52            0:43:11                0:01:52           0:01:30              0:01:30             0:00:00                0:00:00
Daniel Orellana               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                6                               0:00:07             0:05:07                0:00:43            0:05:07                0:00:43           0:00:14              0:00:14             0:00:00                0:00:00
Daniel Orellana               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                3                2              0:00:16             0:29:05                0:04:09            0:29:05                0:04:09           0:01:01              0:01:01             0:00:00                0:00:00
Daniel Orellana               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1               10                1              0:00:08             0:15:08                0:01:15            0:15:08                0:01:15           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                4                3              0:00:08             0:23:12                0:02:34            0:23:12                0:02:34           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                               0:00:23             0:00:34                0:00:34            0:00:34                0:00:34           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               12                4              0:00:11             0:36:04                0:02:00            0:36:04                0:02:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               1:13:28               0:05:14          0:07:58               0:01:19             1:10:16              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               1:22:53               0:10:21          0:07:00               0:01:10             0:35:08              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               1:38:48               0:08:58          0:17:33               0:02:11             0:55:10              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               2:09:01               0:08:03          0:15:41               0:01:44             1:20:16              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               2:32:19               0:06:05          0:07:57               0:01:19             2:05:23              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               2:19:24               0:07:20          0:03:16               0:00:39             1:30:18              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               2:27:46               0:07:46          0:10:15               0:02:33             1:24:05              0:04:40                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               2:53:37               0:08:16          0:11:54               0:01:11             1:45:20              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana               1:48:19               0:09:01          0:13:41               0:01:42             0:55:11              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7               11                4              0:00:10             0:29:40                0:01:20            0:29:40                0:01:20           0:01:23              0:01:23             0:00:00                0:00:00
Iman Nejad                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:15             0:03:55                0:03:55            0:03:55                0:03:55           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:03             0:25:45                0:25:45            0:25:45                0:25:45           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:00             0:00:25                0:00:25            0:00:25                0:00:25           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                    0:58:46               0:07:20          0:04:01               0:02:00             0:35:42              0:04:27                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                    3:10:15               0:06:33          0:07:14               0:01:02             2:32:51              0:05:27                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                    3:09:22               0:07:17          0:01:55               0:00:57             1:51:14              0:04:16                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                    2:02:26               0:05:33          0:02:15               0:01:07             1:40:00              0:04:32                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Valerie L                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  3              0:00:08             0:16:25                0:05:28            0:10:23                0:03:27           0:00:00              0:00:00             0:06:02                0:03:01
                                                                                                          Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                Declaration of Brad Lee with Exhs A-G in support of Trustee Page 71 of 189

            Name    Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                   Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Valerie L                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     4                3              0:00:10             0:33:04                0:04:43            0:24:01                0:03:25           0:00:00              0:00:00             0:09:03                0:03:01
Valerie L                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                3              0:00:09             0:32:28                0:06:29            0:20:25                0:04:05           0:00:00              0:00:00             0:12:03                0:03:00
Valerie L                   3:23:18               0:07:49          0:09:08               0:02:17             1:18:23              0:03:00                                                               9                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Valerie L                   2:44:56               0:08:40          0:01:31               0:01:31             0:57:16              0:03:00                                                               9                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Valerie L                   3:18:05               0:09:25          0:01:53               0:01:53             1:03:19              0:03:00                                                               7                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Valerie L                   2:04:46               0:08:54          0:00:00               0:00:00             0:45:14              0:03:00                                                               7                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Andrea Albor                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   14               59                7              0:00:15             1:33:08                0:01:09            1:33:08                0:01:09           0:00:30              0:00:30             0:00:00                0:00:00
Andrea Albor                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   15               89                7              0:00:17             1:46:00                0:00:57            1:46:00                0:00:57           0:00:21              0:00:21             0:00:00                0:00:00
Andrea Albor                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    9               72                9              0:00:14             1:50:53                0:01:14            1:50:53                0:01:14           0:00:19              0:00:19             0:00:00                0:00:00
Andrea Albor                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   28               91                8              0:00:13             1:46:18                0:00:50            1:46:18                0:00:50           0:00:12              0:00:12             0:00:00                0:00:00
Andrea Albor                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   16               63                8              0:00:16             1:14:25                0:00:51            1:14:25                0:00:51           0:00:29              0:00:29             0:00:00                0:00:00
Andrea Albor                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   19               87                6              0:00:16             1:36:20                0:00:51            1:36:20                0:00:51           0:00:25              0:00:25             0:00:00                0:00:00
Andrea Albor                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               48                5              0:00:14             0:59:16                0:01:05            0:59:16                0:01:05           0:00:07              0:00:07             0:00:00                0:00:00
Andrea Albor                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               17                3              0:00:13             0:34:21                0:01:33            0:34:21                0:01:33           0:00:09              0:00:09             0:00:00                0:00:00
Andrea Albor                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    7               45                7              0:00:16             1:06:06                0:01:07            1:06:06                0:01:07           0:00:44              0:00:44             0:00:00                0:00:00
Andrea Albor                0:29:06               0:05:49          0:00:13               0:00:06             0:00:00              0:00:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Andrea Albor                0:00:14               0:00:14          0:00:00               0:00:00             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Golam Khan                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               11                9               11              0:00:10             2:48:36                0:05:26            2:48:36                0:05:26           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                8               10                5              0:00:11             0:53:39                0:02:19            0:53:39                0:02:19           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7                8                2              0:00:11             0:16:28                0:00:58            0:16:28                0:00:58           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5                5                1              0:00:19             0:18:26                0:01:40            0:18:26                0:01:40           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7               11                2              0:00:15             0:43:40                0:02:11            0:43:40                0:02:11           0:00:37              0:00:37             0:00:00                0:00:00
Golam Khan                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                6                               0:00:25             0:05:52                0:00:35            0:05:52                0:00:35           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                7                2              0:00:12             0:23:15                0:01:47            0:23:15                0:01:47           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                9               11                3              0:00:12             0:41:18                0:01:47            0:41:18                0:01:47           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  0:54:11               0:05:25          0:03:09               0:03:09             0:35:21              0:03:32                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  2:37:23               0:09:50          0:01:29               0:01:29             1:13:38              0:04:36                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  2:27:53               0:08:12          0:06:03               0:01:30             1:27:10              0:04:50                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  3:16:15               0:08:31          0:06:05               0:01:00             1:45:30              0:04:35                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  3:56:35               0:16:53          0:02:19               0:02:19             0:52:05              0:03:43                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  3:48:12               0:15:12          0:10:53               0:02:10             1:14:35              0:04:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  3:26:45               0:13:47          0:07:28               0:03:44             1:15:13              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                  3:25:37               0:12:51          0:04:27               0:01:29             1:14:02              0:04:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               2:21:13               1:10:36          0:00:00               0:00:00             0:04:31              0:04:31                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Kevin Marquez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:07             0:02:21                0:02:21            0:02:21                0:02:21           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 6                1              0:00:16             0:08:37                0:01:13            0:08:37                0:01:13           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                3              0:00:16             0:57:35                0:11:31            0:50:37                0:10:07           0:00:00              0:00:00             0:06:58                0:02:19
Kevin Marquez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                3              0:00:17             1:17:56                0:19:29            1:14:25                0:18:36           0:04:16              0:04:16             0:03:31                0:01:45
Kevin Marquez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3                2                2              0:00:15             0:27:13                0:03:53            0:21:11                0:03:01           0:00:00              0:00:00             0:06:02                0:03:01
Kevin Marquez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                5              0:00:16             1:27:27                0:12:29            1:21:19                0:11:37           0:02:45              0:02:45             0:06:08                0:02:02
Kevin Marquez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 5                2              0:00:20             0:40:14                0:05:44            0:35:39                0:05:05           0:00:00              0:00:00             0:04:35                0:02:17
Kevin Marquez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                               0:00:00             0:02:12                0:01:06            0:02:12                0:01:06           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 3                1              0:00:05             0:16:26                0:04:06            0:13:25                0:03:21           0:00:00              0:00:00             0:03:01                0:03:01
Kevin Marquez               3:37:45               0:15:33          0:00:00               0:00:00             0:30:47              0:02:11                                                                   9                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               3:30:09               0:17:30          0:17:36               0:08:48             0:25:12              0:02:06                                                                   7                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               2:57:01               0:19:40          0:00:00               0:00:00             0:24:39              0:02:44                                                                   4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               1:51:34               0:13:56          0:01:32               0:01:32             0:21:22              0:02:40                                                                   6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               1:43:53               0:17:18          0:06:56               0:06:56             0:15:46              0:02:37                                                                   4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               2:47:19               0:12:52          0:07:55               0:03:57             0:33:15              0:02:46                                                                   8                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               2:36:41               0:13:03          0:00:00               0:00:00             0:33:21              0:02:46                                                                   7                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               4:00:59               0:18:32          0:01:41               0:00:50             0:30:20              0:02:31                                                                   7                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez               2:15:27               0:15:03          0:00:00               0:00:00             0:24:07              0:03:00                                                                   4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                7                2              0:00:09             0:15:27                0:01:32            0:15:27                0:01:32           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               10               29                1              0:00:20             0:25:02                0:00:37            0:25:02                0:00:37           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                9                2              0:00:13             0:15:58                0:01:19            0:15:58                0:01:19           0:02:54              0:02:54             0:00:00                0:00:00
Salman Ismail               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                6                1              0:00:22             0:14:02                0:01:33            0:14:02                0:01:33           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                7                               0:00:11             0:04:42                0:00:35            0:04:42                0:00:35           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:19             0:04:56                0:02:28            0:04:56                0:02:28           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                7                               0:00:18             0:06:21                0:00:47            0:06:21                0:00:47           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:12             0:00:37                0:00:37            0:00:37                0:00:37           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 6                               0:00:27             0:02:42                0:00:27            0:02:42                0:00:27           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               2:51:59               0:09:03          0:09:02               0:01:30             1:22:26              0:04:34                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               1:16:19               0:09:32          0:04:48               0:01:36             0:35:00              0:05:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               2:22:06               0:06:27          0:14:05               0:02:20             1:49:03              0:04:57                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               2:06:21               0:06:39          0:08:06               0:02:42             1:32:48              0:04:53                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               2:56:30               0:06:32          0:10:18               0:02:03             2:08:38              0:04:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               6:00:10               0:11:37          0:16:17               0:02:02             2:13:49              0:04:57                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               2:44:28               0:06:34          0:06:00               0:02:00             1:54:56              0:04:47                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               3:16:22               0:06:20          0:23:53               0:01:59             2:14:07              0:04:47                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail               2:37:49               0:06:04          0:15:38               0:01:57             1:43:36              0:04:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               21                9              0:00:14             1:18:38                0:02:11            1:18:38                0:02:11           0:02:15              0:02:15             0:00:00                0:00:00
Nickolas Mossa              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                9               21                7              0:00:13             1:10:26                0:01:57            1:10:26                0:01:57           0:02:12              0:02:12             0:00:00                0:00:00
Nickolas Mossa              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               15                8              0:00:14             0:52:18                0:01:48            0:52:18                0:01:48           0:00:38              0:00:38             0:00:00                0:00:00
Nickolas Mossa              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7               10                7              0:00:08             0:53:32                0:02:13            0:53:32                0:02:13           0:00:22              0:00:22             0:00:00                0:00:00
Nickolas Mossa              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               19                4              0:00:21             0:52:39                0:01:48            0:52:39                0:01:48           0:03:35              0:03:35             0:00:00                0:00:00
Nickolas Mossa              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                8                7              0:00:14             0:40:14                0:02:30            0:40:14                0:02:30           0:00:32              0:00:32             0:00:00                0:00:00
Nickolas Mossa              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 6                4              0:00:17             0:42:31                0:04:15            0:42:31                0:04:15           0:01:57              0:01:57             0:00:00                0:00:00
Nickolas Mossa              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               11                3              0:00:11             0:30:23                0:01:53            0:30:23                0:01:53           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa              0:57:39               0:06:24          0:10:02               0:02:00             0:40:08              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa              1:34:19               0:11:47          0:18:19               0:03:03             0:35:07              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa              1:39:23               0:11:02          0:08:40               0:01:44             0:30:01              0:05:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa              1:54:57               0:05:28          0:18:43               0:03:07             1:35:19              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa              1:39:56               0:08:19          0:08:18               0:01:23             0:45:09              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa              1:18:51               0:07:10          0:04:24               0:01:06             0:45:09              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa              2:14:57               0:07:29          0:22:21               0:02:14             1:20:15              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa              2:42:14               0:06:29          0:18:09               0:01:23             1:30:18              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                             Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                   Declaration of Brad Lee with Exhs A-G in support of Trustee Page 72 of 189

               Name    Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                      Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Max Zinchini                   0:16:22               0:16:22          0:00:00               0:00:00             0:00:00              0:00:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Max Zinchini                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    8               15                1              0:00:21             0:13:15                0:00:33            0:13:15                0:00:33           0:00:00              0:00:00             0:00:00                0:00:00
Max Zinchini                   1:16:52               0:04:48          0:00:00               0:00:00             1:05:13              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Max Zinchini                   3:44:54               0:07:01          0:00:00               0:00:00             2:54:51              0:06:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Max Zinchini                   3:37:25               0:05:52          0:00:00               0:00:00             2:40:31              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Griselda Reina                 0:19:57               0:19:57          0:02:41               0:02:41             0:01:43              0:01:43                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Griselda Reina                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               14                5              0:00:14             1:21:55                0:03:54            1:21:55                0:03:54           0:03:31              0:03:31             0:00:00                0:00:00
Griselda Reina                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4               14               11              0:00:16             2:34:36                0:05:19            2:34:36                0:05:19           0:02:58              0:02:58             0:00:00                0:00:00
Griselda Reina                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    5               22                4              0:00:15             1:00:33                0:01:57            1:00:33                0:01:57           0:02:29              0:02:29             0:00:00                0:00:00
Griselda Reina                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   14               25                7              0:00:14             1:08:13                0:01:30            1:08:13                0:01:30           0:01:34              0:01:34             0:00:00                0:00:00
Griselda Reina                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                                0:00:00             0:00:01                0:00:01            0:00:01                0:00:01           0:00:00              0:00:00             0:00:00                0:00:00
Griselda Reina                 2:13:35               0:09:32          0:09:59               0:01:59             1:01:54              0:04:25                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Griselda Reina                 1:12:18               0:09:02          0:08:11               0:02:43             0:24:26              0:03:29                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Griselda Reina                 2:31:31               0:12:37          0:07:56               0:02:38             0:50:43              0:04:13                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Griselda Reina                 1:49:30               0:10:57          0:12:14               0:01:44             0:45:43              0:04:34                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Griselda Reina                 2:20:14               0:10:01          0:05:33               0:01:23             0:56:15              0:04:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   0:10:51               0:10:51          0:00:00               0:00:00             0:05:14              0:05:14                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Josey Harvey                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               20                2              0:00:15             0:36:58                0:01:32            0:36:58                0:01:32           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3                8                3              0:00:16             0:33:03                0:02:21            0:33:03                0:02:21           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                8                1              0:00:14             0:15:13                0:01:31            0:15:13                0:01:31           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 7                3              0:00:14             0:18:27                0:01:50            0:18:27                0:01:50           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                6                3              0:00:14             0:46:43                0:04:40            0:46:43                0:04:40           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 7                2              0:00:16             0:17:33                0:01:57            0:17:33                0:01:57           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4               15                5              0:00:17             1:03:18                0:02:38            1:03:18                0:02:38           0:02:37              0:02:37             0:00:00                0:00:00
Josey Harvey                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                3              0:00:16             0:34:05                0:04:15            0:34:05                0:04:15           0:01:26              0:01:26             0:00:00                0:00:00
Josey Harvey                   3:31:58               0:08:49          0:00:00               0:00:00             0:59:29              0:02:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   2:08:10               0:07:07          0:03:33               0:01:46             0:56:56              0:03:47                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   2:50:37               0:05:41          0:01:24               0:01:24             1:01:24              0:02:16                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   3:11:48               0:10:05          0:00:57               0:00:57             0:51:50              0:03:42                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   4:03:34               0:12:49          0:06:54               0:01:43             0:59:16              0:03:17                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   4:01:42               0:08:37          0:08:28               0:02:07             1:13:17              0:02:49                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   3:19:40               0:11:05          0:00:08               0:00:08             0:52:53              0:03:06                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   3:44:31               0:11:49          0:03:13               0:01:04             1:16:14              0:04:14                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:03             0:06:31                0:03:15            0:06:31                0:03:15           0:01:28              0:01:28             0:00:00                0:00:00
Salma Aranda                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                2              0:00:17             0:14:11                0:04:43            0:14:11                0:04:43           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:10             0:06:31                0:06:31            0:06:31                0:06:31           0:01:56              0:01:56             0:00:00                0:00:00
Salma Aranda                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                                                0:00:00             0:00:06                0:00:01            0:00:06                0:00:01           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 5                4              0:00:09             0:24:42                0:02:44            0:24:42                0:02:44           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                2              0:00:09             0:25:47                0:08:35            0:25:47                0:08:35           0:01:18              0:01:18             0:00:00                0:00:00
Salma Aranda                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:06             0:05:30                0:05:30            0:05:30                0:05:30           0:01:54              0:01:54             0:00:00                0:00:00
Salma Aranda                   4:05:17               0:10:13          0:32:07               0:02:17             1:44:31              0:04:32                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   3:41:57               0:11:05          0:20:59               0:02:05             1:40:06              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   3:19:22               0:09:29          0:25:52               0:02:09             1:50:21              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   3:40:46               0:12:15          0:25:52               0:02:21             1:25:17              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   3:06:30               0:07:46          0:15:54               0:01:26             1:59:41              0:04:59                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   3:17:10               0:13:08          0:17:24               0:02:29             1:15:15              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salma Aranda                   3:20:37               0:12:32          0:25:58               0:02:35             1:20:16              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sophia Goins                   0:25:21               0:25:21          0:02:32               0:02:32             0:00:13              0:00:13                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sophia Goins                   0:02:19               0:02:19          0:00:00               0:00:00             0:00:08              0:00:08                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sophia Goins                   0:24:59               0:24:59          0:00:31               0:00:31             0:00:25              0:00:25                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   0:08:30               0:08:30          0:00:00               0:00:00             0:12:49              0:12:49                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Sabah Ismail                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                10                4              0:00:14             1:16:40                0:05:28            1:16:40                0:05:28           0:01:13              0:01:13             0:00:00                0:00:00
Sabah Ismail                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               18                8              0:00:14             2:10:06                0:04:38            2:10:06                0:04:38           0:02:24              0:02:24             0:00:00                0:00:00
Sabah Ismail                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4               16                1              0:00:15             0:20:25                0:00:58            0:20:25                0:00:58           0:00:14              0:00:14             0:00:00                0:00:00
Sabah Ismail                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               21                2              0:00:17             0:56:36                0:02:01            0:56:36                0:02:01           0:01:39              0:01:39             0:00:00                0:00:00
Sabah Ismail                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                3                6              0:00:16             1:25:47                0:07:47            1:25:47                0:07:47           0:00:10              0:00:10             0:00:00                0:00:00
Sabah Ismail                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 6                4              0:00:19             0:41:59                0:04:11            0:41:59                0:04:11           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                8                2              0:00:18             0:20:39                0:01:52            0:20:39                0:01:52           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   2:03:49               0:08:15          0:12:45               0:01:09             1:14:57              0:04:59                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   1:03:52               0:09:07          0:04:19               0:01:26             0:35:04              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   4:10:49               0:20:54          0:15:16               0:02:10             0:54:43              0:04:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   1:30:59               0:12:59          0:08:42               0:01:27             0:31:42              0:04:31                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   1:41:17               0:07:47          0:06:26               0:02:08             1:09:16              0:04:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   2:26:01               0:12:10          0:11:52               0:01:41             0:59:47              0:04:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   2:48:42               0:12:03          0:24:26               0:02:13             1:08:06              0:04:51                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   0:01:33               0:01:33          0:00:00               0:00:00             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

justin andra                   0:06:50               0:03:25          0:00:00               0:00:00             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

justin andra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                5                               0:00:02             0:10:29                0:01:44            0:02:59                0:00:29           0:00:00              0:00:00             0:07:30                0:01:52
justin andra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               18                3              0:00:14             0:57:29                0:02:23            0:34:42                0:01:26           0:00:00              0:00:00             0:22:47                0:01:02
justin andra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               11                2              0:00:16             1:01:03                0:03:48            0:18:51                0:01:10           0:01:08              0:01:08             0:42:12                0:03:00
justin andra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 8                               0:00:23             0:18:24                0:02:18            0:07:56                0:00:59           0:00:00              0:00:00             0:10:28                0:01:18
justin andra                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 6                1              0:00:12             0:26:04                0:03:43            0:26:04                0:03:43           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   2:59:37               0:07:11          0:15:35               0:02:35             2:00:23              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   1:55:02               0:05:13          0:05:07               0:02:33             1:50:22              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   2:09:46               0:05:11          0:17:22               0:04:20             2:05:21              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   2:13:44               0:08:21          0:03:09               0:03:09             1:20:15              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   3:49:46               0:09:59          0:21:00               0:03:30             1:55:22              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   3:50:14               0:08:13          0:30:58               0:05:09             2:10:26              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   3:50:32               0:07:26          0:26:13               0:05:14             2:30:28              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   3:43:18               0:09:42          0:29:20               0:05:52             1:50:07              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                               0:00:30             0:01:05                0:00:32            0:01:05                0:00:32           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4               23                5              0:00:16             0:53:18                0:01:39            0:53:18                0:01:39           0:01:50              0:01:50             0:00:00                0:00:00
Brandon DeLaura                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                8                               0:00:20             0:05:23                0:00:32            0:05:23                0:00:32           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3                2                1              0:00:19             0:05:59                0:00:59            0:05:59                0:00:59           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                           Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                 Declaration of Brad Lee with Exhs A-G in support of Trustee Page 73 of 189

            Name     Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                    Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Brandon DeLaura              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     5                               0:00:24             0:04:40                0:00:56            0:04:40                0:00:56           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     4                1              0:00:24             0:13:07                0:02:37            0:13:07                0:02:37           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                               0:00:06             0:02:04                0:01:02            0:02:04                0:01:02           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                4                2              0:00:05             0:11:57                0:01:42            0:11:57                0:01:42           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              3:34:11               0:07:08          0:22:21               0:01:35             1:55:31              0:04:48                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              1:39:32               0:06:38          0:10:08               0:01:26             1:00:14              0:05:01                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              1:55:53               0:05:47          0:07:28               0:01:52             1:30:19              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              2:13:58               0:05:34          0:10:43               0:01:47             1:50:22              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              4:22:39               0:09:43          0:21:58               0:01:59             2:00:21              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              3:11:54               0:08:20          0:27:09               0:02:28             1:40:17              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              3:16:24               0:08:11          0:12:31               0:02:05             2:00:24              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              3:07:52               0:08:32          0:19:11               0:01:44             1:35:20              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                4                1              0:00:12             0:11:41                0:01:27            0:11:41                0:01:27           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6                4                1              0:00:15             0:06:14                0:00:34            0:06:14                0:00:34           0:00:06              0:00:06             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                3                3              0:00:07             0:39:45                0:04:25            0:39:45                0:04:25           0:02:32              0:02:32             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    5                9                4              0:00:16             0:24:58                0:01:23            0:24:58                0:01:23           0:01:10              0:01:10             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     3                               0:00:00             0:01:50                0:00:36            0:01:50                0:00:36           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                4              0:00:10             0:31:30                0:05:15            0:31:30                0:05:15           0:00:40              0:00:40             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                 2              0:00:10             0:22:23                0:11:11            0:22:23                0:11:11           0:01:29              0:01:29             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                2                4              0:00:11             0:29:21                0:04:11            0:29:21                0:04:11           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                4                4              0:00:18             0:39:34                0:04:23            0:39:34                0:04:23           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  2:27:57               0:06:25          0:06:02               0:01:12             1:05:01              0:03:05                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  2:00:51               0:05:29          0:07:04               0:00:47             0:43:12              0:02:24                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  2:06:49               0:06:02          0:05:02               0:00:43             0:43:49              0:02:44                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  1:50:34               0:05:49          0:09:07               0:01:31             0:29:42              0:01:39                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  6:09:22               0:10:51          0:08:07               0:01:09             0:43:50              0:01:24                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  4:45:06               0:09:11          0:10:31               0:01:30             1:03:10              0:02:15                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  4:00:20               0:06:40          0:16:27               0:02:03             1:08:29              0:01:54                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  3:43:42               0:09:43          0:02:33               0:00:51             0:36:47              0:01:45                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  3:34:16               0:08:55          0:11:13               0:02:14             1:04:17              0:02:40                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            0:08:55               0:08:55          0:01:18               0:01:18             0:14:52              0:14:52                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Sebastian Vasquez            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:03             0:09:48                0:09:48            0:06:47                0:06:47           0:00:00              0:00:00             0:03:01                0:03:01
Sebastian Vasquez            0:12:12               0:03:03          0:03:02               0:01:31             0:09:02              0:03:00                                                                   4                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            0:05:21               0:05:21          0:00:00               0:00:00             0:03:03              0:03:03                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            0:03:49               0:01:54          0:00:00               0:00:00             0:03:01              0:03:01                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            0:17:22               0:17:22          0:06:13               0:06:13             0:03:01              0:03:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            0:01:45               0:00:52          0:00:00               0:00:00             0:06:02              0:03:01                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                1                1              0:00:19             0:14:30                0:03:37            0:14:30                0:03:37           0:01:14              0:01:14             0:00:00                0:00:00
Sebastian Vasquez            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                                0:00:07             0:00:10                0:00:10            0:00:10                0:00:10           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                               0:00:21             0:00:44                0:00:22            0:00:44                0:00:22           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            3:52:18               0:06:27          0:50:43               0:02:40             2:50:32              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            2:32:19               0:07:36          0:34:31               0:03:27             1:38:14              0:04:54                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            3:45:15               0:08:02          0:37:21               0:02:29             2:20:26              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            3:05:14               0:07:07          0:33:46               0:02:35             2:08:56              0:04:57                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            3:41:06               0:05:49          0:16:18               0:03:15             3:10:35              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            4:22:02               0:06:43          0:23:35               0:01:57             3:10:07              0:04:52                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            4:26:17               0:06:11          0:43:54               0:02:44             3:35:43              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            4:13:44               0:07:14          1:17:30               0:04:33             3:00:37              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            4:50:23               0:08:32          1:12:15               0:04:15             2:49:21              0:04:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jasmin Amezcua               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:06             0:09:46                0:09:46            0:09:46                0:09:46           0:01:56              0:01:56             0:00:00                0:00:00
Jasmin Amezcua               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:03             0:06:07                0:06:07            0:06:07                0:06:07           0:00:00              0:00:00             0:00:00                0:00:00
Jasmin Amezcua               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                               0:00:12             0:02:59                0:01:29            0:02:59                0:01:29           0:00:00              0:00:00             0:00:00                0:00:00
Jasmin Amezcua               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                2              0:00:13             0:24:06                0:04:01            0:24:06                0:04:01           0:02:14              0:02:14             0:00:00                0:00:00
Jasmin Amezcua               3:15:39               0:10:17          0:09:30               0:01:54             1:25:00              0:04:43                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jasmin Amezcua               3:47:35               0:07:35          0:50:46               0:02:49             2:05:40              0:04:39                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jasmin Amezcua               3:42:42               0:10:36          0:21:30               0:03:35             1:33:20              0:04:40                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jasmin Amezcua               3:16:59               0:08:33          0:35:31               0:03:33             1:41:06              0:04:35                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nathan Perez                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:12             0:11:42                0:11:42            0:11:42                0:11:42           0:00:00              0:00:00             0:00:00                0:00:00
Nathan Perez                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:09             0:01:51                0:01:51            0:01:51                0:01:51           0:00:00              0:00:00             0:00:00                0:00:00
Nathan Perez                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:07             0:08:02                0:08:02            0:08:02                0:08:02           0:00:00              0:00:00             0:00:00                0:00:00
Nathan Perez                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:04             0:01:50                0:01:50            0:01:50                0:01:50           0:00:00              0:00:00             0:00:00                0:00:00
Nathan Perez                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:01             0:00:28                0:00:28            0:00:28                0:00:28           0:00:00              0:00:00             0:00:00                0:00:00
Nathan Perez                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:24             0:00:27                0:00:27            0:00:27                0:00:27           0:00:00              0:00:00             0:00:00                0:00:00
Nathan Perez                 0:05:10               0:05:10          0:00:00               0:00:00             0:02:18              0:02:18                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nathan Perez                 0:32:05               0:32:05          0:00:00               0:00:00             0:00:35              0:00:35                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nathan Perez                 0:03:20               0:03:20          0:00:00               0:00:00             0:00:07              0:00:07                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                1              0:00:23             0:05:36                0:01:52            0:05:36                0:01:52           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                               0:00:03             0:01:15                0:00:37            0:01:15                0:00:37           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                2                1              0:00:12             0:10:00                0:02:30            0:10:00                0:02:30           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                3                               0:00:18             0:04:01                0:00:48            0:04:01                0:00:48           0:00:21              0:00:21             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                               0:00:20             0:02:22                0:00:28            0:02:22                0:00:28           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  2              0:00:12             0:11:35                0:05:47            0:11:35                0:05:47           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                2                1              0:00:17             0:10:30                0:02:06            0:10:30                0:02:06           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                2              0:00:17             0:21:40                0:05:25            0:21:40                0:05:25           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                5                               0:00:12             0:03:38                0:00:36            0:03:38                0:00:36           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              2:17:25               0:04:54          0:27:26               0:01:31             2:05:24              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              1:55:31               0:03:59          0:15:06               0:01:00             2:10:27              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              2:13:39               0:05:08          0:09:22               0:01:02             1:54:56              0:04:47                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:52:38               0:03:45          0:05:35               0:00:55             0:45:09              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              2:50:52               0:07:46          0:05:07               0:01:16             1:40:31              0:04:47                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              4:05:40               0:07:13          0:13:13               0:01:28             2:35:50              0:04:52                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              8:32:40               0:15:32          0:21:24               0:01:47             2:18:55              0:04:57                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              5:18:16               0:09:05          0:16:46               0:01:11             2:32:30              0:04:55                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              3:51:28               0:07:00          0:25:50               0:01:17             2:20:47              0:04:51                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                8                2              0:00:22             0:15:53                0:01:26            0:15:53                0:01:26           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                6                1              0:00:17             0:12:29                0:01:33            0:12:29                0:01:33           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 8                               0:00:13             0:05:13                0:00:39            0:05:13                0:00:39           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                7                2              0:00:16             0:16:39                0:01:39            0:16:39                0:01:39           0:00:16              0:00:16             0:00:00                0:00:00
Carmen Marza                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                5                2              0:00:12             0:22:59                0:02:33            0:22:59                0:02:33           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                          Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                Declaration of Brad Lee with Exhs A-G in support of Trustee Page 74 of 189

            Name    Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                   Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Carmen Marza                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                7                3              0:00:17             0:28:56                0:02:37            0:28:56                0:02:37           0:01:47              0:01:47             0:00:00                0:00:00
Carmen Marza                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                5                3              0:00:16             0:32:12                0:03:13            0:32:12                0:03:13           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                    12                3              0:00:15             0:35:26                0:02:21            0:35:26                0:02:21           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                4:40:52               0:07:35          0:18:10               0:01:12             2:45:31              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                1:38:49               0:04:29          0:16:42               0:01:17             1:30:18              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                2:14:47               0:04:48          0:16:30               0:01:30             1:55:23              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                2:37:27               0:08:17          0:14:42               0:01:38             1:25:16              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                2:43:18               0:06:31          0:11:00               0:01:06             1:50:21              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                3:33:15               0:08:12          0:07:57               0:01:19             2:10:24              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                6:06:33               0:13:34          0:18:40               0:01:14             1:55:22              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                3:22:53               0:08:49          0:12:56               0:01:17             1:50:21              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              0:40:07               0:40:07          0:04:51               0:04:51             0:20:17              0:20:17                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Jennifer Andra              0:04:02               0:04:02          0:00:00               0:00:00             0:03:24              0:03:24                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Jennifer Andra              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                8               31                7              0:00:11             1:08:50                0:01:29            1:08:50                0:01:29           0:00:45              0:00:45             0:00:00                0:00:00
Jennifer Andra              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7               31                6              0:00:17             1:19:49                0:01:48            1:19:49                0:01:48           0:04:55              0:04:55             0:00:00                0:00:00
Jennifer Andra              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               24                8              0:00:10             1:48:13                0:02:50            1:48:13                0:02:50           0:02:50              0:02:50             0:00:00                0:00:00
Jennifer Andra              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4               20                7              0:00:15             1:47:14                0:03:27            1:47:14                0:03:27           0:01:05              0:01:05             0:00:00                0:00:00
Jennifer Andra              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                8               26                3              0:00:15             0:40:14                0:01:05            0:40:14                0:01:05           0:04:32              0:04:32             0:00:00                0:00:00
Jennifer Andra              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               29                2              0:00:16             0:28:27                0:00:51            0:28:27                0:00:51           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5                6                2              0:00:13             0:15:17                0:01:10            0:15:17                0:01:10           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               13                2              0:00:14             0:26:05                0:01:18            0:26:05                0:01:18           0:03:37              0:03:37             0:00:00                0:00:00
Jennifer Andra              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2               13                6              0:00:14             1:11:01                0:03:22            1:11:01                0:03:22           0:04:54              0:04:54             0:00:00                0:00:00
Jennifer Andra              1:50:02               0:09:10          0:10:56               0:01:33             0:52:27              0:04:22                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              0:11:05               0:03:41          0:04:27               0:01:29             0:13:41              0:04:33                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              1:17:15               0:15:27          0:07:14               0:01:48             0:24:28              0:04:53                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              1:38:35               0:19:43          0:07:05               0:01:25             0:25:04              0:05:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              2:32:48               0:08:02          0:10:23               0:02:04             1:29:48              0:04:43                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              2:07:50               0:12:47          0:09:32               0:01:35             0:41:57              0:04:11                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              3:36:36               0:12:02          0:15:33               0:01:43             1:23:44              0:04:39                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              2:22:06               0:10:55          0:12:12               0:01:31             1:00:38              0:04:39                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra              2:28:30               0:09:16          0:09:50               0:01:58             1:07:01              0:04:28                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            0:08:39               0:08:39          0:00:00               0:00:00             0:03:58              0:03:58                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Connor Huskisson            0:19:53               0:19:53          0:00:00               0:00:00             0:00:15              0:00:15                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Connor Huskisson            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                6               13                               0:00:22             0:09:38                0:00:30            0:09:38                0:00:30           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                9               22                4              0:00:22             0:27:01                0:00:47            0:27:01                0:00:47           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7               19                2              0:00:19             0:35:24                0:01:15            0:35:24                0:01:15           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               11               15                3              0:00:11             0:32:15                0:01:06            0:32:15                0:01:06           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5                8                1              0:00:20             0:18:32                0:01:19            0:18:32                0:01:19           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                3                1              0:00:12             0:06:47                0:01:21            0:06:47                0:01:21           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:10             0:02:00                0:02:00            0:02:00                0:02:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                5                4              0:00:10             0:54:17                0:04:56            0:54:17                0:04:56           0:03:34              0:03:34             0:00:00                0:00:00
Connor Huskisson            2:28:28               0:05:56          0:05:41               0:02:50             2:05:24              0:05:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            1:36:35               0:06:02          0:00:00               0:00:00             1:20:03              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            1:55:17               0:06:04          0:13:29               0:03:22             1:18:37              0:04:37                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            1:13:25               0:07:20          0:01:10               0:01:10             0:50:09              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            2:07:38               0:06:22          0:00:00               0:00:00             1:35:02              0:04:45                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            3:32:31               0:07:05          0:03:58               0:01:59             2:25:24              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            3:27:25               0:08:38          0:03:52               0:00:46             1:55:21              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            2:52:42               0:07:11          0:03:35               0:01:47             2:00:24              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson            2:10:58               0:07:16          0:03:04               0:03:04             1:30:17              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jason Cast                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:00             0:00:44                0:00:44            0:00:44                0:00:44           0:00:00              0:00:00             0:00:00                0:00:00
Jason Cast                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:02             0:04:01                0:04:01            0:04:01                0:04:01           0:00:45              0:00:45             0:00:00                0:00:00
Jason Cast                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:04             0:00:18                0:00:18            0:00:18                0:00:18           0:00:00              0:00:00             0:00:00                0:00:00
Jason Cast                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  2              0:00:12             0:37:38                0:18:49            0:37:38                0:18:49           0:00:25              0:00:25             0:00:00                0:00:00
Jason Cast                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:04             0:45:43                0:45:43            0:45:43                0:45:43           0:00:00              0:00:00             0:00:00                0:00:00
Jason Cast                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                               0:00:14             0:00:32                0:00:16            0:00:32                0:00:16           0:00:00              0:00:00             0:00:00                0:00:00
Jason Cast                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:02             0:51:08                0:51:08            0:51:08                0:51:08           0:00:00              0:00:00             0:00:00                0:00:00
Jason Cast                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                                 1              0:00:09             0:19:07                0:09:33            0:19:07                0:09:33           0:01:32              0:01:32             0:00:00                0:00:00
Reham Zin                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7               17                3              0:00:13             1:13:48                0:02:44            1:13:48                0:02:44           0:02:13              0:02:13             0:00:00                0:00:00
Reham Zin                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                5               10                1              0:00:25             0:10:07                0:00:37            0:10:07                0:00:37           0:00:43              0:00:43             0:00:00                0:00:00
Reham Zin                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                7                1              0:00:20             0:09:33                0:01:03            0:09:33                0:01:03           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                3               13                3              0:00:16             0:43:52                0:02:18            0:43:52                0:02:18           0:06:29              0:06:29             0:00:00                0:00:00
Reham Zin                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 5                2              0:00:21             0:21:12                0:03:01            0:21:12                0:03:01           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 6                               0:00:15             0:07:17                0:01:12            0:07:17                0:01:12           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:20             0:08:31                0:04:15            0:08:31                0:04:15           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   1:04:05               0:07:07          0:02:00               0:02:00             0:45:08              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   1:57:46               0:05:53          0:07:00               0:02:20             1:35:17              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   2:27:33               0:07:45          0:02:06               0:02:06             1:35:18              0:05:00                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   1:29:36               0:06:53          0:09:38               0:03:12             0:55:11              0:05:01                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   2:27:52               0:05:41          0:01:56               0:00:38             2:10:22              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   4:12:45               0:10:06          0:03:51               0:01:55             1:55:22              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   2:08:06               0:04:44          0:01:08               0:01:08             2:05:25              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                   0:39:57               0:04:26          0:00:00               0:00:00             0:40:06              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                2                3              0:00:11             2:02:04                0:13:33            2:02:04                0:13:33           0:03:11              0:03:11             0:00:00                0:00:00
Tony Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                7               53                3              0:00:16             0:54:32                0:00:51            0:54:32                0:00:51           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4               32                8              0:00:16             1:24:21                0:01:55            1:24:21                0:01:55           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                               0:00:21             0:00:41                0:00:41            0:00:41                0:00:41           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                11                6              0:00:13             0:55:22                0:03:15            0:55:22                0:03:15           0:01:21              0:01:21             0:00:00                0:00:00
Tony Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                3                4              0:00:15             0:37:47                0:04:11            0:37:47                0:04:11           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                3:03:51               0:12:15          0:03:21               0:01:40             0:43:15              0:03:05                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                0:43:25               0:07:14          0:08:44               0:04:22             0:22:35              0:03:45                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                2:24:55               0:11:08          0:06:46               0:06:46             0:55:07              0:04:14                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                4:42:19               0:17:38          0:03:46               0:01:53             0:58:24              0:04:10                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                3:07:54               0:12:31          0:13:20               0:06:40             1:05:41              0:04:41                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                4:00:17               0:11:26          0:15:26               0:03:05             1:13:25              0:04:19                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 75 of 189

            Name         Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                        Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Samuel Pierce                    0:00:50               0:00:50          0:00:15               0:00:15             0:04:09              0:04:09                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Samuel Pierce                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    9               40                3              0:00:15             0:54:29                0:01:02            0:54:29                0:01:02           0:00:56              0:00:56             0:00:00                0:00:00
Samuel Pierce                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   11               35                5              0:00:16             1:03:45                0:01:15            1:03:45                0:01:15           0:00:53              0:00:53             0:00:00                0:00:00
Samuel Pierce                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    8               37                3              0:00:17             0:38:12                0:00:47            0:38:12                0:00:47           0:00:27              0:00:27             0:00:00                0:00:00
Samuel Pierce                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    8               42                6              0:00:14             1:44:31                0:01:51            1:44:31                0:01:51           0:00:32              0:00:32             0:00:00                0:00:00
Samuel Pierce                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    7               16                1              0:00:23             0:16:20                0:00:44            0:16:20                0:00:44           0:00:23              0:00:23             0:00:00                0:00:00
Samuel Pierce                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    9               36                5              0:00:14             0:52:18                0:01:02            0:52:18                0:01:02           0:00:39              0:00:39             0:00:00                0:00:00
Samuel Pierce                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4               41                5              0:00:21             0:54:20                0:01:05            0:54:20                0:01:05           0:01:50              0:01:50             0:00:00                0:00:00
Samuel Pierce                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                9                               0:00:14             0:04:50                0:00:29            0:04:50                0:00:29           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   21               63                6              0:00:15             1:18:29                0:00:52            1:18:29                0:00:52           0:00:46              0:00:46             0:00:00                0:00:00
Samuel Pierce                    1:23:24               0:05:57          0:04:01               0:01:00             0:52:41              0:04:47                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                    0:32:32               0:08:08          0:00:00               0:00:00             0:20:04              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                    0:44:11               0:08:50          0:00:00               0:00:00             0:25:05              0:05:01                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                    1:32:24               0:18:28          0:01:36               0:01:36             0:22:57              0:04:35                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                    1:12:01               0:05:32          0:02:57               0:00:59             0:31:18              0:04:28                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                    0:22:55               0:05:43          0:00:00               0:00:00             0:15:46              0:03:56                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                    2:50:58               0:09:29          0:04:57               0:00:49             1:20:16              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                    0:16:39               0:08:19          0:00:00               0:00:00             0:10:02              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sulaiman Khan                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                    14                1              0:00:25             0:27:14                0:01:48            0:27:14                0:01:48           0:15:56              0:15:56             0:00:00                0:00:00
Sulaiman Khan                    2:06:36               0:12:39          0:25:16               0:04:12             0:44:32              0:04:56                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Adriana Hernandez                5:16:34               0:13:11          0:50:22               0:02:23             1:50:19              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    7               28                8              0:00:18             1:14:58                0:01:44            1:14:58                0:01:44           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                      1:24:17               0:10:32          0:04:35               0:01:31             0:40:09              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   20               96                7              0:00:14             2:01:29                0:00:59            2:01:29                0:00:59           0:00:25              0:00:25             0:00:00                0:00:00
Sufyaan Lakhani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     6                2              0:00:18             0:11:05                0:01:23            0:11:05                0:01:23           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                  2:51:39               0:09:32          0:11:31               0:02:18             1:28:33              0:04:39                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                               0:00:31             0:00:35                0:00:35            0:00:35                0:00:35           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                      3:23:34               0:07:49          0:06:53               0:01:22             2:04:19              0:04:46                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                    2:33:48               0:11:49          0:15:02               0:03:00             0:55:11              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                1              0:00:04             0:10:54                0:03:38            0:10:54                0:03:38           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                      1:44:17               0:10:25          0:13:28               0:02:14             0:45:09              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Humza Shariff                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     7                1              0:00:16             0:19:16                0:02:24            0:19:16                0:02:24           0:00:00              0:00:00             0:00:00                0:00:00
Humza Shariff                    2:34:38               0:07:43          0:20:06               0:01:49             1:24:54              0:04:59                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anthony Base                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1               10                3              0:00:06             0:56:47                0:04:03            0:56:47                0:04:03           0:04:24              0:04:24             0:00:00                0:00:00
Anthony Base                     0:06:23               0:06:23          0:01:11               0:01:11             0:03:01              0:03:01                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karla Bravo                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                               0:00:12             0:03:03                0:01:31            0:03:03                0:01:31           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                       0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                               0:00:08             0:01:34                0:00:47            0:01:34                0:00:47           0:00:00              0:00:00             0:00:00                0:00:00
Amir nejad                       3:10:43               0:05:57          0:08:14               0:01:38             1:36:24              0:03:34                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kimberly Torres                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               12               13              0:00:13             2:55:09                0:06:29            2:55:09                0:06:29           0:02:47              0:02:47             0:00:00                0:00:00
Kimberly Torres                  0:27:14               0:09:04          0:00:00               0:00:00             0:00:00              0:00:00                                                               3                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                5                2              0:00:15             0:34:22                0:04:17            0:34:22                0:04:17           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang              1:52:46               0:06:15          0:01:14               0:00:18             1:20:18              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3               18                4              0:00:18             0:42:05                0:01:41            0:42:05                0:01:41           0:00:27              0:00:27             0:00:00                0:00:00
Manny Alatorre                   3:08:22               0:07:50          0:11:04               0:01:13             1:41:32              0:04:24                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                5                1              0:00:20             0:19:54                0:02:50            0:19:54                0:02:50           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                    3:55:22               0:11:12          0:32:52               0:01:49             1:45:21              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                    3:53:50               0:12:59          0:12:57               0:01:51             0:47:10              0:02:56                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Isa Avina-Cardiel                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     5                4              0:00:13             0:32:41                0:03:37            0:29:40                0:03:17           0:02:21              0:02:21             0:03:01                0:03:01
Isa Avina-Cardiel                2:28:20               0:10:35          0:33:48               0:02:49             0:31:27              0:02:25                                                               5                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                    15               18              0:00:11             3:23:49                0:06:10            3:23:49                0:06:10           0:00:00              0:00:00             0:00:00                0:00:00
Melina Beltran                   0:31:49               0:04:32          0:00:00               0:00:00             0:00:45              0:00:09                                                               7                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nicole Morris                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6               12                4              0:00:13             0:45:28                0:02:04            0:45:28                0:02:04           0:00:14              0:00:14             0:00:00                0:00:00
Nicole Morris                    1:32:51               0:10:19          0:02:47               0:00:41             0:23:33              0:02:37                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                5                2              0:00:15             0:33:21                0:04:10            0:33:21                0:04:10           0:01:06              0:01:06             0:00:00                0:00:00
Ali Mohamed                      2:36:22               0:09:46          0:09:26               0:01:34             1:15:15              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Triana Camero                    2:38:22               0:10:33          0:21:32               0:02:09             1:00:11              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
David Del Toro                   0:38:32               0:12:50          0:00:59               0:00:59             0:09:01              0:03:00                                                               3                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
David Del Toro                   4:47:06               0:13:40          0:11:36               0:01:39             1:45:19              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                        0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                6                1              0:00:09             0:11:10                0:01:23            0:11:10                0:01:23           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                        2:43:11               0:07:46          0:27:46               0:03:28             1:26:10              0:04:18                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      2              0:00:07             0:10:01                0:05:00            0:10:01                0:05:00           0:00:01              0:00:01             0:00:00                0:00:00
Lex Avina-Cardiel                4:01:49               0:14:13          0:20:36               0:02:56             0:58:19              0:04:09                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                5                2              0:00:15             0:11:44                0:01:28            0:11:44                0:01:28           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                      2:36:10               0:07:26          0:18:41               0:01:41             1:36:47              0:04:50                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                7                5              0:00:21             0:59:53                0:04:36            0:59:53                0:04:36           0:01:30              0:01:30             0:00:00                0:00:00
Brant Bishop                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     7                               0:00:19             0:06:18                0:00:54            0:06:18                0:00:54           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                     3:13:09               0:07:25          0:03:19               0:00:39             2:10:25              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                 3              0:00:06             0:51:03                0:12:45            0:51:03                0:12:45           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                    4:33:06               0:13:39          0:39:18               0:03:01             1:40:18              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                6                3              0:00:13             0:43:59                0:03:59            0:43:59                0:03:59           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                       4:34:13               0:19:35          0:18:07               0:01:48             0:58:36              0:04:30                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanner Angulo                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   12               76                4              0:00:16             1:05:43                0:00:42            1:05:43                0:00:42           0:00:32              0:00:32             0:00:00                0:00:00
Hanner Angulo                    0:23:10               0:11:35          0:02:27               0:02:27             0:00:00              0:00:00                                                               2                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Khalil Beshoy                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                4                7                6              0:00:10             1:24:35                0:04:58            1:24:35                0:04:58           0:03:02              0:03:02             0:00:00                0:00:00
Khalil Beshoy                    1:42:21               0:10:14          0:13:00               0:04:20             0:39:58              0:04:26                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:04             0:06:55                0:03:27            0:06:55                0:03:27           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera                2:53:40               0:09:08          0:14:31               0:01:48             1:16:30              0:04:15                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza                  0:21:27               0:10:43          0:02:35               0:02:35             0:03:01              0:03:01                                                                   2                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                1                2              0:00:08             0:30:43                0:07:40            0:30:43                0:07:40           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza                  5:12:16               0:14:11          0:15:53               0:01:59             1:50:21              0:05:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                       0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                3              0:00:16             0:17:55                0:04:28            0:14:54                0:03:43           0:03:39              0:03:39             0:03:01                0:03:01
Elio Riano                       2:58:16               0:09:22          0:24:29               0:03:03             0:50:17              0:02:47                                                                   6                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                               0:00:21             0:00:51                0:00:25            0:00:51                0:00:25           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                9                3              0:00:21             1:07:45                0:05:12            1:07:45                0:05:12           0:05:05              0:05:05             0:00:00                0:00:00
Mahmoud Bany-Mohammed            1:36:27               0:19:17          0:15:02               0:03:45             0:25:05              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Stephanie Reynoso                1:39:39               0:07:39          0:15:21               0:01:55             1:04:31              0:04:57                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  2              0:00:07             0:15:10                0:07:35            0:15:10                0:07:35           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                               0:00:12             0:04:47                0:00:57            0:04:47                0:00:57           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                             Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                   Declaration of Brad Lee with Exhs A-G in support of Trustee Page 76 of 189

            Name       Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                      Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Jarod Vaughan                  3:29:52               0:09:32          0:06:07               0:02:02             1:40:20              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez                 3:59:07               0:12:35          0:17:50               0:05:56             1:33:20              0:04:54                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                2                1              0:00:15             0:37:23                0:09:20            0:37:23                0:09:20           0:00:00              0:00:00             0:00:00                0:00:00
Tainis Tapias                  4:54:05               0:13:22          0:36:36               0:02:36             1:47:46              0:04:53                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Hinson                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                7                9              0:00:08             1:22:10                0:04:33            1:22:10                0:04:33           0:01:04              0:01:04             0:00:00                0:00:00
Nassir Diab                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     7                               0:00:20             0:04:02                0:00:34            0:04:02                0:00:34           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                    1:44:44               0:04:21          0:12:42               0:01:24             1:50:22              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                4                3              0:00:12             0:22:11                0:02:13            0:22:11                0:02:13           0:00:18              0:00:18             0:00:00                0:00:00
Daisy Meneses                  3:00:58               0:09:31          0:18:32               0:01:51             0:45:11              0:02:39                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4               23                4              0:00:18             1:26:35                0:02:47            1:26:35                0:02:47           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                   1:44:58               0:17:29          0:01:32               0:00:46             0:30:06              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lester Perez                   0:08:28               0:08:28          0:00:58               0:00:58             0:03:01              0:03:01                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lester Perez                   4:13:17               0:07:54          0:35:02               0:01:56             2:35:30              0:05:00                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               13                1              0:00:15             0:18:04                0:01:07            0:18:04                0:01:07           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                    2:08:39               0:10:43          0:01:40               0:00:50             0:55:11              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                6                4              0:00:13             0:36:14                0:03:17            0:36:14                0:03:17           0:00:00              0:00:00             0:00:00                0:00:00
andre alvarenga                3:01:53               0:16:32          0:27:13               0:02:43             0:55:09              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                2                               0:00:18             0:01:28                0:00:29            0:01:28                0:00:29           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez            3:06:39               0:08:06          0:42:00               0:03:00             1:39:24              0:04:58                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                               0:00:04             0:00:10                0:00:10            0:00:10                0:00:10           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                   3:50:52               0:17:45          0:22:39               0:02:49             0:39:12              0:03:00                                                               5                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                1              0:00:18             0:01:27                0:00:29            0:01:27                0:00:29           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez                3:27:37               0:11:32          0:41:48               0:04:38             0:36:12              0:03:01                                                              10                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                 3:26:19               0:08:35          0:12:51               0:02:34             1:25:17              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                1              0:00:05             0:09:44                0:04:52            0:09:38                0:04:49           0:04:02              0:04:02             0:00:06                0:00:06
Hunter Glass                   3:14:56               0:09:44          0:41:50               0:03:13             0:35:26              0:01:58                                                               7                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                14              0:00:11             2:39:36                0:10:38            2:39:36                0:10:38           0:00:09              0:00:09             0:00:00                0:00:00
Vincent Berube                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                2              0:00:07             0:18:19                0:06:06            0:15:18                0:05:06           0:02:51              0:02:51             0:03:01                0:03:01
Vincent Berube                 2:26:39               0:14:39          0:19:19               0:03:13             0:24:30              0:02:43                                                               4                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               13                               0:00:16             0:07:03                0:00:30            0:07:03                0:00:30           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana                2:49:55               0:09:59          0:22:15               0:02:01             1:25:19              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                1              0:00:12             0:10:05                0:03:21            0:10:05                0:03:21           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                     2:47:11               0:06:11          0:00:00               0:00:00             1:37:03              0:03:35                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Andrea Albor                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   18              101               10              0:00:15             2:17:05                0:01:03            2:17:05                0:01:03           0:00:25              0:00:25             0:00:00                0:00:00
Golam Khan                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   13               10                4              0:00:15             0:48:02                0:01:46            0:48:02                0:01:46           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                     2:07:43               0:09:07          0:04:01               0:01:20             0:55:20              0:04:36                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                4              0:00:06             0:48:06                0:08:01            0:45:06                0:07:31           0:00:00              0:00:00             0:03:00                0:03:00
Kevin Marquez                  3:46:30               0:22:39          0:03:49               0:01:54             0:21:30              0:02:41                                                               7                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniela Serrano                5:38:15               0:17:48          1:15:45               0:03:59             1:20:15              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                               0:00:21             0:01:11                0:00:35            0:01:11                0:00:35           0:00:00              0:00:00             0:00:00                0:00:00
Salman Ismail                  2:22:19               0:07:54          0:12:43               0:02:32             1:22:45              0:04:52                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                5                1              0:00:16             0:13:17                0:01:53            0:13:17                0:01:53           0:00:00              0:00:00             0:00:00                0:00:00
Nickolas Mossa                 2:46:30               0:07:55          0:15:11               0:02:31             1:45:20              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     4                4              0:00:13             0:32:54                0:04:06            0:32:54                0:04:06           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                   3:38:54               0:12:09          0:04:49               0:01:36             1:03:42              0:03:32                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     5                1              0:00:16             0:09:51                0:01:38            0:09:51                0:01:38           0:00:27              0:00:27             0:00:00                0:00:00
Sabah Ismail                   2:33:19               0:09:34          0:13:58               0:01:33             1:19:21              0:04:57                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
justin andra                   2:17:05               0:06:13          0:07:46               0:02:35             1:50:21              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                9                2              0:00:08             0:33:55                0:02:36            0:33:55                0:02:36           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura                2:52:58               0:08:38          0:10:05               0:01:07             1:40:17              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                2              0:00:04             0:11:37                0:02:54            0:11:37                0:02:54           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                    5:53:16               0:13:35          0:16:01               0:01:36             0:50:36              0:02:12                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                1                               0:00:12             0:00:42                0:00:21            0:00:42                0:00:21           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez              0:23:50               0:04:46          0:08:05               0:02:41             0:20:04              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jasmin Amezcua                 1:46:53               0:08:54          0:15:19               0:03:49             0:49:12              0:04:28                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                    10                2              0:00:13             0:31:06                0:02:35            0:31:06                0:02:35           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                   2:44:57               0:06:20          0:11:15               0:01:07             1:50:22              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                8                1              0:00:22             0:37:27                0:03:07            0:37:27                0:03:07           0:04:27              0:04:27             0:00:00                0:00:00
Jennifer Andra                 1:51:55               0:12:26          0:17:59               0:02:59             0:45:09              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                3                2              0:00:15             0:13:36                0:02:16            0:13:36                0:02:16           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson               2:38:45               0:05:52          0:04:18               0:02:09             2:15:26              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                2                1              0:00:07             0:07:08                0:01:25            0:07:08                0:01:25           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                      1:47:31               0:04:28          0:06:49               0:03:24             1:55:21              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                2                2              0:00:06             0:33:55                0:06:47            0:33:55                0:06:47           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                   3:49:37               0:09:34          0:13:22               0:04:27             1:32:57              0:04:38                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3               14                2              0:00:09             0:36:25                0:01:55            0:36:25                0:01:55           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                  2:10:20               0:08:08          0:01:46               0:00:53             0:50:45              0:03:10                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     7                5              0:00:12             0:59:12                0:04:56            0:59:12                0:04:56           0:00:00              0:00:00             0:00:00                0:00:00
Mike Larkin                    2:01:41               0:06:24          0:10:21               0:01:28             1:22:24              0:04:20                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Yesica Sierra                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4               80                5              0:00:13             1:30:21                0:01:00            1:30:21                0:01:00           0:01:44              0:01:44             0:00:00                0:00:00
Yesica Sierra                  0:05:56               0:05:56          0:02:09               0:02:09             0:00:00              0:00:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Sufyaan Lakhani                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 2                1              0:00:08             0:10:10                0:03:23            0:10:10                0:03:23           0:00:00              0:00:00             0:00:00                0:00:00
Sufyaan Lakhani                4:38:36               0:08:11          0:20:04               0:01:20             2:14:15              0:03:56                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                6                2              0:00:21             0:17:38                0:01:57            0:17:38                0:01:57           0:00:00              0:00:00             0:00:00                0:00:00
Erica Kline                    3:04:12               0:10:50          0:11:32               0:02:18             1:23:24              0:04:54                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josue Alvarez                  3:39:46               0:10:59          0:42:41               0:03:52             1:30:18              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 7                               0:00:19             0:03:19                0:00:28            0:03:19                0:00:28           0:00:00              0:00:00             0:00:00                0:00:00
Jas Sanchez                    2:11:42               0:08:46          0:19:37               0:02:10             1:05:24              0:04:21                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Humza Shariff                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                2                1              0:00:07             0:07:19                0:01:27            0:07:19                0:01:27           0:00:00              0:00:00             0:00:00                0:00:00
Humza Shariff                  3:47:07               0:08:24          0:19:46               0:02:11             2:04:42              0:04:59                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ronald Apodaca                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1                4                4              0:00:08             1:07:56                0:07:32            1:07:56                0:07:32           0:00:00              0:00:00             0:00:00                0:00:00
Ronald Apodaca                 3:57:59               0:11:19          0:10:59               0:01:34             1:15:24              0:04:11                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Anjeanette Chek                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                2                7                4              0:00:10             0:34:41                0:02:40            0:34:41                0:02:40           0:00:00              0:00:00             0:00:00                0:00:00
Anjeanette Chek                2:30:35               0:11:35          0:17:43               0:03:32             0:55:00              0:04:13                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christian Sangalang            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                13                1              0:00:23             0:12:22                0:00:53            0:12:22                0:00:53           0:00:28              0:00:28             0:00:00                0:00:00
Christian Sangalang            2:19:53               0:07:46          0:05:56               0:01:29             1:12:02              0:04:30                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jolie R                        0:00:08               0:00:08          0:00:00               0:00:00             0:00:00              0:00:00                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                1               12                1              0:00:15             0:15:51                0:01:07            0:15:51                0:01:07           0:00:00              0:00:00             0:00:00                0:00:00
Manny Alatorre                 4:22:49               0:09:23          0:25:59               0:01:59             1:52:34              0:04:30                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                               Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                     Declaration of Brad Lee with Exhs A-G in support of Trustee Page 77 of 189

            Name         Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In       Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                        Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered         Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Cindy Vazquez                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                4                               0:00:18             0:02:49                0:00:33            0:02:49                0:00:33           0:00:00              0:00:00             0:00:00                0:00:00
Cindy Vazquez                    4:46:40               0:11:56          0:23:32               0:01:57             1:50:21              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2                3                1              0:00:10             0:04:50                0:00:48            0:04:50                0:00:48           0:00:00              0:00:00             0:00:00                0:00:00
bonnie romero                    3:52:31               0:06:27          0:15:09               0:01:41             1:31:53              0:02:57                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Isa Avina-Cardiel                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                1              0:00:13             0:09:10                0:04:35            0:09:10                0:04:35           0:02:26              0:02:26             0:00:00                0:00:00
Isa Avina-Cardiel                2:05:12               0:08:56          0:28:17               0:02:49             0:42:14              0:03:01                                                              10                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               11                               0:00:18             0:12:24                0:00:57            0:12:24                0:00:57           0:00:00              0:00:00             0:00:00                0:00:00
Ali Mohamed                      4:03:25               0:13:31          0:23:58               0:03:25             1:10:14              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Triana Camero                    6:02:00               0:10:58          1:02:03               0:02:49             2:30:30              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
David Del Toro                   5:37:41               0:11:38          0:01:16               0:00:25             2:25:31              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jess Pena                        0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               14                4              0:00:14             0:49:43                0:02:29            0:49:43                0:02:29           0:03:25              0:03:25             0:00:00                0:00:00
Jess Pena                        2:15:45               0:10:26          0:21:32               0:02:23             0:39:33              0:03:35                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lex Avina-Cardiel                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:06             0:06:13                0:06:13            0:06:13                0:06:13           0:02:25              0:02:25             0:00:00                0:00:00
Lex Avina-Cardiel                4:33:05               0:09:45          0:28:31               0:02:22             1:43:26              0:04:08                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                1              0:00:13             0:26:18                0:13:09            0:20:16                0:10:08           0:00:00              0:00:00             0:06:02                0:03:01
Saif Ismail                      0:10:54               0:10:54          0:01:09               0:01:09             0:03:01              0:03:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Saif Ismail                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               17                7              0:00:15             0:59:06                0:02:16            0:59:06                0:02:16           0:00:43              0:00:43             0:00:00                0:00:00
Saif Ismail                      0:10:48               0:05:24          0:00:55               0:00:55             0:09:40              0:04:50                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Phoenix Paralegal                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     3                               0:00:15             0:02:11                0:00:43            0:02:11                0:00:43           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     5                2              0:00:09             0:29:13                0:04:10            0:29:13                0:04:10           0:00:00              0:00:00             0:00:00                0:00:00
Brant Bishop                     3:42:34               0:07:56          0:05:13               0:01:02             2:15:24              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                    0:13:08               0:13:08          0:03:54               0:03:54             0:03:01              0:03:01                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Fausto Beleno                    5:22:09               0:10:23          0:31:27               0:02:05             2:35:33              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Legal Phoenix                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                3              0:00:13             0:36:18                0:07:15            0:36:18                0:07:15           0:00:00              0:00:00             0:00:00                0:00:00
Abe Flores                       0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                2              0:00:06             0:47:26                0:15:48            0:47:26                0:15:48           0:03:57              0:03:57             0:00:00                0:00:00
Abe Flores                       4:41:29               0:20:06          0:43:57               0:03:22             0:57:12              0:04:24                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanner Angulo                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                   10               66                5              0:00:16             1:21:37                0:01:00            1:21:37                0:01:00           0:00:27              0:00:27             0:00:00                0:00:00
Hanner Angulo                    0:05:18               0:05:18          0:00:23               0:00:23             0:00:00              0:00:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Khalil Beshoy                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                1              0:00:16             0:05:34                0:01:51            0:05:34                0:01:51           0:00:00              0:00:00             0:00:00                0:00:00
Khalil Beshoy                    3:10:11               0:11:53          0:36:09               0:03:36             1:20:06              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4               36                2              0:00:15             0:55:59                0:01:19            0:55:59                0:01:19           0:00:00              0:00:00             0:00:00                0:00:00
Jessenia Oseguera                1:16:22               0:06:56          0:05:56               0:01:58             0:36:51              0:03:41                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza                  0:19:27               0:19:27          0:01:28               0:01:28             0:03:01              0:03:01                                                               1                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
yuliana mendoza                  4:49:55               0:09:21          0:24:30               0:01:53             2:35:30              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Elio Riano                       4:00:39               0:15:02          0:24:00               0:03:00             0:38:46              0:02:35                                                               7                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Selina Taing                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                                                0:00:00             0:00:13                0:00:13            0:00:13                0:00:13           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                3                               0:00:21             0:02:41                0:00:40            0:02:41                0:00:40           0:00:00              0:00:00             0:00:00                0:00:00
Victoria Dang                    3:47:10               0:15:08          0:22:35               0:03:13             0:42:11              0:03:00                                                               8                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ralph Breneville                 5:31:58               0:15:48          0:07:55               0:01:19             1:01:25              0:03:50                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Christopher Cole                 4:21:26               0:16:20          0:07:25               0:01:14             1:15:14              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    2               13                1              0:00:18             0:15:43                0:00:58            0:15:43                0:00:58           0:00:00              0:00:00             0:00:00                0:00:00
Mahmoud Bany-Mohammed            3:27:19               0:29:37          0:17:12               0:03:26             0:35:07              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ty Carss                         0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                1              0:00:04             0:26:48                0:13:24            0:26:48                0:13:24           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     6                1              0:00:21             0:13:21                0:01:54            0:13:21                0:01:54           0:00:00              0:00:00             0:00:00                0:00:00
Jarod Vaughan                    3:18:16               0:12:23          0:17:49               0:04:27             1:00:11              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     6                               0:00:17             0:03:34                0:00:35            0:03:34                0:00:35           0:00:00              0:00:00             0:00:00                0:00:00
George Sanchez                   3:39:42               0:09:09          0:09:44               0:01:04             1:56:07              0:04:50                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nassir Diab                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                6                5              0:00:15             0:30:07                0:02:30            0:30:07                0:02:30           0:01:23              0:01:23             0:00:00                0:00:00
Nassir Diab                      2:05:57               0:04:50          0:09:29               0:01:53             1:45:17              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daisy Meneses                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1               12                3              0:00:15             1:03:54                0:03:59            1:03:54                0:03:59           0:00:54              0:00:54             0:00:00                0:00:00
Daisy Meneses                    3:24:55               0:09:18          0:22:25               0:01:52             1:00:01              0:03:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Quynh Nguyen                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6               20                2              0:00:17             0:32:48                0:01:12            0:32:48                0:01:12           0:02:14              0:02:14             0:00:00                0:00:00
Quynh Nguyen                     1:52:26               0:07:01          0:04:23               0:01:27             1:13:51              0:04:55                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     6                3              0:00:15             0:28:29                0:03:09            0:28:29                0:03:09           0:00:00              0:00:00             0:00:00                0:00:00
Hanya Zargaran                   3:23:19               0:08:50          0:12:05               0:01:30             1:32:47              0:04:53                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Lester Perez                     5:11:00               0:07:58          0:40:25               0:02:22             3:10:35              0:05:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                    13                1              0:00:17             0:12:55                0:00:55            0:12:55                0:00:55           0:00:00              0:00:00             0:00:00                0:00:00
James Andra                      2:24:32               0:13:08          0:01:27               0:01:27             0:50:10              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    3                7                1              0:00:16             0:12:00                0:01:05            0:12:00                0:01:05           0:00:00              0:00:00             0:00:00                0:00:00
Karen Saldana-Lopez              3:55:29               0:12:23          0:49:47               0:05:31             1:20:36              0:04:44                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Nikki Miller                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                      1              0:00:13             0:15:46                0:15:46            0:15:46                0:15:46           0:03:16              0:03:16             0:00:00                0:00:00
Nikki Miller                     4:12:48               0:22:58          0:24:59               0:03:07             0:27:10              0:03:01                                                               7                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Abraham Sanchez                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     1                1              0:00:08             0:23:41                0:11:50            0:20:40                0:10:20           0:05:37              0:05:37             0:03:01                0:03:01
Abraham Sanchez                  4:24:05               0:17:36          0:57:38               0:05:45             0:30:09              0:03:00                                                              10                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Ceballos                   0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     8                3              0:00:10             0:57:13                0:05:12            0:57:13                0:05:12           0:02:02              0:02:02             0:00:00                0:00:00
Kevin Ceballos                   3:05:30               0:10:54          0:09:48               0:01:57             1:00:12              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Hunter Glass                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    1                2                2              0:00:10             0:36:52                0:07:22            0:33:18                0:06:39           0:00:00              0:00:00             0:03:34                0:01:47
Hunter Glass                     3:43:58               0:10:39          1:22:43               0:04:21             0:21:20              0:01:07                                                              11                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Ivis Parada                      0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     2                7              0:00:05             1:51:48                0:12:25            1:51:48                0:12:25           0:02:38              0:02:38             0:00:00                0:00:00
Ivis Parada                      1:56:18               0:23:15          0:06:37               0:02:12             0:05:29              0:01:22                                                               5                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Vincent Berube                   3:39:42               0:14:38          0:24:48               0:02:45             0:33:09              0:03:00                                                               9                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniel Orellana                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    4               11                6              0:00:14             1:06:10                0:03:09            1:06:10                0:03:09           0:01:23              0:01:23             0:00:00                0:00:00
Daniel Orellana                  1:24:09               0:07:00          0:03:23               0:00:50             1:00:12              0:05:01                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                       0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                     4                               0:00:15             0:03:00                0:00:45            0:03:00                0:00:45           0:00:00              0:00:00             0:00:00                0:00:00
Iman Nejad                       3:08:29               0:06:16          0:08:35               0:04:17             1:27:44              0:02:55                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Andrea Albor                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                    6               69                4              0:00:17             1:08:42                0:00:52            1:08:42                0:00:52           0:00:19              0:00:19             0:00:00                0:00:00
Andrea Albor                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                                               0                                                                     0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00

Golam Khan                       0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0               19               24                2              0:00:18             0:59:10                0:01:18            0:59:10                0:01:18           0:00:00              0:00:00             0:00:00                0:00:00
Golam Khan                       2:43:29               0:16:20          0:03:33               0:03:33             0:46:35              0:04:39                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kevin Marquez                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 3                               0:00:25             0:02:12                0:00:44            0:02:07                0:00:42           0:00:00              0:00:00             0:00:05                0:00:05
Kevin Marquez                    3:49:26               0:17:38          0:08:20               0:04:10             0:36:15              0:02:47                                                                   3                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Daniela Serrano                  6:05:56               0:14:38          1:08:31               0:02:51             1:40:24              0:05:01                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:15             0:06:32                0:03:16            0:06:32                0:03:16           0:00:00              0:00:00             0:00:00                0:00:00
Josey Harvey                     4:00:00               0:09:36          0:03:07               0:03:07             1:40:41              0:03:52                                                                   0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sophia Goins                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                                  1              0:00:09             0:25:47                0:25:47            0:25:02                0:25:02           0:02:38              0:02:38             0:00:45                0:00:45
Sophia Goins                     0:17:01               0:17:01          0:00:00               0:00:00             0:00:11              0:00:11                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sophia Goins                     0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                            0                                 1                1              0:00:07             0:14:26                0:07:13            0:14:26                0:07:13           0:05:24              0:05:24             0:00:00                0:00:00
Sophia Goins                     0:07:12               0:07:12          0:00:00               0:00:00             0:00:06              0:00:06                                                                   1                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
                                                                                                           Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                 Declaration of Brad Lee with Exhs A-G in support of Trustee Page 78 of 189

            Name     Inbound Voice     Inbound Voice Avg.    Inbound Voice    Inbound Voice Avg.     Inbound Voice      Inbound Voice Avg    Inbound Voice       Inbound Voice      Inbound Transferred In   Outbound Voice   Outbound Voice   Outbound Voice    Outbound Voice       Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice Avg.    Outbound Voice     Outbound Voice       Outbound Voice     Outbound Voice Avg.
                    Talking Duration     Talking Duration    Hold Duration       Hold Duration      Wrap-up Duration    Wrap-up Duration     Calls Upgraded   Callbacks Requested    Voice Calls Answered     Hang-up Calls     Short Calls      Long Calls     Avg. Ring Duration   Handling Duration    Handling Duration     Talking Duration     Talking Duration      Hold Duration    Avg. Hold Duration   Wrap-Up Duration     Wrap-Up Duration
Sabah Ismail                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                                  1              0:00:10             0:03:52                0:03:52            0:03:52                0:03:52           0:00:00              0:00:00             0:00:00                0:00:00
Sabah Ismail                 2:43:08               0:10:52          0:13:30               0:01:55             1:14:26              0:04:57                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 1                               0:00:00             0:00:41                0:00:41            0:00:41                0:00:41           0:00:00              0:00:00             0:00:00                0:00:00
Brandon DeLaura              2:40:29               0:08:54          0:10:59               0:01:34             1:20:15              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                11                6              0:00:13             1:06:31                0:03:54            1:06:31                0:03:54           0:00:00              0:00:00             0:00:00                0:00:00
Kian Narani                  2:16:40               0:07:35          0:07:03               0:01:10             0:36:07              0:02:24                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Sebastian Vasquez            3:38:38               0:08:05          1:09:57               0:06:59             2:10:59              0:04:51                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jasmin Amezcua               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                2                9                               0:00:18             0:07:59                0:00:43            0:07:59                0:00:43           0:00:00              0:00:00             0:00:00                0:00:00
Jasmin Amezcua               4:22:16               0:10:05          0:32:01               0:03:12             1:48:48              0:04:32                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 4                3              0:00:11             0:21:27                0:03:03            0:21:27                0:03:03           0:00:00              0:00:00             0:00:00                0:00:00
Karen O'Connell              3:20:32               0:08:21          0:24:54               0:02:04             1:45:21              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                4               17                2              0:00:15             0:33:41                0:01:27            0:33:41                0:01:27           0:00:00              0:00:00             0:00:00                0:00:00
Carmen Marza                 2:28:53               0:05:57          0:12:05               0:01:00             2:00:28              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra               0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                4               30                5              0:00:15             1:11:33                0:01:50            1:11:33                0:01:50           0:00:00              0:00:00             0:00:00                0:00:00
Jennifer Andra               1:52:37               0:12:30          0:10:40               0:02:08             0:44:55              0:04:59                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson             0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 2                3              0:00:16             0:20:45                0:04:09            0:20:45                0:04:09           0:00:00              0:00:00             0:00:00                0:00:00
Connor Huskisson             2:42:48               0:06:47          0:00:00               0:00:00             1:55:20              0:05:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Reham Zin                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                7               16                5              0:00:16             1:04:35                0:02:18            1:04:35                0:02:18           0:03:44              0:03:44             0:00:00                0:00:00
Reham Zin                    0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                 0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                                 2                2              0:00:04             0:19:49                0:04:57            0:19:49                0:04:57           0:00:00              0:00:00             0:00:00                0:00:00
Tony Sanchez                 4:23:48               0:13:11          0:15:34               0:07:47             1:35:21              0:05:01                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
Samuel Pierce                0:00:00               0:00:00          0:00:00               0:00:00             0:00:00              0:00:00                                      0                        0                1                8                5              0:00:17             1:01:08                0:04:22            1:01:08                0:04:22           0:00:03              0:00:03             0:00:00                0:00:00
Samuel Pierce                1:46:45               0:07:07          0:01:19               0:00:39             1:07:11              0:04:47                                                               0                                                                 0:00:00             0:00:00                0:00:00            0:00:00                0:00:00           0:00:00              0:00:00             0:00:00                0:00:00
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                  First Name    Last Name       Role
                  Christopher   Cole            Standard Agent
                  Anjeanette    Chek            Standard Agent
                  Ronald        Apodaca         Standard Agent
                  James         Hinson          Standard Agent
                  Triana        Camero          Standard Agent
                  Vincent       Berube          Standard Agent
                  Admin         Phoenix         Admin
                  Lester        Perez           Standard Agent
                  Daniela       Serrano         Standard Agent
                  David         Del Toro        Standard Agent
                  Adriana       Hernandez       Standard Agent
                  Brant         Bishop          Standard Agent
                  Daisy         Meneses         Standard Agent
                  Jasmin        Amezcua         Standard Agent
                  Ralph         Breneville      Standard Agent
                  Karen         Saldana-Lopez   Standard Agent
                  Ivis          Parada          Standard Agent
                  Legal         Phoenix         Standard Agent
                  Hanner        Angulo          Standard Agent
                  bonnie        romero          Standard Agent
                  Abe           Flores          Standard Agent
                  andre         alvarenga       Standard Agent
                  Hanya         Zargaran        Standard Agent
                  George        Sanchez         Standard Agent
                  Salma         Aranda          Standard Agent
                  Erica         Kline           Standard Agent
                  Jarod         Vaughan         Standard Agent
                  Emely         Acevedo         Standard Agent
                   Yesica       Sierra          Standard Agent
                  Manny         Alatorre        Standard Agent
                  Ivonne        Diaz            Standard Agent
                  Nassir        Diab            Standard Agent
                  Tony          Sanchez         Standard Agent
                  Connor        Huskisson       Standard Agent
                  justin        andra           Standard Agent
                  Humza         Shariff         Standard Agent
                  Samuel        Pierce          Standard Agent
                  Josue         Alvarez         Standard Agent
                  Victoria      Dang            Standard Agent
                  Amir          nejad           Standard Agent
                  Sufyaan       Lakhani         Standard Agent
                  Phoenix       Paralegal       Standard Agent
                  Sebastian     Vasquez         Standard Agent
                  Julissa       Jimenez         Standard Agent
                  NELSON        OTALORA         Standard Agent
                  Max           Zinchini        Standard Agent
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                  Isa            Avina-Cardiel   Standard Agent
                  Salman         Ismail          Standard Agent
                  Andres         Zuleta          Standard Agent
                  Angelie        Perez           Standard Supervisor
                  esteban        guevara         Standard Agent
                  Tainis         Tapias          Standard Agent
                  Kenneth        Acuna           Standard Agent
                  Jeferson       Garcia          Standard Agent
                  Ty             Carss           Standard Supervisor
                  Sebastian      De la Rosa      Standard Agent
                  Shadia         Chavez          Standard Supervisor
                  Andrea         Albor           Standard Agent
                  Jessenia       Oseguera        Standard Agent
                  Bianca         Loli            Admin
                  Kevin          Marquez         Standard Agent
                  Lex            Avina-Cardiel   Standard Agent
                  Elio           Riano           Standard Agent
                  Marie Claire   Salom           Standard Supervisor
                  Katherine      Maldonado       Standard Agent
                  Nicole         Morris          Standard Agent
                  Jennifer       Andra           Standard Agent
                  Mahmoud        Bany-Mohammed   Standard Agent
                  Jas            Sanchez         Standard Agent
                  Jess           Pena            Standard Agent
                  Ali            Mohamed         Standard Agent
                  Karen          O'Connell       Standard Agent
                  Cristina       Angulo          Standard Agent
                  James          Andra           Standard Agent
                  Golam          Khan            Standard Agent
                  Lucia          Galindo         Standard Agent
                  Hector         Toro            Standard Agent
                  Jason          Cast            Standard Supervisor
                  Carlos         Camargo         Standard Agent
                  yuliana        mendoza         Standard Agent
                  Martin         Jaraba          Standard Agent
                  Juliana        Meza            Standard Agent
                  Andrea         Quinonez        Standard Agent
                  Fausto         Beleno          Standard Agent
                  Nickolas       Mossa           Standard Agent
                  Karla          Bravo           Standard Supervisor
                  Amanda         Stephens        Standard Supervisor
                  Kian           Narani          Standard Agent
                  Quynh          Nguyen          Standard Agent
                  Kimberly       Torres          Standard Agent
                  Kevin          Ceballos        Standard Agent
                  Abraham        Sanchez         Standard Agent
                  Cindy          Vazquez         Standard Agent
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                  Brandon     DeLaura         Standard Agent
                  Reham       Zin             Standard Agent
                  Stephanie   Reynoso         Standard Agent
                  Ramon       Guerrero        Standard Agent
                  Khalil      Beshoy          Standard Agent
                  Iman        Nejad           Standard Agent
                  Sulaiman    Khan            Standard Agent
                  Mike        Larkin          Standard Agent
                  Erika       Cortes          Standard Agent
                  Sophia      Goins           Standard Supervisor
                  Carmen      Marza           Standard Agent
                  Sarah       Ross            Standard Supervisor
                  Melina      Beltran         Standard Agent
                  Christian   Sangalang       Standard Agent
                  Nathan      Perez           Standard Supervisor
                  Nikki       Miller          Standard Agent
                  Daniel      Orellana        Standard Agent
                  Hunter      Glass           Standard Agent
                  Christine   Le              Standard Supervisor
                  Matt        Douglas         Admin
                  Kaitlyn     Campuzano       Standard Supervisor
                  Stephany    Gutierrez       Standard Supervisor
                  Anthony     Base            Standard Supervisor
                  Selina      Taing           Standard Agent
                  Sabah       Ismail          Standard Agent
                  Saif        Ismail          Standard Agent
                  Josey       Harvey          Standard Agent
                  Daniel      Martinez        Admin
                  Brad        Lucaci          Standard Agent
                  Brian       Lucaci          Standard Supervisor
                  Ashley      Jones           Standard Agent
                  eric        Zoom Engineer   Admin
                  Eeyah       Tan             Admin
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Row Labels                                 Count of Wrap-Up Duration
  :05                                                            8189
    Sebastian Vasquez                                             313
    yuliana mendoza                                               290
    Fausto Beleno                                                 252
    Tainis Tapias                                                 234
    Karen O'Connell                                               222
    Carmen Marza                                                  218
    Connor Huskisson                                              218
    justin andra                                                  202
    Erica Kline                                                   201
    Cindy Vazquez                                                 195
    Hanya Zargaran                                                192
    Brandon DeLaura                                               188
    George Sanchez                                                187
    Ali Mohamed                                                   172
    Kevin Ceballos                                                172
    Nassir Diab                                                   168
    Daniel Orellana                                               164
    Reham Zin                                                     158
    Salman Ismail                                                 142
    Christian Sangalang                                           141
    andre alvarenga                                               140
    Manny Alatorre                                                140
    Stephanie Reynoso                                             136
    Jas Sanchez                                                   133
    Jarod Vaughan                                                 131
    Brant Bishop                                                  128
    Salma Aranda                                                  127
    Mike Larkin                                                   125
    Yesica Sierra                                                 120
    Khalil Beshoy                                                 120
    Golam Khan                                                    119
    Rafael de la Torre                                            117
    Josue Alvarez                                                 116
    James Andra                                                   115
    Karen Saldana-Lopez                                           114
    Nickolas Mossa                                                109
    Abe Flores                                                    100
    Sulaiman Khan                                                  95
    Jennifer Andra                                                 91
    Quynh Nguyen                                                   90
    Emely Acevedo                                                  87
    Mahmoud Bany-Mohammed                                          84
    Tony Sanchez                                                   78
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 Iman Nejad                                                    75
 Jess Pena                                                     73
 Sufyaan Lakhani                                               71
 Max Zinchini                                                  71
 Samuel Pierce                                                 68
 Lester Perez                                                  68
 Amir nejad                                                    64
 Sabah Ismail                                                  64
 Lex Avina-Cardiel                                             62
 Humza Shariff                                                 61
 Josey Harvey                                                  54
 Nicole Morris                                                 51
 David Del Toro                                                49
 Saif Ismail                                                   47
 bonnie romero                                                 44
 Triana Camero                                                 41
 Daniela Serrano                                               35
 Jasmin Amezcua                                                33
 Griselda Reina                                                32
 Jessenia Oseguera                                             32
 Kian Narani                                                   32
 Sarah Ross                                                    30
 Ralph Breneville                                              27
 Adriana Hernandez                                             22
 Victoria Dang                                                 21
 Christopher Cole                                              15
 Daisy Meneses                                                 11
 Ronald Apodaca                                                 9
 Anjeanette Chek                                                9
 Abraham Sanchez                                                4
 "bonnie romero,Carmen Marza"                                   3
 "Karen O'Connell,Anthony Base"                                 2
 "Karen O'Connell,Amir nejad"                                   2
 "Sulaiman Khan,Erica Kline"                                    2
 "Carmen Marza,Hanner Angulo"                                   2
 "bonnie romero,Emely Acevedo"                                  2
 "bonnie romero,Salma Aranda"                                   2
 "bonnie romero,James Andra"                                    2
 "bonnie romero,Victoria Dang"                                  2
 "Nassir Diab,Mike Larkin"                                      2
 "Stephanie Reynoso,yuliana mendoza"                            2
 "Nassir Diab,Connor Huskisson"                                 2
 "Salman Ismail,Manny Alatorre"                                 1
 "Brandon DeLaura,Connor Huskisson"                             1
 "Tainis Tapias,Sulaiman Khan"                                  1
 "James Andra,Nikki Miller"                                     1
 Nikki Miller                                                   1
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 "James Andra,Reham Zin"                                       1
 "Sulaiman Khan,Ali Mohamed"                                   1
 "Jas Sanchez,George Sanchez"                                  1
 "bonnie romero,Elio Riano"                                    1
 "Jas Sanchez,Khalil Beshoy"                                   1
 "Christian Sangalang,Tainis Tapias"                           1
 "Jasmin Amezcua,Nickolas Mossa"                               1
 "Hanya Zargaran,George Sanchez"                               1
 "Jennifer Andra,Brandon DeLaura"                              1
 "Samuel Pierce,Tony Sanchez"                                  1
 "Jennifer Andra,yuliana mendoza"                              1
 "Sulaiman Khan,Sebastian Vasquez"                             1
 "Jess Pena,Abraham Sanchez"                                   1
 "Victoria Dang,Sufyaan Lakhani"                               1
 "Jess Pena,Ali Mohamed"                                       1
 "bonnie romero,Karen O'Connell"                               1
 "Jess Pena,Connor Huskisson"                                  1
 "Brant Bishop,Josey Harvey"                                   1
 "Jess Pena,Daniel Orellana"                                   1
 "Connor Huskisson,Kimberly Torres"                            1
 "Jess Pena,Fausto Beleno"                                     1
 "Erica Kline,Sebastian Vasquez"                               1
 "Jess Pena,Golam Khan"                                        1
 "Salma Aranda,Manny Alatorre"                                 1
 "Jess Pena,James Andra"                                       1
 "Samuel Pierce,Emely Acevedo"                                 1
 "Jess Pena,Kevin Marquez"                                     1
 "Sebastian Vasquez,Victoria Dang,Jess Pena"                   1
 "Jessenia Oseguera,Kimberly Torres"                           1
 "Sulaiman Khan,Hanya Zargaran"                                1
 "Jessenia Oseguera,Melina Beltran"                            1
 "Tainis Tapias,Khalil Beshoy"                                 1
 "Jessenia Oseguera,Sebastian Vasquez"                         1
 "Tony Sanchez,Sebastian Vasquez"                              1
 "Josey Harvey,Fausto Beleno"                                  1
 "Andrea Albor,Fausto Beleno"                                  1
 "Josey Harvey,Karen Saldana-Lopez"                            1
 "bonnie romero,Hanya Zargaran"                                1
 "Josey Harvey,Manny Alatorre"                                 1
 "bonnie romero,Sebastian Vasquez"                             1
 "Josey Harvey,yuliana mendoza"                                1
 "Brandon DeLaura,Manny Alatorre"                              1
 "Josue Alvarez,Elio Riano"                                    1
 "Carmen Marza,Hunter Glass"                                   1
 "Josue Alvarez,Griselda Reina"                                1
 "Cindy Vazquez,Manny Alatorre"                                1
 "Josue Alvarez,Hunter Glass"                                  1
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 "Daniel Orellana,Salman Ismail"                               1
 "Josue Alvarez,Rafael de la Torre,yuliana mendoza"            1
 "Erica Kline,Karen O'Connell"                                 1
 "Josue Alvarez,Victoria Dang"                                 1
 "George Sanchez,Jas Sanchez"                                  1
 "justin andra,Ali Mohamed"                                    1
 "Hanya Zargaran,Lex Avina-Cardiel"                            1
 "justin andra,Brandon DeLaura"                                1
 "Salma Aranda,Salman Ismail"                                  1
 "justin andra,Fausto Beleno"                                  1
 "Salman Ismail,Sebastian Vasquez"                             1
 "justin andra,George Sanchez"                                 1
 "Samuel Pierce,Karen O'Connell"                               1
 "justin andra,Salma Aranda"                                   1
 "Sebastian Vasquez,Karen O'Connell"                           1
 "Amir nejad,Kevin Marquez"                                    1
 "Stephanie Reynoso,Kimberly Torres"                           1
 "Amir nejad,Melina Beltran"                                   1
 "andre alvarenga,Melina Beltran"                              1
 "Karen O'Connell,Fausto Beleno"                               1
 "Sulaiman Khan,Jennifer Andra"                                1
 "Karen O'Connell,Hanya Zargaran"                              1
 "Sulaiman Khan,yuliana mendoza"                               1
 "Karen O'Connell,Hunter Glass"                                1
 "Tainis Tapias,Nassir Diab"                                   1
 "Karen O'Connell,Hunter Glass,Kevin Marquez"                  1
 "Tony Sanchez,Elio Riano"                                     1
 "Karen O'Connell,Jarod Vaughan"                               1
 "Victoria Dang,justin andra"                                  1
 "Karen O'Connell,Melina Beltran"                              1
 "yuliana mendoza,Quynh Nguyen"                                1
 "Karen O'Connell,Tainis Tapias"                               1
 "Abe Flores,Sebastian Vasquez"                                1
 "Karen Saldana-Lopez,Abe Flores"                              1
 "bonnie romero,Erica Kline"                                   1
 "Karen Saldana-Lopez,Ali Mohamed"                             1
 "Ali Mohamed,Humza Shariff"                                   1
 "Karen Saldana-Lopez,Connor Huskisson"                        1
 "bonnie romero,Quynh Nguyen"                                  1
 "Karen Saldana-Lopez,Daisy Meneses"                           1
 "Ali Mohamed,Quynh Nguyen,Humza Shariff"                      1
 "Karen Saldana-Lopez,Jess Pena"                               1
 "Brandon DeLaura,Hunter Glass"                                1
 "Karen Saldana-Lopez,Reham Zin"                               1
 "Brandon DeLaura,yuliana mendoza"                             1
 "Karen Saldana-Lopez,Sufyaan Lakhani"                         1
 "Carmen Marza,Abraham Sanchez"                                1
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 "Kevin Ceballos,Hanya Zargaran"                               1
 "Carmen Marza,Kimberly Torres"                                1
 "Kevin Ceballos,Max Zinchini"                                 1
 "Cindy Vazquez,George Sanchez"                                1
 "Kevin Ceballos,Mike Larkin"                                  1
 "Connor Huskisson,andre alvarenga"                            1
 "Kevin Ceballos,Quynh Nguyen"                                 1
 "Connor Huskisson,Tony Sanchez"                               1
 "Kevin Ceballos,Sulaiman Khan"                                1
 "Emely Acevedo,Quynh Nguyen"                                  1
 "Khalil Beshoy,Kimberly Torres"                               1
 "Erica Kline,Jarod Vaughan"                                   1
 "Kian Narani,Kevin Ceballos"                                  1
 "Erica Kline,Kimberly Torres,Karen O'Connell"                 1
 "Lester Perez,Karen O'Connell"                                1
 "Fausto Beleno,Jennifer Andra"                                1
 "Lex Avina-Cardiel,Ali Mohamed"                               1
 "Golam Khan,Lester Perez"                                     1
 "Lex Avina-Cardiel,Humza Shariff"                             1
 "Hanya Zargaran,Jarod Vaughan"                                1
 "Lex Avina-Cardiel,Jennifer Andra"                            1
 "James Andra,Kevin Ceballos"                                  1
 "Lex Avina-Cardiel,Josue Alvarez"                             1
 "Salma Aranda,Nassir Diab"                                    1
 "Lex Avina-Cardiel,Salma Aranda"                              1
 "Salma Aranda,Tainis Tapias"                                  1
 "Lex Avina-Cardiel,Stephanie Reynoso"                         1
 "Salman Ismail,Sarika Mande"                                  1
 "Lex Avina-Cardiel,Victoria Dang"                             1
 "Samuel Pierce,andre alvarenga"                               1
 "Mahmoud Bany-Mohammed,Carmen Marza"                          1
 "Samuel Pierce,James Andra"                                   1
 "Mahmoud Bany-Mohammed,Elio Riano"                            1
 "Samuel Pierce,Khalil Beshoy"                                 1
 "Mahmoud Bany-Mohammed,Jas Sanchez"                           1
 "Sebastian Vasquez,Jess Pena"                                 1
 "Mahmoud Bany-Mohammed,Rafael de la Torre"                    1
 "Sebastian Vasquez,Stephanie Reynoso"                         1
 "Mahmoud Bany-Mohammed,Tony Sanchez"                          1
 "Stephanie Reynoso,Brandon DeLaura"                           1
 "Manny Alatorre,Abe Flores"                                   1
 "andre alvarenga,Christian Sangalang"                         1
 "Manny Alatorre,Hunter Glass"                                 1
 "Sulaiman Khan,bonnie romero,James Andra"                     1
 "Manny Alatorre,Tainis Tapias"                                1
 "Sulaiman Khan,Golam Khan"                                    1
 "Mike Larkin,Connor Huskisson"                                1
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 "Sulaiman Khan,Jarod Vaughan"                                 1
 "Mike Larkin,justin andra"                                    1
 "Sulaiman Khan,Salma Aranda"                                  1
 "Mike Larkin,Kian Narani"                                     1
 "Sulaiman Khan,Tainis Tapias"                                 1
 "Mike Larkin,Stephanie Reynoso"                               1
 "Tainis Tapias,Daniel Orellana"                               1
 "Mike Larkin,Tony Sanchez"                                    1
 "Tainis Tapias,Melina Beltran"                                1
 "Nassir Diab,Brandon DeLaura"                                 1
 "Tainis Tapias,Reham Zin"                                     1
 "Nassir Diab,Brant Bishop"                                    1
 "Tony Sanchez,Brandon DeLaura"                                1
 "Abe Flores,Sarah Ross"                                       1
 "Tony Sanchez,Mike Larkin"                                    1
 "Nassir Diab,Iman Nejad"                                      1
 "Victoria Dang,George Sanchez"                                1
 "Nassir Diab,justin andra"                                    1
 "Victoria Dang,Samuel Pierce"                                 1
 "andre alvarenga,Abraham Sanchez"                             1
 "Yesica Sierra,Emely Acevedo"                                 1
 "Nassir Diab,Salman Ismail"                                   1
 "yuliana mendoza,Stephanie Reynoso"                           1
 "Nassir Diab,Sebastian Vasquez"                               1
 "bonnie romero,andre alvarenga,Yesica Sierra"                 1
 "Nassir Diab,Tainis Tapias"                                   1
 "bonnie romero,Daniela Serrano"                               1
 "Nickolas Mossa,Hunter Glass"                                 1
 "Ali Mohamed,Abe Flores"                                      1
 "Nickolas Mossa,Sabah Ismail"                                 1
 "bonnie romero,Hanner Angulo"                                 1
 "Nickolas Mossa,yuliana mendoza"                              1
 "bonnie romero,Iman Nejad"                                    1
 "Nicole Morris,Carmen Marza"                                  1
 "bonnie romero,justin andra"                                  1
 "Nicole Morris,Christian Sangalang"                           1
 "bonnie romero,Melina Beltran"                                1
 "Nicole Morris,Fausto Beleno"                                 1
 "Ali Mohamed,Kimberly Torres"                                 1
 "Nicole Morris,George Sanchez,Jennifer Andra"                 1
 "bonnie romero,Tainis Tapias"                                 1
 "Nicole Morris,justin andra"                                  1
 "bonnie romero,Yesica Sierra"                                 1
 "Nicole Morris,Nickolas Mossa"                                1
 "Brandon DeLaura,Elio Riano"                                  1
 "Nicole Morris,yuliana mendoza"                               1
 "Brandon DeLaura,Kimberly Torres"                             1
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 "Quynh Nguyen,Jennifer Andra"                                 1
 "Brandon DeLaura,Melina Beltran"                              1
 "Quynh Nguyen,Mahmoud Bany-Mohammed"                          1
 "Brant Bishop,Ivis Parada"                                    1
 "Rafael de la Torre,Mike Larkin"                              1
 "Brant Bishop,Nicole Morris"                                  1
 "Rafael de la Torre,Reham Zin"                                1
 "Ali Mohamed,Salman Ismail"                                   1
 "Rafael de la Torre,Samuel Pierce"                            1
 "Carmen Marza,Ivis Parada"                                    1
 "Ralph Breneville,andre alvarenga"                            1
 "Christian Sangalang,Emely Acevedo"                           1
 "Ralph Breneville,Isa Avina-Cardiel"                          1
 "Cindy Vazquez,Carmen Marza"                                  1
 "Ralph Breneville,Lex Avina-Cardiel"                          1
 "Cindy Vazquez,justin andra"                                  1
 "Ralph Breneville,Nicole Morris"                              1
 "Cindy Vazquez,Reham Zin"                                     1
 "Ralph Breneville,Samuel Pierce"                              1
 "Connor Huskisson,Kian Narani"                                1
 "Ralph Breneville,Vincent Berube"                             1
 "Connor Huskisson,Nassir Diab"                                1
 "Reham Zin,James Andra"                                       1
 "Daniel Orellana,Jarod Vaughan"                               1
 "Reham Zin,Max Zinchini"                                      1
 "Daniela Serrano,Triana Camero"                               1
 "Reham Zin,Quynh Nguyen"                                      1
 "Erica Kline,Daniel Orellana"                                 1
 "Reham Zin,Sebastian Vasquez"                                 1
 "Erica Kline,Hanya Zargaran"                                  1
 "Reham Zin,Stephanie Reynoso"                                 1
 "Erica Kline,Jess Pena"                                       1
 "Sabah Ismail,Golam Khan"                                     1
 "Erica Kline,Kevin Ceballos"                                  1
 "Salma Aranda,Ali Mohamed"                                    1
 "Erica Kline,Quynh Nguyen"                                    1
 "Salma Aranda,Brandon DeLaura"                                1
 "Erica Kline,Sufyaan Lakhani"                                 1
 "Salma Aranda,Daniel Orellana"                                1
 "Fausto Beleno,Tony Sanchez"                                  1
 "Salma Aranda,Erica Kline"                                    1
 "George Sanchez,Sabah Ismail"                                 1
 "Salma Aranda,Griselda Reina"                                 1
 "Hanya Zargaran,Ali Mohamed"                                  1
 "Salma Aranda,Jas Sanchez"                                    1
 "Hanya Zargaran,Isa Avina-Cardiel"                            1
 "Salma Aranda,Josue Alvarez"                                  1
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    "Hanya Zargaran,Khalil Beshoy"                                1
    "Salma Aranda,Karen O'Connell"                                1
    "Iman Nejad,Jarod Vaughan"                                    1
    "Salma Aranda,Kevin Ceballos"                                 1
    "Salma Aranda,Khalil Beshoy"                                  1
Grand Total                                                    8189
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Row Labels                                              Count of Engagement ID
"Abe Flores,Connor Huskisson"                                                    1
"Abe Flores,Kimberly Torres"                                                     2
"Abe Flores,Sarah Ross"                                                          1
"Abe Flores,Sebastian Vasquez"                                                   2
"Abe Flores,Sophia Goins"                                                        1
"Abe Flores,Tainis Tapias"                                                       1
"Abe Flores,Valerie L"                                                           1
"Abraham Sanchez,David Brown"                                                    1
"Abraham Sanchez,Elio Riano"                                                     3
"Abraham Sanchez,Elio Riano,Kevin Marquez"                                       1
"Abraham Sanchez,Hunter Glass,Anthony Base"                                      1
"Abraham Sanchez,Isa Avina-Cardiel"                                              2
"Abraham Sanchez,Kevin Marquez"                                                  2
"Abraham Sanchez,Kimberly Torres"                                                1
"Abraham Sanchez,Melina Beltran"                                                 1
"Adriana Hernandez,Kimberly Torres"                                              1
"Ali Mohamed,Abe Flores"                                                         1
"Ali Mohamed,Abraham Sanchez"                                                    2
"Ali Mohamed,Anthony Base"                                                       1
"Ali Mohamed,Daisy Meneses"                                                      1
"Ali Mohamed,Daisy Meneses,Nikki Miller"                                         1
"Ali Mohamed,Elio Riano"                                                         5
"Ali Mohamed,Fausto Beleno"                                                      1
"Ali Mohamed,Humza Shariff"                                                      1
"Ali Mohamed,Hunter Glass"                                                       3
"Ali Mohamed,Isa Avina-Cardiel"                                                  2
"Ali Mohamed,Ivis Parada"                                                        1
"Ali Mohamed,Kevin Marquez"                                                      5
"Ali Mohamed,Kimberly Torres"                                                    1
"Ali Mohamed,Lex Avina-Cardiel"                                                  1
"Ali Mohamed,Nikki Miller"                                                       3
"Ali Mohamed,Phoenix Paralegal"                                                  1
"Ali Mohamed,Quynh Nguyen,Humza Shariff"                                         1
"Ali Mohamed,Salman Ismail"                                                      1
"Ali Mohamed,Sarika Mande"                                                       1
"Ali Mohamed,Valerie L"                                                          3
"Amir nejad,Abraham Sanchez"                                                     4
"Amir nejad,Anthony Base"                                                        1
"Amir nejad,David Del Toro"                                                      1
"Amir nejad,Elio Riano"                                                          8
"Amir nejad,Fausto Beleno,Griselda Reina"                                        1
"Amir nejad,Hunter Glass"                                                        3
"Amir nejad,Isa Avina-Cardiel"                                                   2
"Amir nejad,Ivis Parada"                                                         1
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"Amir nejad,Jennifer Andra"                                                1
"Amir nejad,Jessenia Oseguera"                                             1
"Amir nejad,Kevin Marquez"                                                 5
"Amir nejad,Melina Beltran"                                                4
"Amir nejad,Nikki Miller"                                                  3
"Amir nejad,Tainis Tapias"                                                 1
"Amir nejad,Victoria Dang"                                                 1
"andre alvarenga,Abraham Sanchez"                                          1
"andre alvarenga,Christian Sangalang"                                      1
"andre alvarenga,Elio Riano"                                               3
"andre alvarenga,Elio Riano,Isa Avina-Cardiel"                             1
"andre alvarenga,Hunter Glass"                                             2
"andre alvarenga,Isa Avina-Cardiel"                                        4
"andre alvarenga,Jessenia Oseguera"                                        1
"andre alvarenga,Kevin Marquez"                                            2
"andre alvarenga,Melina Beltran"                                           3
"andre alvarenga,Sarika Mande"                                             1
"andre alvarenga,Valerie L"                                                2
"andre alvarenga,Yesica Sierra,Abraham Sanchez"                            1
"Andrea Albor,Fausto Beleno"                                               1
"Andrea Albor,Hanner Angulo"                                               1
"Andrea Albor,Isa Avina-Cardiel"                                           1
"Andrea Albor,Kevin Marquez"                                               1
"Anthony Base,Elio Riano"                                                  1
"Anthony Base,Hunter Glass"                                                1
"Anthony Base,Nikki Miller"                                                1
"bonnie romero,Abraham Sanchez"                                            2
"bonnie romero,andre alvarenga,Yesica Sierra"                              1
"bonnie romero,Carmen Marza"                                               3
"bonnie romero,Daniela Serrano"                                            1
"bonnie romero,Elio Riano"                                                 4
"bonnie romero,Elio Riano,Isa Avina-Cardiel"                               1
"bonnie romero,Elio Riano,Nikki Miller"                                    1
"bonnie romero,Emely Acevedo"                                              2
"bonnie romero,Erica Kline"                                                1
"bonnie romero,George Sanchez"                                             1
"bonnie romero,Hanner Angulo"                                              1
"bonnie romero,Hanya Zargaran"                                             1
"bonnie romero,Hunter Glass"                                               4
"bonnie romero,Hunter Glass,Nikki Miller"                                  1
"bonnie romero,Iman Nejad"                                                 2
"bonnie romero,James Andra"                                                2
"bonnie romero,Jess Pena"                                                  1
"bonnie romero,Josey Harvey"                                               1
"bonnie romero,justin andra"                                               1
"bonnie romero,Karen O'Connell"                                            1
"bonnie romero,Kevin Marquez"                                              1
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"bonnie romero,Lex Avina-Cardiel"                                          1
"bonnie romero,Melina Beltran"                                             1
"bonnie romero,Nikki Miller"                                               6
"bonnie romero,Quynh Nguyen"                                               1
"bonnie romero,Saif Ismail"                                                2
"bonnie romero,Salma Aranda"                                               2
"bonnie romero,Sebastian Vasquez"                                          1
"bonnie romero,Tainis Tapias"                                              1
"bonnie romero,Valerie L"                                                  3
"bonnie romero,Victoria Dang"                                              3
"bonnie romero,Vincent Berube"                                             2
"bonnie romero,Yesica Sierra"                                              1
"Brandon DeLaura,Abraham Sanchez"                                          1
"Brandon DeLaura,Anthony Base"                                             1
"Brandon DeLaura,Connor Huskisson"                                         1
"Brandon DeLaura,Elio Riano"                                               2
"Brandon DeLaura,Hunter Glass"                                             5
"Brandon DeLaura,Jasmin Amezcua"                                           1
"Brandon DeLaura,Josue Alvarez,Anthony Base"                               1
"Brandon DeLaura,Kevin Marquez"                                            3
"Brandon DeLaura,Kimberly Torres"                                          1
"Brandon DeLaura,Manny Alatorre"                                           1
"Brandon DeLaura,Melina Beltran"                                           2
"Brandon DeLaura,Nikki Miller"                                             1
"Brandon DeLaura,Valerie L"                                                1
"Brandon DeLaura,Yesica Sierra"                                            1
"Brandon DeLaura,yuliana mendoza"                                          1
"Brant Bishop,Fausto Beleno"                                               1
"Brant Bishop,Ivis Parada"                                                 1
"Brant Bishop,Josey Harvey"                                                1
"Brant Bishop,Nicole Morris"                                               1
"Brant Bishop,Sabah Ismail"                                                1
"Brant Bishop,Salman Ismail"                                               1
"Carmen Marza,Abraham Sanchez"                                             1
"Carmen Marza,Anthony Base"                                                1
"Carmen Marza,David Del Toro"                                              1
"Carmen Marza,Elio Riano"                                                  3
"Carmen Marza,Emely Acevedo"                                               2
"Carmen Marza,Fausto Beleno"                                               1
"Carmen Marza,Hanner Angulo"                                               4
"Carmen Marza,Hunter Glass"                                                5
"Carmen Marza,Ivis Parada"                                                 1
"Carmen Marza,Kevin Marquez"                                               1
"Carmen Marza,Kimberly Torres"                                             3
"Carmen Marza,Kimberly Torres,Melina Beltran"                              1
"Carmen Marza,Nikki Miller"                                                2
"Carmen Marza,Sarika Mande"                                                1
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"Carmen Marza,Sebastian Vasquez,Tainis Tapias"                             1
"Carmen Marza,Tainis Tapias"                                               1
"Carmen Marza,Victoria Dang"                                               1
"Carmen Marza,Vincent Berube"                                              1
"Carmen Marza,Yesica Sierra"                                               2
"Carmen Marza,yuliana mendoza"                                             1
"Christian Sangalang,Abraham Sanchez"                                      1
"Christian Sangalang,Emely Acevedo"                                        1
"Christian Sangalang,Fausto Beleno,Isa Avina-Cardiel"                      1
"Christian Sangalang,Hunter Glass"                                         2
"Christian Sangalang,Isa Avina-Cardiel"                                    2
"Christian Sangalang,Ivis Parada"                                          1
"Christian Sangalang,Kevin Marquez"                                        2
"Christian Sangalang,Kimberly Torres"                                      3
"Christian Sangalang,Nikki Miller"                                         1
"Christian Sangalang,Tainis Tapias"                                        1
"Christian Sangalang,Vincent Berube,Isa Avina-Cardiel"                     1
"Christian Sangalang,Yesica Sierra"                                        1
"Christian Sangalang,yuliana mendoza"                                      1
"Cindy Vazquez,Carmen Marza"                                               1
"Cindy Vazquez,George Sanchez"                                             1
"Cindy Vazquez,justin andra"                                               1
"Cindy Vazquez,Manny Alatorre"                                             1
"Cindy Vazquez,Melina Beltran"                                             1
"Cindy Vazquez,Reham Zin"                                                  1
"Cindy Vazquez,Sufyaan Lakhani"                                            1
"Connor Huskisson,andre alvarenga"                                         1
"Connor Huskisson,bonnie romero"                                           1
"Connor Huskisson,Ivis Parada"                                             1
"Connor Huskisson,Kian Narani"                                             1
"Connor Huskisson,Kimberly Torres"                                         1
"Connor Huskisson,Kimberly Torres,Ivis Parada"                             1
"Connor Huskisson,Melina Beltran"                                          2
"Connor Huskisson,Nassir Diab"                                             1
"Connor Huskisson,Tony Sanchez"                                            1
"Daisy Meneses,Abraham Sanchez"                                            2
"Daisy Meneses,Elio Riano"                                                 3
"Daisy Meneses,Hunter Glass"                                               1
"Daisy Meneses,Isa Avina-Cardiel"                                          2
"Daisy Meneses,Kevin Marquez"                                              2
"Daisy Meneses,Kimberly Torres"                                            1
"Daisy Meneses,Phoenix Paralegal"                                          1
"Daisy Meneses,Vincent Berube,Kevin Marquez"                               1
"Daniel Orellana,Jarod Vaughan"                                            1
"Daniel Orellana,Kimberly Torres"                                          1
"Daniel Orellana,Kimberly Torres,Melina Beltran"                           1
"Daniel Orellana,Phoenix Paralegal"                                        1
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"Daniel Orellana,Salman Ismail"                                            1
"Daniela Serrano,Abraham Sanchez"                                          2
"Daniela Serrano,Hunter Glass"                                             1
"Daniela Serrano,Isa Avina-Cardiel"                                        2
"Daniela Serrano,Triana Camero"                                            1
"Daniela Serrano,Victoria Dang"                                            1
"Daniela Serrano,Vincent Berube"                                           1
"David Del Toro,Kimberly Torres"                                           1
"Elio Riano,Kevin Marquez"                                                 1
"Emely Acevedo,Quynh Nguyen"                                               1
"Erica Kline,Brandon DeLaura,Anthony Base"                                 1
"Erica Kline,Daniel Orellana"                                              1
"Erica Kline,Fausto Beleno"                                                1
"Erica Kline,Hanya Zargaran"                                               1
"Erica Kline,Jarod Vaughan"                                                1
"Erica Kline,Jess Pena"                                                    1
"Erica Kline,Karen O'Connell"                                              1
"Erica Kline,Kevin Ceballos"                                               1
"Erica Kline,Kevin Ceballos,Rafael de la Torre"                            1
"Erica Kline,Kimberly Torres"                                              2
"Erica Kline,Kimberly Torres,Karen O'Connell"                              1
"Erica Kline,Legal Phoenix"                                                1
"Erica Kline,Manny Alatorre"                                               2
"Erica Kline,Melina Beltran"                                               1
"Erica Kline,Nicole Morris"                                                1
"Erica Kline,Quynh Nguyen"                                                 1
"Erica Kline,Rafael de la Torre"                                           1
"Erica Kline,Sebastian Vasquez"                                            1
"Erica Kline,Sufyaan Lakhani"                                              2
"Fausto Beleno,Jennifer Andra"                                             1
"Fausto Beleno,Tony Sanchez"                                               1
"George Sanchez,Anthony Base"                                              1
"George Sanchez,Ivis Parada"                                               1
"George Sanchez,Jas Sanchez"                                               1
"George Sanchez,Kian Narani"                                               1
"George Sanchez,Kian Narani,Elio Riano"                                    1
"George Sanchez,Sabah Ismail"                                              1
"George Sanchez,Tainis Tapias"                                             1
"George Sanchez,yuliana mendoza"                                           1
"Golam Khan,Lester Perez"                                                  2
"Griselda Reina,Manny Alatorre"                                            1
"Hanner Angulo,Isa Avina-Cardiel"                                          1
"Hanner Angulo,Yesica Sierra"                                              3
"Hanya Zargaran,Abraham Sanchez"                                           3
"Hanya Zargaran,Ali Mohamed"                                               1
"Hanya Zargaran,George Sanchez"                                            1
"Hanya Zargaran,Hunter Glass"                                              2
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"Hanya Zargaran,Hunter Glass,Elio Riano"                                   1
"Hanya Zargaran,Isa Avina-Cardiel"                                         3
"Hanya Zargaran,Jarod Vaughan"                                             1
"Hanya Zargaran,Kevin Marquez"                                             2
"Hanya Zargaran,Khalil Beshoy"                                             1
"Hanya Zargaran,Lex Avina-Cardiel"                                         1
"Hanya Zargaran,Nikki Miller"                                              4
"Hanya Zargaran,Rafael de la Torre"                                        1
"Hanya Zargaran,Sarika Mande"                                              2
"Hanya Zargaran,Sebastian Vasquez,Kimberly Torres"                         1
"Hanya Zargaran,Sufyaan Lakhani"                                           1
"Hanya Zargaran,Valerie L"                                                 2
"Hanya Zargaran,Victoria Dang"                                             1
"Hanya Zargaran,Vincent Berube"                                            1
"Hanya Zargaran,Yesica Sierra,Elio Riano"                                  1
"Hanya Zargaran,yuliana mendoza"                                           1
"Humza Shariff,Hunter Glass"                                               1
"Humza Shariff,Isa Avina-Cardiel"                                          2
"Humza Shariff,Kevin Marquez"                                              2
"Humza Shariff,Sarika Mande"                                               2
"Hunter Glass,Anthony Base"                                                1
"Hunter Glass,Elio Riano"                                                  1
"Hunter Glass,Isa Avina-Cardiel"                                           3
"Hunter Glass,Kevin Marquez"                                               2
"Hunter Glass,Nikki Miller"                                                2
"Hunter Glass,Sophia Goins"                                                1
"Hunter Glass,Valerie L"                                                   1
"Iman Nejad,Jarod Vaughan"                                                 1
"Iman Nejad,Melina Beltran"                                                1
"Isa Avina-Cardiel,Elio Riano"                                             1
"Isa Avina-Cardiel,Valerie L"                                              1
"Ivis Parada,Sophia Goins"                                                 1
"James Andra,Abraham Sanchez,Hunter Glass"                                 1
"James Andra,Elio Riano"                                                   1
"James Andra,George Sanchez"                                               1
"James Andra,Hunter Glass"                                                 2
"James Andra,Kevin Ceballos"                                               1
"James Andra,Kevin Marquez"                                                1
"James Andra,Kimberly Torres"                                              1
"James Andra,Nikki Miller"                                                 1
"James Andra,Reham Zin"                                                    1
"James Andra,Sarika Mande"                                                 1
"James Andra,Sophia Goins"                                                 1
"James Andra,Valerie L"                                                    1
"Jarod Vaughan,Abraham Sanchez"                                            2
"Jarod Vaughan,Anthony Base"                                               2
"Jarod Vaughan,David Brown"                                                1
  Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
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"Jarod Vaughan,Isa Avina-Cardiel"                                          1
"Jarod Vaughan,Isa Avina-Cardiel,Elio Riano,Valerie L"                     1
"Jarod Vaughan,Kevin Marquez"                                              2
"Jarod Vaughan,Nikki Miller"                                               3
"Jarod Vaughan,Sebastian Vasquez"                                          2
"Jarod Vaughan,Valerie L"                                                  2
"Jarod Vaughan,Victoria Dang"                                              2
"Jarod Vaughan,Vincent Berube"                                             1
"Jas Sanchez,Brandon DeLaura"                                              1
"Jas Sanchez,Erica Kline,Melina Beltran"                                   1
"Jas Sanchez,Fausto Beleno"                                                1
"Jas Sanchez,George Sanchez"                                               1
"Jas Sanchez,Ivis Parada"                                                  1
"Jas Sanchez,Khalil Beshoy"                                                1
"Jas Sanchez,Kimberly Torres"                                              2
"Jas Sanchez,Melina Beltran"                                               3
"Jasmin Amezcua,Elio Riano"                                                2
"Jasmin Amezcua,Hunter Glass"                                              2
"Jasmin Amezcua,Kevin Marquez"                                             2
"Jasmin Amezcua,Kimberly Torres"                                           1
"Jasmin Amezcua,Nickolas Mossa"                                            1
"Jasmin Amezcua,Nikki Miller"                                              1
"Jasmin Amezcua,Vincent Berube"                                            1
"Jason Cast,Valerie L"                                                     1
"Jennifer Andra,Brandon DeLaura"                                           1
"Jennifer Andra,Cindy Vazquez"                                             1
"Jennifer Andra,Melina Beltran"                                            1
"Jennifer Andra,yuliana mendoza"                                           1
"Jess Pena,Abraham Sanchez"                                                1
"Jess Pena,Ali Mohamed"                                                    1
"Jess Pena,Anthony Base"                                                   2
"Jess Pena,bonnie romero"                                                  1
"Jess Pena,Connor Huskisson"                                               1
"Jess Pena,Daniel Orellana"                                                1
"Jess Pena,Elio Riano,Kevin Marquez,Anthony Base"                          1
"Jess Pena,Fausto Beleno"                                                  1
"Jess Pena,Golam Khan"                                                     1
"Jess Pena,Hunter Glass"                                                   3
"Jess Pena,Hunter Glass,Elio Riano"                                        1
"Jess Pena,Isa Avina-Cardiel"                                              3
"Jess Pena,James Andra"                                                    1
"Jess Pena,Kevin Marquez"                                                  2
"Jess Pena,Kevin Marquez,Elio Riano"                                       1
"Jess Pena,Kian Narani"                                                    1
"Jess Pena,Kimberly Torres"                                                1
"Jess Pena,Nikki Miller"                                                   2
"Jess Pena,Sarika Mande"                                                   2
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"Jess Pena,Valerie L"                                                      3
"Jess Pena,Victoria Dang"                                                  1
"Jessenia Oseguera,Abraham Sanchez"                                        4
"Jessenia Oseguera,Elio Riano"                                             3
"Jessenia Oseguera,Hunter Glass"                                           1
"Jessenia Oseguera,Isa Avina-Cardiel"                                      7
"Jessenia Oseguera,Kevin Marquez"                                          4
"Jessenia Oseguera,Kevin Marquez,Isa Avina-Cardiel"                        1
"Jessenia Oseguera,Kimberly Torres"                                        1
"Jessenia Oseguera,Lex Avina-Cardiel"                                      1
"Jessenia Oseguera,Melina Beltran"                                         1
"Jessenia Oseguera,Sarika Mande"                                           1
"Jessenia Oseguera,Sebastian Vasquez"                                      1
"Jessenia Oseguera,Tainis Tapias"                                          1
"Jessenia Oseguera,Valerie L"                                              2
"Jessenia Oseguera,Yesica Sierra"                                          1
"Jessenia Oseguera,Yesica Sierra,Hunter Glass,Elio Riano"                  1
"Jessenia Oseguera,yuliana mendoza"                                        1
"Josey Harvey,Abraham Sanchez,Elio Riano,Isa Avina-Cardiel"                1
"Josey Harvey,Elio Riano"                                                  8
"Josey Harvey,Fausto Beleno"                                               1
"Josey Harvey,Hunter Glass"                                                1
"Josey Harvey,Isa Avina-Cardiel"                                           6
"Josey Harvey,Karen Saldana-Lopez"                                         1
"Josey Harvey,Kevin Marquez,Abraham Sanchez"                               1
"Josey Harvey,Khalil Beshoy"                                               1
"Josey Harvey,Manny Alatorre"                                              1
"Josey Harvey,Melina Beltran"                                              1
"Josey Harvey,Nikki Miller"                                                3
"Josey Harvey,Phoenix Paralegal"                                           1
"Josey Harvey,Sarika Mande"                                                1
"Josey Harvey,Sophia Goins"                                                1
"Josey Harvey,Valerie L"                                                   3
"Josey Harvey,Victoria Dang"                                               1
"Josey Harvey,yuliana mendoza"                                             1
"Josue Alvarez,Abraham Sanchez"                                            1
"Josue Alvarez,David Brown"                                                1
"Josue Alvarez,Elio Riano"                                                 5
"Josue Alvarez,Griselda Reina"                                             1
"Josue Alvarez,Hunter Glass"                                               1
"Josue Alvarez,Isa Avina-Cardiel"                                          2
"Josue Alvarez,Kevin Marquez"                                              1
"Josue Alvarez,Melina Beltran"                                             1
"Josue Alvarez,Nickolas Mossa"                                             1
"Josue Alvarez,Nikki Miller"                                               1
"Josue Alvarez,Rafael de la Torre,yuliana mendoza"                         1
"Josue Alvarez,Valerie L"                                                  3
  Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
        Declaration of Brad Lee with Exhs A-G in support of Trustee Page 98 of 189

"Josue Alvarez,Victoria Dang"                                              1
"justin andra,Ali Mohamed"                                                 1
"justin andra,Brandon DeLaura"                                             1
"justin andra,Fausto Beleno"                                               1
"justin andra,George Sanchez"                                              1
"justin andra,Ivis Parada"                                                 1
"justin andra,Kimberly Torres"                                             1
"justin andra,Phoenix Paralegal"                                           2
"justin andra,Salma Aranda"                                                1
"Karen O'Connell,Abraham Sanchez"                                          4
"Karen O'Connell,Amir nejad"                                               2
"Karen O'Connell,Anthony Base"                                             5
"Karen O'Connell,David Brown"                                              1
"Karen O'Connell,Elio Riano"                                               2
"Karen O'Connell,Erica Kline,Melina Beltran"                               1
"Karen O'Connell,Fausto Beleno"                                            2
"Karen O'Connell,Hanya Zargaran"                                           1
"Karen O'Connell,Hunter Glass"                                             4
"Karen O'Connell,Hunter Glass,Kevin Marquez"                               1
"Karen O'Connell,Isa Avina-Cardiel"                                        1
"Karen O'Connell,Ivis Parada,Melina Beltran"                               1
"Karen O'Connell,Jarod Vaughan"                                            1
"Karen O'Connell,Kimberly Torres"                                          1
"Karen O'Connell,Kimberly Torres,Melina Beltran"                           1
"Karen O'Connell,Melina Beltran"                                           2
"Karen O'Connell,Nikki Miller"                                             1
"Karen O'Connell,Rafael de la Torre"                                       1
"Karen O'Connell,Sarika Mande"                                             1
"Karen O'Connell,Stephanie Reynoso"                                        1
"Karen O'Connell,Tainis Tapias"                                            1
"Karen O'Connell,Valerie L"                                                3
"Karen O'Connell,Victoria Dang"                                            2
"Karen O'Connell,Yesica Sierra"                                            1
"Karen O'Connell,yuliana mendoza"                                          3
"Karen Saldana-Lopez,Abe Flores"                                           1
"Karen Saldana-Lopez,Abraham Sanchez"                                      2
"Karen Saldana-Lopez,Ali Mohamed"                                          1
"Karen Saldana-Lopez,Anthony Base"                                         1
"Karen Saldana-Lopez,Connor Huskisson"                                     1
"Karen Saldana-Lopez,Daisy Meneses"                                        2
"Karen Saldana-Lopez,Hunter Glass"                                         2
"Karen Saldana-Lopez,Isa Avina-Cardiel"                                    1
"Karen Saldana-Lopez,Ivis Parada"                                          1
"Karen Saldana-Lopez,Jess Pena"                                            1
"Karen Saldana-Lopez,Kevin Marquez"                                        2
"Karen Saldana-Lopez,Reham Zin"                                            1
"Karen Saldana-Lopez,Sufyaan Lakhani"                                      2
  Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
        Declaration of Brad Lee with Exhs A-G in support of Trustee Page 99 of 189

"Kevin Ceballos,Abraham Sanchez"                                           1
"Kevin Ceballos,Anthony Base"                                              1
"Kevin Ceballos,bonnie romero"                                             2
"Kevin Ceballos,David Brown"                                               1
"Kevin Ceballos,Elio Riano"                                                3
"Kevin Ceballos,Hanya Zargaran"                                            1
"Kevin Ceballos,Hunter Glass"                                              4
"Kevin Ceballos,Isa Avina-Cardiel"                                         3
"Kevin Ceballos,Kevin Marquez"                                             7
"Kevin Ceballos,Kimberly Torres"                                           2
"Kevin Ceballos,Kimberly Torres,Melina Beltran"                            1
"Kevin Ceballos,Mahmoud Bany-Mohammed,Isa Avina-Cardiel"                   1
"Kevin Ceballos,Max Zinchini"                                              1
"Kevin Ceballos,Mike Larkin"                                               1
"Kevin Ceballos,Nikki Miller"                                              1
"Kevin Ceballos,Quynh Nguyen"                                              1
"Kevin Ceballos,Sufyaan Lakhani"                                           1
"Kevin Ceballos,Sulaiman Khan"                                             1
"Kevin Ceballos,Valerie L"                                                 1
"Kevin Ceballos,Victoria Dang"                                             1
"Kevin Marquez,Abraham Sanchez"                                            1
"Kevin Marquez,Anthony Base"                                               3
"Kevin Marquez,Elio Riano"                                                 1
"Kevin Marquez,Hunter Glass"                                               3
"Kevin Marquez,Nikki Miller"                                               2
"Kevin Marquez,Sarika Mande"                                               1
"Kevin Marquez,Valerie L"                                                  1
"Khalil Beshoy,Hunter Glass"                                               1
"Khalil Beshoy,Kevin Marquez"                                              1
"Khalil Beshoy,Kimberly Torres"                                            1
"Khalil Beshoy,Melina Beltran"                                             1
"Khalil Beshoy,Stephanie Reynoso"                                          1
"Kian Narani,Abraham Sanchez"                                              1
"Kian Narani,Anthony Base"                                                 3
"Kian Narani,David Del Toro"                                               1
"Kian Narani,Elio Riano,Hunter Glass"                                      1
"Kian Narani,Hunter Glass"                                                 1
"Kian Narani,Hunter Glass,Elio Riano"                                      1
"Kian Narani,Isa Avina-Cardiel"                                            1
"Kian Narani,Kevin Ceballos"                                               1
"Kian Narani,Kevin Marquez"                                                1
"Kian Narani,Kevin Marquez,Isa Avina-Cardiel"                              1
"Kian Narani,Kimberly Torres"                                              2
"Kian Narani,Melina Beltran"                                               2
"Kian Narani,Nikki Miller"                                                 5
"Kian Narani,Sarika Mande"                                                 1
"Kian Narani,Sebastian Vasquez"                                            1
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"Kian Narani,Tainis Tapias"                                                1
"Kian Narani,Valerie L"                                                    3
"Kimberly Torres,Abe Flores"                                               1
"Lester Perez,Karen O'Connell"                                             1
"Lex Avina-Cardiel,Ali Mohamed"                                            1
"Lex Avina-Cardiel,bonnie romero"                                          1
"Lex Avina-Cardiel,Elio Riano"                                             4
"Lex Avina-Cardiel,Humza Shariff"                                          1
"Lex Avina-Cardiel,Hunter Glass"                                           2
"Lex Avina-Cardiel,Isa Avina-Cardiel"                                      1
"Lex Avina-Cardiel,Jasmin Amezcua"                                         1
"Lex Avina-Cardiel,Jennifer Andra"                                         1
"Lex Avina-Cardiel,Jessenia Oseguera"                                      1
"Lex Avina-Cardiel,Josue Alvarez"                                          1
"Lex Avina-Cardiel,Kevin Marquez"                                          2
"Lex Avina-Cardiel,Kevin Marquez,Isa Avina-Cardiel"                        1
"Lex Avina-Cardiel,Kimberly Torres"                                        1
"Lex Avina-Cardiel,Melina Beltran"                                         1
"Lex Avina-Cardiel,Melina Beltran,Isa Avina-Cardiel,Abraham Sanchez"       1
"Lex Avina-Cardiel,Nikki Miller"                                           3
"Lex Avina-Cardiel,Salma Aranda"                                           1
"Lex Avina-Cardiel,Sarika Mande"                                           1
"Lex Avina-Cardiel,Sebastian Vasquez"                                      1
"Lex Avina-Cardiel,Stephanie Reynoso"                                      1
"Lex Avina-Cardiel,Valerie L"                                              2
"Lex Avina-Cardiel,Victoria Dang"                                          2
"Mahmoud Bany-Mohammed,Anthony Base"                                       1
"Mahmoud Bany-Mohammed,Carmen Marza"                                       1
"Mahmoud Bany-Mohammed,Elio Riano"                                         3
"Mahmoud Bany-Mohammed,Emely Acevedo"                                      1
"Mahmoud Bany-Mohammed,Hunter Glass"                                       1
"Mahmoud Bany-Mohammed,Jas Sanchez"                                        1
"Mahmoud Bany-Mohammed,Jess Pena"                                          1
"Mahmoud Bany-Mohammed,Kimberly Torres"                                    1
"Mahmoud Bany-Mohammed,Nikki Miller"                                       1
"Mahmoud Bany-Mohammed,Rafael de la Torre"                                 1
"Mahmoud Bany-Mohammed,Sarika Mande"                                       1
"Mahmoud Bany-Mohammed,Tony Sanchez"                                       1
"Manny Alatorre,Abe Flores"                                                1
"Manny Alatorre,Abraham Sanchez"                                           3
"Manny Alatorre,Abraham Sanchez,Hunter Glass"                              1
"Manny Alatorre,Elio Riano"                                                3
"Manny Alatorre,Hunter Glass"                                              4
"Manny Alatorre,Hunter Glass,Anthony Base"                                 1
"Manny Alatorre,Isa Avina-Cardiel"                                         6
"Manny Alatorre,Isa Avina-Cardiel,Melina Beltran"                          1
"Manny Alatorre,Kevin Marquez"                                             3
  Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
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"Manny Alatorre,Melina Beltran"                                            1
"Manny Alatorre,Nikki Miller"                                              3
"Manny Alatorre,Phoenix Paralegal"                                         2
"Manny Alatorre,Sabah Ismail"                                              1
"Manny Alatorre,Sarika Mande"                                              1
"Manny Alatorre,Tainis Tapias"                                             1
"Manny Alatorre,Valerie L"                                                 2
"Manny Alatorre,Vincent Berube"                                            1
"Manny Alatorre,yuliana mendoza"                                           1
"Max Zinchini,Elio Riano"                                                  2
"Max Zinchini,Hunter Glass"                                                2
"Max Zinchini,Kevin Marquez"                                               3
"Max Zinchini,Yesica Sierra"                                               1
"Mike Larkin,Brandon DeLaura"                                              1
"Mike Larkin,Connor Huskisson"                                             1
"Mike Larkin,Daisy Meneses"                                                1
"Mike Larkin,Erika Cortes"                                                 1
"Mike Larkin,justin andra"                                                 1
"Mike Larkin,Kian Narani"                                                  1
"Mike Larkin,Melina Beltran"                                               1
"Mike Larkin,Stephanie Reynoso"                                            1
"Mike Larkin,Tony Sanchez"                                                 1
"Mike Larkin,yuliana mendoza"                                              1
"Nassir Diab,Abraham Sanchez"                                              2
"Nassir Diab,Brandon DeLaura"                                              1
"Nassir Diab,Brant Bishop"                                                 1
"Nassir Diab,Connor Huskisson"                                             2
"Nassir Diab,Daisy Meneses"                                                1
"Nassir Diab,Daniela Serrano"                                              1
"Nassir Diab,David Brown"                                                  1
"Nassir Diab,David Del Toro"                                               1
"Nassir Diab,Elio Riano"                                                   2
"Nassir Diab,Hunter Glass"                                                 2
"Nassir Diab,Iman Nejad"                                                   1
"Nassir Diab,Isa Avina-Cardiel"                                            1
"Nassir Diab,justin andra"                                                 1
"Nassir Diab,Kevin Ceballos"                                               1
"Nassir Diab,Kevin Marquez"                                                1
"Nassir Diab,Mike Larkin"                                                  2
"Nassir Diab,Nikki Miller"                                                 2
"Nassir Diab,Salman Ismail"                                                1
"Nassir Diab,Sarika Mande"                                                 3
"Nassir Diab,Sebastian Vasquez"                                            2
"Nassir Diab,Sufyaan Lakhani"                                              1
"Nassir Diab,Tainis Tapias"                                                1
"Nassir Diab,Tony Sanchez,Abraham Sanchez"                                 1
"Nassir Diab,Victoria Dang"                                                1
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"Nickolas Mossa,Abraham Sanchez"                                           2
"Nickolas Mossa,Elio Riano"                                                3
"Nickolas Mossa,Hunter Glass"                                              4
"Nickolas Mossa,Isa Avina-Cardiel"                                         3
"Nickolas Mossa,James Andra,Abraham Sanchez"                               1
"Nickolas Mossa,Kevin Marquez"                                             4
"Nickolas Mossa,Kevin Marquez,Hunter Glass"                                1
"Nickolas Mossa,Nikki Miller"                                              4
"Nickolas Mossa,Nikki Miller,Kevin Marquez"                                1
"Nickolas Mossa,Sabah Ismail"                                              1
"Nickolas Mossa,Valerie L"                                                 1
"Nickolas Mossa,Yesica Sierra,Hunter Glass"                                1
"Nickolas Mossa,yuliana mendoza"                                           1
"Nicole Morris,Amir nejad"                                                 1
"Nicole Morris,Carmen Marza"                                               1
"Nicole Morris,Christian Sangalang"                                        1
"Nicole Morris,Fausto Beleno"                                              1
"Nicole Morris,George Sanchez,Jennifer Andra"                              1
"Nicole Morris,Hunter Glass,Abraham Sanchez"                               1
"Nicole Morris,justin andra"                                               1
"Nicole Morris,Legal Phoenix"                                              1
"Nicole Morris,Nathan Perez"                                               2
"Nicole Morris,Nickolas Mossa"                                             1
"Nicole Morris,Phoenix Paralegal"                                          1
"Nicole Morris,Sebastian Vasquez"                                          1
"Nicole Morris,yuliana mendoza"                                            1
"Nikki Miller,Hunter Glass"                                                1
"Phoenix Paralegal,Lex Avina-Cardiel"                                      1
"Quynh Nguyen,Fausto Beleno"                                               1
"Quynh Nguyen,Jennifer Andra"                                              1
"Quynh Nguyen,Kimberly Torres"                                             1
"Quynh Nguyen,Mahmoud Bany-Mohammed"                                       1
"Quynh Nguyen,Valerie L"                                                   1
"Quynh Nguyen,yuliana mendoza"                                             1
"Rafael de la Torre,Kimberly Torres"                                       1
"Rafael de la Torre,Kimberly Torres,Nicole Morris"                         1
"Rafael de la Torre,Manny Alatorre,Kevin Marquez"                          1
"Rafael de la Torre,Mike Larkin"                                           1
"Rafael de la Torre,Reham Zin"                                             1
"Rafael de la Torre,Samuel Pierce"                                         1
"Rafael de la Torre,Sophia Goins"                                          1
"Ralph Breneville,Abraham Sanchez"                                         3
"Ralph Breneville,andre alvarenga"                                         1
"Ralph Breneville,Hunter Glass"                                            2
"Ralph Breneville,Isa Avina-Cardiel"                                       3
"Ralph Breneville,Kevin Marquez"                                           1
"Ralph Breneville,Kimberly Torres"                                         1
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"Ralph Breneville,Lex Avina-Cardiel"                                       1
"Ralph Breneville,Nicole Morris"                                           1
"Ralph Breneville,Nikki Miller"                                            2
"Ralph Breneville,Samuel Pierce"                                           1
"Ralph Breneville,Victoria Dang"                                           1
"Ralph Breneville,Vincent Berube"                                          2
"Ralph Breneville,yuliana mendoza"                                         1
"Reham Zin,Fausto Beleno"                                                  1
"Reham Zin,Ivis Parada"                                                    1
"Reham Zin,James Andra"                                                    1
"Reham Zin,Jarod Vaughan"                                                  1
"Reham Zin,Kimberly Torres"                                                1
"Reham Zin,Max Zinchini"                                                   1
"Reham Zin,Quynh Nguyen"                                                   1
"Reham Zin,Sebastian Vasquez"                                              1
"Reham Zin,Stephanie Reynoso"                                              1
"Reham Zin,Tainis Tapias"                                                  1
"Ronald Apodaca,Abraham Sanchez"                                           1
"Ronald Apodaca,Ivis Parada"                                               1
"Ronald Apodaca,Victoria Dang"                                             1
"Sabah Ismail,Golam Khan"                                                  1
"Saif Ismail,Abraham Sanchez"                                              1
"Saif Ismail,David Brown"                                                  1
"Saif Ismail,Hunter Glass,Vincent Berube"                                  1
"Saif Ismail,Iman Nejad"                                                   1
"Saif Ismail,Isa Avina-Cardiel"                                            1
"Saif Ismail,Kevin Marquez"                                                1
"Saif Ismail,Kimberly Torres"                                              1
"Salma Aranda,Ali Mohamed"                                                 1
"Salma Aranda,bonnie romero"                                               1
"Salma Aranda,Brandon DeLaura"                                             1
"Salma Aranda,Daniel Orellana"                                             1
"Salma Aranda,Erica Kline"                                                 1
"Salma Aranda,Griselda Reina"                                              1
"Salma Aranda,Jas Sanchez"                                                 1
"Salma Aranda,Jessenia Oseguera"                                           1
"Salma Aranda,Jessenia Oseguera,Sebastian Vasquez"                         1
"Salma Aranda,Josue Alvarez"                                               1
"Salma Aranda,Karen O'Connell"                                             1
"Salma Aranda,Kevin Ceballos"                                              2
"Salma Aranda,Khalil Beshoy"                                               1
"Salma Aranda,Kian Narani"                                                 2
"Salma Aranda,Kimberly Torres"                                             1
"Salma Aranda,Manny Alatorre"                                              1
"Salma Aranda,Nassir Diab"                                                 1
"Salma Aranda,Salman Ismail"                                               1
"Salma Aranda,Tainis Tapias"                                               1
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"Salman Ismail,Abraham Sanchez"                                            2
"Salman Ismail,Anthony Base,Hunter Glass"                                  1
"Salman Ismail,Elio Riano"                                                 2
"Salman Ismail,Fausto Beleno"                                              1
"Salman Ismail,Griselda Reina"                                             1
"Salman Ismail,Hunter Glass"                                               3
"Salman Ismail,Isa Avina-Cardiel"                                          1
"Salman Ismail,Kevin Marquez"                                              1
"Salman Ismail,Manny Alatorre"                                             1
"Salman Ismail,Nikki Miller"                                               1
"Salman Ismail,Sarika Mande"                                               2
"Salman Ismail,Sebastian Vasquez"                                          2
"Salman Ismail,Victoria Dang"                                              1
"Salman Ismail,yuliana mendoza"                                            1
"Samuel Pierce,Abraham Sanchez"                                            1
"Samuel Pierce,andre alvarenga"                                            1
"Samuel Pierce,Elio Riano"                                                 1
"Samuel Pierce,Emely Acevedo"                                              1
"Samuel Pierce,Hunter Glass"                                               3
"Samuel Pierce,Isa Avina-Cardiel"                                          1
"Samuel Pierce,James Andra"                                                1
"Samuel Pierce,Karen O'Connell"                                            1
"Samuel Pierce,Kevin Marquez"                                              6
"Samuel Pierce,Khalil Beshoy"                                              1
"Samuel Pierce,Melina Beltran"                                             1
"Samuel Pierce,Nicole Morris"                                              1
"Samuel Pierce,Nikki Miller"                                               2
"Samuel Pierce,Salman Ismail"                                              1
"Samuel Pierce,Tony Sanchez"                                               1
"Samuel Pierce,Vincent Berube"                                             1
"Sarah Ross,Fausto Beleno"                                                 1
"Sarah Ross,Nathan Perez"                                                  1
"Sarika Mande,Kevin Marquez"                                               1
"Sarika Mande,Nikki Miller"                                                1
"Sebastian Vasquez,Jess Pena"                                              1
"Sebastian Vasquez,Karen O'Connell"                                        1
"Sebastian Vasquez,Kian Narani"                                            1
"Sebastian Vasquez,Phoenix Paralegal"                                      1
"Sebastian Vasquez,Stephanie Reynoso"                                      1
"Sebastian Vasquez,Victoria Dang,Jess Pena"                                1
"Stephanie Reynoso,Anthony Base"                                           1
"Stephanie Reynoso,Brandon DeLaura"                                        1
"Stephanie Reynoso,Ivis Parada,Melina Beltran"                             1
"Stephanie Reynoso,Jennifer Andra"                                         1
"Stephanie Reynoso,Josey Harvey"                                           1
"Stephanie Reynoso,Kimberly Torres"                                        1
"Stephanie Reynoso,Kimberly Torres,Lex Avina-Cardiel"                      1
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"Stephanie Reynoso,yuliana mendoza"                                        2
"Sufyaan Lakhani,Ivis Parada,Melina Beltran"                               1
"Sufyaan Lakhani,Kimberly Torres"                                          1
"Sufyaan Lakhani,Sebastian Vasquez"                                        1
"Sulaiman Khan,Ali Mohamed"                                                1
"Sulaiman Khan,bonnie romero,James Andra"                                  1
"Sulaiman Khan,Erica Kline"                                                2
"Sulaiman Khan,Golam Khan"                                                 1
"Sulaiman Khan,Hanya Zargaran"                                             1
"Sulaiman Khan,Jarod Vaughan"                                              1
"Sulaiman Khan,Jennifer Andra"                                             1
"Sulaiman Khan,Kian Narani"                                                1
"Sulaiman Khan,Melina Beltran"                                             1
"Sulaiman Khan,Salma Aranda"                                               1
"Sulaiman Khan,Sebastian Vasquez"                                          1
"Sulaiman Khan,Tainis Tapias"                                              1
"Sulaiman Khan,yuliana mendoza"                                            1
"Tainis Tapias,bonnie romero"                                              1
"Tainis Tapias,Daniel Orellana"                                            1
"Tainis Tapias,Jas Sanchez"                                                1
"Tainis Tapias,Khalil Beshoy"                                              1
"Tainis Tapias,Kimberly Torres"                                            1
"Tainis Tapias,Melina Beltran"                                             2
"Tainis Tapias,Nassir Diab"                                                1
"Tainis Tapias,Reham Zin"                                                  1
"Tainis Tapias,Sulaiman Khan"                                              1
"Tony Sanchez,Abraham Sanchez"                                             1
"Tony Sanchez,Anthony Base"                                                1
"Tony Sanchez,Brandon DeLaura"                                             1
"Tony Sanchez,Elio Riano"                                                  3
"Tony Sanchez,Elio Riano,Kevin Marquez"                                    1
"Tony Sanchez,Hunter Glass"                                                2
"Tony Sanchez,Iman Nejad"                                                  1
"Tony Sanchez,Kevin Marquez"                                               3
"Tony Sanchez,Kimberly Torres"                                             1
"Tony Sanchez,Mike Larkin"                                                 1
"Tony Sanchez,Nikki Miller"                                                1
"Tony Sanchez,Sebastian Vasquez"                                           1
"Triana Camero,Abraham Sanchez"                                            1
"Triana Camero,Anthony Base"                                               1
"Triana Camero,Elio Riano"                                                 1
"Triana Camero,Vincent Berube"                                             1
"Valerie L,Anthony Base"                                                   1
"Victoria Dang,Abraham Sanchez"                                            2
"Victoria Dang,George Sanchez"                                             1
"Victoria Dang,justin andra"                                               1
"Victoria Dang,Samuel Pierce"                                              1
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"Victoria Dang,Sufyaan Lakhani"                                            1
"Victoria Dang,Vincent Berube"                                             1
"Vincent Berube,Hunter Glass"                                              1
"Yesica Sierra,Emely Acevedo"                                              1
"Yesica Sierra,Melina Beltran"                                             2
"yuliana mendoza,Abraham Sanchez"                                          1
"yuliana mendoza,Anthony Base"                                             1
"yuliana mendoza,Kimberly Torres"                                          3
"yuliana mendoza,Melina Beltran"                                           1
"yuliana mendoza,Quynh Nguyen"                                             1
"yuliana mendoza,Stephanie Reynoso"                                        1
Abe Flores                                                               175
Abraham Sanchez                                                          226
Adriana Hernandez                                                         23
Ali Mohamed                                                              331
Amir nejad                                                               238
andre alvarenga                                                          187
Andrea Albor                                                             954
Anjeanette Chek                                                           26
Anthony Base                                                             103
bonnie romero                                                            236
Brandon DeLaura                                                          282
Brant Bishop                                                             177
Carmen Marza                                                             339
Christian Sangalang                                                      255
Christopher Cole                                                          17
Cindy Vazquez                                                            301
Connor Huskisson                                                         386
Daisy Meneses                                                            172
Daniel Orellana                                                          331
Daniela Serrano                                                           36
David Brown                                                                4
David Del Toro                                                            50
Elio Riano                                                               118
Emely Acevedo                                                            171
Erica Kline                                                              270
Erika Cortes                                                              12
Fausto Beleno                                                            261
George Sanchez                                                           264
Golam Khan                                                               371
Griselda Reina                                                           182
Hanner Angulo                                                            822
Hanya Zargaran                                                           243
Humza Shariff                                                            117
Hunter Glass                                                             107
Iman Nejad                                                               170
Isa Avina-Cardiel                                                        101
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Ivis Parada                                                             115
James Andra                                                             275
James Hinson                                                             18
Jarod Vaughan                                                           238
Jas Sanchez                                                             274
Jasmin Amezcua                                                          145
Jason Cast                                                               10
Jennifer Andra                                                          448
Jess Pena                                                               272
Jessenia Oseguera                                                       307
Jolie R                                                                   2
Josey Harvey                                                            310
Josue Alvarez                                                           159
justin andra                                                            270
Kaitlyn Campuzano                                                         2
Karen O'Connell                                                         284
Karen Saldana-Lopez                                                     150
Karla Bravo                                                              14
Kevin Ceballos                                                          260
Kevin Marquez                                                            92
Khalil Beshoy                                                           270
Kian Narani                                                             337
Kimberly Torres                                                         292
Legal Phoenix                                                            48
Lester Perez                                                             70
Lex Avina-Cardiel                                                       239
Mahmoud Bany-Mohammed                                                   227
Manny Alatorre                                                          430
Max Zinchini                                                            100
Melina Beltran                                                          376
Mike Larkin                                                             406
Nassir Diab                                                             486
Nathan Perez                                                              6
Nickolas Mossa                                                          313
Nicole Morris                                                           269
Nikki Miller                                                             89
Phoenix Paralegal                                                        97
Quynh Nguyen                                                            436
Rafael de la Torre                                                      129
Ralph Breneville                                                         50
Reham Zin                                                               287
Ronald Apodaca                                                           27
Sabah Ismail                                                            243
Saif Ismail                                                             174
Salma Aranda                                                            163
Salman Ismail                                                           307
Samuel Pierce                                                           541
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Sarah Ross                                                                 76
Sarika Mande                                                               32
Sebastian Vasquez                                                         334
Selina Taing                                                               42
Sophia Goins                                                                2
Stephanie Reynoso                                                         344
Sufyaan Lakhani                                                           444
Sulaiman Khan                                                             311
Tainis Tapias                                                             258
Tony Sanchez                                                              265
Triana Camero                                                              43
Ty Carss                                                                   28
Valerie L                                                                  53
Victoria Dang                                                             246
Vincent Berube                                                             14
Yesica Sierra                                                             480
yuliana mendoza                                                           318
(blank)                                                                  7806
Grand Total                                                             30318
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Row Labels                                 Count of Wrap-Up Duration
  :05                                                            8189
    Sebastian Vasquez                                             313
    yuliana mendoza                                               290
    Fausto Beleno                                                 252
    Tainis Tapias                                                 234
    Karen O'Connell                                               222
    Carmen Marza                                                  218
    Connor Huskisson                                              218
    justin andra                                                  202
    Erica Kline                                                   201
    Cindy Vazquez                                                 195
    Hanya Zargaran                                                192
    Brandon DeLaura                                               188
    George Sanchez                                                187
    Ali Mohamed                                                   172
    Kevin Ceballos                                                172
    Nassir Diab                                                   168
    Daniel Orellana                                               164
    Reham Zin                                                     158
    Salman Ismail                                                 142
    Christian Sangalang                                           141
    andre alvarenga                                               140
    Manny Alatorre                                                140
    Stephanie Reynoso                                             136
    Jas Sanchez                                                   133
    Jarod Vaughan                                                 131
    Brant Bishop                                                  128
    Salma Aranda                                                  127
    Mike Larkin                                                   125
    Yesica Sierra                                                 120
    Khalil Beshoy                                                 120
    Golam Khan                                                    119
    Rafael de la Torre                                            117
    Josue Alvarez                                                 116
    James Andra                                                   115
    Karen Saldana-Lopez                                           114
    Nickolas Mossa                                                109
    Abe Flores                                                    100
    Sulaiman Khan                                                  95
    Jennifer Andra                                                 91
    Quynh Nguyen                                                   90
    Emely Acevedo                                                  87
    Mahmoud Bany-Mohammed                                          84
    Tony Sanchez                                                   78
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 Iman Nejad                                                    75
 Jess Pena                                                     73
 Sufyaan Lakhani                                               71
 Max Zinchini                                                  71
 Samuel Pierce                                                 68
 Lester Perez                                                  68
 Amir nejad                                                    64
 Sabah Ismail                                                  64
 Lex Avina-Cardiel                                             62
 Humza Shariff                                                 61
 Josey Harvey                                                  54
 Nicole Morris                                                 51
 David Del Toro                                                49
 Saif Ismail                                                   47
 bonnie romero                                                 44
 Triana Camero                                                 41
 Daniela Serrano                                               35
 Jasmin Amezcua                                                33
 Griselda Reina                                                32
 Jessenia Oseguera                                             32
 Kian Narani                                                   32
 Sarah Ross                                                    30
 Ralph Breneville                                              27
 Adriana Hernandez                                             22
 Victoria Dang                                                 21
 Christopher Cole                                              15
 Daisy Meneses                                                 11
 Ronald Apodaca                                                 9
 Anjeanette Chek                                                9
 Abraham Sanchez                                                4
 "bonnie romero,Carmen Marza"                                   3
 "Karen O'Connell,Anthony Base"                                 2
 "Karen O'Connell,Amir nejad"                                   2
 "Sulaiman Khan,Erica Kline"                                    2
 "Carmen Marza,Hanner Angulo"                                   2
 "bonnie romero,Emely Acevedo"                                  2
 "bonnie romero,Salma Aranda"                                   2
 "bonnie romero,James Andra"                                    2
 "bonnie romero,Victoria Dang"                                  2
 "Nassir Diab,Mike Larkin"                                      2
 "Stephanie Reynoso,yuliana mendoza"                            2
 "Nassir Diab,Connor Huskisson"                                 2
 "Salman Ismail,Manny Alatorre"                                 1
 "Brandon DeLaura,Connor Huskisson"                             1
 "Tainis Tapias,Sulaiman Khan"                                  1
 "James Andra,Nikki Miller"                                     1
 Nikki Miller                                                   1
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 "James Andra,Reham Zin"                                       1
 "Sulaiman Khan,Ali Mohamed"                                   1
 "Jas Sanchez,George Sanchez"                                  1
 "bonnie romero,Elio Riano"                                    1
 "Jas Sanchez,Khalil Beshoy"                                   1
 "Christian Sangalang,Tainis Tapias"                           1
 "Jasmin Amezcua,Nickolas Mossa"                               1
 "Hanya Zargaran,George Sanchez"                               1
 "Jennifer Andra,Brandon DeLaura"                              1
 "Samuel Pierce,Tony Sanchez"                                  1
 "Jennifer Andra,yuliana mendoza"                              1
 "Sulaiman Khan,Sebastian Vasquez"                             1
 "Jess Pena,Abraham Sanchez"                                   1
 "Victoria Dang,Sufyaan Lakhani"                               1
 "Jess Pena,Ali Mohamed"                                       1
 "bonnie romero,Karen O'Connell"                               1
 "Jess Pena,Connor Huskisson"                                  1
 "Brant Bishop,Josey Harvey"                                   1
 "Jess Pena,Daniel Orellana"                                   1
 "Connor Huskisson,Kimberly Torres"                            1
 "Jess Pena,Fausto Beleno"                                     1
 "Erica Kline,Sebastian Vasquez"                               1
 "Jess Pena,Golam Khan"                                        1
 "Salma Aranda,Manny Alatorre"                                 1
 "Jess Pena,James Andra"                                       1
 "Samuel Pierce,Emely Acevedo"                                 1
 "Jess Pena,Kevin Marquez"                                     1
 "Sebastian Vasquez,Victoria Dang,Jess Pena"                   1
 "Jessenia Oseguera,Kimberly Torres"                           1
 "Sulaiman Khan,Hanya Zargaran"                                1
 "Jessenia Oseguera,Melina Beltran"                            1
 "Tainis Tapias,Khalil Beshoy"                                 1
 "Jessenia Oseguera,Sebastian Vasquez"                         1
 "Tony Sanchez,Sebastian Vasquez"                              1
 "Josey Harvey,Fausto Beleno"                                  1
 "Andrea Albor,Fausto Beleno"                                  1
 "Josey Harvey,Karen Saldana-Lopez"                            1
 "bonnie romero,Hanya Zargaran"                                1
 "Josey Harvey,Manny Alatorre"                                 1
 "bonnie romero,Sebastian Vasquez"                             1
 "Josey Harvey,yuliana mendoza"                                1
 "Brandon DeLaura,Manny Alatorre"                              1
 "Josue Alvarez,Elio Riano"                                    1
 "Carmen Marza,Hunter Glass"                                   1
 "Josue Alvarez,Griselda Reina"                                1
 "Cindy Vazquez,Manny Alatorre"                                1
 "Josue Alvarez,Hunter Glass"                                  1
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 "Daniel Orellana,Salman Ismail"                               1
 "Josue Alvarez,Rafael de la Torre,yuliana mendoza"            1
 "Erica Kline,Karen O'Connell"                                 1
 "Josue Alvarez,Victoria Dang"                                 1
 "George Sanchez,Jas Sanchez"                                  1
 "justin andra,Ali Mohamed"                                    1
 "Hanya Zargaran,Lex Avina-Cardiel"                            1
 "justin andra,Brandon DeLaura"                                1
 "Salma Aranda,Salman Ismail"                                  1
 "justin andra,Fausto Beleno"                                  1
 "Salman Ismail,Sebastian Vasquez"                             1
 "justin andra,George Sanchez"                                 1
 "Samuel Pierce,Karen O'Connell"                               1
 "justin andra,Salma Aranda"                                   1
 "Sebastian Vasquez,Karen O'Connell"                           1
 "Amir nejad,Kevin Marquez"                                    1
 "Stephanie Reynoso,Kimberly Torres"                           1
 "Amir nejad,Melina Beltran"                                   1
 "andre alvarenga,Melina Beltran"                              1
 "Karen O'Connell,Fausto Beleno"                               1
 "Sulaiman Khan,Jennifer Andra"                                1
 "Karen O'Connell,Hanya Zargaran"                              1
 "Sulaiman Khan,yuliana mendoza"                               1
 "Karen O'Connell,Hunter Glass"                                1
 "Tainis Tapias,Nassir Diab"                                   1
 "Karen O'Connell,Hunter Glass,Kevin Marquez"                  1
 "Tony Sanchez,Elio Riano"                                     1
 "Karen O'Connell,Jarod Vaughan"                               1
 "Victoria Dang,justin andra"                                  1
 "Karen O'Connell,Melina Beltran"                              1
 "yuliana mendoza,Quynh Nguyen"                                1
 "Karen O'Connell,Tainis Tapias"                               1
 "Abe Flores,Sebastian Vasquez"                                1
 "Karen Saldana-Lopez,Abe Flores"                              1
 "bonnie romero,Erica Kline"                                   1
 "Karen Saldana-Lopez,Ali Mohamed"                             1
 "Ali Mohamed,Humza Shariff"                                   1
 "Karen Saldana-Lopez,Connor Huskisson"                        1
 "bonnie romero,Quynh Nguyen"                                  1
 "Karen Saldana-Lopez,Daisy Meneses"                           1
 "Ali Mohamed,Quynh Nguyen,Humza Shariff"                      1
 "Karen Saldana-Lopez,Jess Pena"                               1
 "Brandon DeLaura,Hunter Glass"                                1
 "Karen Saldana-Lopez,Reham Zin"                               1
 "Brandon DeLaura,yuliana mendoza"                             1
 "Karen Saldana-Lopez,Sufyaan Lakhani"                         1
 "Carmen Marza,Abraham Sanchez"                                1
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 "Kevin Ceballos,Hanya Zargaran"                               1
 "Carmen Marza,Kimberly Torres"                                1
 "Kevin Ceballos,Max Zinchini"                                 1
 "Cindy Vazquez,George Sanchez"                                1
 "Kevin Ceballos,Mike Larkin"                                  1
 "Connor Huskisson,andre alvarenga"                            1
 "Kevin Ceballos,Quynh Nguyen"                                 1
 "Connor Huskisson,Tony Sanchez"                               1
 "Kevin Ceballos,Sulaiman Khan"                                1
 "Emely Acevedo,Quynh Nguyen"                                  1
 "Khalil Beshoy,Kimberly Torres"                               1
 "Erica Kline,Jarod Vaughan"                                   1
 "Kian Narani,Kevin Ceballos"                                  1
 "Erica Kline,Kimberly Torres,Karen O'Connell"                 1
 "Lester Perez,Karen O'Connell"                                1
 "Fausto Beleno,Jennifer Andra"                                1
 "Lex Avina-Cardiel,Ali Mohamed"                               1
 "Golam Khan,Lester Perez"                                     1
 "Lex Avina-Cardiel,Humza Shariff"                             1
 "Hanya Zargaran,Jarod Vaughan"                                1
 "Lex Avina-Cardiel,Jennifer Andra"                            1
 "James Andra,Kevin Ceballos"                                  1
 "Lex Avina-Cardiel,Josue Alvarez"                             1
 "Salma Aranda,Nassir Diab"                                    1
 "Lex Avina-Cardiel,Salma Aranda"                              1
 "Salma Aranda,Tainis Tapias"                                  1
 "Lex Avina-Cardiel,Stephanie Reynoso"                         1
 "Salman Ismail,Sarika Mande"                                  1
 "Lex Avina-Cardiel,Victoria Dang"                             1
 "Samuel Pierce,andre alvarenga"                               1
 "Mahmoud Bany-Mohammed,Carmen Marza"                          1
 "Samuel Pierce,James Andra"                                   1
 "Mahmoud Bany-Mohammed,Elio Riano"                            1
 "Samuel Pierce,Khalil Beshoy"                                 1
 "Mahmoud Bany-Mohammed,Jas Sanchez"                           1
 "Sebastian Vasquez,Jess Pena"                                 1
 "Mahmoud Bany-Mohammed,Rafael de la Torre"                    1
 "Sebastian Vasquez,Stephanie Reynoso"                         1
 "Mahmoud Bany-Mohammed,Tony Sanchez"                          1
 "Stephanie Reynoso,Brandon DeLaura"                           1
 "Manny Alatorre,Abe Flores"                                   1
 "andre alvarenga,Christian Sangalang"                         1
 "Manny Alatorre,Hunter Glass"                                 1
 "Sulaiman Khan,bonnie romero,James Andra"                     1
 "Manny Alatorre,Tainis Tapias"                                1
 "Sulaiman Khan,Golam Khan"                                    1
 "Mike Larkin,Connor Huskisson"                                1
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 "Sulaiman Khan,Jarod Vaughan"                                 1
 "Mike Larkin,justin andra"                                    1
 "Sulaiman Khan,Salma Aranda"                                  1
 "Mike Larkin,Kian Narani"                                     1
 "Sulaiman Khan,Tainis Tapias"                                 1
 "Mike Larkin,Stephanie Reynoso"                               1
 "Tainis Tapias,Daniel Orellana"                               1
 "Mike Larkin,Tony Sanchez"                                    1
 "Tainis Tapias,Melina Beltran"                                1
 "Nassir Diab,Brandon DeLaura"                                 1
 "Tainis Tapias,Reham Zin"                                     1
 "Nassir Diab,Brant Bishop"                                    1
 "Tony Sanchez,Brandon DeLaura"                                1
 "Abe Flores,Sarah Ross"                                       1
 "Tony Sanchez,Mike Larkin"                                    1
 "Nassir Diab,Iman Nejad"                                      1
 "Victoria Dang,George Sanchez"                                1
 "Nassir Diab,justin andra"                                    1
 "Victoria Dang,Samuel Pierce"                                 1
 "andre alvarenga,Abraham Sanchez"                             1
 "Yesica Sierra,Emely Acevedo"                                 1
 "Nassir Diab,Salman Ismail"                                   1
 "yuliana mendoza,Stephanie Reynoso"                           1
 "Nassir Diab,Sebastian Vasquez"                               1
 "bonnie romero,andre alvarenga,Yesica Sierra"                 1
 "Nassir Diab,Tainis Tapias"                                   1
 "bonnie romero,Daniela Serrano"                               1
 "Nickolas Mossa,Hunter Glass"                                 1
 "Ali Mohamed,Abe Flores"                                      1
 "Nickolas Mossa,Sabah Ismail"                                 1
 "bonnie romero,Hanner Angulo"                                 1
 "Nickolas Mossa,yuliana mendoza"                              1
 "bonnie romero,Iman Nejad"                                    1
 "Nicole Morris,Carmen Marza"                                  1
 "bonnie romero,justin andra"                                  1
 "Nicole Morris,Christian Sangalang"                           1
 "bonnie romero,Melina Beltran"                                1
 "Nicole Morris,Fausto Beleno"                                 1
 "Ali Mohamed,Kimberly Torres"                                 1
 "Nicole Morris,George Sanchez,Jennifer Andra"                 1
 "bonnie romero,Tainis Tapias"                                 1
 "Nicole Morris,justin andra"                                  1
 "bonnie romero,Yesica Sierra"                                 1
 "Nicole Morris,Nickolas Mossa"                                1
 "Brandon DeLaura,Elio Riano"                                  1
 "Nicole Morris,yuliana mendoza"                               1
 "Brandon DeLaura,Kimberly Torres"                             1
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 "Quynh Nguyen,Jennifer Andra"                                 1
 "Brandon DeLaura,Melina Beltran"                              1
 "Quynh Nguyen,Mahmoud Bany-Mohammed"                          1
 "Brant Bishop,Ivis Parada"                                    1
 "Rafael de la Torre,Mike Larkin"                              1
 "Brant Bishop,Nicole Morris"                                  1
 "Rafael de la Torre,Reham Zin"                                1
 "Ali Mohamed,Salman Ismail"                                   1
 "Rafael de la Torre,Samuel Pierce"                            1
 "Carmen Marza,Ivis Parada"                                    1
 "Ralph Breneville,andre alvarenga"                            1
 "Christian Sangalang,Emely Acevedo"                           1
 "Ralph Breneville,Isa Avina-Cardiel"                          1
 "Cindy Vazquez,Carmen Marza"                                  1
 "Ralph Breneville,Lex Avina-Cardiel"                          1
 "Cindy Vazquez,justin andra"                                  1
 "Ralph Breneville,Nicole Morris"                              1
 "Cindy Vazquez,Reham Zin"                                     1
 "Ralph Breneville,Samuel Pierce"                              1
 "Connor Huskisson,Kian Narani"                                1
 "Ralph Breneville,Vincent Berube"                             1
 "Connor Huskisson,Nassir Diab"                                1
 "Reham Zin,James Andra"                                       1
 "Daniel Orellana,Jarod Vaughan"                               1
 "Reham Zin,Max Zinchini"                                      1
 "Daniela Serrano,Triana Camero"                               1
 "Reham Zin,Quynh Nguyen"                                      1
 "Erica Kline,Daniel Orellana"                                 1
 "Reham Zin,Sebastian Vasquez"                                 1
 "Erica Kline,Hanya Zargaran"                                  1
 "Reham Zin,Stephanie Reynoso"                                 1
 "Erica Kline,Jess Pena"                                       1
 "Sabah Ismail,Golam Khan"                                     1
 "Erica Kline,Kevin Ceballos"                                  1
 "Salma Aranda,Ali Mohamed"                                    1
 "Erica Kline,Quynh Nguyen"                                    1
 "Salma Aranda,Brandon DeLaura"                                1
 "Erica Kline,Sufyaan Lakhani"                                 1
 "Salma Aranda,Daniel Orellana"                                1
 "Fausto Beleno,Tony Sanchez"                                  1
 "Salma Aranda,Erica Kline"                                    1
 "George Sanchez,Sabah Ismail"                                 1
 "Salma Aranda,Griselda Reina"                                 1
 "Hanya Zargaran,Ali Mohamed"                                  1
 "Salma Aranda,Jas Sanchez"                                    1
 "Hanya Zargaran,Isa Avina-Cardiel"                            1
 "Salma Aranda,Josue Alvarez"                                  1
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    "Hanya Zargaran,Khalil Beshoy"                                1
    "Salma Aranda,Karen O'Connell"                                1
    "Iman Nejad,Jarod Vaughan"                                    1
    "Salma Aranda,Kevin Ceballos"                                 1
    "Salma Aranda,Khalil Beshoy"                                  1
Grand Total                                                    8189
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Row Labels                                              Count of Engagement ID
"Abe Flores,Connor Huskisson"                                                    1
"Abe Flores,Kimberly Torres"                                                     2
"Abe Flores,Sarah Ross"                                                          1
"Abe Flores,Sebastian Vasquez"                                                   2
"Abe Flores,Sophia Goins"                                                        1
"Abe Flores,Tainis Tapias"                                                       1
"Abe Flores,Valerie L"                                                           1
"Abraham Sanchez,David Brown"                                                    1
"Abraham Sanchez,Elio Riano"                                                     3
"Abraham Sanchez,Elio Riano,Kevin Marquez"                                       1
"Abraham Sanchez,Hunter Glass,Anthony Base"                                      1
"Abraham Sanchez,Isa Avina-Cardiel"                                              2
"Abraham Sanchez,Kevin Marquez"                                                  2
"Abraham Sanchez,Kimberly Torres"                                                1
"Abraham Sanchez,Melina Beltran"                                                 1
"Adriana Hernandez,Kimberly Torres"                                              1
"Ali Mohamed,Abe Flores"                                                         1
"Ali Mohamed,Abraham Sanchez"                                                    2
"Ali Mohamed,Anthony Base"                                                       1
"Ali Mohamed,Daisy Meneses"                                                      1
"Ali Mohamed,Daisy Meneses,Nikki Miller"                                         1
"Ali Mohamed,Elio Riano"                                                         5
"Ali Mohamed,Fausto Beleno"                                                      1
"Ali Mohamed,Humza Shariff"                                                      1
"Ali Mohamed,Hunter Glass"                                                       3
"Ali Mohamed,Isa Avina-Cardiel"                                                  2
"Ali Mohamed,Ivis Parada"                                                        1
"Ali Mohamed,Kevin Marquez"                                                      5
"Ali Mohamed,Kimberly Torres"                                                    1
"Ali Mohamed,Lex Avina-Cardiel"                                                  1
"Ali Mohamed,Nikki Miller"                                                       3
"Ali Mohamed,Phoenix Paralegal"                                                  1
"Ali Mohamed,Quynh Nguyen,Humza Shariff"                                         1
"Ali Mohamed,Salman Ismail"                                                      1
"Ali Mohamed,Sarika Mande"                                                       1
"Ali Mohamed,Valerie L"                                                          3
"Amir nejad,Abraham Sanchez"                                                     4
"Amir nejad,Anthony Base"                                                        1
"Amir nejad,David Del Toro"                                                      1
"Amir nejad,Elio Riano"                                                          8
"Amir nejad,Fausto Beleno,Griselda Reina"                                        1
"Amir nejad,Hunter Glass"                                                        3
"Amir nejad,Isa Avina-Cardiel"                                                   2
"Amir nejad,Ivis Parada"                                                         1
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"Amir nejad,Jennifer Andra"                                                1
"Amir nejad,Jessenia Oseguera"                                             1
"Amir nejad,Kevin Marquez"                                                 5
"Amir nejad,Melina Beltran"                                                4
"Amir nejad,Nikki Miller"                                                  3
"Amir nejad,Tainis Tapias"                                                 1
"Amir nejad,Victoria Dang"                                                 1
"andre alvarenga,Abraham Sanchez"                                          1
"andre alvarenga,Christian Sangalang"                                      1
"andre alvarenga,Elio Riano"                                               3
"andre alvarenga,Elio Riano,Isa Avina-Cardiel"                             1
"andre alvarenga,Hunter Glass"                                             2
"andre alvarenga,Isa Avina-Cardiel"                                        4
"andre alvarenga,Jessenia Oseguera"                                        1
"andre alvarenga,Kevin Marquez"                                            2
"andre alvarenga,Melina Beltran"                                           3
"andre alvarenga,Sarika Mande"                                             1
"andre alvarenga,Valerie L"                                                2
"andre alvarenga,Yesica Sierra,Abraham Sanchez"                            1
"Andrea Albor,Fausto Beleno"                                               1
"Andrea Albor,Hanner Angulo"                                               1
"Andrea Albor,Isa Avina-Cardiel"                                           1
"Andrea Albor,Kevin Marquez"                                               1
"Anthony Base,Elio Riano"                                                  1
"Anthony Base,Hunter Glass"                                                1
"Anthony Base,Nikki Miller"                                                1
"bonnie romero,Abraham Sanchez"                                            2
"bonnie romero,andre alvarenga,Yesica Sierra"                              1
"bonnie romero,Carmen Marza"                                               3
"bonnie romero,Daniela Serrano"                                            1
"bonnie romero,Elio Riano"                                                 4
"bonnie romero,Elio Riano,Isa Avina-Cardiel"                               1
"bonnie romero,Elio Riano,Nikki Miller"                                    1
"bonnie romero,Emely Acevedo"                                              2
"bonnie romero,Erica Kline"                                                1
"bonnie romero,George Sanchez"                                             1
"bonnie romero,Hanner Angulo"                                              1
"bonnie romero,Hanya Zargaran"                                             1
"bonnie romero,Hunter Glass"                                               4
"bonnie romero,Hunter Glass,Nikki Miller"                                  1
"bonnie romero,Iman Nejad"                                                 2
"bonnie romero,James Andra"                                                2
"bonnie romero,Jess Pena"                                                  1
"bonnie romero,Josey Harvey"                                               1
"bonnie romero,justin andra"                                               1
"bonnie romero,Karen O'Connell"                                            1
"bonnie romero,Kevin Marquez"                                              1
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"bonnie romero,Lex Avina-Cardiel"                                          1
"bonnie romero,Melina Beltran"                                             1
"bonnie romero,Nikki Miller"                                               6
"bonnie romero,Quynh Nguyen"                                               1
"bonnie romero,Saif Ismail"                                                2
"bonnie romero,Salma Aranda"                                               2
"bonnie romero,Sebastian Vasquez"                                          1
"bonnie romero,Tainis Tapias"                                              1
"bonnie romero,Valerie L"                                                  3
"bonnie romero,Victoria Dang"                                              3
"bonnie romero,Vincent Berube"                                             2
"bonnie romero,Yesica Sierra"                                              1
"Brandon DeLaura,Abraham Sanchez"                                          1
"Brandon DeLaura,Anthony Base"                                             1
"Brandon DeLaura,Connor Huskisson"                                         1
"Brandon DeLaura,Elio Riano"                                               2
"Brandon DeLaura,Hunter Glass"                                             5
"Brandon DeLaura,Jasmin Amezcua"                                           1
"Brandon DeLaura,Josue Alvarez,Anthony Base"                               1
"Brandon DeLaura,Kevin Marquez"                                            3
"Brandon DeLaura,Kimberly Torres"                                          1
"Brandon DeLaura,Manny Alatorre"                                           1
"Brandon DeLaura,Melina Beltran"                                           2
"Brandon DeLaura,Nikki Miller"                                             1
"Brandon DeLaura,Valerie L"                                                1
"Brandon DeLaura,Yesica Sierra"                                            1
"Brandon DeLaura,yuliana mendoza"                                          1
"Brant Bishop,Fausto Beleno"                                               1
"Brant Bishop,Ivis Parada"                                                 1
"Brant Bishop,Josey Harvey"                                                1
"Brant Bishop,Nicole Morris"                                               1
"Brant Bishop,Sabah Ismail"                                                1
"Brant Bishop,Salman Ismail"                                               1
"Carmen Marza,Abraham Sanchez"                                             1
"Carmen Marza,Anthony Base"                                                1
"Carmen Marza,David Del Toro"                                              1
"Carmen Marza,Elio Riano"                                                  3
"Carmen Marza,Emely Acevedo"                                               2
"Carmen Marza,Fausto Beleno"                                               1
"Carmen Marza,Hanner Angulo"                                               4
"Carmen Marza,Hunter Glass"                                                5
"Carmen Marza,Ivis Parada"                                                 1
"Carmen Marza,Kevin Marquez"                                               1
"Carmen Marza,Kimberly Torres"                                             3
"Carmen Marza,Kimberly Torres,Melina Beltran"                              1
"Carmen Marza,Nikki Miller"                                                2
"Carmen Marza,Sarika Mande"                                                1
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"Carmen Marza,Sebastian Vasquez,Tainis Tapias"                             1
"Carmen Marza,Tainis Tapias"                                               1
"Carmen Marza,Victoria Dang"                                               1
"Carmen Marza,Vincent Berube"                                              1
"Carmen Marza,Yesica Sierra"                                               2
"Carmen Marza,yuliana mendoza"                                             1
"Christian Sangalang,Abraham Sanchez"                                      1
"Christian Sangalang,Emely Acevedo"                                        1
"Christian Sangalang,Fausto Beleno,Isa Avina-Cardiel"                      1
"Christian Sangalang,Hunter Glass"                                         2
"Christian Sangalang,Isa Avina-Cardiel"                                    2
"Christian Sangalang,Ivis Parada"                                          1
"Christian Sangalang,Kevin Marquez"                                        2
"Christian Sangalang,Kimberly Torres"                                      3
"Christian Sangalang,Nikki Miller"                                         1
"Christian Sangalang,Tainis Tapias"                                        1
"Christian Sangalang,Vincent Berube,Isa Avina-Cardiel"                     1
"Christian Sangalang,Yesica Sierra"                                        1
"Christian Sangalang,yuliana mendoza"                                      1
"Cindy Vazquez,Carmen Marza"                                               1
"Cindy Vazquez,George Sanchez"                                             1
"Cindy Vazquez,justin andra"                                               1
"Cindy Vazquez,Manny Alatorre"                                             1
"Cindy Vazquez,Melina Beltran"                                             1
"Cindy Vazquez,Reham Zin"                                                  1
"Cindy Vazquez,Sufyaan Lakhani"                                            1
"Connor Huskisson,andre alvarenga"                                         1
"Connor Huskisson,bonnie romero"                                           1
"Connor Huskisson,Ivis Parada"                                             1
"Connor Huskisson,Kian Narani"                                             1
"Connor Huskisson,Kimberly Torres"                                         1
"Connor Huskisson,Kimberly Torres,Ivis Parada"                             1
"Connor Huskisson,Melina Beltran"                                          2
"Connor Huskisson,Nassir Diab"                                             1
"Connor Huskisson,Tony Sanchez"                                            1
"Daisy Meneses,Abraham Sanchez"                                            2
"Daisy Meneses,Elio Riano"                                                 3
"Daisy Meneses,Hunter Glass"                                               1
"Daisy Meneses,Isa Avina-Cardiel"                                          2
"Daisy Meneses,Kevin Marquez"                                              2
"Daisy Meneses,Kimberly Torres"                                            1
"Daisy Meneses,Phoenix Paralegal"                                          1
"Daisy Meneses,Vincent Berube,Kevin Marquez"                               1
"Daniel Orellana,Jarod Vaughan"                                            1
"Daniel Orellana,Kimberly Torres"                                          1
"Daniel Orellana,Kimberly Torres,Melina Beltran"                           1
"Daniel Orellana,Phoenix Paralegal"                                        1
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"Daniel Orellana,Salman Ismail"                                            1
"Daniela Serrano,Abraham Sanchez"                                          2
"Daniela Serrano,Hunter Glass"                                             1
"Daniela Serrano,Isa Avina-Cardiel"                                        2
"Daniela Serrano,Triana Camero"                                            1
"Daniela Serrano,Victoria Dang"                                            1
"Daniela Serrano,Vincent Berube"                                           1
"David Del Toro,Kimberly Torres"                                           1
"Elio Riano,Kevin Marquez"                                                 1
"Emely Acevedo,Quynh Nguyen"                                               1
"Erica Kline,Brandon DeLaura,Anthony Base"                                 1
"Erica Kline,Daniel Orellana"                                              1
"Erica Kline,Fausto Beleno"                                                1
"Erica Kline,Hanya Zargaran"                                               1
"Erica Kline,Jarod Vaughan"                                                1
"Erica Kline,Jess Pena"                                                    1
"Erica Kline,Karen O'Connell"                                              1
"Erica Kline,Kevin Ceballos"                                               1
"Erica Kline,Kevin Ceballos,Rafael de la Torre"                            1
"Erica Kline,Kimberly Torres"                                              2
"Erica Kline,Kimberly Torres,Karen O'Connell"                              1
"Erica Kline,Legal Phoenix"                                                1
"Erica Kline,Manny Alatorre"                                               2
"Erica Kline,Melina Beltran"                                               1
"Erica Kline,Nicole Morris"                                                1
"Erica Kline,Quynh Nguyen"                                                 1
"Erica Kline,Rafael de la Torre"                                           1
"Erica Kline,Sebastian Vasquez"                                            1
"Erica Kline,Sufyaan Lakhani"                                              2
"Fausto Beleno,Jennifer Andra"                                             1
"Fausto Beleno,Tony Sanchez"                                               1
"George Sanchez,Anthony Base"                                              1
"George Sanchez,Ivis Parada"                                               1
"George Sanchez,Jas Sanchez"                                               1
"George Sanchez,Kian Narani"                                               1
"George Sanchez,Kian Narani,Elio Riano"                                    1
"George Sanchez,Sabah Ismail"                                              1
"George Sanchez,Tainis Tapias"                                             1
"George Sanchez,yuliana mendoza"                                           1
"Golam Khan,Lester Perez"                                                  2
"Griselda Reina,Manny Alatorre"                                            1
"Hanner Angulo,Isa Avina-Cardiel"                                          1
"Hanner Angulo,Yesica Sierra"                                              3
"Hanya Zargaran,Abraham Sanchez"                                           3
"Hanya Zargaran,Ali Mohamed"                                               1
"Hanya Zargaran,George Sanchez"                                            1
"Hanya Zargaran,Hunter Glass"                                              2
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"Hanya Zargaran,Hunter Glass,Elio Riano"                                   1
"Hanya Zargaran,Isa Avina-Cardiel"                                         3
"Hanya Zargaran,Jarod Vaughan"                                             1
"Hanya Zargaran,Kevin Marquez"                                             2
"Hanya Zargaran,Khalil Beshoy"                                             1
"Hanya Zargaran,Lex Avina-Cardiel"                                         1
"Hanya Zargaran,Nikki Miller"                                              4
"Hanya Zargaran,Rafael de la Torre"                                        1
"Hanya Zargaran,Sarika Mande"                                              2
"Hanya Zargaran,Sebastian Vasquez,Kimberly Torres"                         1
"Hanya Zargaran,Sufyaan Lakhani"                                           1
"Hanya Zargaran,Valerie L"                                                 2
"Hanya Zargaran,Victoria Dang"                                             1
"Hanya Zargaran,Vincent Berube"                                            1
"Hanya Zargaran,Yesica Sierra,Elio Riano"                                  1
"Hanya Zargaran,yuliana mendoza"                                           1
"Humza Shariff,Hunter Glass"                                               1
"Humza Shariff,Isa Avina-Cardiel"                                          2
"Humza Shariff,Kevin Marquez"                                              2
"Humza Shariff,Sarika Mande"                                               2
"Hunter Glass,Anthony Base"                                                1
"Hunter Glass,Elio Riano"                                                  1
"Hunter Glass,Isa Avina-Cardiel"                                           3
"Hunter Glass,Kevin Marquez"                                               2
"Hunter Glass,Nikki Miller"                                                2
"Hunter Glass,Sophia Goins"                                                1
"Hunter Glass,Valerie L"                                                   1
"Iman Nejad,Jarod Vaughan"                                                 1
"Iman Nejad,Melina Beltran"                                                1
"Isa Avina-Cardiel,Elio Riano"                                             1
"Isa Avina-Cardiel,Valerie L"                                              1
"Ivis Parada,Sophia Goins"                                                 1
"James Andra,Abraham Sanchez,Hunter Glass"                                 1
"James Andra,Elio Riano"                                                   1
"James Andra,George Sanchez"                                               1
"James Andra,Hunter Glass"                                                 2
"James Andra,Kevin Ceballos"                                               1
"James Andra,Kevin Marquez"                                                1
"James Andra,Kimberly Torres"                                              1
"James Andra,Nikki Miller"                                                 1
"James Andra,Reham Zin"                                                    1
"James Andra,Sarika Mande"                                                 1
"James Andra,Sophia Goins"                                                 1
"James Andra,Valerie L"                                                    1
"Jarod Vaughan,Abraham Sanchez"                                            2
"Jarod Vaughan,Anthony Base"                                               2
"Jarod Vaughan,David Brown"                                                1
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"Jarod Vaughan,Isa Avina-Cardiel"                                          1
"Jarod Vaughan,Isa Avina-Cardiel,Elio Riano,Valerie L"                     1
"Jarod Vaughan,Kevin Marquez"                                              2
"Jarod Vaughan,Nikki Miller"                                               3
"Jarod Vaughan,Sebastian Vasquez"                                          2
"Jarod Vaughan,Valerie L"                                                  2
"Jarod Vaughan,Victoria Dang"                                              2
"Jarod Vaughan,Vincent Berube"                                             1
"Jas Sanchez,Brandon DeLaura"                                              1
"Jas Sanchez,Erica Kline,Melina Beltran"                                   1
"Jas Sanchez,Fausto Beleno"                                                1
"Jas Sanchez,George Sanchez"                                               1
"Jas Sanchez,Ivis Parada"                                                  1
"Jas Sanchez,Khalil Beshoy"                                                1
"Jas Sanchez,Kimberly Torres"                                              2
"Jas Sanchez,Melina Beltran"                                               3
"Jasmin Amezcua,Elio Riano"                                                2
"Jasmin Amezcua,Hunter Glass"                                              2
"Jasmin Amezcua,Kevin Marquez"                                             2
"Jasmin Amezcua,Kimberly Torres"                                           1
"Jasmin Amezcua,Nickolas Mossa"                                            1
"Jasmin Amezcua,Nikki Miller"                                              1
"Jasmin Amezcua,Vincent Berube"                                            1
"Jason Cast,Valerie L"                                                     1
"Jennifer Andra,Brandon DeLaura"                                           1
"Jennifer Andra,Cindy Vazquez"                                             1
"Jennifer Andra,Melina Beltran"                                            1
"Jennifer Andra,yuliana mendoza"                                           1
"Jess Pena,Abraham Sanchez"                                                1
"Jess Pena,Ali Mohamed"                                                    1
"Jess Pena,Anthony Base"                                                   2
"Jess Pena,bonnie romero"                                                  1
"Jess Pena,Connor Huskisson"                                               1
"Jess Pena,Daniel Orellana"                                                1
"Jess Pena,Elio Riano,Kevin Marquez,Anthony Base"                          1
"Jess Pena,Fausto Beleno"                                                  1
"Jess Pena,Golam Khan"                                                     1
"Jess Pena,Hunter Glass"                                                   3
"Jess Pena,Hunter Glass,Elio Riano"                                        1
"Jess Pena,Isa Avina-Cardiel"                                              3
"Jess Pena,James Andra"                                                    1
"Jess Pena,Kevin Marquez"                                                  2
"Jess Pena,Kevin Marquez,Elio Riano"                                       1
"Jess Pena,Kian Narani"                                                    1
"Jess Pena,Kimberly Torres"                                                1
"Jess Pena,Nikki Miller"                                                   2
"Jess Pena,Sarika Mande"                                                   2
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"Jess Pena,Valerie L"                                                      3
"Jess Pena,Victoria Dang"                                                  1
"Jessenia Oseguera,Abraham Sanchez"                                        4
"Jessenia Oseguera,Elio Riano"                                             3
"Jessenia Oseguera,Hunter Glass"                                           1
"Jessenia Oseguera,Isa Avina-Cardiel"                                      7
"Jessenia Oseguera,Kevin Marquez"                                          4
"Jessenia Oseguera,Kevin Marquez,Isa Avina-Cardiel"                        1
"Jessenia Oseguera,Kimberly Torres"                                        1
"Jessenia Oseguera,Lex Avina-Cardiel"                                      1
"Jessenia Oseguera,Melina Beltran"                                         1
"Jessenia Oseguera,Sarika Mande"                                           1
"Jessenia Oseguera,Sebastian Vasquez"                                      1
"Jessenia Oseguera,Tainis Tapias"                                          1
"Jessenia Oseguera,Valerie L"                                              2
"Jessenia Oseguera,Yesica Sierra"                                          1
"Jessenia Oseguera,Yesica Sierra,Hunter Glass,Elio Riano"                  1
"Jessenia Oseguera,yuliana mendoza"                                        1
"Josey Harvey,Abraham Sanchez,Elio Riano,Isa Avina-Cardiel"                1
"Josey Harvey,Elio Riano"                                                  8
"Josey Harvey,Fausto Beleno"                                               1
"Josey Harvey,Hunter Glass"                                                1
"Josey Harvey,Isa Avina-Cardiel"                                           6
"Josey Harvey,Karen Saldana-Lopez"                                         1
"Josey Harvey,Kevin Marquez,Abraham Sanchez"                               1
"Josey Harvey,Khalil Beshoy"                                               1
"Josey Harvey,Manny Alatorre"                                              1
"Josey Harvey,Melina Beltran"                                              1
"Josey Harvey,Nikki Miller"                                                3
"Josey Harvey,Phoenix Paralegal"                                           1
"Josey Harvey,Sarika Mande"                                                1
"Josey Harvey,Sophia Goins"                                                1
"Josey Harvey,Valerie L"                                                   3
"Josey Harvey,Victoria Dang"                                               1
"Josey Harvey,yuliana mendoza"                                             1
"Josue Alvarez,Abraham Sanchez"                                            1
"Josue Alvarez,David Brown"                                                1
"Josue Alvarez,Elio Riano"                                                 5
"Josue Alvarez,Griselda Reina"                                             1
"Josue Alvarez,Hunter Glass"                                               1
"Josue Alvarez,Isa Avina-Cardiel"                                          2
"Josue Alvarez,Kevin Marquez"                                              1
"Josue Alvarez,Melina Beltran"                                             1
"Josue Alvarez,Nickolas Mossa"                                             1
"Josue Alvarez,Nikki Miller"                                               1
"Josue Alvarez,Rafael de la Torre,yuliana mendoza"                         1
"Josue Alvarez,Valerie L"                                                  3
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"Josue Alvarez,Victoria Dang"                                              1
"justin andra,Ali Mohamed"                                                 1
"justin andra,Brandon DeLaura"                                             1
"justin andra,Fausto Beleno"                                               1
"justin andra,George Sanchez"                                              1
"justin andra,Ivis Parada"                                                 1
"justin andra,Kimberly Torres"                                             1
"justin andra,Phoenix Paralegal"                                           2
"justin andra,Salma Aranda"                                                1
"Karen O'Connell,Abraham Sanchez"                                          4
"Karen O'Connell,Amir nejad"                                               2
"Karen O'Connell,Anthony Base"                                             5
"Karen O'Connell,David Brown"                                              1
"Karen O'Connell,Elio Riano"                                               2
"Karen O'Connell,Erica Kline,Melina Beltran"                               1
"Karen O'Connell,Fausto Beleno"                                            2
"Karen O'Connell,Hanya Zargaran"                                           1
"Karen O'Connell,Hunter Glass"                                             4
"Karen O'Connell,Hunter Glass,Kevin Marquez"                               1
"Karen O'Connell,Isa Avina-Cardiel"                                        1
"Karen O'Connell,Ivis Parada,Melina Beltran"                               1
"Karen O'Connell,Jarod Vaughan"                                            1
"Karen O'Connell,Kimberly Torres"                                          1
"Karen O'Connell,Kimberly Torres,Melina Beltran"                           1
"Karen O'Connell,Melina Beltran"                                           2
"Karen O'Connell,Nikki Miller"                                             1
"Karen O'Connell,Rafael de la Torre"                                       1
"Karen O'Connell,Sarika Mande"                                             1
"Karen O'Connell,Stephanie Reynoso"                                        1
"Karen O'Connell,Tainis Tapias"                                            1
"Karen O'Connell,Valerie L"                                                3
"Karen O'Connell,Victoria Dang"                                            2
"Karen O'Connell,Yesica Sierra"                                            1
"Karen O'Connell,yuliana mendoza"                                          3
"Karen Saldana-Lopez,Abe Flores"                                           1
"Karen Saldana-Lopez,Abraham Sanchez"                                      2
"Karen Saldana-Lopez,Ali Mohamed"                                          1
"Karen Saldana-Lopez,Anthony Base"                                         1
"Karen Saldana-Lopez,Connor Huskisson"                                     1
"Karen Saldana-Lopez,Daisy Meneses"                                        2
"Karen Saldana-Lopez,Hunter Glass"                                         2
"Karen Saldana-Lopez,Isa Avina-Cardiel"                                    1
"Karen Saldana-Lopez,Ivis Parada"                                          1
"Karen Saldana-Lopez,Jess Pena"                                            1
"Karen Saldana-Lopez,Kevin Marquez"                                        2
"Karen Saldana-Lopez,Reham Zin"                                            1
"Karen Saldana-Lopez,Sufyaan Lakhani"                                      2
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"Kevin Ceballos,Abraham Sanchez"                                           1
"Kevin Ceballos,Anthony Base"                                              1
"Kevin Ceballos,bonnie romero"                                             2
"Kevin Ceballos,David Brown"                                               1
"Kevin Ceballos,Elio Riano"                                                3
"Kevin Ceballos,Hanya Zargaran"                                            1
"Kevin Ceballos,Hunter Glass"                                              4
"Kevin Ceballos,Isa Avina-Cardiel"                                         3
"Kevin Ceballos,Kevin Marquez"                                             7
"Kevin Ceballos,Kimberly Torres"                                           2
"Kevin Ceballos,Kimberly Torres,Melina Beltran"                            1
"Kevin Ceballos,Mahmoud Bany-Mohammed,Isa Avina-Cardiel"                   1
"Kevin Ceballos,Max Zinchini"                                              1
"Kevin Ceballos,Mike Larkin"                                               1
"Kevin Ceballos,Nikki Miller"                                              1
"Kevin Ceballos,Quynh Nguyen"                                              1
"Kevin Ceballos,Sufyaan Lakhani"                                           1
"Kevin Ceballos,Sulaiman Khan"                                             1
"Kevin Ceballos,Valerie L"                                                 1
"Kevin Ceballos,Victoria Dang"                                             1
"Kevin Marquez,Abraham Sanchez"                                            1
"Kevin Marquez,Anthony Base"                                               3
"Kevin Marquez,Elio Riano"                                                 1
"Kevin Marquez,Hunter Glass"                                               3
"Kevin Marquez,Nikki Miller"                                               2
"Kevin Marquez,Sarika Mande"                                               1
"Kevin Marquez,Valerie L"                                                  1
"Khalil Beshoy,Hunter Glass"                                               1
"Khalil Beshoy,Kevin Marquez"                                              1
"Khalil Beshoy,Kimberly Torres"                                            1
"Khalil Beshoy,Melina Beltran"                                             1
"Khalil Beshoy,Stephanie Reynoso"                                          1
"Kian Narani,Abraham Sanchez"                                              1
"Kian Narani,Anthony Base"                                                 3
"Kian Narani,David Del Toro"                                               1
"Kian Narani,Elio Riano,Hunter Glass"                                      1
"Kian Narani,Hunter Glass"                                                 1
"Kian Narani,Hunter Glass,Elio Riano"                                      1
"Kian Narani,Isa Avina-Cardiel"                                            1
"Kian Narani,Kevin Ceballos"                                               1
"Kian Narani,Kevin Marquez"                                                1
"Kian Narani,Kevin Marquez,Isa Avina-Cardiel"                              1
"Kian Narani,Kimberly Torres"                                              2
"Kian Narani,Melina Beltran"                                               2
"Kian Narani,Nikki Miller"                                                 5
"Kian Narani,Sarika Mande"                                                 1
"Kian Narani,Sebastian Vasquez"                                            1
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"Kian Narani,Tainis Tapias"                                                1
"Kian Narani,Valerie L"                                                    3
"Kimberly Torres,Abe Flores"                                               1
"Lester Perez,Karen O'Connell"                                             1
"Lex Avina-Cardiel,Ali Mohamed"                                            1
"Lex Avina-Cardiel,bonnie romero"                                          1
"Lex Avina-Cardiel,Elio Riano"                                             4
"Lex Avina-Cardiel,Humza Shariff"                                          1
"Lex Avina-Cardiel,Hunter Glass"                                           2
"Lex Avina-Cardiel,Isa Avina-Cardiel"                                      1
"Lex Avina-Cardiel,Jasmin Amezcua"                                         1
"Lex Avina-Cardiel,Jennifer Andra"                                         1
"Lex Avina-Cardiel,Jessenia Oseguera"                                      1
"Lex Avina-Cardiel,Josue Alvarez"                                          1
"Lex Avina-Cardiel,Kevin Marquez"                                          2
"Lex Avina-Cardiel,Kevin Marquez,Isa Avina-Cardiel"                        1
"Lex Avina-Cardiel,Kimberly Torres"                                        1
"Lex Avina-Cardiel,Melina Beltran"                                         1
"Lex Avina-Cardiel,Melina Beltran,Isa Avina-Cardiel,Abraham Sanchez"       1
"Lex Avina-Cardiel,Nikki Miller"                                           3
"Lex Avina-Cardiel,Salma Aranda"                                           1
"Lex Avina-Cardiel,Sarika Mande"                                           1
"Lex Avina-Cardiel,Sebastian Vasquez"                                      1
"Lex Avina-Cardiel,Stephanie Reynoso"                                      1
"Lex Avina-Cardiel,Valerie L"                                              2
"Lex Avina-Cardiel,Victoria Dang"                                          2
"Mahmoud Bany-Mohammed,Anthony Base"                                       1
"Mahmoud Bany-Mohammed,Carmen Marza"                                       1
"Mahmoud Bany-Mohammed,Elio Riano"                                         3
"Mahmoud Bany-Mohammed,Emely Acevedo"                                      1
"Mahmoud Bany-Mohammed,Hunter Glass"                                       1
"Mahmoud Bany-Mohammed,Jas Sanchez"                                        1
"Mahmoud Bany-Mohammed,Jess Pena"                                          1
"Mahmoud Bany-Mohammed,Kimberly Torres"                                    1
"Mahmoud Bany-Mohammed,Nikki Miller"                                       1
"Mahmoud Bany-Mohammed,Rafael de la Torre"                                 1
"Mahmoud Bany-Mohammed,Sarika Mande"                                       1
"Mahmoud Bany-Mohammed,Tony Sanchez"                                       1
"Manny Alatorre,Abe Flores"                                                1
"Manny Alatorre,Abraham Sanchez"                                           3
"Manny Alatorre,Abraham Sanchez,Hunter Glass"                              1
"Manny Alatorre,Elio Riano"                                                3
"Manny Alatorre,Hunter Glass"                                              4
"Manny Alatorre,Hunter Glass,Anthony Base"                                 1
"Manny Alatorre,Isa Avina-Cardiel"                                         6
"Manny Alatorre,Isa Avina-Cardiel,Melina Beltran"                          1
"Manny Alatorre,Kevin Marquez"                                             3
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"Manny Alatorre,Melina Beltran"                                            1
"Manny Alatorre,Nikki Miller"                                              3
"Manny Alatorre,Phoenix Paralegal"                                         2
"Manny Alatorre,Sabah Ismail"                                              1
"Manny Alatorre,Sarika Mande"                                              1
"Manny Alatorre,Tainis Tapias"                                             1
"Manny Alatorre,Valerie L"                                                 2
"Manny Alatorre,Vincent Berube"                                            1
"Manny Alatorre,yuliana mendoza"                                           1
"Max Zinchini,Elio Riano"                                                  2
"Max Zinchini,Hunter Glass"                                                2
"Max Zinchini,Kevin Marquez"                                               3
"Max Zinchini,Yesica Sierra"                                               1
"Mike Larkin,Brandon DeLaura"                                              1
"Mike Larkin,Connor Huskisson"                                             1
"Mike Larkin,Daisy Meneses"                                                1
"Mike Larkin,Erika Cortes"                                                 1
"Mike Larkin,justin andra"                                                 1
"Mike Larkin,Kian Narani"                                                  1
"Mike Larkin,Melina Beltran"                                               1
"Mike Larkin,Stephanie Reynoso"                                            1
"Mike Larkin,Tony Sanchez"                                                 1
"Mike Larkin,yuliana mendoza"                                              1
"Nassir Diab,Abraham Sanchez"                                              2
"Nassir Diab,Brandon DeLaura"                                              1
"Nassir Diab,Brant Bishop"                                                 1
"Nassir Diab,Connor Huskisson"                                             2
"Nassir Diab,Daisy Meneses"                                                1
"Nassir Diab,Daniela Serrano"                                              1
"Nassir Diab,David Brown"                                                  1
"Nassir Diab,David Del Toro"                                               1
"Nassir Diab,Elio Riano"                                                   2
"Nassir Diab,Hunter Glass"                                                 2
"Nassir Diab,Iman Nejad"                                                   1
"Nassir Diab,Isa Avina-Cardiel"                                            1
"Nassir Diab,justin andra"                                                 1
"Nassir Diab,Kevin Ceballos"                                               1
"Nassir Diab,Kevin Marquez"                                                1
"Nassir Diab,Mike Larkin"                                                  2
"Nassir Diab,Nikki Miller"                                                 2
"Nassir Diab,Salman Ismail"                                                1
"Nassir Diab,Sarika Mande"                                                 3
"Nassir Diab,Sebastian Vasquez"                                            2
"Nassir Diab,Sufyaan Lakhani"                                              1
"Nassir Diab,Tainis Tapias"                                                1
"Nassir Diab,Tony Sanchez,Abraham Sanchez"                                 1
"Nassir Diab,Victoria Dang"                                                1
  Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
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"Nickolas Mossa,Abraham Sanchez"                                           2
"Nickolas Mossa,Elio Riano"                                                3
"Nickolas Mossa,Hunter Glass"                                              4
"Nickolas Mossa,Isa Avina-Cardiel"                                         3
"Nickolas Mossa,James Andra,Abraham Sanchez"                               1
"Nickolas Mossa,Kevin Marquez"                                             4
"Nickolas Mossa,Kevin Marquez,Hunter Glass"                                1
"Nickolas Mossa,Nikki Miller"                                              4
"Nickolas Mossa,Nikki Miller,Kevin Marquez"                                1
"Nickolas Mossa,Sabah Ismail"                                              1
"Nickolas Mossa,Valerie L"                                                 1
"Nickolas Mossa,Yesica Sierra,Hunter Glass"                                1
"Nickolas Mossa,yuliana mendoza"                                           1
"Nicole Morris,Amir nejad"                                                 1
"Nicole Morris,Carmen Marza"                                               1
"Nicole Morris,Christian Sangalang"                                        1
"Nicole Morris,Fausto Beleno"                                              1
"Nicole Morris,George Sanchez,Jennifer Andra"                              1
"Nicole Morris,Hunter Glass,Abraham Sanchez"                               1
"Nicole Morris,justin andra"                                               1
"Nicole Morris,Legal Phoenix"                                              1
"Nicole Morris,Nathan Perez"                                               2
"Nicole Morris,Nickolas Mossa"                                             1
"Nicole Morris,Phoenix Paralegal"                                          1
"Nicole Morris,Sebastian Vasquez"                                          1
"Nicole Morris,yuliana mendoza"                                            1
"Nikki Miller,Hunter Glass"                                                1
"Phoenix Paralegal,Lex Avina-Cardiel"                                      1
"Quynh Nguyen,Fausto Beleno"                                               1
"Quynh Nguyen,Jennifer Andra"                                              1
"Quynh Nguyen,Kimberly Torres"                                             1
"Quynh Nguyen,Mahmoud Bany-Mohammed"                                       1
"Quynh Nguyen,Valerie L"                                                   1
"Quynh Nguyen,yuliana mendoza"                                             1
"Rafael de la Torre,Kimberly Torres"                                       1
"Rafael de la Torre,Kimberly Torres,Nicole Morris"                         1
"Rafael de la Torre,Manny Alatorre,Kevin Marquez"                          1
"Rafael de la Torre,Mike Larkin"                                           1
"Rafael de la Torre,Reham Zin"                                             1
"Rafael de la Torre,Samuel Pierce"                                         1
"Rafael de la Torre,Sophia Goins"                                          1
"Ralph Breneville,Abraham Sanchez"                                         3
"Ralph Breneville,andre alvarenga"                                         1
"Ralph Breneville,Hunter Glass"                                            2
"Ralph Breneville,Isa Avina-Cardiel"                                       3
"Ralph Breneville,Kevin Marquez"                                           1
"Ralph Breneville,Kimberly Torres"                                         1
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"Ralph Breneville,Lex Avina-Cardiel"                                       1
"Ralph Breneville,Nicole Morris"                                           1
"Ralph Breneville,Nikki Miller"                                            2
"Ralph Breneville,Samuel Pierce"                                           1
"Ralph Breneville,Victoria Dang"                                           1
"Ralph Breneville,Vincent Berube"                                          2
"Ralph Breneville,yuliana mendoza"                                         1
"Reham Zin,Fausto Beleno"                                                  1
"Reham Zin,Ivis Parada"                                                    1
"Reham Zin,James Andra"                                                    1
"Reham Zin,Jarod Vaughan"                                                  1
"Reham Zin,Kimberly Torres"                                                1
"Reham Zin,Max Zinchini"                                                   1
"Reham Zin,Quynh Nguyen"                                                   1
"Reham Zin,Sebastian Vasquez"                                              1
"Reham Zin,Stephanie Reynoso"                                              1
"Reham Zin,Tainis Tapias"                                                  1
"Ronald Apodaca,Abraham Sanchez"                                           1
"Ronald Apodaca,Ivis Parada"                                               1
"Ronald Apodaca,Victoria Dang"                                             1
"Sabah Ismail,Golam Khan"                                                  1
"Saif Ismail,Abraham Sanchez"                                              1
"Saif Ismail,David Brown"                                                  1
"Saif Ismail,Hunter Glass,Vincent Berube"                                  1
"Saif Ismail,Iman Nejad"                                                   1
"Saif Ismail,Isa Avina-Cardiel"                                            1
"Saif Ismail,Kevin Marquez"                                                1
"Saif Ismail,Kimberly Torres"                                              1
"Salma Aranda,Ali Mohamed"                                                 1
"Salma Aranda,bonnie romero"                                               1
"Salma Aranda,Brandon DeLaura"                                             1
"Salma Aranda,Daniel Orellana"                                             1
"Salma Aranda,Erica Kline"                                                 1
"Salma Aranda,Griselda Reina"                                              1
"Salma Aranda,Jas Sanchez"                                                 1
"Salma Aranda,Jessenia Oseguera"                                           1
"Salma Aranda,Jessenia Oseguera,Sebastian Vasquez"                         1
"Salma Aranda,Josue Alvarez"                                               1
"Salma Aranda,Karen O'Connell"                                             1
"Salma Aranda,Kevin Ceballos"                                              2
"Salma Aranda,Khalil Beshoy"                                               1
"Salma Aranda,Kian Narani"                                                 2
"Salma Aranda,Kimberly Torres"                                             1
"Salma Aranda,Manny Alatorre"                                              1
"Salma Aranda,Nassir Diab"                                                 1
"Salma Aranda,Salman Ismail"                                               1
"Salma Aranda,Tainis Tapias"                                               1
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"Salman Ismail,Abraham Sanchez"                                            2
"Salman Ismail,Anthony Base,Hunter Glass"                                  1
"Salman Ismail,Elio Riano"                                                 2
"Salman Ismail,Fausto Beleno"                                              1
"Salman Ismail,Griselda Reina"                                             1
"Salman Ismail,Hunter Glass"                                               3
"Salman Ismail,Isa Avina-Cardiel"                                          1
"Salman Ismail,Kevin Marquez"                                              1
"Salman Ismail,Manny Alatorre"                                             1
"Salman Ismail,Nikki Miller"                                               1
"Salman Ismail,Sarika Mande"                                               2
"Salman Ismail,Sebastian Vasquez"                                          2
"Salman Ismail,Victoria Dang"                                              1
"Salman Ismail,yuliana mendoza"                                            1
"Samuel Pierce,Abraham Sanchez"                                            1
"Samuel Pierce,andre alvarenga"                                            1
"Samuel Pierce,Elio Riano"                                                 1
"Samuel Pierce,Emely Acevedo"                                              1
"Samuel Pierce,Hunter Glass"                                               3
"Samuel Pierce,Isa Avina-Cardiel"                                          1
"Samuel Pierce,James Andra"                                                1
"Samuel Pierce,Karen O'Connell"                                            1
"Samuel Pierce,Kevin Marquez"                                              6
"Samuel Pierce,Khalil Beshoy"                                              1
"Samuel Pierce,Melina Beltran"                                             1
"Samuel Pierce,Nicole Morris"                                              1
"Samuel Pierce,Nikki Miller"                                               2
"Samuel Pierce,Salman Ismail"                                              1
"Samuel Pierce,Tony Sanchez"                                               1
"Samuel Pierce,Vincent Berube"                                             1
"Sarah Ross,Fausto Beleno"                                                 1
"Sarah Ross,Nathan Perez"                                                  1
"Sarika Mande,Kevin Marquez"                                               1
"Sarika Mande,Nikki Miller"                                                1
"Sebastian Vasquez,Jess Pena"                                              1
"Sebastian Vasquez,Karen O'Connell"                                        1
"Sebastian Vasquez,Kian Narani"                                            1
"Sebastian Vasquez,Phoenix Paralegal"                                      1
"Sebastian Vasquez,Stephanie Reynoso"                                      1
"Sebastian Vasquez,Victoria Dang,Jess Pena"                                1
"Stephanie Reynoso,Anthony Base"                                           1
"Stephanie Reynoso,Brandon DeLaura"                                        1
"Stephanie Reynoso,Ivis Parada,Melina Beltran"                             1
"Stephanie Reynoso,Jennifer Andra"                                         1
"Stephanie Reynoso,Josey Harvey"                                           1
"Stephanie Reynoso,Kimberly Torres"                                        1
"Stephanie Reynoso,Kimberly Torres,Lex Avina-Cardiel"                      1
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"Stephanie Reynoso,yuliana mendoza"                                        2
"Sufyaan Lakhani,Ivis Parada,Melina Beltran"                               1
"Sufyaan Lakhani,Kimberly Torres"                                          1
"Sufyaan Lakhani,Sebastian Vasquez"                                        1
"Sulaiman Khan,Ali Mohamed"                                                1
"Sulaiman Khan,bonnie romero,James Andra"                                  1
"Sulaiman Khan,Erica Kline"                                                2
"Sulaiman Khan,Golam Khan"                                                 1
"Sulaiman Khan,Hanya Zargaran"                                             1
"Sulaiman Khan,Jarod Vaughan"                                              1
"Sulaiman Khan,Jennifer Andra"                                             1
"Sulaiman Khan,Kian Narani"                                                1
"Sulaiman Khan,Melina Beltran"                                             1
"Sulaiman Khan,Salma Aranda"                                               1
"Sulaiman Khan,Sebastian Vasquez"                                          1
"Sulaiman Khan,Tainis Tapias"                                              1
"Sulaiman Khan,yuliana mendoza"                                            1
"Tainis Tapias,bonnie romero"                                              1
"Tainis Tapias,Daniel Orellana"                                            1
"Tainis Tapias,Jas Sanchez"                                                1
"Tainis Tapias,Khalil Beshoy"                                              1
"Tainis Tapias,Kimberly Torres"                                            1
"Tainis Tapias,Melina Beltran"                                             2
"Tainis Tapias,Nassir Diab"                                                1
"Tainis Tapias,Reham Zin"                                                  1
"Tainis Tapias,Sulaiman Khan"                                              1
"Tony Sanchez,Abraham Sanchez"                                             1
"Tony Sanchez,Anthony Base"                                                1
"Tony Sanchez,Brandon DeLaura"                                             1
"Tony Sanchez,Elio Riano"                                                  3
"Tony Sanchez,Elio Riano,Kevin Marquez"                                    1
"Tony Sanchez,Hunter Glass"                                                2
"Tony Sanchez,Iman Nejad"                                                  1
"Tony Sanchez,Kevin Marquez"                                               3
"Tony Sanchez,Kimberly Torres"                                             1
"Tony Sanchez,Mike Larkin"                                                 1
"Tony Sanchez,Nikki Miller"                                                1
"Tony Sanchez,Sebastian Vasquez"                                           1
"Triana Camero,Abraham Sanchez"                                            1
"Triana Camero,Anthony Base"                                               1
"Triana Camero,Elio Riano"                                                 1
"Triana Camero,Vincent Berube"                                             1
"Valerie L,Anthony Base"                                                   1
"Victoria Dang,Abraham Sanchez"                                            2
"Victoria Dang,George Sanchez"                                             1
"Victoria Dang,justin andra"                                               1
"Victoria Dang,Samuel Pierce"                                              1
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"Victoria Dang,Sufyaan Lakhani"                                            1
"Victoria Dang,Vincent Berube"                                             1
"Vincent Berube,Hunter Glass"                                              1
"Yesica Sierra,Emely Acevedo"                                              1
"Yesica Sierra,Melina Beltran"                                             2
"yuliana mendoza,Abraham Sanchez"                                          1
"yuliana mendoza,Anthony Base"                                             1
"yuliana mendoza,Kimberly Torres"                                          3
"yuliana mendoza,Melina Beltran"                                           1
"yuliana mendoza,Quynh Nguyen"                                             1
"yuliana mendoza,Stephanie Reynoso"                                        1
Abe Flores                                                               175
Abraham Sanchez                                                          226
Adriana Hernandez                                                         23
Ali Mohamed                                                              331
Amir nejad                                                               238
andre alvarenga                                                          187
Andrea Albor                                                             954
Anjeanette Chek                                                           26
Anthony Base                                                             103
bonnie romero                                                            236
Brandon DeLaura                                                          282
Brant Bishop                                                             177
Carmen Marza                                                             339
Christian Sangalang                                                      255
Christopher Cole                                                          17
Cindy Vazquez                                                            301
Connor Huskisson                                                         386
Daisy Meneses                                                            172
Daniel Orellana                                                          331
Daniela Serrano                                                           36
David Brown                                                                4
David Del Toro                                                            50
Elio Riano                                                               118
Emely Acevedo                                                            171
Erica Kline                                                              270
Erika Cortes                                                              12
Fausto Beleno                                                            261
George Sanchez                                                           264
Golam Khan                                                               371
Griselda Reina                                                           182
Hanner Angulo                                                            822
Hanya Zargaran                                                           243
Humza Shariff                                                            117
Hunter Glass                                                             107
Iman Nejad                                                               170
Isa Avina-Cardiel                                                        101
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Ivis Parada                                                             115
James Andra                                                             275
James Hinson                                                             18
Jarod Vaughan                                                           238
Jas Sanchez                                                             274
Jasmin Amezcua                                                          145
Jason Cast                                                               10
Jennifer Andra                                                          448
Jess Pena                                                               272
Jessenia Oseguera                                                       307
Jolie R                                                                   2
Josey Harvey                                                            310
Josue Alvarez                                                           159
justin andra                                                            270
Kaitlyn Campuzano                                                         2
Karen O'Connell                                                         284
Karen Saldana-Lopez                                                     150
Karla Bravo                                                              14
Kevin Ceballos                                                          260
Kevin Marquez                                                            92
Khalil Beshoy                                                           270
Kian Narani                                                             337
Kimberly Torres                                                         292
Legal Phoenix                                                            48
Lester Perez                                                             70
Lex Avina-Cardiel                                                       239
Mahmoud Bany-Mohammed                                                   227
Manny Alatorre                                                          430
Max Zinchini                                                            100
Melina Beltran                                                          376
Mike Larkin                                                             406
Nassir Diab                                                             486
Nathan Perez                                                              6
Nickolas Mossa                                                          313
Nicole Morris                                                           269
Nikki Miller                                                             89
Phoenix Paralegal                                                        97
Quynh Nguyen                                                            436
Rafael de la Torre                                                      129
Ralph Breneville                                                         50
Reham Zin                                                               287
Ronald Apodaca                                                           27
Sabah Ismail                                                            243
Saif Ismail                                                             174
Salma Aranda                                                            163
Salman Ismail                                                           307
Samuel Pierce                                                           541
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Sarah Ross                                                                 76
Sarika Mande                                                               32
Sebastian Vasquez                                                         334
Selina Taing                                                               42
Sophia Goins                                                                2
Stephanie Reynoso                                                         344
Sufyaan Lakhani                                                           444
Sulaiman Khan                                                             311
Tainis Tapias                                                             258
Tony Sanchez                                                              265
Triana Camero                                                              43
Ty Carss                                                                   28
Valerie L                                                                  53
Victoria Dang                                                             246
Vincent Berube                                                             14
Yesica Sierra                                                             480
yuliana mendoza                                                           318
(blank)                                                                  7806
Grand Total                                                             30318
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Row Labels                                 Count of Wrap-Up Duration
  :05                                                            8189
    Sebastian Vasquez                                             313
    yuliana mendoza                                               290
    Fausto Beleno                                                 252
    Tainis Tapias                                                 234
    Karen O'Connell                                               222
    Carmen Marza                                                  218
    Connor Huskisson                                              218
    justin andra                                                  202
    Erica Kline                                                   201
    Cindy Vazquez                                                 195
    Hanya Zargaran                                                192
    Brandon DeLaura                                               188
    George Sanchez                                                187
    Ali Mohamed                                                   172
    Kevin Ceballos                                                172
    Nassir Diab                                                   168
    Daniel Orellana                                               164
    Reham Zin                                                     158
    Salman Ismail                                                 142
    Christian Sangalang                                           141
    andre alvarenga                                               140
    Manny Alatorre                                                140
    Stephanie Reynoso                                             136
    Jas Sanchez                                                   133
    Jarod Vaughan                                                 131
    Brant Bishop                                                  128
    Salma Aranda                                                  127
    Mike Larkin                                                   125
    Yesica Sierra                                                 120
    Khalil Beshoy                                                 120
    Golam Khan                                                    119
    Rafael de la Torre                                            117
    Josue Alvarez                                                 116
    James Andra                                                   115
    Karen Saldana-Lopez                                           114
    Nickolas Mossa                                                109
    Abe Flores                                                    100
    Sulaiman Khan                                                  95
    Jennifer Andra                                                 91
    Quynh Nguyen                                                   90
    Emely Acevedo                                                  87
    Mahmoud Bany-Mohammed                                          84
    Tony Sanchez                                                   78
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 Iman Nejad                                                    75
 Jess Pena                                                     73
 Sufyaan Lakhani                                               71
 Max Zinchini                                                  71
 Samuel Pierce                                                 68
 Lester Perez                                                  68
 Amir nejad                                                    64
 Sabah Ismail                                                  64
 Lex Avina-Cardiel                                             62
 Humza Shariff                                                 61
 Josey Harvey                                                  54
 Nicole Morris                                                 51
 David Del Toro                                                49
 Saif Ismail                                                   47
 bonnie romero                                                 44
 Triana Camero                                                 41
 Daniela Serrano                                               35
 Jasmin Amezcua                                                33
 Griselda Reina                                                32
 Jessenia Oseguera                                             32
 Kian Narani                                                   32
 Sarah Ross                                                    30
 Ralph Breneville                                              27
 Adriana Hernandez                                             22
 Victoria Dang                                                 21
 Christopher Cole                                              15
 Daisy Meneses                                                 11
 Ronald Apodaca                                                 9
 Anjeanette Chek                                                9
 Abraham Sanchez                                                4
 "bonnie romero,Carmen Marza"                                   3
 "Karen O'Connell,Anthony Base"                                 2
 "Karen O'Connell,Amir nejad"                                   2
 "Sulaiman Khan,Erica Kline"                                    2
 "Carmen Marza,Hanner Angulo"                                   2
 "bonnie romero,Emely Acevedo"                                  2
 "bonnie romero,Salma Aranda"                                   2
 "bonnie romero,James Andra"                                    2
 "bonnie romero,Victoria Dang"                                  2
 "Nassir Diab,Mike Larkin"                                      2
 "Stephanie Reynoso,yuliana mendoza"                            2
 "Nassir Diab,Connor Huskisson"                                 2
 "Salman Ismail,Manny Alatorre"                                 1
 "Brandon DeLaura,Connor Huskisson"                             1
 "Tainis Tapias,Sulaiman Khan"                                  1
 "James Andra,Nikki Miller"                                     1
 Nikki Miller                                                   1
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 "James Andra,Reham Zin"                                       1
 "Sulaiman Khan,Ali Mohamed"                                   1
 "Jas Sanchez,George Sanchez"                                  1
 "bonnie romero,Elio Riano"                                    1
 "Jas Sanchez,Khalil Beshoy"                                   1
 "Christian Sangalang,Tainis Tapias"                           1
 "Jasmin Amezcua,Nickolas Mossa"                               1
 "Hanya Zargaran,George Sanchez"                               1
 "Jennifer Andra,Brandon DeLaura"                              1
 "Samuel Pierce,Tony Sanchez"                                  1
 "Jennifer Andra,yuliana mendoza"                              1
 "Sulaiman Khan,Sebastian Vasquez"                             1
 "Jess Pena,Abraham Sanchez"                                   1
 "Victoria Dang,Sufyaan Lakhani"                               1
 "Jess Pena,Ali Mohamed"                                       1
 "bonnie romero,Karen O'Connell"                               1
 "Jess Pena,Connor Huskisson"                                  1
 "Brant Bishop,Josey Harvey"                                   1
 "Jess Pena,Daniel Orellana"                                   1
 "Connor Huskisson,Kimberly Torres"                            1
 "Jess Pena,Fausto Beleno"                                     1
 "Erica Kline,Sebastian Vasquez"                               1
 "Jess Pena,Golam Khan"                                        1
 "Salma Aranda,Manny Alatorre"                                 1
 "Jess Pena,James Andra"                                       1
 "Samuel Pierce,Emely Acevedo"                                 1
 "Jess Pena,Kevin Marquez"                                     1
 "Sebastian Vasquez,Victoria Dang,Jess Pena"                   1
 "Jessenia Oseguera,Kimberly Torres"                           1
 "Sulaiman Khan,Hanya Zargaran"                                1
 "Jessenia Oseguera,Melina Beltran"                            1
 "Tainis Tapias,Khalil Beshoy"                                 1
 "Jessenia Oseguera,Sebastian Vasquez"                         1
 "Tony Sanchez,Sebastian Vasquez"                              1
 "Josey Harvey,Fausto Beleno"                                  1
 "Andrea Albor,Fausto Beleno"                                  1
 "Josey Harvey,Karen Saldana-Lopez"                            1
 "bonnie romero,Hanya Zargaran"                                1
 "Josey Harvey,Manny Alatorre"                                 1
 "bonnie romero,Sebastian Vasquez"                             1
 "Josey Harvey,yuliana mendoza"                                1
 "Brandon DeLaura,Manny Alatorre"                              1
 "Josue Alvarez,Elio Riano"                                    1
 "Carmen Marza,Hunter Glass"                                   1
 "Josue Alvarez,Griselda Reina"                                1
 "Cindy Vazquez,Manny Alatorre"                                1
 "Josue Alvarez,Hunter Glass"                                  1
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 "Daniel Orellana,Salman Ismail"                               1
 "Josue Alvarez,Rafael de la Torre,yuliana mendoza"            1
 "Erica Kline,Karen O'Connell"                                 1
 "Josue Alvarez,Victoria Dang"                                 1
 "George Sanchez,Jas Sanchez"                                  1
 "justin andra,Ali Mohamed"                                    1
 "Hanya Zargaran,Lex Avina-Cardiel"                            1
 "justin andra,Brandon DeLaura"                                1
 "Salma Aranda,Salman Ismail"                                  1
 "justin andra,Fausto Beleno"                                  1
 "Salman Ismail,Sebastian Vasquez"                             1
 "justin andra,George Sanchez"                                 1
 "Samuel Pierce,Karen O'Connell"                               1
 "justin andra,Salma Aranda"                                   1
 "Sebastian Vasquez,Karen O'Connell"                           1
 "Amir nejad,Kevin Marquez"                                    1
 "Stephanie Reynoso,Kimberly Torres"                           1
 "Amir nejad,Melina Beltran"                                   1
 "andre alvarenga,Melina Beltran"                              1
 "Karen O'Connell,Fausto Beleno"                               1
 "Sulaiman Khan,Jennifer Andra"                                1
 "Karen O'Connell,Hanya Zargaran"                              1
 "Sulaiman Khan,yuliana mendoza"                               1
 "Karen O'Connell,Hunter Glass"                                1
 "Tainis Tapias,Nassir Diab"                                   1
 "Karen O'Connell,Hunter Glass,Kevin Marquez"                  1
 "Tony Sanchez,Elio Riano"                                     1
 "Karen O'Connell,Jarod Vaughan"                               1
 "Victoria Dang,justin andra"                                  1
 "Karen O'Connell,Melina Beltran"                              1
 "yuliana mendoza,Quynh Nguyen"                                1
 "Karen O'Connell,Tainis Tapias"                               1
 "Abe Flores,Sebastian Vasquez"                                1
 "Karen Saldana-Lopez,Abe Flores"                              1
 "bonnie romero,Erica Kline"                                   1
 "Karen Saldana-Lopez,Ali Mohamed"                             1
 "Ali Mohamed,Humza Shariff"                                   1
 "Karen Saldana-Lopez,Connor Huskisson"                        1
 "bonnie romero,Quynh Nguyen"                                  1
 "Karen Saldana-Lopez,Daisy Meneses"                           1
 "Ali Mohamed,Quynh Nguyen,Humza Shariff"                      1
 "Karen Saldana-Lopez,Jess Pena"                               1
 "Brandon DeLaura,Hunter Glass"                                1
 "Karen Saldana-Lopez,Reham Zin"                               1
 "Brandon DeLaura,yuliana mendoza"                             1
 "Karen Saldana-Lopez,Sufyaan Lakhani"                         1
 "Carmen Marza,Abraham Sanchez"                                1
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 "Kevin Ceballos,Hanya Zargaran"                               1
 "Carmen Marza,Kimberly Torres"                                1
 "Kevin Ceballos,Max Zinchini"                                 1
 "Cindy Vazquez,George Sanchez"                                1
 "Kevin Ceballos,Mike Larkin"                                  1
 "Connor Huskisson,andre alvarenga"                            1
 "Kevin Ceballos,Quynh Nguyen"                                 1
 "Connor Huskisson,Tony Sanchez"                               1
 "Kevin Ceballos,Sulaiman Khan"                                1
 "Emely Acevedo,Quynh Nguyen"                                  1
 "Khalil Beshoy,Kimberly Torres"                               1
 "Erica Kline,Jarod Vaughan"                                   1
 "Kian Narani,Kevin Ceballos"                                  1
 "Erica Kline,Kimberly Torres,Karen O'Connell"                 1
 "Lester Perez,Karen O'Connell"                                1
 "Fausto Beleno,Jennifer Andra"                                1
 "Lex Avina-Cardiel,Ali Mohamed"                               1
 "Golam Khan,Lester Perez"                                     1
 "Lex Avina-Cardiel,Humza Shariff"                             1
 "Hanya Zargaran,Jarod Vaughan"                                1
 "Lex Avina-Cardiel,Jennifer Andra"                            1
 "James Andra,Kevin Ceballos"                                  1
 "Lex Avina-Cardiel,Josue Alvarez"                             1
 "Salma Aranda,Nassir Diab"                                    1
 "Lex Avina-Cardiel,Salma Aranda"                              1
 "Salma Aranda,Tainis Tapias"                                  1
 "Lex Avina-Cardiel,Stephanie Reynoso"                         1
 "Salman Ismail,Sarika Mande"                                  1
 "Lex Avina-Cardiel,Victoria Dang"                             1
 "Samuel Pierce,andre alvarenga"                               1
 "Mahmoud Bany-Mohammed,Carmen Marza"                          1
 "Samuel Pierce,James Andra"                                   1
 "Mahmoud Bany-Mohammed,Elio Riano"                            1
 "Samuel Pierce,Khalil Beshoy"                                 1
 "Mahmoud Bany-Mohammed,Jas Sanchez"                           1
 "Sebastian Vasquez,Jess Pena"                                 1
 "Mahmoud Bany-Mohammed,Rafael de la Torre"                    1
 "Sebastian Vasquez,Stephanie Reynoso"                         1
 "Mahmoud Bany-Mohammed,Tony Sanchez"                          1
 "Stephanie Reynoso,Brandon DeLaura"                           1
 "Manny Alatorre,Abe Flores"                                   1
 "andre alvarenga,Christian Sangalang"                         1
 "Manny Alatorre,Hunter Glass"                                 1
 "Sulaiman Khan,bonnie romero,James Andra"                     1
 "Manny Alatorre,Tainis Tapias"                                1
 "Sulaiman Khan,Golam Khan"                                    1
 "Mike Larkin,Connor Huskisson"                                1
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 "Sulaiman Khan,Jarod Vaughan"                                 1
 "Mike Larkin,justin andra"                                    1
 "Sulaiman Khan,Salma Aranda"                                  1
 "Mike Larkin,Kian Narani"                                     1
 "Sulaiman Khan,Tainis Tapias"                                 1
 "Mike Larkin,Stephanie Reynoso"                               1
 "Tainis Tapias,Daniel Orellana"                               1
 "Mike Larkin,Tony Sanchez"                                    1
 "Tainis Tapias,Melina Beltran"                                1
 "Nassir Diab,Brandon DeLaura"                                 1
 "Tainis Tapias,Reham Zin"                                     1
 "Nassir Diab,Brant Bishop"                                    1
 "Tony Sanchez,Brandon DeLaura"                                1
 "Abe Flores,Sarah Ross"                                       1
 "Tony Sanchez,Mike Larkin"                                    1
 "Nassir Diab,Iman Nejad"                                      1
 "Victoria Dang,George Sanchez"                                1
 "Nassir Diab,justin andra"                                    1
 "Victoria Dang,Samuel Pierce"                                 1
 "andre alvarenga,Abraham Sanchez"                             1
 "Yesica Sierra,Emely Acevedo"                                 1
 "Nassir Diab,Salman Ismail"                                   1
 "yuliana mendoza,Stephanie Reynoso"                           1
 "Nassir Diab,Sebastian Vasquez"                               1
 "bonnie romero,andre alvarenga,Yesica Sierra"                 1
 "Nassir Diab,Tainis Tapias"                                   1
 "bonnie romero,Daniela Serrano"                               1
 "Nickolas Mossa,Hunter Glass"                                 1
 "Ali Mohamed,Abe Flores"                                      1
 "Nickolas Mossa,Sabah Ismail"                                 1
 "bonnie romero,Hanner Angulo"                                 1
 "Nickolas Mossa,yuliana mendoza"                              1
 "bonnie romero,Iman Nejad"                                    1
 "Nicole Morris,Carmen Marza"                                  1
 "bonnie romero,justin andra"                                  1
 "Nicole Morris,Christian Sangalang"                           1
 "bonnie romero,Melina Beltran"                                1
 "Nicole Morris,Fausto Beleno"                                 1
 "Ali Mohamed,Kimberly Torres"                                 1
 "Nicole Morris,George Sanchez,Jennifer Andra"                 1
 "bonnie romero,Tainis Tapias"                                 1
 "Nicole Morris,justin andra"                                  1
 "bonnie romero,Yesica Sierra"                                 1
 "Nicole Morris,Nickolas Mossa"                                1
 "Brandon DeLaura,Elio Riano"                                  1
 "Nicole Morris,yuliana mendoza"                               1
 "Brandon DeLaura,Kimberly Torres"                             1
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 "Quynh Nguyen,Jennifer Andra"                                 1
 "Brandon DeLaura,Melina Beltran"                              1
 "Quynh Nguyen,Mahmoud Bany-Mohammed"                          1
 "Brant Bishop,Ivis Parada"                                    1
 "Rafael de la Torre,Mike Larkin"                              1
 "Brant Bishop,Nicole Morris"                                  1
 "Rafael de la Torre,Reham Zin"                                1
 "Ali Mohamed,Salman Ismail"                                   1
 "Rafael de la Torre,Samuel Pierce"                            1
 "Carmen Marza,Ivis Parada"                                    1
 "Ralph Breneville,andre alvarenga"                            1
 "Christian Sangalang,Emely Acevedo"                           1
 "Ralph Breneville,Isa Avina-Cardiel"                          1
 "Cindy Vazquez,Carmen Marza"                                  1
 "Ralph Breneville,Lex Avina-Cardiel"                          1
 "Cindy Vazquez,justin andra"                                  1
 "Ralph Breneville,Nicole Morris"                              1
 "Cindy Vazquez,Reham Zin"                                     1
 "Ralph Breneville,Samuel Pierce"                              1
 "Connor Huskisson,Kian Narani"                                1
 "Ralph Breneville,Vincent Berube"                             1
 "Connor Huskisson,Nassir Diab"                                1
 "Reham Zin,James Andra"                                       1
 "Daniel Orellana,Jarod Vaughan"                               1
 "Reham Zin,Max Zinchini"                                      1
 "Daniela Serrano,Triana Camero"                               1
 "Reham Zin,Quynh Nguyen"                                      1
 "Erica Kline,Daniel Orellana"                                 1
 "Reham Zin,Sebastian Vasquez"                                 1
 "Erica Kline,Hanya Zargaran"                                  1
 "Reham Zin,Stephanie Reynoso"                                 1
 "Erica Kline,Jess Pena"                                       1
 "Sabah Ismail,Golam Khan"                                     1
 "Erica Kline,Kevin Ceballos"                                  1
 "Salma Aranda,Ali Mohamed"                                    1
 "Erica Kline,Quynh Nguyen"                                    1
 "Salma Aranda,Brandon DeLaura"                                1
 "Erica Kline,Sufyaan Lakhani"                                 1
 "Salma Aranda,Daniel Orellana"                                1
 "Fausto Beleno,Tony Sanchez"                                  1
 "Salma Aranda,Erica Kline"                                    1
 "George Sanchez,Sabah Ismail"                                 1
 "Salma Aranda,Griselda Reina"                                 1
 "Hanya Zargaran,Ali Mohamed"                                  1
 "Salma Aranda,Jas Sanchez"                                    1
 "Hanya Zargaran,Isa Avina-Cardiel"                            1
 "Salma Aranda,Josue Alvarez"                                  1
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    "Hanya Zargaran,Khalil Beshoy"                                1
    "Salma Aranda,Karen O'Connell"                                1
    "Iman Nejad,Jarod Vaughan"                                    1
    "Salma Aranda,Kevin Ceballos"                                 1
    "Salma Aranda,Khalil Beshoy"                                  1
Grand Total                                                    8189
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Row Labels                                              Count of Engagement ID
"Abe Flores,Connor Huskisson"                                                    1
"Abe Flores,Kimberly Torres"                                                     2
"Abe Flores,Sarah Ross"                                                          1
"Abe Flores,Sebastian Vasquez"                                                   2
"Abe Flores,Sophia Goins"                                                        1
"Abe Flores,Tainis Tapias"                                                       1
"Abe Flores,Valerie L"                                                           1
"Abraham Sanchez,David Brown"                                                    1
"Abraham Sanchez,Elio Riano"                                                     3
"Abraham Sanchez,Elio Riano,Kevin Marquez"                                       1
"Abraham Sanchez,Hunter Glass,Anthony Base"                                      1
"Abraham Sanchez,Isa Avina-Cardiel"                                              2
"Abraham Sanchez,Kevin Marquez"                                                  2
"Abraham Sanchez,Kimberly Torres"                                                1
"Abraham Sanchez,Melina Beltran"                                                 1
"Adriana Hernandez,Kimberly Torres"                                              1
"Ali Mohamed,Abe Flores"                                                         1
"Ali Mohamed,Abraham Sanchez"                                                    2
"Ali Mohamed,Anthony Base"                                                       1
"Ali Mohamed,Daisy Meneses"                                                      1
"Ali Mohamed,Daisy Meneses,Nikki Miller"                                         1
"Ali Mohamed,Elio Riano"                                                         5
"Ali Mohamed,Fausto Beleno"                                                      1
"Ali Mohamed,Humza Shariff"                                                      1
"Ali Mohamed,Hunter Glass"                                                       3
"Ali Mohamed,Isa Avina-Cardiel"                                                  2
"Ali Mohamed,Ivis Parada"                                                        1
"Ali Mohamed,Kevin Marquez"                                                      5
"Ali Mohamed,Kimberly Torres"                                                    1
"Ali Mohamed,Lex Avina-Cardiel"                                                  1
"Ali Mohamed,Nikki Miller"                                                       3
"Ali Mohamed,Phoenix Paralegal"                                                  1
"Ali Mohamed,Quynh Nguyen,Humza Shariff"                                         1
"Ali Mohamed,Salman Ismail"                                                      1
"Ali Mohamed,Sarika Mande"                                                       1
"Ali Mohamed,Valerie L"                                                          3
"Amir nejad,Abraham Sanchez"                                                     4
"Amir nejad,Anthony Base"                                                        1
"Amir nejad,David Del Toro"                                                      1
"Amir nejad,Elio Riano"                                                          8
"Amir nejad,Fausto Beleno,Griselda Reina"                                        1
"Amir nejad,Hunter Glass"                                                        3
"Amir nejad,Isa Avina-Cardiel"                                                   2
"Amir nejad,Ivis Parada"                                                         1
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"Amir nejad,Jennifer Andra"                                                1
"Amir nejad,Jessenia Oseguera"                                             1
"Amir nejad,Kevin Marquez"                                                 5
"Amir nejad,Melina Beltran"                                                4
"Amir nejad,Nikki Miller"                                                  3
"Amir nejad,Tainis Tapias"                                                 1
"Amir nejad,Victoria Dang"                                                 1
"andre alvarenga,Abraham Sanchez"                                          1
"andre alvarenga,Christian Sangalang"                                      1
"andre alvarenga,Elio Riano"                                               3
"andre alvarenga,Elio Riano,Isa Avina-Cardiel"                             1
"andre alvarenga,Hunter Glass"                                             2
"andre alvarenga,Isa Avina-Cardiel"                                        4
"andre alvarenga,Jessenia Oseguera"                                        1
"andre alvarenga,Kevin Marquez"                                            2
"andre alvarenga,Melina Beltran"                                           3
"andre alvarenga,Sarika Mande"                                             1
"andre alvarenga,Valerie L"                                                2
"andre alvarenga,Yesica Sierra,Abraham Sanchez"                            1
"Andrea Albor,Fausto Beleno"                                               1
"Andrea Albor,Hanner Angulo"                                               1
"Andrea Albor,Isa Avina-Cardiel"                                           1
"Andrea Albor,Kevin Marquez"                                               1
"Anthony Base,Elio Riano"                                                  1
"Anthony Base,Hunter Glass"                                                1
"Anthony Base,Nikki Miller"                                                1
"bonnie romero,Abraham Sanchez"                                            2
"bonnie romero,andre alvarenga,Yesica Sierra"                              1
"bonnie romero,Carmen Marza"                                               3
"bonnie romero,Daniela Serrano"                                            1
"bonnie romero,Elio Riano"                                                 4
"bonnie romero,Elio Riano,Isa Avina-Cardiel"                               1
"bonnie romero,Elio Riano,Nikki Miller"                                    1
"bonnie romero,Emely Acevedo"                                              2
"bonnie romero,Erica Kline"                                                1
"bonnie romero,George Sanchez"                                             1
"bonnie romero,Hanner Angulo"                                              1
"bonnie romero,Hanya Zargaran"                                             1
"bonnie romero,Hunter Glass"                                               4
"bonnie romero,Hunter Glass,Nikki Miller"                                  1
"bonnie romero,Iman Nejad"                                                 2
"bonnie romero,James Andra"                                                2
"bonnie romero,Jess Pena"                                                  1
"bonnie romero,Josey Harvey"                                               1
"bonnie romero,justin andra"                                               1
"bonnie romero,Karen O'Connell"                                            1
"bonnie romero,Kevin Marquez"                                              1
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"bonnie romero,Lex Avina-Cardiel"                                          1
"bonnie romero,Melina Beltran"                                             1
"bonnie romero,Nikki Miller"                                               6
"bonnie romero,Quynh Nguyen"                                               1
"bonnie romero,Saif Ismail"                                                2
"bonnie romero,Salma Aranda"                                               2
"bonnie romero,Sebastian Vasquez"                                          1
"bonnie romero,Tainis Tapias"                                              1
"bonnie romero,Valerie L"                                                  3
"bonnie romero,Victoria Dang"                                              3
"bonnie romero,Vincent Berube"                                             2
"bonnie romero,Yesica Sierra"                                              1
"Brandon DeLaura,Abraham Sanchez"                                          1
"Brandon DeLaura,Anthony Base"                                             1
"Brandon DeLaura,Connor Huskisson"                                         1
"Brandon DeLaura,Elio Riano"                                               2
"Brandon DeLaura,Hunter Glass"                                             5
"Brandon DeLaura,Jasmin Amezcua"                                           1
"Brandon DeLaura,Josue Alvarez,Anthony Base"                               1
"Brandon DeLaura,Kevin Marquez"                                            3
"Brandon DeLaura,Kimberly Torres"                                          1
"Brandon DeLaura,Manny Alatorre"                                           1
"Brandon DeLaura,Melina Beltran"                                           2
"Brandon DeLaura,Nikki Miller"                                             1
"Brandon DeLaura,Valerie L"                                                1
"Brandon DeLaura,Yesica Sierra"                                            1
"Brandon DeLaura,yuliana mendoza"                                          1
"Brant Bishop,Fausto Beleno"                                               1
"Brant Bishop,Ivis Parada"                                                 1
"Brant Bishop,Josey Harvey"                                                1
"Brant Bishop,Nicole Morris"                                               1
"Brant Bishop,Sabah Ismail"                                                1
"Brant Bishop,Salman Ismail"                                               1
"Carmen Marza,Abraham Sanchez"                                             1
"Carmen Marza,Anthony Base"                                                1
"Carmen Marza,David Del Toro"                                              1
"Carmen Marza,Elio Riano"                                                  3
"Carmen Marza,Emely Acevedo"                                               2
"Carmen Marza,Fausto Beleno"                                               1
"Carmen Marza,Hanner Angulo"                                               4
"Carmen Marza,Hunter Glass"                                                5
"Carmen Marza,Ivis Parada"                                                 1
"Carmen Marza,Kevin Marquez"                                               1
"Carmen Marza,Kimberly Torres"                                             3
"Carmen Marza,Kimberly Torres,Melina Beltran"                              1
"Carmen Marza,Nikki Miller"                                                2
"Carmen Marza,Sarika Mande"                                                1
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"Carmen Marza,Sebastian Vasquez,Tainis Tapias"                             1
"Carmen Marza,Tainis Tapias"                                               1
"Carmen Marza,Victoria Dang"                                               1
"Carmen Marza,Vincent Berube"                                              1
"Carmen Marza,Yesica Sierra"                                               2
"Carmen Marza,yuliana mendoza"                                             1
"Christian Sangalang,Abraham Sanchez"                                      1
"Christian Sangalang,Emely Acevedo"                                        1
"Christian Sangalang,Fausto Beleno,Isa Avina-Cardiel"                      1
"Christian Sangalang,Hunter Glass"                                         2
"Christian Sangalang,Isa Avina-Cardiel"                                    2
"Christian Sangalang,Ivis Parada"                                          1
"Christian Sangalang,Kevin Marquez"                                        2
"Christian Sangalang,Kimberly Torres"                                      3
"Christian Sangalang,Nikki Miller"                                         1
"Christian Sangalang,Tainis Tapias"                                        1
"Christian Sangalang,Vincent Berube,Isa Avina-Cardiel"                     1
"Christian Sangalang,Yesica Sierra"                                        1
"Christian Sangalang,yuliana mendoza"                                      1
"Cindy Vazquez,Carmen Marza"                                               1
"Cindy Vazquez,George Sanchez"                                             1
"Cindy Vazquez,justin andra"                                               1
"Cindy Vazquez,Manny Alatorre"                                             1
"Cindy Vazquez,Melina Beltran"                                             1
"Cindy Vazquez,Reham Zin"                                                  1
"Cindy Vazquez,Sufyaan Lakhani"                                            1
"Connor Huskisson,andre alvarenga"                                         1
"Connor Huskisson,bonnie romero"                                           1
"Connor Huskisson,Ivis Parada"                                             1
"Connor Huskisson,Kian Narani"                                             1
"Connor Huskisson,Kimberly Torres"                                         1
"Connor Huskisson,Kimberly Torres,Ivis Parada"                             1
"Connor Huskisson,Melina Beltran"                                          2
"Connor Huskisson,Nassir Diab"                                             1
"Connor Huskisson,Tony Sanchez"                                            1
"Daisy Meneses,Abraham Sanchez"                                            2
"Daisy Meneses,Elio Riano"                                                 3
"Daisy Meneses,Hunter Glass"                                               1
"Daisy Meneses,Isa Avina-Cardiel"                                          2
"Daisy Meneses,Kevin Marquez"                                              2
"Daisy Meneses,Kimberly Torres"                                            1
"Daisy Meneses,Phoenix Paralegal"                                          1
"Daisy Meneses,Vincent Berube,Kevin Marquez"                               1
"Daniel Orellana,Jarod Vaughan"                                            1
"Daniel Orellana,Kimberly Torres"                                          1
"Daniel Orellana,Kimberly Torres,Melina Beltran"                           1
"Daniel Orellana,Phoenix Paralegal"                                        1
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"Daniel Orellana,Salman Ismail"                                            1
"Daniela Serrano,Abraham Sanchez"                                          2
"Daniela Serrano,Hunter Glass"                                             1
"Daniela Serrano,Isa Avina-Cardiel"                                        2
"Daniela Serrano,Triana Camero"                                            1
"Daniela Serrano,Victoria Dang"                                            1
"Daniela Serrano,Vincent Berube"                                           1
"David Del Toro,Kimberly Torres"                                           1
"Elio Riano,Kevin Marquez"                                                 1
"Emely Acevedo,Quynh Nguyen"                                               1
"Erica Kline,Brandon DeLaura,Anthony Base"                                 1
"Erica Kline,Daniel Orellana"                                              1
"Erica Kline,Fausto Beleno"                                                1
"Erica Kline,Hanya Zargaran"                                               1
"Erica Kline,Jarod Vaughan"                                                1
"Erica Kline,Jess Pena"                                                    1
"Erica Kline,Karen O'Connell"                                              1
"Erica Kline,Kevin Ceballos"                                               1
"Erica Kline,Kevin Ceballos,Rafael de la Torre"                            1
"Erica Kline,Kimberly Torres"                                              2
"Erica Kline,Kimberly Torres,Karen O'Connell"                              1
"Erica Kline,Legal Phoenix"                                                1
"Erica Kline,Manny Alatorre"                                               2
"Erica Kline,Melina Beltran"                                               1
"Erica Kline,Nicole Morris"                                                1
"Erica Kline,Quynh Nguyen"                                                 1
"Erica Kline,Rafael de la Torre"                                           1
"Erica Kline,Sebastian Vasquez"                                            1
"Erica Kline,Sufyaan Lakhani"                                              2
"Fausto Beleno,Jennifer Andra"                                             1
"Fausto Beleno,Tony Sanchez"                                               1
"George Sanchez,Anthony Base"                                              1
"George Sanchez,Ivis Parada"                                               1
"George Sanchez,Jas Sanchez"                                               1
"George Sanchez,Kian Narani"                                               1
"George Sanchez,Kian Narani,Elio Riano"                                    1
"George Sanchez,Sabah Ismail"                                              1
"George Sanchez,Tainis Tapias"                                             1
"George Sanchez,yuliana mendoza"                                           1
"Golam Khan,Lester Perez"                                                  2
"Griselda Reina,Manny Alatorre"                                            1
"Hanner Angulo,Isa Avina-Cardiel"                                          1
"Hanner Angulo,Yesica Sierra"                                              3
"Hanya Zargaran,Abraham Sanchez"                                           3
"Hanya Zargaran,Ali Mohamed"                                               1
"Hanya Zargaran,George Sanchez"                                            1
"Hanya Zargaran,Hunter Glass"                                              2
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"Hanya Zargaran,Hunter Glass,Elio Riano"                                   1
"Hanya Zargaran,Isa Avina-Cardiel"                                         3
"Hanya Zargaran,Jarod Vaughan"                                             1
"Hanya Zargaran,Kevin Marquez"                                             2
"Hanya Zargaran,Khalil Beshoy"                                             1
"Hanya Zargaran,Lex Avina-Cardiel"                                         1
"Hanya Zargaran,Nikki Miller"                                              4
"Hanya Zargaran,Rafael de la Torre"                                        1
"Hanya Zargaran,Sarika Mande"                                              2
"Hanya Zargaran,Sebastian Vasquez,Kimberly Torres"                         1
"Hanya Zargaran,Sufyaan Lakhani"                                           1
"Hanya Zargaran,Valerie L"                                                 2
"Hanya Zargaran,Victoria Dang"                                             1
"Hanya Zargaran,Vincent Berube"                                            1
"Hanya Zargaran,Yesica Sierra,Elio Riano"                                  1
"Hanya Zargaran,yuliana mendoza"                                           1
"Humza Shariff,Hunter Glass"                                               1
"Humza Shariff,Isa Avina-Cardiel"                                          2
"Humza Shariff,Kevin Marquez"                                              2
"Humza Shariff,Sarika Mande"                                               2
"Hunter Glass,Anthony Base"                                                1
"Hunter Glass,Elio Riano"                                                  1
"Hunter Glass,Isa Avina-Cardiel"                                           3
"Hunter Glass,Kevin Marquez"                                               2
"Hunter Glass,Nikki Miller"                                                2
"Hunter Glass,Sophia Goins"                                                1
"Hunter Glass,Valerie L"                                                   1
"Iman Nejad,Jarod Vaughan"                                                 1
"Iman Nejad,Melina Beltran"                                                1
"Isa Avina-Cardiel,Elio Riano"                                             1
"Isa Avina-Cardiel,Valerie L"                                              1
"Ivis Parada,Sophia Goins"                                                 1
"James Andra,Abraham Sanchez,Hunter Glass"                                 1
"James Andra,Elio Riano"                                                   1
"James Andra,George Sanchez"                                               1
"James Andra,Hunter Glass"                                                 2
"James Andra,Kevin Ceballos"                                               1
"James Andra,Kevin Marquez"                                                1
"James Andra,Kimberly Torres"                                              1
"James Andra,Nikki Miller"                                                 1
"James Andra,Reham Zin"                                                    1
"James Andra,Sarika Mande"                                                 1
"James Andra,Sophia Goins"                                                 1
"James Andra,Valerie L"                                                    1
"Jarod Vaughan,Abraham Sanchez"                                            2
"Jarod Vaughan,Anthony Base"                                               2
"Jarod Vaughan,David Brown"                                                1
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"Jarod Vaughan,Isa Avina-Cardiel"                                          1
"Jarod Vaughan,Isa Avina-Cardiel,Elio Riano,Valerie L"                     1
"Jarod Vaughan,Kevin Marquez"                                              2
"Jarod Vaughan,Nikki Miller"                                               3
"Jarod Vaughan,Sebastian Vasquez"                                          2
"Jarod Vaughan,Valerie L"                                                  2
"Jarod Vaughan,Victoria Dang"                                              2
"Jarod Vaughan,Vincent Berube"                                             1
"Jas Sanchez,Brandon DeLaura"                                              1
"Jas Sanchez,Erica Kline,Melina Beltran"                                   1
"Jas Sanchez,Fausto Beleno"                                                1
"Jas Sanchez,George Sanchez"                                               1
"Jas Sanchez,Ivis Parada"                                                  1
"Jas Sanchez,Khalil Beshoy"                                                1
"Jas Sanchez,Kimberly Torres"                                              2
"Jas Sanchez,Melina Beltran"                                               3
"Jasmin Amezcua,Elio Riano"                                                2
"Jasmin Amezcua,Hunter Glass"                                              2
"Jasmin Amezcua,Kevin Marquez"                                             2
"Jasmin Amezcua,Kimberly Torres"                                           1
"Jasmin Amezcua,Nickolas Mossa"                                            1
"Jasmin Amezcua,Nikki Miller"                                              1
"Jasmin Amezcua,Vincent Berube"                                            1
"Jason Cast,Valerie L"                                                     1
"Jennifer Andra,Brandon DeLaura"                                           1
"Jennifer Andra,Cindy Vazquez"                                             1
"Jennifer Andra,Melina Beltran"                                            1
"Jennifer Andra,yuliana mendoza"                                           1
"Jess Pena,Abraham Sanchez"                                                1
"Jess Pena,Ali Mohamed"                                                    1
"Jess Pena,Anthony Base"                                                   2
"Jess Pena,bonnie romero"                                                  1
"Jess Pena,Connor Huskisson"                                               1
"Jess Pena,Daniel Orellana"                                                1
"Jess Pena,Elio Riano,Kevin Marquez,Anthony Base"                          1
"Jess Pena,Fausto Beleno"                                                  1
"Jess Pena,Golam Khan"                                                     1
"Jess Pena,Hunter Glass"                                                   3
"Jess Pena,Hunter Glass,Elio Riano"                                        1
"Jess Pena,Isa Avina-Cardiel"                                              3
"Jess Pena,James Andra"                                                    1
"Jess Pena,Kevin Marquez"                                                  2
"Jess Pena,Kevin Marquez,Elio Riano"                                       1
"Jess Pena,Kian Narani"                                                    1
"Jess Pena,Kimberly Torres"                                                1
"Jess Pena,Nikki Miller"                                                   2
"Jess Pena,Sarika Mande"                                                   2
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"Jess Pena,Valerie L"                                                      3
"Jess Pena,Victoria Dang"                                                  1
"Jessenia Oseguera,Abraham Sanchez"                                        4
"Jessenia Oseguera,Elio Riano"                                             3
"Jessenia Oseguera,Hunter Glass"                                           1
"Jessenia Oseguera,Isa Avina-Cardiel"                                      7
"Jessenia Oseguera,Kevin Marquez"                                          4
"Jessenia Oseguera,Kevin Marquez,Isa Avina-Cardiel"                        1
"Jessenia Oseguera,Kimberly Torres"                                        1
"Jessenia Oseguera,Lex Avina-Cardiel"                                      1
"Jessenia Oseguera,Melina Beltran"                                         1
"Jessenia Oseguera,Sarika Mande"                                           1
"Jessenia Oseguera,Sebastian Vasquez"                                      1
"Jessenia Oseguera,Tainis Tapias"                                          1
"Jessenia Oseguera,Valerie L"                                              2
"Jessenia Oseguera,Yesica Sierra"                                          1
"Jessenia Oseguera,Yesica Sierra,Hunter Glass,Elio Riano"                  1
"Jessenia Oseguera,yuliana mendoza"                                        1
"Josey Harvey,Abraham Sanchez,Elio Riano,Isa Avina-Cardiel"                1
"Josey Harvey,Elio Riano"                                                  8
"Josey Harvey,Fausto Beleno"                                               1
"Josey Harvey,Hunter Glass"                                                1
"Josey Harvey,Isa Avina-Cardiel"                                           6
"Josey Harvey,Karen Saldana-Lopez"                                         1
"Josey Harvey,Kevin Marquez,Abraham Sanchez"                               1
"Josey Harvey,Khalil Beshoy"                                               1
"Josey Harvey,Manny Alatorre"                                              1
"Josey Harvey,Melina Beltran"                                              1
"Josey Harvey,Nikki Miller"                                                3
"Josey Harvey,Phoenix Paralegal"                                           1
"Josey Harvey,Sarika Mande"                                                1
"Josey Harvey,Sophia Goins"                                                1
"Josey Harvey,Valerie L"                                                   3
"Josey Harvey,Victoria Dang"                                               1
"Josey Harvey,yuliana mendoza"                                             1
"Josue Alvarez,Abraham Sanchez"                                            1
"Josue Alvarez,David Brown"                                                1
"Josue Alvarez,Elio Riano"                                                 5
"Josue Alvarez,Griselda Reina"                                             1
"Josue Alvarez,Hunter Glass"                                               1
"Josue Alvarez,Isa Avina-Cardiel"                                          2
"Josue Alvarez,Kevin Marquez"                                              1
"Josue Alvarez,Melina Beltran"                                             1
"Josue Alvarez,Nickolas Mossa"                                             1
"Josue Alvarez,Nikki Miller"                                               1
"Josue Alvarez,Rafael de la Torre,yuliana mendoza"                         1
"Josue Alvarez,Valerie L"                                                  3
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"Josue Alvarez,Victoria Dang"                                              1
"justin andra,Ali Mohamed"                                                 1
"justin andra,Brandon DeLaura"                                             1
"justin andra,Fausto Beleno"                                               1
"justin andra,George Sanchez"                                              1
"justin andra,Ivis Parada"                                                 1
"justin andra,Kimberly Torres"                                             1
"justin andra,Phoenix Paralegal"                                           2
"justin andra,Salma Aranda"                                                1
"Karen O'Connell,Abraham Sanchez"                                          4
"Karen O'Connell,Amir nejad"                                               2
"Karen O'Connell,Anthony Base"                                             5
"Karen O'Connell,David Brown"                                              1
"Karen O'Connell,Elio Riano"                                               2
"Karen O'Connell,Erica Kline,Melina Beltran"                               1
"Karen O'Connell,Fausto Beleno"                                            2
"Karen O'Connell,Hanya Zargaran"                                           1
"Karen O'Connell,Hunter Glass"                                             4
"Karen O'Connell,Hunter Glass,Kevin Marquez"                               1
"Karen O'Connell,Isa Avina-Cardiel"                                        1
"Karen O'Connell,Ivis Parada,Melina Beltran"                               1
"Karen O'Connell,Jarod Vaughan"                                            1
"Karen O'Connell,Kimberly Torres"                                          1
"Karen O'Connell,Kimberly Torres,Melina Beltran"                           1
"Karen O'Connell,Melina Beltran"                                           2
"Karen O'Connell,Nikki Miller"                                             1
"Karen O'Connell,Rafael de la Torre"                                       1
"Karen O'Connell,Sarika Mande"                                             1
"Karen O'Connell,Stephanie Reynoso"                                        1
"Karen O'Connell,Tainis Tapias"                                            1
"Karen O'Connell,Valerie L"                                                3
"Karen O'Connell,Victoria Dang"                                            2
"Karen O'Connell,Yesica Sierra"                                            1
"Karen O'Connell,yuliana mendoza"                                          3
"Karen Saldana-Lopez,Abe Flores"                                           1
"Karen Saldana-Lopez,Abraham Sanchez"                                      2
"Karen Saldana-Lopez,Ali Mohamed"                                          1
"Karen Saldana-Lopez,Anthony Base"                                         1
"Karen Saldana-Lopez,Connor Huskisson"                                     1
"Karen Saldana-Lopez,Daisy Meneses"                                        2
"Karen Saldana-Lopez,Hunter Glass"                                         2
"Karen Saldana-Lopez,Isa Avina-Cardiel"                                    1
"Karen Saldana-Lopez,Ivis Parada"                                          1
"Karen Saldana-Lopez,Jess Pena"                                            1
"Karen Saldana-Lopez,Kevin Marquez"                                        2
"Karen Saldana-Lopez,Reham Zin"                                            1
"Karen Saldana-Lopez,Sufyaan Lakhani"                                      2
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"Kevin Ceballos,Abraham Sanchez"                                           1
"Kevin Ceballos,Anthony Base"                                              1
"Kevin Ceballos,bonnie romero"                                             2
"Kevin Ceballos,David Brown"                                               1
"Kevin Ceballos,Elio Riano"                                                3
"Kevin Ceballos,Hanya Zargaran"                                            1
"Kevin Ceballos,Hunter Glass"                                              4
"Kevin Ceballos,Isa Avina-Cardiel"                                         3
"Kevin Ceballos,Kevin Marquez"                                             7
"Kevin Ceballos,Kimberly Torres"                                           2
"Kevin Ceballos,Kimberly Torres,Melina Beltran"                            1
"Kevin Ceballos,Mahmoud Bany-Mohammed,Isa Avina-Cardiel"                   1
"Kevin Ceballos,Max Zinchini"                                              1
"Kevin Ceballos,Mike Larkin"                                               1
"Kevin Ceballos,Nikki Miller"                                              1
"Kevin Ceballos,Quynh Nguyen"                                              1
"Kevin Ceballos,Sufyaan Lakhani"                                           1
"Kevin Ceballos,Sulaiman Khan"                                             1
"Kevin Ceballos,Valerie L"                                                 1
"Kevin Ceballos,Victoria Dang"                                             1
"Kevin Marquez,Abraham Sanchez"                                            1
"Kevin Marquez,Anthony Base"                                               3
"Kevin Marquez,Elio Riano"                                                 1
"Kevin Marquez,Hunter Glass"                                               3
"Kevin Marquez,Nikki Miller"                                               2
"Kevin Marquez,Sarika Mande"                                               1
"Kevin Marquez,Valerie L"                                                  1
"Khalil Beshoy,Hunter Glass"                                               1
"Khalil Beshoy,Kevin Marquez"                                              1
"Khalil Beshoy,Kimberly Torres"                                            1
"Khalil Beshoy,Melina Beltran"                                             1
"Khalil Beshoy,Stephanie Reynoso"                                          1
"Kian Narani,Abraham Sanchez"                                              1
"Kian Narani,Anthony Base"                                                 3
"Kian Narani,David Del Toro"                                               1
"Kian Narani,Elio Riano,Hunter Glass"                                      1
"Kian Narani,Hunter Glass"                                                 1
"Kian Narani,Hunter Glass,Elio Riano"                                      1
"Kian Narani,Isa Avina-Cardiel"                                            1
"Kian Narani,Kevin Ceballos"                                               1
"Kian Narani,Kevin Marquez"                                                1
"Kian Narani,Kevin Marquez,Isa Avina-Cardiel"                              1
"Kian Narani,Kimberly Torres"                                              2
"Kian Narani,Melina Beltran"                                               2
"Kian Narani,Nikki Miller"                                                 5
"Kian Narani,Sarika Mande"                                                 1
"Kian Narani,Sebastian Vasquez"                                            1
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"Kian Narani,Tainis Tapias"                                                1
"Kian Narani,Valerie L"                                                    3
"Kimberly Torres,Abe Flores"                                               1
"Lester Perez,Karen O'Connell"                                             1
"Lex Avina-Cardiel,Ali Mohamed"                                            1
"Lex Avina-Cardiel,bonnie romero"                                          1
"Lex Avina-Cardiel,Elio Riano"                                             4
"Lex Avina-Cardiel,Humza Shariff"                                          1
"Lex Avina-Cardiel,Hunter Glass"                                           2
"Lex Avina-Cardiel,Isa Avina-Cardiel"                                      1
"Lex Avina-Cardiel,Jasmin Amezcua"                                         1
"Lex Avina-Cardiel,Jennifer Andra"                                         1
"Lex Avina-Cardiel,Jessenia Oseguera"                                      1
"Lex Avina-Cardiel,Josue Alvarez"                                          1
"Lex Avina-Cardiel,Kevin Marquez"                                          2
"Lex Avina-Cardiel,Kevin Marquez,Isa Avina-Cardiel"                        1
"Lex Avina-Cardiel,Kimberly Torres"                                        1
"Lex Avina-Cardiel,Melina Beltran"                                         1
"Lex Avina-Cardiel,Melina Beltran,Isa Avina-Cardiel,Abraham Sanchez"       1
"Lex Avina-Cardiel,Nikki Miller"                                           3
"Lex Avina-Cardiel,Salma Aranda"                                           1
"Lex Avina-Cardiel,Sarika Mande"                                           1
"Lex Avina-Cardiel,Sebastian Vasquez"                                      1
"Lex Avina-Cardiel,Stephanie Reynoso"                                      1
"Lex Avina-Cardiel,Valerie L"                                              2
"Lex Avina-Cardiel,Victoria Dang"                                          2
"Mahmoud Bany-Mohammed,Anthony Base"                                       1
"Mahmoud Bany-Mohammed,Carmen Marza"                                       1
"Mahmoud Bany-Mohammed,Elio Riano"                                         3
"Mahmoud Bany-Mohammed,Emely Acevedo"                                      1
"Mahmoud Bany-Mohammed,Hunter Glass"                                       1
"Mahmoud Bany-Mohammed,Jas Sanchez"                                        1
"Mahmoud Bany-Mohammed,Jess Pena"                                          1
"Mahmoud Bany-Mohammed,Kimberly Torres"                                    1
"Mahmoud Bany-Mohammed,Nikki Miller"                                       1
"Mahmoud Bany-Mohammed,Rafael de la Torre"                                 1
"Mahmoud Bany-Mohammed,Sarika Mande"                                       1
"Mahmoud Bany-Mohammed,Tony Sanchez"                                       1
"Manny Alatorre,Abe Flores"                                                1
"Manny Alatorre,Abraham Sanchez"                                           3
"Manny Alatorre,Abraham Sanchez,Hunter Glass"                              1
"Manny Alatorre,Elio Riano"                                                3
"Manny Alatorre,Hunter Glass"                                              4
"Manny Alatorre,Hunter Glass,Anthony Base"                                 1
"Manny Alatorre,Isa Avina-Cardiel"                                         6
"Manny Alatorre,Isa Avina-Cardiel,Melina Beltran"                          1
"Manny Alatorre,Kevin Marquez"                                             3
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"Manny Alatorre,Melina Beltran"                                            1
"Manny Alatorre,Nikki Miller"                                              3
"Manny Alatorre,Phoenix Paralegal"                                         2
"Manny Alatorre,Sabah Ismail"                                              1
"Manny Alatorre,Sarika Mande"                                              1
"Manny Alatorre,Tainis Tapias"                                             1
"Manny Alatorre,Valerie L"                                                 2
"Manny Alatorre,Vincent Berube"                                            1
"Manny Alatorre,yuliana mendoza"                                           1
"Max Zinchini,Elio Riano"                                                  2
"Max Zinchini,Hunter Glass"                                                2
"Max Zinchini,Kevin Marquez"                                               3
"Max Zinchini,Yesica Sierra"                                               1
"Mike Larkin,Brandon DeLaura"                                              1
"Mike Larkin,Connor Huskisson"                                             1
"Mike Larkin,Daisy Meneses"                                                1
"Mike Larkin,Erika Cortes"                                                 1
"Mike Larkin,justin andra"                                                 1
"Mike Larkin,Kian Narani"                                                  1
"Mike Larkin,Melina Beltran"                                               1
"Mike Larkin,Stephanie Reynoso"                                            1
"Mike Larkin,Tony Sanchez"                                                 1
"Mike Larkin,yuliana mendoza"                                              1
"Nassir Diab,Abraham Sanchez"                                              2
"Nassir Diab,Brandon DeLaura"                                              1
"Nassir Diab,Brant Bishop"                                                 1
"Nassir Diab,Connor Huskisson"                                             2
"Nassir Diab,Daisy Meneses"                                                1
"Nassir Diab,Daniela Serrano"                                              1
"Nassir Diab,David Brown"                                                  1
"Nassir Diab,David Del Toro"                                               1
"Nassir Diab,Elio Riano"                                                   2
"Nassir Diab,Hunter Glass"                                                 2
"Nassir Diab,Iman Nejad"                                                   1
"Nassir Diab,Isa Avina-Cardiel"                                            1
"Nassir Diab,justin andra"                                                 1
"Nassir Diab,Kevin Ceballos"                                               1
"Nassir Diab,Kevin Marquez"                                                1
"Nassir Diab,Mike Larkin"                                                  2
"Nassir Diab,Nikki Miller"                                                 2
"Nassir Diab,Salman Ismail"                                                1
"Nassir Diab,Sarika Mande"                                                 3
"Nassir Diab,Sebastian Vasquez"                                            2
"Nassir Diab,Sufyaan Lakhani"                                              1
"Nassir Diab,Tainis Tapias"                                                1
"Nassir Diab,Tony Sanchez,Abraham Sanchez"                                 1
"Nassir Diab,Victoria Dang"                                                1
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"Nickolas Mossa,Abraham Sanchez"                                           2
"Nickolas Mossa,Elio Riano"                                                3
"Nickolas Mossa,Hunter Glass"                                              4
"Nickolas Mossa,Isa Avina-Cardiel"                                         3
"Nickolas Mossa,James Andra,Abraham Sanchez"                               1
"Nickolas Mossa,Kevin Marquez"                                             4
"Nickolas Mossa,Kevin Marquez,Hunter Glass"                                1
"Nickolas Mossa,Nikki Miller"                                              4
"Nickolas Mossa,Nikki Miller,Kevin Marquez"                                1
"Nickolas Mossa,Sabah Ismail"                                              1
"Nickolas Mossa,Valerie L"                                                 1
"Nickolas Mossa,Yesica Sierra,Hunter Glass"                                1
"Nickolas Mossa,yuliana mendoza"                                           1
"Nicole Morris,Amir nejad"                                                 1
"Nicole Morris,Carmen Marza"                                               1
"Nicole Morris,Christian Sangalang"                                        1
"Nicole Morris,Fausto Beleno"                                              1
"Nicole Morris,George Sanchez,Jennifer Andra"                              1
"Nicole Morris,Hunter Glass,Abraham Sanchez"                               1
"Nicole Morris,justin andra"                                               1
"Nicole Morris,Legal Phoenix"                                              1
"Nicole Morris,Nathan Perez"                                               2
"Nicole Morris,Nickolas Mossa"                                             1
"Nicole Morris,Phoenix Paralegal"                                          1
"Nicole Morris,Sebastian Vasquez"                                          1
"Nicole Morris,yuliana mendoza"                                            1
"Nikki Miller,Hunter Glass"                                                1
"Phoenix Paralegal,Lex Avina-Cardiel"                                      1
"Quynh Nguyen,Fausto Beleno"                                               1
"Quynh Nguyen,Jennifer Andra"                                              1
"Quynh Nguyen,Kimberly Torres"                                             1
"Quynh Nguyen,Mahmoud Bany-Mohammed"                                       1
"Quynh Nguyen,Valerie L"                                                   1
"Quynh Nguyen,yuliana mendoza"                                             1
"Rafael de la Torre,Kimberly Torres"                                       1
"Rafael de la Torre,Kimberly Torres,Nicole Morris"                         1
"Rafael de la Torre,Manny Alatorre,Kevin Marquez"                          1
"Rafael de la Torre,Mike Larkin"                                           1
"Rafael de la Torre,Reham Zin"                                             1
"Rafael de la Torre,Samuel Pierce"                                         1
"Rafael de la Torre,Sophia Goins"                                          1
"Ralph Breneville,Abraham Sanchez"                                         3
"Ralph Breneville,andre alvarenga"                                         1
"Ralph Breneville,Hunter Glass"                                            2
"Ralph Breneville,Isa Avina-Cardiel"                                       3
"Ralph Breneville,Kevin Marquez"                                           1
"Ralph Breneville,Kimberly Torres"                                         1
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"Ralph Breneville,Lex Avina-Cardiel"                                       1
"Ralph Breneville,Nicole Morris"                                           1
"Ralph Breneville,Nikki Miller"                                            2
"Ralph Breneville,Samuel Pierce"                                           1
"Ralph Breneville,Victoria Dang"                                           1
"Ralph Breneville,Vincent Berube"                                          2
"Ralph Breneville,yuliana mendoza"                                         1
"Reham Zin,Fausto Beleno"                                                  1
"Reham Zin,Ivis Parada"                                                    1
"Reham Zin,James Andra"                                                    1
"Reham Zin,Jarod Vaughan"                                                  1
"Reham Zin,Kimberly Torres"                                                1
"Reham Zin,Max Zinchini"                                                   1
"Reham Zin,Quynh Nguyen"                                                   1
"Reham Zin,Sebastian Vasquez"                                              1
"Reham Zin,Stephanie Reynoso"                                              1
"Reham Zin,Tainis Tapias"                                                  1
"Ronald Apodaca,Abraham Sanchez"                                           1
"Ronald Apodaca,Ivis Parada"                                               1
"Ronald Apodaca,Victoria Dang"                                             1
"Sabah Ismail,Golam Khan"                                                  1
"Saif Ismail,Abraham Sanchez"                                              1
"Saif Ismail,David Brown"                                                  1
"Saif Ismail,Hunter Glass,Vincent Berube"                                  1
"Saif Ismail,Iman Nejad"                                                   1
"Saif Ismail,Isa Avina-Cardiel"                                            1
"Saif Ismail,Kevin Marquez"                                                1
"Saif Ismail,Kimberly Torres"                                              1
"Salma Aranda,Ali Mohamed"                                                 1
"Salma Aranda,bonnie romero"                                               1
"Salma Aranda,Brandon DeLaura"                                             1
"Salma Aranda,Daniel Orellana"                                             1
"Salma Aranda,Erica Kline"                                                 1
"Salma Aranda,Griselda Reina"                                              1
"Salma Aranda,Jas Sanchez"                                                 1
"Salma Aranda,Jessenia Oseguera"                                           1
"Salma Aranda,Jessenia Oseguera,Sebastian Vasquez"                         1
"Salma Aranda,Josue Alvarez"                                               1
"Salma Aranda,Karen O'Connell"                                             1
"Salma Aranda,Kevin Ceballos"                                              2
"Salma Aranda,Khalil Beshoy"                                               1
"Salma Aranda,Kian Narani"                                                 2
"Salma Aranda,Kimberly Torres"                                             1
"Salma Aranda,Manny Alatorre"                                              1
"Salma Aranda,Nassir Diab"                                                 1
"Salma Aranda,Salman Ismail"                                               1
"Salma Aranda,Tainis Tapias"                                               1
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"Salman Ismail,Abraham Sanchez"                                            2
"Salman Ismail,Anthony Base,Hunter Glass"                                  1
"Salman Ismail,Elio Riano"                                                 2
"Salman Ismail,Fausto Beleno"                                              1
"Salman Ismail,Griselda Reina"                                             1
"Salman Ismail,Hunter Glass"                                               3
"Salman Ismail,Isa Avina-Cardiel"                                          1
"Salman Ismail,Kevin Marquez"                                              1
"Salman Ismail,Manny Alatorre"                                             1
"Salman Ismail,Nikki Miller"                                               1
"Salman Ismail,Sarika Mande"                                               2
"Salman Ismail,Sebastian Vasquez"                                          2
"Salman Ismail,Victoria Dang"                                              1
"Salman Ismail,yuliana mendoza"                                            1
"Samuel Pierce,Abraham Sanchez"                                            1
"Samuel Pierce,andre alvarenga"                                            1
"Samuel Pierce,Elio Riano"                                                 1
"Samuel Pierce,Emely Acevedo"                                              1
"Samuel Pierce,Hunter Glass"                                               3
"Samuel Pierce,Isa Avina-Cardiel"                                          1
"Samuel Pierce,James Andra"                                                1
"Samuel Pierce,Karen O'Connell"                                            1
"Samuel Pierce,Kevin Marquez"                                              6
"Samuel Pierce,Khalil Beshoy"                                              1
"Samuel Pierce,Melina Beltran"                                             1
"Samuel Pierce,Nicole Morris"                                              1
"Samuel Pierce,Nikki Miller"                                               2
"Samuel Pierce,Salman Ismail"                                              1
"Samuel Pierce,Tony Sanchez"                                               1
"Samuel Pierce,Vincent Berube"                                             1
"Sarah Ross,Fausto Beleno"                                                 1
"Sarah Ross,Nathan Perez"                                                  1
"Sarika Mande,Kevin Marquez"                                               1
"Sarika Mande,Nikki Miller"                                                1
"Sebastian Vasquez,Jess Pena"                                              1
"Sebastian Vasquez,Karen O'Connell"                                        1
"Sebastian Vasquez,Kian Narani"                                            1
"Sebastian Vasquez,Phoenix Paralegal"                                      1
"Sebastian Vasquez,Stephanie Reynoso"                                      1
"Sebastian Vasquez,Victoria Dang,Jess Pena"                                1
"Stephanie Reynoso,Anthony Base"                                           1
"Stephanie Reynoso,Brandon DeLaura"                                        1
"Stephanie Reynoso,Ivis Parada,Melina Beltran"                             1
"Stephanie Reynoso,Jennifer Andra"                                         1
"Stephanie Reynoso,Josey Harvey"                                           1
"Stephanie Reynoso,Kimberly Torres"                                        1
"Stephanie Reynoso,Kimberly Torres,Lex Avina-Cardiel"                      1
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"Stephanie Reynoso,yuliana mendoza"                                        2
"Sufyaan Lakhani,Ivis Parada,Melina Beltran"                               1
"Sufyaan Lakhani,Kimberly Torres"                                          1
"Sufyaan Lakhani,Sebastian Vasquez"                                        1
"Sulaiman Khan,Ali Mohamed"                                                1
"Sulaiman Khan,bonnie romero,James Andra"                                  1
"Sulaiman Khan,Erica Kline"                                                2
"Sulaiman Khan,Golam Khan"                                                 1
"Sulaiman Khan,Hanya Zargaran"                                             1
"Sulaiman Khan,Jarod Vaughan"                                              1
"Sulaiman Khan,Jennifer Andra"                                             1
"Sulaiman Khan,Kian Narani"                                                1
"Sulaiman Khan,Melina Beltran"                                             1
"Sulaiman Khan,Salma Aranda"                                               1
"Sulaiman Khan,Sebastian Vasquez"                                          1
"Sulaiman Khan,Tainis Tapias"                                              1
"Sulaiman Khan,yuliana mendoza"                                            1
"Tainis Tapias,bonnie romero"                                              1
"Tainis Tapias,Daniel Orellana"                                            1
"Tainis Tapias,Jas Sanchez"                                                1
"Tainis Tapias,Khalil Beshoy"                                              1
"Tainis Tapias,Kimberly Torres"                                            1
"Tainis Tapias,Melina Beltran"                                             2
"Tainis Tapias,Nassir Diab"                                                1
"Tainis Tapias,Reham Zin"                                                  1
"Tainis Tapias,Sulaiman Khan"                                              1
"Tony Sanchez,Abraham Sanchez"                                             1
"Tony Sanchez,Anthony Base"                                                1
"Tony Sanchez,Brandon DeLaura"                                             1
"Tony Sanchez,Elio Riano"                                                  3
"Tony Sanchez,Elio Riano,Kevin Marquez"                                    1
"Tony Sanchez,Hunter Glass"                                                2
"Tony Sanchez,Iman Nejad"                                                  1
"Tony Sanchez,Kevin Marquez"                                               3
"Tony Sanchez,Kimberly Torres"                                             1
"Tony Sanchez,Mike Larkin"                                                 1
"Tony Sanchez,Nikki Miller"                                                1
"Tony Sanchez,Sebastian Vasquez"                                           1
"Triana Camero,Abraham Sanchez"                                            1
"Triana Camero,Anthony Base"                                               1
"Triana Camero,Elio Riano"                                                 1
"Triana Camero,Vincent Berube"                                             1
"Valerie L,Anthony Base"                                                   1
"Victoria Dang,Abraham Sanchez"                                            2
"Victoria Dang,George Sanchez"                                             1
"Victoria Dang,justin andra"                                               1
"Victoria Dang,Samuel Pierce"                                              1
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"Victoria Dang,Sufyaan Lakhani"                                            1
"Victoria Dang,Vincent Berube"                                             1
"Vincent Berube,Hunter Glass"                                              1
"Yesica Sierra,Emely Acevedo"                                              1
"Yesica Sierra,Melina Beltran"                                             2
"yuliana mendoza,Abraham Sanchez"                                          1
"yuliana mendoza,Anthony Base"                                             1
"yuliana mendoza,Kimberly Torres"                                          3
"yuliana mendoza,Melina Beltran"                                           1
"yuliana mendoza,Quynh Nguyen"                                             1
"yuliana mendoza,Stephanie Reynoso"                                        1
Abe Flores                                                               175
Abraham Sanchez                                                          226
Adriana Hernandez                                                         23
Ali Mohamed                                                              331
Amir nejad                                                               238
andre alvarenga                                                          187
Andrea Albor                                                             954
Anjeanette Chek                                                           26
Anthony Base                                                             103
bonnie romero                                                            236
Brandon DeLaura                                                          282
Brant Bishop                                                             177
Carmen Marza                                                             339
Christian Sangalang                                                      255
Christopher Cole                                                          17
Cindy Vazquez                                                            301
Connor Huskisson                                                         386
Daisy Meneses                                                            172
Daniel Orellana                                                          331
Daniela Serrano                                                           36
David Brown                                                                4
David Del Toro                                                            50
Elio Riano                                                               118
Emely Acevedo                                                            171
Erica Kline                                                              270
Erika Cortes                                                              12
Fausto Beleno                                                            261
George Sanchez                                                           264
Golam Khan                                                               371
Griselda Reina                                                           182
Hanner Angulo                                                            822
Hanya Zargaran                                                           243
Humza Shariff                                                            117
Hunter Glass                                                             107
Iman Nejad                                                               170
Isa Avina-Cardiel                                                        101
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      Declaration of Brad Lee with Exhs A-G in support of Trustee Page 161 of 189

Ivis Parada                                                             115
James Andra                                                             275
James Hinson                                                             18
Jarod Vaughan                                                           238
Jas Sanchez                                                             274
Jasmin Amezcua                                                          145
Jason Cast                                                               10
Jennifer Andra                                                          448
Jess Pena                                                               272
Jessenia Oseguera                                                       307
Jolie R                                                                   2
Josey Harvey                                                            310
Josue Alvarez                                                           159
justin andra                                                            270
Kaitlyn Campuzano                                                         2
Karen O'Connell                                                         284
Karen Saldana-Lopez                                                     150
Karla Bravo                                                              14
Kevin Ceballos                                                          260
Kevin Marquez                                                            92
Khalil Beshoy                                                           270
Kian Narani                                                             337
Kimberly Torres                                                         292
Legal Phoenix                                                            48
Lester Perez                                                             70
Lex Avina-Cardiel                                                       239
Mahmoud Bany-Mohammed                                                   227
Manny Alatorre                                                          430
Max Zinchini                                                            100
Melina Beltran                                                          376
Mike Larkin                                                             406
Nassir Diab                                                             486
Nathan Perez                                                              6
Nickolas Mossa                                                          313
Nicole Morris                                                           269
Nikki Miller                                                             89
Phoenix Paralegal                                                        97
Quynh Nguyen                                                            436
Rafael de la Torre                                                      129
Ralph Breneville                                                         50
Reham Zin                                                               287
Ronald Apodaca                                                           27
Sabah Ismail                                                            243
Saif Ismail                                                             174
Salma Aranda                                                            163
Salman Ismail                                                           307
Samuel Pierce                                                           541
  Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
       Declaration of Brad Lee with Exhs A-G in support of Trustee Page 162 of 189

Sarah Ross                                                                 76
Sarika Mande                                                               32
Sebastian Vasquez                                                         334
Selina Taing                                                               42
Sophia Goins                                                                2
Stephanie Reynoso                                                         344
Sufyaan Lakhani                                                           444
Sulaiman Khan                                                             311
Tainis Tapias                                                             258
Tony Sanchez                                                              265
Triana Camero                                                              43
Ty Carss                                                                   28
Valerie L                                                                  53
Victoria Dang                                                             246
Vincent Berube                                                             14
Yesica Sierra                                                             480
yuliana mendoza                                                           318
(blank)                                                                  7806
Grand Total                                                             30318
 Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
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Agent                                   Total Calls Total Fuck Ups Fuck Up Ratio
David Del Toro                                    50             49       98.00%
Daniela Serrano                                   36             35       97.22%
Lester Perez                                      70             68       97.14%
Fausto Beleno                                   261             252       96.55%
Adriana Hernandez                                 23             22       95.65%
Triana Camero                                     43             41       95.35%
Sebastian Vasquez                               334             313       93.71%
yuliana mendoza                                 318             290       91.19%
Tainis Tapias                                   258             234       90.70%
Rafael de la Torre                              129             117       90.70%
Christopher Cole                                  17             15       88.24%
Hanya Zargaran                                  243             192       79.01%
Karen O'Connell                                 284             222       78.17%
Salma Aranda                                    163             127       77.91%
Karen Saldana-Lopez                             150             114       76.00%
andre alvarenga                                 187             140       74.87%
justin andra                                    270             202       74.81%
Erica Kline                                     270             201       74.44%
Josue Alvarez                                   159             116       72.96%
Brant Bishop                                    177             128       72.32%
Max Zinchini                                    100              71       71.00%
George Sanchez                                  264             187       70.83%
Brandon DeLaura                                 282             188       66.67%
Kevin Ceballos                                  260             172       66.15%
Cindy Vazquez                                   301             195       64.78%
Carmen Marza                                    339             218       64.31%
Abe Flores                                      175             100       57.14%
Connor Huskisson                                386             218       56.48%
Christian Sangalang                             255             141       55.29%
Reham Zin                                       287             158       55.05%
Jarod Vaughan                                   238             131       55.04%
Ralph Breneville                                  50             27       54.00%
Humza Shariff                                   117              61       52.14%
Ali Mohamed                                     331             172       51.96%
Emely Acevedo                                   171              87       50.88%
Daniel Orellana                                 331             164       49.55%
Jas Sanchez                                     274             133       48.54%
Salman Ismail                                   307             142       46.25%
Khalil Beshoy                                   270             120       44.44%
Iman Nejad                                      170              75       44.12%
James Andra                                     275             115       41.82%
Stephanie Reynoso                               344             136       39.53%
Sarah Ross                                        76             30       39.47%
Mahmoud Bany-Mohammed                           227              84       37.00%
Nickolas Mossa                                  313             109       34.82%
Anjeanette Chek                                   26              9       34.62%
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Agent                                    Total Calls Total Fuck Ups Fuck Up Ratio
Nassir Diab                                      486             168       34.57%
Ronald Apodaca                                     27              9       33.33%
Manny Alatorre                                   430             140       32.56%
Golam Khan                                       371             119       32.08%
Mike Larkin                                      406             125       30.79%
Sulaiman Khan                                    311              95       30.55%
Tony Sanchez                                     265              78       29.43%
Saif Ismail                                      174              47       27.01%
Amir nejad                                       238              64       26.89%
Jess Pena                                        272              73       26.84%
Sabah Ismail                                     243              64       26.34%
Lex Avina-Cardiel                                239              62       25.94%
Yesica Sierra                                    480             120       25.00%
Jasmin Amezcua                                   145              33       22.76%
Quynh Nguyen                                     436              90       20.64%
Jennifer Andra                                   448              91       20.31%
Nicole Morris                                    269              51       18.96%
bonnie romero                                    236              44       18.64%
Griselda Reina                                   182              32       17.58%
Josey Harvey                                     310              54       17.42%
Sufyaan Lakhani                                  444              71       15.99%
Samuel Pierce                                    541              68       12.57%
Jessenia Oseguera                                307              32       10.42%
Kian Narani                                      337              32        9.50%
Victoria Dang                                    246              21        8.54%
Daisy Meneses                                    172              11        6.40%
Abraham Sanchez                                  226               4        1.77%
Nikki Miller                                       89              1        1.12%
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                                              Declaration of Brad Lee with Exhs A-G in support of Trustee Page 165 of 189

      86400                                                     450                                                                                                          50

Date        Total Wasted Seconds Total Wasted Time Date          Total Missed Calls Total Required Seconds    Total Required Time    After Change   Additional Reps Needed
5/1/2023                    101345          28:09:05 5/1/2023                    202                    90900               25:15:00 Good
5/2/2023                    118452          32:54:12 5/2/2023                    207                    93150               25:52:30 Good
5/3/2023                     81340          22:35:40 5/3/2023                    170                    76500               21:15:00 Good
5/4/2023                    138123          38:22:03 5/4/2023                    178                    80100               22:15:00 Good
5/5/2023                    109911          30:31:51 5/5/2023                    407                   183150               50:52:30 Bad                                  8.1
5/6/2023                         0            0:00:00 5/6/2023                   202                    90900               25:15:00 Bad                                  4.0
5/7/2023                         0            0:00:00 5/7/2023                   100                    45000               12:30:00 Bad                                  2.0
5/8/2023                    152079          42:14:39 5/8/2023                    976                   439200              122:00:00 Bad                                 19.5
5/9/2023                    123842          34:24:02 5/9/2023                    360                   162000               45:00:00 Bad                                  7.2
5/10/2023                   120928          33:35:28 5/10/2023                   332                   149400               41:30:00 Bad                                  6.6
5/11/2023                   104422          29:00:22 5/11/2023                   275                   123750               34:22:30 Bad                                  5.5
5/12/2023                   106190          29:29:50 5/12/2023                   258                   116100               32:15:00 Bad                                  5.2
5/15/2023                   106462          29:34:22 5/15/2023                   296                   133200               37:00:00 Bad                                  5.9
Grand Total                1263094                   Grand Total               3963
                                                                                                                          Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
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        Name          Date Interval      Time Interval      Service Level   Total Inbound Calls   Total Completed Short-Abandoned   Long-Abandoned   Hold Abandoned   Total Callback   Total Missed Calls   Inbound Declined   Total Overflowed   Total Transferred In   Total Transferred Out   Upgraded to Video     Inbound Avg. Voice Call    Inbound Longest     Inbound Shortest Call    Avg. Live Waiting    Longest Live Waiting    Shortest Live Waiting    Avg. Callback Waiting    Longest Callback Waiting
                                                                                                        Calls           Calls             Calls            Calls       Requested                                  Calls                                                                                Call               Talking Duration        Talking Duration      Talking Duration           Duration               Duration                Duration                 Duration                   Duration
Resolutions           5/1/2023        1 Day                                 15                    15                                                                  0                0                                       0                  15                     1                                           0:08:02                     0:34:04             0:00:23                  0:00:16              0:01:25                 0:00:02                  0:00:00                  0:00:00
Resolutions           5/2/2023        1 Day                                 7                     7                                                                   0                0                                       0                  7                                                                  0:06:06                     0:26:11             0:00:17                  0:00:13              0:00:57                 0:00:02                  0:00:00                  0:00:00
Resolutions           5/3/2023        1 Day                                 12                    12                                                                  0                1                                       0                  12                                                                 0:11:06                     0:18:34             0:03:00                  0:00:13              0:00:42                 0:00:01                  0:00:00                  0:00:00
Resolutions           5/4/2023        1 Day                                 7                     7                                                                   0                3                                       0                  7                                                                  0:10:08                     0:25:21             0:00:41                  0:00:35              0:02:04                 0:00:02                  0:00:00                  0:00:00
Resolutions           5/5/2023        1 Day                                 13                    13                                                                  0                2                                       0                  13                     1                                           0:08:22                     0:35:44             0:00:18                  0:00:11              0:00:41                 0:00:02                  0:00:00                  0:00:00
Resolutions           5/8/2023        1 Day                                 5                     5                                                                   0                4                                       0                  6                                                                  0:01:37                     0:04:31             0:00:01                  0:00:30              0:01:30                 0:00:03                  0:00:00                  0:00:00
Resolutions           5/9/2023        1 Day                                 17                    16                                1                                 0                1                                       0                  20                     1                                           0:09:56                     0:38:15             0:00:20                  0:00:10              0:00:34                 0:00:02                  0:00:00                  0:00:00
Resolutions           5/10/2023       1 Day                                 12                    12                                                                  0                0                                       0                  12                     1                                           0:10:13                     0:35:39             0:00:38                  0:00:09              0:00:42                 0:00:02                  0:00:00                  0:00:00
Resolutions           5/11/2023       12:00 AM - 11:59 PM                   10                    10                                                                  0                0                    1                  0                  11                                                                 0:07:34                     0:34:41             0:00:08                  0:00:12              0:00:36                 0:00:02                  0:00:00                  0:00:00
Outbound Dialer NSF   5/2/2023        1 Day                 42.00%          14                    14                                                                  0                1                                       0                  2                      1                                           0:11:15                     0:40:07             0:00:32                  0:00:31              0:01:39                 0:00:05                  0:00:00                  0:00:00
Outbound Dialer NSF   5/3/2023        1 Day                                 2                     2                                                                   0                0                                       0                  2                                                                  0:12:34                     0:14:48             0:10:20                  0:00:09              0:00:14                 0:00:04                  0:00:00                  0:00:00
Outbound Dialer NSF   5/4/2023        1 Day                 57.00%          15                    14                                                 1                0                2                                       0                  1                      1                                           0:09:06                     0:19:57             0:00:50                  0:00:19              0:01:16                 0:00:03                  0:00:00                  0:00:00
Outbound Dialer NSF   5/11/2023       12:00 AM - 11:59 PM                   1                     1                                                                   0                0                                       0                  2                                                                  1:10:36                     2:20:38             0:00:35                  0:00:37              0:00:43                 0:00:31                  0:00:00                  0:00:00
Legal                 5/1/2023        1 Day                                 1                     1                                                                   0                0                                       0                  1                                                                  0:21:25                     0:21:25             0:21:25                  0:00:07              0:00:07                 0:00:07                  0:00:00                  0:00:00
Legal                 5/2/2023        1 Day                                                                                                                                                                                                                                                                          0:00:00                     0:00:00             0:00:00                  0:00:00              0:00:00                 0:00:00                  0:00:00                  0:00:00
Legal                 5/3/2023        1 Day                                 1                                                       1                                 0                3                                       0                                                                                     0:00:00                     0:00:00             0:00:00                  0:01:05              0:01:35                 0:00:35                  0:00:00                  0:00:00
Legal                 5/4/2023        1 Day                                 2                     2                                                                   0                0                                       0                  2                                                                  0:11:21                     0:20:07             0:02:35                  0:00:06              0:00:08                 0:00:04                  0:00:00                  0:00:00
Legal                 5/5/2023        1 Day                                                                                                                                                                                                                                                                          0:00:00                     0:00:00             0:00:00                  0:00:00              0:00:00                 0:00:00                  0:00:00                  0:00:00
Legal                 5/8/2023        1 Day                                 2                     2                                                                   0                0                                       0                  2                                                                  0:20:50                     0:26:53             0:14:47                  0:00:03              0:00:04                 0:00:03                  0:00:00                  0:00:00
Legal                 5/9/2023        1 Day                                 2                     2                                                                   0                0                                       0                  2                                                                  0:17:09                     0:18:20             0:15:59                  0:00:04              0:00:05                 0:00:03                  0:00:00                  0:00:00
Legal                 5/10/2023       1 Day                                 4                     4                                                                   0                0                                       0                  4                                                                  0:05:03                     0:11:24             0:01:13                  0:00:06              0:00:07                 0:00:04                  0:00:00                  0:00:00
Legal                 5/11/2023       12:00 AM - 11:59 PM                   2                     1                                                                   0                0                                       1                  1                                                                  0:05:23                     0:05:23             0:05:23                  0:05:03              0:10:00                 0:00:06                  0:00:00                  0:00:00
Spanish Queue         5/1/2023        1 Day                                 2                     2                                                                   0                0                                       0                  2                                                                  0:08:34                     0:08:54             0:08:14                  0:01:53              0:03:30                 0:00:17                  0:00:00                  0:00:00
Spanish Queue         5/2/2023        1 Day                                 13                    13                                                                  0                0                                       0                  14                     2                                           0:12:52                     1:05:28             0:00:23                  0:00:24              0:01:53                 0:00:02                  0:00:00                  0:00:00
Spanish Queue         5/3/2023        1 Day                                 6                     6                                                                   0                0                                       0                  6                      1                                           0:04:54                     0:11:04             0:00:16                  0:01:00              0:02:01                 0:00:03                  0:00:00                  0:00:00
Spanish Queue         5/4/2023        1 Day                                 9                     8                                                                   0                0                                       1                  7                                                                  0:11:09                     0:22:46             0:00:28                  0:01:38              0:05:00                 0:00:04                  0:00:00                  0:00:00
Spanish Queue         5/5/2023        1 Day                                 11                    11                                                                  0                0                                       0                  10                                                                 0:17:32                     0:30:04             0:05:43                  0:02:09              0:05:00                 0:00:05                  0:00:00                  0:00:00
Spanish Queue         5/8/2023        1 Day                                 4                     2                                                                   0                0                                       2                                                                                     0:00:00                     0:00:00             0:00:00                  0:05:00              0:05:00                 0:05:00                  0:00:00                  0:00:00
Spanish Queue         5/9/2023        1 Day                                 2                     1                                                                   0                0                                       1                                                                                     0:00:00                     0:00:00             0:00:00                  0:05:00              0:05:00                 0:05:00                  0:00:00                  0:00:00
Spanish Queue         5/10/2023       1 Day                                 9                     8                                                                   0                1                                       1                  2                                                                  0:11:46                     0:13:40             0:09:53                  0:03:53              0:05:00                 0:00:04                  0:00:00                  0:00:00
Spanish Queue         5/11/2023       12:00 AM - 11:59 PM                   7                     6                                                                   0                0                                       1                  4                                                                  0:07:01                     0:16:26             0:00:46                  0:03:56              0:05:00                 0:01:48                  0:00:00                  0:00:00
Retention             5/1/2023        1 Day                 49.00%          157                   124            5                  24               1                0                13                   4                  2                  61                     1                                           0:10:44                     1:06:36             0:00:06                  0:00:55              0:05:00                 0:00:02                  0:00:00                  0:00:00
Retention             5/2/2023        1 Day                 69.00%          114                   97             3                  11                                0                5                    8                  3                  47                                                                 0:10:41                     0:53:14             0:00:07                  0:00:40              0:05:00                 0:00:02                  0:00:00                  0:00:00
Retention             5/3/2023        1 Day                 57.00%          118                   94             4                  17               1                0                8                    1                  2                  36                                                                 0:10:14                     1:05:38             0:00:22                  0:00:57              0:05:00                 0:00:03                  0:00:00                  0:00:00
Retention             5/4/2023        1 Day                 73.00%          95                    82             1                  7                3                0                5                    3                  2                  40                                                                 0:11:02                     0:42:58             0:00:01                  0:00:39              0:05:00                 0:00:03                  0:00:00                  0:00:00
Retention             5/5/2023        1 Day                 81.00%          66                    60             2                  3                                 0                10                   2                  1                  25                     1                                           0:12:13                     0:38:10             0:00:07                  0:00:35              0:05:00                 0:00:02                  0:00:00                  0:00:00
Retention             5/8/2023        1 Day                 43.00%          141                   104            1                  28               2                0                17                   5                  6                  54                                                                 0:13:32                     1:13:57             0:00:04                  0:01:21              0:05:00                 0:00:03                  0:00:00                  0:00:00
Retention             5/9/2023        1 Day                 38.00%          128                   86             3                  27               3                0                16                   8                  9                  48                                                                 0:10:09                     0:35:09             0:00:08                  0:01:34              0:05:00                 0:00:01                  0:00:00                  0:00:00
Retention             5/10/2023       1 Day                 54.00%          144                   106            10                 21               4                0                12                   5                  3                  52                                                                 0:13:39                     1:17:44             0:00:05                  0:00:54              0:05:00                 0:00:01                  0:00:00                  0:00:00
Retention             5/11/2023       12:00 AM - 11:59 PM   64.00%          119                   97             10                 11               1                0                10                   3                  0                  47                     2                                           0:12:23                     0:41:46             0:00:01                  0:00:33              0:04:25                 0:00:01                  0:00:00                  0:00:00
General               5/1/2023        1 Day                 82.00%          1126                  1012           31                 69               13               0                78                   18                 0                  9                      129                                         0:08:11                     2:01:06             0:00:01                  0:01:08              0:13:54                 0:00:01                  0:00:00                  0:00:00
General               5/2/2023        1 Day                 96.00%          889                   836            21                 22               10               0                41                   4                  0                  11                     109                                         0:08:25                     1:29:07             0:00:01                  0:00:25              0:11:21                 0:00:01                  0:00:00                  0:00:00
General               5/3/2023        1 Day                 96.00%          876                   820            19                 30               6                0                49                   1                  0                  13                     99                                          0:09:11                     2:26:02             0:00:01                  0:00:32              0:20:34                 0:00:01                  0:00:00                  0:00:00
General               5/4/2023        1 Day                 97.00%          760                   709            18                 22               10               0                39                   1                  1                  12                     85                                          0:09:25                     2:12:33             0:00:01                  0:00:20              0:12:59                 0:00:01                  0:00:00                  0:00:00
General               5/5/2023        1 Day                 35.00%          1546                  1124           110                302              10               0                88                   5                  0                  1                      71                                          0:08:48                     2:28:59             0:00:01                  0:02:46              0:14:23                 0:00:01                  0:00:00                  0:00:00
General               5/8/2023        1 Day                 3.00%           3119                  1095           105                1443             10               0                56                   5                  465                1                      97                                          0:10:22                     2:28:16             0:00:01                  0:06:40              0:26:33                 0:00:01                  0:00:00                  0:00:00
General               5/9/2023        1 Day                 12.00%          1870                  1146           75                 626              20               0                70                   7                  3                  1                      87                                          0:09:30                     2:28:56             0:00:02                  0:04:04              0:30:00                 0:00:01                  0:00:00                  0:00:00
General               5/10/2023       1 Day                 44.00%          1464                  1134           68                 250              11               0                72                   12                 1                  2                      103                                         0:09:48                     2:26:32             0:00:01                  0:02:20              0:15:35                 0:00:01                  0:00:00                  0:00:00
General               5/11/2023       12:00 AM - 11:59 PM   30.00%          1562                  1034           55                 455              16               0                58                   6                  2                                         90                                          0:09:34                     1:31:36             0:00:01                  0:04:04              0:28:08                 0:00:01                  0:00:00                  0:00:00
Columbia Retention    5/10/2023       1 Day                 24.00%          24                    18                                1                                 0                3                                       5                  2                      5                                           0:05:11                     0:11:58             0:00:29                  0:03:37              0:10:00                 0:00:06                  0:00:00                  0:00:00
Columbia Retention    5/11/2023       12:00 AM - 11:59 PM   100.00%         3                     3                                                                   1                0                                       0                  1                                                                  0:02:50                     0:07:10             0:00:14                  0:00:17              0:00:27                 0:00:08                  0:06:52                  0:06:52
Resolutions           5/12/2023       12:00 AM - 11:59 PM                   12                    12                                                                  0                0                    2                  0                  10                                                                 0:05:54                     0:17:32             0:00:03                  0:01:41              0:15:00                 0:00:02                  0:00:00                  0:00:00
Legal                 5/12/2023       12:00 AM - 11:59 PM                                                                                                                                                                                                                                                            0:00:00                     0:00:00             0:00:00                  0:00:00              0:00:00                 0:00:00                  0:00:00                  0:00:00
Spanish Queue         5/12/2023       12:00 AM - 11:59 PM                   7                     7                                                                   0                0                                       0                  6                      1                                           0:11:24                     0:19:15             0:02:12                  0:02:09              0:05:00                 0:00:06                  0:00:00                  0:00:00
Retention             5/12/2023       12:00 AM - 11:59 PM   51.00%          139                   101            12                 20               1                0                7                    3                  5                  45                     2                                           0:12:45                     2:22:14             0:00:05                  0:00:56              0:05:00                 0:00:02                  0:00:00                  0:00:00
General               5/12/2023       12:00 AM - 11:59 PM   37.00%          1374                  1048           52                 263              10               0                58                   4                  1                  1                      89                                          0:09:41                     2:14:54             0:00:01                  0:02:57              0:30:00                 0:00:01                  0:00:00                  0:00:00
Columbia Retention    5/12/2023       12:00 AM - 11:59 PM   0               3                     1                                 2                                 0                0                                       0                  2                                                                  0:11:35                     0:22:09             0:01:01                  0:00:22              0:00:33                 0:00:08                  0:00:00                  0:00:00
Resolutions           5/15/2023       12:00 AM - 11:59 PM                   6                     4                                                  1                0                0                                       1                  6                      1                                           0:22:13                     0:54:29             0:05:34                  0:01:27              0:06:48                 0:00:04                  0:00:00                  0:00:00
Legal                 5/15/2023       12:00 AM - 11:59 PM                                                                                                                                                                                                                                                            0:00:00                     0:00:00             0:00:00                  0:00:00              0:00:00                 0:00:00                  0:00:00                  0:00:00
Spanish Queue         5/15/2023       12:00 AM - 11:59 PM                   7                     6                                                                   0                0                                       1                  2                                                                  0:16:17                     0:19:27             0:13:08                  0:04:38              0:05:00                 0:02:02                  0:00:00                  0:00:00
Retention             5/15/2023       12:00 AM - 11:59 PM   39.00%          169                   122            10                 28               2                0                15                   4                  7                  66                     1                                           0:14:45                     2:03:10             0:00:01                  0:01:10              0:05:00                 0:00:02                  0:00:00                  0:00:00
General               5/15/2023       12:00 AM - 11:59 PM   10.00%          1817                  1084           80                 636              15               0                45                   4                  2                                         107                                         0:09:53                     1:05:48             0:00:01                  0:05:11              0:14:11                 0:00:01                  0:00:00                  0:00:00
Columbia Retention    5/15/2023       12:00 AM - 11:59 PM   0               2                     2                                                                   0                13                   1                  0                                         1                                           0:05:37                     0:05:56             0:05:18                  0:03:01              0:06:27                 0:00:30                  0:00:00                  0:00:00




                                                                                                                                                                                                                                              Page 1 of 2
                                                                                                                          Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
                                                                                                                               Declaration of Brad Lee with Exhs A-G in support of Trustee Page 167 of 189




 Shortest Callback Waiting   Avg. Callback Pending   Longest Callback Pending    Shortest Callback Pending   Inbound Avg. Wrap-up    Inbound Longest Wrap-up   Inbound Shortest Call Wrap-up    Avg. Inbound Ring    Inbound Longest Ring    Shortest Inbound Ring   Avg. Inbound Handling    Inbound Longest Call    Shortest Inbound     Avg. Outbound    Outbound Longest    Shortest Outbound   Outbound Calls   Outbound Hang-up   Outbound Short Calls   Outbound Long Calls         TimeZone
         Duration                  Duration                  Duration                    Duration                  Duration                  Duration                    Duration                    Duration              Duration                Duration                 Duration            Handling Duration     Handling Duration     Ring Duration      Ring Duration       Ring Duration                           Calls
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:04                0:00:05                    0:00:03                         0:00:03              0:00:09                 0:00:02                  0:08:05                 0:34:04                 0:00:23              0:00:03           0:00:09            0:00:02              98               5                  42                     51                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:06                0:00:13                    0:00:03                         0:00:03              0:00:08                 0:00:02                  0:06:09                 0:26:11                 0:00:25              0:00:03           0:00:08            0:00:02              80               6                  25                     49                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:01:22                0:07:20                    0:00:03                         0:00:07              0:00:30                 0:00:01                  0:11:47                 0:18:34                 0:03:03              0:00:07           0:00:30            0:00:01              82               6                  39                     37                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:05:31                0:16:18                    0:00:03                         0:00:13              0:00:30                 0:00:02                  0:12:30                 0:25:34                 0:00:41              0:00:13           0:00:30            0:00:02              53               8                  16                     29                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:01:03                0:04:14                    0:00:03                         0:00:09              0:00:30                 0:00:02                  0:08:52                 0:35:44                 0:00:18              0:00:09           0:00:30            0:00:02              80               10                 24                     46                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:00                0:00:00                    0:00:00                         0:00:18              0:00:30                 0:00:03                  0:01:37                 0:04:31                 0:00:01              0:00:18           0:00:30            0:00:03              41                                  14                     27                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:01:16                0:06:24                    0:00:03                         0:00:07              0:00:30                 0:00:02                  0:10:33                 0:41:58                 0:00:20              0:00:07           0:00:30            0:00:02              96               4                  48                     44                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:03                0:00:05                    0:00:03                         0:00:06              0:00:27                 0:00:02                  0:10:15                 0:35:39                 0:00:38              0:00:06           0:00:27            0:00:02              86               5                  36                     45                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:03                0:00:04                    0:00:03                         0:00:08              0:00:24                 0:00:02                  0:07:35                 0:34:44                 0:00:08              0:00:08           0:00:24            0:00:02              86               7                  33                     46                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:22:45                2:02:10                    0:03:58                         0:00:07              0:00:17                 0:00:03                  0:29:08                 2:17:24                 0:01:33              0:00:00           0:00:00            0:00:00                                                                                               America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:13:17                0:18:10                    0:08:24                         0:00:09              0:00:14                 0:00:04                  0:25:51                 0:32:58                 0:18:44              0:00:00           0:00:00            0:00:00                                                                                               America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:03:51                0:12:49                    0:00:05                         0:00:12              0:00:30                 0:00:03                  0:11:56                 0:21:40                 0:02:47              0:00:00           0:00:00            0:00:00                                                                                               America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:04:31                0:04:31                    0:04:31                         0:00:16              0:00:30                 0:00:02                  1:12:52                 2:20:38                 0:05:07              0:00:00           0:00:00            0:00:00                                                                                               America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:06                0:00:06                    0:00:06                         0:00:07              0:00:07                 0:00:07                  0:21:31                 0:21:31                 0:21:31              0:00:07           0:00:07            0:00:07              9                                   2                      7                     America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:00                0:00:00                    0:00:00                         0:00:00              0:00:00                 0:00:00                  0:00:00                 0:00:00                 0:00:00              0:00:00           0:00:00            0:00:00              19               5                  4                      10                    America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:00                0:00:00                    0:00:00                         0:00:30              0:00:30                 0:00:30                  0:00:00                 0:00:00                 0:00:00              0:00:30           0:00:30            0:00:30              27               8                  14                     5                     America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      2:14:57                2:14:57                    2:14:57                         0:00:06              0:00:08                 0:00:04                  1:18:49                 2:35:04                 0:02:35              0:00:06           0:00:08            0:00:04              13               4                  5                      4                     America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:00                0:00:00                    0:00:00                         0:00:00              0:00:00                 0:00:00                  0:00:00                 0:00:00                 0:00:00              0:00:00           0:00:00            0:00:00              11               3                  4                      4                     America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:05:02                0:09:40                    0:00:25                         0:00:03              0:00:04                 0:00:03                  0:25:52                 0:36:33                 0:15:12              0:00:03           0:00:04            0:00:03              15               1                  10                     4                     America/Los_Angeles
0:00:00                      0:00:00                 0:00:00                    0:00:00                      1:19:58                2:26:50                    0:13:07                         0:00:03              0:00:05                 0:00:02                  1:37:08                 2:42:49                 0:31:27              0:00:03           0:00:05            0:00:02              15               2                  9                      4                     America/Los_Angeles
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0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:00:00                0:00:00                    0:00:00                         0:00:00              0:00:00                 0:00:00                  0:00:00                 0:00:00                 0:00:00              0:00:00           0:00:00            0:00:00              3                                                          3                     America/Los_Angeles
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0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:04:31                0:05:02                    0:00:04                         0:00:10              0:00:30                 0:00:01                  0:13:16                 2:26:02                 0:00:18              0:00:10           0:00:30            0:00:01              916              188                602                    126                   America/Los_Angeles
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0:00:00                      0:00:00                 0:00:00                    0:00:00                      0:04:34                0:05:05                    0:00:03                         0:00:08              0:00:30                 0:00:01                  0:14:06                 1:10:49                 0:00:12              0:00:08           0:00:30            0:00:01              565              75                 392                    98                    America/Los_Angeles
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               EXHIBIT “D”
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Pan America affiliate agreement
Eric Martinson <e04j04m04@gmail.com>
Sat 5/27/2023 5:16 PM
To:​Brad Lee <BradLee@greysonlawpc.com>;​Tony Diab <tony@coastprocessing.com>;​Rose Romo <rose@propromoinc.com>​


  1 attachments (153 KB)
Affiliate Agreement copy.pdf;




Sent from my iPhone
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               EXHIBIT “E”
Case 8:23-ap-01046-SC Doc 325-5 Filed 01/08/24 Entered 01/08/24 18:22:40 Desc
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                               Greyson Law Center PC - Affiliate Agreement

 THIS AGREEMENT (the “Agreement”) is made and effective as of the xx day of May 17, 2023 by and
 between Greyson Law Center PC (“GLC”) and Varneya LLC (hereinafter “Affiliate”).

 RECITALS:

 GLC is in the business of providing a package debtor’s rights services in the form of debt validation,
 consultation, and litigation defense through a network of attorneys licensed to practice law in 48 states
 and the District of Columbia. The legal services offered for these unsecured debts include:

     -   Removal of invalid debts through correspondence directly with the three credit bureaus;
     -   Validation of consumer debts through correspondence including disputes with original creditors,
         validation demands to third party debt collectors and assignees, and disputes with all three credit
         bureaus;
     -   Defense of collection actions initiated by original creditors or third party assignees;
     -   Negotiation of advantageous settlements of consumer debts both pre and post litigation within
         reason;
     -   Education of clients regarding federal laws applicable to consumer debt and credit reporting, and
         consultation regarding risk mitigation and litigation defense through its network of attorneys
         across the country.

 Each of these services is offered without regard to the identity of the creditor or third-party debt collector
 or assignee. GLC reviews all client files prior to the execution of the client’s legal services agreement with
 the appropriate law firm, and maintains oversight through its administrative services over all file
 placements.

 Affiliate owns and operates a system of generating leads consisting of consumers interested in the legal
 services offered by GLC. Affiliate, acting in accordance with direction from GLC, shall obtain the names of
 Consumers and will market in a lawful manner, complying with the restrictions of the jurisdiction in which
 the consumer resides. For consumers interested in utilizing GLC’s services, Affiliate will assist GLC in
 having consumers execute an approved legal services agreement with a law firm to which GLC provides
 administrative support services, at which point consumers will become clients of that law firm, and that
 law firm will be exclusively responsible for and liable for the representation of consumers in the context
 of the provision of legal services. Nothing in this Agreement nor in the eventual legal services agreement
 shall restrict Affiliate from offering any other service of any kind to consumer, including credit repair or
 debt relief programs. Nor is Affiliate restricted from marketing on behalf of credit repair or debt relief
 entities, including but not limited to other law firms. Nothing in this Agreement shall restrict GLC from
 contracting with other parties for services similar to those provided by Affiliate, this Agreement is non-
 exclusive. GLC and Affiliate hereby agree that any and all prior agreements entered into by GLC and
 Affiliate or any law firm to which GLC provides administrative support services and Affiliate are null and
 void and unenforceable, and this Agreement shall become the operative agreement for all files previously
 placed through the use of GLC’s administrative support services.



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 Affiliate is being retained by GLC to provide marketing and customer service functions only. All payments
 made to Affiliate are for services actually rendered, and do not constitute a revenue or fee sharing
 agreement. The method used to determine the value of the services rendered by Affiliate to GLC were
 selected by both parties based upon industry standard and effective valuation, and not for any other
 purpose.

 GLC and Affiliate hereby agree to the following:

 1.     Each Party shall be solely responsible for bearing its own costs and expenses incurred in
 performing its responsibilities under this Agreement, including all tariffs, filings, licensing and/or other
 fees.

 2.     Affiliate shall comply with state and federal laws in communicating with consumers regarding
 GLC, any law firm utilized by GLC, or any of the programs of GLC or the assigned law firm.

 3.       Both GLC and the law firm it utilizes shall comply with all state and federal laws in performing its
 obligations under the legal services agreement entered into between GLC and the consumers referred by
 Affiliate.

 4.      If requested by GLC, Affiliate shall provide a copy of all marketing materials to GLC upon receiving
 a request from GLC. Affiliate shall endeavor to provide such materials within 10 business days of such
 request, but may provide such materials in any time frame that is commercially reasonable.

 5.      Affiliate will deliver files to with high quality clients. Files are subject to review by GLC and could
 be rejected/returned.

 6.      Affiliate agrees to keep any and all documents or communications between itself and GLC
 confidential pursuant to the provisions set forth below, and shall not share of disclose such documents to
 any party with prior, express written consent.

 7.       Affiliate shall be entitled to receive the following as full and complete compensation for its
 services to GLC: GLC shall pay 65% of the “Net Revenue” collected per file for each file that Affiliate places
 with GLC. “Net Revenue” is defined as the revenue collected from a file in a given month, less a monthly
 maintenance fee of $100 per client, which GLC shall retain to cover administrative costs and technology
 overhead for each file. GLC shall calculate the amount of each file, apply the above-identified percentage
 fee, and remit the same to Affiliate pursuant to an agreed-upon schedule not to exceed one remittance
 per seven (7) calendar days. If any consumer cancels GLC’s services, or demands a refund for payment
 for such services, or both, then GLC shall be solely responsive for such cost and Affiliate shall not have to
 share such expense. GLC has exclusive discretion to grant or deny a requested refund or cancellation.
 Finally, GLC may treat a consumer’s failure to remit payment in a timely manner as a cancellation of the
 legal services agreement executed by consumer with GLC, and has sole discretion to make such
 determination.

 8.       GLC shall bear all expenses related to the services it offers to consumers, and Affiliate shall bear
 all expenses related to its marketing of the same except as is set forth in this Paragraph. Neither GLC nor
 Affiliate shall be required to pay the expenses of the other.

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 9.      GLC reserves all rights with regard to rejection or cancellation of a consumer, but will do so only
 subject to the applicable state bar rules for such representation.

 10.     This agreement shall continue to operate and bind GLC and Affiliate for a period of twelve (12)
 months from the date of execution of this Agreement. At that time, this Agreement will automatically
 renew until either party sends written notice of cancellation of this Agreement, which shall be effective
 30 days after GLC or Affiliate postmarks or emails a cancellation letter stating the intent of that party to
 terminate this Agreement. If such cancellation letter is sent by either party, it shall be effective 30 days
 from the date of postmark or email, and shall terminate this Agreement and release either party from the
 obligations contained herein.

 11.      If either party shall default under this Agreement, defined as a failure to comply with any of the
 obligations set forth above, the Agreement shall terminate following notice of default and a cure period
 of 30 days from the date postmarked on the notice of default. The notice of default must state with
 specificity the act of default alleged.

 12.    Upon termination of this Agreement for any reason whatsoever, GLC and Affiliate will refrain from
 making any disparaging or negative comment, remark, statement, or implication, whether written or oral.

 13.      The confidential information of GLC or Affiliate shall include information regarding contracts,
 customer or client lists or information, hardware, software, screens, specifications, designs, plans,
 drawings, data, prototypes, discoveries, research, developments, methods, processes, procedures,
 improvements, ‘Know-how’, compilations, market research, marketing techniques and plans, marketing
 materials, business plans and strategies, documents, scripts, guidelines, price lists, pricing policies and
 financial information or other business and/or technical information and materials, in oral, demonstrative,
 written, graphic or machine-readable form, which is unpublished, not available to the general public or
 trade, and which is maintained as confidential and proprietary information by the disclosing party for
 regulatory, customer relations, and/or competitive reasons. Neither GLC nor Affiliate may disclose the
 confidential information of the other with the express written consent of the other. A failure to abide by
 this confidentiality term shall entitle the party whose confidential information was compromised to a
 reasonable sum not less than $50,000.00, nor more than $200,000.00. The disclosure of information in
 connection with a judicial proceeding shall not constitute a violation of this term. The parties agree to
 notify the other if any inadvertent disclosure of information occurs within 48 hours of becoming aware of
 such disclosure. The parties agree to work together in good faith to remediate any disclosure of
 confidential information. A party whose confidential information is disclosed shall be entitled to
 injunctive relief in any court of competent jurisdiction.

 14.      If, after the passage of six months of the date of this Agreement, Affiliate fails, in any one calendar
 month, to have at least fifty (50) active consumers, GLC shall withhold 20% of the fees due to Affiliate for
 said month in an escrow account. Such fees shall be held in escrow until, in a single calendar month,
 Affiliate has fifty (50) or more active consumers, at which point, within five (5) business days of the end
 of such calendar month, GLC shall transfer the balance of such escrow account to Affiliate and retain
 nothing in such escrow account. If Affiliate shall cease operations for any reason, or this Agreement shall
 terminate for any reason, Affiliate will continue to receive fees due to it under this Agreement until all

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 active consumers have completed or withdrawn from the program, at which point any remaining amounts
 being held in escrow shall be released to Affiliate in full.

 15.     Affiliate agrees not to use the name GLC or any law firm in any advertising, publicity release, or
 sales presentation designed to promote Affiliate’s service, unless GLC provides prior written consent to
 such specific use.

 16.    Any fees incurred by GLC in connection with a customer’s Non-Sufficient Funds (“NSF”) fee shall
 be borne exclusively by GLC.

 17.     This Agreement may not be assigned or transferred without the prior written consent of the other.
 This Agreement shall be binding upon and shall inure to the benefit of the Parties and their respective
 successors and assigns.

 18.      In the event of a breach, the prevailing party shall be entitled to reasonable attorneys’ fees and
 collection costs, including all fees and costs on appeal.

 19.     This Agreement contains the entire Agreement between the Parties, and shall not be modified,
 amended or supplemented, or any rights therein waived, unless specifically agreed upon in writing by GLC
 and Affiliate.



 Greyson Law Center PC



 __________________________

 By: Scott Eady, Managing Shareholder




 Varneya LLC



 __________________________



 By: Pamela Singh

 Title: Owner




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                                 Electronic Funds Transfer Authorization

 This Electronic Funds Transfer (EFT) authorization is for use in connection with the foregoing Agreement,
 and permits GLC to transfer any and all amounts due to Varneya LLC (“Affiliate”) under the foregoing
 Agreement by EFT. By signing below, Affiliate hereby authorizes GLC to initiate EFT transfers at its
 discretion, with all fees and costs incurred by Affiliate in connection with such transfer to be borne by
 Affiliate, while all fees and costs incurred by GLC in connection with such transfer to be borne by GLC.



 Account Holder Signature: ______________________________ Date: _________________________



 By: Pamela Singh



 Title: Owner



 Account Owner Name: Pamela Singh



 Social Security Number / FEIN Number associated with account listed below: XX-XXXXXXX



 Address: 144-55 87th Ave



 City: Jamaica, NY 11435

 Bank Name: Chase Bank

 Routing Number: 021000021

 Account Number: 218615315

 Account type : checking




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               EXHIBIT “F”
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RE:
GLC Ops <ops@greysonlawpc.com>
Wed 5/3/2023 10:42 AM
To:​Brad Lee <BradLee@greysonlawpc.com>​
Send me our updated one too.

From: Brad Lee <BradLee@greysonlawpc.com>
Sent: Tuesday, May 2, 2023 11:48 PM
To: GLC Ops <ops@greysonlawpc.com>
Subject: Fw:



From: Keneth Hu <keneth@maverickmgmt.co>
Sent: Tuesday, May 2, 2023 12:01 PM
To: Brad Lee <BradLee@greysonlawpc.com>
Subject:
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              EXHIBIT “G”
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